                                                                                 Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 1 of 124
                                                                                                             EXHIBIT "E"


       A                B                   C                D      E     F        G            H              I                      J                        K                                     L                        M
1 ID            Start time          Completion time      Email     Name NumbeNumber2        Precinct:   Last Name           First name      Address Line 1                            Address Line 2              Issue
2           1   10/21/20 14:35:37    10/21/20 14:40:34   anonymous           006318866‐46   130203‐1    Young               Celia           611 Green St                              Norristown, PA 19401        No secrecy envelope
3           2   10/21/20 14:40:36    10/21/20 14:41:39   anonymous           005931654‐46   530301‐1    Yi                  Suk Kyung       2237 Dock Dr                              Lansdale, PA 19446          No secrecy envelope
4           3   10/21/20 14:35:47    10/21/20 14:41:44   anonymous           003575847‐46   010100‐1    Crist               Gayle           419 Haywood Road                          Ambler PA 19002             Incomplete Declaration
5           4   10/21/20 14:41:43    10/21/20 14:43:16   anonymous           102920995‐46   401202‐2    Kohn                ralph Jr        509 Oak Road                              Merion Station, 19066       No secrecy envelope
6           5   10/21/20 14:41:54    10/21/20 14:43:48   anonymous           015211425‐46   300201‐1    Clark Jr.           Thomas          573 Hoyt Rd                               Huntingdon Vly, PA 19006    Incomplete Declaration
7           6   10/21/20 14:43:19    10/21/20 14:44:39   anonymous           005940134‐46   58GUL01‐1   Weiss               Hedy S          1010 Boxwood Ct                           King of Prussia, PA 19406   No secrecy envelope
8           7   10/21/20 14:43:55    10/21/20 14:45:13   anonymous           015625135‐46   410100‐1    Evans               Mildred         753 Welsh Rd APT 403                      Huntingdon Vly, PA 19006    Incomplete Declaration
9           8   10/21/20 14:44:41    10/21/20 14:45:50   anonymous           103935579‐46   460003‐1    Oh                  Sun C           904 Barbaras Ct                           North Wales, PA 19454       No secrecy envelope
10          9   10/21/20 14:45:21    10/21/20 14:46:31   anonymous           005961588‐46   100200‐1    Sorens              Audrey          100 West Ave Apt W603                     Jenkintown, PA 19046        Incomplete Declaration
11         10   10/21/20 14:45:52    10/21/20 14:47:31   anonymous           102728890‐46   460008‐1    Sin                 Song S          115 Damson Ln                             North Wales, PA 19454       No secrecy envelope
12         11   10/21/20 14:46:39    10/21/20 14:47:39   anonymous           003625566‐46   460005‐1    Yencha              Virginia        301 Stockton Ct                           North Wales, PA 19454       Incomplete Declaration
13         12   10/21/20 14:47:33    10/21/20 14:48:11   anonymous           006373261      460008‐1    Hong                James           101 Jonathan Dr                           North Wales, PA 19454       No secrecy envelope
14         13   10/21/20 14:47:45    10/21/20 14:49:03   anonymous           005822555‐46   590301‐1    Mooney Sr.          Donald          1120 York Rd APT 205                      Willow Grove, PA 19090      Incomplete Declaration
15         14   10/21/20 14:48:12    10/21/20 14:49:07   anonymous           103746637‐46   400601‐1    Ciongoli            Suzanne K       211 Broughton Ln                          Villanova, PA 19085         No secrecy envelope
16         15   10/21/20 14:49:09    10/21/20 14:50:06   anonymous           006173491‐46   120002‐1    Stricker            Carrie T        203 Stepney Pl                            Narberth, PA 19072          No secrecy envelope
17         16   10/21/20 14:49:10    10/21/20 14:50:38   anonymous           006061195‐46   540501‐1    Palme               Robert          1650 Susquehanna Rd 219                   Dresher, PA 19025           Incomplete Declaration
18         17   10/21/20 14:50:17    10/21/20 14:51:28   anonymous           006413561‐46   010100‐1    Hoover              Carolyn         110 Forest Ave Apt A                      Ambler, PA 19002            No secrecy envelope
19         18   10/21/20 14:50:43    10/21/20 14:51:55   anonymous           110209001‐46   490303‐1    Nauman              Haseeb          134 Plymouth Rd Uni 1108                  Plymouth MTG, PA 19462      Resolved
20         19   10/21/20 14:51:30    10/21/20 14:52:42   anonymous           006070883‐46   310404‐1    Szczurek            Genevieve L     26 North Ave                              Wyncote, PA 19095           No secrecy envelope
21         20   10/21/20 14:52:43    10/21/20 14:54:04   anonymous           110837405‐46   420002‐1    Rhoadarmer          Gary            none                                      none                        Resolved
22         21   10/21/20 14:52:06    10/21/20 14:54:57   anonymous           005737265‐46   08S02‐1     Becker              Joan            Moreland Towers, 36 Moreland Ave E, 802   Hatboro, PA 19040           Incomplete Declaration
23         22   10/21/20 14:54:06    10/21/20 14:55:24   anonymous           110454289‐46   460003‐1    Prabhudesai         Anuya Sachin    102 Sterling Dr                           North Wales, PA 19454       Resolved
24         23   10/21/20 14:55:06    10/21/20 14:56:05   anonymous           005797995‐46   360301‐1    Stewart             Mary            454 Avenue A B                            Horsham, PA 19044           Incomplete Declaration
25         24   10/21/20 14:55:36    10/21/20 14:56:38   anonymous           006205876‐46   401003‐1    Powers              Constance       102 Pennsylvania Ave                      Bryn Mawr, PA 19010         Resolved
26         25   10/21/20 14:56:10    10/21/20 14:57:21   anonymous           006275737‐46   410100‐1    Wright              Walter          Gloria Dei Manor, 753 Welsh Rd 116        Huntingdon Vly, PA 19006    Incomplete Declaration
27         26   10/21/20 14:56:40    10/21/20 14:57:47   anonymous           016220045‐46   300202‐1    Brill               Karen D         1551 Huntingdon Pike APT A320             Huntingdon Vly, PA 19006    Incomplete Declaration
28         27   10/21/20 14:57:49    10/21/20 14:58:27   anonymous           005797771‐46   310404‐1    Wilson              Earnestine      n/a                                       n/a                         Incomplete Declaration
29         28   10/21/20 14:57:27    10/21/20 14:58:42   anonymous           016044690‐46   300202‐1    Kaufman             Marie           1551 Huntingdon Pike APT A217             Huntingdon Vly, PA 19006    Incomplete Declaration
30         29   10/21/20 14:58:31    10/21/20 14:59:24   anonymous           006116303‐46   300401‐1    McGinley            Marguerite E    229 Ray St                                Jenkintown, PA 19046        Incomplete Declaration
31         30   10/21/20 14:59:28    10/21/20 15:00:13   anonymous           107744416‐46   460006‐1    Buckenberger        Nicole          n/a                                       n/a                         Incomplete Declaration
32         31   10/21/20 15:00:17    10/21/20 15:01:06   anonymous           014817048‐46   300402‐1    McShane             Brian Stephen   933 Crefeld Ave                           Elkins Park, PA 19027       Incomplete Declaration
33         32   10/21/20 14:58:49    10/21/20 15:01:45   anonymous           021049107‐46   400403‐1    Altman‐McMahon      Michael         260 Montgomery Ave W, APT 303             *None                       resolved
34         33   10/21/20 15:01:08    10/21/20 15:01:48   anonymous           005978435‐46   430304‐1    Masters             Arlene N        15222 Shannondell Dr                      Audubon, PA 19403           Incomplete Declaration
35         34   10/21/20 15:01:51    10/21/20 15:02:34   anonymous           006238072‐46   300702‐1    Stein               Sandra E        1250 Greenwood Ave APT 520                Jenkintown, PA 19046        Incomplete Declaration
36         35   10/21/20 15:01:48    10/21/20 15:02:49   anonymous           006163995‐46   300601‐1    Keim                John            628 Harrison Ave APT A                    Glenside, PA 19038          Incomplete Declaration
37         36   10/21/20 15:02:38    10/21/20 15:03:17   anonymous           009596705‐46   510002‐1    Beese               Mary Ann        702 Twining Way                           Collegeville, PA 19426      Incomplete Declaration
38         37   10/21/20 15:02:55    10/21/20 15:03:58   anonymous           015045166‐46   590302‐1    McAndrew            Mariann         1113 Easton Rd N.                         Willow Grove, PA 19090      Incomplete Declaration
39         38   10/21/20 15:03:18    10/21/20 15:04:03   anonymous           005726801‐46   65W02‐1     Barnett             Ronald B        2062 Julia Dr                             Conshohocken, PA 19428      resolved
40         39   10/21/20 15:01:58    10/21/20 15:04:24   anonymous           107222281‐46   050300‐1    Mackowski           Matthew         309 Washington St APT 3107                Conshohocken, PA 19248      USPS Issue
41         40   10/21/20 15:04:05    10/21/20 15:04:58   anonymous           005902791‐46   65W02‐1     Gallo‐Barnett       Caryl Marie     2062 Julia Dr                             Conshohocken, PA 19428      resolved
42         41   10/21/20 15:04:26    10/21/20 15:05:44   anonymous           104093627‐46   050300‐1    Roney               Jason           301 Washington ST APT 1129                Conshohocken, PA 19248      USPS Issue
43         42   10/21/20 15:04:04    10/21/20 15:06:19   anonymous           020676726‐46   400403‐1    Altman‐McMahon      Elizabeth       *None                                     *None                       resolved
44         43   10/21/20 15:05:00    10/21/20 15:06:21   anonymous           006383410‐46   320002‐1    Tillman             Delores         217 Montgomery Ave Hillcrest Village      Boyertown, PA 19512         Incomplete Declaration
45         44   10/21/20 15:06:24    10/21/20 15:07:07   anonymous           102877706‐46   110302‐1    Delconte            Ralph Jr        1008 Third St W                           Lansdale, PA 19446          Incomplete Declaration
46         45   10/21/20 15:05:55    10/21/20 15:07:25   anonymous           110062625‐46   350301‐1    Harrington          Erika Eden      2058 Maple Ave APT G3‐11                  Hatfield, PA 19440          USPS Issue

                                                                                                                   Page 1 of 124
                                                                                 Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 2 of 124


       A                B                   C                D      E     F        G             H               I                      J                    K                                L                           M
1 ID            Start time          Completion time      Email     Name NumbeNumber2        Precinct:   Last Name             First name       Address Line 1                   Address Line 2                Issue
47         46   10/21/20 15:06:31    10/21/20 15:07:38   anonymous           103440854‐46   400701‐1    Dilodare              Pushpa           1001 City Ave UNI ED414          Wynnewood, PA 19096           Incomplete Declaration
48         47   10/21/20 15:07:11    10/21/20 15:08:04   anonymous           003620500‐46   540301‐1    Zentner               Henry John       1660 Aidenn Lair Rd              Dresher, PA 19025             Resolved
49         48   10/21/20 15:07:46    10/21/20 15:08:49   anonymous           005945155‐46   410600‐1    Klein                 Phyllis          715 Pinney RD                    Huntingdon Vly, PA 19006      Incomplete Declaration
50         49   10/21/20 15:08:09    10/21/20 15:08:58   anonymous           005989595‐46   300602‐1    Cottom                Alberta          3074 Limekiln Pike               Glenside, PA 19038            Incomplete Declaration
51         50   10/21/20 15:07:29    10/21/20 15:09:06   anonymous           108749185‐46   350302‐1    Crescimanno           Daria            805 Princeton PL                 Hatfield, PA 19440            USPS Issue
52         51   10/21/20 15:09:01    10/21/20 15:09:37   anonymous           006033432‐46   500006‐1    Greene                Laura K          620 Store Rd                     Harleysville, PA 19438        Incomplete Declaration
53         52   10/21/20 15:08:56    10/21/20 15:09:59   anonymous           006298109‐46   430302‐1    Martin                Marian           2719 Lantern LN                  Audubon, PA 19403             Incomplete Declaration
54         53   10/21/20 15:09:11    10/21/20 15:10:04   anonymous           005995709‐46   350201‐1    Yothers               Shane            2400 Orvilla Road                Hatfield, PA 19440            USPS Issue
55         54   10/21/20 15:09:41    10/21/20 15:10:15   anonymous           005930020‐46   500002‐1    Cowley                Grace A          275 Park Ave                     Harleysville, PA 19438        Incomplete Declaration
56         55   10/21/20 15:10:06    10/21/20 15:10:54   anonymous           006031143‐46   300902‐1    Wilson                Willam           640 Central Ave                  Glenside, PA 19038            Incomplete Declaration
57         56   10/21/20 15:10:16    10/21/20 15:10:58   anonymous           014845001‐46   300202‐1    Reardon               Teresa L         1551 Huntingdon Pike APT B‐312   Huntingdon Vly, PA 19006      Incomplete Declaration
58         57   10/21/20 15:10:06    10/21/20 15:11:11   anonymous           005878510‐46   350201‐1    Hoffman               Sherry           2400 Orvilla Road                Hatfield, PA19440             USPS Issue
59         58   10/21/20 15:11:00    10/21/20 15:11:48   anonymous           014818070‐46   330101‐1    Esquilin              Elquis T         2918 Denise Rd                   Norristown, PA 19403          resolved
60         59   10/21/20 15:11:00    10/21/20 15:11:59   anonymous           109462032‐46   330203‐1    De Ordio              Alyssa Marie     119 Marielle LN                  Norristown, PA 19401          Incomplete Declaration
61         60   10/21/20 15:11:17    10/21/20 15:12:18   anonymous           10373897‐46    350301‐1    Holmes                Trinity          2705 Unionville Pike             Hatfield, PA 19440            USPS Issue
62         61   10/21/20 15:11:50    10/21/20 15:12:43   anonymous           006074643‐46   470001‐1    Detar                 Ida K            2095 Big Rd RT 73                Gilbertsville, PA 19525       Incomplete Declaration
63         62   10/21/20 15:12:06    10/21/20 15:13:10   anonymous           005740880‐46   360302‐1    Taxin                 Michael Joseph   18 Hickory DR                    Horsham, PA 19044             Incomplete Declaration
64         63   10/21/20 15:12:45    10/21/20 15:13:25   anonymous           005936422‐46   390201‐1    Alexander             John             728 Norristown Rd APT E108       Ambler, PA 19002              Incomplete Declaration
65         64   10/21/20 15:12:23    10/21/20 15:13:40   anonymous           021019811‐46   310202‐1    Ragland               Karen            8470 Limekiln Pike APT 925       Wyncote, PA 19095             USPS Issue
66         65   10/21/20 15:13:26    10/21/20 15:14:09   anonymous           014612549‐46   360204‐1    Goldberg              Harvey L         16 Sterling Dr                   Horsham, PA 19044             Incomplete Declaration
67         66   10/21/20 15:13:16    10/21/20 15:14:13   anonymous           110270012‐46   390202‐1    Mahoney Jr.           John             451 Francis Ave                  Ambler, PA 19002              Incomplete Declaration
68         67   10/21/20 15:14:10    10/21/20 15:14:52   anonymous           006131076‐46   630101‐1    Salanon               Rhonda Lynn      2496 Cobblestone Cir             Norristown, PA 19403          Incomplete Declaration
69         68   10/21/20 15:14:06    10/21/20 15:15:14   anonymous           103638512‐46   590502‐1    Jarkowski             Nikolaus J       3820 Meyer Lane                  Hatboro, PA 19040             USPS Issue
70         69   10/21/20 15:14:18    10/21/20 15:15:14   anonymous           009803471‐46   400402‐1    Thomas                Frizzel          225 Cobblestone Dr. APT 210      Ardmore, PA 19003             Incomplete Declaration
71         70   10/21/20 15:14:53    10/21/20 15:15:37   anonymous           005987301‐46   140300‐1    Long                  George N         219 Sixth St S                   North Wales, PA 19454         Incomplete Declaration
72         71   10/21/20 15:15:20    10/21/20 15:16:11   anonymous           103540780‐46   140300‐1    Long                  Nancy            219 Sixth St S.                  North Wales, PA 19454         Incomplete Declaration
73         72   10/21/20 15:15:21    10/21/20 15:16:15   anonymous           021275554‐46   430303‐1    Singh                 Kyra             2509 Condor Drive                Audobon, PA 19403             USPS Issue
74         73   10/21/20 15:15:38    10/21/20 15:16:24   anonymous           006025935‐36   140100‐1    Ryan,                 Thomas N         121 Montgomery Ave W             North Wales, PA 19454         Incomplete Declaration
75         74   10/21/20 15:16:25    10/21/20 15:17:12   anonymous           005981245‐46   500005‐1    Replogle              Donald           651 Camp Wawa Rd Box 22          Lederach, PA 19450            Incomplete Declaration
76         75   10/21/20 15:16:17    10/21/20 15:17:18   anonymous           014339607‐46   310403‐1    Lanham                Ruark            311 Rices Mill RD                Wyncote, PA 19095             USPS Issue
77         76   10/21/20 15:16:16    10/21/20 15:17:19   anonymous           015377712‐46   310401‐1    Davis                 Justine          1990 Ashbourne Rd APT 220        Elkins Park, PA 19027         Incomplete Declaration
78         77   10/21/20 15:17:25    10/21/20 15:18:15   anonymous           006076601‐46   490102‐1    Palatucci             Dennis           325 Manor Ave                    Plymouth MTG, PA 19462        Incomplete Declaration
79         78   10/21/20 15:17:13    10/21/20 15:18:27   anonymous           005938559‐46   401101‐1    Krane                 Marvin A         115 Old Gulph Rd                 Bryn Mawr, PA 19010           Incomplete Declaration
80         79   10/21/20 15:17:32    10/21/20 15:18:49   anonymous           005851687‐46   330203‐1    Reid                  Robert S         2101 New Hope St                 Norristown , PA 19401         Incomplete Declaration
81         80   10/21/20 15:18:28    10/21/20 15:19:15   anonymous           006367633‐46   350401‐1    Saha                  Dipok K          2603 Elroy Rd APT B4             Hatfield, PA 19440            Incomplete Declaration
82         81   10/21/20 15:18:23    10/21/20 15:19:32   anonymous           006303187‐46   460007‐1    Nash                  Linda            502 Aqueduct Dr                  North Wales PA 19454          Incomplete Declaration
83         82   10/21/20 15:19:17    10/21/20 15:20:20   anonymous           005991153‐46   590401‐1    Loftus                John P           22 Dallas Rd                     Willow Grove, PA 19090‐3004   Incomplete Declaration
84         83   10/21/20 15:18:52    10/21/20 15:20:32   anonymous           003419927‐46   350502‐1    Frescatore            Steve            31 Meadowbrook Rd                North Wales, PA 19454         USPS Issue
85         84   10/21/20 15:19:39    10/21/20 15:20:45   anonymous           005706071‐46   590402‐1    Fields                Desmond          424 Lawnton Rd                   Willow Grove, PA 19090        Incomplete Declaration
86         85   10/21/20 15:20:21    10/21/20 15:21:06   anonymous           005718369‐46   130402‐1    Biel‐Cressman         Marguerite Ann   734 Fornance St E                Norristown, PA 19401          resolved
87         86   10/21/20 15:20:50    10/21/20 15:21:40   anonymous           005694303‐46   460005‐1    Day                   Donna            407 Hopkins Ct                   North Wales, PA 19454         Incomplete Declaration
88         87   10/21/20 15:21:07    10/21/20 15:21:49   anonymous           006127876‐46   510002‐1    Goodman               Joseph S         3940 Shainline Ct                Collegeville, PA 19426        Incomplete Declaration
89         88   10/21/20 15:21:53    10/21/20 15:22:29   anonymous           006117518‐46   510002‐1    Goodman               Marsha           3940 Shainline Ct                Collegeville, PA 19426        Incomplete Declaration
90         89   10/21/20 15:21:46    10/21/20 15:22:34   anonymous           006082139‐46   400803‐1    Hill                  William          632 Sussex Rd                    Wynnewood, PA 19096           Incomplete Declaration
91         90   10/21/20 15:20:48    10/21/20 15:23:27   anonymous           006162805‐46   560004‐1    Schoen                William          1001 S Valley Forge Rd           Lansdale, PA 19446            USPS Issue

                                                                                                                     Page 2 of 124
                                                                         Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 3 of 124


      A             B                C             D       E    F          G            H               I                       J                       K                                            L                            M
 1 ID      Start time        Completion time Email       Name NumbeNumber2          Precinct:   Last Name            First name     Address Line 1                                        Address Line 2              Issue
 92     91 10/21/20 15:22:31 10/21/20 15:23:28 anonymous           006173218‐46     58BEL05‐1   Blyskal              Thomas         3000 Valley Forge Cir 943 Valley Forge Twin Twrs Apts King of Prussia, PA 19406   Resolved
 93     92 10/21/20 15:22:39 10/21/20 15:23:33 anonymous           005990079‐46     410600‐1    Picorella            Marianne       3593 Meadowlark Dr                                    Huntingdon Vly, PA 19006    Incomplete Declaration
 94     93 10/21/20 15:23:30 10/21/20 15:24:27 anonymous           006180448‐46     58BEL05‐1   Blyskal              Margaret L     3000 Valley Forge Cir 943 Valley Forge Twin Twrs Apts King of Prussia, PA 19406   Resolved
 95     94 10/21/20 15:23:37 10/21/20 15:24:39 anonymous           006050407‐46     090001‐1    Snyder JR            Russell        24 Wayne Ave S.                                       Hatfield, PA 19440          Incomplete Declaration
 96     95 10/21/20 15:23:29 10/21/20 15:25:00 anonymous           107672803‐46     530101‐1    Titel                Ted            N/A                                                   N/A                         Incomplete Declaration
 97     96 10/21/20 15:24:29 10/21/20 15:25:14 anonymous           009981276‐46     040003‐1    Adams                Mary Sandra    271 Freeland Dr                                       Collegeville, PA 19426      Incomplete Declaration
 98     97 10/21/20 15:24:44 10/21/20 15:25:46 anonymous           009829205‐46     400203‐1    Garrell              Marshall       1650 Oakwood Dr. APT E210                             Narberth, PA 19072          Incomplete Declaration
 99     98 10/21/20 15:25:02 10/21/20 15:26:23 anonymous           006397866‐46     400903‐1    Martin               Yale           191 Presidential BLVD UNI 623 Bala‐Cynwyd, PA 19004                               USPS Issue
100     99 10/21/20 15:25:51 10/21/20 15:26:51 anonymous           010177306‐46     400601‐1    Watts                Joan           35 Rosemont Ave                                       Bryn Mawr, PA 19010         Incomplete Declaration
101    100 10/21/20 15:25:16 10/21/20 15:27:13 anonymous           103514739‐46     230001‐1    Kang                 Linus E        300 Neborlea Way                                      Trappe, PA 19426            resolved
102    101 10/21/20 15:27:14 10/21/20 15:27:50 anonymous           006333933‐46     230001‐1    Kim                  Callain Y      300 Neborlea Way                                      Trappe, PA 19426            resolved
103    102 10/21/20 15:26:58 10/21/20 15:27:55 anonymous           006202087‐46     310503‐1    Mclean               Troy           452 Valley Rd                                         Elkins Park, PA 19027       Incomplete Declaration
104    103 10/21/20 15:27:52 10/21/20 15:28:24 anonymous           103090587‐46     300101‐1    Kats                 Kelsey         1751 Stocton Rd                                       Jenkintown, PA 19046        Incomplete Declaration
105    104 10/21/20 15:26:25 10/21/20 15:28:33 anonymous           108708109‐46     130303‐1    Brown                Kahlif Jakar   1431 Arch Street, APT B‐2                             Norristown, PA 19401        USPS Issue
106    105 10/21/20 15:28:02 10/21/20 15:29:06 anonymous           005723574‐46     310503‐1    Mclean               Billy          452 Valley Rd                                         Elkins Park, PA 19027       Incomplete Declaration
107    106 10/21/20 15:28:25 10/21/20 15:29:08 anonymous           109304606‐46     590502‐1    Brown                Ruth A         100 Bready Rd                                         Hatboro, PA 19040‐3501      Incomplete Declaration
108    107 10/21/20 15:29:11 10/21/20 15:29:42 anonymous           110832073‐46     350401‐1    Dean                 Rosemary       n/a                                                   n/a                         Incomplete Declaration
109    108 10/21/20 15:28:38 10/21/20 15:29:51 anonymous           005789493‐46     58GUL02‐1   Makransky            John           107 Timothy Circle                                    Wayne, Pa 19087             USPS Issue
110    109 10/21/20 15:29:13 10/21/20 15:30:20 anonymous           005996413‐46     400203‐1    Shrager              Todd           1600 Hagys Ford Rd EP                                 Narberth, PA 19072          Incomplete Declaration
111    110 10/21/20 15:29:45 10/21/20 15:30:26 anonymous           005841294‐46     540203‐1    Custus               Rubey          1405 Limekiln Pike N, APT 220 Dresher, PA 19025                                   Incomplete Declaration
112    111 10/21/20 15:29:56 10/21/20 15:30:48 anonymous           103316878‐46     401103‐1    Silfen               David          725 John Barry Drive                                  Bryn Mawr, PA 19010         USPS Issue
113    112 10/21/20 15:30:27 10/21/20 15:31:06 anonymous           006345657‐46     310201‐1    Ryan                 Bruce D        1911 Fawn Dr                                          Glenside, PA 19038          Incomplete Declaration
114    113 10/21/20 15:30:31 10/21/20 15:31:30 anonymous           006024513‐46     310201‐1    Phillips             Pauline        1628 Hillcrest Rd                                     Glenside, PA 19038          Incomplete Declaration
115    114 10/21/20 15:31:08 10/21/20 15:31:41 anonymous           006300509‐46     460004‐1    Lane                 Stephanie L    728 Dogwood Dr                                        North Wales, PA 19454       Incomplete Declaration
116    115 10/21/20 15:31:36 10/21/20 15:32:43 anonymous           005821116‐46     310203‐1    Robinson             Jessie         1028 Arboretum Rd                                     Wyncote, PA 19095           Incomplete Declaration
117    116 10/21/20 15:31:21 10/21/20 15:32:46 anonymous           103494858‐46     61T00‐1     Zhou                 Wenyuan        28 Fieldcrest Drive                                   Collegeville, PA 19426      USPS Issue
118    117 10/21/20 15:31:42 10/21/20 15:32:50 anonymous           005758392‐46     100200‐1    Feldman,             Sandra R       309 Florence Ave N408 Beaver Hill North Jenkintown, PA 19046                      Incomplete Declaration
119    118 10/21/20 15:32:52 10/21/20 15:33:41 anonymous           103022603‐46     540501‐1    Hoffman              Gaye           1650 Susquehanna Rd # 218                             Dresher, PA 19025‐1019      Incomplete Declaration
120    119 10/21/20 15:32:50 10/21/20 15:33:44 anonymous           005879767‐46     500001‐1    Bishop               Faye           559 Meetinghouse Rd                                   Harleysville, PA 19438      Incomplete Declaration
121    120 10/21/20 15:32:54 10/21/20 15:33:46 anonymous           021034243‐46     540301‐1    Shore                Adam           35 Overlook Circle                                    Dresher, PA 19025           USPS Issue
122    121 10/21/20 15:33:43 10/21/20 15:34:22 anonymous           003318689‐46     090001‐1    Gillie               Cheryl         504 Main St S                                         Hatfield, PA 19440          Incomplete Declaration
123    122 10/21/20 15:33:51 10/21/20 15:34:50 anonymous           005990025‐46     300601‐1    Natter               Charles W      333 Cricket Ave                                       Glenside, PA 19038          USPS Issue
124    123 10/21/20 15:33:49 10/21/20 15:35:03 anonymous           006094979‐46     310601‐1    Price                Natalie        402 Waring Rd                                         Elkins Park, PA 19027       Incomplete Declaration
125    124 10/21/20 15:34:23 10/21/20 15:35:05 anonymous           106341766‐46     530303‐1    Tauch                Bora           106 Durham Ct                                         Harleysville, PA 19438      Incomplete Declaration
126    125 10/21/20 15:35:06 10/21/20 15:35:43 anonymous           006095669‐46     090001‐1    Lersch               Beverly K      3 Maple Ave N                                         Hatfield, PA 19440          Incomplete Declaration
127    126 10/21/20 15:34:51 10/21/20 15:35:49 anonymous           006221397‐46     340007‐1    Goens                Catherine M    453 Berkshire Drive                                   Souderton, PA 18964         USPS Issue
128    127 10/21/20 15:35:10 10/21/20 15:36:11 anonymous           unable to read   330201‐1    Young                Bruce          507 Norris City Ave                                   Norristown, PA 19401        Incomplete Declaration
129    128 10/21/20 15:35:45 10/21/20 15:36:18 anonymous           005803136‐46     340005‐1    Zurek                Cheri L        n/a                                                   n/a                         Incomplete Declaration
130    129 10/21/20 15:35:56 10/21/20 15:36:56 anonymous           005768209‐46     040001‐1    Williams             Paula Davis    138 Revere Court                                      Collegeville, PA 19426      USPS Issue
131    130 10/21/20 15:36:28 10/21/20 15:37:14 anonymous           006189984‐46     65M02‐1     Strader              Gretchen L     n/a                                                   n/a                         Incomplete Declaration
132    131 10/21/20 15:36:28 10/21/20 15:37:32 anonymous           005880937‐46     500001‐1    Bishop               Clifford       559 Meetinghouse Rd                                   Harleysville, PA 19438      Incomplete Declaration
133    132 10/21/20 15:37:02 10/21/20 15:37:51 anonymous           014773241‐46     310201‐1    Sanders              Rachel         1926 Fawn Drive                                       Glenside, PA 19038          USPS Issue
134    133 10/21/20 15:37:16 10/21/20 15:37:53 anonymous           104389392‐46     020100‐1    Kelly                John Barry     580 Green St                                          Bridgeport, PA 19405        Incomplete Declaration
135    134 10/21/20 15:37:37 10/21/20 15:38:33 anonymous           006410999‐46     340008‐1    Leib                 Willliam       15 Chatham CT                                         Souderton, PA 18964         Incomplete Declaration
136    135 10/21/20 15:37:53 10/21/20 15:38:45 anonymous           108240206‐46     310201‐1    Laniak               Robert         1800 Harris Road                                      Glenside, PA 19038          USPS Issue

                                                                                                            Page 3 of 124
                                                                       Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 4 of 124


      A             B                C             D       E    F        G             H                I                       J                     K                               L                           M
 1 ID      Start time        Completion time Email       Name NumbeNumber2         Precinct:   Last Name             First name         Address Line 1                  Address Line 2                Issue
137    136 10/21/20 15:37:54 10/21/20 15:38:53 anonymous           109614285‐46    460003‐1    Prabhudesai           Sachin G           102 Sterling Dr                 North Wales, PA 19454         Resolved
138    137 10/21/20 15:38:41 10/21/20 15:39:32 anonymous           006410998‐46    340008‐1    Leib                  Helen              15 Chatham Ct                   Souderton, PA 18964           Incomplete Declaration
139    138 10/21/20 15:39:03 10/21/20 15:40:19 anonymous           006016876‐46    58BEL03‐1   Fraschetta            Amy C              146 Ross Rd                     King of Prussia, PA 19406     USPS Issue
140    139 10/21/20 15:38:54 10/21/20 15:40:55 anonymous           006416415‐46    120002‐1    Gutierrez             Sonia              214 Price Ave Apt F33           Narberth, PA 19072            Incomplete Declaration
141    140 10/21/20 15:40:22 10/21/20 15:41:24 anonymous           006048310‐46    300103‐1    Kurowski              Vivian             1415 Carol Rd                   Jenkintown PA 19046           USPS Issue
142    141 10/21/20 15:40:56 10/21/20 15:41:47 anonymous           006204178‐46    160500‐1    Brown                 Joan Ruth          724 Charlotte St N              Pottstown, PA 19464           Incomplete Declaration
143    142 10/21/20 15:41:49 10/21/20 15:42:31 anonymous           021574282‐46    460005‐1    Patel                 Dipti B            110 McKean Ct                   North Wales, PA 19454         Incomplete Declaration
144    143 10/21/20 15:41:25 10/21/20 15:42:44 anonymous           006331148‐46    301401‐1    Holmes                Melissa D          1548 Birchwood Ave              Abington, PA 19001            USPS Issue
145    144 10/21/20 15:39:51 10/21/20 15:43:06 anonymous           006198656‐46    301003‐1    Byrne                 Robert             1557 Shoemaker Rd               Abington, PA 19001            Incomplete Declaration
146    145 10/21/20 15:42:33 10/21/20 15:43:11 anonymous           006402206‐46    360402‐1    Lee                   Joseph S           1019 Balmoral Way               Ambler, PA 19002              Incomplete Declaration
147    146 10/21/20 15:42:46 10/21/20 15:43:41 anonymous           005724460‐465   300103‐1    Douglass              Eileen O           1225 Gilbert Rd                 Jenkintown, PA 19046          USPS Issue
148    147 10/21/20 15:43:13 10/21/20 15:43:49 anonymous           005686520‐46    160400‐1    Buck                  Dennis R           n/a                             n/a                           Resolved
149    148 10/21/20 15:43:51 10/21/20 15:44:26 anonymous           006310151‐46    460004‐1    Lane                  Newman F           2004 Highland Ct                North Wales, PA 19454         Incomplete Declaration
150    149 10/21/20 15:43:43 10/21/20 15:44:43 anonymous           006371564‐46    340006‐1    Goens                 Charles W          210 Sumner CT                   Harleysville, PA 19438        USPS Issue
151    150 10/21/20 15:44:29 10/21/20 15:45:14 anonymous           006310152‐46    460004‐1    Lane                  Elizabeth M        2004 Highland Ct                North Wales, PA 19454         Incomplete Declaration
152    151 10/21/20 15:43:11 10/21/20 15:45:28 anonymous           006252703‐46    300502‐1    Johnson               Lavern             1724 Cummings Ave               Willow Grove, PA 19090        Incomplete Declaration
153    152 10/21/20 15:45:16 10/21/20 15:46:02 anonymous           005734269‐46    520702‐1    Elsroad               Heidi              n/a                             n/a                           Incomplete Declaration
154    153 10/21/20 15:46:04 10/21/20 15:46:46 anonymous           009424231‐46    500005‐1    Damiano               Henrietta M        808 Haldeman Rd                 Schwenksville, PA 19473       Incomplete Declaration
155    154 10/21/20 15:44:51 10/21/20 15:46:55 anonymous           006371565‐46    340006‐1    Goens                 Linda T            210 Sumner CT                   Harleysville, PA 19438        USPS Issue
156    155 10/21/20 15:45:30 10/21/20 15:47:10 anonymous           005922175‐46    180001‐1    McGinty               Joan               1003 Loney St                   Jenkintown, PA 19046          Resolved
157    156 10/21/20 15:46:47 10/21/20 15:47:19 anonymous           005869999‐46    380001‐1    Cooper                Linda A            44 Aspen Way                    Schwenksville, PA 19473       Incomplete Declaration
158    157 10/21/20 15:47:01 10/21/20 15:47:44 anonymous           110052152‐46    350101‐1    Bhatt                 Utpal P            45 Arbor Circle                  Colmar, PA 18915             USPS Issue
159    158 10/21/20 15:47:32 10/21/20 15:48:27 anonymous           021020980‐46    130203‐1    Haffar                Moness             207 Swede St APT 105            Norristown, PA 19401          Incomplete Declaration
160    159 10/21/20 15:47:46 10/21/20 15:48:46 anonymous           005871808‐46    330204‐1    Crisci                Carol A            3106 Green Hill Lane            Norristown, PA 19401          USPS Issue
161    160 10/21/20 15:47:13 10/21/20 15:49:03 anonymous           005978687‐46    170001‐1    Schaffer              Ronald             268 Williams Ln                 Red Hill, PA 18076            Incomplete Declaration
162    161 10/21/20 15:48:29 10/21/20 15:49:13 anonymous           005870004‐46    380001‐1    Johnson               Frederick W        44 Aspen Way                    Schwenksville, PA 19473       Incomplete Declaration
163    162 10/21/20 15:48:55 10/21/20 15:50:04 anonymous           103493391‐46    460003‐1    Kwon                  Priscilla Yoori    3202 Hemmingway Drive           North Wales, PA 19454         USPS Issue
164    163 10/21/20 15:49:34 10/21/20 15:50:30 anonymous           020953116‐46    510001‐1    Kubachka              Thomas Andrew      4104 Inspiration St             Schwenksville, PA 19473       Incomplete Declaration
165    164 10/21/20 15:50:06 10/21/20 15:50:55 anonymous           021662322‐46    330202‐1    Berman                Charles Ira        8 Crimson Drive                 Norristown, PA 19401          USPS Issue
166    165 10/21/20 15:50:32 10/21/20 15:51:13 anonymous           103998021‐46    430101‐1    Swope                 Jacqueline Marie   131 Level Rd                    Collegeville, PA 19426        Incomplete Declaration
167    166 10/21/20 15:49:06 10/21/20 15:51:58 anonymous           014848197‐46    300202‐1    Gill                  Patricia           1551 Huntingdon Pike APT B306   Huntingdon Valley, PA 19006   Damaged
168    167 10/21/20 15:51:01 10/21/20 15:52:09 anonymous           006325234‐46    300601‐1    Butler                Daniel             220 Maple Ave                   Glenside PA 19038             USPS Issue
169    168 10/21/20 15:51:14 10/21/20 15:52:20 anonymous           021596921‐46    65M04‐1     Graham                Sharon S           n/a                             n/a                           Incomplete Declaration
170    169 10/21/20 15:52:21 10/21/20 15:53:14 anonymous           005692176‐46    65M05‐1     Glick                 Eli Daniel         7 Whitefield Dr                 Lafayette Hill, PA 19444      Resolved
171    170 10/21/20 15:52:10 10/21/20 15:53:36 anonymous           006297681‐46    380002‐1    Beardsley             Richard            PO box 234                      Salford, PA 18957             USPS Issue
172    171 10/21/20 15:53:15 10/21/20 15:54:11 anonymous           001263773‐46    65W03‐1     Duttera               Linda A            619 Wagner Road                 Lafayette Hill, PA 19444      Resolved
173    172 10/21/20 15:52:05 10/21/20 15:54:11 anonymous           015414520‐46    410500‐1    Abrams                Patricia           3430 Huntingdon Pike            Huntingdon Vly, PA 19006      Incomplete Declaration
174    173 10/21/20 15:53:37 10/21/20 15:54:43 anonymous           104780072‐46    320003‐1    Durante               Nicole B           1504 Penny Lane                 Gilbertsville, PA 19525       USPS Issue
175    174 10/21/20 15:54:12 10/21/20 15:54:55 anonymous           005936141‐46    390103‐1    Adams                 Maureen M          1438 Evans Rd                   Lower Gwynedd, PA 19002       Resolved
176    175 10/21/20 15:54:57 10/21/20 15:55:34 anonymous           014706553‐46    660011‐1    Dainoff               Harris A           1895 Meredith Lane              Blue Bell, PA 19422           Resolved
177    176 10/21/20 15:54:15 10/21/20 15:56:17 anonymous           015881210‐46    410100‐1    Warren                Shirley            770 Welsh Rd Apt 209            Huntingdon Vly, PA 19006      Incomplete Declaration
178    177 10/21/20 15:55:37 10/21/20 15:56:18 anonymous           108280944‐46    58CAN02‐1   Kim                   Youn Joo           n/a                             n/a                           Incomplete Declaration
179    178 10/21/20 15:56:20 10/21/20 15:57:05 anonymous           014618041‐46    460007‐1    Pearson               Donnalee           132 Steeplechase Drive          North Wales PA 19454          Incomplete Declaration
180    179 10/21/20 15:57:06 10/21/20 15:57:46 anonymous           006031499‐46    58KIN01‐1   Burrows               Grace Therese      144 Flintlock Rd                King of Prussia, PA 19406     Incomplete Declaration
181    180 10/21/20 15:56:20 10/21/20 15:58:06 anonymous           020645654‐46    410500‐1    Meshon                Sheldon            3430 Huntingdon Pike            Huntingdon Vly, PA 19006      Incomplete Declaration

                                                                                                            Page 4 of 124
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      A             B                C             D       E    F        G            H               I                       J                      K                               L                        M
 1 ID      Start time        Completion time Email       Name NumbeNumber2        Precinct:   Last Name            First name          Address Line 1                  Address Line 2             Issue
182    181 10/21/20 15:57:47 10/21/20 15:58:25 anonymous           015633781‐46   520402‐1    Lee                  Juanita V           1201 Papermill Rod              Glenside, PA 19038         Incomplete Declaration
183    182 10/21/20 15:58:27 10/21/20 15:59:00 anonymous           006027950‐46   330204‐1    White                Elaine M            3 Stuart Dr                     Norristown, PA 19401       Incomplete Declaration
184    183 10/21/20 15:58:09 10/21/20 16:00:30 anonymous           007096730‐46   410500‐1    Paso                 Victor              3430 Huntingdon Pike            Huntingdon Vly, PA 19006   Incomplete Declaration
185    184 10/21/20 16:00:08 10/21/20 16:01:08 anonymous           006027950‐46   330204‐1    White                Elaine M            3 Stuart Dr                     Norristown, PA 19401       Incomplete Declaration
186    185 10/21/20 16:00:33 10/21/20 16:02:06 anonymous           015012310‐46   300201‐1    Aquila               Mary                22 Lee Lynn Ln                  Huntingdon Vly, PA 19006   Incomplete Declaration
187    186 10/21/20 16:01:09 10/21/20 16:02:08 anonymous           015036562‐46   590102‐1    Estrada              Emily Melendez      352 Forest Ave                  Willow Grove, PA 19090     Incomplete Declaration
188    187 10/21/20 16:02:10 10/21/20 16:03:23 anonymous           005730964‐46   520701‐1    Townes               Jean                1003 Summit Ln                  Oreland, PA 19075          Incomplete Declaration
189    188 10/21/20 16:02:10 10/21/20 16:03:58 anonymous           005940685‐46   300202‐1    Bloch                Barbara             1680 Huntingdon Pike 320        Huntingdon Vly, PA 19006   Resolved
190    189 10/21/20 16:03:28 10/21/20 16:04:15 anonymous           005896441‐46   130303‐1    Smith                Juanita M           1826 Pine St                    Norristown, PA 19401       Incomplete Declaration
191    190 10/21/20 15:59:06 10/21/20 16:04:18 anonymous           005952306‐46   330203‐1    Crits                Niki                300 Germantown Pike E, APT 1218 Norristown, PA 19401       USPS Issue
192    191 10/21/20 16:04:17 10/21/20 16:05:04 anonymous           006042868‐46   660012‐1    McGowan              Patricia Anne       5213 Twin Silo Drive            Blue Bell, PA 19422        Incomplete Declaration
193    192 10/21/20 16:05:06 10/21/20 16:05:48 anonymous           015423245‐46   460007‐1    Kane                 Frederic Joseph     n/a                             n/a                        Incomplete Declaration
194    193 10/21/20 16:04:20 10/21/20 16:05:56 anonymous           108004108‐46   58KIN02‐1   Murtaza              Naved               N/A                             APT 118 USA                USPS Issue
195    194 10/21/20 16:04:00 10/21/20 16:05:59 anonymous           021669772‐46   470003‐1    Garcia               Maritza             2625 Anthony Dr                 Pottstown, PA 19464        Incomplete Declaration
196    195 10/21/20 16:05:49 10/21/20 16:06:29 anonymous           106563290‐46   310501‐1    Seffu                Lois T              415 Lodges Ln                   Elkins Park, PA 19027      Resolved
197    196 10/21/20 16:06:30 10/21/20 16:07:17 anonymous           005693641‐46   460005‐1    Rogers               Sharon P            102 Ashley Cir                  Lansdale, PA 19446         Incomplete Declaration
198    197 10/21/20 16:06:05 10/21/20 16:07:35 anonymous           006110677‐46   160500‐1    Nevels               Vera                724 Charlotte St N              Pottstown, PA 19464        Incomplete Declaration
199    198 10/21/20 16:07:19 10/21/20 16:08:03 anonymous           006141245‐46   160500‐1    Tirado               Magda A             629 N Evans St                  Pottstown, PA 19464        Incomplete Declaration
200    199 10/21/20 16:05:58 10/21/20 16:08:34 anonymous           003261406‐46   65M05‐1     Boyd                 David               4003 Westaway Drive APT C3 Lafayette Hill, PA 19444        USPS Issue
201    200 10/21/20 16:08:09 10/21/20 16:08:59 anonymous           103711383‐46   530202‐1    Joslin‐Pharo         Kathy L             2075 Creek Way                  Lansdale, PA 19446         Incomplete Declaration
202    201 10/21/20 16:07:38 10/21/20 16:09:26 anonymous           021669773‐46   470003‐1    Garcia               Walfredo            2625 Anthony Dr                 Pottstown, PA 19464        Incomplete Declaration
203    202 10/21/20 16:09:01 10/21/20 16:09:49 anonymous           005807357‐46   460002‐1    Cox                  Lynne M             211 Country Club Dr             Lansdale, PA 19446         Incomplete Declaration
204    203 10/21/20 16:09:50 10/21/20 16:10:44 anonymous           005892824‐46   520101‐1    Schatz               Rhoda               9311 Eagle View Drive           Lafayette Hill, PA 19444   Resolved
205    204 10/21/20 16:10:46 10/21/20 16:11:37 anonymous           109238214‐46   390202‐1    Creasy               Charlotte Delores   501 Bethlehem Pike N, APT 13H Ambler, PA 19002             Incomplete Declaration
206    205 10/21/20 16:09:29 10/21/20 16:11:55 anonymous           005722057‐46   420002‐1    Drauschak            Jean                1110 Kepler Rd                  Pottstown, PA 19464        Incomplete Declaration
207    206 10/21/20 16:11:38 10/21/20 16:12:24 anonymous           006330864‐46   590201‐1    Olwell               Kevin M             55 Bright Rd                    Hatboro, PA 19040          Incomplete Declaration
208    207 10/21/20 16:12:25 10/21/20 16:13:07 anonymous           005727863‐46   300602‐1    Newman               Hilda M             141 Central Ave                 Glenside, PA 19038         Incomplete Declaration
209    208 10/21/20 16:11:58 10/21/20 16:13:46 anonymous           006282219‐46   470003‐1    Woodard Hargrove     Gloria              2595 Willow Brook Ln            Pottstown, PA 19464        Incomplete Declaration
210    209 10/21/20 16:13:08 10/21/20 16:13:51 anonymous           021830491‐46   160102‐1    Simbaya              Yokoniya            428 King St APT 2               Pottstown, PA 19464        Incomplete Declaration
211    210 10/21/20 16:13:52 10/21/20 16:14:30 anonymous           103677050‐46   140300‐1    Rauchut              Sean M              220 Seventh ST S                North Wales, PA 19454      Incomplete Declaration
212    211 10/21/20 16:14:31 10/21/20 16:15:21 anonymous           006010026‐46   160500‐1    Dersch               Elaine              n/a                             n/a                        Incomplete Declaration
213    212 10/21/20 16:13:50 10/21/20 16:15:38 anonymous           009509791‐46   160400‐1    Harris               Nancy               331 Hanover St N, Apt 28        Pottstown, PA 19464        Incomplete Declaration
214    213 10/21/20 16:08:35 10/21/20 16:15:38 anonymous           104691768‐46   530303‐1    Travis               Zachary             208 Green Bank Way              Harleysville, PA 19438     USPS Issue
215    214 10/21/20 16:15:24 10/21/20 16:16:09 anonymous           006283469‐46   61T00‐1     Gray                 John E              17 Fieldcrest Dr                Collegeville, PA 19426     Incomplete Declaration
216    215 10/21/20 16:15:42 10/21/20 16:17:06 anonymous           003306182‐46   460007‐1    Wheeler              William             301 Pimlico Way                 North Wales, PA 19454      Incomplete Declaration
217    216 10/21/20 16:16:10 10/21/20 16:17:24 anonymous           006141246‐46   160500‐1    Tirado‐Berrios       Carlos Enrique      627 N Evans (?) St              Pottstown, PA 19464        Incomplete Declaration
218    217 10/21/20 16:15:49 10/21/20 16:17:59 anonymous           010127270‐46   58GUL02‐1   Nachman              Jeffrey             169 Timothy Cir                 Wayne PA 19087             USPS Issue
219    218 10/21/20 16:17:25 10/21/20 16:18:02 anonymous           110270025‐46   58CAN02‐1   Kim                  Sung Rae            n/a                             n/a                        Incomplete Declaration
220    219 10/21/20 16:18:03 10/21/20 16:18:41 anonymous           005706391‐46   090001‐1    Kosco                Judith A            400 Edgewood Dr                 Hatfield, PA 19440         Incomplete Declaration
221    220 10/21/20 16:17:12 10/21/20 16:19:11 anonymous           106958488‐46   460005‐1    Patel                Bhagyesh            110 McKean Ct                   North Wales, PA 19454      Incomplete Declaration
222    221 10/21/20 16:18:00 10/21/20 16:19:15 anonymous           016038868‐46   310402‐1    Combs                John                2014 John Russell Circle S, B   Elkins Park, PA 19027      USPS Issue
223    222 10/21/20 16:18:43 10/21/20 16:19:34 anonymous           020614613‐46   370003‐1    Varich               Louise T            209 Springhaven Cir             Royersford, PA 19468       Incomplete Declaration
224    223 10/21/20 16:19:16 10/21/20 16:20:54 anonymous           104131901‐46   520502‐1    Callahan             Claire              820 Southampton Ave E           Glenside, PA 19038         USPS Issue
225    224 10/21/20 16:19:36 10/21/20 16:20:56 anonymous           006330755‐46   460004‐1    Mclaughlin           Edward              347 Woodstream Way              North Wales, PA 19454      Incomplete Declaration
226    225 10/21/20 16:19:36 10/21/20 16:21:29 anonymous           021792239‐46   370004‐1    O'Cain               Charlotte           301 Horseshoe Dr                Royersford, PA 19468       Incomplete Declaration

                                                                                                          Page 5 of 124
                                                                       Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 6 of 124


      A             B                C             D       E    F        G             H               I                      J                      K                            L                       M
 1 ID      Start time        Completion time Email       Name NumbeNumber2        Precinct:   Last Name             First name          Address Line 1              Address Line 2            Issue
227    226 10/21/20 16:21:03 10/21/20 16:21:59 anonymous           006330756‐46   460004‐1    Mclaughlin            Elizabeth           347 Woodstream Way          North Wales, PA 19454     Incomplete Declaration
228    227 10/21/20 16:21:30 10/21/20 16:22:40 anonymous           102503215‐46   310202‐1    Edwards               Jeremiah            44 Old Cedarbrook Rd        Wyncote, PA 19095         Incomplete Declaration
229    228 10/21/20 16:20:56 10/21/20 16:22:53 anonymous           110567215‐46   240001‐1    Han                   Christine           N/A                         Conshohocken PA 19428     USPS Issue
230    229 10/21/20 16:22:05 10/21/20 16:23:06 anonymous           102659157‐46   350401‐1    Sarker                Shila Rani          2603 Elroy Rd APT B4        Hatfield, PA 19440        Incomplete Declaration
231    230 10/21/20 16:22:42 10/21/20 16:23:20 anonymous           005688791‐46   110301‐1    Rice                  Valerie A           351 Fifth St W              Lansdale, PA 19446        Incomplete Declaration
232    231 10/21/20 16:23:22 10/21/20 16:24:12 anonymous           108267573‐46   360202‐1    Jung                  Mea Sug             84 Wynmere Dr               Horsham, PA 19044         Incomplete Declaration
233    232 10/21/20 16:23:13 10/21/20 16:24:14 anonymous           005983152‐46   350501‐1    Plonski               Frank               1305 Koffel Rd              Hatfield, PA 19440        Incomplete Declaration
234    233 10/21/20 16:24:13 10/21/20 16:25:08 anonymous           005716947‐46   400402‐1    Williams              Deborah             333 Spring Ave W            Ardmore, PA 19003         Incomplete Declaration
235    234 10/21/20 16:22:55 10/21/20 16:25:10 anonymous           005891249‐46   130203‐1    Tribble               Ulysses             607 Swede St Apt 202        Norristown PA 19401       USPS Issue
236    235 10/21/20 16:24:23 10/21/20 16:25:18 anonymous           005983153‐46   350501‐1    Plonski               Josephine           1305 Koffel Rd              Htfield, PA 19440         Incomplete Declaration
237    236 10/21/20 16:25:09 10/21/20 16:25:46 anonymous           107934112‐46   65E01‐1     Wright                Irene Mae           710 Hunt Ln                 Flourtown, PA 19031       Incomplete Declaration
238    237 10/21/20 16:25:24 10/21/20 16:26:28 anonymous           104110737‐46   350401‐1    Patel                 Bhupendra           2603 Elroy Rd APT C6        Hatfield, PA 19440        Incomplete Declaration
239    238 10/21/20 16:25:47 10/21/20 16:26:32 anonymous           109580221‐46   360404‐1    Russomano             Anthony Michael     1311 Emerson Ct             Ambler, PA 19002          Incomplete Declaration
240    239 10/21/20 16:25:12 10/21/20 16:26:55 anonymous           108786892‐46   130302‐1    Headley Okereke       Summer Ngozi        118 Wayne Ave               Norristown, PA 19401      USPS Issue
241    240 10/21/20 16:26:33 10/21/20 16:27:07 anonymous           103213725‐46   430203‐1    Cosier                Janet L             11 Ivy Cir                  Eagleville, PA 19403      Incomplete Declaration
242    241 10/21/20 16:26:38 10/21/20 16:27:37 anonymous           006001344‐46   350201‐1    Newman                Earlene             2058 Maple Ave APT AG2‐12   Hatfield, PA 19440        Incomplete Declaration
243    242 10/21/20 16:27:12 10/21/20 16:27:53 anonymous           005877159‐46   530301‐1    Sames                 Walter F JR         261 Woods Dr                Lansdale, PA 19446        Incomplete Declaration
244    243 10/21/20 16:27:54 10/21/20 16:28:34 anonymous           021571198‐46   230001‐1    Wilson                Rachel Vanderpool   932 Muhlenberg Dr           Trappe, PA 19426          Incomplete Declaration
245    244 10/21/20 16:27:46 10/21/20 16:28:35 anonymous           106405110‐46   350402‐1    Patel                 Mukundrai           1724 Lydia Dr               Hatfield, PA 19440        Incomplete Declaration
246    245 10/21/20 16:26:57 10/21/20 16:28:39 anonymous           006111991‐46   560007‐1    Patel                 Prathviraj          393 Gosling Drive           North Wales, PA 19454     USPS Issue
247    246 10/21/20 16:28:36 10/21/20 16:29:22 anonymous           005924558‐46   110103‐1    Alderfer              Leslie Jane         21 Highland Ave             Lansdale, PA 19446        Incomplete Declaration
248    247 10/21/20 16:28:41 10/21/20 16:29:32 anonymous           016152728‐46   310302‐1    Green                 Dexter              24 Breyer CT                Elkins Park, PA 19027     Resolved
249    248 10/21/20 16:29:24 10/21/20 16:30:11 anonymous           021791391‐46   110203‐1    Stein                 Debra Ann           1110 Lakeview Dr            Landsdale, PA 19446       Incomplete Declaration
250    249 10/21/20 16:28:41 10/21/20 16:30:13 anonymous           006112569‐46   560007‐1    Patel                 Saroj Prathviraj    396 Gosling Drive           North Wales, PA 19454     USPS Issue
251    250 10/21/20 16:29:39 10/21/20 16:30:33 anonymous           014744183‐46   310302‐1    Green                 Denise              24 Breyer Ct                Elkins Park, PA 19027     Resolved
252    251 10/21/20 16:30:13 10/21/20 16:31:37 anonymous           021791391‐46   110203‐1    Stein                 Debra Ann           1110 Lakeview Dr            Lansdale, PA 19446        Incomplete Declaration
253    252 10/21/20 16:30:58 10/21/20 16:32:11 anonymous           006018614‐46   310603‐1    McDonough             Stewart             8327 New Second St          Elkins Park, PA 19027     Incomplete Declaration
254    253 10/21/20 16:31:39 10/21/20 16:32:22 anonymous           104474533‐46   520301‐1    Steele                Parker James        1211 St Clair Rd            Oreland, PA 19075         Incomplete Declaration
255    254 10/21/20 16:30:15 10/21/20 16:32:38 anonymous           104729770‐46   310404‐1    Hill‐Guillaume        Melissa             12th North Ave              Wyncote, PA 19095         USPS Issue
256    255 10/21/20 16:32:24 10/21/20 16:33:21 anonymous           006200474‐46   130303‐1    Bingaman              Janis               1202 Dekalb St APT 105      Norristown, PA 19401      Incomplete Declaration
257    256 10/21/20 16:32:17 10/21/20 16:33:28 anonymous           021872063‐46   310304‐1    Sanders               Tabitha             7323 School LN APT A        Elkins Park, PA 19027     Incomplete Declaration
258    257 10/21/20 16:33:23 10/21/20 16:34:12 anonymous           006175834‐46   490202‐1    McKeown               Mark Anthony        2982 Sheffield Dr           Plymouth Mtg, PA 19462    Incomplete Declaration
259    258 10/21/20 16:32:40 10/21/20 16:34:17 anonymous           005781527‐46   61O00‐1     Frankel               Jerrold             27 Berman CT                Phoenixville, PA 19460    USPS Issue
260    259 10/21/20 16:33:34 10/21/20 16:34:28 anonymous           006125144‐46   310302‐1    Jeck                  Sheila              353 River Birch Cir         Elkins Park, PA 19027     Incomplete Declaration
261    260 10/21/20 16:34:14 10/21/20 16:34:54 anonymous           006114683‐46   460003‐1    Roc                   Agnonie             115 Country Ln              Lansdale, PA 19446        Incomplete Declaration
262    261 10/21/20 16:34:18 10/21/20 16:35:26 anonymous           006049045‐46   370001‐1    Marino                Vincent             89 Heffner Rd               Royersford PA 19468       USPS Issue
263    262 10/21/20 16:34:55 10/21/20 16:35:39 anonymous           020986260‐46   300103‐1    Palmbach              Valerie Ann         1234 Gilbert Rd             Jenkintown, PA 19046      Resolved
264    263 10/21/20 16:34:35 10/21/20 16:35:43 anonymous           006089202‐46   310302‐1    Jeck                  Saul                353 River Birch Cir         Elkins Park, PA 19027     Incomplete Declaration
265    264 10/21/20 16:35:40 10/21/20 16:36:28 anonymous           110719326‐46   300103‐1    Palmbach              Joshua Mark         1234 Gilbert Rd             Jenkintown, PA 19046      Resolved
266    265 10/21/20 16:35:28 10/21/20 16:36:51 anonymous           006049046‐46   370001‐1    Marino                Pamela              89 Heffner Rd               Royersford PA 19468       USPS Issue
267    266 10/21/20 16:35:56 10/21/20 16:37:00 anonymous           005715516‐46   490102‐1    Gallaghert            Patricia Ann        527 Old Elm St              Conshohocken, PA 19428    Incomplete Declaration
268    267 10/21/20 16:36:31 10/21/20 16:37:11 anonymous           006041513‐46   320003‐1    Walsh                 William S           1446 Grossier Rd            Gilbertsville, PA 19525   Incomplete Declaration
269    268 10/21/20 16:37:12 10/21/20 16:37:56 anonymous           109206344‐46   130303‐1    Salamone              John Russell        1739 Dekalb St              Norristown, PA 19401      Incomplete Declaration
270    269 10/21/20 16:37:16 10/21/20 16:38:12 anonymous           005891541‐46   050400‐1    Whelan                Robert              312 Sixth AVE W, APT B      Conshohocken, PA 19428    Incomplete Declaration
271    270 10/21/20 16:36:59 10/21/20 16:38:17 anonymous           104527468‐46   08N02‐1     Leary                 Katelyn Marion      465 Jacksonville Rd APT B   Hatboro, PA 19040         USPS Issue

                                                                                                           Page 6 of 124
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      A             B                C             D       E    F        G             H                 I                      J                    K                               L                      M
 1 ID      Start time        Completion time Email       Name NumbeNumber2         Precinct:   Last Name              First name       Address Line 1                  Address Line 2           Issue
272    271 10/21/20 16:37:57 10/21/20 16:38:39 anonymous           103231274‐46    310202‐1    Brown                  Phyllis S        11 Old Cedarbrook Rd            Wyncote, PA 19095        Incomplete Declaration
273    272 10/21/20 16:38:36 10/21/20 16:39:41 anonymous           021528421‐46    430102‐1    Qiu                    Guanghua         1025 Brassington Dr             Collegeville, PA 19426   Incomplete Declaration
274    273 10/21/20 16:38:20 10/21/20 16:39:47 anonymous           107946959‐46    401103‐1    Obeid                  Leila Ann        1028 Broadmoor Rd               Bryn Mawr PA 19010       USPS Issue
275    274 10/21/20 16:38:40 10/21/20 16:40:19 anonymous           109385755‐46    360202‐1    Hermann                Christina        856 Burgdorf Dr                 Ambler, PA 19002         Incomplete Declaration
276    275 10/21/20 16:39:48 10/21/20 16:40:44 anonymous           006043271‐46    430101‐1    Lauer‐Hart             Sharon           110 Lattice LN                  Collegeville PA 19426    Incomplete Declaration
277    276 10/21/20 16:40:21 10/21/20 16:41:08 anonymous           104516348‐46    400903‐1    Torres                 Claudio A        32 Conshohocken State Rd APT D3 Bala‐Cynwyd, PA 19004    Incomplete Declaration
278    277 10/21/20 16:39:49 10/21/20 16:41:35 anonymous           109752658‐46    300502‐1    Gamberg                Bailey           1801 Lukens Ave                 Willow Grove PA 19090    USPS Issue
279    278 10/21/20 16:41:10 10/21/20 16:41:51 anonymous           021622247‐46    110301‐1    Akter                  Thamina          828 Wedgewood Dr                Lansdale, PA 19446       Incomplete Declaration
280    279 10/21/20 16:40:56 10/21/20 16:41:58 anonymous           103580215‐46    430101‐1    Akhtar                 Syeda Sana       2040 Greenes Way Cir            Collegeville, PA 19426   Incomplete Declaration
281    280 10/21/20 16:41:36 10/21/20 16:42:51 anonymous           109190977‐46    400201‐1    Pavlow                 Jake             1207 Waverly Rd                 Gladwyne, PA 19035       USPS Issue
282    281 10/21/20 16:41:53 10/21/20 16:43:06 anonymous           006347683‐46    110301‐1    Solaiman               Mohammed         828 Wedgewood Dr                Lansdale, PA 19446       Incomplete Declaration
283    282 10/21/20 16:42:12 10/21/20 16:43:17 anonymous           021083010‐46    430101‐1    Akhtar                 Sherjeel         2040 Greenes Way Cir            Collegeville, PA 19426   Incomplete Declaration
284    283 10/21/20 16:43:07 10/21/20 16:43:50 anonymous           006314465‐46    440001‐1    Sinkinson              Jennifer A       40 Salford Way                  Telford, PA 18969        Incomplete Declaration
285    284 10/21/20 16:43:28 10/21/20 16:44:25 anonymous           110607054‐46    430304‐1    Villar                 Sheryl           21 Teakwood Ter                 Audubon, PA 19403        Resolved
286    285 10/21/20 16:43:52 10/21/20 16:44:32 anonymous           006096516‐46    401202‐1    Keech                  Brian T          216 Avon Rd                     Narberth, PA 19072       Incomplete Declaration
287    286 10/21/20 16:42:53 10/21/20 16:45:16 anonymous           005929540‐46    310601‐1    Bleznak                Stuart           8204 Aspen Way                  Elkins Park, PA 19027    USPS Issue
288    287 10/21/20 16:44:33 10/21/20 16:45:16 anonymous           005947873‐46    58GUL02‐1   Korenstein             Susan M          325 Danell Rd                   Wayne, PA 19087          Incomplete Declaration
289    288 10/21/20 16:44:27 10/21/20 16:45:18 anonymous           005967922‐46    430301‐1    Chung                  Ann              13 Mary Bell Rd                 Audubon, PA 19403        Incomplete Declaration
290    289 10/21/20 16:45:17 10/21/20 16:45:57 anonymous           006002346‐46    400102‐1    Landis                 Evan Matthew     434 Old Gulph Rd E              Narberth, PA 19072       Incomplete Declaration
291    290 10/21/20 16:45:27 10/21/20 16:46:26 anonymous           006384856‐46    300502‐1    Oliver Jr              William          2529 Pierce Ave                 Willow Grove, PA 19090   Incomplete Declaration
292    291 10/21/20 16:45:19 10/21/20 16:46:39 anonymous           006377887‐46    230001‐1    McConomy               Deborah          665 Bonny Brook Ave             Trappe, PA 19426         USPS Issue
293    292 10/21/20 16:45:58 10/21/20 16:46:51 anonymous           006173781‐46    360202‐1    Carrasquillo           Yolanda          869 Burgdorf Dr                 Ambler, PA 19002         Incomplete Declaration
294    293 10/21/20 16:46:52 10/21/20 16:47:28 anonymous           005959858‐46    360403‐1    Owens                  Gail             506 Cedar Hill Rd               Ambler, PA 19002         Incomplete Declaration
295    294 10/21/20 16:46:35 10/21/20 16:47:32 anonymous           005841849‐46    300801‐1    Marziani               Frank            1717 Crestview Ave              Willow Grove, PA 19090   Incomplete Declaration
296    295 10/21/20 16:47:29 10/21/20 16:48:13 anonymous           005787947‐46    340007‐1    Schussler              Martha           456 Mininger Rd                 Souderton, PA 18964      Resolved
297    296 10/21/20 16:47:40 10/21/20 16:48:41 anonymous           009888024‐46    400701‐1    Greene                 Willie Mae       1001 City Ave APT WA806         Wynnewood, PA 19096      Incomplete Declaration
298    297 10/21/20 16:46:40 10/21/20 16:48:49 anonymous           103851615‐46    310601‐1    Williams               Walter           551 Shoemaker Rd                Elkins Park, PA 19027    USPS Issue
299    298 10/21/20 16:48:14 10/21/20 16:48:50 anonymous           006062408‐46    410100‐1    Singer                 Susan C          1044 George Rd                  Jenkintown, PA 19046     Incomplete Declaration
300    299 10/21/20 16:48:52 10/21/20 16:49:23 anonymous           005687710‐46    300502‐1    Burwell                Matthew          1559 Lukens Ave                 Abington, PA 19001       Incomplete Declaration
301    300 10/21/20 16:48:49 10/21/20 16:49:38 anonymous           009949060‐46    400702‐1    Fleitz                 Mary             944 Clover Hill Rd              Wynnewood PA, 19096      Incomplete Declaration
302    301 10/21/20 16:49:24 10/21/20 16:50:06 anonymous           103760859‐46    310301‐1    Spigner                Kathleen         25 Washington Ln APT 830        Wyncote, PA 19095        Incomplete Declaration
303    302 10/21/20 16:49:46 10/21/20 16:50:36 anonymous           009949059‐46    400702‐1    Fleitz                 Fred             944 Clover Hill Rd              Wynnewood, PA 19096      Incomplete Declaration
304    303 10/21/20 16:48:50 10/21/20 16:51:04 anonymous           1100663302‐46   040003‐1    Pagilarulo             Megan            146 Derr Drive                  Collegeville, PA 19426   USPS Issue
305    304 10/21/20 16:50:32 10/21/20 16:51:07 anonymous           005769992‐46    400902‐1    Bovo                   Anita M          352 Trevor Ln                   Bala‐Cynwyd, PA 19004    Incomplete Declaration
306    305 10/21/20 16:50:45 10/21/20 16:51:38 anonymous           006006429‐46    401403‐1    Volinsky               Ethel            46 Haverford Rd                 Wynnewood, PA 19096      Incomplete Declaration
307    306 10/21/20 16:51:08 10/21/20 16:51:53 anonymous           109941137‐46    300901‐1    Whalen                 Theresa L        1070 Easton Rd APT 1            Abington, PA 19001       Incomplete Declaration
308    307 10/21/20 16:51:55 10/21/20 16:52:38 anonymous           005730346‐46    110203‐1    Gisondi                Sarah            843 Concord Pl                  Lansdale, PA 19446       Incomplete Declaration
309    308 10/21/20 16:51:50 10/21/20 16:52:53 anonymous           006269464‐46    020200‐1    Destefano              Richard          301 Union Ave                   Bridgeport, PA 19405     Resolved
310    309 10/21/20 16:51:06 10/21/20 16:52:56 anonymous           005789492‐46    58GUL02‐1   Makransky              Jane             107 Timothy Circle              Wayne PA 19087           USPS Issue
311    310 10/21/20 16:52:40 10/21/20 16:53:15 anonymous           006120188‐46    301303‐1    Anderson               Diane E          871 Fernhill Rd                 Glenside, PA 19038       Incomplete Declaration
312    311 10/21/20 16:53:16 10/21/20 16:53:54 anonymous           003502763‐46    110103‐1    Ward                   James J Jr       333 Church Rd                   Lansdale, PA 19446       Incomplete Declaration
313    312 10/21/20 16:53:04 10/21/20 16:54:07 anonymous           005716351‐46    340006‐1    Brooke                 Paul Lee         18 Crescent Cir                 Harleysville, PA 19438   Resolved
314    313 10/21/20 16:53:55 10/21/20 16:54:39 anonymous           006111219‐46    180001‐1    McGinty                Joseph Brendan   1003 Loney St                   Jenkintown, PA 19046     Resolved
315    314 10/21/20 16:53:40 10/21/20 16:54:54 anonymous           104504353‐46    350302‐1    Sibel                  Christopher      1053 Garrison Lane              Souderton PA 18964       USPS Issue
316    315 10/21/20 16:54:41 10/21/20 16:55:19 anonymous           006233043‐46    360105‐1    Tennet                 Diane            410 Blair Mill Rd               Hatboro, PA 19040        Incomplete Declaration

                                                                                                             Page 7 of 124
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      A             B                C             D       E    F        G            H                I                      J                         K                                     L                          M
 1 ID      Start time        Completion time Email       Name NumbeNumber2        Precinct:   Last Name             First name      Address Line 1                              Address Line 2               Issue
317    316 10/21/20 16:54:18 10/21/20 16:55:29 anonymous           003664801‐46   530301‐1    Grohe                 Patricia        66 Woodhollow Dr                            Harleysville, PA 19438       Incomplete Declaration
318    317 10/21/20 16:55:21 10/21/20 16:56:01 anonymous           006129123‐46   360105‐1    Tennett               David H         410 Blair Mill Rd                           Hatboro, PA 19040            Incomplete Declaration
319    318 10/21/20 16:54:56 10/21/20 16:56:08 anonymous           021348834‐46   401202‐1    Goldwein              Eric            417 Meadow Lane                             Merion Station Pa 19066      USPS Issue
320    319 10/21/20 16:56:02 10/21/20 16:56:38 anonymous           005687709‐46   300502‐1    Burwell               Joan A          1559 Lukens Ave                             Abington, PA 19001           Incomplete Declaration
321    320 10/21/20 16:55:43 10/21/20 16:56:47 anonymous           006109172‐46   210200‐1    Merrone               Peter           Valley Vista, 36 County Line Rd S Apt 101   Souderton, PA 18964          Incomplete Declaration
322    321 10/21/20 16:56:39 10/21/20 16:57:19 anonymous           109941133‐46   300901‐1    Foxworth              John H          1070 Easton Rd Apt 1                        Abington, PA 19001           Incomplete Declaration
323    322 10/21/20 16:56:10 10/21/20 16:57:41 anonymous           006224013‐46   300601‐1    Rivera                Wilma           2707 Laurel Lane                            Glenside, PA 19038           USPS Issue
324    323 10/21/20 16:56:58 10/21/20 16:58:35 anonymous           021697664‐46   301402‐1    Roundtree Jr          Herman          2300 Heston St                              Abington, PA 19001           Incomplete Declaration
325    324 10/21/20 16:57:46 10/21/20 16:58:50 anonymous           104183558‐46   130303‐1    Lewis                 Amber           221 Wood St E                               Norristown PA 19401          USPS Issue
326    325 10/21/20 16:58:48 10/21/20 16:59:54 anonymous           006399484‐46   300701‐1    Sieber                Betty           1515 The Fairway Apt H524                   Jenkintown PA, 19046         Incomplete Declaration
327    326 10/21/20 16:58:51 10/21/20 17:00:14 anonymous           103383198‐46   430102‐1    Sayre                 Rebekah         8007 Woodgate Circle                        Collegeville PA 19426        USPS Issue
328    327 10/21/20 17:00:07 10/21/20 17:01:01 anonymous           109699278‐46   440001‐1    Tsoleas               Deborah         156 Country View Way                        Telford, PA 18969            Incomplete Declaration
329    328 10/21/20 17:00:15 10/21/20 17:01:55 anonymous           108277350‐46   420003‐1    Beitler               Brianna         1522 Kepler Road                            Pottstown, PA 19464          USPS Issue
330    329 10/21/20 17:01:09 10/21/20 17:01:59 anonymous           005863024‐46   400603‐1    Pillion               Ann             915 Stoke Rd                                Villanova, PA 19085          Incomplete Declaration
331    330 10/21/20 17:01:47 10/21/20 17:02:35 anonymous           102791804‐46   300502‐1    Douglass              Madelene        1619 High Ave                               Willow Grove, PA 19040       Incomplete Declaration
332    331 10/21/20 17:02:11 10/21/20 17:02:57 anonymous           006149982‐46   310204‐1    Moon                  Dana            14 Poe Ave                                  Wyncote, PA 19095            Incomplete Declaration
333    332 10/21/20 17:02:36 10/21/20 17:03:23 anonymous           003628043‐46   460007‐1    Wheeler               Patricia        301 Pimlico Way                             North Wales, PA 19454        Incomplete Declaration
334    333 10/21/20 17:01:57 10/21/20 17:03:33 anonymous           109859568‐46   660008‐1    Baklycki              Jerry           1260 Holstein CT                            Blue Bell, PA 19422          USPS Issue
335    334 10/21/20 17:03:03 10/21/20 17:04:22 anonymous           005859627‐46   320001‐1    Mathias               Wilda           418 Hoffmansville Rd                        Barto, PA 19504              Incomplete Declaration
336    335 10/21/20 17:03:34 10/21/20 17:05:03 anonymous           109583528‐46   540203‐1    Sacco                 Natalie         1456 Mundock Rd                             Dresher, PA 19025            USPS Issue
337    336 10/21/20 17:03:26 10/21/20 17:05:16 anonymous           006266969‐46   660012‐1    Dellecker             Ronald B        7050 Twin Silo Dr                           Blue Bell, PA 19422          Incomplete Declaration
338    337 10/21/20 17:04:34 10/21/20 17:06:12 anonymous           005931482‐46   320001‐1    Mathiaas              Paul            418 Hoffmansville Rd                        Barto, PA 19504              Incomplete Declaration
339    338 10/21/20 17:05:17 10/21/20 17:06:37 anonymous           005688434‐46   400402‐1    Taylor                Jerome A        206 Ardmore Ave Apt 2                       Ardmore, PA 19003            Incomplete Declaration
340    339 10/21/20 17:05:06 10/21/20 17:06:41 anonymous           110581779‐46   520502‐1    Sweeney               Margaret        503 Wyndmoor Ave                            Glenside, PA 19038           USPS Issue
341    340 10/21/20 17:06:38 10/21/20 17:07:30 anonymous           005956425‐46   490302‐1    Pinsker               Ronald J        777 W. Germantown Pike 525                  Plymouth Meeting, PA 19462   Resolved
342    341 10/21/20 17:06:50 10/21/20 17:07:55 anonymous           109617040‐46   400402‐1    Avery                 Christina       230 Spring Ave W.                           Ardmore, PA, 19003           USPS Issue
343    342 10/21/20 17:07:41 10/21/20 17:08:40 anonymous           005815650‐46   040002‐1    Barnett               Eric            74 E 5th Ave APT B201                       Collegeville, PA 19426       Incomplete Declaration
344    343 10/21/20 17:08:03 10/21/20 17:09:14 anonymous           105049313‐46   430304‐1    Meadowcroft           Douglas         2744 Maplewood Mews                         Audobon PA 19403             USPS Issue
345    344 10/21/20 17:08:41 10/21/20 17:09:23 anonymous           015613347‐46   590302‐1    Barbera               Albert          1492 Sycamore Ave                           Willow Grove, PA 19090       Incomplete Declaration
346    345 10/21/20 17:09:24 10/21/20 17:10:12 anonymous           006291745‐46   590102‐1    Wilson                Stanley Wayne   500 Manor House Dr Apt C7                   Willow Grove, PA 19090       Incomplete Declaration
347    346 10/21/20 17:10:13 10/21/20 17:10:52 anonymous           006073465‐46   590701‐1    Lenz                  Joyce D         417 Exton Rd                                Hatboro, PA 19040            Incomplete Declaration
348    347 10/21/20 17:10:54 10/21/20 17:11:38 anonymous           006089218‐46   2400001‐1   Smith                 David W         112 Cedar Ave                               W. Conshohocken, PA 19428    Incomplete Declaration
349    348 10/21/20 17:09:35 10/21/20 17:11:51 anonymous           110603475‐46   660010‐1    Stephens              Kiersten        1604 Winchester Dr                          Blue Bell, PA 19422          Incomplete Declaration
350    349 10/21/20 17:11:40 10/21/20 17:12:16 anonymous           021698044‐46   630402‐1    Nelson                Donna L         18 Arbour Ct                                Norristown, PA 19403         Incomplete Declaration
351    350 10/21/20 17:12:19 10/21/20 17:13:13 anonymous           109538879‐46   660012‐1    Maurtua               Alicia          1309 Twin Silo Dr                           Blue Bell, PA 19422          Incomplete Declaration
352    351 10/21/20 17:12:04 10/21/20 17:13:24 anonymous           014923837‐46   65M04‐1     Johnson               Sally           372 Foxhound Dr                             Layfayette Hill, PA 19444    Incomplete Declaration
353    352 10/21/20 17:13:14 10/21/20 17:13:57 anonymous           109719137‐46   160300‐1    Twarogowski           Theresa         1 W 5th St Rear                             Pottstown, PA 19464          Incomplete Declaration
354    353 10/21/20 17:13:36 10/21/20 17:14:30 anonymous           006151634‐46   390201‐1    Gold                  Nancy           301 Norristown Rd APT E105                  Ambler, PA 19002             Incomplete Declaration
355    354 10/21/20 17:13:58 10/21/20 17:15:19 anonymous           005736070‐46   65E01‐1     Saponaro              Cynthia         6118 Creekside Dr                           Flourtown, PA 19031          Incomplete Declaration
356    355 10/21/20 17:15:21 10/21/20 17:16:04 anonymous           006409432‐46   590201‐1    Glickstein            Joann M         3855 Blair Mill Rd Apt 202M                 Horsham, PA 19044            Incomplete Declaration
357    356 10/21/20 17:14:37 10/21/20 17:16:06 anonymous           006383303‐46   130103‐1    Moffatt               Joyce           1307 W. Beech St                            Norristown PA 19401          Incomplete Declaration
358    357 10/21/20 17:16:07 10/21/20 17:16:46 anonymous           006372474‐46   110302‐1    Hossain               Mohammad M      1007 Poplar St                              Lansdale, PA 19446           Incomplete Declaration
359    358 10/21/20 17:16:13 10/21/20 17:17:08 anonymous           005945001‐46   370003‐1    Exley                 Charles         372 Pebble Beach Dr                         Linfield PA 19468            Incomplete Declaration
360    359 10/21/20 17:16:47 10/21/20 17:17:28 anonymous           005841989‐46   560006‐1    Reynolds              Arlene          284 Bradford Ln                             Lansdale, PA 19446‐6620      Incomplete Declaration
361    360 10/21/20 17:17:29 10/21/20 17:18:10 anonymous           006358200‐46   600001‐2    Jerry                 Meredith        240 Deerfield Way                           Pottstown, PA 19464          Incomplete Declaration

                                                                                                           Page 8 of 124
                                                                       Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 9 of 124


      A             B                C             D       E    F        G             H               I                       J                 K                              L                             M
 1 ID      Start time        Completion time Email       Name NumbeNumber2         Precinct:   Last Name            First name     Address Line 1                Address Line 2                   Issue
362    361 10/21/20 17:17:16 10/21/20 17:18:12 anonymous           103088062‐46    61M100‐1    Bass                 Svetlana       1509 Yeager Rd                Royersford PA 19408              Incomplete Declaration
363    362 10/21/20 17:18:11 10/21/20 17:18:50 anonymous           005977279‐46    130401‐1    Hill                 Joseph D       600 W Valley Forge Rd         King of Prussia, PA 19406‐1571   Incomplete Declaration
364    363 10/21/20 17:18:23 10/21/20 17:19:05 anonymous           006032350‐46    370006‐1    Ford                 Katharine      NA                            NA                               Incomplete Declaration
365    364 10/21/20 17:18:52 10/21/20 17:19:26 anonymous           005830706‐46    660012‐1    Ecker                Helen H        5211 Twin Silo Dr.            Blue Bell, PA 19422              Incomplete Declaration
366    365 10/21/20 17:19:27 10/21/20 17:20:06 anonymous           005984469‐46    050600‐1    McMonagle            Madeline       322 W 10th Ave                Conshohocken, PA 19428‐1414      Incomplete Declaration
367    366 10/21/20 17:19:21 10/21/20 17:20:21 anonymous           006108075‐46    370006‐1    McCormick            Patricia Ann   204 Wisteria Dr               Limerick PA 19468                Incomplete Declaration
368    367 10/21/20 17:20:08 10/21/20 17:20:53 anonymous           005886496‐46    550001‐1    Schaeffer            Walter H       2849 Big Road                 Zieglersville, PA 19492          Incomplete Declaration
369    368 10/21/20 17:20:30 10/21/20 17:21:10 anonymous           006062067‐46    160600‐1    Neiffer              Helen          NA                            NA                               Incomplete Declaration
370    369 10/21/20 17:20:54 10/21/20 17:21:28 anonymous           110126971‐46    630301‐1    Benton               Nettie Sue     n/a                           n/a                              Incomplete Declaration
371    370 10/21/20 17:21:29 10/21/20 17:22:11 anonymous           006248908‐46    67W00‐1     Gansner              David A        41 Hampton Ct                 Norristown, PA 19403             Incomplete Declaration
372    371 10/21/20 17:21:16 10/21/20 17:22:11 anonymous           006273567‐46    050400‐1    Ambs                 Cynthia        208 W Seventh Ave             Conshohocken PA 19428            Incomplete Declaration
373    372 10/21/20 17:22:12 10/21/20 17:22:46 anonymous           006233092‐46    550001‐1    Yost                 Jolyn M        n/a                           n/a                              Incomplete Declaration
374    373 10/21/20 17:22:16 10/21/20 17:23:14 anonymous           110767762‐46    430204‐1    Morris               Pamela         5012 Prescott Circle          Eagleville PA 19403              Incomplete Declaration
375    374 10/21/20 17:22:48 10/21/20 17:23:23 anonymous           005868839‐46    540501‐1    Cohen                Mark           616 Jennifer Drive            Dresher, PA 19025                Incomplete Declaration
376    375 10/21/20 17:23:24 10/21/20 17:25:40 anonymous           005892424‐46    660012‐1    Swan                 Constance H    3202 Twin Silo Dr             Blue Bell, PA 19422‐3284         Incomplete Declaration
377    376 10/21/20 17:25:41 10/21/20 17:27:19 anonymous           005944346‐46    301002‐1    Manley               Helen          2124 Berrell Ave              Abington, PA 19001               No secrecy envelope
378    377 10/21/20 17:24:17 10/21/20 17:27:40 anonymous           003664493‐46    320001‐1    Santillo             Anthony        322 Hoffmansville Rd          Bechtelsville, PA 19505          Name disconnect
379    378 10/21/20 17:27:21 10/21/20 17:28:47 anonymous           n/a             n/a         Young                Stewart M      55 West 2nd Street            Red Hill, PA 18076               wrong envelope
380    379 10/21/20 17:27:48 10/21/20 17:29:35 anonymous           005789382‐46    400401‐1    Short                Kevin          229 Simpson Rd                Ardmore PA 199003                Name disconnect
381    380 10/21/20 17:29:53 10/21/20 17:31:18 anonymous           006161225‐46    640001‐1    Zezenski             Mittie         312 E. Race St                Stowe PA 19464                   Name disconnect
382    381 10/21/20 17:31:26 10/21/20 17:33:05 anonymous           0060180c24‐46   370003‐1    Russo                Carolyn        32 Pebble Beach Drive         Linfield, PA 19468               Name disconnect
383    382 10/21/20 17:33:19 10/21/20 17:34:31 anonymous           015574349‐46    58SBG00‐1   Fiske                Peter          331 Jefferson St              Bridgeport PA 19405              Name disconnect
384    383 10/21/20 17:34:46 10/21/20 17:35:47 anonymous           006089355‐46    220001‐1    Alexander            Joanne         8 Grandview Dr                Telford, PA 18969                Name disconnect
385    384 10/21/20 17:38:02 10/21/20 17:39:19 anonymous           005866391‐46    600001‐1    Toepel               Shirley        69 Peachtree Circle           Pottstown, PA 19464              Name disconnect
386    385 10/21/20 17:40:16 10/21/20 17:41:50 anonymous           021048456‐46    400302‐1    Russo                Pierre         321 Myrtle LN                 Narberth, PA 19072               Name disconnect
387    386 10/21/20 17:42:16 10/21/20 17:48:18 anonymous           103206020‐46    390201‐1    Regan                Thomas         835 Spring House Farm Lane    Amber, PA 19002                  Name disconnect
388    387 10/21/20 17:48:20 10/21/20 17:49:47 anonymous           103545507‐46    53030‐1     Eagleson             Gwendolyn      2255 Dock Drive               Lansdale, PA 19446               Damaged
389    388 10/21/20 17:49:57 10/21/20 17:51:09 anonymous           006028814‐46    23001‐1     Gerhart              Mark           177 Joan Drive                Collegeville, PA 19426           Damaged
390    389 10/21/20 17:51:33 10/21/20 17:56:17 anonymous           106058575‐46    300901‐1    Currie               Elizabeth      770 Harrison Ave              Glenside, PA 19038               Damaged
391    390 10/21/20 17:57:37 10/21/20 18:00:29 anonymous           005957319‐46    330201‐1    Harp                 Leroy          2710 Standbridge St           Norritstown, PA 19401            Damaged
392    391 10/21/20 18:00:47 10/21/20 18:06:48 anonymous           103607847‐46    301103‐1    Ward                 Joanne         2158 Susquehanna Rd           Abington, PA 19001               Name disconnect
393    392 10/21/20 18:06:50 10/21/20 18:08:18 anonymous           020793376‐46    301002‐1    Stith                Christopher    1621 Old York Road            Abington, PA 19001               Incomplete Declaration
394    393 10/21/20 18:08:26 10/21/20 18:13:28 anonymous           006069496‐46    390101‐1    Maiello              Fern           32 Fox Chase Drive            North Wales, PA 19454            Incomplete Declaration
395    394 10/21/20 18:13:35 10/21/20 18:15:25 anonymous           005977039‐46    660005‐1    Morris               Sarah          233 Tulip Tree Court          Blue Bell, PA 19422              Incomplete Declaration
396    395 10/21/20 18:15:28 10/21/20 18:17:10 anonymous           006275232‐46    590401‐1    Hunter               Martha         439 Vincent Rd                Willow Grove, PA 19090           Incomplete Declaration
397    396 10/21/20 18:17:15 10/21/20 18:20:02 anonymous           103387855‐46    160600‐1    Mendoza              Ricardo        1000 Queen St Apt 6           Pottstown, PA 19464              Damaged
398    397 10/21/20 18:20:04 10/21/20 18:22:38 anonymous           006264993‐46    460008‐1    Aveyard              Richard        1801 Avenel Blvd              North Wales, PA 19454            Incomplete Declaration
399    398 10/21/20 18:17:54 10/21/20 18:23:01 anonymous           015894505‐46    310202‐1    Hurst                Denise         250 MACDONALD AVE.            WYNCOTE, PA 19095                No secrecy envelope
400    399 10/21/20 18:22:50 10/21/20 18:23:54 anonymous           006411597‐46    460003‐1    BALANI               PREM           109 CASTLE DRIVE              NORTH WALES, PA 19454            Incomplete Declaration
401    400 10/21/20 18:23:08 10/21/20 18:24:48 anonymous           006005837‐46    400903‐1    GROSSMAN             RICHARD        190 PRESIDENTIAL BLVD APT 709 BALA‐CYNWYD, PA 19004            No secrecy envelope
402    401 10/21/20 18:24:03 10/21/20 18:25:00 anonymous           107034885‐46    110201‐1    BROUGH               JAMES          31 E 2ND ST                   LANSDALE, PA 19446               Incomplete Declaration
403    402 10/21/20 18:25:11 10/21/20 18:26:07 anonymous           103606156‐46    310202‐1    WEILER               AMANDA         8470 LIMEKILN PIKE            WYNCOTE, PA 19095                Incomplete Declaration
404    403 10/21/20 18:24:55 10/21/20 18:26:25 anonymous           005918796‐46    410100‐1    BRANDT               RACHEL         2445 AYRESDON AVE             HUNTINGDON VLY, PA 19006         No secrecy envelope
405    404 10/21/20 18:26:35 10/21/20 18:27:41 anonymous           005848217‐46    460005‐1    SCHLESINGER          SUZANNE        111 COLWYN TERRACE            LANSDALE, PA 19446               Incomplete Declaration
406    405 10/21/20 18:26:35 10/21/20 18:27:56 anonymous           006253217‐46    110103‐1    BILINSKI             MICHAEL        603 PENNBROOK AVE             LANSDALE, PA 19446               No secrecy envelope

                                                                                                           Page 9 of 124
                                                                      Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 10 of 124


      A             B                C             D       E    F        G             H              I                    J                       K                                        L                                   M
 1 ID      Start time        Completion time Email       Name NumbeNumber2         Precinct:   Last Name         First name      Address Line 1                                       Address Line 2                Issue
407    406 10/21/20 18:28:10 10/21/20 18:29:24 anonymous           006413561‐46    010100‐1    HOOVER            CAROLYN         110 FOREST AVE APT A                                 AMBLER, PA 19002              No secrecy envelope
408    407 10/21/20 18:29:32 10/21/20 18:30:56 anonymous           0060708836      310404‐1    SZCZUREK          GENEVIEVE       26 NORTH AVE                                         WYNCOTE, PA 19095             No secrecy envelope
409    408 10/21/20 18:30:58 10/21/20 18:32:43 anonymous           006173491‐6     120002‐1    STRICKER          CARRIE          203 STEPNEY PL                                       NARBERTH PA 19072             No secrecy envelope
410    409 10/21/20 18:32:49 10/21/20 18:34:20 anonymous           1037466637‐46   400601‐1    CIONGOLI          SUZANNE         211 BROUGHTON LN                                     VILLANOVA, PA 19085           No secrecy envelope
411    410 10/21/20 18:32:43 10/21/20 18:35:24 anonymous           005957455‐46    540701‐1    AREVALO           KATHLEEN        1707 BUTLER PIKE E.                                  AMBLER PA 19002               Incomplete Declaration
412    411 10/21/20 18:34:27 10/21/20 18:35:41 anonymous           006373261‐46    4600081     HONG              JAMES           101 JONATHAN DR                                      NORTH WALES, PA 19454         No secrecy envelope
413    412 10/21/20 18:35:27 10/21/20 18:36:43 anonymous           006236549‐46    540402‐1    WILKINS           MERCEDES        255 LINDEN AVE                                       GLENSIDE, PA 19038            Incomplete Declaration
414    413 10/21/20 18:35:51 10/21/20 18:36:56 anonymous           102728890‐46    4600081     SIN               SONG S          115 DAMSON LN                                        NORTH WALES, PA 19454         No secrecy envelope
415    414 10/21/20 18:35:41 10/21/20 18:37:15 anonymous           014791193‐46    300601‐1    SHAW              CHARLOTTE E     304 HAMEL AVE                                        GLENSIDE PA 19038             Incomplete Declaration
416    415 10/21/20 18:36:49 10/21/20 18:38:08 anonymous           005683137‐46    350402‐1    JOZEFOWSKI        ROBERT          1516 SCHWAB RD                                       HATFIELD, PA 19440            Incomplete Declaration
417    416 10/21/20 18:37:02 10/21/20 18:38:18 anonymous           103935579‐46    460003‐1    OH                SON             904 BARBARAS CT                                      NORTH WALES, PA 19454         No secrecy envelope
418    417 10/21/20 18:37:19 10/21/20 18:38:24 anonymous           006005493‐46    300502‐1    HOLT              WILLIAM A JR.   2564 RUBICAM AVE                                     WILLOW GROVE PA 19090         Incomplete Declaration
419    418 10/21/20 18:38:24 10/21/20 18:39:27 anonymous           005940134‐46    58GUL01‐1   WEISS             HEDY            1010 BOXWOOD COURT                                   KING OF PRUSSIA, PA 19406     No secrecy envelope
420    419 10/21/20 18:38:27 10/21/20 18:39:29 anonymous           006390281‐46    300802‐1    COLADONATO        HELLEN LINDA    2628 ROSSITER AVE                                    ABINGTON PA 19001             Incomplete Declaration
421    420 10/21/20 18:38:15 10/21/20 18:39:40 anonymous           021371850‐46    110201‐1    VINCI             CHRISTINA       399 E. 3RD ST                                        LANSDALE, PA 19446            Incomplete Declaration
422    421 10/21/20 18:39:31 10/21/20 18:40:36 anonymous           006102153‐46    050700‐1    MENDEZ            LINDA M         437 ELEVENTH AVE E                                   CONSHOHOCKEN PA 19428         Incomplete Declaration
423    422 10/21/20 18:39:46 10/21/20 18:40:54 anonymous           005805014‐46    130303‐1    GIBSON            PAUL            1705 LOCUST ST APT. 118                              NORRISTOWN, PA 19401          Incomplete Declaration
424    423 10/21/20 18:39:40 10/21/20 18:41:01 anonymous           102920995‐46    401202‐1    KOHN              HARRY           509 OAK RD                                           MERION STATION, PA 19066      No secrecy envelope
425    424 10/21/20 18:40:38 10/21/20 18:41:24 anonymous           006397546‐46    301502‐1    LANE              MARGARET M      1146 WILSON AVE                                      ABINGTON PA 19001             Incomplete Declaration
426    425 10/21/20 18:41:08 10/21/20 18:42:08 anonymous           005931654‐46    530301‐1    YI                SUK KYUNG       2237 DOCK DRIVE                                      LANSDALE, PA 19446            No secrecy envelope
427    426 10/21/20 18:41:25 10/21/20 18:42:25 anonymous           006362733‐46    300802‐1    BENSON            PATRICIA        2833 ROSSITER AVE                                    ABINGTON PA 19001             Incomplete Declaration
428    427 10/21/20 18:40:59 10/21/20 18:42:37 anonymous           005901412‐46    490101‐1    DIGIACOMO         RUDOLPH         1170 E. DEKALB PIKE                                  KING OF PRUSSIA, PA 19406     Incomplete Declaration
429    428 10/21/20 18:42:16 10/21/20 18:43:19 anonymous           006318866‐46    130203‐1    YOUNG             CELIA           611 GREEN STREET                                     NORRISTOWN PA 19401           No secrecy envelope
430    429 10/21/20 18:42:26 10/21/20 18:43:25 anonymous           005984467‐46    040001‐1    OSISEK            EDMUND M        1045 MAYKUT AVE                                      COLLEGEVILLE PA 19426         Incomplete Declaration
431    430 10/21/20 18:42:45 10/21/20 18:44:06 anonymous           005886581‐46    550001‐1    SCHAEFFER         RUTH            2849 BIG RD APT. 1103                                ZIEGLERSVILLE, PA 19492       Incomplete Declaration
432    431 10/21/20 18:43:26 10/21/20 18:44:37 anonymous           016020512‐46    410100‐1    MOSZCZYNSKI       BERNARD K       751 WELSH RD APT 112                                 HUNTINGTON VALLEY PA 19006    Incomplete Declaration
433    432 10/21/20 18:43:26 10/21/20 18:44:43 anonymous           006301859‐46    4200023‐1   MURRAY            VINCENT         1261 RANDY DRIVE                                     POTTSTOWN, PA 19464           No secrecy envelope
434    433 10/21/20 18:44:16 10/21/20 18:45:19 anonymous           005979534‐46    410300‐1    LINQUIST          RICHARD         552 WOODWARD DRIVE                                   HUNTINGDON VALLEY, PA 19006   Incomplete Declaration
435    434 10/21/20 18:44:40 10/21/20 18:45:33 anonymous           107046446‐46    330201‐1    DALTON            ALLEN ROBERT    2508 TERRACE DR                                      NORRISTOWN PA 19401           Resolved
436    435 10/21/20 18:44:53 10/21/20 18:45:55 anonymous           005811547‐46    630202‐1    MURRAY            EILEEN          105 COLONIAL DRIVE                                   NORRISTOWN PA 19403           Resolved
437    436 10/21/20 18:45:34 10/21/20 18:46:16 anonymous           005837904‐46    400101‐1    BUMBERA           ANNA M          428 WOODBINE AVE S                                   NARBERTH PA 19072             Incomplete Declaration
438    437 10/21/20 18:45:23 10/21/20 18:46:26 anonymous           006394557‐46    58CAN02‐1   STALKER           DOREEN          306 INDEPENDENCE RD                                  KING OF PRUSSIA, PA 19406     Incomplete Declaration
439    438 10/21/20 18:46:05 10/21/20 18:47:07 anonymous           01446507646     130101‐1    MORALES           FABIAN          119 SELMA ST                                         NORRISTOWN, PA 19401          No secrecy envelope
440    439 10/21/20 18:46:19 10/21/20 18:47:13 anonymous           005837906‐46    400101‐1    BUMBERA           ROBERT V        428 WOODBINE AVE S                                   NARBERTH PA 19072             Incomplete Declaration
441    440 10/21/20 18:46:31 10/21/20 18:47:32 anonymous           06140117‐46     490101‐1    DIGIACOMO         FRANCES         1170 E. DEKALB PIKE                                  KING OF PRUSSIA, PA 19406     Incomplete Declaration
442    441 10/21/20 18:47:16 10/21/20 18:48:23 anonymous           005802887‐46    330102‐1    BUCHANAN          M RUSSEL        2803 STANBRIDGE ST APT B810                          NORRISTOWN PA 19401           Incomplete Declaration
443    442 10/21/20 18:47:40 10/21/20 18:48:33 anonymous           102481219‐46    160600‐1    SHIREY            JANE            110 S ROLAND ST                                      POTTSTOWN, PA 19464           Incomplete Declaration
444    443 10/21/20 18:47:18 10/21/20 18:48:42 anonymous           005805157‐46    630201‐1    INTERRANTE        AUGUSTINE       1914 W. MAIN ST APT 2FL                              NORRISTOWN, PA 19403          No secrecy envelope
445    444 10/21/20 18:48:39 10/21/20 18:49:38 anonymous           102482899‐46    160600‐1    SHIREY            MERRILL         110 S ROLAND ST                                      POTTSTOWN, PA 19464           Incomplete Declaration
446    445 10/21/20 18:48:48 10/21/20 18:49:51 anonymous           021046233‐46    360403‐1    KIM               YOUNG SIK       375 HIGHGATE DRIVE                                   AMBLER PA 19002               No secrecy envelope
447    446 10/21/20 18:49:47 10/21/20 18:50:37 anonymous           003479230‐46    390201‐1    CARON             LORETTA         900 W WELSH RD                                       AMBLER, PA 19002              Incomplete Declaration
448    447 10/21/20 18:48:25 10/21/20 18:50:41 anonymous           021598012‐46    130303‐1    DARLING           RODERICK R      1705 LOCUST ST APT 210 RITTENHOUSE SCHOOL APARTMENTS NORRISTOWN PA 19401           Incomplete Declaration
449    448 10/21/20 18:49:58 10/21/20 18:51:10 anonymous           005956544‐46    490303‐1    RUSH              CATHERINE       666 GERMANTOWN PIKE WEST APT 1603 PLYMOUTH MEETING, PA 19462                       No secrecy envelope
450    449 10/21/20 18:50:41 10/21/20 18:51:56 anonymous           003375460‐46    390101‐1    CELL              PAULA           302 FOULKEWAYS                                       GWYNEDD, PA 19436             Incomplete Declaration
451    450 10/21/20 18:50:43 10/21/20 18:52:43 anonymous           ?????           330102‐1    BEAN              JOYCE ANN       2801 STANBRIDGE ST APT A616 NORRISTOWN PA 19401                                    Incomplete Declaration

                                                                                                       Page 10 of 124
                                                                      Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 11 of 124


      A             B                C             D       E    F        G             H            I                   J                   K                           L                           M
 1 ID      Start time        Completion time Email       Name NumbeNumber2        Precinct:   Last Name        First name       Address Line 1             Address Line 2               Issue
452    451 10/21/20 18:52:07 10/21/20 18:52:57 anonymous           006089656‐46   460007‐1    KOSMIN           JODI ELLEN       103 GREEN TREE TAVERN RD   NORTH WALES, PA 19454        Incomplete Declaration
453    452 10/21/20 18:53:04 10/21/20 18:54:11 anonymous           110270361‐46   560006‐1    JACKSON          ERICA            x                          x                            Incomplete Declaration
454    453 10/21/20 18:54:12 10/21/20 18:55:04 anonymous           006134319‐46   560006‐1    YOUNG            KIMBERLY         X                          S                            Incomplete Declaration
455    454 10/21/20 18:55:08 10/21/20 18:55:54 anonymous           021047051‐46   560006‐1    JANG             WON SUK          X                          X                            Incomplete Declaration
456    455 10/21/20 18:52:44 10/21/20 18:56:15 anonymous           005941527‐46   401101‐1    KRANE            FRANCES T        1115 OLD GULPH RD          BRYN MAWR PA 19010           Incomplete Declaration
457    456 10/21/20 18:55:59 10/21/20 18:56:42 anonymous           021616524‐46   530202‐1    HOMONEY          MEGAN            X                          X                            Incomplete Declaration
458    457 10/21/20 18:56:17 10/21/20 18:57:32 anonymous           003380354‐46   410500‐1    LADD             HELEN J          3430 HUNTINGTON PK         HUNTINGTON VALLEY PA 19006   Incomplete Declaration
459    458 10/21/20 18:57:02 10/21/20 18:57:49 anonymous           005912800‐46   350302‐1    SABANAS          KATHY            2913 DARMOUTH DR           HATFIELD, PA 19440           Incomplete Declaration
460    459 10/21/20 18:57:33 10/21/20 18:58:17 anonymous           109941136‐46   300901‐1    FOXWORTH         JEWELL D         1070 EASTON RD APT 1       ABINGTON PA 19001            Incomplete Declaration
461    460 10/21/20 18:57:55 10/21/20 18:58:29 anonymous           005347968‐46   560002‐1    GABRIEL          RICHARD JAMES    X                          X                            Incomplete Declaration
462    461 10/21/20 18:58:36 10/21/20 18:59:09 anonymous           005376928‐46   560002‐1    GABRIEL          ANNE MARIE       X                          X                            Incomplete Declaration
463    462 10/21/20 18:59:15 10/21/20 19:00:02 anonymous           006215169‐46   360105‐1    KIESLING         LYNN             337 COTTAGE AVE UNIT B     HORSHAM, PA 19044            Incomplete Declaration
464    463 10/21/20 19:00:04 10/21/20 19:00:48 anonymous           006215415‐46   360105‐1    KIESLING         RONALD           337 COTTAGE AVE            HORSHAM, PA 19044            Incomplete Declaration
465    464 10/21/20 18:58:19 10/21/20 19:01:06 anonymous           005797165‐46   380001‐1    YOUNG            MELISSA F        141 GOSHEN RD              SCHWENKSVILLE PA 19473       Incomplete Declaration
466    465 10/21/20 19:00:54 10/21/20 19:01:37 anonymous           006141051‐46   370005‐1    STANKUNAS        LINDA VIOLA      521 GAME FARM RD           SCHWENKSVILLE, PA 19473      Incomplete Declaration
467    466 10/21/20 19:01:43 10/21/20 19:02:27 anonymous           005886546‐46   370005‐1    STANKUNAS        GREGORY          521 GAME FARM RD           SCHWENKSVILLE, PA 19473      Incomplete Declaration
468    467 10/21/20 19:01:41 10/21/20 19:02:58 anonymous           005953547‐46   400602‐1    ABBOTT           JANE PETTUS      2042 IVYWOOD LN            VILLANOVA PA 19085           Incomplete Declaration
469    468 10/21/20 19:02:34 10/21/20 19:03:15 anonymous           006017855‐46   310701‐1    CUNNINGHAM       BARBARA          115 GROVE AVE              CHELTENHAM, PA 19012         Incomplete Declaration
470    469 10/21/20 19:03:22 10/21/20 19:03:58 anonymous           006019329‐46   310701‐1    CUNNINGHAM       MARY             115 GROVE AVE              CHELTENHAM, PA 19012         Incomplete Declaration
471    470 10/21/20 19:04:10 10/21/20 19:04:56 anonymous           016085692‐46   301002‐1    NEAL             KAREN            1771 OLD YORK RD           ABINGTON, PA 19001           Incomplete Declaration
472    471 10/21/20 19:02:59 10/21/20 19:05:03 anonymous           006014300‐46   500006‐1    WENRICH          MARYANN L        414 STORE RD               HARLEYSVILLE PA 19438        Incomplete Declaration
473    472 10/21/20 19:05:01 10/21/20 19:05:50 anonymous           005885251‐46   540601‐1    FISHER           HELENE           1684 PEMBROOK RD           MAPLE GLEN, PA 19002         Incomplete Declaration
474    473 10/21/20 19:05:55 10/21/20 19:06:36 anonymous           005885253‐46   540601‐1    FISHER           GARY             1684 PEMBROOK RD           MAPLE GLEN, PA 19002         Incomplete Declaration
475    474 10/21/20 19:06:41 10/21/20 19:07:20 anonymous           005803055‐46   390202‐1    MAHONEY          ALICIA           451 FRANCIS AVE            AMBLER, PA 19002             Incomplete Declaration
476    475 10/21/20 19:07:26 10/21/20 19:08:06 anonymous           104008026‐46   310401‐1    CHUNG            HE UN            920 SPRING AVE             ELKINS PARK, PA 19027        Incomplete Declaration
477    476 10/21/20 19:06:40 10/21/20 19:08:36 anonymous           003496642‐46   210200‐1    WALTON           SHERRY P         207 BROAD ST E             SOUDERTON PA 18964           Incomplete Declaration
478    477 10/21/20 19:08:13 10/21/20 19:08:59 anonymous           104026596‐46   020100‐1    GIRGIS           MARIAM           933 GREEN ST               BRIDGEPORT, PA 19405         Incomplete Declaration
479    478 10/21/20 19:09:05 10/21/20 19:09:56 anonymous           006074159‐46   400903‐1    REIVER           FLORENCE         50 BELMONT AVE 405         BALA CYNWYD, PA 19004        Incomplete Declaration
480    479 10/21/20 19:08:38 10/21/20 19:09:59 anonymous           005691307‐46   300802‐1    WILLIAMS         CARNELL          1441 OSBOURNE AVE          ABINGTON PA 19001            Incomplete Declaration
481    480 10/21/20 19:10:01 10/21/20 19:11:22 anonymous           005948782‐46   510003‐1    SOMMERS          PATRICIA E       4805 FOX LN                SCHWENKSVILLE PA 19473       Incomplete Declaration
482    481 10/21/20 19:09:58 10/21/20 19:12:24 anonymous           005700728‐46   530301‐1    ZAREMBA          GLORIA           2255 DOCK DR               LANSDALE, PA 19446           Incomplete Declaration
483    482 10/21/20 19:12:31 10/21/20 19:13:19 anonymous           020976231‐46   470002‐1    BRAND            TRACY            2416 WAGNER RD             GILBERTSVILLE, PA 19525      Incomplete Declaration
484    483 10/21/20 19:11:25 10/21/20 19:13:48 anonymous           006218333‐46   510003‐1    GROARK           JOANN T          4805 FOX LN                SCHWENKSVILLE PA 19473       Incomplete Declaration
485    484 10/21/20 19:13:25 10/21/20 19:14:15 anonymous           021320421‐46   300101‐1    THOMAS           KINA JOLIENNE    1030 SPRING VALLEY RD      JENKINTOWN, PA 19406         Incomplete Declaration
486    485 10/21/20 19:14:20 10/21/20 19:15:12 anonymous           006245329‐46   130403‐1    JOHNSON          CHINO            1702 DARTMOUTH DR          NORRISTOWN, PA 19401         Incomplete Declaration
487    486 10/21/20 19:13:50 10/21/20 19:15:45 anonymous           005704600‐46   430304‐1    SADACCA          JOSPHINE G       6229 SHANNONDELL DR        AUDUBON PA 19403             Incomplete Declaration
488    487 10/21/20 19:15:15 10/21/20 19:16:00 anonymous           006116385‐46   300102‐1    SILVERMAN        MELVIN           1268 RYDAL RD              JENKINTOWN, PA 19046         Incomplete Declaration
489    488 10/21/20 19:16:06 10/21/20 19:16:47 anonymous           005842092‐46   310601‐1    BREWSTEIN        AMY              317 MARVIN RD              ELKINS PARK, PA 19027        Incomplete Declaration
490    489 10/21/20 19:15:46 10/21/20 19:17:18 anonymous           005745674‐46   400303‐1    MORAN            FRANK M          116 FAIRVIEW AVE           BALA CYNWYD PA 19004         Incomplete Declaration
491    490 10/21/20 19:17:13 10/21/20 19:17:56 anonymous           006137294‐46   090001‐1    BORITS           JOSEPH GENE      123 DIAMOND ST             HATFIELD, PA 19440           Incomplete Declaration
492    491 10/21/20 19:18:01 10/21/20 19:18:58 anonymous           003315444‐46   500004‐1    LENHART          JOSEPHINE        560 OAK DR APT. 120        HARLEYSVILLE, PA 19438       Incomplete Declaration
493    492 10/21/20 19:19:34 10/21/20 19:20:18 anonymous           006364718‐46   500004‐1    ROANE            ANTHONY          422 MAIN ST APT 3          HARLEYSVILLE, PA 19438       Incomplete Declaration
494    493 10/21/20 19:20:25 10/21/20 19:21:16 anonymous           005766565‐46   110202‐1    MCQUAID          ELIZABETH JEAN   602 BROAD ST N APT 106     LANSDALE, PA 19446           Incomplete Declaration
495    494 10/21/20 19:21:22 10/21/20 19:22:02 anonymous           109750164‐46   360103‐1    MILLIGAN         WALLACE SCOTT    122 HOLLY DRIVE            HATBORO, PA 19040            Incomplete Declaration
496    495 10/21/20 19:17:21 10/21/20 19:22:33 anonymous           005977314‐46   330102‐1    SHEEDY           NANCY C          124 BARLEY SHEAF DR        NORRISTOWN PA 19403          Incomplete Declaration

                                                                                                     Page 11 of 124
                                                                      Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 12 of 124


      A             B                C             D       E    F        G             H                I                     J                       K                             L                            M
 1 ID      Start time        Completion time Email       Name NumbeNumber2        Precinct:   Last Name              First name           Address Line 1               Address Line 2                Issue
497    496 10/21/20 19:22:04 10/21/20 19:22:47 anonymous           109828604‐46   110102‐1    HILL                   DAVID                51 MAIN ST E 2               LANSDALE, PA 19446            Incomplete Declaration
498    497 10/21/20 19:22:50 10/21/20 19:24:00 anonymous           103645399‐46   500005‐1    JOHANN                 ALISSA MARY          258 MORRIS RD                HARLEYSVILLE, PA 19438        Incomplete Declaration
499    498 10/21/20 19:24:08 10/21/20 19:24:54 anonymous           006264620‐46   460008‐1    MORROTTO               VINCENT              119 NEWPORT LN               NORTH WALES, PA 19454         Incomplete Declaration
500    499 10/21/20 19:25:03 10/21/20 19:25:48 anonymous           005851786‐46   430301‐1    NOVICK                 IRENE                52 CASSELBERRY DR            AUDUBON, PA 19403             Incomplete Declaration
501    500 10/21/20 19:25:51 10/21/20 19:26:51 anonymous           014392909‐46   330202‐1    INGRAM                 SYLVESTER            2617 DEKALB PIKE APT 309     NORRISTOWN, PA 19401          Incomplete Declaration
502    501 10/21/20 19:26:58 10/21/20 19:27:40 anonymous           021148716‐46   530301‐1    AHN                    SAE HWAN             2254 DOCK DR                 LANSDALE, PA 19446            Incomplete Declaration
503    502 10/21/20 19:22:40 10/21/20 19:27:54 anonymous           005699076‐46   020200‐1    DESTEFANO              KATHLEEN E           301 UNION AVE                BRIDGEPORT PA 19405           RESOLVED
504    503 10/21/20 19:27:47 10/21/20 19:28:27 anonymous           021148712‐46   530301‐1    AHN                    MYUNG OCK            2254 DOCK DR                 LANSDALE, PA 19446            Incomplete Declaration
505    504 10/21/20 19:28:07 10/21/20 19:28:53 anonymous           005797529‐46   301502‐1    LANE                   BERLIN B             1146 WILSON AVE              ABINGTON PA 19001             Incomplete Declaration
506    505 10/21/20 19:28:36 10/21/20 19:29:31 anonymous           021535631‐46   130401‐1    DUNMORE                DEMEKA               325 MOORE ST                 NORRISTOWN, PA 19401          Incomplete Declaration
507    506 10/21/20 19:29:38 10/21/20 19:30:08 anonymous           006287912‐46   210300‐1    HAND                   CAROL JANE           402 MAIN ST APT 2            SOUDERTON, PA 18964           Incomplete Declaration
508    507 10/21/20 19:30:14 10/21/20 19:30:58 anonymous           020645255‐46   210200‐1    MOLNAR                 DANIEL               32 SCHOOL LN N               SOUDERTON, PA 18964           Incomplete Declaration
509    508 10/21/20 19:28:57 10/21/20 19:31:32 anonymous           005984468‐46   040001‐1    OSISEK                 LORRAINE A           1045 MAYKUT AVE              COLLEGEVILLE PA 19426         Incomplete Declaration
510    509 10/21/20 19:31:00 10/21/20 19:31:41 anonymous           108952881‐46   590102‐1    DASCHER                CHRISTOPHER JOSEPH   305 GREEN HILL RD            WILLOW GROVE, PA 19090        Incomplete Declaration
511    510 10/21/20 19:31:45 10/21/20 19:32:37 anonymous           021881212‐46   160400‐1    BRAVO                  YADIRA IVELISSE      768 FARMINGTON AVE           POTTSTOWN, PA 19464           Incomplete Declaration
512    511 10/21/20 19:32:44 10/21/20 19:33:17 anonymous           109585202‐46   400801‐1    JADROSICH              PETER                512 SPRING AVE E             ARDMORE, PA 19003             Incomplete Declaration
513    512 10/21/20 19:31:34 10/21/20 19:33:19 anonymous           015618477‐46   410100‐1    MOSZCZYNSKI            CLELIA A             753 WELSH RD APT 112         HUNTINGTON VALLEY PA 19006    Incomplete Declaration
514    513 10/21/20 19:33:30 10/21/20 19:34:19 anonymous           016083824‐46   400401‐1    NAVARRO                GENIENNE             134 ARNOLD RD                ARDMORE, PA 19003             Incomplete Declaration
515    514 10/21/20 19:33:21 10/21/20 19:34:35 anonymous           107758944‐46   300702‐1    OBER                   NANCY                1250 GREENWOOD AVE APT 523   JENKINTOWN PA 19046           Incomplete Declaration
516    515 10/21/20 19:34:27 10/21/20 19:35:00 anonymous           005876778‐46   040001‐1    WALSH                  TERRY                706 CHESTNUT ST              COLLEGEVILLE, PA 19426        Incomplete Declaration
517    516 10/21/20 19:35:16 10/21/20 19:35:57 anonymous           005791760‐46   160102‐1    MARTIN                 ANN                  501 HIGH ST APT 501          POTTSTOWN, PA 19464           Incomplete Declaration
518    517 10/21/20 19:34:39 10/21/20 19:35:58 anonymous           006266415‐46   350201‐1    SOBOLUSKY              ANDREW C SR          2629 VINE ST E               HATFIELD PA 19440             Incomplete Declaration
519    518 10/21/20 19:36:03 10/21/20 19:36:47 anonymous           006212835‐46   530303‐1    SEIDEL                 JODI HELENE          476 AMHERST CT               HARLEYSVILLE, PA 19438        Incomplete Declaration
520    519 10/21/20 19:36:00 10/21/20 19:37:14 anonymous           003451360‐46   310602‐1    STURMAN                CAROL J              1509 ASHBOURNE RD APT 211    ELKINS PARK PA 19027          Incomplete Declaration
521    520 10/21/20 19:36:49 10/21/20 19:37:32 anonymous           005781078‐46   360202‐1    MUSCATELLO             PATRICIA JANE        34 CALVARY DR                HORSHAM, PA 19044             Incomplete Declaration
522    521 10/21/20 19:37:18 10/21/20 19:38:18 anonymous           006088973‐46   310201‐1    HARRIS                 JEFFERY ALLAN        7620 DOE LN                  GLENSIDE PA 19038             Incomplete Declaration
523    522 10/21/20 19:37:38 10/21/20 19:38:27 anonymous           108060410‐46   490402‐1    TERLECKY               DANIEL CALVIN        1300 FAYETTE ST APT 272      CONSHOHOCKEN, PA 19428        Incomplete Declaration
524    523 10/21/20 19:38:32 10/21/20 19:39:20 anonymous           107658106‐46   301502‐1    CRAWFORD               ANNA MAE             1215 FITZWATERTOWN RD        ABINGTON, PA 19001            Incomplete Declaration
525    524 10/21/20 19:38:20 10/21/20 19:39:40 anonymous           005861865‐46   130201‐1    WALLER                 ELEANOR              629 KOHN ST                  NORRISTOWN PA 19401           Incomplete Declaration
526    525 10/21/20 19:39:26 10/21/20 19:40:09 anonymous           109778515‐46   440001‐1    CASPER                 JASMINE STARR        178 KLINGERMAN RD            TELFORD, PA 18969             Incomplete Declaration
527    526 10/21/20 19:39:41 10/21/20 19:40:54 anonymous           107540565‐46   460008‐1    SINGH                  AMARJEET             111 DESTINY WAY              NORTH WHALES PA 19454         Incomplete Declaration
528    527 10/21/20 19:40:14 10/21/20 19:41:02 anonymous           005942937‐46   490303‐1    SHERR                  RONALD               215 PLYMOUTH RD APT. 4103    PLYMOUTH MEETING, PA 19462    Incomplete Declaration
529    528 10/21/20 19:41:10 10/21/20 19:41:57 anonymous           021365679‐46   300602‐1    BURTON SCOTT           SHIRLEY              252 RUSCOMBE AVE             GLENSIDE PA 19038             Incomplete Declaration
530    529 10/21/20 19:42:03 10/21/20 19:42:44 anonymous           104233523‐46   301501‐1    MILLER                 REBECCA              1239 NOLEN RD                ABINGTON, PA 19001            Incomplete Declaration
531    530 10/21/20 19:42:54 10/21/20 19:43:34 anonymous           103094204‐46   310401‐1    OH                     PAUL BANGHWAN        920 SPRING AVE               ELKINS PARK PA 19027          Incomplete Declaration
532    531 10/21/20 19:43:43 10/21/20 19:44:25 anonymous           006026407‐46   130103‐1    RICE                   ELAINE               1304 JAMES ST W              NORRISTOWN, PA 19401          Incomplete Declaration
533    532 10/21/20 19:44:32 10/21/20 19:45:28 anonymous           006014509‐46   020200‐1    FIGUEROA               FERNANDO             3131 PROSPECT AVE C10        BRIDGEPORT, PA 19405          Incomplete Declaration
534    533 10/21/20 19:45:30 10/21/20 19:46:32 anonymous           005797427‐46   390201‐1    SANDERS                MARILYN              728 NORRISTOWN RD            LOWER GWYNEDD, PA 19002       Incomplete Declaration
535    534 10/21/20 19:46:37 10/21/20 19:47:21 anonymous           006140671‐46   430303‐1    PALMER                 LESLIE MARIE         2820 EAGLEVILLE RD           AUDUBON, PA 19403             Incomplete Declaration
536    535 10/21/20 19:45:48 10/21/20 19:47:46 anonymous           006414452‐46   060001‐1    SLADE                  TERRI G              604 HAMILTON RD              EAST GREENVILLE PA 18041      Incomplete Declaration
537    536 10/21/20 19:47:27 10/21/20 19:48:25 anonymous           005716594‐46   590602‐1    CHARLESTON ROSENBERG   CINDY                2814 EDGE HILL RD            HUNTINGDON VALLEY, PA 19006   Incomplete Declaration
538    537 10/21/20 19:47:48 10/21/20 19:49:13 anonymous           021349330‐46   310703‐1    JACKSON                KIMBERLY             11 CHELTENHAM AVE            CHELTENHAM PA 19012           Incomplete Declaration
539    538 10/21/20 19:48:30 10/21/20 19:49:13 anonymous           006173185‐46   530303‐1    STASIW                 GAIL                 19 OLD DUTCH RD              HARLEYSVILLE, PA 19438        Incomplete Declaration
540    539 10/21/20 19:49:15 10/21/20 19:49:56 anonymous           006206135‐46   300502‐1    MILLS                  ADELENE S            1619 HIGH AVE                WILLOW GROVE PA 19090         Incomplete Declaration
541    540 10/21/20 19:49:19 10/21/20 19:49:59 anonymous           005822141‐46   08S01‐1     DEBOW                  LINDA                105 FAIRVIEW AVE             HATBORO, PA 19040             Incomplete Declaration

                                                                                                        Page 12 of 124
                                                                      Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 13 of 124


      A             B                C             D       E    F        G            H               I                    J                        K                              L                         M
 1 ID      Start time        Completion time Email       Name NumbeNumber2        Precinct:   Last Name          First name          Address Line 1                   Address Line 2             Issue
542    541 10/21/20 19:50:04 10/21/20 19:50:49 anonymous           109706615‐46   510002‐1    DAVIGNON           ELODIE              3878 JANET COURT                 COLLEGEVILLE, PA 19426     Incomplete Declaration
543    542 10/21/20 19:49:57 10/21/20 19:50:54 anonymous           103545720‐46   401403‐1    SABIITI            MAATE JOSHUA        18 TRENT RD                      WYNNEWOOD PA 19096         Incomplete Declaration
544    543 10/21/20 19:50:55 10/21/20 19:51:34 anonymous           006018314‐46   500005‐1    GUILD              ROBERT              1002 CROSS RD                    SCHWENSKVILLE, PA 19473    Incomplete Declaration
545    544 10/21/20 19:51:38 10/21/20 19:52:19 anonymous           00502087‐46    310703‐1    ONWULATA           CHARLES             103 HILLDALE RD                  CHELTENHAM, PA 19012       Incomplete Declaration
546    545 10/21/20 19:50:57 10/21/20 19:52:27 anonymous           104186110‐46   400303‐1    SPOSATO            GIUSEPPE            211 ASHLAND AVE                  BALA CYNWYD PA 19004       Incomplete Declaration
547    546 10/21/20 19:52:36 10/21/20 19:53:29 anonymous           006178960‐46   65M04‐1     ALLEN              THOMAS              424 FLOURTOWN RD                 LAFAYETTE HILL, PA 19444   Incomplete Declaration
548    547 10/21/20 19:52:29 10/21/20 19:54:02 anonymous           005680257‐46   320002‐1    BOYER              DEBORAH A           33 SWINEHART RD APT C8           BOYERTOWN PA 19512         Incomplete Declaration
549    548 10/21/20 19:53:34 10/21/20 19:54:07 anonymous           005760251‐46   310302‐1    BRAYER             HOLLIE              242 IRONWOOD CIR                 ELKINS PARK, PA 19027      Incomplete Declaration
550    549 10/21/20 19:54:12 10/21/20 19:55:02 anonymous           006066397‐46   100200‐1    LAYLAND            BARBARA             100 WEST AVE SB 19               JENKINTOWN, PA 19046       Incomplete Declaration
551    550 10/21/20 19:55:07 10/21/20 19:55:49 anonymous           003328249‐46   3000902‐1   PENA               VICTOR              1022 TENNIS AVE                  GLENSIDE, PA 19038         Incomplete Declaration
552    551 10/21/20 19:55:54 10/21/20 19:56:27 anonymous           003317517‐46   300902‐1    PENA               CATHERINE           1022 TENNIS AVE                  GLENSIDE, PA 19038         Incomplete Declaration
553    552 10/21/20 19:56:33 10/21/20 19:57:41 anonymous           006395187‐46   310202‐1    JOHNSON‐SNELL      ROBERTA             8740 LIMEKILN PIKE APT B110      WYNCOTE, PA 19095          Incomplete Declaration
554    553 10/21/20 19:59:01 10/21/20 19:59:44 anonymous           005844680‐46   330103‐1    CAGE               ERNESTINE FELICA    2905 SUNSET AVE                  NORRISTOWN, PA 19403       Incomplete Declaration
555    554 10/21/20 19:59:48 10/21/20 20:00:23 anonymous           006182609‐46   65M04‐1     ALLEN              LINDA               424 FLOURTOWN RD                 LAFAYETTE HILL PA 19444    Incomplete Declaration
556    555 10/21/20 20:00:27 10/21/20 20:01:10 anonymous           006076084‐46   58GUL01‐1   WILSON             JUDITH              299 BALLIGOMINGO RD              CONSHOHOCKEN, PA 19428     Incomplete Declaration
557    556 10/21/20 20:01:14 10/21/20 20:02:04 anonymous           110353634‐46   430303‐1    HARGROVE           SYDNEY CHAYE        112 PINETOWN RD                  AUDUBON, PA 19403          Incomplete Declaration
558    557 10/21/20 20:02:07 10/21/20 20:02:45 anonymous           006013682‐46   310504‐1    DAWSON             RICHARD EDWARD      204 BARCLAY CIR                  CHELTENHAM, PA 19012       Incomplete Declaration
559    558 10/22/20 8:27:58 10/22/20 8:33:19 anonymous             006019966‐46   410300‐1    Kameswari          Akkaraju            3324 Locust Dr                   Huntingdon Vly, PA 19006   USPS Issue
560    559 10/22/20 8:33:31 10/22/20 8:34:42 anonymous             106429216‐46   390201‐1    Rashid             Hassan              1151 Pileggi Ct                  Ambler, PA 19002           USPS Issue
561    560 10/22/20 8:33:30 10/22/20 8:35:43 anonymous             105882307‐46   130303‐1    Fabiosa            carl                1529, Dekalb street Uni 130      Norristown PA,19401        USPS Issue
562    561 10/22/20 8:34:44 10/22/20 8:36:06 anonymous             104523955‐46   540601‐1    Braitman           Shayna Morgan       1728 Brittany Dr                 Maple Glen, PA 19002       USPS Issue
563    562 10/22/20 8:31:54 10/22/20 8:36:15 anonymous             110580619‐46   490102‐1    Johnson            Mya                 15 Chestnut St                   Plymouth MTG, PA 19462     USPS Issue
564    563 10/22/20 8:36:08 10/22/20 8:37:08 anonymous             108891250‐46   510001‐1    Witt               Eric Christian      1212 Christina Ct                Collegeville, PA 19426     USPS Issue
565    564 10/22/20 8:35:45 10/22/20 8:37:14 anonymous             110814944‐46   050300‐1    Mcloughlin         Joseph              301, Washington st,              Conshohocken, PA19428      USPS Issue
566    565 10/22/20 8:37:16 10/22/20 8:38:42 anonymous             104413848‐46   560002‐1    Miller             Jessica             301, Washington st               Conshohocken, PA 19428     USPS Issue
567    566 10/22/20 8:37:11 10/22/20 8:39:42 anonymous             009462426‐46   370004‐1    Giambrone          Christopher         59 Long Meadow Rd                Royersford, PA 19468       USPS Issue
568    567 10/22/20 8:38:44 10/22/20 8:40:01 anonymous             108288296‐46   330204‐1    Slachta            Katie               2921 Penn square Road            Norristown PA 19401        USPS Issue
569    568 10/22/20 8:36:56 10/22/20 8:40:06 anonymous             102970585‐46   310204‐1    Monroe             Bianca              8 Greenwood Ave                  Wyncote PA 19095           USPS Issue
570    569 10/22/20 8:39:45 10/22/20 8:41:06 anonymous             109826052‐46   540602‐1    Liu                Connie              805 Welsh Rd                     Ambler, PA 19002           USPS Issue
571    570 10/22/20 8:40:03 10/22/20 8:41:52 anonymous             107891268‐46   58BEL04‐1   Clements           Kira                104, West North lane             Conshohocken, PA 19428     USPS Issue
572    571 10/22/20 8:40:09 10/22/20 8:42:26 anonymous             104250501‐46   310402‐1    Upshur             Micheal             2017 John Russell Cir S, Apt     Elkins Park, PA 19027      USPS Issue
573    572 10/22/20 8:41:09 10/22/20 8:42:42 anonymous             108231309‐46   430102‐1    Benvenuti Roman    Antonio V           135 Steinbright Dr               Collegeville, PA 19426     USPS Issue
574    573 10/22/20 8:41:55 10/22/20 8:43:12 anonymous             006231812‐46   65WO2‐1     Kemp               Sonja               201 Andorra Glen ct              Lafayette hill PA 19444    USPS Issue
575    574 10/22/20 8:42:44 10/22/20 8:43:48 anonymous             015510480‐46   430102‐1    Tomon              Barry Joseph        707 Raynham Rd                   Collegeville, PA 19426     USPS Issue
576    575 10/22/20 8:43:51 10/22/20 8:44:39 anonymous             014906169‐46   430102‐1    Tomon              Jacqueline J        707 Raynham Rd                   Collegeville, PA 19426     USPS Issue
577    576 10/22/20 8:43:15 10/22/20 8:44:41 anonymous             010151770‐46   08S01‐1     Kida               Timothy             318 Wilson rd                    Hatboro PA 19040           USPS Issue
578    577 10/22/20 8:42:28 10/22/20 8:44:43 anonymous             109734871‐46   390103‐1    Cohen              Devin               148 Kent Circle                  Lower Gywnedd, PA 19002    USPS Issue
579    578 10/22/20 8:44:42 10/22/20 8:46:03 anonymous             102480426‐46   08N02‐1     Smith              Monica              240 County line road E, Apt 2L   HAtboro PA 19040           USPS Issue
580    579 10/22/20 8:44:42 10/22/20 8:46:03 anonymous             104400063‐46   140200‐1    Macmaster          Arleigh Christine   257 Second St N                  North Wales, PA 19454      USPS Issue
581    580 10/22/20 8:44:47 10/22/20 8:47:07 anonymous             103459762‐46   300601‐1    Lee                Brian               501 Edge Hill Road APT B2        Glenside, PA 19038         USPS Issue
582    581 10/22/20 8:46:05 10/22/20 8:47:07 anonymous             006224275‐46   460007‐1    Bradley            Joseph J            112 Blue Ribbon Dr               North Wales, PA 19454      USPS Issue
583    582 10/22/20 8:46:05 10/22/20 8:47:20 anonymous             109828994‐46   401002‐1    Krampitz           Geoffrey            523 Old gulph road               Bryn mawr PA 19010         USPS Issue
584    583 10/22/20 8:47:10 10/22/20 8:48:00 anonymous             005730299‐46   460003‐1    Lobb               Virginia H          119 Hedgerow Pl                  North Wales, PA 19454      USPS Issue
585    584 10/22/20 8:47:11 10/22/20 8:48:43 anonymous             109884134‐46   67E02‐1     Oconnor            Katherine           2505 Creekside Drive             Lansdale, PA 19466         USPS Issue
586    585 10/22/20 8:48:03 10/22/20 8:48:51 anonymous             005761509‐46   460003‐1    Simpson            Andrew L            220 Warwick Way                  North Wales, PA 19454      USPS Issue

                                                                                                       Page 13 of 124
                                                                    Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 14 of 124


      A            B               C             D       E    F         G           H               I                     J                           K                              L                              M
 1 ID     Start time       Completion time Email       Name NumbeNumber2        Precinct:   Last Name          First name            Address Line 1                      Address Line 2                Issue
587    586 10/22/20 8:47:23 10/22/20 8:48:53 anonymous           006155904‐46   160101‐1    Trythall           Rita                  262 King street Apt 614, Po box‐722 Pottstown PA 19464            USPS Issue
588    587 10/22/20 8:48:53 10/22/20 8:49:47 anonymous           021528438‐46   150001‐1    Scheidler          Amber Marie           534 Main St Apt 7                   Pennsburg, PA 18073           USPS Issue
589    588 10/22/20 8:48:45 10/22/20 8:49:51 anonymous           110718633‐46   400502‐1    Schnieder          Amalia                119 Adrienne Ln                     Wynnewood, PA 19096           USPS Issue
590    589 10/22/20 8:48:55 10/22/20 8:50:17 anonymous           005833362‐46   470003‐1    Moser              Patricia              334, Moyer road                     Pottstown PA 19464            USPS Issue
591    590 10/22/20 8:49:50 10/22/20 8:50:33 anonymous           006105283‐46   170001‐1    Twisdale           Robert T              754 Aspen Cir                       Red Hill, PA 18076            USPS Issue
592    591 10/22/20 8:49:57 10/22/20 8:51:17 anonymous           109167607‐46   310302‐1    August             Talia                 721 Meetinghouse Road               Elkins Park PA 19027          USPS Issue
593    592 10/22/20 8:50:34 10/22/20 8:51:29 anonymous           006026540‐46   170001‐1    Umbehauer          W F Jr                1019 Avondale Dr                    Red Hill, PA 18076            USPS Issue
594    593 10/22/20 8:50:20 10/22/20 8:51:38 anonymous           006403463‐46   160102‐1    Rodriquez          Layla                 519 King st 1st floor               Pottstown PA 19464            USPS Issue
595    594 10/22/20 8:51:32 10/22/20 8:52:26 anonymous           006268894‐46   150001‐1    Banner Adelman     Bethany J             488 Sixth St                        Pennsburg, PA 18073           USPS Issue
596    595 10/22/20 8:51:26 10/22/20 8:52:31 anonymous           108877790‐46   630301‐1    Hilton             James                 8305 Sentinel RDG                   Norristown, PA 19403          USPS Issue
597    596 10/22/20 8:51:40 10/22/20 8:53:06 anonymous           014852459‐46   400103‐1    Cacciola           Johnq                 226 Conshohocken state road Gladwyne PA 19035                     USPS Issue
598    597 10/22/20 8:52:28 10/22/20 8:53:35 anonymous           005798989‐46   520502‐1    Butler             Gerard M              1000 Abington Ave                   Glenside, PA 19038            USPS Issue
599    598 10/22/20 8:53:37 10/22/20 8:54:30 anonymous           104035877‐46   300901‐1    Dunn               Christopher Charles   957 Maple Ave                       Glenside, PA 19038            USPS Issue
600    599 10/22/20 8:53:08 10/22/20 8:54:32 anonymous           006279316‐46   010200‐1    Numani             Becca                 100 Reiffs mill rd Atp‐c12          Ambler pa 19002               USPS Issue
601    600 10/22/20 8:52:34 10/22/20 8:54:59 anonymous           110309925‐46   490102‐1    Clark              Branddon              15 Chestnut St                      Plymouth Mtg, PA 19426        USPS Issue
602    601 10/22/20 8:54:33 10/22/20 8:55:19 anonymous           110182399‐46   300901‐1    Heiser             Thomas Paul           932 Maple Ave                       Glenside, PA 19038            USPS Issue
603    602 10/22/20 8:54:36 10/22/20 8:56:18 anonymous           006106829‐46   010200‐1    kinsley            john                  100 reiffs mills rd                 ambler, pa, 19002             USPS Issue
604    603 10/22/20 8:55:03 10/22/20 8:56:38 anonymous           110582862‐46   490303‐1    Thompson           Peturah               134 Plymouth RD UNI 4101            Plymouth MTG PA 19426         USPS Issue
605    604 10/22/20 8:55:22 10/22/20 8:56:41 anonymous           110319802‐46   100100‐1    Litz               John Joseph III       900 Greenwood Ave APT 3             Jenkintown, PA 19046          USPS Issue
606    605 10/22/20 8:56:20 10/22/20 8:57:54 anonymous           103597955‐46   360105‐1    gaertner           shana                 101 upland ave apt d17              horsham pa 19044              USPS Issue
607    606 10/22/20 8:56:43 10/22/20 8:57:56 anonymous           104294343‐46   61O00‐1     Parbatani          Shameer               4 Graymont Cir                      Collegeville, PA 19426        USPS Issue
608    607 10/22/20 8:56:43 10/22/20 8:57:58 anonymous           021339382‐46   310204‐1    Mccallum           Charles               623 Mulford Rd                      Wyncote, PA 19095             USPS Issue
609    608 10/22/20 8:57:58 10/22/20 8:58:39 anonymous           005971734‐46   430101‐1    Lourenco           Marilyn J             103 Lattice Ln                      Collegeville, PA 19426        USPS Issue
610    609 10/22/20 8:58:02 10/22/20 8:59:03 anonymous           021881602‐46   180001‐1    Maye               Margeret              113 Robbins Ave FL 1                Jenkintown, PA 19046          USPS Issue
611    610 10/22/20 8:57:57 10/22/20 8:59:20 anonymous           86‐461082295   060001‐1    HAGENBUCH          ERIN                  100 JEFFERSON ST                    EAST GREENVILLE PA 18041      USPS Issue
612    611 10/22/20 8:58:41 10/22/20 8:59:22 anonymous           103238405‐46   230001‐1    Kisenda            Christopher L         161 Harvard Dr                      Trappe, PA 19426              USPS Issue
613    612 10/22/20 8:59:07 10/22/20 9:00:15 anonymous           011370826‐46   180001‐1    Reifsnyder         Kelly                 5 Huntingdon Pike APT 4             Jenkintown PA 19046           USPS Issue
614    613 10/22/20 8:59:22 10/22/20 9:00:28 anonymous           103281775‐46   65M04‐1     HOCKMAN            JESSICA               465 BOX ELDER LN                    LAFAYETTE HILL PA 19444       USPS Issue
615    614 10/22/20 8:59:23 10/22/20 9:01:20 anonymous           109088484‐46   240001‐1    Swank              Nicole Lorraine       120 Cedar Ave                       Conshohocken, PA 19428        USPS Issue
616    615 10/22/20 9:00:30 10/22/20 9:01:44 anonymous           104209487‐46   330102‐1    BLACKMON           MARGARET              106 STONYWAY                        NORRISTOWN PA 19403           USPS Issue
617    616 10/22/20 9:00:18 10/22/20 9:02:03 anonymous           014682135‐46   310202‐1    Tollen             Michelle              8470 Limekiln Pike APT 901          Wyncote PA 19095              USPS Issue
618    617 10/22/20 9:01:34 10/22/20 9:02:32 anonymous           109136772‐46   240001‐1    Long               Steffanie Nicole      145 Cedar Ave Apt A                 West Conshohocken, PA 19428   USPS Issue
619    618 10/22/20 9:01:46 10/22/20 9:02:45 anonymous           006406700‐46   301103‐1    MARTINO            KATIE                 1087 TYSON AV FLOOR 1               ABINGTON PA 19001             USPS Issue
620    619 10/22/20 9:02:34 10/22/20 9:03:31 anonymous           006389975‐46   240001‐1    Cocking            Matthew Richard       130 Merion Ave                      West Conshohocken, PA 19428   USPS Issue
621    620 10/22/20 9:02:46 10/22/20 9:03:45 anonymous           109559922‐46   301003‐1    MCLAUGHKLIN        VERONICA              1226 BOCKIOUS AVE                   ABINGTON PA 19001             USPS Issue
622    621 10/22/20 9:02:09 10/22/20 9:03:52 anonymous           005690423‐46   310202‐1    Burshell           Loraine               1125 Trinity                        Wyncote PA 19095              USPS Issue
623    622 10/22/20 9:03:34 10/22/20 9:04:32 anonymous           021027924‐46   240001‐1    Sherman            Steven Eric           119 Merion Ave                      Conshohocken, PA 19428        USPS Issue
624    623 10/22/20 9:03:47 10/22/20 9:05:02 anonymous           005826647‐46   300901‐1`   FLYNN              MICHAEL               917 TYSON AVE                       ABINGTON PA 19001             USPS Issue
625    624 10/22/20 9:03:59 10/22/20 9:05:07 anonymous           103057109‐46   310202‐1    Mcneal             Nina                  8470 Limekiln Pike APT 925          Wyncote PA 19095              USPS Issue
626    625 10/22/20 9:05:04 10/22/20 9:05:49 anonymous           006121554‐46   300901‐1    FLYNN              MARY                  917 TYSON AVE                       ABINGTON PA 19001             USPS Issue
627    626 10/22/20 9:05:51 10/22/20 9:06:48 anonymous           107641729‐46   301102‐1    LEVIN              BENJAMIN              1229 JERICHO ROAD                   ABINGTON 19001                USPS Issue
628    627 10/22/20 9:06:50 10/22/20 9:07:44 anonymous           003333895‐46   360402‐1    HAMMEL             JENNIFER              1216 LOIS RD                        AMBLER PA 19002               USPS Issue
629    628 10/22/20 9:07:24 10/22/20 9:08:36 anonymous           020826061‐46   240001‐1    McKairnes          Andrew J              400 Bullock Ave                     West Conshohocken, PA 19428   USPS Issue
630    629 10/22/20 9:07:45 10/22/20 9:08:45 anonymous           006197791‐46   360403‐1    OPALISKI           TINA                  498 HERALD DR                       AMBLER PA 19002               USPS Issue
631    630 10/22/20 9:08:40 10/22/20 9:09:48 anonymous           106806285‐46   630102‐1    Belskie            Kevin Eric            159 Josephine Ave                   Conshohocken, PA 19428        USPS Issue

                                                                                                     Page 14 of 124
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      A            B               C             D       E    F        G            H            I                   J                    K                               L                              M
 1 ID     Start time       Completion time Email       Name NumbeNumber2        Precinct:  Last Name       First name       Address Line 1                Address Line 2                    Issue
632    631 10/22/20 9:08:23 10/22/20 9:10:13 anonymous           006109168‐46   310202‐1 Camarena          Ruby             8480 Limekiln Pike APT 301    Wyncote PA 19095                  USPS Issue
633    632 10/22/20 9:09:49 10/22/20 9:11:15 anonymous           021010983‐46   240001‐1 Sherman           Emily M          119 Merion Ave                Conshohocken, PA 19428            USPS Issue
634    633 10/22/20 9:10:14 10/22/20 9:11:43 anonymous           021777611‐46   300102‐1 Flanigan          Brittany         1321 Barrowdale Rd            Jenkintown, PA 19046              USPS Issue
635    634 10/22/20 9:11:19 10/22/20 9:12:44 anonymous           110907131‐46   130102‐1 Moffett           Zytavia          450 Forrest Ave               Norristown, PA 19401              USPS Issue
636    635 10/22/20 9:11:45 10/22/20 9:13:02 anonymous           021729363‐46   400702‐1 Weinberg          Melissa          940 Clover Hill Road          Wynnewood PA 19096                USPS Issue
637    636 10/22/20 9:13:00 10/22/20 9:14:08 anonymous           005934730‐46   310201‐1 BARKSDALE         ANNA             8109 FENTON RD                GLENSIDE PA 19038                 USPS Issue
638    637 10/22/20 9:12:46 10/22/20 9:14:19 anonymous           006030060‐46   65W03‐1    Axelrod         Cynthia R        9 Cottonwood Ct               Lafayette Hill, PA 19444          USPS Issue
639    638 10/22/20 9:13:14 10/22/20 9:14:46 anonymous           006028823‐46   400102‐1 Ellis             Susan            1319 Montgomery Ave           Wynnewood PA 19096                USPS Issue
640    639 10/22/20 9:14:09 10/22/20 9:15:05 anonymous           106986195‐46   400103‐1 SMITH             JULIE            756 MOUNT PLEASANT RD         BRYN MAWR PA 19010                USPS Issue
641    640 10/22/20 9:14:22 10/22/20 9:15:40 anonymous           005795176‐46   65M04‐1    Gadol           Gail B           475 Silver Bell Ln            Lafayette Hill, PA 19444          USPS Issue
642    641 10/22/20 9:14:47 10/22/20 9:15:59 anonymous           102763714‐46   340001‐1 Hull              Joann            833 Rising Sun Rd             Telford, PA 18969                 USPS Issue
643    642 10/22/20 9:15:08 10/22/20 9:16:10 anonymous           108267018‐46   460008‐1 NORTHCUT          LESLIE           8102 AVENEL BLVD              NORTH WALES PA 19454              USPS Issue
644    643 10/22/20 9:16:11 10/22/20 9:17:10 anonymous           104466739‐46   460008‐1 KOVAL             BETH             122 BAYHILL DR                NORTH WALES PA 19454              USPS Issue
645    644 10/22/20 9:16:01 10/22/20 9:17:17 anonymous           106429254‐46   340002‐2 Shore             Kylie            515 Fourth St North           Telford PA 18969                  USPS Issue
646    645 10/22/20 9:15:42 10/22/20 9:17:21 anonymous           104335782‐46   490301‐1 Campbell          Kyle Allen       301 Jocelyn Dr                Plymouth Meeting, PA 19462‐1427   USPS Issue
647    646 10/22/20 9:17:12 10/22/20 9:18:10 anonymous           104459249‐46   460008‐1 KOVAL             TIMOTHY          122 BAYHILL DR                NORTH WALES PA 19454              USPS Issue
648    647 10/22/20 9:17:28 10/22/20 9:18:33 anonymous           020917486‐46   490301‐1 Conway            Michael          314 Jocelyn Dr                Plymouth Mtg, PA 19462            USPS Issue
649    648 10/22/20 9:17:21 10/22/20 9:18:45 anonymous           005887149‐46   410100‐1 Temple            Geoffrey         2494 Washington Lane          Huntingdon Valley PA 19006        USPS Issue
650    649 10/22/20 9:18:14 10/22/20 9:19:03 anonymous           006203610‐46   460007‐1 DESTENFANO        MARGARET         107 STEVERS MILL RD           NORTH WALES PA 19454              USPS Issue
651    650 10/22/20 9:18:35 10/22/20 9:19:29 anonymous           021059991‐46   490301‐1 Berton            Sean             5 Melissa Way                 Plymouth Meeting, PA 19462‐1110   USPS Issue
652    651 10/22/20 9:19:05 10/22/20 9:19:58 anonymous           006203608‐46   460007‐1 DESTENFANO        FRANK            107 STEVERS MILL RD           NORTH WALES 19454                 USPS Issue
653    652 10/22/20 9:18:50 10/22/20 9:20:09 anonymous           104459642‐46   310401‐1 Glenn             Catherine        1990 Ashbourne RD APT 312     Elkins PArk, PA 19027             USPS Issue
654    653 10/22/20 9:19:31 10/22/20 9:20:25 anonymous           005831701‐46   490301‐1 Ledder            John W           3103 Jolly Rd                 Plymouth Meeting PA 19462‐2301    USPS Issue
655    654 10/22/20 9:20:00 10/22/20 9:20:54 anonymous           103123447‐46   400502‐1 POLAK             AARON            525 SYDBURY LN                WYNNEWOOD PA 19096                USPS Issue
656    655 10/22/20 9:20:26 10/22/20 9:21:17 anonymous           006079467‐46   540501‐1 Kyzyma            George           715 Jennifer Dr               Dresher, PA 19025                 USPS Issue
657    656 10/22/20 9:20:11 10/22/20 9:21:48 anonymous           108273244‐46   67E01‐1    Reese           James            2236 Berks Rd                 Lansdale PA 19446                 USPS Issue
658    657 10/22/20 9:20:55 10/22/20 9:21:51 anonymous           103123454‐46   400502‐1 POLAK             KARYN            525 SYDBURY LN                WYNNEWOOD PA 19096                USPS Issue
659    658 10/22/20 9:21:18 10/22/20 9:22:50 anonymous           110145965‐46   490301‐46 Sfida            Nathan Edward    1211 Walsh Avenue             Coral Gables, Florida 33146       USPS Issue
660    659 10/22/20 9:21:55 10/22/20 9:23:08 anonymous           006321482‐46   400703‐1 ROSEMAN           RONALD           1133 MORRIS RD                WYNNEWOOD PA 19096                USPS Issue
661    660 10/22/20 9:21:49 10/22/20 9:23:24 anonymous           107813719‐46   401403‐1 Gao               Henry            32 Trent Rd                   Wynnewood PA 19096                USPS Issue
662    661 10/22/20 9:23:18 10/22/20 9:24:07 anonymous           103991375‐46   401402‐1 BAYER             RICHARD          1224 REMINGTON RD             WYNNEWOOD PA 19096                USPS Issue
663    662 10/22/20 9:22:56 10/22/20 9:24:14 anonymous           110529780‐46   490301‐1 Marin             Taylor Paulina   3067 Plymouth Rock Rd         Plymouth Meeting, PA 19462‐7189   USPS Issue
664    663 10/22/20 9:24:08 10/22/20 9:25:01 anonymous           103991373‐46   401402‐1 BAYER             MARIAN           1224 REMINGTON RD              WYNNEWOOD PA 19096               USPS Issue
665    664 10/22/20 9:24:17 10/22/20 9:25:30 anonymous           021787973‐46   490301‐1 Milano            Taylor J         4847 Ogle St                   Philadelphia, PA 19127‐1904      USPS Issue
666    665 10/22/20 9:25:03 10/22/20 9:26:00 anonymous           109163115‐46   400703‐1 MCNULTY           CHRISTY          325 PENN RD UNI 561            WYNNEWOOD PA 19096               USPS Issue
667    666 10/22/20 9:23:29 10/22/20 9:26:04 anonymous           109088708‐46   300201‐1 Constable         Veronica         1779 Oakwynne Rd               Huntingdon Valley PA 19006       USPS Issue
668    667 10/22/20 9:25:44 10/22/20 9:26:52 anonymous           005730253‐46   340005‐1 Harrison          Margaret V       2615 Cowpath Rd                Hatfield, PA 19440               USPS Issue
669    668 10/22/20 9:26:01 10/22/20 9:27:08 anonymous           021174129‐46   400703‐1 MCKEON            FRANCIS          325 PENN RD APT 549            WYNNEWOOD PA 19090               USPS Issue
670    669 10/22/20 9:26:09 10/22/20 9:27:17 anonymous           109237296‐46   480001‐1 Rauh              James            5 Wynnewood Drive              Collegeville PA 19426            USPS Issue
671    670 10/22/20 9:27:10 10/22/20 9:28:00 anonymous           009593859‐46   400703‐1 GROVER            MARGARET         422 SABINE AVE                 WYNNEWOOD PA 19096               USPS Issue
672    671 10/22/20 9:27:22 10/22/20 9:28:36 anonymous           109035812‐46   401001‐1 Hall              Samantha         429 Montgomery Ave W, APT A501 Haverford PA 19041               USPS Issue
673    672 10/22/20 9:28:02 10/22/20 9:29:18 anonymous           005706432‐46   58TNC001‐1 PRINZ           LISA             101 BRYCE LN APT 418           KING OF PRUSSIA PA 19406         USPS Issue
674    673 10/22/20 9:27:30 10/22/20 9:29:32 anonymous           021346217‐46   65W01‐1    Greco           Angela           1801 Butler Pike               Conshohocken, PA 19428           USPS Issue
675    674 10/22/20 9:28:40 10/22/20 9:30:10 anonymous           109176192‐46   340008‐1 Plinke            Samantha         131 Hedgerow Drive             Souderton, PA 18964              USPS Issue
676    675 10/22/20 9:29:20 10/22/20 9:30:25 anonymous           104128715‐46   58TNC00‐1 GARVISON         GABRIELLA        300 VILLAGE DR APT 222         KING OF PRUSSIA PA 19406         USPS Issue

                                                                                                 Page 15 of 124
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      A            B               C             D       E    F        G             H               I                     J                   K                             L                           M
 1 ID     Start time       Completion time Email       Name NumbeNumber2         Precinct:   Last Name          First name        Address Line 1                Address Line 2              Issue
677    676 10/22/20 9:29:38 10/22/20 9:31:02 anonymous           110243147‐46    130401‐1    Colson             Lisa              4124 Regatta Cir              Norristown, PA 19401        USPS Issue
678    677 10/22/20 9:30:11 10/22/20 9:31:32 anonymous           105520773‐46    570003‐1    Schultz            Megan             3177 Kutztown Rd              East Greenville, PA 18041   USPS Issue
679    678 10/22/20 9:31:07 10/22/20 9:32:20 anonymous           104269545‐46    300202‐1    Kamat              Bhishak           814 Meadowbrook Dr            Huntingdon Vly, PA 19006    USPS Issue
680    679 10/22/20 9:31:34 10/22/20 9:33:00 anonymous           103087377‐46    300102‐1    Flanigan           Patrick           1321 Barrowdale Rd            Jenkintown PA 19046         USPS Issue
681    680 10/22/20 9:30:44 10/22/20 9:33:15 anonymous           109712763‐46    65w01‐1     COREY              AMANDA            1801 BUTLERPIKE APT 76        CONSHOHOCKEN PA 19428       USPS Issue
682    681 10/22/20 9:32:24 10/22/20 9:34:21 anonymous           108236839‐46    490301‐1    Bellew             Catherine         2 Colton Dr                   Plymouth Mting, PA 19462    USPS Issue
683    682 10/22/20 9:33:05 10/22/20 9:34:24 anonymous           006023971‐46    300701‐1    Jacobson           Milton            1610 The Fairway APT W101     Jenkintown PA 19046         USPS Issue
684    683 10/22/20 9:33:17 10/22/20 9:35:15 anonymous           009470819‐46    490101‐1    LEIB               ANNIE             3135 REGATTA CIR              PLYTMOUTH MTG PA 19462      USPS Issue
685    684 10/22/20 9:34:29 10/22/20 9:35:58 anonymous           104452906‐46    310602‐1    Hardwood           Hilary            1333 Ashbourne Rd             Elkins Park, PA 19027       USPS Issue
686    685 10/22/20 9:34:28 10/22/20 9:36:06 anonymous           109014796‐46    460008‐1    Momtahen           Mehrdad           207 Susan Cir                 North Wales PA 19454        USPS Issue
687    686 10/22/20 9:35:20 10/22/20 9:36:21 anonymous           108254120‐46    400703‐1    WOLF               EVAN              445 WARICK RD                 WYNNEWOOD PA 19096          USPS Issue
688    687 10/22/20 9:36:08 10/22/20 9:37:18 anonymous           109077676‐46    430201‐1    Rodriguez          Ethan             211 Trooper Rd S              Eagleville, PA 19403        USPS Issue
689    688 10/22/20 9:36:04 10/22/20 9:37:19 anonymous           0055761524‐46   460003‐1    Simpson            Glenna            220 Warwick Way               North Wales, PA 19454       USPS Issue
690    689 10/22/20 9:36:25 10/22/20 9:37:43 anonymous           109307262‐46    65E01‐1     RAPHAEL            ZACHARY           7004 REDCOAT DR               FLOURTOWN PA 19031          USPS Issue
691    690 10/22/20 9:37:20 10/22/20 9:38:16 anonymous           103714016‐46    360303‐1    Reale              Jason             600 Mann Rd                   Horsham PA 19044            USPS Issue
692    691 10/22/20 9:37:21 10/22/20 9:38:32 anonymous           108071347‐46    400602‐1    Cohen              Max               1615 Lark LN                  Villanova, PA 19085         USPS Issue
693    692 10/22/20 9:37:45 10/22/20 9:39:09 anonymous           109849829‐46    400801‐1    LIPSON             JEFFREY           1337 GRENOX RD                WYNNEWOOD PA 19096          USPS Issue
694    693 10/22/20 9:38:18 10/22/20 9:39:47 anonymous           006000413‐46    310501‐1    Munzer             Susan             1103 Ansley Avenue            Elkins Park PA 19027        USPS Issue
695    694 10/22/20 9:38:37 10/22/20 9:40:03 anonymous           005704726‐46    020300‐1    Bickings           Wayne             29 Fifth St                   Bridgeport, PA 19405        USPS Issue
696    695 10/22/20 9:39:49 10/22/20 9:41:00 anonymous           014380742‐46    310501‐1    Jones              Lindsey           900 Valley Rd APT B202        Elkins Park, PA 19027       USPS Issue
697    696 10/22/20 9:39:11 10/22/20 9:41:08 anonymous           107594764‐46    140200‐1    TRINIDAD           MERCEDES          129 MAIN STREET APT 4         NORTH WALES 19454           USPS Issue
698    697 10/22/20 9:40:07 10/22/20 9:41:35 anonymous           021480106‐46    470001‐1    Wood               Bonnie            137 Sanpiper CT               Gilbersville, PA 19525      USPS Issue
699    698 10/22/20 9:41:05 10/22/20 9:42:16 anonymous           014872352‐46    310303‐1    Dornstreich        Gennifer          7902 Rambler Rd               Elkins Park, PA 19027       USPS Issue
700    699 10/22/20 9:41:11 10/22/20 9:42:41 anonymous           006267944‐46    140300‐1    PERREZ             SUSANNA           103 TENTH ST S                NORTH WALES PA 19454        USPS Issue
701    700 10/22/20 9:41:41 10/22/20 9:43:00 anonymous           005938901‐46    450001‐1    Boone              David             5002 Hiffletrayer Rd          Green Lane, PA 18054        USPS Issue
702    701 10/22/20 9:42:17 10/22/20 9:43:29 anonymous           00611372‐46     480001‐1    Hoffman            James             1126 Cornwallis Way           Collegeville, PA 19426      USPS Issue
703    702 10/22/20 9:42:43 10/22/20 9:44:17 anonymous           109448823‐46    140300‐1    AGUILAR            PAULA             505 MONTOGOMERY AVE E, APT B NORTHWALES PA 19454          USPS Issue
704    703 10/22/20 9:43:06 10/22/20 9:44:25 anonymous           110323962‐46    150001‐1    Banner‐Adelman     Alexa             488 Sixth St                  Pennsburg, PA 18073         USPS Issue
705    704 10/22/20 9:43:35 10/22/20 9:44:59 anonymous           108808862‐46    61O001‐1    Donahue            Micheal           153 Hunt Club Drive           Collegeville, PA 19426      USPS Issue
706    705 10/22/20 9:44:32 10/22/20 9:45:40 anonymous           010488088‐46    160202‐1    Ellis              Daniel            840 Glasgow St                Pottstowny, PA 19464        USPS Issue
707    706 10/22/20 9:44:20 10/22/20 9:46:01 anonymous           104453705‐46    140300‐1    ESTRADA            MARYLOU           505 MONTOGOMERY AVE E         NORTH WALES PA 19454        USPS Issue
708    707 10/22/20 9:45:01 10/22/20 9:46:15 anonymous           104428157‐46    310503‐1    Gankiewicz         Rebecca Ann       804 Valley Road               Elkins Park, PA 19027       USPS Issue
709    708 10/22/20 9:45:48 10/22/20 9:47:07 anonymous           006206710‐46    390102‐1    Smith              Suzanne           416 Gwynedd Valley Dr         Gwynedd Valley, PA 19437    USPS Issue
710    709 10/22/20 9:46:19 10/22/20 9:47:24 anonymous           0061802572‐46   310304‐1    Stebbins           Enid              28 Latham PKWY                Elkins Park PA 19027        USPS Issue
711    710 10/22/20 9:46:03 10/22/20 9:47:31 anonymous           006359770‐46    140100‐1    PURCELL            MEGAN             108 MANIN ST S APT 3          NORTH WALES PA 19454        USPS Issue
712    711 10/22/20 9:47:15 10/22/20 9:48:52 anonymous           005731131‐46    410500‐1    McDonald           Christine         1039 Carriage Ln              Huntingdon Vly, PA 19006    USPS Issue
713    712 10/22/20 9:47:29 10/22/20 9:49:19 anonymous           006165091‐46    310304‐1    Banton             William           28 Latham PKWY                Elkins Park, PA 19027       USPS Issue
714    713 10/22/20 9:47:33 10/22/20 9:49:55 anonymous           007154497‐46    58BEL05‐1   FLANAGAN           NANCY             3000 VALLEY FORGE CIR APT 754 KING OF PRUSSIA PA 19406    USPS Issue
715    714 10/22/20 9:49:21 10/22/20 9:50:24 anonymous           007012093‐46    310104‐1    Yuknis             Eugene            307 A Glenside Ave E          Glenside PA 19038           USPS Issue
716    715 10/22/20 9:49:01 10/22/20 9:50:42 anonymous           107903780‐46    390102‐1    Mathew             Lijoy Kulathoor   1600 Overbrook Dr             Gwynedd Valley, PA 19437    USPS Issue
717    716 10/22/20 9:50:29 10/22/20 9:51:34 anonymous           110338467‐46    330101‐1    Wheat              Nicholas          3116 Shirlene Rd              Norristown, PA 19403        USPS Issue
718    717 10/22/20 9:49:57 10/22/20 9:51:41 anonymous           006168587‐46    340002‐1    WINTER             MICHELLE          113 FORREST RD                TELFORD PA 18969            USPS Issue
719    718 10/22/20 9:50:47 10/22/20 9:52:02 anonymous           105363863‐46    340008‐1    Moyer              Zane Douglas      233 Heatherfield Dr           Souderton, PA 18964         USPS Issue
720    719 10/22/20 9:51:37 10/22/20 9:52:55 anonymous           006373620‐46    610O0‐1     Goodwin            Lucy              242 Baxter Drive              Phoenixville PA 19460       USPS Issue
721    720 10/22/20 9:51:42 10/22/20 9:53:01 anonymous           006315743‐46    340007‐1    TROPEA             DEBORAH           403 BERKSHIRE DR              SOUDERTON PA 18964          USPS Issue

                                                                                                      Page 16 of 124
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      A             B                C             D       E    F         G             H               I                     J                   K                              L                          M
 1 ID      Start time        Completion time Email       Name NumbeNumber2         Precinct:   Last Name           First name       Address Line 1                   Address Line 2             Issue
722    721 10/22/20 9:52:13 10/22/20 9:54:23 anonymous             109307011‐46    360105‐1    Weinberg            Zoe Skye         213 Maple Ave APT A‐10           Horsham, PA 19044          USPS Issue
723    722 10/22/20 9:52:59 10/22/20 9:54:35 anonymous             011410990‐46    370005‐1    Moyers              Karen            171 Bradford Drive               Schwenksville, PA 19473    USPS Issue
724    723 10/22/20 9:54:00 10/22/20 9:55:39 anonymous             021011998‐46    401201‐1    HAUGHTON            CHRISTEN         212 IDARIS RD UNIT H2            MERION STATION PA 19066    USPS Issue
725    724 10/22/20 9:54:38 10/22/20 9:55:47 anonymous             005745006‐46    360403‐1    Opalisky            Mark E           498 Herald Drive                 Ambler PA 19002            USPS Issue
726    725 10/22/20 9:54:29 10/22/20 9:55:51 anonymous             107136491‐46    460008‐1    Taylor              Alice Casimiro   110 Red Haven Dr                 North Wales, PA 19454      USPS Issue
727    726 10/22/20 9:55:41 10/22/20 9:56:55 anonymous             005902748‐46    400902‐1    SIEGEL              JOSEPH           500 OXFORD RD                    BALA‐CYNWYD PA 19004       USPS Issue
728    727 10/22/20 9:55:52 10/22/20 9:57:03 anonymous             110492454‐46    360402‐1    Oh                  Bo Ram           1223 Lois Rd                     Ambler PA 19002            USPS Issue
729    728 10/22/20 9:55:58 10/22/20 9:57:42 anonymous             107833142‐46    310502‐1    Zurcher             Carly            7802 Lafayette Ave               Elkins Park, PA 19027      USPS Issue
730    729 10/22/20 9:57:05 10/22/20 9:58:04 anonymous             103483643‐46    360402‐1    Hammel              Dean             1216 Lois Rd                     Ambler PA 19002            USPS Issue
731    730 10/22/20 9:56:57 10/22/20 9:58:12 anonymous             005902757‐46    400902‐1    SIEGEL              ELLEN            500 OXFORD RD                    BALA‐CYNWYD PA 19004       USPS Issue
732    731 10/22/20 9:57:44 10/22/20 9:59:09 anonymous             006242022‐46    310303‐1    Torr                Adam             8006 Ivy LN                      Elkins Park, PA 19027      USPS Issue
733    732 10/22/20 9:58:14 10/22/20 9:59:24 anonymous             009496915‐46    400902‐1    WEINSTEIN           FREDERICK        940 LINDY LN                     BALA‐CYNWYD PA 19004       USPS Issue
734    733 10/22/20 9:58:12 10/22/20 9:59:25 anonymous             108152535‐46    310701‐1    Jones               Barbara J        8 Wharton Lane                   Cheltenham, PA 19012       USPS Issue
735    734 10/22/20 9:59:27 10/22/20 10:00:40 anonymous            109838581‐46    040002‐1    PERELION            JERENEICE        24 FIRST AVE E                   COLLEGEVILLE PA 19426      USPS Issue
736    735 10/22/20 9:59:30 10/22/20 10:00:44 anonymous            006389666‐46    310302‐1    Shensky             Joseph B         8302 Old York Rd APT B24         Elkins PArk, PA 19027      USPS Issue
737    736 10/22/20 9:59:13 10/22/20 10:01:06 anonymous            020413200‐46    470003‐1    Baron               Lisa             2759 Charlotte St N.             Gilbertsville, PA 19525    USPS Issue
738    737 10/22/20 10:00:41 10/22/20 10:01:44 anonymous           103696682‐46    300402‐1    AUGUSTIN            CLIFFORD         221 CADWALADER AVE               ELKINS PARK PA 19027       USPS Issue
739    738 10/22/20 10:00:47 10/22/20 10:01:51 anonymous           021123933‐46    300901‐1    Dunn                Ashley           957 Maple Ave                    Glenside, PA 19038         USPS Issue
740    739 10/22/20 10:01:13 10/22/20 10:02:58 anonymous           106570080‐46    310101‐1    Kellogg             Julia            479 Plymouth Rd                  Glenside, PA 19038         USPS Issue
741    740 10/22/20 10:01:46 10/22/20 10:03:04 anonymous           108232946‐46    310204‐1    SILBAUGH            LUCY             320 GRIBBEL RD                   WYNCOTE PA 19095           USPS Issue
742    741 10/22/20 10:03:06 10/22/20 10:04:17 anonymous           006395181‐46    120002‐1    ROBBINS             MOLLY            300 ESSEX AVE APT 201B           NARBERTH PA 19072          USPS Issue
743    742 10/22/20 10:03:03 10/22/20 10:04:21 anonymous           006122280‐46    500005‐1    Driver              Albert           560 Lederach Station Way         Harleysville, PA 19438     USPS Issue
744    743 10/22/20 10:03:02 10/22/20 10:04:34 anonymous           108680187‐46    100100‐1    Tollen              Riley            435 Johnson St                   Jenkintown, PA 19046       USPS Issue
745    744 10/22/20 10:04:18 10/22/20 10:05:31 anonymous           004754998‐46    120002‐1    MCINTYRE            JAMES            300 ESSEX AVE N APT310B          NARBERTH PA 19072          USPS Issue
746    745 10/22/20 10:04:42 10/22/20 10:06:38 anonymous           109079600‐46    110202‐1    Wilson              Kathleen         816 Chestnut St N.               Lansdale, PA 19446         USPS Issue
747    746 10/22/20 10:05:34 10/22/20 10:06:52 anonymous           107620689‐46    120001‐1    AITKENHEAD          SHERYL           318 WOODBINE AVE                 NARBERTH PA 19072          USPS Issue
748    747 10/22/20 10:04:22 10/22/20 10:07:07 anonymous           006336736‐46    310703‐1    Bazile              Marie            119 Andrea Rd                    Cheltenham, PA 19012       Incomplete Declaration
749    748 10/22/20 10:06:54 10/22/20 10:08:15 anonymous           109599154‐46    120001‐1    AITKENHEAD          SARAH            318 WOODBINE AVE                 NARBERTH PA 19072          USPS Issue
750    749 10/22/20 10:07:35 10/22/20 10:08:20 anonymous           006080211‐46    430303‐1    Parrack             Joanne           214 Bunting Circle               Audubon                    Incomplete Declaration
751    750 10/22/20 10:06:43 10/22/20 10:09:07 anonymous           104216021‐46    110201‐1    McGrorty Derstine   Karalyn Anne     218 Fifth St E.                  Lansdale, PA 19446         USPS Issue
752    751 10/22/20 10:08:22 10/22/20 10:09:29 anonymous           015656501‐46    520502‐1    Carroll             Mary F           1001 Abington Ave                Glenside PA 19038          Incomplete Declaration
753    752 10/22/20 10:08:18 10/22/20 10:09:31 anonymous           110238249‐46    400203‐1    WHEELER             CHARLES          1655 OAKWOOD DR APT 322 N        NARBERTH PA 19072          USPS Issue
754    753 10/22/20 10:09:33 10/22/20 10:10:17 anonymous           006037513‐46    050100‐1    Consolo             Eugene           218 Thrid Ave W, APT A           Conshohocken, PA 19428     Incomplete Declaration
755    754 10/22/20 10:09:33 10/22/20 10:10:40 anonymous           021265448‐46    540501‐1    LEVENTHAL           ROBERT           501 DRESHERWOOD DR               DRESHER PA 19025           USPS Issue
756    755 10/22/20 10:10:20 10/22/20 10:11:01 anonymous           005841150‐46    400201‐1    Kern                Barbara          1400 Waverly Rd APT B‐114        Gladwyne, PA 19035         Incomplete Declaration
757    756 10/22/20 10:09:17 10/22/20 10:11:15 anonymous           006216504‐46    400902‐1    Goldberg            Robert           940 Lindy LN                     Bala‐Cynwyd, PA 19004      USPS Issue
758    757 10/22/20 10:11:04 10/22/20 10:11:53 anonymous           005776845‐46    65W02‐1     Witten              Susan            150 Ridge Pike APT 207A          Lafayette Hill, PA 19444   Incomplete Declaration
759    758 10/22/20 10:10:44 10/22/20 10:11:53 anonymous           021846645‐46    301501‐1    ACHILLE             STEPHEAN         1355 BIRCHWOOD AVE               ABINGTON PA 19001          USPS Issue
760    759 10/22/20 10:11:59 10/22/20 10:12:44 anonymous           005695559‐46    300303‐1    Fleury              Marie            920 Delene Rd                    Jenkintown, PA 19046       Incomplete Declaration
761    760 10/22/20 10:11:55 10/22/20 10:12:57 anonymous           006215887‐46    310602‐1    BRANDABUR           JENNIFER         322 HARRISON AVE                 JENNIFER                   USPS Issue
762    761 10/22/20 10:11:22 10/22/20 10:13:04 anonymous           006065440‐46    400903‐1    Orenbuch            Donald           20 Conshohocken State Rd APT 703 Bala‐Cynwyd, PA 19004      USPS Issue
763    762 10/22/20 10:12:48 10/22/20 10:13:40 anonymous           005715686‐46    300303‐1    Fleury              John             920 Delene Rd                    Jenkintown, PA 19046       Incomplete Declaration
764    763 10/22/20 10:12:59 10/22/20 10:14:17 anonymous           107138959‐46    310602‐1    WILKEN              HALEY            332 HARRISON AVE                 ELKINS PARK PA 19027       USPS Issue
765    764 10/22/20 10:13:09 10/22/20 10:14:20 anonymous           00586s9447‐46   401301‐1    Vagnoni             James            403 Kent Rd                      Bala‐Cynwyd, PA 19004      USPS Issue
766    765 10/22/20 10:13:43 10/22/20 10:14:23 anonymous           010039697‐46    320002‐1    Klaus               John             24 Stafford Sq                   Boyertown, PA 19512        Incomplete Declaration

                                                                                                        Page 17 of 124
                                                                      Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 18 of 124


      A             B                C             D       E    F        G            H               I                       J                          K                              L                           M
 1 ID      Start time        Completion time Email       Name NumbeNumber2        Precinct:   Last Name          First name                Address Line 1                  Address Line 2               Issue
767    766 10/22/20 10:14:25 10/22/20 10:15:13 anonymous           010039992‐46   320002‐1    Klaus              Patricia                  24 Stafford Sq                  Boyertown, PA 19512          Incomplete Declaration
768    767 10/22/20 10:14:18 10/22/20 10:15:24 anonymous           104373072‐46   310602‐1    WILKEN             MADISON                   332 HARRISON AVE                ELKINS PARK PA 19027         USPS Issue
769    768 10/22/20 10:14:52 10/22/20 10:16:16 anonymous           005994172‐46   130203‐1    Lewis              Debra                     PO Box 265                      Norristown, PA 19404         USPS Issue
770    769 10/22/20 10:15:24 10/22/20 10:16:27 anonymous           006089788‐46   140300‐1    Taylor             Victoria                  229 S 7th Strret                North Wales PA 19454         Incomplete Declaration
771    770 10/22/20 10:15:26 10/22/20 10:16:38 anonymous           005917422‐46   310602‐1    MORGAN             WILLIAM                   7133 BEECH TREE DR              ELKINS PARK PA 19027         USPS Issue
772    771 10/22/20 10:16:31 10/22/20 10:17:25 anonymous           006015831‐46   330202‐1    Reynolds           Debra                     2617 Dekalb Pike #2‐314         Norristown, PA 19401         Incomplete Declaration
773    772 10/22/20 10:16:39 10/22/20 10:17:46 anonymous           006100415‐46   300401‐1    ZWIEBEL            MARIAN                    710 VALLEY GLENN RD             ELKINS PARK PA 19027         USPS Issue
774    773 10/22/20 10:16:21 10/22/20 10:18:07 anonymous           006000007‐46   400702‐1    Hatton             Carolyn                   511 Kenilworth Rd               Merion Station, PA 19066     USPS Issue
775    774 10/22/20 10:17:27 10/22/20 10:18:09 anonymous           006407728‐46   301501‐1    Jones              Robin                     1208 Johnston Ave               Abington, PA 19001           Incomplete Declaration
776    775 10/22/20 10:17:48 10/22/20 10:18:43 anonymous           103000845‐46   100100‐1    LEWIS              CHELSAY                   900 GREENWOOD AVE UNI 2         JENKINTOWN PA 19046          USPS Issue
777    776 10/22/20 10:18:13 10/22/20 10:19:06 anonymous           105999077‐46   530301‐1    Kwon               Jung                      2203 Dock Drive                 Lansdale, PA 19446           Incomplete Declaration
778    777 10/22/20 10:18:13 10/22/20 10:19:40 anonymous           110343072‐46   500006‐1    Lorenz             Marisa                    490 Quarry Rd                   Harleysville, PA 19438       USPS Issue
779    778 10/22/20 10:19:09 10/22/20 10:19:42 anonymous           006365026‐46   130201‐1    Fiallo             Jose                      123 Knox St                     Norristown, PA 19401         Incomplete Declaration
780    779 10/22/20 10:18:46 10/22/20 10:19:56 anonymous           108286252‐46   1001000‐1   MANCINIO           CAPRI                     306 A NICE AVE                  JENKINTOWN PA 19046          USPS Issue
781    780 10/22/20 10:19:45 10/22/20 10:20:29 anonymous           006094933‐46   390103‐1    McKernan           Geoffery                  801 Brushtown Rd                Ambler, PA 19002             Incomplete Declaration
782    781 10/22/20 10:19:58 10/22/20 10:21:00 anonymous           107696748‐46   140100‐1    CIMPERMAN          GARY                      202 MONTOGOMERY AVE W           NORTH WALES PA 19454         USPS Issue
783    782 10/22/20 10:20:34 10/22/20 10:21:12 anonymous           006244646‐46   130302‐1    Stovall            Crystal                   1212 Powell St                  Norristown, PA 19401         Incomplete Declaration
784    783 10/22/20 10:21:01 10/22/20 10:21:58 anonymous           006127207‐45   400901‐1    NINAARELLO         RITA                      223 EDGEHILL RD                 MERION STATION PA 19066      USPS Issue
785    784 10/22/20 10:21:17 10/22/20 10:22:02 anonymous           005951680‐46   65W02‐1     Stone              Harvey                    115 Hollyhock Drive             Lafayette Hill, Pa 19444     Incomplete Declaration
786    785 10/22/20 10:19:44 10/22/20 10:22:25 anonymous           006164586‐46   500001‐1    Diener             Helen                     26 Montgomery Dr                Harleysville, PA 19438       USPS Issue
787    786 10/22/20 10:22:05 10/22/20 10:22:52 anonymous           006382164‐46   400903‐1    Marks              Stephen                   335 Righters Ferry Rd APT 502   Bala‐Cynwyd, PA 19004        Incomplete Declaration
788    787 10/22/20 10:22:01 10/22/20 10:23:11 anonymous           005888990‐46   030001‐1    ROSE               MICHELLE                  2806 HUNTINGTON PIKE            BRYN ATHYN PA 19009          USPS Issue
789    788 10/22/20 10:22:31 10/22/20 10:23:32 anonymous           005935462‐46   300601‐1    Campbell           Evelyn                    111 Egerton Ave                 Glenside, PA 19038           USPS Issue
790    789 10/22/20 10:22:56 10/22/20 10:23:38 anonymous           006098971‐46   401202‐2    Stephens           Thamar                    515 Baird Rd                    Merion Station, PA 19066     Incomplete Declaration
791    790 10/22/20 10:23:13 10/22/20 10:24:23 anonymous           006204097‐46   030001‐1    BOYS               KEVIN                     2905 CHERRY LANE                BRYN ATHYN PA 19009          USPS Issue
792    791 10/22/20 10:23:43 10/22/20 10:24:25 anonymous           005838414‐46   320002‐1    Fuller             Daniel                    330 Estate Rd                   Boyertown, PA 19512          Incomplete Declaration
793    792 10/22/20 10:24:26 10/22/20 10:25:10 anonymous           006295711‐46   420003‐1    Hunsberger         Brian                     1274 Doris Drive                Pottstown, PA 19464          Incomplete Declaration
794    793 10/22/20 10:23:40 10/22/20 10:25:20 anonymous           107637338‐46   300202‐1    Kamat              Shraddha                  814 Meadowbrook Dr              Huntingdon Vly, PA 19006     USPS Issue
795    794 10/22/20 10:24:25 10/22/20 10:25:43 anonymous           006367097‐46   330104‐1    MROZ               COLLEEN                   1000 KINGLET DR                 NORRISTOWN PA 19403          USPS Issue
796    795 10/22/20 10:25:11 10/22/20 10:26:06 anonymous           005926434‐46   420002‐1    Krupp              Robert                    2461 High St E Unit H202        Pottstown, PA 19464          Incomplete Declaration
797    796 10/22/20 10:25:24 10/22/20 10:26:33 anonymous           003601523‐46   110201‐1    Heitz              Eileen                    29 Third St                     P.O. Box 345                 USPS Issue
798    797 10/22/20 10:26:08 10/22/20 10:26:57 anonymous           006092924‐46   420002‐1    Hoffman            Kathryn                   2461 High St. E Unit H‐202      Pottstown, PA 19464          Incomplete Declaration
799    798 10/22/20 10:25:45 10/22/20 10:27:18 anonymous           006407151‐46   150001‐1    MIEZITIS           JOHN                      101 SECOND ST APT F314          PENNBURG PA 18073            USPS Issue
800    799 10/22/20 10:26:58 10/22/20 10:27:58 anonymous           015713609‐46   65W02‐1     Hendry             Kristina                  250 Ridge Pike APT 157C         Lafayette Hill, PA 19444     Incomplete Declaration
801    800 10/22/20 10:26:38 10/22/20 10:28:28 anonymous           110509185‐46   400103‐1    Castro             Mariana Araujo Dourado De 1007 Black Rock Rd              Gladwne, PA 19035            USPS Issue
802    801 10/22/20 10:27:21 10/22/20 10:28:28 anonymous           103873585‐46   040002‐1    HOLMES             AARON                     24 FIRST AVE E                  COLLEGEVILLE PA 19246        USPS Issue
803    802 10/22/20 10:28:03 10/22/20 10:29:02 anonymous           006006393‐46   400903‐1    Ostroff            Betsy                     50 Belmont Ave APT 211          Bala‐Cynwyd, PA 19004        Incomplete Declaration
804    803 10/22/20 10:28:30 10/22/20 10:29:32 anonymous           005706295‐46   540203‐1    CHEIFETZ           MEREDITH                  1429 TREETOP LANE               AMBLER PA 19002              USPS Issue
805    804 10/22/20 10:29:03 10/22/20 10:29:50 anonymous           015397763‐46   130302‐1    Williams           Charles                   1065 Swede St                   Norristown, PA 19401         Incomplete Declaration
806    805 10/22/20 10:28:34 10/22/20 10:30:13 anonymous           109282343‐46   400103‐1    Ramires Macedo     Dulcidio                  1007 Black Rock Rd              Gladwyne, PA 19035           USPS Issue
807    806 10/22/20 10:29:34 10/22/20 10:31:17 anonymous           006374582‐46   350302‐1    SZYBOWDSKI         THOMAS                    1300 GRAYSON DR                 SOUDERTON PA 18964           USPS Issue
808    807 10/22/20 10:29:52 10/22/20 10:32:29 anonymous           006006394‐46   400903‐1    Ostroff            Neil                      50 Belmont Ave APT 211          Bala‐Cynwyd, PA 19004        Incomplete Declaration
809    808 10/22/20 10:31:20 10/22/20 10:32:39 anonymous           014418199‐46   300202‐1    DUNPHY             MICHAEL                   1909 HUNTINGTON PIKE            HUNTINGTON VALLEY PA 19006   USPS Issue
810    809 10/22/20 10:30:54 10/22/20 10:33:04 anonymous           103872328‐46   460008‐1    Northcut           Michael                   8102 Avenel BLVD                North Wales, PA 19454        USPS Issue
811    810 10/22/20 10:32:37 10/22/20 10:33:25 anonymous           009353698‐46   230001‐1    Rowan              Elizabeth                 511 Hancock Ct                  Trappe, PA 19426             Incomplete Declaration

                                                                                                       Page 18 of 124
                                                                      Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 19 of 124


      A             B                C             D       E    F        G              H              I                  J                     K                             L                        M
 1 ID      Start time        Completion time Email       Name NumbeNumber2         Precinct:   Last Name         First name       Address Line 1                Address Line 2             Issue
812    811 10/22/20 10:32:41 10/22/20 10:33:28 anonymous           108160695‐46    310102‐1    AROCHO            ALEXANDER        148 MT CARMEL AVE             GLENSIDE PA 19038          USPS Issue
813    812 10/22/20 10:33:30 10/22/20 10:34:09 anonymous           006374250‐46    340006‐1    McDermott         Thomas           447 Allentown Road            Souderton, PA 18964        Incomplete Declaration
814    813 10/22/20 10:33:31 10/22/20 10:34:25 anonymous           009980656‐46    401003‐1    KWAN              HOKWAI           65 MERRION AVE S              BRYN MAWR PA 19010         USPS Issue
815    814 10/22/20 10:33:08 10/22/20 10:34:40 anonymous           003633850‐46    410100‐1    Schlossberg       Jodi D           225 Carson Ter                Huntingdon Vly, PA 19006   USPS Issue
816    815 10/22/20 10:34:14 10/22/20 10:34:58 anonymous           102957115‐46    370002‐1    Smith             Ilisha           25 Wedge Ct                   Pottstown, PA 19464        Incomplete Declaration
817    816 10/22/20 10:34:28 10/22/20 10:35:32 anonymous           009980657‐46    401003‐1    KWAN              LILIAN           65 MERION AVE S               BRYN MAWR PA 19010         USPS Issue
818    817 10/22/20 10:34:43 10/22/20 10:35:44 anonymous           110549746‐46    400202‐1    Conrad            Claudia Tess     1221 Limberlost Ln            Gladwyne, PA 19035         USPS Issue
819    818 10/22/20 10:35:03 10/22/20 10:35:46 anonymous           005765455‐46    300501‐1    Blackwell         Jacqueline       1531 Washington Ave           Willow Grove, PA 19090     Incomplete Declaration
820    819 10/22/20 10:35:33 10/22/20 10:36:32 anonymous           102794994‐46    010300‐1    OBA               MICHIKO          106 MARY AMBLER WAY           AMBLER PA 19002            USPS Issue
821    820 10/22/20 10:35:46 10/22/20 10:36:48 anonymous           107534880‐46    630302‐1    Fedak             Victoria J       2031 Hemlock Rd               Norristown, PA 19403       USPS Issue
822    821 10/22/20 10:35:48 10/22/20 10:37:05 anonymous           108614316‐46    420003‐1    Manneh            Mamadou          1671 Potter Drive             Pottstown, PA 19464        Incomplete Declaration
823    822 10/22/20 10:36:35 10/22/20 10:37:44 anonymous           102663189‐46    010300‐1    OBA               LANCE            106 MARY AMBLER WAY           AMBLER PA 19002            USPS Issue
824    823 10/22/20 10:36:50 10/22/20 10:37:59 anonymous           021028066‐46    400403‐1    Astillero         Aaron Ramon      419 Lancaster Ave             Haverford, PA 19041        USPS Issue
825    824 10/22/20 10:37:45 10/22/20 10:38:39 anonymous           110093038‐46    360403‐1    LAL               SARINA           371 HIGHGATE DR               AMBLER PA 19002            USPS Issue
826    825 10/22/20 10:37:10 10/22/20 10:38:56 anonymous           005977343‐46    560001‐1    Diebold           Helen            N/a                           N/a                        Incomplete Declaration
827    826 10/22/20 10:38:41 10/22/20 10:39:37 anonymous           109023385‐46    360403‐1    OPALISKY          LAUREN           498 HERALD DR                 AMBLER PA 19002            USPS Issue
828    827 10/22/20 10:38:01 10/22/20 10:39:46 anonymous           016150476‐46    330204‐1    Shackelford       Samuel Malcolm   3103 Sycamore Ln              Norristown, PA 19401       USPS Issue
829    828 10/22/20 10:38:58 10/22/20 10:39:54 anonymous           005977344‐46    560001‐1    Diebold           Eugene           N/a                           N/a                        Incomplete Declaration
830    829 10/22/20 10:39:38 10/22/20 10:40:33 anonymous           104151626‐46    08N02‐1     SHIBE             SARA             237 JACKSONVILLE RD APT 27B   HATBORO PA 19040           USPS Issue
831    830 10/22/20 10:39:47 10/22/20 10:40:39 anonymous           006191805‐46    360201‐1    Phoung            Kim Toan         104 Rose Ln                   Ambler, PA 19002           USPS Issue
832    831 10/22/20 10:39:56 10/22/20 10:41:00 anonymous           006345855‐46    460008‐1    Houser            Derrick          120 Hanover Ave               North Wales, PA 19454      Incomplete Declaration
833    832 10/22/20 10:40:34 10/22/20 10:41:27 anonymous           014929465‐46    460002‐1    GRUBB             DENNIS           126 VERONICA LANE             LANDSALE PA 19446          USPS Issue
834    833 10/22/20 10:40:41 10/22/20 10:41:41 anonymous           110411356‐46    130401‐1    Thomas            Avery M          4221 Regatta Circle           Norristown, PA 19401       USPS Issue
835    834 10/22/20 10:41:04 10/22/20 10:41:46 anonymous           003461901‐46    530301‐1    Reger             Kathryn          536 Dock Dr                   Lansdale, PA 19446         Incomplete Declaration
836    835 10/22/20 10:41:29 10/22/20 10:42:19 anonymous           1045070226‐46   530301‐1    WOLDE             ZEMELAK          194 COMMUNITY DR              LANDSALE PA 19446          USPS Issue
837    836 10/22/20 10:41:43 10/22/20 10:42:38 anonymous           021815248‐46    130401‐1    Lundy             Rachel D         307 Main St 1st Floor         Norristown, PA 19401       USPS Issue
838    837 10/22/20 10:41:53 10/22/20 10:42:43 anonymous           005833675‐46    500005‐1    Nolthenius        William          965 Cressman Rd               Schwenksville, PA 19473    Incomplete Declaration
839    838 10/22/20 10:42:22 10/22/20 10:43:36 anonymous           109480400‐46    530301‐1    GRACE             CURTIS           1003 TOWAMENCIN AVE APT E 302 LANDSALE PA 19446          USPS Issue
840    839 10/22/20 10:42:45 10/22/20 10:43:39 anonymous           005865889‐46    110103‐1    Wiley             Christine        606 Main St E, APT 206        Lansdale, PA 19446         Incomplete Declaration
841    840 10/22/20 10:42:39 10/22/20 10:43:41 anonymous           102873169‐46    65W01‐1     Suleiman          Andrew J         1801 Butler Pike              Conshohocken, PA 19428     USPS Issue
842    841 10/22/20 10:43:37 10/22/20 10:44:27 anonymous           104491958‐46    460003‐1    MATHEWS           DEBORAH          935 BEECHWOOD DR              LANDSALE PA 19446          USPS Issue
843    842 10/22/20 10:43:42 10/22/20 10:44:35 anonymous           006211721‐46    530301‐1    Choi              Hwa Ja           2244 Dock Drive               Lansdale, PA 19446         Incomplete Declaration
844    843 10/22/20 10:43:43 10/22/20 10:44:43 anonymous           015653760‐46    65W01‐1     Jackson           Amanda Emily     1801 Butler Pike              Conshohocken, PA 19428     USPS Issue
845    844 10/22/20 10:44:31 10/22/20 10:45:23 anonymous           005696461‐46    401103‐1    POSTE             MARY             654 ITHAN AVE N               BRYN MAWR PA 19010         USPS Issue
846    845 10/22/20 10:44:38 10/22/20 10:45:38 anonymous           108535123‐46    110102‐1    Yesmin            Farida           38 Jenkins Ave APT 611        Lansdale, PA 19446         Incomplete Declaration
847    846 10/22/20 10:44:44 10/22/20 10:45:46 anonymous           009553426‐46    65W01‐1     Schwarz IV        Richard Daniel   1801 Butler Pike              Conshohocken, PA 19428     USPS Issue
848    847 10/22/20 10:45:28 10/22/20 10:46:17 anonymous           108840797‐46    401003‐1    WALL              SAMANTHA         825 LANCASTER AVE FL 2        BRWN MAWR PA 19010         USPS Issue
849    848 10/22/20 10:45:39 10/22/20 10:46:28 anonymous           102799393‐46    110101‐1    Sanchez           Joanne           131 Green St APT B            Lansdale, PA 19446         Incomplete Declaration
850    849 10/22/20 10:45:48 10/22/20 10:46:28 anonymous           006134542‐46    520701‐1    Meads             Willard T        2002 Summit Ln                Oreland, PA 19075          USPS Issue
851    850 10/22/20 10:46:18 10/22/20 10:47:05 anonymous           108206629‐46    401003‐1    SONG              DENNIS           806 MONTGOMERY AVE APT A4 BRWN MAWR PA 19010             USPS Issue
852    851 10/22/20 10:46:31 10/22/20 10:47:19 anonymous           006210167‐46    470002‐1    Scholl            Glenn            2570 Rosenberry Rd            Gilbertsville, PA 19525    Incomplete Declaration
853    852 10/22/20 10:46:31 10/22/20 10:47:59 anonymous           006186538‐46    65W03‐1     Finkel            Jodi A           121 Chinaberry Dr             Lafayette Hill, PA 19444   USPS Issue
854    853 10/22/20 10:47:07 10/22/20 10:48:07 anonymous           103483606‐46    120001‐1    RULON‐MILLER      WILLIAM          318 WOODBINE AVE PO BOX 763 NARBERTH PA 19072            USPS Issue
855    854 10/22/20 10:47:22 10/22/20 10:48:18 anonymous           107743813‐46    110101‐1    Marcial           Adam             131 Green Street APT B        Lansdale, PA 19446         Incomplete Declaration
856    855 10/22/20 10:48:09 10/22/20 10:48:52 anonymous           108067661‐46    300301‐1    OBRIEN            OLIVIA           616 ROSELAND AVE              JENKINTOWN PA 19046        USPS Issue

                                                                                                       Page 19 of 124
                                                                      Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 20 of 124


      A             B                C             D       E    F        G            H               I                      J                      K                          L                            M
 1 ID      Start time        Completion time Email       Name NumbeNumber2        Precinct:   Last Name          First name            Address Line 1              Address Line 2               Issue
857    856 10/22/20 10:48:22 10/22/20 10:49:01 anonymous           005767021‐46   110302‐1    Williams           Dorothy               716 Third St W              Lansdale, PA 19446           Incomplete Declaration
858    857 10/22/20 10:48:03 10/22/20 10:49:13 anonymous           006320096‐46   65M04‐1     Decordova          Elizabeth             474 Apple Tree Ln S         Lafayette HIll, PA 19444     USPS Issue
859    858 10/22/20 10:48:53 10/22/20 10:49:40 anonymous           005870918‐46   560004‐1    DESAI              LEELA                 1202 SCOBEE DR              LANDSDALE PA 19446           USPS Issue
860    859 10/22/20 10:49:06 10/22/20 10:49:49 anonymous           005988524‐46   540601‐1    Freedman           Meredith              1733 Brittany Drive         Ambler, PA 19002             Incomplete Declaration
861    860 10/22/20 10:49:41 10/22/20 10:50:31 anonymous           109230340‐46   430303‐1    SANDELLA           MICHAEL               3880 RINGNECK ROAD          AUDUBON PA 19403             USPS Issue
862    861 10/22/20 10:49:52 10/22/20 10:50:59 anonymous           005845189‐46   520302‐1    McKinney           Frances               N/a                         n/a                          Incomplete Declaration
863    862 10/22/20 10:50:32 10/22/20 10:51:29 anonymous           107419879‐46   150001‐1    LONG               ALYSSA                588 SEMINARY ST             PENNSBURG PA 18073           USPS Issue
864    863 10/22/20 10:51:06 10/22/20 10:52:28 anonymous           006040120‐46   520302‐1    Nordland           Susan                 N/a                         Oreland, PA 19076            Incomplete Declaration
865    864 10/22/20 10:51:31 10/22/20 10:52:31 anonymous           021411607‐46   350302‐1    SZYBOWSKI          SARAH                 1300 GRAYSON DR             SOUDERTON PA 18964           USPS Issue
866    865 10/22/20 10:52:29 10/22/20 10:53:27 anonymous           005970369‐46   590302‐1    Kuritz             Florence              1001 Easton Rd APT 914      Willow Grove, PA 19090       Incomplete Declaration
867    866 10/22/20 10:52:33 10/22/20 10:53:46 anonymous           108304440‐46   240001‐1    CHUNG              HYEE                  702 FORD ST APT 3           WEST CONSHOHOCKEN PA 19428   USPS Issue
868    867 10/22/20 10:51:34 10/22/20 10:53:56 anonymous           006326265‐46   65M04‐1     Bisbing            Teagan Ann            4005 Warner Rd S            Lafayetter Hill, PA 19444    Called no answer
869    868 10/22/20 10:53:31 10/22/20 10:54:19 anonymous           021410178‐46   520102‐1    Butler             Elizabeth             100 Wissahickon Ave #208    Flourtown, PA 19031          Incomplete Declaration
870    869 10/22/20 10:53:48 10/22/20 10:54:44 anonymous           021107664‐46   540301‐1    KIM                EUJIN                 264 WESTWIND WAY            DRESHER PA 19025             USPS Issue
871    870 10/22/20 10:54:22 10/22/20 10:55:10 anonymous           006381101‐46   310501‐1    Childress          Barbara               7795 Spring Ave             Elkins Park, PA 19027        Incomplete Declaration
872    871 10/22/20 10:54:46 10/22/20 10:55:41 anonymous           006417394‐46   010200‐1    HERBST             JENNIFER              217 LOCUST ST UNI FRONT     AMBLER PA 19002              USPS Issue
873    872 10/22/20 10:55:14 10/22/20 10:56:03 anonymous           015010145‐46   310102‐1    Ricci              Micheal               169 Lismore Ave             Glenside, PA 19038           Incomplete Declaration
874    873 10/22/20 10:55:42 10/22/20 10:56:35 anonymous           108796425‐46   401302‐1    POSNER             GABRIELLE             524 PRESCOTT RD             MERION STATION PA 19066      USPS Issue
875    874 10/22/20 10:56:06 10/22/20 10:57:08 anonymous           102489390‐46   350302‐1    Yacoub             Essam                 2932 Washington Lane        Hatfield, PA 19440           Incomplete Declaration
876    875 10/22/20 10:56:36 10/22/20 10:57:43 anonymous           015957891‐46   440001‐1    BAILEY             DORIS                 143 COUNTRY VIEW WAY        TELFORD PA 18969             USPS Issue
877    876 10/22/20 10:57:10 10/22/20 10:58:50 anonymous           005934995‐46   520102‐1    Samtmann           Michelynn             1201 Greenhill Rd           Flourtown, PA 19031          Incomplete Declaration
878    877 10/22/20 10:57:45 10/22/20 10:58:53 anonymous           021712089‐46   300202‐1    MOZITIS            JILLIAN               505 MEADOWBROOK DR APT 505 HUNTINGTON VLY PA 19006       USPS Issue
879    878 10/22/20 10:54:07 10/22/20 10:59:12 anonymous           108845223‐46   430101‐1    McKelvey           Erin                  1018 Bayberry Ln            Collegeville, PA 19426       USPS Issue
880    879 10/22/20 10:59:02 10/22/20 11:00:18 anonymous           021398687‐46   590101‐1    Brock              Phillip               12 Center Ave               Willow Grove, PA             Incomplete Declaration
881    880 10/22/20 11:00:21 10/22/20 11:01:12 anonymous           009336894‐46   520101‐1    Hankin             Robert                851 Andorra Rd              Lafayette Hill, PA 19444     Incomplete Declaration
882    881 10/22/20 10:59:17 10/22/20 11:01:25 anonymous           006326265‐46   65M04‐1     Bisbing            Teagan Ann            4005 Warner Rd S            Lafeyette Hill, PA 19444     USPS Issue
883    882 10/22/20 11:01:14 10/22/20 11:02:26 anonymous           006375387‐46   540101‐1    Cromack            Theresa               700 Spice bush Ln           Ambler, PA 19002             Incomplete Declaration
884    883 10/22/20 11:01:27 10/22/20 11:02:37 anonymous           108775716‐46   460002‐1    Chen               Callie Yun            100 Veronica Ln             Lansdale, PA 19446           USPS Issue
885    884 10/22/20 11:01:43 10/22/20 11:03:43 anonymous           006004052‐46   401303‐1    SAUNDERS,          ELAINE                417 BRYNMAWR AVE            BALA‐CYNWYD                  USPS Issue
886    885 10/22/20 11:02:27 10/22/20 11:03:49 anonymous           006141478‐46   58BEL02‐1   El‐Fayoumy         Mary                  319 Covered Bridge Rd       King of Prussia, PA 19406    Incomplete Declaration
887    886 10/22/20 11:02:38 10/22/20 11:04:04 anonymous           107993465‐46   310601‐1    Han                Gene                  8202 Forest Hills Dr.       Elkins Park, PA 19027        USPS Issue
888    887 10/22/20 11:04:06 10/22/20 11:04:59 anonymous           016083132‐46   360303‐1    Elsetinow          Alicia R              9 Sweet Gum Ln              Horsham, PA 19044            USPS Issue
889    888 10/22/20 11:03:46 10/22/20 11:05:25 anonymous           00935311‐46    370006‐1    WAMPLER            DOROTHY               60 LONGCROSS RD             LIMERICK PA 19468            USPS Issue
890    889 10/22/20 11:03:52 10/22/20 11:05:31 anonymous           014591775‐46   300702‐1    Earland            Carmen                1200 Old York Road APT E217 Jenkintown, PA 19046         Incomplete Declaration
891    890 10/22/20 11:05:00 10/22/20 11:05:57 anonymous           006338158‐46   300301‐1    Kanter             Justin Michael        630 Los Angeles Ave         Jenkintown, PA 19046         USPS Issue
892    891 10/22/20 11:05:58 10/22/20 11:07:06 anonymous           107749893‐46   58BEL02‐1   Li                 Fraulen Fangfei       321 Beidler Rd W            King of Prussia, PA 19406    USPS Issue
893    892 10/22/20 11:05:27 10/22/20 11:07:09 anonymous           009419088‐46   370006‐1    WAMPLER            RICHARD               60 LONGCROSS RD             LIMERICK PA 19468            USPS Issue
894    893 10/22/20 11:05:32 10/22/20 11:07:44 anonymous           006071910‐46   350102‐1    Bailey             Carol                 2362 Rebecca Drive          Hatfield, PA 19440           Voter is deceased
895    894 10/22/20 11:07:09 10/22/20 11:08:38 anonymous           108849181‐46   67E03‐1     Ahern              Jack Owen             2044 Hollis Rd              Lansdale, PA 19446           USPS Issue
896    895 10/22/20 11:07:10 10/22/20 11:08:49 anonymous           006004053‐46   401303‐1    SAUNDERS           JAMES                 417 BRYN MAWR AVE           BALA‐CYNWYD PA 19004         USPS Issue
897    896 10/22/20 11:08:40 10/22/20 11:09:40 anonymous           109140816‐46   660002‐1    Coffey             Charles William III   179 Brochant Cir            Blue Bell, PA 19422          USPS Issue
898    897 10/22/20 11:08:09 10/22/20 11:10:31 anonymous           005835598‐46   360202‐1    Horne              Mary                  27 Curry Lane               Horsham, PA 19044            Incomplete Declaration
899    898 10/22/20 11:08:51 10/22/20 11:10:36 anonymous           021615240‐46   370006‐1    MERCER             MARIANNE              13ST ANDREWS BLVD           LIMERICK PA 19468            USPS Issue
900    899 10/22/20 11:09:41 10/22/20 11:11:16 anonymous           103579298‐46   510003‐1    Gambone            Kristin Nicole        4369 Skippack Pike Apt 2    Schwenksville, PA 19473      USPS Issue
901    900 10/22/20 11:10:37 10/22/20 11:11:48 anonymous           009964283‐46   400302‐1    KUHN               JOHN                  19 ROCK HILL RD APT 5C      BALA CYNWYD PA 19004         USPS Issue

                                                                                                       Page 20 of 124
                                                                      Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 21 of 124


      A             B                C             D       E    F        G             H               I                     J                          K                              L                           M
 1 ID      Start time        Completion time Email       Name NumbeNumber2         Precinct:   Last Name          First name               Address Line 1                Address Line 2             Issue
902    901 10/22/20 11:11:19 10/22/20 11:12:23 anonymous           108029277‐46    58GUL02‐1   Wanglee            Storey                   1350 County Line Rd           Wayne, PA 19087            USPS Issue
903    902 10/22/20 11:10:32 10/22/20 11:12:40 anonymous           010130720‐46    410100‐1    Singer             Morse Blaine             1044 George Rd                Jenkintown, PA 19046       Incomplete Declaration
904    903 10/22/20 11:11:50 10/22/20 11:13:08 anonymous           009964282‐46    400302‐1    KUHN               JANICE                   19 ROCK HILL RD APT 5C        BALA‐CYNWYD PA 19004       USPS Issue
905    904 10/22/20 11:12:44 10/22/20 11:14:27 anonymous           006087223‐46    401402‐1    Byrne Dugan        Kathleen                 3 Meredith Rd                 Wynnewood, PA 19096        return. Basically empty envelope
906    905 10/22/20 11:12:25 10/22/20 11:14:43 anonymous           110627626‐46    460003‐1    Garber             Emily Elizabeth          222 Hemlock Dr                North Wales, PA 19454      USPS Issue
907    906 10/22/20 11:14:28 10/22/20 11:15:39 anonymous           006074665‐46    660005‐1    Davidson           Pamela                   N/a                           N/a                        Incomplete Declaration
908    907 10/22/20 11:14:57 10/22/20 11:16:30 anonymous           006419039‐46    300201‐1    Brickman           Casey Ann                49 Lee Lynn Ln                Huntingdon Vly, PA 19006   USPS Issue
909    908 10/22/20 11:14:45 10/22/20 11:16:31 anonymous           006410989‐46    590501‐1    KING               JOHN                     121 BONNET LN                 HATBORO PA 19040           USPS Issue
910    909 10/22/20 11:15:47 10/22/20 11:16:36 anonymous           005836126‐46    010100‐1    Moore              Raymond                  431 Haywood Rd                Ambler, PA 19002           Incomplete Declaration
911    910 10/22/20 11:16:37 10/22/20 11:17:26 anonymous           006082582‐46    010100‐1    Moore              Anita                    431 Haywood Rd                Ambler, Pa 19002           Incomplete Declaration
912    911 10/22/20 11:16:32 10/22/20 11:17:28 anonymous           108888276‐46    400301‐1    Welsh              Ilana S                  622 Oxford Rd                 Bala‐Cynwyd, PA 19004      USPS Issue
913    912 10/22/20 11:16:33 10/22/20 11:18:28 anonymous           005835110‐46    210100‐1    MARISCOTTI         CATHLYN                  350 MADISON AVE               SOUDERTON PA 18964         USPS Issue
914    913 10/22/20 11:17:30 10/22/20 11:18:41 anonymous           108145978‐46    401002‐1    Stucky             Maya A                   101 Merion Ave N Box C‐1336   Bryn Mawr, PA 19010        USPS Issue
915    914 10/22/20 11:17:28 10/22/20 11:18:56 anonymous           110822254‐46    301201‐1    Pritchard          Bethany                  623 Hillcrest Ave             Glenside, PA 19038         Incomplete Declaration
916    915 10/22/20 11:18:43 10/22/20 11:19:44 anonymous           110177678‐46    400202‐1    Schley             Talia E                  1124 Stony Ln                 Gladwyne, PA 19035         USPS Issue
917    916 10/22/20 11:18:58 10/22/20 11:20:08 anonymous           005776077‐46    430101‐1    Kovalich           Kathleen                 2005 Greenes Way Circle       Collegeville, PA 19426     Incomplete Declaration
918    917 10/22/20 11:18:30 10/22/20 11:20:22 anonymous           102604431‐46    300902‐1    MARION             CHELSEA                  668 CRICKET AVE               GLENSIDE PA 19038          USPS Issue
919    918 10/22/20 11:19:46 10/22/20 11:20:49 anonymous           6021822600‐46   460008‐2    Stempler           Ashley Lynne             806 Kennedy Rd E              North Wales, PA 19454      USPS Issue
920    919 10/22/20 11:20:15 10/22/20 11:21:19 anonymous           103541058‐46    480002‐1    Betts              Tony                     250 Concord Rd                Schwenksville, PA 19473    Incomplete Declaration
921    920 10/22/20 11:20:24 10/22/20 11:21:31 anonymous           109016982‐46    590501‐1    KING               ELIZABETH                212 NEWINGTON DR              HATBORO PA 19040           USPS Issue
922    921 10/22/20 11:21:33 10/22/20 11:22:39 anonymous           110540820‐46    30060‐1     GOLDMAN            DEVYN                    2707 TAFT AVE                 GLENSIDE PA 19038          USPS Issue
923    922 10/22/20 11:21:23 10/22/20 11:22:57 anonymous           005952873‐46    430101‐1    Hart               Donald                   110 Lattice Lane              Collegeville, PA 19426     Incomplete Declaration
924    923 10/22/20 11:20:52 10/22/20 11:23:25 anonymous           020669695‐46    310204‐1    Marshmond          Nyoka                    8417 Limekiln Pike Apt 102    Wyncote, PA 19095          USPS Issue
925    924 10/22/20 11:22:41 10/22/20 11:23:39 anonymous           105403062‐46    401103‐1    BOSCOV             AMELIA                   765 WOODLEAVE RD              BRYN MAWR PA 19010         USPS Issue
926    925 10/22/20 11:23:27 10/22/20 11:24:31 anonymous           107901984‐46    400601‐1    Murray             Aurora Destephanis       118 Airdale Rd                Bryn Mawr, PA 19010        USPS Issue
927    926 10/22/20 11:22:58 10/22/20 11:24:39 anonymous           014473111‐46    310401‐1    Scott              Paula Ann                2103 Mather Way APT B         Elkins Park, PA 19027      Incomplete Declaration
928    927 10/22/20 11:23:42 10/22/20 11:24:53 anonymous           107912270‐46    320004‐1    ZILEN              ALEXIS                   431 THRUSH DR                 GILBERTSVILLE PA 19525     USPS Issue
929    928 10/22/20 11:24:34 10/22/20 11:25:32 anonymous           109172649‐46    390202‐1    Bert               Trevor J                 433 Norma Rd                  Ambler, PA 19002           USPS Issue
930    929 10/22/20 11:24:58 10/22/20 11:26:06 anonymous           186457392       n/a         Kelley             Jeffrey                  101 Seventh St                Bridgeport, PA 19405       Incomplete Declaration
931    930 10/22/20 11:24:57 10/22/20 11:26:11 anonymous           015550683‐46    310301‐1    PRESSMAN           MARTIN                   25 WASHINGTON LN #638         WYNCOTE PA 19095           USPS Issue
932    931 10/22/20 11:25:34 10/22/20 11:26:30 anonymous           103467178‐46    61T00‐1     Martin             Alexander Christian      40 Keystone Ct                Collegeville, PA 19426     USPS Issue
933    932 10/22/20 11:26:07 10/22/20 11:27:04 anonymous           006303689‐46    390202‐1    Rupnik             Alexandria               815 Creekview Drive           Blue Bell, PA 19422        Incomplete Declaration
934    933 10/22/20 11:26:14 10/22/20 11:27:09 anonymous           021078867‐46    400703‐1    RITTENBERG         EMILY                    449 WARICK RD                 WYNNEWOOD PA 19096         USPS Issue
935    934 10/22/20 11:26:31 10/22/20 11:27:34 anonymous           108056136‐46    410100‐1    Nixon              Anna Elizabeth Kristin   333 Carson Ter                Huntingdon Vly, 19006      USPS Issue
936    935 10/22/20 11:27:06 10/22/20 11:28:06 anonymous           005791589‐46    420003‐1    Kuhn‐Hanlon        Peter                    280‐4 Walnut Ridge Estates    Pottstown, PA 19464        Incomplete Declaration
937    936 10/22/20 11:27:10 10/22/20 11:28:18 anonymous           015869663‐46    310202‐1    MERDINGER          MICHELE                  8480 LIMEKILN PIKE            WYNCOTE PA 19095           USPS Issue
938    937 10/22/20 11:27:36 10/22/20 11:28:22 anonymous           107038823‐46    310603‐1    Mcafoos            Ilana Rachel             118 Kingston Rd               Cheltenham, PA 19012       USPS Issue
939    938 10/22/20 11:28:07 10/22/20 11:29:13 anonymous           005960169‐46    490101‐1    Salvati            Salvatrice               457 Penn Rd                   Plymouth MTG, PA 19462     Incomplete Declaration
940    939 10/22/20 11:28:23 10/22/20 11:29:14 anonymous           103507657‐46    410402‐1    Gurbarg            Stacy R                  3724 Levy Ln                  Huntingdon Vly, PA 19006   USPS Issue
941    940 10/22/20 11:28:20 10/22/20 11:29:20 anonymous           102897297‐46    540301‐1    ROTH               MELISSA                  715 SIGNAL HILL RD            DRESHER PA 19025           USPS Issue
942    941 10/22/20 11:29:15 10/22/20 11:30:04 anonymous           109886857‐46    560006‐1    Prue               Allison Marie            1059 Charter Oaks Dr          Lansdale, PA 19446         USPS Issue
943    942 10/22/20 11:29:14 10/22/20 11:30:14 anonymous           108027437‐46    350402‐1    Dipta              Sk Rahat                 835 Rose Lane                 Hatfield, PA 19440         Incomplete Declaration
944    943 10/22/20 11:29:25 10/22/20 11:30:31 anonymous           104406355‐46    310603‐1    PAPACOSTAS         MARIA                    110 WETHERILL RD              CHELTENHAM PA 19012        USPS Issue
945    944 10/22/20 11:30:05 10/22/20 11:30:50 anonymous           020928747‐46    410402‐1    Rothaus            Zachary Cole             14 Roy Ln                     Huntingdon Vly, PA 19006   USPS Issue
946    945 10/22/20 11:30:15 10/22/20 11:31:14 anonymous           103640400‐46    350402‐1    Begom              Mst Nasrin               835 Rose Ln                   Hatfield, PA 19440         Incomplete Declaration

                                                                                                        Page 21 of 124
                                                                      Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 22 of 124


      A             B                C             D       E    F        G            H              I                     J                       K                               L                         M
 1 ID      Start time        Completion time Email       Name NumbeNumber2        Precinct:   Last Name         First name           Address Line 1                  Address Line 2              Issue
947    946 10/22/20 11:30:47 10/22/20 11:31:49 anonymous           102647122‐46   300303‐1    TEITELL           JENNIFER             734 CARMET RD                   JENKINTOWN PA 19046         USPS Issue
948    947 10/22/20 11:31:17 10/22/20 11:32:44 anonymous           015605876‐46   310202‐1    Strickland        Willie B             8470 Limekiln Pike APT 423‐2    Wyncote, PA 19095           Incomplete Declaration
949    948 10/22/20 11:31:50 10/22/20 11:32:55 anonymous           003373994‐46   300501‐1    DENNIS            YOLANDA              2259 HAMILTON AVE               WILLOW GROVE PA 19090       USPS Issue
950    949 10/22/20 11:30:52 10/22/20 11:33:12 anonymous           103072545‐46   400903‐1    Alfano            James Augustine Jr   10 Union Ave Apt 206            Bala‐Cynwyd, PA 19004       USPS Issue
951    950 10/22/20 11:32:57 10/22/20 11:33:59 anonymous           109316677‐46   500003‐1    KAGARISE          RACHEL               237 SUMMERWIND LN               HARLEYSVILLE PA 19438       USPS Issue
952    951 10/22/20 11:32:46 10/22/20 11:33:59 anonymous           005930022‐46   500002‐1    Cowley            James                275 Park Ave                    Harleysville, PA 19438      Incomplete Declaration
953    952 10/22/20 11:33:14 10/22/20 11:34:30 anonymous           102965233‐46   401403‐1    Yarden            Yuval                1403 Dorset Ln                  Wynnewood, PA 19096         USPS Issue
954    953 10/22/20 11:34:03 10/22/20 11:35:18 anonymous           006372492‐46   310101‐1    CASEY             JOSEPH               150 RIDGE PIKE                  LAFAYETTE HILL PA 19444     USPS Issue
955    954 10/22/20 11:34:00 10/22/20 11:35:33 anonymous           005797934‐46   400602‐1    Cornelius         Carl                 1619 Lark Lane                  Villanova, PA 19085         Incomplete Declaration
956    955 10/22/20 11:34:32 10/22/20 11:36:17 anonymous           106501469‐46   360403‐1    Kron              Benjamin Norman      537 Lower State Rd              North Wales, PA 19454       USPS Issue
957    956 10/22/20 11:35:34 10/22/20 11:36:34 anonymous           006000082‐46   401002‐1    Rash              Harriet              726 Mt. Pleasant Rd             Bryn Mawr, PA 19010         Incomplete Declaration
958    957 10/22/20 11:35:21 10/22/20 11:37:24 anonymous           021076173‐46   400803‐1    JAFFE             SHAINA               309 WASHINGTON ST               CONSHOHOKEN PA 19428        USPS Issue
959    958 10/22/20 11:36:19 10/22/20 11:37:28 anonymous           110340011‐46   65W03‐1     Barrack           Madison Elana        2110 Basswood Dr                Lafayette Hill, PA 19444    USPS Issue
960    959 10/22/20 11:36:36 10/22/20 11:39:00 anonymous           103855392‐46   58BEL04‐1   Biddle            Alvin                600 Valley Forge Rd W           King of Prussia, PA 19406   Incomplete Declaration
961    960 10/22/20 11:37:30 10/22/20 11:39:47 anonymous           107200575‐46   490102‐1    Gigliotti         Christina Claire     1604 Johnson Rd                 Plymouth Mtg, PA 19462      USPS Issue
962    961 10/22/20 11:37:26 10/22/20 11:40:23 anonymous           109302695‐46   130402‐1    Wendland          Daniel               908 THOMAS ST                   NORRISTOWN PA 19401         USPS Issue
963    962 10/22/20 11:39:01 10/22/20 11:41:06 anonymous           021592767‐46   400203‐1    Rand              Jordan               1276 Bobarn Drive               Narberth, PA 19072          Incomplete Declaration
964    963 10/22/20 11:39:49 10/22/20 11:41:16 anonymous           107728834‐36   400503‐1    Dewey             Samantha             110 Sibley Ave Apt 311          Ardmore, PA 19003           USPS Issue
965    964 10/22/20 11:41:07 10/22/20 11:42:09 anonymous           005692205‐46   400903‐1    Netsky            Sandra               191 Presidential BLVD APT 515   BALA‐CYNWYD, PA 19004       Incomplete Declaration
966    965 10/22/20 11:41:19 10/22/20 11:42:48 anonymous           107411009‐46   540601‐1    Connelly          Megan Lu             1859 Purdue Ln                  Ambler, PA 19002            USPS Issue
967    966 10/22/20 11:42:14 10/22/20 11:42:53 anonymous           006100496‐46   301202‐1    Clancy            Anne                 215 Woodlyn Ave                 Glenside, PA 19038          Incomplete Declaration
968    967 10/22/20 11:42:54 10/22/20 11:44:01 anonymous           015799629‐46   301103‐1    Payton            Francine             1006 Highland Drive             Abington, PA 19001          Incomplete Declaration
969    968 10/22/20 11:42:49 10/22/20 11:44:04 anonymous           109477447‐46   400903‐1    Soll              Jonathan Allan       150 Cambronne Cir               Blue Bell, 19422‐1440       USPS Issue
970    969 10/22/20 11:44:04 10/22/20 11:44:55 anonymous           015682849‐46   300801‐1    Sutton            Rochelle             2807 Old Welsh Rd               Willow Grove, PA 19090      Incomplete Declaration
971    970 10/22/20 11:44:05 10/22/20 11:45:37 anonymous           110179053‐46   530103‐1    Meekins           Micah Celeste        3009 Bainbridge Dr              Lansdale, PA 19446          USPS Issue
972    971 10/22/20 11:42:15 10/22/20 11:45:52 anonymous           107724023‐46   67E02‐1     CARNEY,           JERROD               2915 POTSHOP RD                 EAGLEVILLE PA 19403         USPS Issue
973    972 10/22/20 11:44:56 10/22/20 11:46:19 anonymous           007404828‐46   500001‐1    Saccani           Vincent              699 Main St APT 1130            Harleysville, PA 19438      Incomplete Declaration
974    973 10/22/20 11:45:39 10/22/20 11:46:47 anonymous           104170946‐46   58BEL01‐1   Burke             Steven F             743 Roy Rd                      King of Prussia, PA 19406   USPS Issue
975    974 10/22/20 11:46:21 10/22/20 11:47:27 anonymous           007431999‐46   500001‐1    Saccani           Phyllis              699 Main St APT 1130            Harleysville, PA 19438      Incomplete Declaration
976    975 10/22/20 11:45:56 10/22/20 11:47:36 anonymous           021182417‐46   300103‐1    PINCKNEY          ALEXANDRA            901 DALE RD                     JENKINTOWN PA 19046         USPS Issue
977    976 10/22/20 11:47:28 10/22/20 11:48:51 anonymous           006093223‐46   400402‐1    Riley             Rose                 215 Ardmore Ave                 Ardmore, PA 19003           Incomplete Declaration
978    977 10/22/20 11:47:41 10/22/20 11:49:09 anonymous           108939081‐46   58KIN02‐1   BURNIS‐JOHNSON    KIERSTEN             1402 BRANDENVURG WAY            KING OF PRUSSIA PA 19406    USPS Issue
979    978 10/22/20 11:48:52 10/22/20 11:49:50 anonymous           021347662‐46   490101‐1    Newman            Ada                  1219 Ridge Pike E APT 2         Plymouth MTG, PA 19462      Incomplete Declaration
980    979 10/22/20 11:48:22 10/22/20 11:50:39 anonymous           109237045‐46   590701‐1    Capobianco        Alyssa               304 Abbott Rd                   Hatboro, PA 19040           USPS Issue
981    980 10/22/20 11:49:10 10/22/20 11:50:48 anonymous           006213406‐46   58CAN02‐1   DECKER            MATTHEW              395 CROSSFIELD RD               KING OF PRUSSIA PA 19406    USPS Issue
982    981 10/22/20 11:50:17 10/22/20 11:51:04 anonymous           005838348‐46   300401‐1    Krebs             Susan                1404 Valley Glen Rd             Elkins Park, PA 19027       Incomplete Declaration
983    982 10/22/20 11:51:08 10/22/20 11:52:01 anonymous           103358589‐46   350402‐1    Ullah             Sk Kalam             835 Rose Lane                   Hatfield, PA 19440          Incomplete Declaration
984    983 10/22/20 11:51:03 10/22/20 11:52:16 anonymous           021230128‐46   020300‐1    CHEVALIER         SAM                  66 FOUTTH ST E APT 1B           BRIDGEPORT PA 19405         USPS Issue
985    984 10/22/20 11:51:13 10/22/20 11:52:22 anonymous           104106672‐46   530303‐1    Malecky           Nathan               107 Tweed Way                   Harleysville, PA 19438      USPS Issue
986    985 10/22/20 11:52:18 10/22/20 11:53:47 anonymous           103293573‐46   400703‐1    PEAN              PATRICK              625 LANCASTER AVE E             WYNNEWOOD PA 19096          USPS Issue
987    986 10/22/20 11:52:25 10/22/20 11:54:12 anonymous           109123854‐46   310301‐1    Healy             Jackson              154 Greenwood Ave               Wyncote, PA 19095           USPS Issue
988    987 10/22/20 11:53:53 10/22/20 11:54:53 anonymous           103901242‐46   400502‐1    CORVI             KATHERINE            515 OWEN RD                     WYNNEWOOD PA 19096          USPS Issue
989    988 10/22/20 11:54:13 10/22/20 11:55:37 anonymous           006214483‐46   500006‐1    Thele             Sandra               894 Cressman Rd                 Harleysville, PA 19438      USPS Issue
990    989 10/22/20 11:54:58 10/22/20 11:56:13 anonymous           103506420‐46   400502‐1    CORVI             DAVID                515 OWEN RD                     WYNNEWOOD PA 19096          USPS Issue
991    990 10/22/20 11:56:19 10/22/20 11:57:28 anonymous           003385335‐46   400501‐1    GHOLSTON          KIMBERLY             445 SABINE AVE                  WYNNEWOOD PA 19096          USPS Issue

                                                                                                      Page 22 of 124
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      A             B                C             D       E    F        G            H              I                   J                    K                              L                       M
 1 ID      Start time        Completion time Email       Name NumbeNumber2        Precinct:   Last Name         First name       Address Line 1               Address Line 2             Issue
992    991 10/22/20 11:56:47 10/22/20 11:57:44 anonymous           005984715‐46   520401‐1    Shelton           John             908 Harston Ln               Glenside, PA 19038         Incomplete Declaration
993    992 10/22/20 11:55:42 10/22/20 11:57:58 anonymous           006152615‐46   500006‐1    Thele             Jon              894 Cressman Rd              Harleysville, PA 19438     USPS Issue
994    993 10/22/20 11:57:30 10/22/20 11:59:20 anonymous           021092308‐46   340002‐1    LANDES            CHELSEA          123 FORREST RD               TELFORD PA 18969           USPS Issue
995    994 10/22/20 11:57:56 10/22/20 12:00:32 anonymous           107228385‐46   130401‐1    Lapsansky         Kevin            900 Luxor Lane APT 202       Norristown, PA 19401       USPS Issue
996    995 10/22/20 11:58:07 10/22/20 12:00:45 anonymous           006414228‐46   340003‐1    Chaffier          Deloris          284 Country Club Dr          Telford, PA 18969          USPS Issue
997    996 10/22/20 11:59:22 10/22/20 12:01:33 anonymous           012813201‐46   210200‐1    EDWARDS           PAMELA           518 HEMSING CIR              SOUDERTON PA 18964         USPS Issue
998    997 10/22/20 12:00:50 10/22/20 12:03:10 anonymous           006411443‐46   340003‐1    Chaffier          Richard          284 Country Club Dr          Telford, PA 18969          USPS Issue
999    998 10/22/20 12:01:35 10/22/20 12:03:22 anonymous           005727427‐46   340003‐1    RABANO            GRACE            368 HIGH ST                  SOUDERTON PA 18964         USPS Issue
1000   999 10/22/20 12:00:34 10/22/20 12:04:08 anonymous           103358589‐46   350402‐1    Ullah             Sk Kalam         835 Rose Lane                Hatfield, PA 19440         Incomplete Declaration
1001  1000 10/22/20 12:03:29 10/22/20 12:04:48 anonymous           107888512‐46   160201‐1    DOFFLEMYER        WILLIAM          157 FRANKLIN ST S            POTTSTOWN PA 19464         USPS Issue
1002  1001 10/22/20 12:04:49 10/22/20 12:06:15 anonymous           006395855‐46   320004‐1    FRANTZ            HEATHER          191 SPECHT RD                POTTSTOWN PA 19464         USPS Issue
1003  1002 10/22/20 12:06:25 10/22/20 12:07:55 anonymous           006352645‐46   320004‐1    FRANTZ            JONATHAN         191 SPECHT RD                POTTSTOWN PA 19464         USPS Issue
1004  1003 10/22/20 12:03:56 10/22/20 12:08:54 anonymous           020993983‐46   350402‐1    Bancroft          Christopher      1521 Schwab Rd               Hatfield, PA 19440         USPS Issue
1005  1004 10/22/20 12:04:10 10/22/20 12:09:02 anonymous           006125078‐46   590101‐1    Wagner            Heather          n/a                          n/a                        Incomplete Declaration
1006  1005 10/22/20 12:08:03 10/22/20 12:09:19 anonymous           015853009‐46   08S02‐1     GRUNSBY           TIMOTHY          242 MORELAND AVE E           HATBORO PA 19040           USPS Issue
1007  1006 10/22/20 12:09:10 10/22/20 12:10:07 anonymous           006313949‐46   590201‐46   Armstead          Elizabeth A      n/a                          n/a                        Incomplete Declaration
1008  1007 10/22/20 12:09:21 10/22/20 12:10:23 anonymous           007132464‐46   301501‐1    ACHILLE           JENNIFER         1355 BIRCHWOOD AVE           ABINGTON PA 19001          USPS Issue
1009  1008 10/22/20 12:09:04 10/22/20 12:10:57 anonymous           103840884‐46   490402‐1    Eustace           Josiah           104 North LN W. APT B1       Conshohocken, PA 19428     USPS Issue
1010  1009 10/22/20 12:10:09 10/22/20 12:11:18 anonymous           005706634‐46   590101‐1    Dandridge         Deitra D         20 Center Ave                Willow Grove, PA 19090     Incomplete Declaration
1011  1010 10/22/20 12:10:29 10/22/20 12:11:59 anonymous           015418283‐46   301501‐1    DIPASQUALE        JOSEPH           2626 BELMONT AVE             ABINGTON PA 19001          USPS Issue
1012  1011 10/22/20 12:11:19 10/22/20 12:12:08 anonymous           021482297‐46   301002‐1    Thomas            Laprenda Margo   1793 Rockwell Rd             Abington, PA 19001         Incomplete Declaration
1013  1012 10/22/20 12:12:11 10/22/20 12:12:56 anonymous           005900864‐46   301203‐1    Hussie            Terrence P       2034 Harmony Ln              Glenside, PA 19038         Incomplete Declaration
1014  1013 10/22/20 12:11:04 10/22/20 12:13:06 anonymous           021080459‐46   050300‐1    Langendonk        Brian            301 Washington St APT 1415   Conshohocken, PA 19428     USPS Issue
1015  1014 10/22/20 12:12:07 10/22/20 12:13:20 anonymous           005947460‐46   310302‐1    ZALESNE           RACHELLE         474 COPPER BEECH CIR         ELKINS PARK PA 19027       USPS Issue
1016  1015 10/22/20 12:13:23 10/22/20 12:14:34 anonymous           015718460‐46   050700‐1    RANDALL           CRYSTAL          340 NINTH AVE E              CONSHOHOCKEN               USPS Issue
1017  1016 10/22/20 12:13:08 10/22/20 12:14:53 anonymous           006072193‐46   350501‐1    Klein             Harriet          1758 Cindy Ln                Hatfield, PA 19440         USPS Issue
1018  1017 10/22/20 12:12:58 10/22/20 12:15:45 anonymous           006072272‐46   340005‐1    Ludwig            Marie B          150 Cliveden Ter             Souderton, PA 18964        USPS Issue
1019  1018 10/22/20 12:15:00 10/22/20 12:16:12 anonymous           006361572‐46   240001‐1    Ong               Heather          309 Washington Street        Conshohocken, PA 19428     USPS Issue
1020  1019 10/22/20 12:15:12 10/22/20 12:16:36 anonymous           006232383‐46   430301‐1    K0TCH             FRANK            2828 EGYPT ROAD APT K205     AUDUBON PA 19403           USPS Issue
1021  1020 10/22/20 12:16:16 10/22/20 12:18:16 anonymous           005234049‐46   050300‐1    Mallick           Michael          309 Washington St APT 4410   Conshohocken, PA 19428     USPS Issue
1022  1021 10/22/20 12:16:28 10/22/20 12:19:21 anonymous           005894741‐46   540503‐1    Pomrink           Irene D          814 Avenue G                 Glenside, PA 19038         USPS Issue
1023  1022 10/22/20 12:18:44 10/22/20 12:20:49 anonymous           005752079‐46   430301‐1    WILLIAMS          JOAN             30 BORTON RD                 AUDUBON PA 19403           No secrecy envelope
1024  1023 10/22/20 12:18:21 10/22/20 12:21:16 anonymous           010009647‐46   400203‐1    Gotlieb           Barbara          1637 Oakwood Dr APT S 307    Narberth, PA 19072         USPS Issue
1025  1024 10/22/20 12:20:52 10/22/20 12:21:56 anonymous           020915972‐46   400303‐1    JURME             TSERING          166 SPRINGFIELD AVE          BALA‐CYNWYD PA 19004       No secrecy envelope
1026  1025 10/22/20 12:20:26 10/22/20 12:21:56 anonymous           104270138‐46   520702‐1    Dowds             Andrew Joseph    225 Woods Rd                 Glenside, PA 19038         USPS Issue
1027  1026 10/22/20 12:22:05 10/22/20 12:23:03 anonymous           105799502‐46   310204‐1    CUTHBERT          LORETTA E        1405 CHURCH RD               WYNCOTE PA 19095           No secrecy envelope
1028  1027 10/22/20 12:22:02 10/22/20 12:23:10 anonymous           014867771‐46   130302‐1    Strong            Edward           113 Wayne Ave                Norristown, PA 19401       USPS Issue
1029  1028 10/22/20 12:21:37 10/22/20 12:23:15 anonymous           005946642‐46   310302‐1    Zalesne           Saul             474 Copper Beech Cir         Elkins Park, PA 19027      USPS Issue
1030  1029 10/22/20 12:23:12 10/22/20 12:24:11 anonymous           005855520‐46   65M05‐1     Kessel            Shirley S        4114 Hain Dr                 Lafayette Hill, PA 19444   USPS Issue
1031  1030 10/22/20 12:23:17 10/22/20 12:24:26 anonymous           006123899‐46   380002‐1    Hoynash           Gail             414 Salford Station Rd       Perkiomenville, PA 18074   USPS Issue
1032  1031 10/22/20 12:24:14 10/22/20 12:25:17 anonymous           006067885‐46   65M05‐1     Leomporra         Palma A          5 Rose Ter                   Lafayette Hill PA 19444    USPS Issue
1033  1032 10/22/20 12:24:26 10/22/20 12:25:24 anonymous           006040703‐46   401002‐1    WILKINS           JOHN             510 HILLBROOK RD             BRYN MAWR PA 19010         No secrecy envelope
1034  1033 10/22/20 12:24:32 10/22/20 12:25:49 anonymous           006123900‐46   380002‐1    Hoynash           Peter            414 Salford Station Rd       Perkiomenville, PA 18074   USPS Issue
1035  1034 10/22/20 12:25:26 10/22/20 12:26:25 anonymous           01479082‐46    310202‐1    HILLIARD          ROBERT           52 OLD CEDARBROOK RD         WYNCOTE PA 19095           RESOLVED
1036  1035 10/22/20 12:26:27 10/22/20 12:27:36 anonymous           006248658‐46   65E02‐1     LAMARE            JOHN             3 SYCAMORE LANE              AMBLER PA 19002            RESOLVED

                                                                                                      Page 23 of 124
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      A             B                C             D       E    F        G            H                I                  J                   K                             L                         M
 1 ID      Start time        Completion time Email       Name NumbeNumber2        Precinct:   Last Name          First name      Address Line 1               Address Line 2              Issue
1037  1036 10/22/20 12:27:39 10/22/20 12:28:33 anonymous           006336334‐46   460008‐1    BAE                MYUNG           207 JONATHAN DR              NORTHWALES PA 19454         No secrecy envelope
1038  1037 10/22/20 12:25:26 10/22/20 12:28:39 anonymous           005797469‐46   330203‐1    McCoy              Edward C Jr     2102 Carol Ln                Norristown                  USPS Issue
1039  1038 10/22/20 12:26:09 10/22/20 12:29:10 anonymous           021248697‐46   450001‐1    Lupisella          Elizabeth       5932 Woodridge Dr            Green Lane, PA 18054        USPS Issue
1040  1039 10/22/20 12:28:40 10/22/20 12:29:30 anonymous           107596722‐46   300303‐1    Morley             Aidan Michael   1011 Devon Rd                Jenkintown, PA 19046        USPS Issue
1041  1040 10/22/20 12:28:35 10/22/20 12:30:17 anonymous           005694689‐46   450001‐1    TRUMBAUER          SHIRLEY         908 LAKEVIEW DR              GREENLANE PA 18054          No secrecy envelope
1042  1041 10/22/20 12:29:15 10/22/20 12:30:29 anonymous           108756627‐46   570003‐1    Yob                Tamarah         1052 Victor Dr               East Greenville, PA 18041   USPS Issue
1043  1042 10/22/20 12:29:32 10/22/20 12:30:32 anonymous           109829067‐46   300902‐1    Harrison           Mark Lawton     1001 Penn Ave                Glenside, PA 19038          USPS Issue
1044  1043 10/22/20 12:30:33 10/22/20 12:31:27 anonymous           005933991‐46   400202‐1    Conrad             Carmen          1221 Limberlost Ln           Gladwyne, PA 19035          USPS Issue
1045  1044 10/22/20 12:30:28 10/22/20 12:31:27 anonymous           006199428‐46   360404‐1    FISCHER            NINA            1425 HORSHAM ROAD            NORTH WALES PA 19454        No secrecy envelope
1046  1045 10/22/20 12:30:39 10/22/20 12:32:08 anonymous           104541493‐46   430202‐1    Markle             Kevin           2904 Pheasant Run Rd         Audubon, PA 19403           USPS Issue
1047  1046 10/22/20 12:31:33 10/22/20 12:32:23 anonymous           006202804‐46   100200‐1    DIXON              MARY            100 WEST AVE APT E15 S       JENKINTOWN PA 19046         No secrecy envelope
1048  1047 10/22/20 12:31:28 10/22/20 12:32:28 anonymous           005808559‐46   400202‐1    Conrad             Charles         1221 Limberlost Ln           Gladwyne, PA 19035          USPS Issue
1049  1048 10/22/20 12:32:30 10/22/20 12:33:26 anonymous           012924178‐46   560003‐1    Hill               Michael John    503 Reading Cir              Lansdale, PA 19446          USPS Issue
1050  1049 10/22/20 12:32:26 10/22/20 12:33:52 anonymous           014884387‐46   310401‐1    FOSTER             ARTEMESIA       2035 A MOTHER WAY            ELKINS PARK PA 19027        No secrecy envelope
1051  1050 10/22/20 12:32:17 10/22/20 12:33:59 anonymous           003396424‐46   510003‐1    Hodge              Angus           4315 Wendy Way               Schwenksville, PA 19473     USPS Issue
1052  1051 10/22/20 12:33:27 10/22/20 12:34:13 anonymous           005959161‐46   300502‐1    Boelter            Constance       1590 Coolidge Ave            Abington, PA 19001          USPS Issue
1053  1052 10/22/20 12:33:59 10/22/20 12:34:43 anonymous           006071158‐46   400203‐1    STROM              ELAINE          332 HIDDEN RIVER RD          NARBERTH PA 19072           No secrecy envelope
1054  1053 10/22/20 12:34:14 10/22/20 12:35:14 anonymous           006372732‐46   460008‐1    Diodata            Dominic D III   108 Kennedy Rd W             North Wales, PA 19454       USPS Issue
1055  1054 10/22/20 12:34:05 10/22/20 12:35:30 anonymous           103394582‐46   510003‐1    Hodge              Collette        4315 Wendy Way               Schwenksville, PA 19473     USPS Issue
1056  1055 10/22/20 12:34:49 10/22/20 12:35:34 anonymous           006319388‐46   460001‐1    DONOHUE            SUSAN           106 STOCKTON CT              NORTH WALES PA 19454        No secrecy envelope
1057  1056 10/22/20 12:35:15 10/22/20 12:36:12 anonymous           021457448‐46   560006‐1    Truong‐Merrit      Chau Le         205 Becker Rd                North Wales, PA 19454       USPS Issue
1058  1057 10/22/20 12:35:40 10/22/20 12:36:34 anonymous           110582517‐46   160702‐1    SAXANOFF           ALISA           1091 JACKSON ST              POTTSTOWN PA 19464          No secrecy envelope
1059  1058 10/22/20 12:35:34 10/22/20 12:36:58 anonymous           003343477‐46   040001‐1    Corrigan           Scott           25 Miner Cir                 Collegeville, PA 19426      USPS Issue
1060  1059 10/22/20 12:36:14 10/22/20 12:37:05 anonymous           021364171‐46   301203‐1    Gorman             Eugene M        2106 Mt Carmel Ave           Glenside, PA 19038          USPS Issue
1061  1060 10/22/20 12:36:40 10/22/20 12:37:35 anonymous           009373356‐46   58BEL05‐1   PLASSMEYER         LINDA           20939 VALLEY FORGE CIR       KING OF PRUSSIA PA 19406    RESOLVED
1062  1061 10/22/20 12:37:06 10/22/20 12:38:03 anonymous           108977267‐46   540203‐1    Kaplan             Benjamin Adam   1425 Garrison Dr             Ambler, PA 19002            USPS Issue
1063  1062 10/22/20 12:37:40 10/22/20 12:38:30 anonymous           005990399‐46   300101‐1    VITEK              MELISSA         1521 OLD WELSH RD            HUNTINGDON VLY PA 19006     No secrecy envelope
1064  1063 10/22/20 12:37:04 10/22/20 12:38:32 anonymous           105052094‐46   360203‐1    Shaftel            Zachary         1348 Stoney River Dr         Ambler, PA 19002            USPS Issue
1065  1064 10/22/20 12:38:36 10/22/20 12:39:27 anonymous           006055569‐46   65W02‐1     LUNDY              SUSAN           117 RED RAMBLER DR           LAFAYETTE HILL PA 19444     RESOLVED
1066  1065 10/22/20 12:38:33 10/22/20 12:39:33 anonymous           109159569‐46   450001‐1    Dickson            Meghan A        5958 Woodridge Dr            Green Lane, PA 18054        USPS Issue
1067  1066 10/22/20 12:38:40 10/22/20 12:40:07 anonymous           109138523‐46   400101‐1    Jones              Brandon         712 Arlington Rd             Narberth, PA 19072          USPS Issue
1068  1067 10/22/20 12:39:29 10/22/20 12:40:27 anonymous           003282803‐46   510003‐1    HAUSER             ROBERT          2251 WENTZ LANE              SCHENKSVILLE PA 19473       No secrecy envelope
1069  1068 10/22/20 12:39:36 10/22/20 12:40:36 anonymous           107281489‐46   300103‐1    Williams           Jessica K       1234 Fleetwood Rd            Jenkintown, PA 19046        USPS Issue
1070  1069 10/22/20 12:40:38 10/22/20 12:41:28 anonymous           105049320‐46   65M04‐1     Nester             Liam Michael    4047 Warner Rd S             Lafayette Hill, PA 19444    USPS Issue
1071  1070 10/22/20 12:40:51 10/22/20 12:41:45 anonymous           108268060‐46   400802‐1    TRONCELLITI        EDMOND          1427 WYNNEWOOD RD W          ARDMORE PA 19003            No secrecy envelope
1072  1071 10/22/20 12:40:20 10/22/20 12:41:50 anonymous           010009648‐46   400203‐1    Gotlieb            Jerry           1637 Oakwood Dr APT S. 307   Narberth, PA 19072          USPS Issue
1073  1072 10/22/20 12:41:29 10/22/20 12:42:36 anonymous           005746705‐46   130301‐1    McFadden           Cynthia M       1447 Powell St               Norristown, PA 19401        USPS Issue
1074  1073 10/22/20 12:41:49 10/22/20 12:42:46 anonymous           006313510‐46   110202‐1    QUADER             MOHAMMED        800 WALNUT ST                LANSDALE PA 19446           No secrecy envelope
1075  1074 10/22/20 12:41:54 10/22/20 12:43:16 anonymous           104623702‐46   400203‐1    Antzelevitch       Charles         1655 Oakwood Dr APT N317     Narberth, PA 19072          USPS Issue
1076  1075 10/22/20 12:42:37 10/22/20 12:43:34 anonymous           006085986‐46   130403‐1    Hoover             Marguerite F    520 Glenn Valley Dr          Norristown, PA 19401        USPS Issue
1077  1076 10/22/20 12:42:52 10/22/20 12:43:34 anonymous           006272998‐46   130402‐1    MATHIS             ERNEST          1016 WALNUT ST               NORRISTOWN PA 19401         No secrecy envelope
1078  1077 10/22/20 12:43:38 10/22/20 12:44:32 anonymous           006230441‐46   61M200‐1    COMINSKY           JASON           509 MENNONITE RD             ROYERSFORD PA 19468         No secrecy envelope
1079  1078 10/22/20 12:43:21 10/22/20 12:45:11 anonymous           005934729‐46   400203‐1    Kohler             Beth            1637 Oakwood Dr APT S410     Narberth, PA 19072          USPS Issue
1080  1079 10/22/20 12:43:35 10/22/20 12:45:17 anonymous           021163480‐46   490402‐1    Wagner             Chelsea L       1300 Fayette St Apt 87       Conshohocken, PA 19428      USPS Issue
1081  1080 10/22/20 12:44:39 10/22/20 12:45:31 anonymous           005788249‐46   540301‐1    HALTZMAN           SHELLY          841 REDGATE RD               DRESHER PA 19025            No secrecy envelope

                                                                                                       Page 24 of 124
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      A             B                C             D       E    F        G            H                I                    J                    K                              L                           M
 1 ID      Start time        Completion time Email       Name NumbeNumber2        Precinct:   Last Name           First name       Address Line 1                 Address Line 2                Issue
1082  1081 10/22/20 12:45:20 10/22/20 12:46:03 anonymous           108705730‐46   490402‐1    Sherkness           Evan Bradford    104 North Ln W                 Conshohocken, PA 19428        USPS Issue
1083  1082 10/22/20 12:45:35 10/22/20 12:46:30 anonymous           006062316‐46   590301‐1    MASSIMILLA          EDNA             1120 YORK RD APT 133           WILLOW GROVE PA 19090         No secrecy envelope
1084  1083 10/22/20 12:45:17 10/22/20 12:46:52 anonymous           107620691‐46   400203‐1    Antzelevitch        Brenda           1655 Oakwood Dr APT N317       Narberth, PA 19072            USPS Issue
1085  1084 10/22/20 12:46:36 10/22/20 12:47:37 anonymous           006142637‐46   61M200‐1    DARYANI             MANOHAR          20 PROVIDENCE FRF              ROYERSFORD PA 19468           No secrecy envelope
1086  1085 10/22/20 12:46:04 10/22/20 12:47:46 anonymous           109157248‐46   65M01‐1     Berger              Barrie Rebecca   4134 Dana Ln                   Lafayette Hill, PA 19444      USPS Issue
1087  1086 10/22/20 12:46:57 10/22/20 12:47:59 anonymous           006187579‐46   400101‐1    Katzen              Stuart           16 Schiller Ave                Narberth, PA 19072            USPS Issue
1088  1087 10/22/20 12:47:47 10/22/20 12:48:42 anonymous           006420824‐46   310503‐1    McCrae              Charles L        321 Cheltenham Ave             Elkins Park, PA 19027         Incomplete Declaration
1089  1088 10/22/20 12:48:05 10/22/20 12:49:24 anonymous           009908535‐46   330104‐1    Sailes              Frederick        2608 Bridle Path Rd            Norristown, PA 19403          USPS Issue
1090  1089 10/22/20 12:49:29 10/22/20 12:50:41 anonymous           020879943‐46   630102‐1    Crouse              Stephanie        1803 Sweet Gum Dr              Norristown, PA 19403          USPS Issue
1091  1090 10/22/20 12:50:46 10/22/20 12:51:59 anonymous           021346894‐46   430301‐1    Headen              Phillip          15 Lawrence Rd                 Audubon, PA 19403             USPS Issue
1092  1091 10/22/20 12:52:18 10/22/20 12:53:29 anonymous           007283501‐46   550001‐1    WELSH               CATHERINE        2849 BIG FOOT ROAD             NOT LEGIBLE                   No secrecy envelope
1093  1092 10/22/20 12:52:08 10/22/20 12:53:43 anonymous           104428450‐46   350101‐1    Fequiere            Sarah            2100 Line St N, APT P301       Lansdale, PA 19446            USPS Issue
1094  1093 10/22/20 12:53:48 10/22/20 12:55:39 anonymous           021771473‐46   350101‐1    Fequiere            Bellyne          2100 Line ST N, APT P201       Lansdale, PA 19446            USPS Issue
1095  1094 10/22/20 12:55:43 10/22/20 12:57:02 anonymous           109792173‐46   460002‐1    Pak                 Mison            3 Meadow Glen Rd               Lansdale, PA 19446            USPS Issue
1096  1095 10/22/20 12:57:09 10/22/20 12:58:56 anonymous           006307653‐46   510002‐1    McGovern            Laura            1056 Lea Dr                    Collegeville, PA 19426        USPS Issue
1097  1096 10/22/20 12:48:43 10/22/20 15:33:06 anonymous           005803709‐46   560007‐1    Somerman            Brian David      6105 Lilac Ct                  Lansdale, PA 19446            USPS Issue
1098  1097 10/22/20 15:31:40 10/22/20 15:34:13 anonymous           006023088‐46   630301‐1    Longenberger        Lee              N/a                            N/a                           Damaged
1099  1098 10/22/20 15:33:55 10/22/20 15:36:03 anonymous           005940193‐46   67E03‐1     Huber               John G           356 Founders Vlg               Lansdale, PA 19446            USPS Issue
1100  1099 10/22/20 15:34:15 10/22/20 15:36:11 anonymous           006038846‐46   410402‐1    Miller              Debra            3821 Ramage Run                Huntingdon Valley, PA 19006   USPS Issue
1101  1100 10/22/20 15:36:07 10/22/20 15:37:32 anonymous           006048266‐46   490201‐1    Trave               Joseph V         3012 Azalea Ter                Plymouth Mtg, PA 19462        USPS Issue
1102  1101 10/22/20 15:37:36 10/22/20 15:38:43 anonymous           006016465‐46   590502‐1    Weaver              Margaret Rose    3765 Jasper Ln                 Hatboro, PA 19040             USPS Issue
1103  1102 10/22/20 15:36:45 10/22/20 15:38:56 anonymous           006316826‐46   410402‐1    Miller              Lindsey          3821 Ramage Run                Huntingdon Valley, PA 19006   USPS Issue
1104  1103 10/22/20 15:38:46 10/22/20 15:39:53 anonymous           110310594‐46   401002‐1    Fortune             Abigail C        ‐                              ‐                             USPS Issue
1105  1104 10/22/20 15:38:57 10/22/20 15:40:11 anonymous           103756183‐46   360203‐1    Shaftel             Allison          1348 Stoney River Drive        Ambler, PA 19002              USPS Issue
1106  1105 10/22/20 15:40:15 10/22/20 15:41:23 anonymous           021048668‐46   401403‐1    Tanzer‐Kargel       Frances          1428 Westwood Lane             Wynnewood, PA 19096           USPS Issue
1107  1106 10/22/20 15:39:54 10/22/20 15:41:23 anonymous           106795115‐46   401002‐1    Dorfman             Isabella         101 Merion Ave N Box C‐448     Bryn Mawr, PA 19010           USPS Issue
1108  1107 10/22/20 15:41:24 10/22/20 15:43:27 anonymous           108913832‐46   401103‐1    Kestenbaum          Matthew Tobin    131 W Gilman St                Madion, WI 19010              USPS Issue
1109  1108 10/22/20 15:41:24 10/22/20 15:44:02 anonymous           005744822‐46   470002‐1    Dyer                Margaret         2373 Turnberry Rd              Gilbertsville, PA 19525       USPS Issue
1110  1109 10/22/20 15:43:29 10/22/20 15:44:45 anonymous           107810990‐46   301402‐1    Saldutti            Eriq Anthony     2323 Heston St                 Abington, PA 19001            USPS Issue
1111  1110 10/22/20 15:44:03 10/22/20 15:45:13 anonymous           005744786‐46   470002‐1    Dyer                John             2373 Turnberry Rd              Gilbertsville, PA 19525       USPS Issue
1112  1111 10/22/20 15:44:46 10/22/20 15:46:18 anonymous           014368017‐46   300203‐1    Livingston          James J          983 Huntingdon Pike Apt B214   Huntingdon Vly, PA 19006      USPS Issue
1113  1112 10/22/20 15:45:19 10/22/20 15:46:20 anonymous           005771385‐46   400902‐1    Weinstein           Janice           940 Lindy Lane                 Bala‐Cynwyd, PA 19004         USPS Issue
1114  1113 10/22/20 15:46:25 10/22/20 15:47:35 anonymous           108094027‐46   010200‐1    Queenan             Leslie           N/a                            Ambler, PA 19002              USPS Issue
1115  1114 10/22/20 15:46:20 10/22/20 15:47:37 anonymous           102943738‐46   400902‐1    Shapiro             Justin G         112 David Rd                   Bala‐Cynwyd, PA 19004         USPS Issue
1116  1115 10/22/20 15:47:39 10/22/20 15:49:13 anonymous           107421052‐46   490402‐1    Wall                Marie            922 Montgomery Ave             Bryn Mawr, PA 19010           USPS Issue
1117  1116 10/22/20 15:47:38 10/22/20 15:49:51 anonymous           103528561‐46   540702‐1    Holl                Sarah E          308 Dallas Rd                  Willow Grove, PA 19090        USPS Issue
1118  1117 10/22/20 15:49:19 10/22/20 15:50:28 anonymous           104009095‐46   310504‐1    Bassman             Rebecca          510 S 11th St                  Philadelphia, PA 19012        USPS Issue
1119  1118 10/22/20 15:49:52 10/22/20 15:51:06 anonymous           006097009‐46   590402‐1    Anderson            Claire Manning   308 Dallas Rd                  Willow Grove, PA 19090        USPS Issue
1120  1119 10/22/20 15:50:32 10/22/20 15:51:42 anonymous           021655421‐46   110203‐1    Simms               Stephanie        757 E Main St APT W111         Lansdale, PA 19464            USPS Issue
1121  1120 10/22/20 15:51:08 10/22/20 15:52:12 anonymous           006038847‐46   410402‐1    Miller              Andrew J         3821 Ramage Run                Huntingdon Vly, PA 19006      USPS Issue
1122  1121 10/22/20 15:51:44 10/22/20 15:53:39 anonymous           005732730‐46   310302‐1    Renzi               Howard           805 Pardee Lane                Wyncote, PA 19095             USPS Issue
1123  1122 10/22/20 15:53:40 10/22/20 15:55:00 anonymous           013347526‐46   590502‐1    Delia               Laura            3816 Betz Rd                   Hatboro, PA 18940             USPS Issue
1124  1123 10/22/20 17:40:54 10/22/20 17:52:02 anonymous           014908264‐46   470003‐1    Mancini             Mark             487 Hidden Ln                  Gilbertsville PA 19525        Incomplete Declaration
1125  1124 10/22/20 17:52:05 10/22/20 17:53:33 anonymous           110310297‐46   370006‐1    McCuch              Mark             Unknown                        Unknown                       Incomplete Declaration
1126  1125 10/22/20 17:53:35 10/22/20 17:54:28 anonymous           006063729‐46   310503‐1    Wergelis            Amy              7319 Chestnut Ave              Elkins Park PA 19027          Incomplete Declaration

                                                                                                        Page 25 of 124
                                                                     Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 26 of 124


      A             B                C             D       E    F        G             H                I               J                           K                                    L                                 M
 1 ID      Start time        Completion time Email       Name NumbeNumber2        Precinct:  Last Name        First name            Address Line 1                                Address Line 2               Issue
1127  1126 10/22/20 17:51:36 10/22/20 17:54:49 anonymous           020276942‐46 660002‐1 Siravo               Barbara Ann           no address                                    no addres                    Incomplete Declaration
1128  1127 10/22/20 17:54:34 10/22/20 17:55:36 anonymous           005822304‐46 630102‐1 Cucchiara            Lena                  147 Bishop Dr.                                Norristown PA 19403          Incomplete Declaration
1129  1128 10/22/20 17:55:40 10/22/20 17:56:33 anonymous           020942297‐46 430204‐1 QI                   Hongwei               3111 Walker Ln                                Eagleville PA 19403          Incomplete Declaration
1130  1129 10/22/20 17:55:05 10/22/20 17:57:17 anonymous           006344722‐46 370006‐1 McCuch               Victoria              no address                                    no address                   Incomplete Declaration
1131  1130 10/22/20 17:57:26 10/22/20 17:58:27 anonymous           020942296‐46 430204‐1 Li                   Zhong Qian            3111 Walker Ln                                Eagleville PA 19403          Incomplete Declaration
1132  1131 10/22/20 17:58:36 10/22/20 17:59:23 anonymous           006103091‐46 460003‐1 Denardo              James                 2302 Harvard Dr.                              North Wales PA 19454         Incomplete Declaration
1133  1132 10/22/20 17:57:22 10/22/20 17:59:58 anonymous           005830926‐46 58BEL03‐1 Kelly               Gerald                no address provided                           no address provided          Incomplete Declaration
1134  1133 10/22/20 17:59:28 10/22/20 18:00:20 anonymous           005921082‐46 460003‐1 Pester Denardo       Elizabeth             2302 Harvard Dr.                              North Wales PA 19454         Incomplete Declaration
1135  1134 10/22/20 18:00:26 10/22/20 18:01:24 anonymous           021428520‐46 360305‐1 Abdullah             Aqueelah Salimah      7 Brookside Ct.                               Horsham PA 19044             Incomplete Declaration
1136  1135 10/22/20 18:01:31 10/22/20 18:03:54 anonymous           003350209‐46 340005‐1 Yothers              Ruth                  132 Valley View Drive                         Souderton PA 18964           Incomplete Declaration
1137  1136 10/22/20 18:03:57 10/22/20 18:05:20 anonymous           110339423‐46 640001‐1 Evenstad             Doris                 223 Monroe St.                                Stowe PA 19464               Incomplete Declaration
1138  1137 10/22/20 18:05:22 10/22/20 18:06:12 anonymous           006303870‐46 58CAN02‐1 Czartoryjski        Regina                unknown (199 Nancys Ln)                       unknown (KOP PA 19406)       Incomplete Declaration
1139  1138 10/22/20 18:06:16 10/22/20 18:07:50 anonymous           005802851‐46 630202‐1 Pennock              Roland                1514 W. Marshall St. #314                     Norristown PA 19403          Incomplete Declaration
1140  1139 10/22/20 18:02:33 10/22/20 18:08:02 anonymous           021345671‐46 630202‐1 Odonnel              Mary                  1514 W. Marshall St. Apt. 316                 n/a                          Incomplete Declaration
1141  1140 10/22/20 18:07:52 10/22/20 18:08:53 anonymous           005747461‐46 510001‐1 Ackler               Joseph                3817 Victoria Ln                              Collegeville PA 19426        Incomplete Declaration
1142  1141 10/22/20 18:08:59 10/22/20 18:10:46 anonymous           108285314‐46 500004‐1 McKay                Emily                 546 Main St.                                  Harleysville PA 19438        Incomplete Declaration
1143  1142 10/22/20 18:08:05 10/22/20 18:11:56 anonymous           102452153‐46 470003‐1 Steczak              Kierstan              1959 Canyon Creek Rd. Gilbertsville, PA 19525 na                           Incomplete Declaration
1144  1143 10/22/20 18:10:52 10/22/20 18:12:16 anonymous           006306237‐46 590401‐1 Fantazzi             Rocco Basil Jr.       3505 W. Moreland Rd. Apt L124 Willow Grove PA 19090                        Incomplete Declaration
1145  1144 10/22/20 18:12:20 10/22/20 18:13:17 anonymous           006149976‐46 58ROB00‐1 Palmisano Diamond   Dolores               1134 Brians Way                               Wayne PA 19087               Incomplete Declaration
1146  1145 10/22/20 18:11:59 10/22/20 18:13:35 anonymous           005821752‐46 67W00‐1      Ciabattoni       Esther                1427 N. Trooper Rd.                           n/a                          Incomplete Declaration
1147  1146 10/22/20 18:13:31 10/22/20 18:14:18 anonymous           006089594‐46 110102‐1 Cardillo             Charlotte             491 Wade Ave                                  Lansdale PA 19446            Incomplete Declaration
1148  1147 10/22/20 18:14:20 10/22/20 18:15:05 anonymous           006272508‐46 630101‐1 Hong                 Bok Soon              Unknown (614 Greentree Ln) Unknown (Norristown PA 19403)                   Incomplete Declaration
1149  1148 10/22/20 18:15:10 10/22/20 18:15:48 anonymous           110024236‐46 630101‐1 Hong                 Seo Kee               Unknown (614 Greentree Ln) Unknown (Norristown PA 19403)                   Incomplete Declaration
1150  1149 10/22/20 18:13:38 10/22/20 18:16:20 anonymous           103156933‐46 400901‐1 Benedict             Anthony               106 Bryn Mawr Ave                             Bala‐Cynwyd PA 19004         Incomplete Declaration
1151  1150 10/22/20 18:15:55 10/22/20 18:16:55 anonymous           107839743‐46 630401‐1 Bello                Ernest                1637 Sheridan Ln                              Eagleville PA 19403          Incomplete Declaration
1152  1151 10/22/20 18:16:59 10/22/20 18:18:11 anonymous           109450915‐46 58CAN01‐1 Collins             Lorraine              264 Candlebrook Rd                            King Of Prussia pa 19406     Incomplete Declaration
1153  1152 10/22/20 18:18:16 10/22/20 18:19:03 anonymous           006313894‐46 660001‐1 Powers               Kathleen              715 Danbury Dr.                               Blue Bell Pa 19422           Incomplete Declaration
1154  1153 10/22/20 18:16:23 10/22/20 18:19:08 anonymous           106087048‐46 08S01‐1      Monaghan         David                 604 Continental Rd. Hatboro, PA 19040 n/a                                  Incomplete Declaration
1155  1154 10/22/20 18:19:07 10/22/20 18:19:56 anonymous           006256466‐46 380001‐1 Pitkoff              Donna Miller          35 Aspen Way                                  Schwenksville PA 19473       Incomplete Declaration
1156  1155 10/22/20 18:20:01 10/22/20 18:20:51 anonymous           109312825‐46 400701‐1 Tan                  Suiyanti              1001 City Ave. Apt EC111                      Wynnewood PA 19096           Incomplete Declaration
1157  1156 10/22/20 18:19:12 10/22/20 18:21:48 anonymous           103150285‐46 400901‐1 Benedict             Farida                106 Bryn Mawr Ave. Bala‐Cynwyd, PA 19004 n/a                               Incomplete Declaration
1158  1157 10/22/20 18:20:56 10/22/20 18:21:50 anonymous           006023831‐46 450001‐1 Potts                Dennis                1808 Candlewyck Ln                            Green Lane PA 18054          Incomplete Declaration
1159  1158 10/22/20 18:21:53 10/22/20 18:22:54 anonymous           107695785‐46 410500‐1 Reif                 Aviv Golan            1265 Burnett Rd                               Huntingdon Valley PA 19006   Incomplete Declaration
1160  1159 10/22/20 18:21:54 10/22/20 18:23:41 anonymous           006413676‐46 520201‐1 Park                 Young Ja              8614 Trumbauer Dr. Glenside, PA 19038 n/a                                  Incomplete Declaration
1161  1160 10/22/20 18:23:02 10/22/20 18:24:18 anonymous           006261475‐46 430301‐1 Harris               Patricia              2828 Egypt Rd. Apt C103                       Audubon PA 19403             Incomplete Declaration
1162  1161 10/22/20 18:23:44 10/22/20 18:25:09 anonymous           006031816‐46 520202‐1 Powell               Marie                 8320 Macarthur Rd. Glenside, PA 19038 n/a                                  Incomplete Declaration
1163  1162 10/22/20 18:24:24 10/22/20 18:25:29 anonymous           109281783‐46 400701‐1 KELSANG              NGAWANG               1001 City Ave. Apt EC111                      Wynnewood PA 19096           Incomplete Declaration
1164  1163 10/22/20 18:25:35 10/22/20 18:26:22 anonymous           104730478‐46 170001‐1 Chang                Lisa                  690 Jefferson St.                             Red Hill PA 18076            Incomplete Declaration
1165  1164 10/22/20 18:26:29 10/22/20 18:27:21 anonymous           006059522‐46 550001‐1 Buck                 Nedine                3339 Salford Station                          Perkiomenville PA 18074      Incomplete Declaration
1166  1165 10/22/20 18:25:11 10/22/20 18:27:50 anonymous           009630212‐46 430304‐1 Staller              Grace                 24304 Shannondell Dr. Audubon, PA 19403 n/a                                Incomplete Declaration
1167  1166 10/22/20 18:27:27 10/22/20 18:28:19 anonymous           107845521‐46 060001‐1 Brannick             Benjamin              607 Washington St.                            East Greenville PA 18041     Incomplete Declaration
1168  1167 10/22/20 18:28:01 10/22/20 18:29:41 anonymous           009630233‐46 430304‐1 Staller              Harry                 24304 Shannondell Dr. Audubon, PA 19403 n/a                                Incomplete Declaration
1169  1168 10/22/20 18:28:24 10/22/20 18:29:46 anonymous           006064418‐46 61T00‐1      Ritschard        Dale                  184 s. Mennonite Rd                           Collegeville PA 19426        Incomplete Declaration
1170  1169 10/22/20 18:29:54 10/22/20 18:30:46 anonymous           102788645‐46 350402‐1 Patel                Sarladevi Mukundrai   1724 Lydia Dr.                                Hatfield PA 19440            Incomplete Declaration
1171  1170 10/22/20 18:30:55 10/22/20 18:31:44 anonymous           unknown (006227unknown (16Towers           Donna                 11 Reynolds Ave.                              Potttstown PA 19464          Name disconnect

                                                                                                   Page 26 of 124
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      A             B                C             D       E    F        G             H              I                          J                           K                                  L                                      M
 1 ID      Start time        Completion time Email       Name NumbeNumber2        Precinct:  Last Name                First name            Address Line 1                              Address Line 2               Issue
1172  1171 10/22/20 18:29:46 10/22/20 18:32:35 anonymous           009888568‐46 53030101‐1 Young (Kim)                not provided (Seok)   n/a (1290 Allentown Rd APT E274) n/a (Lansdale PA 19446)                 Incomplete Declaration (name disconnect)

1173  1172 10/22/20 18:31:59 10/22/20 18:32:54 anonymous           unknown (005862unknown (38Walters                  Ralph                 37 Cepp Rd.                                 perkiomenville PA 18074      Name disconnect
1174  1173 10/22/20 18:33:00 10/22/20 18:33:55 anonymous           unknown (005965unknown (65goldberg                 Barry                 620 Harts Bridge Rd.                        Conshohocken PA 19428        Name disconnect
1175  1174 10/22/20 18:32:39 10/22/20 18:34:26 anonymous           103060285‐46 530101‐1 Kim                          Young                 n/a                                         n/a                          Incomplete Declaration
1176  1175 10/22/20 18:34:00 10/22/20 18:35:02 anonymous           unknown (103759unknown (65Schloer                  Krista                8 Creek View Ter                            Lafayette Hill PA 19444      Name disconnect
1177  1176 10/22/20 18:35:25 10/22/20 18:36:14 anonymous           005770173‐46 65M02‐1      Blaylock                 Gwendolyn Ann         unknown (29 Ridge Pike APT 17) unknown (Conshohocken PA 19428)           Incomplete Declaration
1178  1177 10/22/20 18:34:30 10/22/20 18:36:32 anonymous           103806963‐46 310501‐1 Miller                       Nathan                7305 Mountain Ave. Elkins Park, PA 19027 n/a                             Incomplete Declaration
1179  1178 10/22/20 18:36:18 10/22/20 18:37:16 anonymous           102439805‐46 110302‐1 uddin                        Asma Bint             1007 Poplar St                              Lansdale PA 19446            Incomplete Declaration
1180  1179 10/22/20 18:37:21 10/22/20 18:38:15 anonymous           005725573‐46 590701‐1 Burns                        Lynda                 405 Goodwin Rd.                             Hatboro PA 19040             Incomplete Declaration
1181  1180 10/22/20 18:36:39 10/22/20 18:38:23 anonymous           108260957‐46 100200‐1 DiMarco                      Mary                  100 West Ave Apt. S430 Jenkintown, PA 19046 n/a                          Incomplete Declaration
1182  1181 10/22/20 18:38:22 10/22/20 18:39:06 anonymous           005691373‐46 310201‐1 Johnson                      Ruby                  7909 Newbold Ln                             Glenside PA 19038            Incomplete Declaration
1183  1182 10/22/20 18:39:27 10/22/20 18:40:02 anonymous           109126310‐46 110101‐1 De Sousa                     Katherine             unknown (639 Broad St S APT L19) unknown (Lansdale PA 19446)             Incomplete Declaration
1184  1183 10/22/20 18:38:27 10/22/20 18:40:25 anonymous           015883392‐46 520501‐1 unknown (Matos)              unknown (Juan)        unknown (7816 Flourtown Ave) unknown (Glenside PA 19038)                 Incomplete Declaration
1185  1184 10/22/20 18:40:07 10/22/20 18:41:21 anonymous           103346224‐46 530101‐1 Makaron                      Persa                 1290 Allentown Rd Apt S113                  Lansdale PA 19446            Incomplete Declaration
1186  1185 10/22/20 18:40:28 10/22/20 18:42:03 anonymous           006418295‐46 110202‐1 Tran                         Van T                 not provided (614 Broad St N APT 3) not provided (Lansdale PA 19446)     Incomplete Declaration
1187  1186 10/22/20 18:41:24 10/22/20 18:42:26 anonymous           006145644‐46 320003‐1 Hunsberger                   Thomas                3155 Middle Creek Rd.                       gilbertsville PA 19525       Incomplete Declaration
1188  1187 10/22/20 18:42:31 10/22/20 18:43:13 anonymous           006080546‐46 58BEL02‐1 Bruno                       Catherine             unknown                                     unknown                      Incomplete Declaration
1189  1188 10/22/20 18:42:06 10/22/20 18:43:45 anonymous           006041576‐46 430304‐1 Reichert                     Frederick             13302 Shannondell Dr. Audubon, PA 19403 n/a                              Incomplete Declaration
1190  1189 10/22/20 18:43:23 10/22/20 18:43:58 anonymous           021401204‐46 160400‐1 Amole                        Barbara               unknown (331 Hanover St N APT 74) Unknown (Pottstown PA 19464)           Incomplete Declaration
1191  1190 10/22/20 18:44:04 10/22/20 18:45:01 anonymous           104328936‐46 67E01‐1      Handwerk                 Jeffrey               2293 Locust Dr.                             Lansdale PA 19446            Incomplete Declaration
1192  1191 10/22/20 18:43:50 10/22/20 18:45:43 anonymous           109024109‐46 400701‐1 Cha                          Hye Suk               1001 City Ave Apt EC211 Wynnewood PA 19096 n/a                           Incomplete Declaration
1193  1192 10/22/20 18:45:05 10/22/20 18:46:04 anonymous           103844875‐46 160400‐1 Oliver                       Rose Ann              700 Farmington Ave. Unit K54 Pottstown PA 19464                          Incomplete Declaration
1194  1193 10/22/20 18:46:05 10/22/20 18:46:58 anonymous           107835523‐46 350102‐1 Williams                     Whitney               2425 Trewington Rd.                         colmar PA 18915              Incomplete Declaration
1195  1194 10/22/20 18:46:00 10/22/20 18:47:41 anonymous           006027782‐46 630201‐1 Ellis                        Alfred                902 Middleton Place Norristown, PA 19403 N/A                             Incomplete Declaration
1196  1195 10/22/20 18:47:04 10/22/20 18:47:53 anonymous           006023832‐46 450001‐1 Potts                        Donna                 1808 Candlewyck Ln                          Green Lane PA 18054          Incomplete Declaration
1197  1196 10/22/20 18:47:44 10/22/20 18:49:12 anonymous           006080972‐46 390201‐1 Knorr                        Lynda                 none                                        none                         Incomplete Declaration
1198  1197 10/22/20 18:48:16 10/22/20 18:49:17 anonymous           006362697‐46 490302‐1 Fisher                       Jeffery               613 Gawain Rd.                              Plymouth Meeting PA 19462    Incomplete Declaration
1199  1198 10/22/20 18:49:21 10/22/20 18:50:14 anonymous           010011254‐46 660001‐1 Rahmlow                      Patricia              138 Sawgrass Dr.                            Blue Bell PA 19422           Incomplete Declaration
1200  1199 10/22/20 18:49:14 10/22/20 18:50:50 anonymous           006025471‐46 67E03‐1      Kimmel                   Gloria                3205 Skippack Pike, Lansdale, PA 19446 n/a                               Incomplete Declaration
1201  1200 10/22/20 18:50:18 10/22/20 18:51:17 anonymous           110147690‐46 210200‐1 Rementer                     Todd                  616 Central Ave.                            Souderton PA                 Incomplete Declaration
1202  1201 10/22/20 18:51:23 10/22/20 18:52:25 anonymous           006026472‐46 300202‐1 Cunningham                   Donna                 1551 huntington Pike Apt B301 Huntingdon Valley PA 19006                 Incomplete Declaration
1203  1202 10/22/20 18:50:52 10/22/20 18:52:28 anonymous           102900465‐46 540601       ZHU                      Yongxin               1625 Holly Hill Lane, Ambler, PA 19002 n/a                               Incomplete Declaration
1204  1203 10/22/20 18:52:30 10/22/20 18:53:32 anonymous           021277285‐46 300202‐1 Watson                       Florence              1551 Huntingdon Pike                        Huntingdon Valley PA 19006   Incomplete Declaration
1205  1204 10/22/20 18:52:30 10/22/20 18:54:02 anonymous           006201159‐46 67W00‐1      Ianella                  Charlene              1327 Dell Rd. Eagleville PA 19403 n/a                                    Incomplete Declaration
1206  1205 10/22/20 18:53:41 10/22/20 18:54:32 anonymous           020787093‐46 300501‐1 Grubb                        Devon                 1608 Rockwell Rd. Flr 2                     Abington PA 19001            Incomplete Declaration
1207  1206 10/22/20 18:54:08 10/22/20 18:55:56 anonymous           006328326‐46 160300‐1 name not legible (Stetler)   not legible (Sara)    not legible (27 Ninth St W)                 n/a (Pottstown PA 19464)     Incomplete Declaration
1208  1207 10/23/20 9:10:35 10/23/20 9:11:43 anonymous             005823636‐46 100200‐1 Keys                         Clara Drusilla        309 Walnut St 206 Salba Apartments Jenkintown, PA 19046                  Incomplete Declaration
1209  1208 10/23/20 9:11:46 10/23/20 9:13:19 anonymous             102830734‐46 530202‐1 Williams                     Gladys M              1065 Archer Ln                              Lansdale, PA 19446           Incomplete Declaration
1210  1209 10/23/20 9:13:35 10/23/20 9:14:39 anonymous             009649164‐46 67E03‐1      Trumbull                 Ann K                 227 Pheasant Run                            Lansdale, PA 19446           Incomplete Declaration
1211  1210 10/23/20 9:14:43 10/23/20 9:15:24 anonymous             006138760‐46 510002‐1 Petrecz                      Ellen K               ‐                                           ‐                            Incomplete Declaration
1212  1211 10/23/20 9:15:30 10/23/20 9:16:10 anonymous             006265919‐46 360203‐1 Patel                        Shetal A              340 Colby Ln                                Ambler, PA 19002             Incomplete Declaration
1213  1212 10/23/20 9:16:12 10/23/20 9:16:54 anonymous             006098193‐46 540403‐1 Sherman                      William J Jr          1395 Pinatown Rd                            Fort Washington, PA 19034    Incomplete Declaration
1214  1213 10/23/20 9:16:56 10/23/20 9:18:36 anonymous             005696287‐46 61M100‐1 Yonosh                       John E                337 Vista Dr                                Phoenixville, PA 19460       Incomplete Declaration
1215  1214 10/23/20 9:18:40 10/23/20 9:21:01 anonymous             005851632‐46 67E02‐1      Goodson                  Loredana G            2514 Stony Creek Rd                         Lansdale, PA 19446           Incomplete Declaration
1216  1215 10/23/20 9:21:04 10/23/20 9:23:23 anonymous             006209438‐46 390101‐1 Mercer                       Cherie N              49 Fox Chase Drive                          North Wales, PA 19454        Incomplete Declaration

                                                                                                          Page 27 of 124
                                                                      Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 28 of 124


      A             B                C             D       E    F        G            H                I                   J                        K                                      L                        M
 1 ID      Start time        Completion time Email       Name NumbeNumber2        Precinct:   Last Name          First name     Address Line 1                              Address Line 2              Issue
1217  1216 10/23/20 9:23:28 10/23/20 9:24:48 anonymous             005953148‐46   65W01‐1     Koonce             Marion L       1535 Butler Pike                            Conshohocken, PA 19428      Incomplete Declaration
1218  1217 10/23/20 9:24:52 10/23/20 9:26:38 anonymous             103503957‐46   490401‐1    Philkill           Cynthia Ruth   1951 Main Ave                               Conshohocken, PA 19428      Incomplete Declaration
1219  1218 10/23/20 9:26:40 10/23/20 9:28:00 anonymous             010033033‐46   58ROB00‐1   MacLaren           Donald R       1070 Wood Tom Cir                           Wayne, PA 19087             Incomplete Declaration
1220  1219 10/23/20 9:28:01 10/23/20 9:29:27 anonymous             006004042‐46   58CAN01‐1   Nalbantian         Michael        251 W Dekalb Pike Apt 5 507                 King of Prussia, PA 19406   Incomplete Declaration
1221  1220 10/23/20 9:29:28 10/23/20 9:30:19 anonymous             005953361‐46   460006‐1    Gaffney            Kristen M      805 Lennox Ct                               Lansdale, PA 19446          Incomplete Declaration
1222  1221 10/23/20 9:28:48 10/23/20 9:30:40 anonymous             103765377‐46   380001‐1    Love               Dana           253 Grimely Rd                              Schwenksville, PA 19473     Incomplete Declaration
1223  1222 10/23/20 9:30:21 10/23/20 9:31:10 anonymous             005969147‐46   560007‐1    Collester          Alan A         5102 Lilac Ct                               Lansdale, PA 19446          Incomplete Declaration
1224  1223 10/23/20 9:30:45 10/23/20 9:32:05 anonymous             006408752‐46   370004‐1    Hammerschmidt      Mary           677 Elm St APT 106                          Royersford, PA 19468        Incomplete Declaration
1225  1224 10/23/20 9:31:17 10/23/20 9:32:34 anonymous             005969146‐46   560007‐1    Collester          Shirley        5102 Lilac Ct                               Lansdale, PA 19446          Incomplete Declaration
1226  1225 10/23/20 9:32:08 10/23/20 9:33:29 anonymous             107811113‐46   61M200‐1    Plewinski          Jaqueline      167 Providence Forge                        Royersford, PA 19468        Incomplete Declaration
1227  1226 10/23/20 9:32:35 10/23/20 9:33:30 anonymous             005821517‐46   530202‐1    Omara              Kathryn        2015 Spring Valley Rd                       Lansdale, PA 19446          Incomplete Declaration
1228  1227 10/23/20 9:33:36 10/23/20 9:34:12 anonymous             006225308‐46   390202‐1    Shidleff           Melissa Anne   815 Creekview Dr                            Blue Bell, PA 19422         Resolved
1229  1228 10/23/20 9:33:30 10/23/20 9:34:16 anonymous             006204454‐46   310303‐1    Kushner            Robin          700 Elkins Ave APT A1                       Elkins Park, PA 19027       Incomplete Declaration
1230  1229 10/23/20 9:34:13 10/23/20 9:35:20 anonymous             005798697‐46   310702‐1    Becker             Deborah        625 Arbor Rd                                Cheltenham, PA 19012        Incomplete Declaration
1231  1230 10/23/20 9:34:44 10/23/20 9:35:22 anonymous             005971155‐46   401202‐2    Dougherty          Mary           511 Baird Rd                                Merion Station, PA 19066    Incomplete Declaration
1232  1231 10/23/20 9:35:21 10/23/20 9:36:06 anonymous             009451250‐46   310601‐1    Tabor              Daniel L       8234 Manor Rd                               Elkins Park, PA 19027       Incomplete Declaration
1233  1232 10/23/20 9:35:24 10/23/20 9:37:14 anonymous             005781579‐46   340005‐1    Camasso            Eunice         283 Westminster Ln                          Souderton, PA 18964         Resolved
1234  1233 10/23/20 9:36:12 10/23/20 9:37:34 anonymous             006153583‐46   520402‐1    Dorsey             Johnnie Jr     1201 Papermill Rd                           Glenside, PA 19038          Incomplete Declaration
1235  1234 10/23/20 9:37:36 10/23/20 9:38:24 anonymous             006008486‐46   310302‐1    Minkoff            David J        196 Linden Dr                               Elkins Park, PA 19027       Incomplete Declaration
1236  1235 10/23/20 9:37:16 10/23/20 9:38:49 anonymous             006299219‐46   460005‐1    Biberman           Marianne       402 Stone Ridge Dr S                        Lansdale, PA 19466          Incomplete Declaration
1237  1236 10/23/20 9:38:27 10/23/20 9:39:10 anonymous             005688553‐46   310302‐1    Freyman            Donna S        195 Linden Dr                               Elkins Park, PA 19027       Incomplete Declaration
1238  1237 10/23/20 9:38:50 10/23/20 9:39:43 anonymous             006249636‐46   460007‐1    Lin                Tao            306 Ascot Ct                                North Wales, PA 19454       Incomplete Declaration
1239  1238 10/23/20 9:39:12 10/23/20 9:39:48 anonymous             005738863‐46   310302‐1    Stup               Richard B      195 Linden Dr                               Elkins Park, PA 19027       Incomplete Declaration
1240  1239 10/23/20 9:39:57 10/23/20 9:40:25 anonymous             006230248‐46   130101‐1    Houston            Lynn           33 Hartranft Ave                            Norristown, PA 19401        Incomplete Declaration
1241  1240 10/23/20 9:39:44 10/23/20 9:40:39 anonymous             006287806‐46   630101‐1    Winters‐Kachnycz   Diane          2200 Dorie Drive                            Jeffersonville, PA 19403    RESOLVED
1242  1241 10/23/20 9:40:27 10/23/20 9:41:01 anonymous             102974209‐46   330103‐1    White Jackson      Wendy          3137 Eisenhower Dr                          Norristown, PA 19403        Incomplete Declaration
1243  1242 10/23/20 9:40:40 10/23/20 9:41:29 anonymous             012831257‐46   370001‐1    Villasin           Jose           N/a                                         N/a                         Incomplete Declaration
1244  1243 10/23/20 9:41:03 10/23/20 9:41:38 anonymous             006378472‐46   58ROB00‐1   Hansen             Roslyn K       1161 Brians Way                             Wayne, PA 19087             Incomplete Declaration
1245  1244 10/23/20 9:41:30 10/23/20 9:42:16 anonymous             106960972‐46   590202‐1    Green              Joseph E       1701 Willow Ave                             Hatboro, PA 19040           Incomplete Declaration
1246  1245 10/23/20 9:41:41 10/23/20 9:42:21 anonymous             110208997‐46   400702‐1    Andrade            Abraham        150 Wynnewood Rd E Apt 11B                  Wynnewood, PA 19096         Incomplete Declaration
1247  1246 10/23/20 9:42:22 10/23/20 9:43:35 anonymous             006204158‐46   310401‐1    Cain               Velvet D       2101 A John Russell Cir N                   Elkins Park 19027           Incomplete Declaration
1248  1247 10/23/20 9:42:18 10/23/20 9:43:45 anonymous             109561699‐46   540402‐1    Thompson           Jack           300 Garden Rd                               Oreland, PA 19075           Incomplete Declaration
1249  1248 10/23/20 9:43:36 10/23/20 9:44:30 anonymous             005699508‐46   520501‐1    Hollis             Janice D       1030 E Willow Grove Ave E Ste Lower Level   Glenside, PA 19038          Incomplete Declaration
1250  1249 10/23/20 9:43:46 10/23/20 9:44:47 anonymous             005739816‐46   301301‐1    Herrmann           Albert         218 Easton Rd N, APT G12                    Glenside, PA 19038          Incomplete Declaration
1251  1250 10/23/20 9:44:49 10/23/20 9:46:02 anonymous             015193374‐46   540403‐1    Merke              Joy            n/a                                         Ft Washington, PA 19034     Incomplete Declaration
1252  1251 10/23/20 9:46:05 10/23/20 9:46:44 anonymous             107064256‐46   540403‐1    St John            Penelope       N/a                                         N/a                         Incomplete Declaration
1253  1252 10/23/20 9:46:45 10/23/20 9:47:52 anonymous             005690670‐46   520101‐1    Fox                Honora         n/a                                         Flourtown, Pa 19031         Incomplete Declaration
1254  1253 10/23/20 9:47:53 10/23/20 9:48:52 anonymous             015681086‐46   330202‐1    Browne             Tanya          18 Crimson Drive                            Norristown, PA 19401        Incomplete Declaration
1255  1254 10/23/20 9:44:32 10/23/20 11:08:30 anonymous            005872665‐46   460004‐1    Caucci             Terri          318 Winding Brook Run                       North Wales, PA 19454       USPS Issue
1256  1255 10/23/20 11:08:32 10/23/20 11:09:06 anonymous           107945366‐46   300902‐1    Zeneli             Ana            811 Tennis Ave                              Glenside, PA 19038          USPS Issue
1257  1256 10/23/20 11:09:07 10/23/20 11:10:18 anonymous           103645099‐46   520023‐1    Mastrilli          Lynne          723 Saylors Mill Rd                         Spring City PA 19473‐9696   USPS Issue
1258  1257 10/23/20 11:10:20 10/23/20 11:10:58 anonymous           006160777‐46   67W00‐1     Wanamaker          David B        ‐                                           ‐                           USPS Issue
1259  1258 10/23/20 9:48:54 10/23/20 11:11:08 anonymous            106887855‐46   660010‐1    Pimentel           Genesis        701 Chestnut St                             Philadelphia, PA 19106      USPS Issue
1260  1259 10/23/20 11:11:00 10/23/20 11:11:39 anonymous           006160126‐46   67W00‐1     Wanamaker          Sybilla O      ‐                                           ‐                           USPS Issue
1261  1260 10/23/20 11:11:19 10/23/20 11:12:46 anonymous           015406057‐46   120002‐1    Myers              Elizabeth      4001 Country LN                             Narberth, PA 19072          USPS Issue

                                                                                                       Page 28 of 124
                                                                      Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 29 of 124


      A             B                C             D       E    F        G            H                I                    J                         K                                     L                            M
 1 ID      Start time        Completion time Email       Name NumbeNumber2        Precinct:   Last Name          First name        Address Line 1                            Address Line 2                  Issue
1262  1261 10/23/20 11:11:40 10/23/20 11:12:57 anonymous           006848405‐46   050100‐1    Blazynski          Lindsay Ann       335 W Elm St                              Conshohocken, PA 19428          USPS Issue
1263  1262 10/23/20 11:12:59 10/23/20 11:14:08 anonymous           005708450‐46   65W02‐1     Flocco             Mary Elaine       250 Ridge Pike Uni C255 Lafayette Green   Lafayette Hill, PA 19444        USPS Issue
1264  1263 10/23/20 11:12:58 10/23/20 11:14:22 anonymous           104525761‐46   510002‐1    Jopling            Brian             3828 Center Ave                           Collegeville, PA 19426          USPS Issue
1265  1264 10/23/20 11:14:09 10/23/20 11:15:19 anonymous           108250119‐46   65W01‐1     Pich               Samantha          1801 Butler Pike Apt 238                  Conshohocken, PA 19428          USPS Issue
1266  1265 10/23/20 11:14:31 10/23/20 11:15:46 anonymous           110568501‐46   360105‐1    Gonzalez           Damian            213 Maple Ave                             Horsham, PA 19044               USPS Issue
1267  1266 10/23/20 11:15:22 10/23/20 11:16:18 anonymous           106418659‐46   050300‐1    Naples             Julianne          109 Fourth Ave E, Apt 2                   Conshohocken, PA 19428          USPS Issue
1268  1267 10/23/20 11:16:20 10/23/20 11:17:10 anonymous           015268167‐46   130202‐1    Richburg           Akil Nnamdi       311 W Marshall St                         Norristown, PA 19401            USPS Issue
1269  1268 10/23/20 11:15:50 10/23/20 11:17:27 anonymous           006312486‐46   360105‐1    Adams              Tiffany           213 Maple Ave                             Horsham, PA 19044               USPS Issue
1270  1269 10/23/20 11:17:11 10/23/20 11:17:51 anonymous           009443992‐46   050100‐46   Mineo              Catherine         200 Elm St W, STE 1303                    Conshohocken, PA 19428          USPS Issue
1271  1270 10/23/20 11:17:40 10/23/20 11:20:17 anonymous           005929755‐46   310601‐1    Bleznak            Marilyn           8204 Aspen Way                            Elkins Park, PA 19027           USPS Issue
1272  1271 10/23/20 11:17:55 10/23/20 11:20:19 anonymous           016040549‐46   110201‐1    Chase              Jean I            41 W 4th St Apt A                         Lansdale, PA 19446              No secrecy envelope
1273  1272 10/23/20 11:20:29 10/23/20 11:21:46 anonymous           015930917‐46   310601‐1    Smith              William Jr        8200 Fairview Rd                          Elkins Park, PA 19027           No secrecy envelope
1274  1273 10/23/20 11:20:24 10/23/20 11:23:24 anonymous           103613249‐46   410402‐1    Dewan              Sanjiv            269 Coachlight Ter                        Huntingdon Vly, PA 19006        USPS Issue
1275  1274 10/23/20 11:22:18 10/23/20 11:23:38 anonymous           102732669‐46   550001‐1    Peterman           Laura Elizabeth   3339 Big Road                             Zieglerville, PA 19492          No secrecy envelope
1276  1275 10/23/20 11:23:50 10/23/20 11:24:47 anonymous           102659568‐46   61MC00‐1    Patel              Amrutlal H        202 Holstein Dr                           Collegeville, PA 19426          Incomplete Declaration
1277  1276 10/23/20 11:23:28 10/23/20 11:25:25 anonymous           108279637‐46   58GUL02‐1   Kupper             Samuel            1224 Gulph Creek                          Wayne, PA 19087                 USPS Issue
1278  1277 10/23/20 11:24:50 10/23/20 11:25:28 anonymous           102659569‐46   61MC00‐1    Patel              Suresh A          202 Holstein Dr                           Collegeville, PA 19426          Incomplete Declaration
1279  1278 10/23/20 11:25:29 10/23/20 11:25:59 anonymous           005993215‐46   301002‐1    Logan              Laura Fery        ‐                                         ‐                               Incomplete Declaration
1280  1279 10/23/20 11:26:02 10/23/20 11:26:38 anonymous           021359449‐46   430203‐1    Carter             Brenae Joi        2912 Village Green Ln                     Eagleville, PA 19403            Incomplete Declaration
1281  1280 10/23/20 11:25:29 10/23/20 11:26:55 anonymous           021861401‐46   390102‐1    Takach             John              832 Plymouth Rd                           Lower Gwynedd, PA 19002         USPS Issue
1282  1281 10/23/20 11:26:39 10/23/20 11:27:23 anonymous           109295469‐46   61MC00‐1    Patel              Mita Suresh       202 Holstein Dr                           Collegeville, PA 19426          Incomplete Declaration
1283  1282 10/23/20 11:27:25 10/23/20 11:28:17 anonymous           006220098‐46   560007‐1    Leff               Nancy B           3202 Lilac Ct                             Upper Gwynedd, PA 19446         Incomplete Declaration
1284  1283 10/23/20 11:26:59 10/23/20 11:28:30 anonymous           021376913‐46   360305‐1    Simms              Christian         34 Brookside CT                           Horsham, PA 19044               USPS Issue
1285  1284 10/23/20 11:28:18 10/23/20 11:28:56 anonymous           006417967‐46   180001‐1    Doman              Kimberly Ann      1018 Fox Chase Rd                         Jenkintown, PA 19046            Incomplete Declaration
1286  1285 10/23/20 11:28:59 10/23/20 11:29:39 anonymous           020938646‐46   620001‐1    Ogden‐Gable        Anne K            1950 Church Road                          Harleysville, PA 19438          Incomplete Declaration
1287  1286 10/23/20 11:28:37 10/23/20 11:29:54 anonymous           014844708‐46   360103‐1    Hayes              Genevieve         313 County Line Rd W.                     Hatboro, PA 19040               USPS Issue
1288  1287 10/23/20 11:29:40 10/23/20 11:30:10 anonymous           021519132‐46   130202‐1    Leary              Cheryl E          ‐                                         ‐                               Incomplete Declaration
1289  1288 10/23/20 11:30:11 10/23/20 11:31:00 anonymous           110695977‐46   58CAN01‐1   Mirabelli          Ruthanne          251 W Dekalb Pk Apt W730                  King of Prussia, PA 19406       Incomplete Declaration
1290  1289 10/23/20 11:31:01 10/23/20 11:31:47 anonymous           005707180‐46   130303‐1    Hoult              James D           1728 Locust St                            Norristown, PA 19401            Incomplete Declaration
1291  1290 10/23/20 11:29:59 10/23/20 11:31:49 anonymous           109686744‐46   510002‐1    McGovern           Katherine         1056 Lea Dr                               Collegeville, PA 19426          USPS Issue
1292  1291 10/23/20 11:31:48 10/23/20 11:32:24 anonymous           021414350‐46   310503‐1    Mosley             Noel C            7208 Chesnut Ave                          Elkins Park, PA 19027           Incomplete Declaration
1293  1292 10/23/20 11:32:26 10/23/20 11:33:08 anonymous           006296598‐46   410300‐1    Kolibolotsky       Mark              34 Simons Way                             Huntingdon Vly, PA 19006        Incomplete Declaration
1294  1293 10/23/20 11:31:51 10/23/20 11:33:09 anonymous           109076447‐46   050400‐1    Long               Kendra            315 Sixth Ave                             Conshohocken, PA 19428          USPS Issue
1295  1294 10/23/20 11:33:09 10/23/20 11:33:43 anonymous           006255654‐46   600001‐1    Johnson            Phyllis Frehn     1443 Lotus Drive                          Pottstown, PA 19464             Incomplete Declaration
1296  1295 10/23/20 11:33:45 10/23/20 11:34:19 anonymous           107701152‐46   460004‐1    Starr              Rosemary          340 Woodstream Way                        North Wales, PA 19454           Incomplete Declaration
1297  1296 10/23/20 11:33:15 10/23/20 11:34:52 anonymous           104221603‐46   520302‐1    Frye               Mercedes          N/A                                       N/A                             USPS Issue
1298  1297 10/23/20 11:34:21 10/23/20 11:34:59 anonymous           005703074‐46   130303‐1    Crispo             Ronald C          1635 Powell St                            Norristown, PA 19401            Incomplete Declaration
1299  1298 10/23/20 11:35:00 10/23/20 11:35:44 anonymous           104064664‐46   61MC00‐1    Eilenberger        Deanna Marie      1703 Meadowview Ln                        Montclare, PA 19453             RESOLVED
1300  1299 10/23/20 11:35:13 10/23/20 11:36:12 anonymous           006257680‐46   300601‐1    Natter             Linda             333 Cricket Ave                           Glenside, PA 19038              USPS Issue
1301  1300 10/23/20 11:35:45 10/23/20 11:36:37 anonymous           006392385‐46   560003‐1    McGrath            Renee             131 Church Rd 11‐F                        North Wales, PA 19454           Incomplete Declaration
1302  1301 10/23/20 11:36:38 10/23/20 11:37:14 anonymous           110467583‐46   500001‐1    Coates             David Alan        ‐                                         ‐                               Incomplete Declaration
1303  1302 10/23/20 11:37:15 10/23/20 11:37:51 anonymous           006074857‐46   220001‐1    Clark              Beverly D         330 W Broad St                            Telford, PA 18969               Incomplete Declaration
1304  1303 10/23/20 11:36:16 10/23/20 11:38:08 anonymous           103383651‐46   600001‐1    Sikorski           Margot            19 Rock St                                Jersey City, New Jersey 07306   USPS Issue
1305  1304 10/23/20 11:37:53 10/23/20 11:38:35 anonymous           006008913‐46   160202‐1    Cruz               Aura M            440 W Buttonwood St                       Pottstown, PA 19464             Incomplete Declaration
1306  1305 10/23/20 11:38:36 10/23/20 11:39:26 anonymous           110612761‐46   61M100‐1    Little             Maddison          207 Georgetowne Ct                        Royersford, PA 19468            Incomplete Declaration

                                                                                                       Page 29 of 124
                                                                      Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 30 of 124


      A             B                C             D       E    F        G            H                I                    J                  K                              L                            M
 1 ID      Start time        Completion time Email       Name NumbeNumber2        Precinct:   Last Name           First name     Address Line 1                Address Line 2                  Issue
1307  1306 10/23/20 11:38:18 10/23/20 11:39:45 anonymous           103387855‐46   160600‐1    Mendoza             Ricardo        1000 Queen St APT #6          Pottstown, PA 19464             Damaged
1308  1307 10/23/20 11:39:27 10/23/20 11:40:10 anonymous           005899258‐46   58ROB00‐1   Anderson            Donald B       655 Crestwood Rd              Wayne, PA 19087                 Incomplete Declaration
1309  1308 10/23/20 11:40:12 10/23/20 11:41:03 anonymous           006260035‐46   630202‐1    Votto               William A Jr   46 North Highland Ave         Norristown, PA 19403            Incomplete Declaration
1310  1309 10/23/20 11:41:04 10/23/20 11:42:20 anonymous           005972518‐46   630301‐1    Callisto            Pamela P       2528 Cedar Grove Ln           Norristown, PA 19403            Incomplete Declaration
1311  1310 10/23/20 11:40:06 10/23/20 11:42:22 anonymous           108357575‐46   430102‐1    Deininger           Laura          3716 Worthington Rd           Collegeville, PA 19426          USPS Issue
1312  1311 10/23/20 11:42:25 10/23/20 11:43:16 anonymous           103541044‐46   370005‐1    Angell              Michael C      182 Steinmetz Rd              Schwenksville, PA 19473         Incomplete Declaration
1313  1312 10/23/20 11:43:17 10/23/20 11:44:00 anonymous           109457622‐46   370005‐1    Leatherman          Kelly Ann      182 Steinmetz Rd              Schwenksville, PA 19473         Incomplete Declaration
1314  1313 10/23/20 11:44:02 10/23/20 11:45:02 anonymous           107034052‐46   58BEL04‐1   Ozdamar             Naila          601 W Valley Forge Rd         King of Prussia, PA 19406       RESOLVED
1315  1314 10/23/20 11:43:38 10/23/20 11:45:36 anonymous           103349784‐46   401102‐1    Castelbaum          Emily          107 East 63rd Street APT 3B   New York, NY 10065              USPS Issue
1316  1315 10/23/20 11:45:25 10/23/20 11:46:19 anonymous           110603536‐46   370004‐1    Bedard              Megan          103 Foxmeadow Dr              Royersford, PA 19468            Incomplete Declaration
1317  1316 10/23/20 11:46:21 10/23/20 11:46:51 anonymous           110315142‐46   350402‐1    Patel               Hemansu C      1715 Lisa Ct                  Hatfield, PA 19440              Incomplete Declaration
1318  1317 10/23/20 11:45:41 10/23/20 11:47:23 anonymous           14598083‐46    440001‐1    Trippett            Michael        143 Country View Way          Telford, PA 18969               USPS Issue
1319  1318 10/23/20 11:46:52 10/23/20 11:47:51 anonymous           103286527‐46   58BEL04‐1   Ozdamar             Mahmut         601 W Valley Forge Rd         King of Prussia, PA 19406       Incomplete Declaration
1320  1319 10/23/20 11:47:53 10/23/20 11:48:30 anonymous           006135415‐46   230001‐1    Sorg                Eric Roger     213 Kelso Cir                 Trappe, PA 19426                Incomplete Declaration
1321  1320 10/23/20 11:48:33 10/23/20 11:49:04 anonymous           006028327‐46   350502‐1    Peters              Howard V Sr    310 Logan Dr                  Hatfield, PA 19440              Incomplete Declaration
1322  1321 10/23/20 11:47:29 10/23/20 11:49:41 anonymous           005967321‐46   530301‐1    Epprecht            Peter          1777 Clemens Rd               Harleysville, PA 19438          USPS Issue
1323  1322 10/23/20 11:49:05 10/23/20 11:51:52 anonymous           110315151‐46   350402‐1    Patel               Sushilaben H   1715 Lisa Ct                  Hatfield, PA 19440              Incomplete Declaration
1324  1323 10/23/20 11:51:53 10/23/20 11:52:42 anonymous           006148598‐46   420002‐1    Darby               Nicholas O     421 Oak Tree Ct               Pottstown, PA 19464             Incomplete Declaration
1325  1324 10/23/20 11:49:43 10/23/20 11:52:51 anonymous           104541366‐46   540703‐1    Valentino           Peter          1404 Butler Pike E            Ambler, PA 19002                USPS Issue
1326  1325 10/23/20 11:52:43 10/23/20 11:53:17 anonymous           021736909‐46   310203‐1    Gwaltney            Gwendolyn      407 Rices Mill Rd             Wyncote, PA 19095               Incomplete Declaration
1327  1326 10/23/20 11:53:19 10/23/20 11:53:55 anonymous           005897442‐46   460007‐1    Vishab              Jack H         304 Pimlico Way               North Wales, PA 19454           Incomplete Declaration
1328  1327 10/23/20 11:53:57 10/23/20 11:54:32 anonymous           005809858‐46   430101‐1    Glinski             Kathleen A     3994 Yerkes Rd                Collegeville, PA 19426          Incomplete Declaration
1329  1328 10/23/20 11:54:33 10/23/20 11:55:12 anonymous           021326699‐46   590201‐1    Helmuth             Barron         3855 Blair Mill Rd Apt 227Q   Horsham, PA 19044               Incomplete Declaration
1330  1329 10/23/20 11:52:57 10/23/20 11:55:15 anonymous           110834526‐46   640001‐1    Derecola            Dominic        N/A                           Pottstown, PA 19464             USPS Issue
1331  1330 10/23/20 11:55:14 10/23/20 11:56:40 anonymous           009672122‐46   300402‐1    Levine              Genevieve M    257 Tulpenhocken Ave          Elkins Park PA 19027‐1926       Incomplete Declaration
1332  1331 10/23/20 11:56:41 10/23/20 11:57:27 anonymous           005850305‐46   400403‐1    Miller              Ann Kay        429 Berkley Rd                Haverford, PA 19041             Incomplete Declaration
1333  1332 10/23/20 11:55:31 10/23/20 11:57:56 anonymous           102456239‐46   160600‐1    Liskey              Floyd          N/A                           Pottstown, PA 19464             USPS Issue
1334  1333 10/23/20 11:57:33 10/23/20 11:58:00 anonymous           005852570‐46   400702‐1    Haas                Theresa B      108 Rockland Ave              Merion Station, PA 19066        Incomplete Declaration
1335  1334 10/23/20 11:58:01 10/23/20 11:58:42 anonymous           005731421‐46   010100‐1    Pritz               Peter J        ‐                             ‐                               Incomplete Declaration
1336  1335 10/23/20 11:58:43 10/23/20 11:59:23 anonymous           016226958‐46   300102‐1    Lekishvili          Natalie        1100 Valley Rd                Rydal, PA 19046                 Incomplete Declaration
1337  1336 10/23/20 11:58:17 10/23/20 12:00:04 anonymous           109460633‐46   100300‐1    Raleigh             William        105 Cedar St                  Jenkintown, PA 19046            Damaged
1338  1337 10/23/20 11:59:24 10/23/20 12:00:21 anonymous           110948004‐46   400501‐1    Murtazashvili       Irina          510 N Wynnewood Ave           Wynnewood, PA 19096             Incomplete Declaration
1339  1338 10/23/20 12:00:22 10/23/20 12:00:55 anonymous           005963453‐46   010100‐1    Pritz               Marguerite F   ‐                             ‐                               Incomplete Declaration
1340  1339 10/23/20 12:00:57 10/23/20 12:01:37 anonymous           009534620‐46   190002‐1    Taylor              Euphrasia J    337 Green St Apt 1            Royersford, PA 19468            Incomplete Declaration
1341  1340 10/23/20 12:01:39 10/23/20 12:02:29 anonymous           108554677‐46   160300‐1    Slachtouski         John Robert    564 State Apt 7               Pottstown, PA 19464‐5182        Incomplete Declaration
1342  1341 10/23/20 12:00:33 10/23/20 12:02:33 anonymous           021500194‐46   301102‐1    Kingsberry          Jennifer       1509 Edge Hill Road           Abington, PA 19001              USPS Issue
1343  1342 10/23/20 12:02:34 10/23/20 12:03:14 anonymous           006013642‐46   590301‐1    Henry               Cynthia L      603 Easton Rd N, Apt 4        Willow Grove, PA 19090          Incomplete Declaration
1344  1343 10/23/20 12:03:15 10/23/20 12:03:55 anonymous           104348706‐46   430204‐1    Maniquis‐Saringan   Florie         3047 Cardin Pl                Eagleville, PA 19403            Incomplete Declaration
1345  1344 10/23/20 12:02:34 10/23/20 12:04:01 anonymous           105425415‐46   040002‐1    Altmire             Gabriella      601 Main St E, PO box 8000    Collegeville, PA 19426          USPS Issue
1346  1345 10/23/20 12:03:57 10/23/20 12:04:41 anonymous           005959968‐46   660006‐1    Dunleavy            Ellen          1699 Butler Pike              Plymouth Meeting, PA 19462‐2001 Incomplete Declaration
1347  1346 10/23/20 12:04:07 10/23/20 12:06:42 anonymous           104276671‐46   410300‐1    Raskay              Thomas         3147 Maple Rd                 Huntingdon Valley, PA 19006     USPS Issue
1348  1347 10/23/20 12:06:43 10/23/20 12:07:54 anonymous           109941229‐46   120002‐1    Bronte              Parker         N/a                           N/a                             Incomplete Declaration
1349  1348 10/23/20 12:07:56 10/23/20 12:09:24 anonymous           105986872‐46   58ROB00‐1   Depillis            Matthew        N/a                           n/a                             Incomplete Declaration
1350  1349 10/23/20 12:09:25 10/23/20 12:10:26 anonymous           110589249‐46   170001‐1    Booth               Christopher    N/a                           N/a                             Incomplete Declaration
1351  1350 10/23/20 12:10:27 10/23/20 12:12:09 anonymous           104525256‐46   540703‐1    Durant              Micheal        n/a                           n/a                             USPS Issue

                                                                                                       Page 30 of 124
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      A             B                C             D       E    F        G             H               I                     J                      K                                L                           M
 1 ID      Start time        Completion time Email       Name NumbeNumber2         Precinct:   Last Name          First name         Address Line 1                     Address Line 2               Issue
1352  1351 10/23/20 12:12:10 10/23/20 12:13:37 anonymous           103826538‐46    540703‐1    Eleazer            Zena               N/a                                n/a                          USPS Issue
1353  1352 10/23/20 12:13:38 10/23/20 12:15:23 anonymous           108275228‐46    160701‐1    Delpriore          Lucas              n/a                                n/a                          USPS Issue
1354  1353 10/23/20 12:15:24 10/23/20 12:16:25 anonymous           021668789‐46    330203‐1    Casady             Christine          132 Discovery Ct                   East Norriton, PA 19401      USPS Issue
1355  1354 10/23/20 12:16:26 10/23/20 12:18:16 anonymous           103857345‐46    050400‐1    Diamantopoulos     Micheal            315 6th Ave W                      Conshohocken, PA 19428       USPS Issue
1356  1355 10/23/20 12:04:42 10/23/20 12:19:17 anonymous           021865285‐46    130302‐1    Muehlfeld          Megan              906 Dekalb St APT 2                Norristown, PA 19401         USPS Issue
1357  1356 10/23/20 12:18:18 10/23/20 12:19:23 anonymous           005733079‐46    401201‐1    Hoffman            Debra              92 Merbrook Lane                   Merion Station, PA 19066     USPS Issue
1358  1357 10/23/20 12:19:24 10/23/20 12:20:24 anonymous           107955699‐46    310301‐1    Smith              Mercedes           25 Washington Lane APT 731         Wyncote, PA 19095            USPS Issue
1359  1358 10/23/20 12:19:25 10/23/20 12:20:49 anonymous           006019035‐46    130203‐1    Wallace            Hersha             617 Dekalb St APT 1                Norristown, PA 19401         USPS Issue
1360  1359 10/23/20 12:20:25 10/23/20 12:21:27 anonymous           014460886‐46    310301‐1    Smith              Shawn              25 Washington Lane APT 731         Wyncote, PA 19095            USPS Issue
1361  1360 10/23/20 12:20:54 10/23/20 12:22:14 anonymous           110822811‐46    530101‐1    Belasco            Janice             1158 Welsh Rd                      Lansdale, PA 19446           USPS Issue
1362  1361 10/23/20 12:21:29 10/23/20 12:22:43 anonymous           103387915‐46    300702‐1    Jesse              Hannah             155 Washington Lane                Jenkintown, pa 19046         USPS Issue
1363  1362 10/23/20 12:22:19 10/23/20 12:24:15 anonymous           021371622‐46    520101‐1    Eldridge           Lariese            9801 Germantown Pike, P.O. Box 408 Lafayette Hill, PA 19444     USPS Issue
1364  1363 10/23/20 12:22:44 10/23/20 12:24:27 anonymous           021205198‐46    530301‐1    Glover             Kathleen           2156 Mainland Rd                   Harleysville, PA 19438       USPS Issue
1365  1364 10/23/20 12:24:32 10/23/20 12:25:29 anonymous           104088809‐46    310402‐1    Grimmage           Amber              7669 Washington Ln APT A           Elkins Park, PA 19027        USPS Issue
1366  1365 10/23/20 12:24:16 10/23/20 12:26:09 anonymous           006307878‐46    65W02‐1     Horvitz            Lewis              231 Birch Dr                       Lafayette Hill, PA 19444     USPS Issue
1367  1366 10/23/20 12:25:30 10/23/20 12:26:50 anonymous           104245503‐46    310402‐1    Grimmage           Alexis             7669 Washington Lane APT A Elkins Park, PA 19027                USPS Issue
1368  1367 10/23/20 12:26:13 10/23/20 12:27:41 anonymous           103659186‐46    130203‐1    Dume               Susette            46 E Chestnut St                   Norristown, PA 19401         Damaged
1369  1368 10/23/20 12:26:53 10/23/20 12:28:18 anonymous           108640153‐46    590702‐1    Liesner            Samuel             1930 Gibson Drive                  Hatboro, Pa 19040            USPS Issue
1370  1369 10/23/20 12:28:19 10/23/20 12:29:16 anonymous           107805148‐46    58GUL02‐1   Rush               Sari               N/a                                n/a                          USPS Issue
1371  1370 10/23/20 12:27:56 10/23/20 12:29:19 anonymous           006072020‐46    310301‐1    Bradshaw           Angela             25 Washington LN APT 526           Wyncote, PA 19095            USPS Issue
1372  1371 10/23/20 12:29:23 10/23/20 12:30:28 anonymous           110015507‐46    360404‐1    Wright             Francis            700 Lower State Rd APT B‐3         North Wales, PA 19454        USPS Issue
1373  1372 10/23/20 12:29:24 10/23/20 12:30:59 anonymous           006331899‐46    020100‐1    Benc               Lucja              200 Ross Rd D114                   King of Prussia, PA 19406    USPS Issue
1374  1373 10/23/20 12:31:03 10/23/20 12:32:19 anonymous           104365286‐46    660008‐1    Bealin             Alexander          1187 Plowshare Rd                  Blue Bell, PA 19422          USPS Issue
1375  1374 10/23/20 18:06:51 10/23/20 18:12:59 anonymous           109361529‐46    130101‐1    HESSLER            ROSEMARY M         111 STANBRIDGE ST                  NORRISTOWN PA 19401          Name disconnect
1376  1375 10/23/20 18:13:01 10/23/20 18:21:08 anonymous           006016065‐46    67E03‐1     MCCABE             JAMES JOSEPH       800 NORTH HILL WAY UNIT 824 LANSDALE PA 19446                   Name disconnect
1377  1376 10/23/20 18:21:13 10/23/20 18:23:13 anonymous           003572692‐46    65W03‐1     LEIS               NORMA              801 RIDGE PIKE APT 5               LAFAYETTE HILL PA 19444      Name disconnect
1378  1377 10/23/20 12:30:30 10/23/20 18:26:58 anonymous           006360881‐46    58ROB00‐1   Straw              Elizabeth Neaves   676 Crestwood Road                 Wayne PA 19087               Incomplete Declaration
1379  1378 10/23/20 18:27:01 10/23/20 18:27:53 anonymous           005851674‐46    560005‐1    Breslin            Bridget K          none                               none                         Incomplete Declaration
1380  1379 10/23/20 18:27:55 10/23/20 18:28:38 anonymous           005957331‐46    530202‐1    Lydon              Mary A             1110 Archer Ln                     Lansdale PA 19446            Incomplete Declaration
1381  1380 10/23/20 18:28:40 10/23/20 18:29:44 anonymous           014674552‐46    530201‐1    Lewis              Anita Michelle     1505 Green Lane Rd                 Lansdale PA 19446            Incomplete Declaration
1382  1381 10/23/20 18:29:46 10/23/20 18:30:41 anonymous           006035085‐46    590501‐1    Gleave             Joseph W           616 Topsfield Rd                   Hatboro PA 19040             Incomplete Declaration
1383  1382 10/23/20 18:30:42 10/23/20 18:31:22 anonymous           005694440‐46    330103‐1    Rothwell           Susan F            928 Capitol Cir                    Norristown PA 19403          Incomplete Declaration
1384  1383 10/23/20 18:31:24 10/23/20 18:32:05 anonymous           020683495‐46    310303‐1    Golden             Edward S           8004 Heather Rd                    Elkins Park PA 19027         Incomplete Declaration
1385  1384 10/23/20 18:32:08 10/23/20 18:32:52 anonymous           006245117‐46    301301‐1    Schweikart         Ingrid C           2324 Fairhille Ave                 Glenside PA 19038            Incomplete Declaration
1386  1385 10/23/20 18:29:12 10/23/20 18:32:58 anonymous           006037963‐46    540202‐1    Wayne              Zachary            1255 Tressler Drive                Fort Washington 19034        Incomplete Declaration
1387  1386 10/23/20 18:32:55 10/23/20 18:33:55 anonymous           005916342‐46    590202‐1    Hernandez          Jersey             2714 Fairoaks Ave                  Hatboro PA 19040             Incomplete Declaration
1388  1387 10/23/20 18:33:58 10/23/20 18:34:47 anonymous           110946197‐46    530303‐1    Franklin           Courtney Y         301 Heritage Dr                    Harleysville PA 19438        Resolved
1389  1388 10/23/20 18:33:14 10/23/20 18:35:09 anonymous           005965429‐46    660005‐1    Davidson           Robert             none                               none                         Incomplete Declaration
1390  1389 10/23/20 18:34:49 10/23/20 18:35:35 anonymous           005781757‐46    050100‐1    Hormell            Anne B             123 Forrest St                     Conshohocken PA 19428        Incomplete Declaration
1391  1390 10/23/20 18:35:37 10/23/20 18:36:52 anonymous           none            none        Franklin           Susan J            1255 Tressler Dr                   Fort Washington PA 19304     Incomplete Declaration
1392  1391 10/23/20 18:35:12 10/23/20 18:37:20 anonymous           006301359‐46    160300‐1    Cione              Timothy J.         40 E, 2nd Street                   Pottstown PA 19464           Incomplete Declaration
1393  1392 10/23/20 18:37:28 10/23/20 18:39:27 anonymous           00607020‐7‐46   430101‐1    Costanza           Lori S.            80 Pechin Mill Road                Collegeville, PA 19426       Incomplete Declaration
1394  1393 10/23/20 18:39:32 10/23/20 18:42:19 anonymous           108112407‐46    65W0101     Deluca             Alisa Michelle     1801 Butler Pike                   Conshohocken PA 19428        Incomplete Declaration
1395  1394 10/23/20 18:42:26 10/23/20 18:44:50 anonymous           006080819‐46    590602‐1    Ricci              Kathleen E.        2420 Oaks Circle                   Huntingdon Valley PA 19006   Incomplete Declaration
1396  1395 10/23/20 18:44:56 10/23/20 18:46:42 anonymous           006409101‐46    480002‐1    Donaldson          James A. Jr.       373 Bridges Street                 Collegeville PA 19426        Incomplete Declaration

                                                                                                        Page 31 of 124
                                                                      Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 32 of 124


      A             B                C             D       E    F        G            H                 I                   J                           K                              L                          M
 1 ID      Start time        Completion time Email       Name NumbeNumber2        Precinct:   Last Name           First name              Address Line 1                Address Line 2                Issue
1397  1396 10/23/20 18:46:49 10/23/20 18:49:03 anonymous           005967071‐46   410600‐1    Klugherz            Peter D.                760 Killdeer LN               Huntingdon Valley PA 19006    Incomplete Declaration
1398  1397 10/26/20 8:35:42 10/26/20 8:37:16 anonymous             130090892‐46   430204‐1    Shah                Premlata Vinodchandra   1098 Bayless Pl               Eagleville, PA 19403          Incomplete Declaration
1399  1398 10/26/20 8:37:18 10/26/20 8:38:03 anonymous             107622280‐46   590502‐1    McConnell           Megan                   325 Warminster Rd S, Apt 1C   Hatboro, PA 19040             Incomplete Declaration
1400  1399 10/26/20 8:38:05 10/26/20 8:38:44 anonymous             006027270‐46   180001‐1    Bollard             Annette K               7943 Church Rd                Jenkintown, PA 19046          Incomplete Declaration
1401  1400 10/26/20 8:38:46 10/26/20 8:40:46 anonymous             003477672‐46   590402‐1    Not legible         Not legible             ‐                             ‐                             Incomplete Declaration
1402  1401 10/26/20 8:40:48 10/26/20 8:41:34 anonymous             006162502‐46   160201‐1    Soroka              Shannan E               ‐                             ‐                             Incomplete Declaration
1403  1402 10/26/20 8:41:36 10/26/20 8:42:30 anonymous             015011875‐46   540501‐1    Crean               Margaret E              1650 Susquehanna Rd           Dresher, PA 19025             Incomplete Declaration
1404  1403 10/26/20 8:42:31 10/26/20 8:43:13 anonymous             015918625‐46   300601‐1    Robinson            Judith                  501 Edge Hill Rd Apt A7       Glenside, PA 19038            Incomplete Declaration
1405  1404 10/26/20 8:43:29 10/26/20 8:44:17 anonymous             006194656‐46   301303‐1    Edwards             Karl B                  868 Hilldale Rd Apt 12        Glenside, PA 19038            Incomplete Declaration
1406  1405 10/26/20 8:44:19 10/26/20 8:45:31 anonymous             103740145‐46   65E01‐1     Baldwin             Linda C                 ‐                             ‐                             Incomplete Declaration
1407  1406 10/26/20 8:45:33 10/26/20 8:46:10 anonymous             003336495‐46   310602‐1    Cho                 Young Sun               1509 Ashbourne Rd Apt 217     Elkins Park, PA 19027         Incomplete Declaration
1408  1407 10/26/20 8:46:12 10/26/20 8:47:03 anonymous             015606536‐46   360105‐1    Akobundu            Azubuike                213 Maple Ave Apt G104        Horsham, PA 19044             Incomplete Declaration
1409  1408 10/26/20 8:44:06 10/26/20 8:47:10 anonymous             006124036‐46   520302‐1    Baugher             Wade                    237 B. Roesch                 Oreland, PA 19075             No secrecy envelope
1410  1409 10/26/20 8:44:59 10/26/20 8:47:51 anonymous             06279680‐46    65W03‐1     Slawek              Barbara Ann             P.O. Box 96                   Lafayette Hill, PA 19444      USPS Issue
1411  1410 10/26/20 8:47:12 10/26/20 8:47:51 anonymous             006049785‐46   530102‐1    McCullagh           Helen                   1510 Bridle Path Dr           Lansdale, PA 19446            Incomplete Declaration
1412  1411 10/26/20 8:47:53 10/26/20 8:48:38 anonymous             005872256‐46   530102‐1    McCullagh           Sarah M                 1510 Bridle Path Dr           Lansdale, PA 19446            Incomplete Declaration
1413  1412 10/26/20 8:47:13 10/26/20 8:48:48 anonymous             005746295‐46   460006‐1    Hickey              Maureen                 92 Forest Trail Dr            Lansdale, PA 19148            Incomplete Declaration
1414  1413 10/26/20 8:47:57 10/26/20 8:49:15 anonymous             006019811‐46   100200‐1    Crescenzo           Sally                   100 West Ave                  Jenkintown, PA 19046          USPS Issue
1415  1414 10/26/20 8:48:39 10/26/20 8:49:21 anonymous             006080421‐46   180001‐1    Bollard             Richard P               7943 Church Rd                Jenkintown, PA 19046          Incomplete Declaration
1416  1415 10/26/20 8:49:23 10/26/20 8:50:18 anonymous             016083264‐46   520201‐1    Gala                Margaret B              850 Paper Mill Rd Apt 137B    Glenside, PA 19038            Incomplete Declaration
1417  1416 10/26/20 8:49:22 10/26/20 8:50:34 anonymous             110286970‐46   380001‐1    Kasiarz             Ryan                    79 Village Dr                 Schwenksville, PA 19473       USPS Issue
1418  1417 10/26/20 8:49:06 10/26/20 8:50:35 anonymous             109594958‐46   310501‐1    Phillips            Aliyah                  902 Valley Rd APT 25C         Elkins Park, PA 19027         Incomplete Declaration
1419  1418 10/26/20 8:50:20 10/26/20 8:51:22 anonymous             006092027‐46   530302‐1    Paige               Gail A                  2109 Marshall Ct              Lansdale, PA 19446‐4323       Incomplete Declaration
1420  1419 10/26/20 8:50:37 10/26/20 8:51:57 anonymous             108301035‐46   130303‐1    Sanchez             Elizabeth               203 Nassau Pl                 Norristown, PA 19401          Incomplete Declaration
1421  1420 10/26/20 8:51:23 10/26/20 8:52:09 anonymous             006081197‐46   58SBG00‐1   Manzo               Achille                 50 Stewart St                 Bridgeport, PA 19405‐1762     Incomplete Declaration
1422  1421 10/26/20 8:50:38 10/26/20 8:52:43 anonymous             005908251‐46   160102‐1    Hill                Frances                 64 Washingtown St N.          Pottstown, PA 19464           USPS Issue
1423  1422 10/26/20 8:53:29 10/26/20 8:55:28 anonymous             107607417‐46   490302‐1    Moelin              Saroeuth                P.O. Box 311                  Norristown, PA 19404          USPS Issue
1424  1423 10/26/20 8:51:58 10/26/20 8:55:39 anonymous             005946856‐46   500003‐1    Mumbauer            Wayne                   288 Wyndham Ct                Harleysville, PA 19438        Incomplete Declaration
1425  1424 10/26/20 8:55:30 10/26/20 8:56:57 anonymous             005939697‐46   61M200‐1    Donny               Marilou                 631 Birchleaf Dr              Collegeville, PA 19426‐3827   USPS Issue
1426  1425 10/26/20 8:55:41 10/26/20 8:57:01 anonymous             015418283‐46   301501‐1    Dipasquale          Joseph                  2626 Belmont Ave              Abington, PA 19001            Void Voter Status
1427  1426 10/26/20 8:57:13 10/26/20 8:59:07 anonymous             005728741‐46   150001‐1    Brand               Carolyn                 1029 Lake Lane                Pennsburg, PA 19073           Already C/R
1428  1427 10/26/20 8:57:35 10/26/20 8:59:18 anonymous             107610943‐46   490302‐1    Mak                 Carrie                  P.O. Box 311                  Norristown, PA 19404          USPS Issue
1429  1428 10/26/20 8:59:24 10/26/20 9:01:12 anonymous             005979177‐46   08S01‐1     Mcghee              James                   420 York Rd S UNI 130A        Hatboro, PA 19040             Deceased Ballot;Invalid
1430  1429 10/26/20 8:59:28 10/26/20 9:01:15 anonymous             103859314‐46   160600‐1    Benjamin            Marcus                  N/A                           N/A                           USPS Issue
1431  1430 10/26/20 9:01:17 10/26/20 9:02:27 anonymous             103869467‐46   540502‐1    Gagen               William                 1956 Audubon Dr               Dresher, PA 19024             Incorrect Zipcode
1432  1431 10/26/20 9:01:46 10/26/20 9:03:20 anonymous             005800040‐46   340007‐1    Gordon              Lee                     269 Middle Park Dr            Souderton, PA 18964           Incomplete Declaration
1433  1432 10/26/20 9:02:28 10/26/20 9:04:12 anonymous             009502904‐46   160702‐1    Wheeles             Phillip                 666 Beechwood Ave             Pottstown, PA 19464           Incomplete Declaration
1434  1433 10/26/20 9:03:22 10/26/20 9:05:57 anonymous             107444071‐46   340007‐1    Hill                Zachary                 97 Allentown Rd APT 7         Souderton, PA 18964           Incomplete Declaration
1435  1434 10/26/20 9:04:18 10/26/20 9:06:40 anonymous             010562749‐46   470003‐1    Selders             Amy                     2645 Briana Dr                Pottstown, PA 19464           Incomplete Declaration
1436  1435 10/26/20 9:06:00 10/26/20 9:07:12 anonymous             020679277‐46   110103‐1    Johnson             Keith                   345 Pennbrook Ave             Lansdale, PA 19446            Incomplete Declaration
1437  1436 10/26/20 9:06:42 10/26/20 9:08:08 anonymous             014443056‐46   420004‐1    Kushner             Margeret                2158 Foxtail Drive            Pottstown, PA 19464           Incomplete Declaration
1438  1437 10/26/20 9:07:21 10/26/20 9:08:40 anonymous             005813464‐46   560003‐1    Mokriski            Frank                   23 Derry Dr                   North Wales, PA 194454        Incomplete Declaration
1439  1438 10/26/20 9:08:10 10/26/20 9:09:19 anonymous             021788060‐46   160301‐1    Bailey              Walter                  130 Chestnut Street APT 9     Pottstown, PA 19464           Incomplete Declaration
1440  1439 10/26/20 9:08:45 10/26/20 9:09:54 anonymous             005897202‐46   460001‐1    Silvestri           Joanne                  100 Brookwood Rd              Lansdale, PA 19446            Incomplete Declaration
1441  1440 10/26/20 9:09:22 10/26/20 9:10:19 anonymous             006379567‐46   470003‐1    Seip                Denise                  2414 Lomara Dr                Pottstown, PA 19464           Incomplete Declaration

                                                                                                        Page 32 of 124
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      A            B               C             D       E    F        G            H                I                    J                       K                           L                         M
 1 ID     Start time       Completion time Email       Name NumbeNumber2        Precinct:   Last Name          First name           Address Line 1               Address Line 2             Issue
1442  1441 10/26/20 9:10:00 10/26/20 9:11:08 anonymous           006350699‐46   401303‐1    Melman             Jacob                36 Lodges Ln                 Bala‐Cynwyd, PA 19004      Incomplete Declaration
1443  1442 10/26/20 9:10:21 10/26/20 9:11:10 anonymous           006281714‐46   410100‐1    Sopinsky           Barri                n/a                          n/a                        Incomplete Declaration
1444  1443 10/26/20 9:11:11 10/26/20 9:12:06 anonymous           006333735‐46   520502‐1    Scibelli           Aine                 500 Auburn Ave               Glenside, PA 19038         Incomplete Declaration
1445  1444 10/26/20 9:11:15 10/26/20 9:12:19 anonymous           005953399‐46   401203‐1    Forman             Rhoda                363 Meadow Ln                Merion Station, PA 19066   Incomplete Declaration
1446  1445 10/26/20 9:12:07 10/26/20 9:13:03 anonymous           006415268‐46   61M200‐1    Ramanjulu          Swarna               119 Fox Run Dr               Collegeville, PA 19426     Incomplete Declaration
1447  1446 10/26/20 9:12:26 10/26/20 9:13:22 anonymous           110990203‐46   401201‐1    Leno               Dongxiao             626 Hazelhurst Ave           Merion Station, PA 19066   Incomplete Declaration
1448  1447 10/26/20 9:13:05 10/26/20 9:14:04 anonymous           006002178‐46   310304‐1    Daley              Stephen              1733 W. Cheltenham Ave       Elkins Park, PA 19027      Incomplete Declaration
1449  1448 10/26/20 9:13:29 10/26/20 9:14:33 anonymous           006322591‐46   400101‐1    Morgan             Rachel               503 Brookhurst Ave           Narberth, PA 19072         Incomplete Declaration
1450  1449 10/26/20 9:14:06 10/26/20 9:14:55 anonymous           110879665‐46   520501‐1    Clarkson           Douglas              n/a                          n/a                        Incomplete Declaration
1451  1450 10/26/20 9:14:38 10/26/20 9:15:47 anonymous           015465423‐46   400203‐1    Johnson            Elaine               1655 Oakwood Dr #N‐410       Penn Valley, PA 19072      Incomplete Declaration
1452  1451 10/26/20 9:14:57 10/26/20 9:16:11 anonymous           015501610‐46   520501‐1    Harmon             Leslie               7803 Louise Lane             Glenside PA 19036          Incomplete Declaration
1453  1452 10/26/20 9:15:52 10/26/20 9:16:58 anonymous           005779631‐46   67E02‐1     Chew               Janet                2874 Crest Terrace           Eagleville, PA 19403       Incomplete Declaration
1454  1452 10/26/20 9:15:52 10/26/20 9:16:58 anonymous           005779631‐46   67E02‐1     Chew               Janet                2874 Crest Terrace           Eagleville, PA 19403       Incomplete Declaration
1455  1453 10/26/20 9:16:12 10/26/20 9:17:02 anonymous           014678759‐46   520201‐1    Hamwright          Pamela               9947 Duveen Drive            Glenside, PA 19038         Incomplete Declaration
1456  1454 10/26/20 9:17:04 10/26/20 9:18:00 anonymous           015011335‐46   540503‐1    Joyce              Edward               34 Northview Drive           Glenside PA 19038          Incomplete Declaration
1457  1455 10/26/20 9:17:38 10/26/20 9:19:25 anonymous           109449212‐46   430304‐1    Annino             Agatha               140 Sugartown Rd             Devon, PA 19333            USPS Issue
1458  1456 10/26/20 9:18:03 10/26/20 9:19:41 anonymous           005831213‐46   530201‐1    Flinchbaugh        James                215 Broad St S APT 9         Lansdale, PA 19446         USPS Issue
1459  1457 10/26/20 9:19:31 10/26/20 9:21:24 anonymous           005938944‐46   300301‐1    Scholnick          Bernard              508 Montgomery Ave           Jenkintown, PA 19046       USPS Issue
1460  1458 10/26/20 9:19:43 10/26/20 9:21:26 anonymous           110290878‐46   110102‐1    Leibowitz          Erica                226 Compass Drive            Lansdale, PA 19446         USPS Issue
1461  1459 10/26/20 9:21:28 10/26/20 9:23:15 anonymous           003271161‐46   310303‐1    Dornstreich        Elijah               7902 Rambler Rd              Elkins Park, PA 19027      USPS Issue
1462  1460 10/26/20 9:21:32 10/26/20 9:23:32 anonymous           010152978‐46   400701‐1    George             Steven               1001 City Ave Unit ED 1014   Wynnewood, PA 19096‐3902   USPS Issue
1463  1461 10/26/20 9:23:36 10/26/20 9:26:19 anonymous           003626280‐46   510001‐1    Bishop‐            Walter               1276 Stump Hall Rd           Collegeville, PA 19426     USPS Issue
1464  1462 10/26/20 9:23:17 10/26/20 9:26:33 anonymous           005831144‐46   430202‐1    Foley              Barbara              1110 Wooded Pl               Eagleville, PA 19403       USPS Issue
1465  1463 10/26/20 9:26:24 10/26/20 9:27:55 anonymous           109150567‐46   67W00‐1     Venezuela          Felix                3227 Mill Rd                 Collegeville, PA 19426     USPS Issue
1466  1464 10/26/20 9:26:48 10/26/20 9:28:11 anonymous           021731886‐46   370004‐1    Liacouras          Scott                804 Horseshoe Dr             Royersford, PA 19468       USPS Issue
1467  1465 10/26/20 8:52:11 10/26/20 9:28:45 anonymous           106279723‐46   330104‐1    Kulp               Edward J             3105 Lena Ln                 Norristown, PA 19403       USPS Issue
1468  1466 10/26/20 9:28:12 10/26/20 9:29:22 anonymous           020665462‐46   400603‐1    Shah               Sahil                866 Roscommon Rd             Bryn Mawr, PA 19010        USPS Issue
1469  1467 10/26/20 9:28:04 10/26/20 9:29:28 anonymous           006156595‐46   460006‐1    Breder             Allison              105 Canterbury Ln            Lansdale, PA 19446         USPS Issue
1470  1468 10/26/20 9:29:04 10/26/20 9:30:08 anonymous           103186405‐46   430402‐1    Ahlberg            Alix Lauren          2 Owl Rd                     Audobon, PA 19403          USPS Issue
1471  1469 10/26/20 9:29:26 10/26/20 9:30:32 anonymous           110746734‐46   401103‐1    Bakhos             Charles              1028 Broadmoor Rd            Bryn Mawr PA 19010         USPS Issue
1472  1470 10/26/20 9:30:10 10/26/20 9:31:07 anonymous           104237593‐46   430204‐1    Zerbe              Tiffany Marie        3005 Concord Cir             Eagleville, PA 19403       USPS Issue
1473  1471 10/26/20 9:30:35 10/26/20 9:31:28 anonymous           109263411‐46   630102‐1    Mcclain            Jalea                702 Stonybrook Dr            East Norriton PA 19403     USPS Issue
1474  1472 10/26/20 9:31:09 10/26/20 9:32:08 anonymous           006355724‐46   370004‐1    Roberts            Nicole R             606 Fox Croft Cir            Royersford, PA 19468       USPS Issue
1475  1473 10/26/20 9:31:30 10/26/20 9:32:44 anonymous           005943646‐46   430203‐1    Margolis           Robert               7009 Windswept Lane          Eagleview, PA 19403        USPS Issue
1476  1474 10/26/20 9:32:10 10/26/20 9:33:04 anonymous           021235930‐46   370002‐1    Cohen              Israel Benjamin      510 Deer Run Ct              Limerick, PA 19468         USPS Issue
1477  1475 10/26/20 9:32:46 10/26/20 9:34:10 anonymous           005943648‐46   430203‐1    Margolis           Marcia               7009 Windswept Lane          Eagleview, PA 19043        USPS Issue
1478  1476 10/26/20 9:30:59 10/26/20 9:38:13 anonymous           003300393‐46   540301‐1    Katz               Stacy                5402 Centennial State        Warminster, PA 18974       USPS Issue
1479  1477 10/26/20 9:33:06 10/26/20 9:38:30 anonymous           006012816‐46   590502‐1    Earnest            Tara M               117 Susan Dr                 Elkins Park, PA 19027      USPS Issue
1480  1478 10/26/20 9:38:32 10/26/20 9:39:15 anonymous           006406929‐46   310303‐46   Ko                 Janet Jinyoung       624 Spring Ave               Elkins Park, Pa 19027      USPS Issue
1481  1479 10/26/20 9:38:17 10/26/20 9:39:56 anonymous           003269892‐46   540301‐1    Katz               Robert               5402 Centennial Station Dr   Warminster, PA 18974       USPS Issue
1482  1480 10/26/20 9:39:16 10/26/20 9:40:05 anonymous           107282227‐46   310303‐1    McAllister         Kameren              1719 Ashbourne Rd            Elkins Park, 19027         USPS Issue
1483  1481 10/26/20 9:40:01 10/26/20 9:41:15 anonymous           020748145‐46   540301‐1    Katz               Justin               5402 Centennial Station Dr   Warminster, PA 18974       USPS Issue
1484  1482 10/26/20 9:40:06 10/26/20 9:41:18 anonymous           106808567‐46   310404‐1    Silberman          Marielle Elizabeth   259 Bent Rd N                Wyncote, PA 19095          USPS Issue
1485  1483 10/26/20 9:41:19 10/26/20 9:42:20 anonymous           109391962‐46   67E03‐1     Mendis             Nevin Hansaka        1715 Hollow Rd               Collegeville, PA 19426     USPS Issue
1486  1484 10/26/20 9:41:21 10/26/20 9:42:37 anonymous           103647555‐46   540301‐1    Katz               Jared                5402 Centennial Station Dr   Warminster, PA 18974       USPS Issue

                                                                                                     Page 33 of 124
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      A             B                C             D       E    F        G            H                I                    J                           K                                L                         M
 1 ID      Start time        Completion time Email       Name NumbeNumber2        Precinct:   Last Name           First name             Address Line 1                    Address Line 2              Issue
1487  1485 10/26/20 9:42:21 10/26/20 9:43:10 anonymous             009434762‐46   430304‐1    Smith               Janet E                22218 Shannondell Dr              Audobon, PA 19403           USPS Issue
1488  1486 10/26/20 9:42:44 10/26/20 9:44:07 anonymous             106745927‐46   401003‐1    Rosen               Alana                  69 South Merion Ave               Bryn Mawr, PA 19010         USPS Issue
1489  1487 10/26/20 9:43:13 10/26/20 9:44:14 anonymous             021032987‐46   430202‐1    Clifford            James William          1110 Wooded Pl                    Eagleville, PA 19403        USPS Issue
1490  1488 10/26/20 9:44:12 10/26/20 9:45:25 anonymous             014593726‐46   310401‐1    Holder              Bobbie                 1990 Ashbourne Rd APT 111         Elkins Park, PA 19027       USPS Issue
1491  1489 10/26/20 9:44:16 10/26/20 9:48:36 anonymous             005969216‐46   530201‐1    Roberts             Edward H               125 Misty Meadow Ln               Lansdale, PA 19446          USPS Issue
1492  1490 10/26/20 9:48:37 10/26/20 9:49:27 anonymous             020817410‐46   37005‐1     Damato              Robert J               49 Metka Rd                       Limerick, PA 19468          USPS Issue
1493  1491 10/26/20 9:49:29 10/26/20 9:50:22 anonymous             107603745‐46   630201‐1    Guy                 Emani K                25 Evergreen Rd                   Norristown, PA 19403        USPS Issue
1494  1492 10/26/20 9:48:55 10/26/20 9:50:26 anonymous             103056452‐46   430304‐1    Tokar               Judith Anne Bolkema    12406 Shannondell Dr              Audubon, PA 19403           USPS Issue
1495  1493 10/26/20 9:50:23 10/26/20 9:51:16 anonymous             020931898‐46   330103‐1    Plentus             Kristin Dithmer        907 Caralea Dr                    East Norriton, PA 19403     USPS Issue
1496  1494 10/26/20 9:50:30 10/26/20 9:51:31 anonymous             009418956‐46   430304‐1    Stern               Joan                   21503 Shannondell Dr              Audubon, PA 19403           USPS Issue
1497  1495 10/26/20 9:51:17 10/26/20 9:52:13 anonymous             003381870‐46   430204‐1    Szelagowski         LT                     3419 Theresa St                   Eagleville, PA 19403        USPS Issue
1498  1496 10/26/20 9:51:39 10/26/20 9:52:38 anonymous             005872779‐46   430304‐1    Carroll             Robert                 14107 Shannondell Dr              Audubon, PA 19403           USPS Issue
1499  1497 10/26/20 9:52:42 10/26/20 9:54:13 anonymous             005923364‐46   430304‐1    Hunn                Margaret               21507 Shannondell Dr              Audubon, PA 19403           USPS Issue
1500  1498 10/26/20 9:54:17 10/26/20 9:55:16 anonymous             110837429‐46   560006‐1    Aaronson            Risa                   138 State St                      Lansdale, PA 19446          USPS Issue
1501  1499 10/26/20 9:55:20 10/26/20 9:56:25 anonymous             021235631‐46   560006‐1    Aaronson            Steven                 138 State St                      Lansdale, PA 19446          USPS Issue
1502  1500 10/26/20 9:52:14 10/26/20 9:56:49 anonymous             005798447‐46   630401‐1    McMonigle           Susan                  202 Brandon Rd                    Norristown, PA 19403        Incomplete Declaration
1503  1501 10/26/20 9:56:53 10/26/20 9:57:30 anonymous             107635201‐46   660009‐1    Gaines              Jeffrey                1807 Cherrie Cir                  Blue Bell, PA 19422         Incomplete Declaration
1504  1502 10/26/20 9:57:31 10/26/20 9:58:08 anonymous             110024463‐46   400602‐1    Pierson             Michael Anthony John   1523 Willowbrook Lane             Villanova, PA 19085         Incomplete Declaration
1505  1503 10/26/20 9:58:10 10/26/20 9:58:40 anonymous             005909481‐46   58GUL01‐1   McGowen             John R                 647 Coates Ln                     King of Prussia, PA 19406   Incomplete Declaration
1506  1504 10/26/20 9:58:42 10/26/20 10:17:41 anonymous            103188598‐46   440001‐1    Dronson             Mariel B               161 Badman Rd                     Green Lane, PA 18054        USPS Issue
1507  1505 10/26/20 9:34:11 10/26/20 10:18:17 anonymous            021827433‐46   590502‐1    Henry               Govan                  700 Lower State Road              North Wales, PA 19454       USPS Issue
1508  1506 10/26/20 9:57:25 10/26/20 10:18:21 anonymous            006043146‐46   060001‐1    Sallada             Tina                   706 Valley Rd                     East Greenville, PA 18041   USPS Issue
1509  1507 10/26/20 10:17:42 10/26/20 10:18:28 anonymous           006038576‐46   540601‐46   McMillan            Marla K                1510 Foxbury Rd                   Ambler, PA 19002            USPS Issue
1510  1508 10/26/20 10:18:29 10/26/20 10:19:09 anonymous           005979688‐46   400502‐1    Cook                Maxine                 n/a                               105 Llanfair Rd             USPS Issue
1511  1509 10/26/20 10:18:18 10/26/20 10:19:29 anonymous           107566187‐46   310701‐1    Griffin             Jamir                  n/a                               n/a                         USPS Issue
1512  1510 10/26/20 10:19:33 10/26/20 10:20:51 anonymous           020680224‐46   550001‐1    Grubawsky           Ellen                  3441 Westview Drive               Perkiomenville PA 18074     USPS Issue
1513  1511 10/26/20 10:18:32 10/26/20 10:21:17 anonymous           015442421‐46   370004‐1    Parker              Blair                  807 Chapel Rd                     Royersford, PA 19468        USPS Issue
1514  1512 10/26/20 10:21:28 10/26/20 10:23:23 anonymous           021371622‐46   520101‐1    Eldridge            Lariese                9801 Germantown Pike P.O. Box 408 Lafayette Hill, PA 19444    USPS Issue
1515  1513 10/26/20 10:20:53 10/26/20 10:38:13 anonymous           109217086‐46   560001‐1    Pluck               Ryan                   658 Norwood Circle                North Wales, Pa 19454       USPS Issue
1516  1514 10/26/20 10:30:12 10/26/20 10:38:26 anonymous           107845592‐46   401302‐1    Levitt              Haley                  25 Amherst Rd W.                  Bala‐Cynwyd, PA 19004       USPS Issue
1517  1515 10/26/20 10:38:15 10/26/20 10:40:26 anonymous           005973239‐46   320003‐1    Stafy               Joan                   165 Smith Rd                      Gilbertsville, PA 19525     USPS Issue
1518  1516 10/26/20 10:38:32 10/26/20 10:40:30 anonymous           109795322‐46   400402‐1    Wada                Griffin                24 Cricket Ave APT 809            Ardmore, PA 19003           USPS Issue
1519  1517 10/26/20 10:19:11 10/26/20 10:40:36 anonymous           005688022‐46   410402‐1    Weiner              Steven L               132 Roy Ln                        Huntingdon Vly, PA 19006    Name disconnect
1520  1518 10/26/20 10:40:31 10/26/20 10:41:35 anonymous           005973238‐46   320003‐1    Stafy               Louis                  165 Smith Rd                      Gilbertsville, PA 19525     USPS Issue
1521  1519 10/26/20 10:40:38 10/26/20 10:41:40 anonymous           020919995‐46   400401‐1    Nally               David Lawrence         141 Cricket Ave Apt 2             Ardmore, PA 19003           USPS Issue
1522  1520 10/26/20 10:40:44 10/26/20 10:42:17 anonymous           109024820‐46   460003‐1    Kwoun               Stella                 125 Sterling Dr                   North Wales, PA 19454       USPS Issue
1523  1521 10/26/20 10:41:42 10/26/20 10:42:41 anonymous           00620356‐46    230001‐1    Bordeleau           Sean                   60 North Boro Line Rd             Trappe, PA 19426            USPS Issue
1524  1522 10/26/20 10:41:36 10/26/20 10:48:06 anonymous           010152673‐46   180001‐1    Abrams              Irv                    116 Elm Ave                       Jenkintown, PA 19046        No secrecy envelope
1525  1523 10/26/20 10:42:43 10/26/20 10:58:51 anonymous           006356016‐46   61T00‐1     Stafford            Luke P                 400 Bridge St Apt 1               Phoenixville, PA 19460      USPS Issue
1526  1524 10/26/20 10:46:11 10/26/20 10:59:39 anonymous           020883509‐46   401201‐1    Fine                Rachel                 139Wynnewood Rd E.                Merion Station, PA 19066    USPS Issue
1527  1525 10/26/20 10:58:53 10/26/20 11:00:20 anonymous           009677724‐46   61O00‐1     Throm               Robert B Sr            456 Peters Way                    Phoenixville, PA 19460      USPS Issue
1528  1526 10/26/20 10:59:57 10/26/20 11:01:23 anonymous           109310030‐46   570001‐1    Meyer               Laura                  1098 Rosemont Ter                 Pennsburg, PA 18073         USPS Issue
1529  1527 10/26/20 11:00:22 10/26/20 11:01:40 anonymous           102897939‐46   61O00‐1     Barnes              Kelly J                11 Brandon Cir                    Phoenixville, PA 19460      USPS Issue
1530  1528 10/26/20 11:01:42 10/26/20 11:02:46 anonymous           102901526‐46   61O00‐1     Barnes              Stephen M              11 Brandon Cir                    Phoenixville, PA 19460      USPS Issue
1531  1529 10/26/20 11:01:40 10/26/20 11:03:13 anonymous           109081425‐46   310602‐1    Jui                 Farhana                3132 Brookview Pl                 Elkins Park, PA 19027       USPS Issue

                                                                                                        Page 34 of 124
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      A             B                C             D       E    F        G            H                I                     J                   K                               L                         M
 1 ID      Start time        Completion time Email       Name NumbeNumber2        Precinct:   Last Name           First name       Address Line 1                  Address Line 2              Issue
1532  1530 10/26/20 11:02:51 10/26/20 11:03:55 anonymous           006385883‐46   300401‐1    Rosen               Naomi            1808 Valley Glen Rd             Elkins Park, PA 19027       USPS Issue
1533  1531 10/26/20 11:03:22 10/26/20 11:07:40 anonymous           021312351‐46   660001‐1    Yobbagy             Amanda           None                            None                        Damaged
1534  1532 10/26/20 11:07:53 10/26/20 11:09:17 anonymous           006116919‐46   61M200‐1    Hunsberger          Dorothy          179 Providence Forge            Royersford, PA 19468        Damaged
1535  1533 10/26/20 11:09:50 10/26/20 11:11:22 anonymous           105338493‐46   100400‐1    Forte               Sabrina          413 West Ave REA B              Jenkintown, PA 19046        Damaged
1536  1534 10/26/20 11:15:19 10/26/20 11:17:24 anonymous           103721820‐46   130401‐1    Long                Linda            330 Walnut St                   Norristown, PA 19401        USPS Issue
1537  1535 10/26/20 11:17:39 10/26/20 11:20:44 anonymous           103056364‐46   430304‐1    Tokar               John             12406 Shannondell Dr            Audubon, PA 19403           USPS Issue
1538  1536 10/26/20 11:20:52 10/26/20 11:22:16 anonymous           006266077‐46   400402‐1    Ackies              Harriet          75 Admore Ave K3 0              Ardmore, PA 19003           USPS Issue
1539  1537 10/26/20 11:22:26 10/26/20 11:24:08 anonymous           005881928‐46   130101‐1    Bell                Loretta          PO Box 86                       Norristown, PA 19404        USPS Issue
1540  1538 10/26/20 11:03:57 10/26/20 11:25:27 anonymous           108409608‐46   510003‐1    Della Paolera       Elisabeth        4357 Annandale Dr               Schwenksville, PA 19473     Incomplete Declaration
1541  1539 10/26/20 10:48:08 10/26/20 11:25:38 anonymous           005766304‐46   301103‐1    Beville             Leo              1090 Highland Ave               Abington, PA 19001          No secrecy envelope
1542  1540 10/26/20 11:24:18 10/26/20 11:25:55 anonymous           006092291‐46   310303‐1    Wik                 Timothy          PO Box 311                      Norristown, PA 19404        USPS Issue
1543  1541 10/26/20 11:25:28 10/26/20 11:26:15 anonymous           006184547‐46   65M04‐1     Flaherty            Suzanne H        4144 Dashua Rd                  Lafayette Hill, PA 19444    Incomplete Declaration
1544  1542 10/26/20 11:26:17 10/26/20 11:27:04 anonymous           102507989‐46   58ROB00‐1   Shope               Robert H         1010 Winsome Ct                 Wayne, PA 19087             Incomplete Declaration
1545  1543 10/26/20 11:27:06 10/26/20 11:27:37 anonymous           006091562‐46   440001‐1    Schmidenberg        Henry            112 Diet Mill Rd S              Telford, PA 18969           Incomplete Declaration
1546  1544 10/26/20 11:26:09 10/26/20 11:28:02 anonymous           109136706‐46   160500‐1    Minor               Riley            939 Washington St N.            Pottstown, PA 19464         USPS Issue
1547  1545 10/26/20 11:27:39 10/26/20 11:28:27 anonymous           006240660‐46   301301‐1    Henry               Tiana Nicole     2318 Rosemore Ave Apt I‐21      Glenside, PA 19038          Incomplete Declaration
1548  1546 10/26/20 11:28:55 10/26/20 11:29:45 anonymous           016134496‐46   310504‐1    Stevens             Stephanie        245 Barclay Circle              ‐                           Incomplete Declaration
1549  1547 10/26/20 11:28:08 10/26/20 11:29:59 anonymous           021292326‐46   500001‐1    Alam                Sophia           706 Scenic Dr                   Harleysville, PA 19438      USPS Issue
1550  1548 10/26/20 11:29:48 10/26/20 11:30:12 anonymous           021345360‐46   310601‐1    Davis               Jeffrey          ‐                               ‐                           Incomplete Declaration
1551  1549 10/26/20 11:30:14 10/26/20 11:30:54 anonymous           020620797‐46   300202‐1    Cipolloni           Rita M           1551 Huntingdon Pike Apt BL15   Huntingdon Vly, PA 19006    Incomplete Declaration
1552  1550 10/26/20 11:30:11 10/26/20 11:32:04 anonymous           110055981‐46   360105‐1    Crisanta Alvarado   Carla Vanessa    213 Maple Ave APT I130          Horsham, PA 19044           USPS Issue
1553  1551 10/26/20 11:30:57 10/26/20 11:32:48 anonymous           010026510‐46   300703‐1    Sell                James Stevens    1733 Cloverly Ave               Jenkintown, PA 19046        Incomplete Declaration
1554  1552 10/26/20 11:32:50 10/26/20 11:33:35 anonymous           107947794‐46   350102‐1    Sharma              Vinata           1152 Stoneham City              Hatfield, PA 19440          Incomplete Declaration
1555  1553 10/26/20 11:32:20 10/26/20 11:33:51 anonymous           006361057‐46   380002‐1    Boehret             Justin           51 Cepp Rd                      Perkiomenville, PA 18074    USPS Issue
1556  1554 10/26/20 11:33:37 10/26/20 11:34:14 anonymous           006079697‐46   520203‐1    Simes               Elizabeth I      551 Evergreen Ave E, 205B       Glenside, PA 19038          Incomplete Declaration
1557  1555 10/26/20 11:34:16 10/26/20 11:34:47 anonymous           015815840‐46   360203‐1    Mosler              Mary A           328 Chesnut Lane                Ambler, PA 19002            Incomplete Declaration
1558  1556 10/26/20 11:34:49 10/26/20 11:35:34 anonymous           103182789‐46   350102‐1    Sharma              Kamal Kishore    1152 Stoneham City              Hatfield, PA 19440          Incomplete Declaration
1559  1557 10/26/20 11:33:56 10/26/20 11:35:37 anonymous           109029589‐46   401301‐1    Segal               Hunter           65 E Elizabeth Ave APT 1001     Bethlehem, PA 18018‐6518    USPS Issue
1560  1558 10/26/20 11:35:38 10/26/20 11:36:16 anonymous           015400660‐46   310601‐1    Erwin               Tiffany D        367 Church Rd                   Elkins Park, PA 19027       Incomplete Declaration
1561  1559 10/26/20 11:36:19 10/26/20 11:37:26 anonymous           110591725‐46   500006‐1    Dreps               Robin C          646 Store Rd                    Harleysville, PA 19438      Incomplete Declaration
1562  1560 10/26/20 11:35:53 10/26/20 11:37:28 anonymous           006379423‐46   400804‐1    Rheingans           Mary Lynn        126 E Athens Ave                Ardmore, PA 19003‐2821      USPS Issue
1563  1561 10/26/20 11:37:45 10/26/20 11:40:30 anonymous           103394220‐46   400602‐1    Robinson            Tori             2643 Veteran Ave                Los Angeles, CA 90064       USPS Issue
1564  1562 10/26/20 11:25:39 10/26/20 11:43:48 anonymous           110605022‐46   210200‐1    Leavy               Matthew          211 Noble Street                Souderton, PA 18964         Incomplete Declaration
1565  1563 10/26/20 11:43:58 10/26/20 11:45:09 anonymous           009980135‐46   400903‐1    Hamilton            Barry C          50 Belmont Ave Apt 511          Bala‐Cynwyd, PA 19004       Incomplete Declaration
1566  1564 10/26/20 11:43:49 10/26/20 11:45:44 anonymous           005932764‐46   590301‐1    Adams               Jonathan         409 Canton Rd APT. H4           Willow Grove, PA 19020      Incomplete Declaration
1567  1565 10/26/20 11:45:13 10/26/20 11:45:51 anonymous           005702298‐46   300703‐1    Weidman             Lisa Ann         918 Woodcrest Rd                Abington, PA 19001          Incomplete Declaration
1568  1566 10/26/20 11:45:52 10/26/20 11:46:39 anonymous           005880158‐46   470002‐1    Kingsepp            William M        2708 Forest Rd                  Gilbertsville, PA 19525     Incomplete Declaration
1569  1567 10/26/20 11:45:45 10/26/20 11:46:48 anonymous           005801787‐46   590301‐1    Godshall            Micheal          409 Easton Rd APT H4            Willow Grove, PA 19090      Incomplete Declaration
1570  1568 10/26/20 11:45:13 10/26/20 11:47:18 anonymous           104192823‐46   450001‐1    Cocks               Adrianna         4025 E Campbell Rd              Pennsburg PA 18073‐2505     USPS Issue
1571  1569 10/26/20 11:46:41 10/26/20 11:47:22 anonymous           108682606‐46   58KIN02‐1   Garza Tello         Caludia Isabel   266 Wendy Way Apt 316           King of Prussia, PA 19406   Incomplete Declaration
1572  1570 10/26/20 11:46:49 10/26/20 11:47:32 anonymous           003629358‐46   590201‐1    Rosen               Renee            3855 Blairhill Rd               Horsham, PA 19044           Incomplete Declaration
1573  1571 10/26/20 11:47:26 10/26/20 11:48:47 anonymous           104260185‐46   450001‐1    Cocks               Aaron            4025 E Campbell Rd              Pennsburg, PA 18073‐2505    USPS Issue
1574  1572 10/26/20 11:47:24 10/26/20 11:48:50 anonymous           109581281‐46   400603‐1    Michelis            Joyce            742 Mount Moro Rd               Villanova, PA 19085         Incomplete Declaration
1575  1573 10/26/20 11:47:34 10/26/20 11:49:35 anonymous           006284285‐46   160500‐1    Boyer               Gladys           n/a                             n/a                         Incomplete Declaration
1576  1574 10/26/20 11:48:51 10/26/20 11:49:49 anonymous           103155410‐46   360103‐1    Samuel              Ajeena Rachel    390 W Moreland Ave              Hatboro, PA 19040           Incomplete Declaration

                                                                                                        Page 35 of 124
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      A             B                C             D       E    F        G             H               I                   J                       K                              L                           M
 1 ID      Start time        Completion time Email       Name NumbeNumber2         Precinct:   Last Name         First name          Address Line 1                 Address Line 2                Issue
1577  1575 10/26/20 11:48:51 10/26/20 11:50:43 anonymous           021888464‐46    570001‐1    Poku‐Adjei        Jeffrey             1036 Runaway Dr                Pennsburg, PA 18073‐1649      USPS Issue
1578  1576 10/26/20 11:49:47 10/26/20 11:52:00 anonymous           006049384‐46    67W00‐1     Truong            Thoai               n/a                            n/a                           Incomplete Declaration
1579  1577 10/26/20 11:49:51 10/26/20 11:53:09 anonymous           021256814‐46    660005‐1    Noble             James               ‐                              ‐                             Incomplete Declaration
1580  1578 10/26/20 11:50:50 10/26/20 11:53:16 anonymous           015048337‐46    460007‐1    Campbell          Dolores             897 Collier Court, APT 601     Marco Island Florida 34145    USPS Issue
1581  1579 10/26/20 11:53:12 10/26/20 11:53:57 anonymous           006018176‐46    630301‐1    Howell            Lonnie              850 Mystic Ln                  Norristown, PA 19403          Incomplete Declaration
1582  1580 10/26/20 11:53:59 10/26/20 11:54:45 anonymous           005983204‐46    520202‐1    Scott             Pearly M            8717 Marshall Rd               Glenside, PA 19038            Incomplete Declaration
1583  1581 10/26/20 11:52:22 10/26/20 11:54:47 anonymous           005688135‐46    410600‐1    Feldman           Janice              1042 Thrush Lane               Huntingdon Valley, PA 19006   Incomplete Declaration
1584  1582 10/26/20 11:53:20 10/26/20 11:54:48 anonymous           109937035‐46    050300‐1    Siani             Trevor              12 Zalema Court                Sacramento, CA 95834          USPS Issue
1585  1583 10/26/20 11:54:50 10/26/20 11:55:24 anonymous           006163567‐46    390202‐1    Gilje             Krista L            109 Culpepper Dr               Blue Bell, PA 19422           Incomplete Declaration
1586  1584 10/26/20 11:55:25 10/26/20 11:55:59 anonymous           006018312‐46    330101‐1    Bitler            Connie L            555 Barbara Dr                 Noristown, PA 19403           Incomplete Declaration
1587  1585 10/26/20 11:54:51 10/26/20 11:56:08 anonymous           006176248‐46    590702‐1    Feinberg          Jeffrey             2595 Pioneer Rd                Hatboro PA 19040              Incomplete Declaration
1588  1586 10/26/20 11:54:53 10/26/20 11:56:22 anonymous           110746314‐46    360102‐1    Flynn             Daniel              219 Oak Hill Dr                Hatboro, PA 19040             USPS Issue
1589  1587 10/26/20 11:56:00 10/26/20 11:56:43 anonymous           005929455‐46    530301‐1    Wendig            Robert E            737 Spring Ln                  Lansdale, PA 19446‐6231       Incomplete Declaration
1590  1588 10/26/20 11:56:14 10/26/20 11:56:57 anonymous           006075053‐46    360102‐1    Ide               Robert              114 Clayton Rd                 Hatboro, PA 19040             Incomplete Declaration
1591  1589 10/26/20 11:56:48 10/26/20 11:57:18 anonymous           021400807‐46    640001‐1    Goggins           Marvin Ray          ‐                              ‐                             Incomplete Declaration
1592  1590 10/26/20 11:56:26 10/26/20 11:58:56 anonymous           021534371‐46    360104‐1    Piede             Tyler               524 Buckman Dr                 Hatboro, PA 19040             USPS Issue
1593  1591 10/26/20 11:57:20 10/26/20 11:59:07 anonymous           006073903‐46    160500‐1    Dudek             Joseph B            1104 N Charlotte St            Pottstown, PA 19464           Incomplete Declaration
1594  1592 10/26/20 11:56:59 10/26/20 11:59:09 anonymous           006318936‐46    590702‐1    Feinberg          Eva                 006318936‐46                   590702‐1                      Incomplete Declaration
1595  1593 10/26/20 11:59:09 10/26/20 11:59:51 anonymous           010115616‐46    58GUL02‐1   Walsh             Susan Rittenhouse   225 Kookout Pl                 Wayne, PA 19087               Incomplete Declaration
1596  1594 10/26/20 11:59:52 10/26/20 12:00:35 anonymous           103182769‐46    350102‐1    Sharm             Kuldeep             1152 Stoneham Cir              Hatfield, PA 19440            Incomplete Declaration
1597  1595 10/26/20 11:59:12 10/26/20 12:00:47 anonymous           006075052‐46    360102‐1    Ide               Renald              114 Clayton Rd                 Hatboro, PA 19040             Incomplete Declaration
1598  1596 10/26/20 12:00:42 10/26/20 12:02:03 anonymous           110837404‐46    350102‐1    Sharma            Chanda D            1152 Stoneham Cir              Hatfield, PA 19440            Incomplete Declaration
1599  1597 10/26/20 11:59:03 10/26/20 12:02:29 anonymous           103679742‐46    590501‐1    Whelan            Sarah               309 Hampton Rd                 Hatboro, PA 19040‐4447        USPS Issue
1600  1598 10/26/20 12:02:07 10/26/20 12:04:39 anonymous           010648587‐46    500001‐1    Supplee           Doris               695 Main St Apt 242            Harleysville, PA 19438        Incomplete Declaration
1601  1599 10/26/20 12:01:23 10/26/20 12:05:16 anonymous           110062467‐46    400203‐1    Manzanares        Marilyn             1650 Oakwood Dr APT E303       Narberth, PA 19072            Incomplete Declaration
1602  1600 10/26/20 12:04:41 10/26/20 12:06:03 anonymous           006098972‐46    160400‐1    Becker            Joanne              321 N Hanover St Apt 51        Pottstown, PA 19464           Incomplete Declaration
1603  1601 10/26/20 12:05:22 10/26/20 12:06:54 anonymous           109702303‐46    510001‐1    Wollman           Timothy             n/a                            n/a                           Incomplete Declaration
1604  1602 10/26/20 12:06:12 10/26/20 12:08:06 anonymous           006022718‐46    401103‐1    Spivak            Marcia              824 Mount Pleasant Rd          Bryn Mawr, PA 19010           Incomplete Declaration
1605  1603 10/26/20 12:07:08 10/26/20 12:08:51 anonymous           005821526‐46    530303‐1    Linderman         Pamela              503 Monroe Dr                  Harleysville, PA 19438        Incomplete Declaration
1606  1604 10/26/20 12:08:08 10/26/20 12:08:55 anonymous           015596329‐46    590402‐1    Diaz              Sandra              2501 Maryland Rd Apt 19        Willow Grove, PA 19090        Incomplete Declaration
1607  1605 10/26/20 12:08:59 10/26/20 12:09:43 anonymous           006124417‐46    310504‐1    McInerney         Nial P              7622 Brookfield Rd             Cheltenham, PA 19012          Incomplete Declaration
1608  1606 10/26/20 12:07:35 10/26/20 12:09:44 anonymous           006021548‐46    490303‐1    White             Gary                666 Germantown Pike W APT 2208 Plymouth Meeting, PA 19462    USPS Issue
1609  1607 10/26/20 12:08:55 10/26/20 12:10:25 anonymous           103761787‐46    530303‐1    Pizzo             Joseph              211 Green Bank Way             Harleysville, PA 19438        Incomplete Declaration
1610  1608 10/26/20 12:09:44 10/26/20 12:10:45 anonymous           110602843‐46    65M04‐1     Tenaglio          Andrew              4064 Oak Lane                  Lafayette Hill, PA 19444      Incomplete Declaration
1611  1609 10/26/20 12:10:26 10/26/20 12:11:13 anonymous           021318688‐46    360302‐1    Horsch            Karl                n/a                            n/a                           Incomplete Declaration
1612  1610 10/26/20 12:09:50 10/26/20 12:11:45 anonymous           107284147‐46    400402‐1    Grandis           Benjamin            28 Lancaster Ave E, APT B1     Ardmore, PA 19003             USPS Issue
1613  1611 10/26/20 12:10:46 10/26/20 12:11:55 anonymous           006053359‐46    490402‐1    Langerman         Stephen Charles     1860 Butler Pike               Conshohocken, PA 19428        No secrecy envelope
1614  1612 10/26/20 12:11:18 10/26/20 12:12:28 anonymous           0006334876‐46   460004‐1    Delatorre         Miguel              2033 Rosebay Ct                North Wales, PA 19454         Incomplete Declaration
1615  1613 10/26/20 12:11:56 10/26/20 12:12:34 anonymous           005919475‐46    370001‐1    Novak             Shirleyann          60 W Linfield Trappe Rd        Royersford, PA 19468          Incomplete Declaration
1616  1614 10/26/20 12:11:53 10/26/20 12:13:07 anonymous           021361146‐46    400402‐1    Clary             Andrew              28 Lancaster Ave E APT B1      Ardmore, PA 19003             USPS Issue
1617  1615 10/26/20 12:12:36 10/26/20 12:13:16 anonymous           021761201‐46    58GUL01‐1   Harlee            Chauncey            701 Edgewood Rd                King of Prussia, PA 19406     Incomplete Declaration
1618  1616 10/26/20 12:12:29 10/26/20 12:13:30 anonymous           006334876‐46    460004‐1    Delatorre         Miguel              2033 Rosebay Ct                North Wales, PA 19454         No secrecy envelope
1619  1617 10/26/20 12:13:17 10/26/20 12:13:50 anonymous           110682823‐46    150001‐1    Chan              Joseph              701 Penn St                    Pennsburg, PA 18073           Incomplete Declaration
1620  1618 10/26/20 12:13:12 10/26/20 12:14:26 anonymous           006056245‐46    630401‐1    Hoisington        Elva                634 Portside LN                Edgewater, FL 32141           USPS Issue
1621  1619 10/26/20 12:13:32 10/26/20 12:14:30 anonymous           021445138‐46    110102‐1    Ripa              Sonia               820 Cherry St                  Lansdale, PA 19446            Incomplete Declaration

                                                                                                       Page 36 of 124
                                                                      Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 37 of 124


      A             B                C             D       E    F        G             H              I                   J                      K                               L                        M
 1 ID      Start time        Completion time Email       Name NumbeNumber2        Precinct:   Last Name         First name         Address Line 1                 Address Line 2              Issue
1622  1620 10/26/20 12:13:51 10/26/20 12:15:03 anonymous           102516749‐46   100200‐1    Forman            Nina M             100 West Ln                    Jenkintown, PA 19046        Incomplete Declaration
1623  1621 10/26/20 12:15:04 10/26/20 12:16:12 anonymous           005878893‐46   500005‐1    Nolthenius        Agatha             965 Cressman Rd                Schwenksville, PA 19473     Incomplete Declaration
1624  1622 10/26/20 12:14:31 10/26/20 12:16:34 anonymous           006112123‐46   560004‐1    Tatem             Thomas             2407 Brittany Point            Lansdale, PA 19446          Incomplete Declaration
1625  1623 10/26/20 12:14:29 10/26/20 12:16:46 anonymous           006010021‐46   440001‐1    Hartshorne        Charles            136 Dietz Mill Rd S            Telford, PA 18969           USPS Issue
1626  1624 10/26/20 12:16:36 10/26/20 12:17:25 anonymous           110469487‐46   590501‐1    Sotillo           Gabriella          103 Newington Drive            Hatboro, PA 19040           Incomplete Declaration
1627  1625 10/26/20 12:17:26 10/26/20 12:18:53 anonymous           005847810‐46   060001‐1    Wellheuser        Patricia           521 Colonial Drive             East Greenville, PA 18041   Incomplete Declaration
1628  1626 10/26/20 12:18:54 10/26/20 12:19:44 anonymous           109066738‐46   530101‐1    Burnham           Patrick            579 Weikel Rd                  Lansdale, PA 19446          Incomplete Declaration
1629  1627 10/26/20 12:19:45 10/26/20 12:20:51 anonymous           020755104‐46   380002‐1    Foley             Patrick            1473 A Gravel Pike N           Perkiomenville, PA 18074    Incomplete Declaration
1630  1628 10/26/20 12:17:04 10/26/20 12:22:04 anonymous           005788426‐46   440001‐1    Rose              Mary               16 Barndt Rd                   Telford, PA 18969           Damaged
1631  1629 10/26/20 12:16:15 10/26/20 12:22:11 anonymous           005706674‐46   330203‐1    Dixon             Anthoney Bernard   2920 Hannah Ave Apt            Norristown, 19401           No secrecy envelope
1632  1630 10/26/20 12:22:08 10/26/20 12:23:40 anonymous           005765037‐46   440001‐1    Diaz              Rosendo            198 Moyer Rd                   Telford, PA 18969           Damaged
1633  1631 10/26/20 12:20:53 10/26/20 12:23:44 anonymous           014399806‐46   301103‐1    Harper            Aisha              1931 Guernsey Ave              Abington, PA 19001          Incomplete Declaration
1634  1632 10/26/20 12:22:27 10/26/20 12:23:54 anonymous           020884981‐46   590202‐1    Bissoo            Ezekiel            2512 Dorothy St                Hatboro, PA 19040           Incomplete Declaration
1635  1633 10/26/20 12:23:47 10/26/20 12:25:10 anonymous           006058440‐46   450001‐1    Hafler            Jacqueline         4814 Gravel Pike               Perkiomenville, PA 18074    USPS Issue
1636  1634 10/26/20 12:23:48 10/26/20 12:26:01 anonymous           110585497‐46   08N02‐1     Flynn             Geraldine          432 Madison Ave                Hatboro, PA 19040           Incomplete Declaration
1637  1635 10/26/20 12:25:15 10/26/20 12:26:18 anonymous           006052376‐46   450001‐1    Hafler            Gar                4814 Gravel Pike               Perkiomenville, PA 18074    Damaged
1638  1636 10/26/20 12:26:28 10/26/20 12:28:02 anonymous           006037864‐46   450001‐1    Sell              Audrey             5957 Upper Ridge Rd            Pennsburg, PA 18073         Damaged
1639  1637 10/26/20 12:23:58 10/26/20 12:28:42 anonymous           104314334‐46   401002‐1    Chapkis           Natalie Cecily     432 Rose Ln N                  Haverford, PA 19041         USPS Issue
1640  1638 10/26/20 12:28:08 10/26/20 12:29:29 anonymous           005969830‐46   450001‐1    Michelone         Rachel             3723 Geryville Pike            Green Lane, PA 18054        USPS Issue
1641  1639 10/26/20 12:28:44 10/26/20 12:29:43 anonymous           109802879‐46   460007‐1    Braun             Katharine Grace    108 Poe Ct                     North Wales, PA 19454       USPS Issue
1642  1640 10/26/20 12:29:44 10/26/20 12:30:39 anonymous           107061436‐46   470002‐1    Valvo             Daniel Louis       2717 Swamp Pike                Pottstown, PA 19464         Incomplete Declaration
1643  1641 10/26/20 12:29:35 10/26/20 12:30:55 anonymous           103528354‐46   130402‐1    Brown             Daniel             1011 New Hope St APT 23B       Norristown, PA 19401        USPS Issue
1644  1642 10/26/20 12:26:03 10/26/20 12:31:33 anonymous           107691117‐46   160202‐1    Ellis             Patricia           840 Glasgow St                 Pottstown, PA 19464         USPS Issue
1645  1643 10/26/20 12:30:41 10/26/20 12:31:44 anonymous           006029688‐46   430304‐1    Bernheim          Margery W          24132 Shannondell Dr           Audobon, PA 19403           USPS Issue
1646  1644 10/26/20 12:31:02 10/26/20 12:32:24 anonymous           020877194‐46   130402‐1    Gruzdis           Victoria           1011 New Hope St APT 51B       Norristown, PA 19401        USPS Issue
1647  1645 10/26/20 12:31:45 10/26/20 12:32:29 anonymous           006080255‐46   430406‐1    Williams          Ann K              12204 Shannondell Dr           Audobon, PA 19403           USPS Issue
1648  1646 10/26/20 12:31:40 10/26/20 12:32:52 anonymous           103449754‐46   420001‐1    Carfagno          Anthony            1470 Valley Rd                 Pottstown, PA 19464         USPS Issue
1649  1647 10/26/20 12:32:30 10/26/20 12:33:57 anonymous           110830477‐46   140200‐1    Lowry             Cameron            123 S Main St Apt 8            North Wales, PA 19454       USPS Issue
1650  1648 10/26/20 12:32:28 10/26/20 12:34:00 anonymous           006296757‐46   130402‐1    Fowler            Glenn              1011 New Hope St APT 49C       Norristown, PA 19401        USPS Issue
1651  1649 10/26/20 12:32:54 10/26/20 12:34:30 anonymous           006177336‐46   110102‐1    Balock            Judith             712 Hancock St E               Lansdale, PA 19446          USPS Issue
1652  1650 10/26/20 12:33:59 10/26/20 12:34:54 anonymous           107207461‐46   360404‐1    Lehr              Molly Rose         700 Lower State Rd Apt 14A05   North Wales, PA 19454       USPS Issue
1653  1651 10/26/20 12:34:06 10/26/20 12:35:20 anonymous           006228482‐46   130402‐1    Simmons           Jesse              415 Basin St E                 Norristown, PA 19401        Damaged
1654  1652 10/26/20 12:34:31 10/26/20 12:35:34 anonymous           003565178‐46   110303‐1    Habla             Elizabeth          820 Derstine Ave               Lansdale, PA 19446          USPS Issue
1655  1653 10/26/20 12:34:56 10/26/20 12:35:43 anonymous           110305069‐46   08N02‐1     Van Rheenen       Tiffany M          237 Jacksonville Rd Apt 13A    Hatboro, PA 19040           USPS Issue
1656  1654 10/26/20 12:35:36 10/26/20 12:36:37 anonymous           109070003‐46   110102‐1    Mouawad           Ellis              443 Wade Ave                   Lansdale, PA 19446          USPS Issue
1657  1655 10/26/20 12:35:26 10/26/20 12:36:49 anonymous           109941050‐46   130402‐1    Vanhorn           Devin              1011 New Hope St APT 17A       Norristown, PA 19401        USPS Issue
1658  1656 10/26/20 12:35:45 10/26/20 12:36:52 anonymous           015639791‐46   360103‐1    Krienitz          Maureen B          304 Hemlock Dr                 Hatboro, PA 19040‐1630      USPS Issue
1659  1657 10/26/20 12:36:59 10/26/20 12:38:12 anonymous           012560401‐46   420001‐1    Reynolds          Betty May          637 Mervine St                 Pottstown, PA 19464         USPS Issue
1660  1658 10/26/20 12:36:38 10/26/20 12:38:33 anonymous           016181435‐46   530102‐1    Williams          Kishon             1141 Snyder Rd APT A28         Lansdale, PA 19446          USPS Issue
1661  1659 10/26/20 12:38:16 10/26/20 12:39:31 anonymous           110290489‐46   420003‐1    Hartzell          Linda              1027 Brooke Rd                 Pottstown, PA 19464         USPS Issue
1662  1660 10/26/20 12:38:35 10/26/20 12:39:38 anonymous           107376544‐46   460007‐1    Peyton            Madison            126 Steeple Chase Drive        North Wales, PA 19454       USPS Issue
1663  1661 10/26/20 12:39:39 10/26/20 12:40:59 anonymous           006041374‐46   430304‐1    Freedman          Audrey             23710 Shannondell Drive        Audubon, PA 19403           USPS Issue
1664  1662 10/26/20 12:41:01 10/26/20 14:10:06 anonymous           110541289‐46   350101‐1    Williams          Nicoletta          1020 Chapman Circle            Hatfield, PA 19440          USPS Issue
1665  1663 10/26/20 14:07:55 10/26/20 14:10:14 anonymous           006101463‐46   230001‐1    McFarland         William            107 Royer Dr                   Trappe, PA 19426            USPS Issue
1666  1664 10/26/20 14:10:07 10/26/20 14:11:30 anonymous           005861300‐46   370004‐1    Rodgers           John               109 Lakeview Dr #109           Royersford, PA 19468        USPS Issue

                                                                                                      Page 37 of 124
                                                                      Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 38 of 124


      A             B                C             D       E    F        G            H                I                    J                    K                              L                           M
 1 ID      Start time        Completion time Email       Name NumbeNumber2        Precinct:   Last Name           First name       Address Line 1                 Address Line 2                Issue
1667  1665 10/26/20 14:10:19 10/26/20 14:11:41 anonymous           110122072‐46   510002‐1    Leap                Morgan           4030 Landis Rd                 Collegeville, PA 19426        USPS Issue
1668  1666 10/26/20 14:11:36 10/26/20 14:12:35 anonymous           010133707‐46   540402‐1    Robinson            Kennard          346 Logan Ave                  Glenside PA 19038             USPS Issue
1669  1667 10/26/20 14:11:46 10/26/20 14:13:15 anonymous           110286810‐46   370005‐1    Nugent              Alexis           52 Diesinger Dr                Schwenksville, PA 19473       USPS Issue
1670  1668 10/26/20 14:12:40 10/26/20 14:13:39 anonymous           006087607‐46   301202‐1    Monaghan            John             2122 Kenmore Ave               Glenside, PA 19038            USPS Issue
1671  1669 10/26/20 14:13:22 10/26/20 14:14:44 anonymous           010578817‐46   420002‐1    Carpenter           Jeffrey          421 Maple Glen Cir             Pottstown, PA 19464           USPS Issue
1672  1670 10/26/20 14:13:40 10/26/20 14:15:11 anonymous           102712680‐46   590702‐1    Mosley              Jesse            1022 Gum Pl B                  Huntingdon Valley, PA 19006   USPS Issue
1673  1671 10/26/20 14:15:12 10/26/20 14:16:29 anonymous           109709626‐46   090001‐1    Martin              Maria            320 Wheatfield Cir             Hatfield, PA 19440            USPS Issue
1674  1672 10/26/20 14:15:20 10/26/20 14:16:47 anonymous           103991484‐46   58KIN02‐1   Selegean            Lynda            600 Lewis Rd APT 317           King of Prussia, PA 19406     USPS Issue
1675  1673 10/26/20 14:16:30 10/26/20 14:18:51 anonymous           104324586‐46   040001‐1    George‐Guiser       Preeya           144 Seventh Ave                Collegeville, PA 19426        USPS Issue
1676  1674 10/26/20 14:16:55 10/26/20 14:19:16 anonymous           106501460‐46   401301‐1    Chumley             Eleni            200 Biscayne Blvd Way          Miami, FL 33131               USPS Issue
1677  1675 10/26/20 14:18:52 10/26/20 14:19:58 anonymous           109164339‐46   390103‐1    Floyd               Brendon          901 Forest Dr                  Gwynedd Valley, PA 19437      USPS Issue
1678  1676 10/26/20 14:19:21 10/26/20 14:20:38 anonymous           104203309‐46   310101‐1    Hopkins             Oceana           505 Lindley Rd                 Glenside, PA 19038            USPS Issue
1679  1677 10/26/20 14:19:59 10/26/20 14:21:14 anonymous           005923267‐46   61MC00‐1    Tosti               Sergio           516 Molly Pitcher Dr           Collegeville, PA 19426        USPS Issue
1680  1678 10/26/20 14:20:47 10/26/20 14:22:14 anonymous           109388647‐46   65E02‐1     Schwenger           Abigail          903 Artis Rd                   Plymouth, PA 19462            USPS Issue
1681  1679 10/26/20 14:21:15 10/26/20 14:22:14 anonymous           107140364‐46   660001‐1    Cho                 Yongjoo          134 Doral Drive                Blue Bell, PA 19422           USPS Issue
1682  1680 10/26/20 14:22:15 10/26/20 14:23:31 anonymous           005932260‐46   67W00‐1     Kilcoyne            Brendan          n/a                            Worcester, PA 19426           USPS Issue
1683  1681 10/26/20 14:22:25 10/26/20 14:23:40 anonymous           109363216‐46   560002‐1    Patterson           Brittney         454 Amity Ln                   North Wales                   USPS Issue
1684  1682 10/26/20 14:23:32 10/26/20 14:24:33 anonymous           106570058‐46   400101‐1    Batt                Alexa            321 Hamiliton Rd               Merion Station, PA 19066      USPS Issue
1685  1683 10/26/20 14:23:46 10/26/20 14:25:09 anonymous           110150632‐46   61T00‐1     Becton              Ethan            49 Longacre Dr                 Collegeville, PA 19426        USPS Issue
1686  1684 10/26/20 14:24:36 10/26/20 14:25:44 anonymous           005894485‐46   560004‐1    Rowley              Eileen           994 Liberty Ct                 North Wales, PA 19454         USPS Issue
1687  1685 10/26/20 14:25:45 10/26/20 14:26:40 anonymous           009499131‐46   401001‐1    Hall                Alexandria       429 Montgomery Ave W, APT A501 Haverford, PA 19041           USPS Issue
1688  1686 10/26/20 14:25:16 10/26/20 14:27:00 anonymous           107792328‐46   130402‐1    Verges De Jesus     Rachelle Marie   1011 New Hope St APT 98B       Norristown, PA 19401          USPS Issue
1689  1687 10/26/20 14:26:41 10/26/20 14:28:02 anonymous           106983311‐46   301101‐1    Brusha              Alexandria       415 W College Ave              State College, PA 16801       USPS Issue
1690  1688 10/26/20 14:27:06 10/26/20 14:28:24 anonymous           006047296‐46   440001‐1    Shisler             Konrad           15 Schultz Rd N.               Green Lane, PA 18054          USPS Issue
1691  1689 10/26/20 14:28:30 10/26/20 14:29:46 anonymous           012560400‐46   420001‐1    Reynolds            Eric             637 Mervine St                 Pottstown, PA 19464           USPS Issue
1692  1690 10/26/20 14:28:03 10/26/20 14:30:26 anonymous           109688945‐46   590301‐1    Mayes Lofton        Thomas           409 Easton Rd N a1             Willow Grove, PA 19090        Incomplete Declaration
1693  1691 10/26/20 14:30:27 10/26/20 14:33:27 anonymous           109631059‐46   490402‐1    Stonkovich          Stevan           1300 Fayette St APT 146        Conshohocken, PA 19428        USPS Issue
1694  1692 10/26/20 14:32:47 10/26/20 14:34:08 anonymous           102725702‐46   430303‐1    Reilly              Timothy          2524 Condor Dr                 Audubon, PA 19403             USPS Issue
1695  1693 10/26/20 14:33:29 10/26/20 14:36:07 anonymous           109152159‐46   61T00‐1     Hines               Seth             260 Fairfield Cir              Royersford, PA 19468          USPS Issue
1696  1694 10/26/20 14:36:14 10/26/20 14:37:55 anonymous           009712390‐46   370006‐1    Davis               Richard          39 Walker Rd                   Limerick, PA 19468            USPS Issue
1697  1695 10/26/20 14:37:56 10/26/20 14:39:34 anonymous           108091389‐46   370003‐1    Heffernan           Danielle         87 Station Rd                  Limerick, PA 19468            USPS Issue
1698  1696 10/26/20 14:39:35 10/26/20 14:40:39 anonymous           021711856‐46   370001‐1    Hershberger         Deborah          193 Heffner Rd                 Royersford, PA 19468          USPS Issue
1699  1697 10/26/20 14:34:42 10/26/20 14:41:14 anonymous           006068094‐46   430304‐1    Erickson            Roy              23439 Shannondell Dr           Audubon, PA 19403             USPS Issue
1700  1698 10/26/20 14:40:41 10/26/20 14:41:58 anonymous           005785235‐46   370001‐1    Diegal              Christine        94 King Way                    Royersford PA 19468           USPS Issue
1701  1699 10/26/20 14:41:18 10/26/20 14:42:29 anonymous           106081810‐46   130402‐1    Fowler              Devin            1011 New Hope St APT 49C       Norristown, PA 19401          USPS Issue
1702  1700 10/26/20 14:41:59 10/26/20 14:43:02 anonymous           006328603‐46   370006‐1    Farley              George           39 Oak Lane                    Limerick, PA 19468            USPS Issue
1703  1701 10/26/20 14:42:32 10/26/20 14:43:41 anonymous           006293520‐46   210200‐1    Beck                Kari             136 School LN N                Souderton, PA 18964           USPS Issue
1704  1702 10/26/20 14:43:46 10/26/20 14:44:43 anonymous           110294709‐46   460002‐1    Oh                  Seungeun         172 Pinecrest LN               Lansdale, PA 19446            USPS Issue
1705  1703 10/26/20 14:43:03 10/26/20 14:45:10 anonymous           110943038‐46   330102‐1    Moser               Donna            2801 Standbridge St            Norristown, PA 19401          USPS Issue
1706  1704 10/26/20 14:44:48 10/26/20 14:45:50 anonymous           109243569‐46   460002‐1    Brown               Darnell          168 Pincrest LN                Lansdale, PA 19446            USPS Issue
1707  1705 10/26/20 14:45:12 10/26/20 14:46:52 anonymous           109214294‐46   65W03‐1     Bernstein           Meredith         2000 Grand Ave APT #502        PA 19444                      USPS Issue
1708  1706 10/26/20 14:45:55 10/26/20 14:47:00 anonymous           109238057‐46   460002‐1    Brown               Carrie Ann       168 Pinecrest LN               Lansdale, PA 19446            USPS Issue
1709  1707 10/26/20 14:46:53 10/26/20 14:47:49 anonymous           107986118‐46   630102‐1    Mcclain             Jocelynn         702 Stonybrook Dr              East Norriton PA 19403        USPS Issue
1710  1708 10/26/20 14:47:11 10/26/20 14:48:14 anonymous           006390456‐46   470001‐1    Wood                Joshua           137 Sandpiper CT               Gilbertsville, PA 19525       USPS Issue
1711  1709 10/26/20 14:47:50 10/26/20 14:49:24 anonymous           005682386‐46   430204‐1    Moore               Sandra           5089 B Defford Pl              Eagleview, PA 19403           USPS Issue

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      A             B                C             D       E    F        G             H              I                     J                        K                             L                          M
 1 ID      Start time        Completion time Email       Name NumbeNumber2        Precinct:   Last Name         First name              Address Line 1               Address Line 2              Issue
1712  1710 10/26/20 14:48:21 10/26/20 14:49:26 anonymous           006324117‐46   470001‐1    Rinehart          Hilari                  2119Big Rd RT 73             Gilbertsville, PA 19525     USPS Issue
1713  1711 10/26/20 14:49:25 10/26/20 14:50:42 anonymous           006213306‐46   430204‐1    Bauer             David                   5089 Defford PL APT B        Eagleview, PA 19403         USPS Issue
1714  1712 10/26/20 14:49:34 10/26/20 14:50:54 anonymous           106700036‐46   630301‐1    Cheung            Alexander               289 Stone Ridge Dr           Norristown, PA 19403        USPS Issue
1715  1713 10/26/20 14:50:43 10/26/20 14:55:42 anonymous           020101729‐46   520201‐1    Lytle             Gloria Jean             8755 Trumbauer Ct            Glenside, PA 19038          USPS Issue
1716  1714 10/26/20 14:54:08 10/26/20 14:56:01 anonymous           009425595‐46   370001‐1    Anewalt           Valerie                 1903 Summit Dr               Limerick PA 19468           USPS Issue
1717  1715 10/26/20 14:55:46 10/26/20 14:56:52 anonymous           021162498‐46   520101‐1    McSorley          Karen A                 19 Whitemarsh Ave            Glenside, PA 19038          USPS Issue
1718  1716 10/26/20 14:56:06 10/26/20 14:57:28 anonymous           005698804‐64   560004‐1    Harris            Teresa                  1133 Jarvis LN               Lansdale, PA 19446          USPS Issue
1719  1717 10/26/20 14:56:53 10/26/20 14:58:05 anonymous           006316823‐46   520402‐1    Powell            David Joseph            202 Yeakel Ave               Glenside, PA 19038          USPS Issue
1720  1718 10/26/20 14:57:32 10/26/20 14:59:39 anonymous           005698048‐46   530103‐1    Myers             Gregory                 6206 Parade Field Way        Lansdale, PA 19446          USPS Issue
1721  1719 10/26/20 14:58:06 10/26/20 15:00:10 anonymous           021681518‐46   540202‐1    Yetter            Crystal Olivia Yetter   2468 Ardsley Ave             Glenside, PA 19038          USPS Issue
1722  1720 10/26/20 15:00:11 10/26/20 15:01:12 anonymous           103199350‐46   370001‐1    Diegel            Stephanie Ann           94 King Way                  Royersford, PA 19468        USPS Issue
1723  1721 10/26/20 14:59:49 10/26/20 15:01:49 anonymous           110130934‐46   560004‐1    Harris            Nicholas                1133 Jarvis LN               Lansdale, PA 19446          USPS Issue
1724  1722 10/26/20 15:01:13 10/26/20 15:02:09 anonymous           005785233‐46   370001‐1    Diegel            Robert W                94 King Way                  Royersford, PA 19468        USPS Issue
1725  1723 10/26/20 15:02:10 10/26/20 15:03:01 anonymous           006206641‐46   190001‐1    Diehl             Brian J                 559 Chesnut St               Royersford, PA 19468        USPS Issue
1726  1724 10/26/20 15:01:53 10/26/20 15:03:25 anonymous           103082672‐46   560006‐1    Baek              Seung                   115 Dawn Dr                  Lansdale, PA 19446          USPS Issue
1727  1725 10/26/20 15:03:03 10/26/20 15:04:43 anonymous           102654404‐46   190001‐1    Kelly Jr          Carl Purnell            560 Spruce St Apt E10        Royersford, PA 19468        USPS Issue
1728  1726 10/26/20 15:03:47 10/26/20 15:05:00 anonymous           005950684‐46   460006‐1    Gormley           Daniel                  118 Devonshire Dr            Lansdale, PA 19446          USPS Issue
1729  1727 10/26/20 15:04:44 10/26/20 15:06:37 anonymous           015793695‐46   190001‐1    Diehl             Jeniene Cheraye         559 Chesnut St               Royersford, PA 19468        USPS Issue
1730  1728 10/26/20 15:05:16 10/26/20 15:07:40 anonymous           021040222‐46   530103‐1    Omalley           Edward                  1301 N Bend CT               Lansdale, PA 19446          USPS Issue
1731  1729 10/26/20 15:06:39 10/26/20 15:07:51 anonymous           006211037‐46   430301‐1    Woodruff          Linda H                 2852 Egypt Rd                Audubon, PA 19407           USPS Issue
1732  1730 10/26/20 15:07:54 10/26/20 15:09:08 anonymous           006229377‐46   430301‐1    Woodruff          Robert E Jr             2852 Egypt Rd                Audubon, PA 19403           USPS Issue
1733  1731 10/26/20 15:07:44 10/26/20 15:09:49 anonymous           108267273‐46   460006‐1    Cardillo          Nicholas                100 Flintlock Cir            Lansdale, PA 19446          USPS Issue
1734  1732 10/26/20 15:09:10 10/26/20 15:10:51 anonymous           005923358‐46   67E02‐1     Hunt              Nancy S                 2858 Crest Terrace           Norristown, PA 19403        USPS Issue
1735  1733 10/26/20 15:09:58 10/26/20 15:11:28 anonymous           005806794‐46   460001‐1    Abbott            Joyce                   112 Rosewood Dr              Lansdale PA, 19446          USPS Issue
1736  1734 10/26/20 15:10:54 10/26/20 15:12:11 anonymous           005851535‐46   67E02‐1     Quinn             Trisha J                1567 Potshop Rd              Norristown, PA 19403‐4614   USPS Issue
1737  1735 10/26/20 15:11:38 10/26/20 15:12:46 anonymous           104280661‐46   560004‐1    Axel              Amy                     1262 Oxford Cir              Lansdale, PA 19446          USPS Issue
1738  1736 10/26/20 15:12:12 10/26/20 15:13:22 anonymous           005923347‐46   67E02‐1     Hunt              Roger C                 2858 Crest Terrace           Norristown, PA 19403        USPS Issue
1739  1737 10/26/20 15:13:05 10/26/20 15:14:18 anonymous           107752911‐46   590402‐1    Blaetz            Tyler                   2566 Wyandotte Rd            Willow Grove, PA 19090      USPS Issue
1740  1738 10/26/20 15:13:24 10/26/20 15:14:22 anonymous           006018274‐46   660001‐1    Dlauro            Robert M                160 Canterbury Ln            Blue Bell, PA 19422         USPS Issue
1741  1739 10/26/20 15:14:23 10/26/20 15:15:24 anonymous           005976852‐46   660001‐1    Dlauro            Kathleen                160 Canterbury Ln            Blue Bell, PA 19422         USPS Issue
1742  1740 10/26/20 15:14:21 10/26/20 15:15:45 anonymous           102471233‐46   590402‐1    McGeehan          Sarah                   115 Lawnton Rd               Willow Grove, PA 19090      USPS Issue
1743  1741 10/26/20 15:15:50 10/26/20 15:17:14 anonymous           003260045‐46   590401‐1    Kash              Christine               19 Madison Rd                Willow Grove, PA 19090      USPS Issue
1744  1742 10/26/20 15:17:17 10/26/20 15:18:49 anonymous           102497612‐46   590401‐1    Warren            Jasmine                 3505 Moreland Rd Apt B423    Willow Grove, PA 19090      USPS Issue
1745  1743 10/26/20 15:18:54 10/26/20 15:22:09 anonymous           006150768‐46   540402‐1    Lee               Michelle                2058 Maple Ave               Hatfield, PA 19440          USPS Issue
1746  1744 10/26/20 15:21:31 10/26/20 15:22:31 anonymous           020434851‐46   420001‐1    Golden            Gregory A               1530 Adams St N              Pottstown, PA 19464         USPS Issue
1747  1745 10/26/20 15:22:13 10/26/20 15:23:25 anonymous           021220450‐46   350201‐1    Harkins           Karen                   2349 E Vine St               Hatfield, PA 19440          USPS Issue
1748  1746 10/26/20 15:22:32 10/26/20 15:23:32 anonymous           005870493‐46   390101‐1    Jones             Rose Marie              80 Foulkeways at Gwynedd     Gwynedd, PA 19436           USPS Issue
1749  1747 10/26/20 15:23:35 10/26/20 15:24:52 anonymous           005931149‐46   390101‐1    Landis            Grace M                 41 Foulkeways at Gwynedd     Gwynedd, PA 19436           USPS Issue
1750  1748 10/26/20 15:23:28 10/26/20 15:25:40 anonymous           103236498‐46   530103‐1    Grant             Zachary                 109 Kimberly Way             Hatfield, PA 19440          USPS Issue
1751  1749 10/26/20 15:24:53 10/26/20 15:27:10 anonymous           005952683‐46   390101‐1    Mohan             Reba H                  14 Foulkeways at Gwynedd     Gwynedd, PA 19436           USPS Issue
1752  1750 10/26/20 15:25:47 10/26/20 15:27:18 anonymous           006270531‐46   560004‐1    Burems            Debra                   1476 Bronte CT               Lansdale, PA 19446          USPS Issue
1753  1751 10/26/20 15:27:38 10/26/20 15:30:08 anonymous           005792152‐46   560004‐1    Labriola          Joan                    1406 Bronte Ct               Lansdale, PA 19446          USPS Issue
1754  1752 10/26/20 15:27:37 10/26/20 15:31:12 anonymous           005897304‐46   390101‐1    Mohrbacher        Richard J               91 Foulkeways at Gwynedd     Gwynedd, PA 19436           USPS Issue
1755  1753 10/26/20 15:30:12 10/26/20 15:32:20 anonymous           006310858‐46   460001‐1    Nichols           Shetorra                505 Carol Ct                 Lansdale, PA 19446‐1579     USPS Issue
1756  1754 10/26/20 15:31:13 10/26/20 15:32:50 anonymous           005715127‐46   390101‐1    Michael           Bonnie Jo               2301 Foulkeways at Gwynedd   Gwynedd, PA 19436           USPS Issue

                                                                                                      Page 39 of 124
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      A             B                C             D       E    F        G            H                I                    J                     K                           L                          M
 1 ID      Start time        Completion time Email       Name NumbeNumber2        Precinct:   Last Name          First name         Address Line 1             Address Line 2                Issue
1757  1755 10/26/20 15:32:24 10/26/20 15:34:16 anonymous           109234892‐46   460001‐1    Kastner            Mark               1404 Taylor Rd             Lansdale, PA 19446            Damaged
1758  1756 10/26/20 15:32:51 10/26/20 15:34:29 anonymous           005887856‐46   460007‐1    Nethery            Thomas J           508 Pimlico Way            North Wales PA 19454‐4504     USPS Issue
1759  1757 10/26/20 15:34:22 10/26/20 15:35:41 anonymous           005840991‐46   500002‐1    Litke              James              352 Park Ave               Harleysville, PA 19438‐1814   USPS Issue
1760  1758 10/26/20 15:34:31 10/26/20 15:35:49 anonymous           005717466‐46   390101‐1    Garnick            Robert J           1338 Tanglewood Dr         North Wales, PA 19454         USPS Issue
1761  1759 10/26/20 15:35:49 10/26/20 15:37:11 anonymous           005683185‐46   500002‐1    Litke              Michele            352 Park Ave               Harleysville, PA 19438        USPS Issue
1762  1760 10/26/20 15:35:58 10/26/20 15:37:32 anonymous           021418793‐46   390101‐1    Garnick            Daniel R           1338 Tanglewood Dr         North Wales, PA 19454         USPS Issue
1763  1761 10/26/20 15:37:33 10/26/20 15:39:21 anonymous           021892522‐46   58KIN02‐1   Chhantyal          Nabin              601 Bismark Way            King of Prussia, PA 19406     No secrecy envelope
1764  1762 10/26/20 15:37:21 10/26/20 15:39:22 anonymous           110366572‐46   61T00‐1     Keefe              Lauren             6 Faraway Farm Ct          Collegeville, PA 19426        USPS Issue
1765  1763 10/26/20 15:39:22 10/26/20 15:40:13 anonymous           006070208‐46   430101‐1    Costanza           Jon                80 Pechin Mill Rd          Collegeville, PA 19426        No secrecy envelope
1766  1764 10/26/20 15:39:27 10/26/20 15:40:55 anonymous           006059762‐46   160300‐1    Fazekas            Sherrie            179 Reynolds Ave           Pottstown, PA 19464           USPS Issue
1767  1765 10/26/20 15:40:14 10/26/20 15:41:05 anonymous           107845628‐46   340004‐1    Pandya             Suraj Paresh       1007 Kingscote Dr          Harleysville, PA 19438        No secrecy envelope
1768  1766 10/26/20 15:41:06 10/26/20 15:41:44 anonymous           005926356‐46   67E03‐1     Bishop             Huberta F          68 Spruce Run              Lansdale, PA 19436            No secrecy envelope
1769  1767 10/26/20 15:40:59 10/26/20 15:42:26 anonymous           006059763‐46   160300‐1    Fazekas            John               179 Reynolds Ave           Pottstown, PA 19464           USPS Issue
1770  1768 10/26/20 15:41:49 10/26/20 15:42:36 anonymous           006114359‐46   58GUL01‐1   Katrinak           Joseph B           536 Philadelphia Ave       King of Prussia, PA 19406     No secrecy envelope
1771  1769 10/26/20 15:42:37 10/26/20 15:43:25 anonymous           103530618‐46   370006‐1    Aghili             Connor             73 Gleneagles Rd           Royersford, PA 19468          No secrecy envelope
1772  1770 10/26/20 15:42:31 10/26/20 15:43:37 anonymous           006364012‐46   370002‐1    Turner             William            61 Putter LN               Pottstown, PA 19464           USPS Issue
1773  1771 10/26/20 15:43:27 10/26/20 15:45:04 anonymous           006171829‐46   310701‐1    Hollinger          David L            119 Myrtle Ave             Cheltenham, PA                No secrecy envelope
1774  1772 10/26/20 15:44:18 10/26/20 15:45:52 anonymous           006118898‐46   301303‐1    Shim               Byung Shik         765 Edge Hill Rd           Glenside, PA 19038            No secrecy envelope
1775  1773 10/26/20 15:45:05 10/26/20 15:45:54 anonymous           104484090‐46   590202‐1    Gaskin             Richard Harrison   300 Horsham Rd Apt E‐6     Hatboro, PA 19040             No secrecy envelope
1776  1774 10/26/20 15:45:06 10/26/20 15:46:34 anonymous           006342282‐46   530101‐1    Yoon               Hyo                290 Allentown Rd E258      Lansdale, PA 19446            No secrecy envelope
1777  1775 10/26/20 15:45:55 10/26/20 15:47:05 anonymous           006196550‐46   58BEL04‐1   Parekh             Titixa             721 Whitetail Cir          King of Prussia, PA 19406     No secrecy envelope
1778  1776 10/26/20 15:45:57 10/26/20 15:47:26 anonymous           107422850‐46   08N02‐1     Mueller            Kyle               460 Jacksonville Rd        Hatboro, PA 19040             No secrecy envelope
1779  1777 10/26/20 15:46:39 10/26/20 15:47:32 anonymous           009599914‐46   401403‐1    Petrella           Joseph             117 Crosshill Rd           Wynnewood, PA 19096           Incomplete Declaration
1780  1778 10/26/20 15:47:37 10/26/20 15:48:25 anonymous           006246455‐46   540403‐1    Park               Byung              1449 Crosby Drive          Ft Washington PA 19034        Incomplete Declaration
1781  1779 10/26/20 15:47:31 10/26/20 15:48:38 anonymous           103088591‐46   65M04‐1     Spencer            John               129 Fox Hound Dr           Lafayette Hill, PA 19444      No secrecy envelope
1782  1780 10/26/20 15:47:07 10/26/20 15:49:06 anonymous           107741642‐46   230001‐1    Cahill             Mary C             715 Gilbert Place          Trappe, PA 19426              USPS Issue
1783  1781 10/26/20 15:48:42 10/26/20 15:49:23 anonymous           110624470‐46   460008‐1    Yi                 Aiden              109 Tudor Dr               North Wales                   No secrecy envelope
1784  1782 10/26/20 15:48:27 10/26/20 15:49:30 anonymous           005889417‐46   61M100‐1    Brauer             Sharon             n/a                        Royersford PA 19464           Incomplete Declaration
1785  1783 10/26/20 15:49:08 10/26/20 15:50:12 anonymous           006329577‐46   61T00‐1     Mak                Kristy             124 Iron Bark Ct           Collegeville, PA 19426        USPS Issue
1786  1784 10/26/20 15:49:27 10/26/20 15:50:24 anonymous           110087722‐46   500005‐1    Holinka            Shelby Jean        633 Camp Wawa Rd           Schwenksville, PA 19473       No secrecy envelope
1787  1785 10/26/20 15:49:31 10/26/20 15:50:28 anonymous           110358347‐46   430102‐1    Capece             Matthew            10 Kenney Lane             Collegeville, PA 19426        Incomplete Declaration
1788  1786 10/26/20 15:50:13 10/26/20 15:51:09 anonymous           021253414‐46   61T00‐1     Lytle              Christopher B      124 Iron Bark Ct           Collegeville, PA 19426        USPS Issue
1789  1787 10/26/20 15:50:29 10/26/20 15:51:32 anonymous           015363424‐46   160701‐1    Rogers             Nadirah            645 Lincoln Ave            Pottstown, PA 19464           Incomplete Declaration
1790  1788 10/26/20 15:50:27 10/26/20 15:51:32 anonymous           006232943‐46   530101‐1    Sohn               Yong               1290 Allentown RD #171E    Lansdale, PA 19446            No secrecy envelope
1791  1789 10/26/20 15:51:11 10/26/20 15:52:07 anonymous           015917161‐46   520202‐1    OChester           Barbara J          923 Southampton Ave E      Glenside, PA 19038            USPS Issue
1792  1790 10/26/20 15:51:33 10/26/20 15:52:15 anonymous           106879835‐46   400302‐1    Lipton             Asa                1539 Flat Rock Rd          Narberth, PA 19072            Incomplete Declaration
1793  1791 10/26/20 15:51:36 10/26/20 15:52:23 anonymous           108031297‐46   520401‐1    Petravic           Gioetta            302 Atwood Rd              Glenside, PA 19038            No secrecy envelope
1794  1792 10/26/20 15:52:08 10/26/20 15:53:09 anonymous           006390005‐46   520501‐1    Vanderlyke         Nicholas Ryan      7806 Beech Ln              Wyndmoor, PA 19038            USPS Issue
1795  1793 10/26/20 15:52:26 10/26/20 15:53:36 anonymous           006286763‐46   560004‐1    Obrien             Myrtle             2301 Brittany PL           Lansdale, PA 19446            No secrecy envelope
1796  1794 10/26/20 15:52:16 10/26/20 15:53:38 anonymous           006412077‐46   65M05‐1     Ranzhoe            Nora               4010 Briar Lane            Lafayette Hill, PA 19414      Incomplete Declaration
1797  1795 10/26/20 15:53:10 10/26/20 15:54:02 anonymous           110596702‐46   430101‐1    Prusacki           Rachel             1010 Greenes Way Cir       Collegeville, PA 19426        USPS Issue
1798  1796 10/26/20 15:53:40 10/26/20 15:54:59 anonymous           104184783‐46   500005‐1    Briddock           Shana              521 Wilder St              Philadelphia, PA 19147        Incomplete Declaration
1799  1797 10/26/20 15:54:03 10/26/20 15:55:00 anonymous           005860772‐46   570002‐1    Murray             Pamela Ann         2095 Knight Rd             Pennsburg, PA 18073           USPS Issue
1800  1798 10/26/20 15:55:02 10/26/20 15:55:54 anonymous           005877847‐46   570002‐1    OLeary             Richard E          1409 Newman Rd             Pennsburg, PA 18073           USPS Issue
1801  1799 10/26/20 15:55:55 10/26/20 15:57:48 anonymous           109181513‐46   301101‐1    Warsaw             Robin F            841 Highland Ave Apt 251   Jenkintown, PA 19046          USPS Issue

                                                                                                       Page 40 of 124
                                                                      Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 41 of 124


      A             B                C             D       E    F        G              H              I                     J                      K                                 L                             M
 1 ID      Start time        Completion time Email       Name NumbeNumber2         Precinct:   Last Name          First name          Address Line 1                   Address Line 2                    Issue
1802  1800 10/26/20 15:55:01 10/26/20 15:57:53 anonymous           006101585‐46    420002‐1    King               Cynthia             421 Maple Glen Cir               Pottstown, PA 19464               USPS Issue
1803  1801 10/26/20 15:57:49 10/26/20 15:58:45 anonymous           010159868‐46    640001‐1    Levitan            Rachael I           602 Appaloosa Rd                 Schwenksville, PA 19473           USPS Issue
1804  1802 10/26/20 15:57:57 10/26/20 15:58:53 anonymous           006324114‐46    470001‐1    Rinehart           David               2119 Big Rd RT 73                Gilbertsville, PA 19525           USPS Issue
1805  1803 10/26/20 15:58:46 10/26/20 15:59:42 anonymous           015306137‐46    310702‐1    Whitehead          Latanya M           522 Boyer Rd                     Cheltenham, PA 19012              USPS Issue
1806  1804 10/26/20 15:58:56 10/26/20 16:00:03 anonymous           021723735‐46    530202‐1    Kirchman           Janice              1170 Hunter Hill Drive           Lansdale, PA 19446                USPS Issue
1807  1805 10/26/20 16:00:04 10/26/20 16:01:11 anonymous           006254308‐46    560004‐1    Evans              Brooke              1075 S Valley Forge Rd           Lansdale, PA 19446                USPS Issue
1808  1806 10/26/20 16:01:12 10/26/20 16:02:22 anonymous           005850092‐46    530202‐1    Lawler             Thomas              1885 Flintlock Cir               Lansdale PA 19446                 USPS Issue
1809  1807 10/26/20 16:02:23 10/26/20 16:03:22 anonymous           005850091‐46    530202‐1    Lawler             Karen               1885 Flintlock Cir               Lansdale, PA 19446                USPS Issue
1810  1808 10/26/20 16:03:24 10/26/20 16:04:23 anonymous           005783548‐46    560004‐1    Staas              Richard             1133 Jarvis Lane                 Lansdale, PA 19446                USPS Issue
1811  1809 10/26/20 16:04:24 10/26/20 16:05:21 anonymous           006056956‐46    560004‐1    Braslow            Brian               14765 Bronte Ct                  Lansdale, PA 19446                USPS Issue
1812  1810 10/26/20 16:05:22 10/26/20 16:06:28 anonymous           104454034‐46    530102‐1    Burgert            Jessica             1141 Snyder rd APT H5            Lansdale, PA 19446                USPS Issue
1813  1811 10/26/20 16:06:29 10/26/20 16:07:25 anonymous           104063318‐46    560004‐1    Burems             Madison             1476 Bronte Ct                   Lansdale, PA 19446                USPS Issue
1814  1812 10/26/20 17:19:44 10/26/20 17:22:31 anonymous           021235631‐46    560006‐1    Aaronson           Steven              138 State St.                    Lansdale PA 19446                 USPS Issue
1815  1813 10/26/20 17:22:34 10/26/20 17:23:37 anonymous           110837429‐46    560006‐1    Aaronson           Risa                138 State St.                    Lansdale PA 19446                 USPS Issue
1816  1814 10/26/20 17:23:44 10/26/20 17:25:30 anonymous           103186405‐46    430302‐1    Ahlberg            Alix Lauren         2 Owl Rd.                        Audubon PA 19403                  USPS Issue
1817  1815 10/26/20 17:25:32 10/26/20 17:27:12 anonymous           109449212‐46    430304‐1    Annino             Agatha              140 Sugartown Rd. C/O Ibarguen   Devon PA 19333                    USPS Issue
1818  1816 10/26/20 17:27:23 10/26/20 17:29:29 anonymous           105425415‐46    040002‐1    Altmire            Gabriella           2250 Patterson St                Eugene OR 97405                   USPS Issue
1819  1817 10/26/20 17:29:36 10/26/20 17:31:07 anonymous           006312486‐46    360105‐1    adams              Tiffany             213 Maple Ave.                   Horsham PA 19044                  USPS Issue
1820  1818 10/26/20 17:31:16 10/26/20 17:32:41 anonymous           006156595‐46    460006‐1    Breder             Allison             105 Canterbury Ln                Lansdale PA 19446                 USPS Issue
1821  1819 10/26/20 17:32:45 10/26/20 17:34:28 anonymous           110746734‐46    401103‐1    Bakhos             Charles             1028 Broadmoor Rd.               Bryn Mawr PA 19010                USPS Issue
1822  1820 10/26/20 17:34:30 10/26/20 17:35:34 anonymous           006019811‐46    100200‐1    Crescenzo          Sally               100 West Ave                     Jenkintown PA 19046               USPS Issue
1823  1821 10/26/20 17:35:39 10/26/20 17:37:18 anonymous           021032987‐46    430202‐1    Clifford           James               1110 Wooded Pl                   Eagleville PA 19403               USPS Issue
1824  1822 10/26/20 17:37:29 10/26/20 17:38:38 anonymous           0059796888‐46   400502‐1    Cook               Maxine              105 Llanfair Rd                  Ardmore PA 19003                  USPS Issue
1825  1823 10/26/20 17:38:45 10/26/20 17:40:15 anonymous           021235930‐46    370002‐1    Cohen              Israel              510 Deer Run Ct.                 Limerick PA 19468                 USPS Issue
1826  1824 10/26/20 17:40:17 10/26/20 17:41:46 anonymous           003626280‐46    510001‐1    Bishop             Walter Joseph Jr.   1276 Stump Hall Rd.              Collegeville PA 19426             USPS Issue
1827  1825 10/26/20 17:41:49 10/26/20 17:43:03 anonymous           103859314‐46    160600‐1    Benjamin           Marcus              unreadable                       pottstown PA                      USPS Issue
1828  1826 10/26/20 17:43:13 10/26/20 17:44:14 anonymous           005728741‐46    150001‐1    Brand              Carolyn             1029 lake ln                     Pennsburg PA 18073                USPS Issue
1829  1827 10/26/20 17:44:17 10/26/20 17:45:48 anonymous           110589249‐46    170001‐1    Booth              Christopher         105 Thorndale Dr.                Red Hill PA 18076                 USPS Issue
1830  1828 10/26/20 17:46:02 10/26/20 17:47:18 anonymous           109941229‐46    120002‐1    Bronte             Parker              1734 W. Diamond St.              Philadelphia PA 19072             USPS Issue
1831  1829 10/26/20 17:47:21 10/26/20 17:48:30 anonymous           110822811‐46    530101‐1    Belasco            Janice              1158 Welsh Rd.                   Lansdale PA 19446                 USPS Issue
1832  1830 10/26/20 17:48:32 10/26/20 17:49:49 anonymous           006848405‐46    050100‐1    Blazynski          Lindsay             335 W. Elm St.                   Conshohocken PA 19428             USPS Issue
1833  1831 10/26/20 17:49:51 10/26/20 17:52:07 anonymous           104365286‐46    660008‐1    Bealin             Alexander           300 Massachusetts Ave.           Washington DC 20001 United States USPS Issue
1834  1832 10/26/20 17:52:15 10/26/20 17:54:22 anonymous           006331899‐46    020100‐1    Benc               Lucja               555 Goddard Blvd. Unit 548       King of prussia PA 19406          USPS Issue
1835  1833 10/26/20 17:54:31 10/26/20 17:55:39 anonymous           006072020‐46    310301‐1    Bradshaw           Angela              25 Washington Ln Apt 526         Wyncote PA 19095                  USPS Issue
1836  1834 10/26/20 17:55:42 10/26/20 17:57:02 anonymous           021668789‐46    330203‐1    Casady             Christine           132 Discovery Ct.                East Norriton PA 19401            USPS Issue
1837  1835 10/26/20 17:57:09 10/26/20 17:58:23 anonymous           103349784‐46    401102‐1    Castelbaum         Emily               107 East 63rd St. Apt 3b         New York NY 10065                 USPS Issue
1838  1836 10/26/20 17:58:36 10/26/20 17:59:54 anonymous           005872779‐46    430304‐1    Carrol             Robert              14107 Shannondell Dr.            Audubon PA 19403                  USPS Issue
1839  1837 10/26/20 18:00:00 10/26/20 18:01:57 anonymous           005872665‐46    460004‐1    Caucci             Terri               318 winding Brook Run            North Wales PA 19454              USPS Issue
1840  1838 10/26/20 18:02:05 10/26/20 18:03:09 anonymous           103857345‐46    050400‐1    Diamantopoulos     Michael             315 Sixth Ave W                  Conshohocken PA 19428             USPS Issue
1841  1839 10/26/20 18:03:17 10/26/20 18:04:38 anonymous           108275228‐46    160701‐1    Delprior           Lucas               860 Beech St.                    Pottstown PA 19464                USPS Issue
1842  1840 10/26/20 18:02:01 10/26/20 18:05:12 anonymous           006032143‐46    520202‐1    Saraga             Diana M.            8305 Hull Dr                     Wyndmoor, PA 19038                Incomplete Declaration
1843  1841 10/26/20 18:04:47 10/26/20 18:06:22 anonymous           003271161‐46    310303‐1    Dornstreich        Elijah              7902 Rambler Rd.                 Elkins Park PA 19027              USPS Issue
1844  1842 10/26/20 18:06:25 10/26/20 18:07:38 anonymous           020817410‐46    370005‐1    Damato             Robert              49 Metka Rd.                     Limerick PA 19468                 USPS Issue
1845  1843 10/26/20 18:05:15 10/26/20 18:08:06 anonymous           016114753‐46    520402‐1    Hallquist          Tina                813 Glenalough Rd                Erdenhelm, PA 19038               Incomplete Declaration
1846  1844 10/26/20 18:08:11 10/26/20 18:09:31 anonymous           110827277‐46    010100‐1    Flanagan           Jessica             408 Artman Rd                    Ambler, PA 19002                  Incomplete Declaration

                                                                                                        Page 41 of 124
                                                                      Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 42 of 124


      A             B                C             D       E    F        G            H                I                  J                       K                                    L                            M
 1 ID      Start time        Completion time Email       Name NumbeNumber2        Precinct:   Last Name          First name       Address Line 1                           Address Line 2               Issue
1847  1845 10/26/20 18:07:40 10/26/20 18:09:32 anonymous           103188598‐46   440001‐1    dronson            mariel           360 E. South Water S.                    Chicago Illinois 60601       USPS Issue
1848  1846 10/26/20 18:09:46 10/26/20 18:10:52 anonymous           005939697‐46   61M200‐1    Donny              Marilou          631 Birchleaf Dr.                        Collegeville PA 19426        USPS Issue
1849  1847 10/26/20 18:10:56 10/26/20 18:12:34 anonymous           104525256‐46   540703‐1    Durant             michael          1011 lincoln Dr. W.                      ambler pa 19002              USPS Issue
1850  1848 10/26/20 18:09:35 10/26/20 18:13:20 anonymous           006246002‐46   130401‐1    Brewer             Janee N.         310 Jefferson St                         Norristown, PA 19401         Resolved
1851  1849 10/26/20 18:12:47 10/26/20 18:14:16 anonymous           105986872‐46   58ROB00‐1   depillis           Matthew          1749 11th Street NW                      Wayne PA 19087               USPS Issue
1852  1850 10/26/20 18:13:23 10/26/20 18:15:33 anonymous           005981780‐46   58ROB00‐1   Luchie             Louella          971 Steven Lane                          Wayne, PA 19087              Incomplete Declaration
1853  1851 10/26/20 18:14:19 10/26/20 18:15:46 anonymous           110834526‐46   640001‐1    derecola           dominic A sr.    unknown                                  pottstown PA 19464           USPS Issue
1854  1852 10/26/20 18:15:56 10/26/20 18:16:58 anonymous           103659186‐46   130203‐1    Dume               Susette          46 E. Chestnut St.                       Norristown PA 19401          USPS Issue
1855  1853 10/26/20 18:15:35 10/26/20 18:17:09 anonymous           00524546‐46    530103‐1    Roberts            Linda S.         1809 Red Oak Way                         Hatfield, PA 19440           Incomplete Declaration
1856  1854 10/26/20 18:17:07 10/26/20 18:18:24 anonymous           103613249‐46   410402‐1    dewan              sanjiv           269 Coachlight ter                       huntingdon Valley PA 19006   USPS Issue
1857  1855 10/26/20 18:17:12 10/26/20 18:18:28 anonymous           005684642‐46   530103‐1    Faga               Amy Ryan         417 Shipwrighter Way                     Lansdale, PA 19446           Incomplete Declaration
1858  1856 10/26/20 18:18:34 10/26/20 18:19:41 anonymous           010068220‐46   58ROB00‐1   Stickel            Terrie Lou       865 Babb Circle                          Wayne, PA 19087              Incomplete Declaration
1859  1857 10/26/20 18:18:31 10/26/20 18:20:53 anonymous           108357575‐46   430102‐1    deninger           laura            869 port republic rd. apt 88L3           Harrisonburg VA 22801        USPS Issue
1860  1858 10/26/20 18:19:47 10/26/20 18:21:36 anonymous           005694240‐46   620001‐1    Payne              Bryce F., Jr     2940 Barndt Rd                           Telford, PA 18969            Incomplete Declaration
1861  1859 10/26/20 18:21:03 10/26/20 18:22:31 anonymous           103826538‐46   540703‐1    eleazer            zena             1415 lincoln dr. w. Apt                  ambler pa 19002              USPS Issue
1862  1860 10/26/20 18:21:37 10/26/20 18:23:22 anonymous           010159653‐46   390201‐1    Harden             Robert Edward    301 Norristown Rd apt B106               Ambler, PA 19002             Incomplete Declaration
1863  1861 10/26/20 18:22:33 10/26/20 18:23:38 anonymous           006012816‐46   590502‐1    earnest            Tara             117 Susan Dr.                            Elkins Park PA 19027         USPS Issue
1864  1862 10/26/20 18:23:25 10/26/20 18:24:57 anonymous           009850864‐46   400301‐1    Fristrom           Edward Carl      724 Oxford Rd                            Bala Cynwyd, PA 19004        Incomplete Declaration
1865  1863 10/26/20 18:23:40 10/26/20 18:25:07 anonymous           021371622‐46   520101‐1    Eldridge           lariese          9801 Germantown Pk PO Box 408 Layfayette Hill PA 19444                USPS Issue
1866  1864 10/26/20 18:25:03 10/26/20 18:26:47 anonymous           015914718‐46   65M05‐1     Endrikat           Fred             4034 Crescent Ave                        Lafayette Hill, PA 19444     Incomplete Declaration
1867  1865 10/26/20 18:25:22 10/26/20 18:26:59 anonymous           055967321‐46   530301‐1    epprecht           Peter            po box 324                               Mainline PA 19451            USPS Issue
1868  1866 10/26/20 18:26:50 10/26/20 18:27:55 anonymous           006245077‐46   61O00‐1     Fetterman          Amy Lynn         21 Brandon Circle                        Phoenixville, PA 19460       Incomplete Declaration
1869  1867 10/26/20 18:27:08 10/26/20 18:28:37 anonymous           005831213‐46   530201‐1    flinchbaugh        James            215 Broad St. S. Apt 9                   Lansdale PA 19446            USPS Issue
1870  1868 10/26/20 18:27:58 10/26/20 18:29:30 anonymous           006351048‐46   470003‐1    Parker             Alexis A.        1946 Canyon Creek Rd                     Gilbertsville, PA 19525      Incomplete Declaration
1871  1869 10/26/20 18:28:42 10/26/20 18:30:01 anonymous           005831144‐46   430202‐1    foley              Barbara          1110 Wooded Pl                           Eagleville PA 19403          USPS Issue
1872  1870 10/26/20 18:29:32 10/26/20 18:30:43 anonymous           020657928‐46   310504‐1    Evans              Angela Monique   7430 Elizabeth Rd                        Elkins Park, PA 19027        Incomplete Declaration
1873  1871 10/26/20 18:30:03 10/26/20 18:31:21 anonymous           104221603‐46   520302‐1    Frye               Mercedes         unknown                                  oreland PA 19075             USPS Issue
1874  1872 10/26/20 18:30:45 10/26/20 18:32:03 anonymous           103677070‐46   560003‐1    Kim                Brian R.         131 Church Rd Apt 8‐K                    North Wales, PA 19454        Incomplete Declaration
1875  1873 10/26/20 18:31:39 10/26/20 18:32:41 anonymous           005708450‐46   65W02‐1     flocco             mary elaine      250 ridge pike uni C255 Layfayette Green Lafayette Hill PA 19444      USPS Issue
1876  1874 10/26/20 18:32:50 10/26/20 18:33:50 anonymous           110568501‐46   360105‐1    gonzalez           damian           213 maple Ave Apt I‐136                  horsham PA 19044             USPS Issue
1877  1875 10/26/20 18:32:05 10/26/20 18:34:11 anonymous           005924544‐46   530103‐1    Roberts            Stephen M.       1809 Red Oak Way                         Hatfield, PA 19440           Incomplete Declaration
1878  1876 10/26/20 18:33:57 10/26/20 18:35:07 anonymous           104245503‐46   310402‐1    Grimmage           Alexis           7669 Washington ln Apt A                 elkins park pa 19027         USPS Issue
1879  1877 10/26/20 18:34:14 10/26/20 18:35:41 anonymous           006067843‐46   65M03‐1     Lukens             Deborah A.       415 Revere Rd                            Lafayette Hill, PA 19444     Resolved
1880  1878 10/26/20 18:35:17 10/26/20 18:36:42 anonymous           107603745‐46   630201‐1    Guy                Emani            25 Evergreen Rd.                         Norristown PA 19403          USPS Issue
1881  1879 10/26/20 18:35:44 10/26/20 18:37:03 anonymous           005920445‐46   560004‐1    Foulke             Maryellen        2412 Brittany Point                      Lansdale, PA 19446           Incomplete Declaration
1882  1880 10/26/20 18:36:49 10/26/20 18:38:16 anonymous           010152978‐46   400701‐1    george             Steven           1001 City Ave. Unit ED 1014              Wynnewoods PA 19096          USPS Issue
1883  1881 10/26/20 18:38:26 10/26/20 18:39:16 anonymous           103869467‐46   540502‐1    Gagen              William          1956 Audubon Dr.                         Dresher PA                   USPS Issue
1884  1882 10/26/20 18:37:09 10/26/20 18:40:01 anonymous           006005311‐46   160600‐1    Boughter           Linda Maria      100 Hillside Dr Apt A‐4                  NA                           Incomplete Declaration
1885  1883 10/26/20 18:39:28 10/26/20 18:40:34 anonymous           107566187‐46   310701‐1    Griffin            Jamir            314 Jefferson Ave. Apt A                 Cheltenham PA 19012          USPS Issue
1886  1884 10/26/20 18:40:04 10/26/20 18:41:40 anonymous           006014057‐46   640001‐1    Slichter           Kirsten          18 E. Vine St                            Stowe, PA 19464              Resolved
1887  1885 10/26/20 18:40:41 10/26/20 18:42:01 anonymous           020680224‐46   550001‐1    Grubawsky          Ellen            3441 Westview Dr.                        Perkiomenville PA 19074      USPS Issue
1888  1886 10/26/20 18:41:43 10/26/20 18:43:07 anonymous           006054120‐46   470002‐1    Wenerowicz         Sheri Jean       2403 Fairview Lane                       Gilbertsville, PA 19525      Incomplete Declaration
1889  1887 10/26/20 18:42:07 10/26/20 18:43:23 anonymous           104088809‐46   310402‐1    grimmage           Amber            7669 washington ln apt A                 Elkins Park PA 19027         USPS Issue
1890  1888 10/26/20 18:43:30 10/26/20 18:44:41 anonymous           021205198‐46   530301‐1    Glover             Kathleen         2156 Mainland Rd.                        harleysville PA 19438        USPS Issue
1891  1889 10/26/20 18:43:10 10/26/20 18:44:43 anonymous           104904635‐46   310402‐1    Johnson            Toni             2107 Cheltenham Ave Apt B                Elkens Park, PA 19027        Incomplete Declaration

                                                                                                       Page 42 of 124
                                                                      Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 43 of 124


      A             B                C             D       E    F        G            H                I                     J                      K                               L                         M
 1 ID      Start time        Completion time Email       Name NumbeNumber2        Precinct:   Last Name           First name          Address Line 1                  Address Line 2              Issue
1892  1890 10/26/20 18:44:46 10/26/20 18:45:46 anonymous           005793299‐46   310404‐1    Driban              Michael             114 Woodland Rd                 Wyncote, PA 19095           Incomplete Declaration
1893  1891 10/26/20 18:44:48 10/26/20 18:46:09 anonymous           014593726‐46   310401‐1    holder              bobbie              1990 ashborne rd Apt 111        Elkins Park PA 19027        USPS Issue
1894  1892 10/26/20 18:45:50 10/26/20 18:47:27 anonymous           10354495‐46    61MC00‐1    Kardos              Colleen Jacquelyn   625 Hollow Rd                   Phoenixville, PA 19460      Incomplete Declaration
1895  1893 10/26/20 18:46:17 10/26/20 18:47:34 anonymous           005923364‐46   430304‐1    hunn                margaret            21507 Shannondell Dr.           Audubon PA 19403            USPS Issue
1896  1894 10/26/20 18:47:40 10/26/20 18:48:51 anonymous           021827433‐46   590502‐1    henry               govan               700 Lower state Rd.             North Wales PA 19454        USPS Issue
1897  1895 10/26/20 18:47:30 10/26/20 18:49:22 anonymous           106343701‐46   530302‐1    Jamila              Walter              904 A Stockton Court            Lansdale, PA 19446          Incomplete Declaration
1898  1896 10/26/20 18:49:17 10/26/20 18:50:11 anonymous           005908251‐46   160102‐1    hill                Frances             64 washington St. N.            pottstown PA 19464          USPS Issue
1899  1897 10/26/20 18:50:22 10/26/20 18:51:28 anonymous           005733079‐46   401201‐1    hoffman             Debra               92 Merbrook Ln                  Merion station PA 19066     USPS Issue
1900  1898 10/26/20 18:51:34 10/26/20 18:53:02 anonymous           014844708‐46   360103‐1    hayes               Genevieve           121 Galway Circle               Chalfont OA 18914           USPS Issue
1901  1899 10/27/20 8:43:23 10/27/20 8:44:56 anonymous             104301070‐46   110201‐1    Shahabuddin         MD                  27                              ‐                           USPS Issue
1902  1900 10/27/20 8:44:57 10/27/20 8:46:19 anonymous             014628352‐46   130203‐1    Campbell            Venus Wakefield     813 Swede St Apt 3              Norristown, PA 19401        USPS Issue
1903  1901 10/26/20 15:59:44 10/27/20 8:46:23 anonymous            003434359‐46   170001‐1    Rumley              Sarah               742 Cedar Ct                    Red Hill, PA 18076          USPS Issue
1904  1902 10/26/20 18:53:12 10/27/20 8:47:15 anonymous            109399232‐46   400903‐1    Howards             Emily               600 Righters Ferry Rd Apt 448   Bala Cynwyd, PA 19004       USPS Issue
1905  1903 10/27/20 8:46:21 10/27/20 8:47:24 anonymous             006325563‐46   630302‐1    McKinney            Thomas              1949 Yorktown North             Norristown, PA 19401        USPS Issue
1906  1904 10/27/20 8:46:25 10/27/20 8:48:13 anonymous             021253306‐46   500005‐1    Bae                 Evelyn              928 Masters Way                 Harleysville, PA 19438      USPS Issue
1907  1905 10/27/20 8:47:25 10/27/20 8:48:16 anonymous             006184282‐46   630302‐1    Greer               Chang S             566 Canterbury Rd               Norristown, PA 19401        USPS Issue
1908  1906 10/27/20 8:48:14 10/27/20 8:49:23 anonymous             105362807‐46   540402‐1    Calhoun             Sidney              304 Logan Ave                   Glenside, PA 19038          USPS Issue
1909  1907 10/27/20 8:47:22 10/27/20 8:49:37 anonymous             106710526‐46   530301‐1    Santiago‐Colon      Fernando            1406 N. Washtenaw Ave           Chicago, IL 60622           USPS Issue
1910  1908 10/27/20 8:48:47 10/27/20 8:49:44 anonymous             110516431‐46   310601‐1    Langer              Maya E              370 Lansdale Ave                Haverfaral, PA 19401        USPS Issue
1911  1909 10/27/20 8:49:45 10/27/20 8:50:23 anonymous             010211675‐46   630302‐1    Carter              Theodora C          10 King St                      ‐                           USPS Issue
1912  1910 10/27/20 8:49:51 10/27/20 8:50:42 anonymous             109262071‐46   400102‐1    Lewis               Bobbi               511 Fairview Rd                 Narberth, PA 19072          USPS Issue
1913  1911 10/27/20 8:49:27 10/27/20 8:50:48 anonymous             109245034‐46   320001‐1    Giannetti           Eliza               711 East Beaver Ave             State College PA 16801      USPS Issue
1914  1912 10/27/20 8:50:24 10/27/20 8:51:11 anonymous             005850870‐46   130201‐1    Fox                 Claire Marie        5700 Pine St                    Norristown, PA 19401        USPS Issue
1915  1913 10/27/20 8:50:50 10/27/20 8:51:53 anonymous             015184538‐46   530202‐1    Seibert             Keith               1850 S Valley Forge Rd          Lansdale, PA 19446          USPS Issue
1916  1914 10/27/20 8:50:46 10/27/20 8:52:02 anonymous             109205728‐46   540502‐1    Ostroff             Julie               556 Cardinal Dr                 Dresher, PA 19025           USPS Issue
1917  1915 10/27/20 8:51:12 10/27/20 8:52:32 anonymous             015021697‐46   590302‐1    Rosenthal           Arnold S            1001 Easton Rd Apt 615M         Willow Grove, PA 19090      USPS Issue
1918  1916 10/27/20 8:51:55 10/27/20 8:53:08 anonymous             006166090‐46   350101‐1    Bujak               Joseph              2100 Line St N Apt E303         Lansdale, PA 19446          USPS Issue
1919  1917 10/27/20 8:52:33 10/27/20 8:53:35 anonymous             108977269‐46   430303‐1    Neights             Elizabeth           2525 Condor Dr                  Audubon, PA 19403           USPS Issue
1920  1918 10/27/20 8:53:36 10/27/20 8:54:32 anonymous             109699538‐46   370004‐1    Maier               Oana                111 Morgan Dr                   Royersford, PA 19468        USPS Issue
1921  1919 10/27/20 8:52:34 10/27/20 8:55:04 anonymous             021108989‐46   520701‐1    Graham              Alyssa              2004 Quill LN                   Oreland, PA 19075           USPS Issue
1922  1920 10/27/20 8:54:33 10/27/20 8:55:31 anonymous             103587222‐46   460302‐1    Keaney              Hannah Louise       1337 Centennial Rd              Narberth, PA 19072          USPS Issue
1923  1921 10/27/20 8:53:09 10/27/20 8:55:37 anonymous             006214497‐46   310702‐1    Valoris             Barry               647 Arbor Rd                    Cheltenham, PA 19012        Cancelled
1924  1922 10/27/20 8:55:06 10/27/20 8:56:14 anonymous             006057242‐46   360103‐1    Bademan             Kathleen            316 Hidden Creek Dr             Hatboro, PA 19040           USPS Issue
1925  1923 10/27/20 8:55:33 10/27/20 8:56:41 anonymous             005744629‐46   370001‐1    Hegedus             Christine L         109 Sunny Brook Rd              Royersford, PA 19468        USPS Issue
1926  1924 10/27/20 8:55:41 10/27/20 8:56:59 anonymous             005957772‐46   430304‐1    Direnzo             Dominick            15103 Shannondell Dr            Audobon, PA 19403           USPS Issue
1927  1925 10/27/20 8:56:21 10/27/20 8:57:18 anonymous             103312435‐46   300702‐1    Kurien              Manish              343 Holmecrest RD               Jenkintown, PA 19046        USPS Issue
1928  1926 10/27/20 8:56:42 10/27/20 8:57:31 anonymous             006086080‐46   67W00‐1     Wlazelek            Kevin               35 Bristol Ct                   Norristown, PA 19403‐1074   USPS Issue
1929  1927 10/27/20 8:57:00 10/27/20 8:58:19 anonymous             005859488‐46   360104‐1    Emrich              Tara                30 Maurice Lane                 Hatboro, PA 19040           USPS Issue
1930  1928 10/27/20 8:57:24 10/27/20 8:58:30 anonymous             005792772‐46   500005‐1    Hughes              Mary                330 Kinsey Rd                   Harleysville, PA 19438      USPS Issue
1931  1929 10/27/20 8:57:32 10/27/20 8:58:49 anonymous             006116297‐46   190001‐1    Hinkle              Jodi Rlou           500 Church St Spt1              Royersford, PA 19468        USPS Issue
1932  1930 10/27/20 8:58:26 10/27/20 8:59:40 anonymous             003418649‐46   320003‐1    Urmson              Star                1145 Grosser Rd                 Gilbertsville, PA 19525     USPS Issue
1933  1931 10/27/20 8:58:53 10/27/20 8:59:43 anonymous             005881583‐46   370001‐1    Golden III          Ray                 165 Ridge Pike W, Lot 255       Royersford, PA 19468        USPS Issue
1934  1932 10/27/20 8:59:44 10/27/20 9:00:42 anonymous             006098749‐46   370001‐1    Montague            James K             109 Sunny Brook Rd              Royersford, PA 19468        USPS Issue
1935  1933 10/27/20 8:59:41 10/27/20 9:00:44 anonymous             009684785‐46   430304‐1    Quill               Jean                12218 Shannondell Dr Apt 218    Audubon, PA 19403           USPS Issue
1936  1934 10/27/20 9:00:44 10/27/20 9:01:33 anonymous             006349362‐46   530103‐1    Chen                Xiaoying            410 Shipwrighter Way            Lansdale, PA 19446          USPS Issue

                                                                                                        Page 43 of 124
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      A            B               C             D       E    F        G            H               I                    J                   K                             L                         M
 1 ID     Start time       Completion time Email       Name NumbeNumber2        Precinct:   Last Name          First name       Address Line 1               Address Line 2              Issue
1937  1935 10/27/20 9:00:45 10/27/20 9:01:34 anonymous           006065357‐46   430304‐1    Friel              Thomas           14 Buckwalter Rd             Audubon PA 19403            USPS Issue
1938  1936 10/27/20 9:01:35 10/27/20 9:02:21 anonymous           006349400‐46   530103‐1    Zeng               Zhizhen          410 Shipwrighter Way         Lansdale, PA 19446          USPS Issue
1939  1937 10/27/20 9:01:54 10/27/20 9:03:18 anonymous           005979609‐46   400502‐1    Cook               David            105 Llanfair Rd              Ardmore, PA 19003           USPS Issue
1940  1938 10/27/20 9:02:22 10/27/20 9:03:18 anonymous           104340213‐46   400201‐1    Hollin             Noah Jeffrey     1328 Beaumont Dr             Gladwyne, PA 19035‐1302     USPS Issue
1941  1939 10/27/20 9:03:19 10/27/20 9:04:20 anonymous           006109415‐46   310201‐1    Barksdale          Jerome           8109 Fenton Rd               Laverock, PA 19038          USPS Issue
1942  1940 10/27/20 9:03:19 10/27/20 9:05:55 anonymous           021767104‐46   420002‐1    Kelly              Sondra           2688 High St E Apt 11        Pottstown, PA 19464         USPS Issue
1943  1941 10/27/20 9:04:22 10/27/20 9:06:15 anonymous           005834920‐46   380002‐1    Peters             Jennifer M       PO Box 313                   East Texas, PA 18046        USPS Issue
1944  1942 10/27/20 9:03:23 10/27/20 9:06:24 anonymous           104403808‐46   530303‐1    Malecky            Margaret         107 Tweed Way                Harleysville, PA 19438      USPS Issue
1945  1943 10/27/20 9:06:17 10/27/20 9:06:54 anonymous           108711792‐46   190001‐1    Ludy               Kiersten         Apt 3                        Royersford, PA 19468        USPS Issue
1946  1944 10/27/20 9:05:57 10/27/20 9:07:21 anonymous           107847237‐46   540403‐1    Stoughton          John             1080 Camp Hill Rd            Fort Washington, PA 19034   USPS Issue
1947  1945 10/27/20 9:06:27 10/27/20 9:07:49 anonymous           107621022‐46   230001‐1    Barth              Solomon          236 Seventh Ave E            Trappe, PA 19426            USPS Issue
1948  1946 10/27/20 9:06:55 10/27/20 9:08:05 anonymous           006031417‐46   010200‐1    Scott              Leslie           107 Chesnut St PO Box 845    Ambler, PA 19002            USPS Issue
1949  1947 10/27/20 9:07:23 10/27/20 9:08:39 anonymous           109278526‐46   58ROB00‐1   Scallon            Daniel           219 Miller Road Apt F        Akron, PA 17501             USPS Issue
1950  1948 10/27/20 9:08:06 10/27/20 9:08:49 anonymous           006001955‐46   430202‐1    Lastowka           Thomas M         313 Conestoga Way Apt B‐18   Eagleville, PA 19403        USPS Issue
1951  1949 10/27/20 9:07:56 10/27/20 9:09:23 anonymous           005845155‐46   401001‐1    Seegul             Barbara          100 Grays LN APT 403         Haverford, PA 19041         USPS Issue
1952  1950 10/27/20 9:08:50 10/27/20 9:09:40 anonymous           105051603‐46   530103‐1    Butz               Daniel Stephen   2040 Pleasant Valley Dr      Lansdale, PA 19446          USPS Issue
1953  1951 10/27/20 9:08:43 10/27/20 9:09:41 anonymous           103734273‐46   3700002‐1   Holsey             Monique          312 Masters Drive            Pottstown, PA 19464         USPS Issue
1954  1952 10/27/20 9:09:42 10/27/20 9:11:29 anonymous           006025615‐46   401101‐1    Blumberg           Sandra           620 Morris Ave               Bryn Mawr, PA 19010         USPS Issue
1955  1953 10/27/20 9:09:42 10/27/20 9:12:09 anonymous           020038512‐46   590702‐1    Donlon             Marguerite       2815 Byberry Rd Apt 126      Hatboro, PA 19040           USPS Issue
1956  1954 10/27/20 9:11:40 10/27/20 9:13:07 anonymous           005962422‐46   65W03‐1     Beaty              Barbara J        Room 2138                    ‐                           USPS Issue
1957  1955 10/27/20 9:12:12 10/27/20 9:13:25 anonymous           005901959‐46   590702‐1    Sickel             William          2815 Byberry Rd              Hatboro, PA 19040           USPS Issue
1958  1956 10/27/20 9:13:08 10/27/20 9:13:57 anonymous           006283534‐46   58GUL01‐1   Alfriend           Starlisha C      360 Winding Way              ‐                           USPS Issue
1959  1957 10/27/20 9:13:28 10/27/20 9:14:40 anonymous           006122828‐46   590602‐1    Shalcosky          Sue              3445 Davisville Rd           Hatboro, PA 19040           USPS Issue
1960  1958 10/27/20 9:13:58 10/27/20 9:14:52 anonymous           005760306‐46   590501‐1    Watson             Joseph P         306 Newington Dr             Hatboro, PA 19040           USPS Issue
1961  1959 10/27/20 9:14:42 10/27/20 9:16:25 anonymous           005092923‐46   590702‐1    Smith              Elinor           2723 Maple Village           Hatboro, PA 19040           USPS Issue
1962  1960 10/27/20 9:15:07 10/27/20 9:18:39 anonymous           006155560‐46   590702‐1    Eichorn            Lynne Ann        2575 Pioneer Rd              Hatboro, PA 19040           USPS Issue
1963  1961 10/27/20 9:16:27 10/27/20 9:19:21 anonymous           015720036‐46   590502‐1    Zebin              Randy            3855 Davisville Rd           Hatboro, PA 19040           USPS Issue
1964  1962 10/27/20 9:18:41 10/27/20 9:19:35 anonymous           005733747‐46   590501‐1    Johnson            Cheryl V         306 Newington Dr             Hatboro, PA 19040           USPS Issue
1965  1963 10/27/20 9:19:36 10/27/20 9:20:30 anonymous           006163376‐46   500002‐1    Burns              Irma Luz         124 Ellen Way                Harleysville, PA 19438      USPS Issue
1966  1964 10/27/20 9:19:23 10/27/20 9:20:57 anonymous           108970046‐46   390101‐1    Debroy             Whitney          81 Woodview Lane             North Wales, PA 19454       USPS Issue
1967  1965 10/27/20 9:20:31 10/27/20 9:21:30 anonymous           005850579‐46   460004‐1    Caucci             Robert J         318 Winding Brook Run        North Wales, PA 19454       USPS Issue
1968  1966 10/27/20 9:21:32 10/27/20 9:23:27 anonymous           103521304‐46   460003‐1    Hagmeier           Brian Matthew    106 Hawthorne Dr             North Wales, PA 19454       USPS Issue
1969  1967 10/27/20 9:23:29 10/27/20 9:24:35 anonymous           109325354‐46   540601‐1    Johnson            Doreen Georita   1600 Holly Hill Ln           Ambler, PA 19002            USPS Issue
1970  1968 10/27/20 9:20:58 10/27/20 9:24:48 anonymous           103328969‐46   470001‐1    Schmall            Kelsie           211 Tulip Lane               Gilberstsville, PA 19525    USPS Issue
1971  1969 10/27/20 9:24:36 10/27/20 9:25:22 anonymous           108714103‐46   540601‐1    Nascimento         Arlene E         1528 Aidenn Lair Rd          Ambler, PA 19002            USPS Issue
1972  1970 10/27/20 9:25:24 10/27/20 9:26:26 anonymous           108208322‐46   540601‐1    Nascimento         Livia M          1528 Aidenn Lair Rd          Ambler, PA 19002            USPS Issue
1973  1971 10/27/20 9:24:49 10/27/20 9:26:35 anonymous           105512489‐46   520302‐1    Howell             Vanessa          230 South Main Street        Providence RI 02903         USPS Issue
1974  1972 10/27/20 9:26:28 10/27/20 9:27:32 anonymous           005825450‐46   540203‐1    Rosenau            Richard S        1041 Denston Dr              Ambler, PA 19002            USPS Issue
1975  1973 10/27/20 9:26:37 10/27/20 9:28:10 anonymous           106784310‐46   300101‐1    Murcar             Micaela          1150 Meadowbrook Rd          Jenkintown, PA19046         USPS Issue
1976  1974 10/27/20 9:27:33 10/27/20 9:28:34 anonymous           006419761‐46   390102‐1    Swartley           John A Jr        650 Greycliffe Ln            Ambler, PA 19002            USPS Issue
1977  1975 10/27/20 9:28:11 10/27/20 9:29:30 anonymous           110541362‐46   100200‐1    Beauchamp          Magdelene        311 Summit Ave               Jenkintown, PA 19046        USPS Issue
1978  1976 10/27/20 9:28:35 10/27/20 9:29:42 anonymous           005869015‐46   390102‐1    Schuyler           Janice L         650 Greycliffe Ln            Ambler, PA 19002            USPS Issue
1979  1977 10/27/20 9:29:43 10/27/20 9:30:44 anonymous           006062768‐46   390202‐1    Jacquette          Jo Anne M        413 Cedar Ln                 Ambler, PA 19002            USPS Issue
1980  1978 10/27/20 9:29:31 10/27/20 9:32:42 anonymous           005706361‐46   130302‐1    Armstrong          Mary             1326 Dekalb St               Norristown, PA 19401        USPS Issue
1981  1980 10/27/20 9:32:43 10/27/20 9:34:06 anonymous           102821768‐46   65W01‐1     Pantone            Thomas           365 Park Edge Dr             Clinton, PA 19428           No secrecy envelope

                                                                                                     Page 44 of 124
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      A             B                C             D       E    F        G            H               I                    J                        K                                     L                          M
 1 ID      Start time        Completion time Email       Name NumbeNumber2        Precinct:   Last Name         First name         Address Line 1                            Address Line 2              Issue
1982  1981 10/27/20 9:33:34 10/27/20 9:34:24 anonymous             107553074‐46   340001‐1    Brodish           Micayla E          585 Morwood Rd                            Telford, PA 18969           USPS Issue
1983  1982 10/27/20 9:34:25 10/27/20 9:35:25 anonymous             103389977‐46   400601‐1    Hewitt            Max M              42 Rosemont Ave                           Bryn Mawr, PA 19010         USPS Issue
1984  1983 10/27/20 9:34:10 10/27/20 9:35:49 anonymous             021868705‐46   560001‐1    Koebert           Thomas             n/a                                       n/a                         No secrecy envelope
1985  1984 10/27/20 9:35:26 10/27/20 9:36:27 anonymous             106943413‐46   400102‐1    Prendergast       Olivia Catherine   112 Righters Mill Rd                      Narberth, PA 19072          USPS Issue
1986  1985 10/27/20 9:35:50 10/27/20 9:38:21 anonymous             108240512‐46   040003‐1    Tarone            Jeanette           186 Stine Drive                           n/a                         USPS Issue
1987  1986 10/27/20 9:38:23 10/27/20 9:39:58 anonymous             110900602‐46   401002‐1    Shader            Ava                n/a                                       n/a                         USPS Issue
1988  1987 10/27/20 9:40:01 10/27/20 9:41:26 anonymous             107755802‐46   401103‐1    Block             Sophia             811 Oak Ridge Rd                          Bryn Mawr, PA 19010         USPS Issue
1989  1988 10/27/20 9:36:30 10/27/20 9:42:07 anonymous             005804508‐46   330102‐1    Lipshutz          Morton H           2803 Stanbridge St Timberlake Apts Norristown, PA 19401               USPS Issue
1990  1989 10/27/20 9:42:09 10/27/20 9:43:22 anonymous             015512399‐46   050400‐1    Kendrat           Kelly A            407 Sixth Ave W                           Conshohocken, PA 19428      USPS Issue
1991  1990 10/27/20 9:41:27 10/27/20 9:43:26 anonymous             107908112‐46   400803‐1    Emery             Sean               500 College Rd                            Swarthmore, PA 19081        USPS Issue
1992  1991 10/27/20 9:43:27 10/27/20 9:44:19 anonymous             014625540‐46   520203‐1    Walker            Rosalie            no address                                no address                  USPS Issue
1993  1992 10/27/20 9:44:20 10/27/20 9:45:17 anonymous             102497551‐46   660001‐1    Carber            Meredith Hunt      149 Gleneagles Ct                         Blue Bell, PA 19422         USPS Issue
1994  1993 10/27/20 9:43:28 10/27/20 9:46:14 anonymous             015188644‐46   130302‐1    Walker            Lydia              217 Oak St E                              Norristown, PA 19401        USPS Issue
1995  1994 10/27/20 9:45:18 10/27/20 9:46:36 anonymous             110622327‐46   540301‐1    Douglass          Melissa M          1029 Madison St                           Syracuse, NY 13210          USPS Issue
1996  1995 10/27/20 9:46:15 10/27/20 9:47:39 anonymous             014905986‐46   120001‐1    Golden            Colleen            304 A Windsor Ave                         Narberth, PA 19072          USPS Issue
1997  1996 10/27/20 9:46:37 10/27/20 9:47:39 anonymous             109390623‐46   401402‐1    Dessain           Carly Elizabeth    1370 Indian Creek Dr W                    Wynnewood, PA 19096         USPS Issue
1998  1997 10/27/20 9:47:40 10/27/20 9:48:47 anonymous             021661179‐46   130101‐1    Kelley            Denise A           104 Rosemont Ave                          Norristown, PA 19401        USPS Issue
1999  1998 10/27/20 9:47:41 10/27/20 9:49:04 anonymous             006224601‐46   400903‐1    Eidelson          Richard            190 Presidential, Uni 605                 Bala‐Cynwyd, PA 19007       USPS Issue
2000  1999 10/27/20 9:48:48 10/27/20 9:49:52 anonymous             109719998‐46   370005‐1    Bogdan            Haley Elyce        322 Collegiate Court                      Shippensburg, PA 19473      USPS Issue
2001  2000 10/27/20 9:49:05 10/27/20 9:50:27 anonymous             010563716‐46   67W00‐1     Griffith          Mark               108 Glenwood Ave                          Norristown, PA 19426        USPS Issue
2002  2001 10/27/20 9:49:54 10/27/20 9:50:39 anonymous             005695322‐46   130201‐1    Jones             Rogers             746 Kohn St                               Norristown, PA 19401        USPS Issue
2003  2002 10/27/20 9:50:40 10/27/20 9:51:50 anonymous             006312892‐46   61T00‐1     Manzo             Marie              168 Bechtel Rd                            Collegeville, PA 19426      USPS Issue
2004  2003 10/27/20 9:50:28 10/27/20 9:52:45 anonymous             006236304‐46   301102‐1    Wilder            Don                n/a                                       Philadelphia, PA 19117      USPS Issue
2005  2004 10/27/20 9:51:52 10/27/20 9:52:56 anonymous             107225082‐46   590402‐1    Pursel            Kelsey R           3625 Welsh Rd Apt G‐6                     Willow Grove, PA 19090      USPS Issue
2006  2005 10/27/20 9:52:47 10/27/20 9:53:57 anonymous             020930391‐46   480001‐1    Hartman           Kevin              905 Hamilton Rd                           Collegeville PA 19426       USPS Issue
2007  2006 10/27/20 9:53:06 10/27/20 9:54:15 anonymous             006330123‐46   300801‐1    Murray            Frank              1801 North Hills Ave                      Willow Grove, PA 19090      USPS Issue
2008  2007 10/27/20 9:53:58 10/27/20 9:55:13 anonymous             003391703‐46   510002‐1    Bosco             Jennifer           3819 Mill Rd 1st Floor Rear               Collegeville, PA 19426      USPS Issue
2009  2008 10/27/20 9:57:06 10/27/20 9:58:27 anonymous             006082964‐46   401402‐1    Saltz             Jeffrey            1204 Weymouth RD                          Wynnewood, PA 19096         USPS Issue
2010  2009 10/27/20 9:58:59 10/27/20 10:00:12 anonymous            109645795‐46   400403‐1    Astillero         Angelina           419 Lancaster AVE                         Haverford, PA 19041         USPS Issue
2011  2010 10/27/20 10:13:45 10/27/20 10:15:10 anonymous           109373465‐46   420004‐1    Higgins           Gerald             109 Winchester Drive                      Blue Bell, PA 19422         USPS Issue
2012  2011 10/27/20 10:15:16 10/27/20 10:16:32 anonymous           108704435‐46   400102‐1    Schnoll           Max                439 Righters Mill Rd                      Narberth, PA 19072          USPS Issue
2013  2012 10/27/20 9:54:16 10/27/20 10:17:05 anonymous            105472292‐46   360103‐1    Wade              Sean Patrick       211A Gage Dr                              Oceanside, CA 92058         USPS Issue
2014  2013 10/27/20 10:16:41 10/27/20 10:17:46 anonymous           021882377‐46   660001‐1    Yan               Sharon             851 Reynards Run                          Blue Bell, PA 19422         USPS Issue
2015  2014 10/27/20 10:17:06 10/27/20 10:18:16 anonymous           109552536‐46   390101‐46   Wagner            Sarah Elizabeth    1417 Tanglewood Dr                        North Wales, PA 19454       USPS Issue
2016  2015 10/27/20 10:17:51 10/27/20 10:19:13 anonymous           10906908‐46    58KIN01‐1   Galbokkahewage    Ajith              519 Bill Smith Blvd                       King of Prussia, PA 19406   USPS Issue
2017  2016 10/27/20 10:18:17 10/27/20 10:19:27 anonymous           005916559‐46   401103‐1    Turner            Jennifer J         710 Harriton Rd                           Bryn Mawr, PA 19010         USPS Issue
2018  2017 10/27/20 10:19:28 10/27/20 10:20:31 anonymous           108980827‐46   08S02‐1     Metzgar           John David IV      2950 Bixby Ln                             Boulder, CO 80303           USPS Issue
2019  2018 10/27/20 10:20:32 10/27/20 10:21:08 anonymous           006042777‐46   300802‐1    Phillips          Janet              2914 Senak Rd                             Abington, PA 19001          USPS Issue
2020  2019 10/27/20 10:21:09 10/27/20 10:22:36 anonymous           009813108‐46   400601‐1    Nicholson         Stanley Sr         35 Rosemont Ave                           Bryn Mawr, PA 19010         USPS Issue
2021  2020 10/27/20 10:22:37 10/27/20 10:23:56 anonymous           006105856‐46   360105‐1    Dinkins           Melvez J           102 Woodlawn Ave, Blair Mill Village Apts Horsham, PA 19044           USPS Issue
2022  2021 10/27/20 10:23:58 10/27/20 10:24:38 anonymous           006062324‐46   470001‐1    Roy               Jean Noel          370 Renninger Rd                          Frederick, PA 19435         USPS Issue
2023  2022 10/27/20 10:24:39 10/27/20 10:25:29 anonymous           006319263‐46   500005‐1    Cleary            Liam Vincent       765 Cross Rd                              Lederach, PA 19450          USPS Issue
2024  2023 10/27/20 10:25:30 10/27/20 10:26:22 anonymous           005908324‐46   500005‐1    Wysock            Congetta T         663 Camp Wawa Rd                          Lederach, PA 19450          USPS Issue
2025  2024 10/27/20 10:26:23 10/27/20 10:27:27 anonymous           021194792‐46   520502‐1    Russell           Michael Brooks     510 Auburn Ave                            Glenside, PA 19038          USPS Issue
2026  2025 10/27/20 10:26:31 10/27/20 10:27:45 anonymous           103406183‐46   410300‐1    McQueen           Kate               3475 Surrey Rd                            Huntingdon Vly, PA 19006    USPS Issue

                                                                                                      Page 45 of 124
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      A             B                C             D       E    F        G             H               I                    J                      K                             L                            M
 1 ID      Start time        Completion time Email       Name NumbeNumber2        Precinct:   Last Name           First name         Address Line 1                 Address Line 2               Issue
2027  2026 10/27/20 10:27:28 10/27/20 10:28:17 anonymous           103570553‐46   370003‐1    Rafuse              Alexander Wilson   1178 Main St                   Royersford, PA 19468         USPS Issue
2028  2027 10/27/20 10:28:18 10/27/20 10:29:11 anonymous           109234852‐46   460008‐1    Digregoria          Deidre             3203 Avenel Blvd               North Wales, PA 19454        USPS Issue
2029  2028 10/27/20 10:27:50 10/27/20 10:29:15 anonymous           10825881‐46    660002‐1    Hayward             Rhiannon           900 Cross LN                   Blue Bell, PA 19422          USPS Issue
2030  2029 10/27/20 10:29:12 10/27/20 10:29:59 anonymous           005979508‐46   660010‐1    Morello             Rochelle D         1502 Sullivan Dr               Blue Bell, PA 19422          USPS Issue
2031  2030 10/27/20 10:30:00 10/27/20 10:31:05 anonymous           005893295‐46   660007‐1    Pupek               George E           1417 A Royal Oak Dr            Blue Bell, PA 19422          USPS Issue
2032  2031 10/27/20 10:31:06 10/27/20 10:31:49 anonymous           006097784‐46   490302‐1    Yeager              Gary E             551 Plymouth Rd                Plymouth Meeting, PA 19462   USPS Issue
2033  2032 10/27/20 10:31:51 10/27/20 10:32:43 anonymous           006228197‐46   490302‐1    Helkin              Alecia M           777 W Germantown Pike, Apt 926 Plymouth Meeting, PA 19462   USPS Issue
2034  2033 10/27/20 10:32:44 10/27/20 10:33:32 anonymous           006332632‐46   490301‐1    Adams               Barbara T          229 Stewart Ct                 Plymouth Mtg, PA 19462       USPS Issue
2035  2034 10/27/20 10:33:34 10/27/20 10:34:26 anonymous           005857974‐46   660001‐1    Delvecchio          Marie K            120 Medinah Dr                 Blue Bell, PA 19422          USPS Issue
2036  2035 10/27/20 9:55:16 10/27/20 10:37:27 anonymous            006363607‐46   370003‐1    Branco              Richard            16 Mill Lane                   Royersford, Pa 19468         USPS Issue
2037  2036 10/27/20 10:29:21 10/27/20 10:37:46 anonymous           108081711‐46   390104‐1    Tappen              Alexander          1233 Forest Hill Dr LOW        Ambler, PA 19002             USPS Issue
2038  2037 10/27/20 10:37:28 10/27/20 10:38:33 anonymous           015496245‐46   540201‐1    Perry               Alexandria         233 Summit Ave                 Fort Washington, PA 19034    USPS Issue
2039  2038 10/27/20 10:37:53 10/27/20 10:39:27 anonymous           104391062‐46   310201‐1    Roberts             Chase              7801 Deer Run Rd               Glenside, PA 19038           USPS Issue
2040  2039 10/27/20 10:38:35 10/27/20 10:39:47 anonymous           109387787‐46   520601‐1    Edler               Jacob              1800 Bethlehem Pike APT 2D Flourtown, PA 19031              USPS Issue
2041  2040 10/27/20 10:39:49 10/27/20 10:40:45 anonymous           104314508‐46   210100‐1    Feeney              Marita             117 West Broad St              Souderton, PA 18964          USPS Issue
2042  2041 10/27/20 10:39:36 10/27/20 10:41:59 anonymous           107207214‐46   470001‐1    Burghardt           Thomas             200 Tulip LN                   Gilbertsville, PA 19525      USPS Issue
2043  2042 10/27/20 10:40:47 10/27/20 10:42:11 anonymous           003486420‐46   210100‐1    Feeney              Samuel             117 West Broad St APT B        Souderton, PA 18964          USPS Issue
2044  2043 10/27/20 10:42:13 10/27/20 10:43:12 anonymous           009923726‐46   210100‐1    Evans               Dana               123 Broad St W                 Souderton, PA 18964          USPS Issue
2045  2044 10/27/20 10:42:17 10/27/20 10:43:48 anonymous           005713747‐46   470003‐1    Steinruck           Thomas             2303 Sterling Dr               Gilbertsville, PA 19525      USPS Issue
2046  2045 10/27/20 10:43:53 10/27/20 10:45:43 anonymous           110472273‐46   150001‐1    Hanshew             Amanda             502 main st Apt, 2F            Pennsburg, PA 18073          USPS Issue
2047  2046 10/27/20 10:45:49 10/27/20 10:47:56 anonymous           021305647‐46   660005‐1    Cohen               Ethan              4702 Cedar Ave Fl 2            Philadelphia PA 19113        USPS Issue
2048  2047 10/27/20 10:48:40 10/27/20 10:49:46 anonymous           109822707‐46   540403‐1    Ellis               Dejason            1300 Cory Dr                   Fort Washington, PA 19034    USPS Issue
2049  2048 10/27/20 10:34:27 10/27/20 10:51:04 anonymous           107749646‐46   400401‐1    Craig               Isaac Milan        113 Walnut Ave Apt 3           Ardmore, PA 19003            USPS Issue
2050  2049 10/27/20 10:50:07 10/27/20 10:51:29 anonymous           107772442‐46   350101‐1    Kim                 Joy                231 Hampton Green Dr           North Wales, PA 19454        USPS Issue
2051  2050 10/27/20 10:51:05 10/27/20 10:52:04 anonymous           015088345‐46   410100‐1    Bolden              Danette Michelle   513 Carson Ter                 Huntingdon Vly, PA 19006     USPS Issue
2052  2051 10/27/20 10:48:21 10/27/20 10:52:14 anonymous           005895500‐46   370003‐1    Flack               Patricia           307 Stonebach Ct               Royersford, PA 19468         USPS Issue
2053  2052 10/27/20 10:52:05 10/27/20 10:52:45 anonymous           005900897‐46   300701‐1    Kohn                Deborah            1332 Fairy Hill Rd             Jenkintown, PA 19046         USPS Issue
2054  2053 10/27/20 10:51:35 10/27/20 10:53:16 anonymous           108311072‐46   130101‐1    Patel               Jyotsnaben         1238                           N/A                          USPS Issue
2055  2054 10/27/20 10:52:21 10/27/20 10:53:22 anonymous           005799650‐46   160101‐1    Szczepanski         Evelyn             20 Charlotte St S Apt 2        Pottstown, PA 19464          USPS Issue
2056  2055 10/27/20 10:52:47 10/27/20 10:53:30 anonymous           103113199‐46   310104‐1    Hetrick             Coleen Theresa     135 New St                     Glenside, PA 19038           USPS Issue
2057  2056 10/27/20 10:53:31 10/27/20 10:54:29 anonymous           009381968‐46   210300‐1    Reynolds            Pamela T           477 Second St                  Souderton, PA 18964          USPS Issue
2058  2057 10/27/20 10:53:22 10/27/20 10:54:51 anonymous           005873555‐46   380002‐1    Jarrett             Stephen            P.O. Box 158                   N/A                          USPS Issue
2059  2058 10/27/20 10:53:23 10/27/20 10:54:59 anonymous           109076479‐46   430203‐1    Byrne               Julie              8050 Fair View Lane            Eagleview, PA 19403          USPS Issue
2060  2059 10/27/20 10:54:30 10/27/20 10:55:19 anonymous           006195074‐46   430101‐1    Prusacki            Jennifer A         1010 Greenes Way Cir           Collegeville, PA 19426       USPS Issue
2061  2060 10/27/20 10:55:20 10/27/20 10:55:58 anonymous           005780485‐46   480002‐1    Knowles             Sandra G           464 Adrian Rd                  Collegeville, PA 19426       USPS Issue
2062  2061 10/27/20 10:55:00 10/27/20 10:56:04 anonymous           006317368‐46   480001‐1    Oxenham             Mitzie             602 Gunpowder Ct               Collegeville, PA 19426       USPS Issue
2063  2062 10/27/20 10:54:56 10/27/20 10:56:26 anonymous           110016518‐46   310401‐1    Collins             Jamie              2033 John Russell Cir N APT B Elkins Park, PA 19027         USPS Issue
2064  2063 10/27/20 10:55:59 10/27/20 10:56:37 anonymous           006216081‐46   480001‐1    Chantry             Adam D             412 Glendale Rd                Collegeville, PA 19426       USPS Issue
2065  2064 10/27/20 10:56:06 10/27/20 10:57:12 anonymous           108208892‐46   300703‐1    Greene              Claire             1801 Susquehanna Rd Apt 319H Abington, PA 19001             USPS Issue
2066  2065 10/27/20 10:56:38 10/27/20 10:57:27 anonymous           014814731‐46   310602‐1    Gecker              Hilda              1509 Ashbourne Rd Apt 214      Elkins Park, PA 19027        USPS Issue
2067  2066 10/27/20 10:56:31 10/27/20 10:57:36 anonymous           104589126‐46   360404‐1    Albarazanji         Kamal              700 Lower State Rd             North Wales, PA 19454        USPS Issue
2068  2067 10/27/20 10:57:29 10/27/20 10:58:09 anonymous           021292175‐46   400802‐1    Chung               Daniel Stephen     334 Spring Ave E               Ardmore, PA 19003            USPS Issue
2069  2068 10/27/20 10:57:14 10/27/20 10:58:19 anonymous           006262551‐46   300101‐1    Pickens             Rebecca            1539 Hampton Rd                Jenkintown, PA 19046         USPS Issue
2070  2069 10/27/20 10:57:45 10/27/20 10:58:42 anonymous           107550188‐46   401203‐1    Rychik              Sima               257 Linden LN                  Merion Station, PA 19066     USPS Issue
2071  2070 10/27/20 10:58:10 10/27/20 10:58:59 anonymous           009825845‐46   400401‐1    Vangore             Donald             113 Cricket Ave Apt 104        Ardmore, PA 19003            USPS Issue

                                                                                                        Page 46 of 124
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      A             B                C             D       E    F        G            H                I                    J                           K                                        L                              M
 1 ID      Start time        Completion time Email       Name NumbeNumber2        Precinct:   Last Name          First name           Address Line 1                                  Address Line 2                Issue
2072  2071 10/27/20 10:58:20 10/27/20 10:59:40 anonymous           006372415‐46   310304‐1    Banton             Shirley              28 Latham Pkwy                                  Elkins Park, PA 19027         USPS Issue
2073  2072 10/27/20 10:59:41 10/27/20 11:00:53 anonymous           021321879‐46   310402‐1    Burk               Patricia             7621 Washington Lane Apt #A                     Elkins PArk, PA 19027         USPS Issue
2074  2073 10/27/20 10:59:00 10/27/20 11:02:19 anonymous           020926166‐46   530302‐1    Begum              Noor J               1536 Allentown Rd                               Lansdale, PA 19446            Incomplete Declaration
2075  2074 10/27/20 10:58:52 10/27/20 11:02:29 anonymous           109214904‐46   401202‐1    Kane               Sarah                407 Anthwyn Rd                                  Narberth, PA 19072            USPS Issue
2076  2075 10/27/20 11:00:54 10/27/20 11:03:42 anonymous           015096884‐46   310504‐1    Muse‐Elijah        Andraya              7804 Haines Rd                                  Cheltenham, PA 19012          USPS Issue
2077  2076 10/27/20 11:03:38 10/27/20 11:04:38 anonymous           108075025‐46   570002‐1    Hamilton           Heather              N/A                                             N/A                           USPS Issue
2078  2077 10/27/20 11:03:43 10/27/20 11:04:55 anonymous           109891590‐46   460008‐1    Capers             Jacob                303 Anthony Ct                                  North Wales, PA 19454         USPS Issue
2079  2078 10/27/20 11:04:42 10/27/20 11:06:13 anonymous           006050636‐46   65M02‐1     Nagele             Deborah              3064 Butler Pike                                Plymouth mtg, PA 19462        USPS Issue
2080  2079 10/27/20 11:04:57 10/27/20 11:06:19 anonymous           010509126‐46   470003‐1    Hartline           Joshua               2525 Rhoads Rd                                  Gilbertsville, PA 19525       USPS Issue
2081  2080 10/27/20 11:06:17 10/27/20 11:08:03 anonymous           006050637‐46   65M02‐1     Nagele             George               3064 Butler Pike                                Plymouth Mtg, PA 19462        USPS Issue
2082  2081 10/27/20 11:11:18 10/27/20 11:15:49 anonymous           006416476‐46   390104‐1    Browne             Akhnaton             914 Pershing Rd                                 Penillyn Pa 19422             USPS Issue
2083  2082 10/27/20 11:06:22 10/27/20 11:20:43 anonymous           110779535‐46   120002‐1    Cohen              Max                  625 Cantrill dr                                 Davis, CA 95618               USPS Issue
2084  2083 10/27/20 11:20:48 10/27/20 11:22:10 anonymous           005704567‐46   020100‐1    Owens              Joseph               330 3rd St W A 102 Bridgeport Suites Bridgeport, PA 19405                     USPS Issue
2085  2084 10/27/20 11:16:34 10/27/20 11:27:50 anonymous           005799730‐46   401203‐1    Feely              Geraldine            237 Merion Rd                                   Merion Sta, PA 19066          USPS Issue
2086  2085 10/27/20 11:22:13 10/27/20 11:28:05 anonymous           005726639‐46   410401‐1    Laenger            Helmut               3894 Brookdale Ave                              Huntingdon Valley, PA 19006   USPS Issue
2087  2086 10/27/20 11:27:51 10/27/20 11:28:53 anonymous           006307770‐46   590301‐1    Hahn               Garry L              408 Fairhill St                                 Willow Grove, PA 19090        USPS Issue
2088  2087 10/27/20 11:28:07 10/27/20 11:29:02 anonymous           006330561‐46   410401‐1    Laenger            Ingrid               3894 Brookdale Ave                              Huntingdon Valley, PA 19006   USPS Issue
2089  2088 10/27/20 11:28:54 10/27/20 11:29:53 anonymous           103619251‐46   300402‐1    Weinberg           Zachary A            136 Fisher Rd                                   Jenkintown, PA 19046          USPS Issue
2090  2089 10/27/20 11:29:03 10/27/20 11:30:29 anonymous           005978877‐46   370002‐1    Lock               Jane                 807 Walden Ct                                   Limerick, PA 19468            USPS Issue
2091  2090 10/27/20 11:29:54 10/27/20 11:30:58 anonymous           020585846‐46   590402‐1    Labay              Leighkaren Ruby      2501 Maryland Rd Apt E8                         Willow Grove, PA 19090        USPS Issue
2092  2091 10/27/20 11:30:30 10/27/20 11:31:45 anonymous           020992899‐46   61T00‐1     Hartford           Kenneth              401 E Linfield Trappe Rd                        Royersford, PA 19468          USPS Issue
2093  2092 10/27/20 11:31:00 10/27/20 11:32:20 anonymous           010060219‐46   520102‐1    Brady Campbell     Patricia M           100 Wissahickon Ave W, Rm 312 Bethlehem Village Flourtown, PA 19031           USPS Issue
2094  2093 10/27/20 11:31:46 10/27/20 11:32:54 anonymous           104189524‐46   540203‐1    Field              Matthew              1448 Joel Drive                                 Ambler, PA 19002              USPS Issue
2095  2094 10/27/20 11:32:55 10/27/20 11:35:00 anonymous           005777209‐46   400203‐1    Gorberg            Ellen                1637 Oakwood Drive S409 Oak Hill Condo Narberth, PA 19072                     USPS Issue
2096  2095 10/27/20 11:33:41 10/27/20 11:35:06 anonymous           107817875‐46   530202‐1    Hustad             Stephanie Jane       1860 Valley Forge Rd                            Lansdale, PA 19446            USPS Issue
2097  2096 10/27/20 11:35:08 10/27/20 11:36:06 anonymous           021366962‐46   530303‐1    McCullagh          Deirdre Shannon      705 Freedom Cir                                 Harleysville, PA 19438        USPS Issue
2098  2097 10/27/20 11:35:01 10/27/20 11:36:09 anonymous           021365689‐46   540701‐1    Merritt            Taylor               820 Tennis Ave                                  Ambler, PA 19002              USPS Issue
2099  2098 10/27/20 11:36:08 10/27/20 11:36:54 anonymous           102521497‐46   370001‐1    Stowe              Kimberlee Gwen       71 Township Line Rd                             Limerick, PA 19468            USPS Issue
2100  2099 10/27/20 11:36:55 10/27/20 11:37:57 anonymous           110602003‐46   400402‐1    Leigh              Malcolm Conway       24 Cricket Ave Apt 713                          Ardmore, PA 19003             USPS Issue
2101  2100 10/27/20 11:36:11 10/27/20 11:38:19 anonymous           006157560‐46   390104‐1    Strohm             Thomas               910 Wharton Circle                              Lower Gwynedd, PA 19002       USPS Issue
2102  2101 10/27/20 11:38:42 10/27/20 11:40:06 anonymous           006244000‐46   390103‐1    Sheroff            Mary                 701 Brushtown Rd                                Ambler, PA 19002              USPS Issue
2103  2102 10/27/20 11:02:20 10/27/20 11:40:13 anonymous           005821080‐46   310601‐1    Carpey             Stephen L            415 Church Rd Apt A7                            Elkins Park, PA 19027         USPS Issue
2104  2103 10/27/20 11:40:14 10/27/20 11:41:23 anonymous           103281210‐46   401001‐1    Pyzik              Zakary R             429 Montgomery Ave W, C201 Haverford, PA 19401                                USPS Issue
2105  2104 10/27/20 11:40:07 10/27/20 11:42:01 anonymous           006245909‐46   390103‐1    Sheroff            Robert               701 Brushtown Rd                                Lower Gwynedd PA 19002        USPS Issue
2106  2105 10/27/20 11:41:25 10/27/20 11:42:50 anonymous           010035613‐46   400503‐1    Balefsky           Kathleen C           100 St Georges Rd Uni B‐4                       Ardmore, PA 19003             USPS Issue
2107  2106 10/27/20 11:42:51 10/27/20 11:43:34 anonymous           109326512‐46   400403‐1    Andren             Heather Pfitzinger   17 Railroad Ave                                 Haverford, PA 19041           USPS Issue
2108  2107 10/27/20 11:42:04 10/27/20 11:43:39 anonymous           103359900‐46   390103‐1    Sheroff            Christen             701 Brushtown Rd                                Ambler, PA 19002              USPS Issue
2109  2108 10/27/20 11:41:02 10/27/20 11:44:17 anonymous           109639973‐46   520302‐1    Depaul             Olivia               2106 Pennsylvania Ave                           N/A                           USPS Issue
2110  2109 10/27/20 11:43:36 10/27/20 11:44:31 anonymous           021177350‐46   401302‐1    Hardy              Joshua               45 Wall Street                                  New York, NY 10005            USPS Issue
2111  2110 10/27/20 11:43:40 10/27/20 11:44:37 anonymous           005845206‐46   401102‐1    Goldstein          Barbara              930 Montgomery Ave 501 Benson House Bryn Mawr, PA 19010                       USPS Issue
2112  2111 10/27/20 11:44:19 10/27/20 11:45:22 anonymous           107937967‐46   400302‐1    Fishman            Harrison             1505 Flat Rock Rd                               Narberth, PA 19072            USPS Issue
2113  2112 10/27/20 11:44:39 10/27/20 11:45:42 anonymous           006295867‐46   58ROB00‐1   Mingey             Jane                 1143 Brians Way                                 Wayne, PA 19087               USPS Issue
2114  2113 10/27/20 11:45:27 10/27/20 11:46:40 anonymous           105478376‐46   460002‐1    Miller             Danielle             435 E. 70th Street APT 29C                      New York, NY 10021            USPS Issue
2115  2114 10/27/20 11:45:43 10/27/20 11:46:46 anonymous           006398088‐46   540103‐1    Martin             Kelsey               540 Shady Pl                                    Ambler, PA 19002              USPS Issue
2116  2115 10/27/20 11:46:47 10/27/20 11:47:52 anonymous           006096648‐46   540103‐1    Martin             Kathleen             540 Shady Pl                                    Ambler, PA 19002              USPS Issue

                                                                                                       Page 47 of 124
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      A             B                C             D       E    F        G             H              I                   J                    K                              L                           M
 1 ID      Start time        Completion time Email       Name NumbeNumber2        Precinct:   Last Name          First name       Address Line 1                Address Line 2                Issue
2117  2116 10/27/20 11:46:45 10/27/20 11:47:59 anonymous           103312447‐46   400701‐1    Ritner             Jesse            207 Overlook Ridge            Basalt, CO 81621              USPS Issue
2118  2117 10/27/20 11:47:53 10/27/20 11:48:59 anonymous           005940792‐46   540102‐1    Dorff              Kathleen         203 Willowmere Lane           Ambler, PA 19002              USPS Issue
2119  2118 10/27/20 11:48:05 10/27/20 11:49:03 anonymous           109171647‐46   65W02‐1     Dillon             Chase            11 Plum Ct                    Lafayette Hill, PA 19444      USPS Issue
2120  2119 10/27/20 11:49:00 10/27/20 11:50:09 anonymous           005932458‐46   460004‐1    Kupetz             Anna             3009 Inkberry Cir N           North Wales, PA 19454         USPS Issue
2121  2120 10/27/20 11:49:08 10/27/20 11:50:21 anonymous           005839493‐46   330102‐1    Lenhardt           Stephen          2801 Stanbridge St            Norristown, PA 19401          USPS Issue
2122  2121 10/27/20 11:50:10 10/27/20 11:51:01 anonymous           005913658‐46   460007‐1    Ranieri            Maria            112 Filly Drive               North Wales, PA 19454         USPS Issue
2123  2122 10/27/20 11:50:26 10/27/20 11:51:24 anonymous           006120080‐46   130101‐1    Tayale             Rita             449 Hamilton St APT 309       Norristown, PA 19401          USPS Issue
2124  2123 10/27/20 11:51:03 10/27/20 11:51:46 anonymous           006311744‐46   140200‐1    Perrine            Joan             432 Church St                 North Wales, PA 19454         USPS Issue
2125  2124 10/27/20 11:51:47 10/27/20 11:52:54 anonymous           003315810‐46   530202‐1    Ryan               Jeffrey          1112 Dogwood Ct               Lansdale, PA 19446            USPS Issue
2126  2125 10/27/20 11:51:29 10/27/20 11:53:06 anonymous           106958168‐46   65W01‐1     Aguiar             Graciela         1101 Hector St E, UNI 211     Conshohocken, PA 19428        USPS Issue
2127  2126 10/27/20 11:52:55 10/27/20 11:53:59 anonymous           006386897‐46   530202‐1    Nagurney           Josephine        146 Wellington Ter            Lansdale, PA 19446            USPS Issue
2128  2127 10/27/20 11:54:01 10/27/20 11:55:30 anonymous           107136295‐46   530202‐1    Lawson             Robin            146 Oberlin ter               Lansdale, PA 19446            USPS Issue
2129  2128 10/27/20 11:55:32 10/27/20 11:56:29 anonymous           110052981‐46   530202‐1    Wagner             Edward           146 Berwick Pl                Lansdale, PA 19446            USPS Issue
2130  2129 10/27/20 11:56:31 10/27/20 11:57:20 anonymous           020889995‐46   160500‐1    Glick              Zachariah        915 Hale St                   Pottstown, PA 19464           USPS Issue
2131  2130 10/27/20 11:57:22 10/27/20 11:58:24 anonymous           005825667‐46   160500‐1    Fritz              Gloria           1005 Evans St N               Pottstown, PA 19464           USPS Issue
2132  2131 10/27/20 11:58:25 10/27/20 11:59:39 anonymous           109371991‐46   160500‐1    Coffey             Jakera           958 Terrace Lane              Pottstown, PA 19464           USPS Issue
2133  2132 10/27/20 11:54:19 10/27/20 12:05:49 anonymous           103998770‐46   360404‐1    Lawlor             Megan            700 Lower State Rd APT 17A7   North Wales, PA 19454         USPS Issue
2134  2133 10/27/20 11:59:42 10/27/20 12:06:11 anonymous           110666236‐46   460003‐1    Boynton            Lin              3850 Paseo Del Prado          Boulder, CO 80301             USPS Issue
2135  2134 10/27/20 12:06:02 10/27/20 12:08:14 anonymous           108921515‐46   65W03‐1     Green              Alyssa           7 Cottonwood CT               Lafayette Hill, PA 19444      USPS Issue
2136  2135 10/27/20 12:06:25 10/27/20 12:08:25 anonymous           014268911‐46   400402‐1    Schoneveld         Mark             458 Duck Pond Ln              Haverford, PA 19041           USPS Issue
2137  2136 10/27/20 12:08:22 10/27/20 12:10:22 anonymous           021839901‐46   65W02‐1     Depaolis           Leigh            150 Ridge Pike APT 233C       Lafayette Hill, PA 19444      USPS Issue
2138  2137 10/27/20 12:08:28 10/27/20 12:10:49 anonymous           107906660‐46   320003‐1    Bowden             Kendall Leigh    5 University Pl, Apt 605      New York, NY 10003            USPS Issue
2139  2138 10/27/20 12:10:26 10/27/20 12:11:56 anonymous           103191199‐46   540601‐1    Graham             Matthew          1510 Foxbury Rd               Maple Glen, PA 19002          USPS Issue
2140  2139 10/27/20 12:10:57 10/27/20 12:12:33 anonymous           006000831‐46   540203‐1    McGuire            Merrell M        2003 Honey Run Rd             Ambler, PA 19002              USPS Issue
2141  2140 10/27/20 12:12:36 10/27/20 12:14:05 anonymous           006100858‐46   390103‐1    Gleit              Marjorie D       811 Brushtown Rd              Ambler, PA 19002              USPS Issue
2142  2141 10/27/20 12:12:11 10/27/20 12:14:50 anonymous           109197066‐46   67E02‐1     Bhandari           Esha             42 Afton Pond Court           Charlottesville, VA 22902     USPS Issue
2143  2142 10/27/20 12:14:12 10/27/20 12:15:22 anonymous           109894033‐46   530102‐1    Wilburn            Ariel Wava       1141 Snyder Rd Apt A18        Lansdale, PA 19446            USPS Issue
2144  2143 10/27/20 12:15:02 10/27/20 12:16:07 anonymous           109029427‐46   460003‐1    Gaus               Catherine        121 Winter Dr                 North Wales, PA 19454         USPS Issue
2145  2144 10/27/20 12:15:23 10/27/20 12:16:26 anonymous           108871368‐46   340001‐1    Schmidt            Matthew Thomas   866 Ruth Rd                   Telford, PA 18696             USPS Issue
2146  2145 10/27/20 12:16:27 10/27/20 12:17:18 anonymous           103564465‐46   400401‐1    Vangore            Marjery C        113 Cricket Ave Apt 104       Ardmore, PA 19003             USPS Issue
2147  2146 10/27/20 12:17:19 10/27/20 12:18:08 anonymous           006293759‐46   520101‐1    Chapman            Sara Jane        15 Rich Ave                   Glenside, PA 19038            Incomplete Declaration
2148  2147 10/27/20 12:18:09 10/27/20 12:18:47 anonymous           005859247‐46   401102‐1    Lile               Paul W           922 Montgomery Ave, Apt A1    Bryn Mawr, PA 19010           Incomplete Declaration
2149  2148 10/27/20 12:18:48 10/27/20 12:19:26 anonymous           005685431‐46   460005‐1    Gillespie          Pamela J         401 Franklin Ct               North Wales, PA 19454         Incomplete Declaration
2150  2149 10/27/20 12:19:27 10/27/20 12:22:01 anonymous           005961541‐46   310504‐1    Wilson             Ruth I           1113 Coventry Ave             Cheltenham, PA 19012          USPS Issue
2151  2150 10/27/20 12:19:16 10/27/20 12:22:27 anonymous           015837607‐46   310603‐1    Savage‐Cohen       Juanita          8105 Fairview Rd              Elkins Park, PA 19027         Incomplete Declaration
2152  2151 10/27/20 12:22:02 10/27/20 12:22:38 anonymous           005870879‐46   410100‐1    Joyce              Alyce C          336 Carson Ter                Huntingdon Vly, PA 19006      Incomplete Declaration
2153  2152 10/27/20 12:22:39 10/27/20 12:23:18 anonymous           102511193‐46   350401‐1    Russell            Inae Jaylin      2586 Jean Dr                  Hatfield, PA 19440            Incomplete Declaration
2154  2153 10/27/20 12:22:37 10/27/20 12:23:22 anonymous           015696565‐46   401201‐1    Kim‐Hall           Janey            51 Merbrook LN                Merion Station, PA 19066      Incomplete Declaration
2155  2154 10/27/20 12:23:20 10/27/20 12:24:06 anonymous           015141903‐46   520101‐1    Perkins            Ruth A           9801 Germantown Pike          Lafayette Hill, PA 19444      Incomplete Declaration
2156  2155 10/27/20 12:23:26 10/27/20 12:24:16 anonymous           107618912‐46   300401‐1    Muschett           Edward           322 Northwood Ave             Elkins Park, PA 19027         Incomplete Declaration
2157  2156 10/27/20 12:24:11 10/27/20 12:24:49 anonymous           005896140‐46   400801‐1    Toff               Karen            546 Haverford Rd              Havertown, PA 19083           Incomplete Declaration
2158  2157 10/27/20 12:24:50 10/27/20 12:25:24 anonymous           014631205‐46   300303‐1    Dickerspon         Michael Sr       none                          none                          Incomplete Declaration
2159  2158 10/27/20 12:24:21 10/27/20 12:26:28 anonymous           005788509‐46   440001‐1    Wellington         Shirley          193 Badman Road               Greenlane, PA 18054           Incomplete Declaration
2160  2159 10/27/20 12:25:29 10/27/20 12:26:31 anonymous           006000749‐46   400302‐1    Panis              Roberto Panis    2352 Philmont Ave             Huntingdon Valley, PA 19006   Incomplete Declaration
2161  2160 10/27/20 12:26:33 10/27/20 12:27:21 anonymous           109574529‐46   110201‐1    Nath               Milon K          123 East 4th St               Lansdale, PA 19446            Incomplete Declaration

                                                                                                       Page 48 of 124
                                                                      Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 49 of 124


      A             B                C             D       E    F        G             H                I                      J                         K                                        L                           M
 1 ID      Start time        Completion time Email       Name NumbeNumber2         Precinct:   Last Name          First name       Address Line 1                                   Address Line 2                Issue
2162  2161 10/27/20 12:26:31 10/27/20 12:27:40 anonymous           006317827‐46    530302‐1    Naher              Nurun            1536 Allentown RD                                Lansdale, PA 19446            Incomplete Declaration
2163  2162 10/27/20 12:27:22 10/27/20 12:28:07 anonymous           103978971‐46    110301‐1    Akter              Sheuli           325 W 7th St                                     Lansdale, PA 19446            Incomplete Declaration
2164  2163 10/27/20 12:28:08 10/27/20 12:28:38 anonymous           005959532‐46    65M04‐1     Soll               Jean             none                                             none                          Incomplete Declaration
2165  2164 10/27/20 12:27:45 10/27/20 12:28:50 anonymous           011198707‐46    140200‐1    Craig              Barbara          101 E Main St                                    North Wales, PA 19454         Incomplete Declaration
2166  2165 10/27/20 12:28:39 10/27/20 12:29:12 anonymous           110917882‐46    310703‐1    Balais             Marce A          121 Andrea Rd                                    Cheltenham, PA 19012          Incomplete Declaration
2167  2166 10/27/20 12:28:52 10/27/20 12:29:45 anonymous           111024257‐46    460004‐1    Stevenson          Donna            393 Running Brook Rd                             North Wales, PA 19454         Incomplete Declaration
2168  2167 10/27/20 12:29:13 10/27/20 12:29:58 anonymous           006050805‐46    360402‐1    Neyer              Annemarie        1228 Joseph Rd                                   Ambler, PA 19002              Incomplete Declaration
2169  2168 10/27/20 12:29:53 10/27/20 12:31:02 anonymous           006398612‐46    330104‐1    Ciccarella         Felix            N/A                                              N/A                           Incomplete Declaration
2170  2169 10/27/20 12:31:07 10/27/20 12:32:27 anonymous           006164587‐46    301002‐1    Berry              Edith            1717 Ferndale Ave                                Abington, PA 19001            Incomplete Declaration
2171  2170 10/27/20 12:32:32 10/27/20 12:33:18 anonymous           006391011‐46    140100‐1    Johnson            Latina           308 Elm Ave                                      North Wales, PA 19454         Incomplete Declaration
2172  2171 10/27/20 12:33:21 10/27/20 12:34:09 anonymous           021473978‐46    61MC001     Ellis              James            25 Goldfinch Cir                                 Phoenixville, PA 19460        Incomplete Declaration
2173  2172 10/27/20 12:59:43 10/27/20 13:01:05 anonymous           108849725‐46    430101‐1    Kennedy            David            4014 Chieftan Cir                                Collegeville, PA 19426        USPS Issue
2174  2173 10/27/20 13:01:10 10/27/20 13:02:20 anonymous           109327669‐46    400603‐1    Rosendfeld         Jordan           1307 Wrenfield Way                               Villanova, PA 19085           USPS Issue
2175  2174 10/27/20 13:02:26 10/27/20 13:03:59 anonymous           109302879‐46    480001‐1    Leary              Colin            75 Ray Street                                    Newark, DE 19711              USPS Issue
2176  2175 10/27/20 13:09:35 10/27/20 13:10:35 anonymous           005715336‐46    410100‐1    Nord               Antoinette       PO Box 311                                       Norristown, PA 19404          USPS Issue
2177  2176 10/27/20 13:10:38 10/27/20 13:11:37 anonymous           006345751‐46    300101‐1    Klein              Abby             953 Manor Ave                                    Meadowbrook, PA 19046         USPS Issue
2178  2177 10/27/20 13:11:42 10/27/20 13:12:42 anonymous           103547004‐46    400803‐1    Stein              Daniel           1327 Hillside Rd                                 Wynnewood, PA 19096           USPS Issue
2179  2178 10/27/20 13:13:07 10/28/20 9:30:49 anonymous            005695087‐46    65M03‐1     Buck               Micheal          2314 S. Gilinger Rd                              Lafayette Hill, PA 19444      Incomplete Declaration
2180  2179 10/28/20 9:30:50 10/28/20 9:31:30 anonymous             110593415‐46    400903‐1    Choi               Julee            n/a                                              n/a                           Incomplete Declaration
2181  2180 10/28/20 9:31:46 10/28/20 9:32:52 anonymous             111047643‐46    301402‐1    Bradley            Darryl           1248 Mildred Ave                                 Roslyn, PA 19001              Incomplete Declaration
2182  2181 10/28/20 9:32:53 10/28/20 9:34:10 anonymous             111019321‐46    520702‐1    Scollin            Darcy            512 Hedgers Lane                                 Oreland, PA 19075             Incomplete Declaration
2183  2182 10/28/20 9:34:12 10/28/20 9:34:57 anonymous             005801464‐46    540102‐1    Dempster           Graceann         627 Loch Alsh Ave                                Ambler, PA 19002              Incomplete Declaration
2184  2183 10/28/20 9:34:58 10/28/20 9:35:38 anonymous             006079606‐46    540401‐1    Gorman             Evelyn           373 Camp Hill Rd                                 Ft. Washington, PA 19034      Incomplete Declaration
2185  2184 10/28/20 9:35:40 10/28/20 9:36:28 anonymous             006387103‐46    360105‐1    Burrell            Katherine        310 Garden Ave B                                 Horsham, PA 19044             Incomplete Declaration
2186  2185 10/28/20 9:36:30 10/28/20 9:37:35 anonymous             109796854‐46    590102‐1    Calvbayan          Reable           2240 Edgehill Rd                                 Huntingdon Valley, PA 19006   Incomplete Declaration
2187  2186 10/28/20 9:37:35 10/28/20 9:38:23 anonymous             102613892‐46    08N02‐1     Murray             Les              207 Penn St N                                    Hatboro, PA 19040             Incomplete Declaration
2188  2187 10/28/20 9:38:30 10/28/20 9:39:20 anonymous             0058911293‐46   08S01‐1     Doney              Stephen          37 Horsham Rd                                    Hatboro, PA 19040             Incomplete Declaration
2189  2188 10/28/20 9:39:21 10/28/20 9:40:05 anonymous             020915235‐46    340006‐1    Cosklo             Melanie          n/a                                              n/a                           Incomplete Declaration
2190  2189 10/28/20 9:40:06 10/28/20 9:41:01 anonymous             015212445‐46    500004‐1    Pfleger            Joseph           n/a                                              Harleysville, PA 19438        Incomplete Declaration
2191  2190 10/28/20 9:41:03 10/28/20 9:42:22 anonymous             110286578‐46    430102‐1    Govindan           Sadhasivan       5003 Woodgate Lane                               Collegeville, PA 19426        Incomplete Declaration
2192  2191 10/28/20 9:42:23 10/28/20 9:43:28 anonymous             109861073‐46    660010‐1    Joseph             Jocelyn          n/a                                              n/a                           Incomplete Declaration
2193  2192 10/28/20 9:43:29 10/28/20 9:44:21 anonymous             005795213‐46    480002‐1    Gilchrist          Keith            112 Haldeman                                     Schwenksville, PA 19473       Incomplete Declaration
2194  2193 10/28/20 9:44:22 10/28/20 9:45:38 anonymous             102799827‐46    380002‐1    Viveros            Juan             111 Fulmer Rd                                    Perkiomenville, PA 18074      Incomplete Declaration
2195  2194 10/28/20 9:45:40 10/28/20 9:46:30 anonymous             006273732‐46    510001‐1    Wall               Misty            2019 Ft. Bevon Rd                                Harleysville, PA 19438        Incomplete Declaration
2196  2195 10/28/20 9:46:33 10/28/20 9:47:25 anonymous             103737159‐46    510002‐1    Becker             Douglas          828 Karlyn Ln                                    Collegeville, PA 19426        Incomplete Declaration
2197  2196 10/28/20 9:47:27 10/28/20 9:48:35 anonymous             005962728‐46    590302‐1    Eisenhofer         David            1003 Easton Rd C708 Regency Towers the Chateau   Willow Grove, PA 19090        Incomplete Declaration
2198  2197 10/28/20 9:48:36 10/28/20 9:49:21 anonymous             006227483‐46    420002‐1    Morton             Kristin          627 Village Lane                                 Pottstown, PA 19464           Incomplete Declaration
2199  2198 10/28/20 9:49:22 10/28/20 9:50:03 anonymous             005951808‐46    660001‐1    King               Jeanie           130 Spyglass Dr                                  Blue Bell, PA 19422           Incomplete Declaration
2200  2199 10/28/20 9:50:04 10/28/20 9:50:39 anonymous             102925321‐46    660001‐1    Gustus             Tricia           1920 Cori Ln                                     Blue Bell, Pa 19422           Incomplete Declaration
2201  2200 10/28/20 9:50:40 10/28/20 9:51:23 anonymous             014730702‐46    400602‐1    Henry              Lana             1408 Kyneton Rd                                  Villanova, PA 19085           Incomplete Declaration
2202  2201 10/28/20 9:51:25 10/28/20 9:52:13 anonymous             109590816‐46    401003‐1    Mchugh             Beatrice         840 Montgomery Ave 204                           Bryn Mawr, PA 19010           Incomplete Declaration
2203  2202 10/28/20 9:52:23 10/28/20 9:53:06 anonymous             020926166‐46    530302‐1    Begum              Noor             1536 Allentown Rd                                Lansdale, PA 19446            Incomplete Declaration
2204  2203 10/28/20 9:53:08 10/28/20 9:54:08 anonymous             108369194‐46    560003‐1    Thompson           Shemeil          104 Horseshoe Curve Dr                           Lansdale, PA 19446            Incomplete Declaration
2205  2204 10/28/20 9:54:09 10/28/20 9:54:45 anonymous             102832983‐46    58TNC00‐1   Parisi             Ryan             n/a                                              n/a                           Incomplete Declaration
2206  2205 10/28/20 9:54:46 10/28/20 9:55:18 anonymous             108110888‐46    58TNC00‐1   Avery              Rebecca          n/a                                              n/a                           Incomplete Declaration

                                                                                                        Page 49 of 124
                                                                      Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 50 of 124


      A             B                C             D       E    F        G            H                I                       J                  K                                L                            M
 1 ID      Start time        Completion time Email       Name NumbeNumber2        Precinct:   Last Name           First name       Address Line 1                     Address Line 2                Issue
2207  2206 10/28/20 9:55:19 10/28/20 9:55:57 anonymous             011847732‐46   050600‐1    Hall                Christine        425 10th Ave W                     Conshohocken, PA 19428        Incomplete Declaration
2208  2207 10/28/20 9:55:59 10/28/20 9:57:01 anonymous             006090425‐46   490101‐1    Mauceri             Laurie           15 Lovelk Dr                       Plymouth Meeting, PA 19462    Incomplete Declaration
2209  2208 10/28/20 9:57:03 10/28/20 11:44:58 anonymous            109069735‐46   090001‐1    Ho                  Lan              209 W Broad St                     Hatfield, PA 19440            Incomplete Declaration
2210  2209 10/28/20 11:44:59 10/28/20 11:45:56 anonymous           006024054‐46   58BEL05‐1   Yang                Mary             750 Moore Rd #518                  King of Prussia, PA 19406     Incomplete Declaration
2211  2210 10/28/20 11:46:00 10/28/20 11:46:51 anonymous           005821094‐46   160201‐1    Botto               Rosemary         37 Chestnut St Fl 1                Pottstown, PA 19464           Incomplete Declaration
2212  2211 10/28/20 11:46:54 10/28/20 11:47:35 anonymous           006392111‐46   630301‐1    Bernick             Charles          207 Egypt Rd                       Norristown, PA 19403          Incomplete Declaration
2213  2212 10/28/20 11:47:38 10/28/20 11:48:48 anonymous           005936216‐46   640001‐1    Davidheiser         Harold           n/a                                PA 19464                      Incomplete Declaration
2214  2213 10/28/20 11:48:49 10/28/20 11:49:41 anonymous           111003398‐46   420004‐1    Isabell             Noah             2108 Foxtail Dr                    Pottstown, PA 19464           Incomplete Declaration
2215  2214 10/28/20 11:49:44 10/28/20 11:50:38 anonymous           006023096‐46   560003‐1    Cho                 Ki               157 Arbour Ct                      North Wales, PA 19454         Incomplete Declaration
2216  2215 10/28/20 11:50:39 10/28/20 11:51:27 anonymous           005823113‐46   560003‐1    Cho                 Chong            157 Arbour Ct                      North Wales, PA 19454         Incomplete Declaration
2217  2216 10/28/20 11:51:28 10/28/20 11:52:21 anonymous           005737350‐46   620001‐1    Young               Leslie           2871 Heather Dr                    Harleysville, PA 19438        Incomplete Declaration
2218  2217 10/28/20 11:52:22 10/28/20 11:53:05 anonymous           006402666‐46   410100‐1    Liss                Ira              321 Carson Terr                    Huntingdon Valley, 19006      Incomplete Declaration
2219  2218 10/28/20 11:53:07 10/28/20 11:54:03 anonymous           020725421‐46   65E02‐1     Caspar              Shawna           4915 Bethlehem Pike                Ft. Washington, PA 19034      Incomplete Declaration
2220  2219 10/28/20 11:54:04 10/28/20 11:55:22 anonymous           111118134‐46   530101‐1    Johnson             Stephen          701 Weikel Rd Apt 104              Lansdale, PA 19446            Incomplete Declaration
2221  2220 10/28/20 11:55:24 10/28/20 11:56:07 anonymous           005972510‐46   67E03‐1     Gamble              Paul             192 Cardinal Crest                 Lansdale, PA 19446            Incomplete Declaration
2222  2221 10/28/20 11:56:08 10/28/20 11:57:50 anonymous           020678721‐46   65E02‐1     Kornegay            James            491 S. Bethlehem Pike Apt F1       Fort Washington, PA 19034     Incomplete Declaration
2223  2222 10/28/20 11:57:54 10/28/20 11:59:00 anonymous           003444231‐46   350401‐1    Gring               Daniel           701 Lansdale Ave, Saint Mary Manor Lansdale, PA 19496            Incomplete Declaration
2224  2223 10/28/20 12:00:00 10/28/20 12:01:04 anonymous           006306112‐46   58SBG00‐1   Brooks              Bernadette       n/a                                n/a                           Incomplete Declaration
2225  2224 10/28/20 12:01:07 10/28/20 12:02:29 anonymous           110071148‐46   110102‐1    Romana              Umme             47 E Main St Apt 3                 Lansdale, PA 19446            No secrecy envelope
2226  2225 10/28/20 12:02:30 10/28/20 12:48:30 anonymous           020980097‐46   130302‐1    Morales‐Bello       Jacqueline       262 Minor St                       Norristown, PA 19401          USPS Issue
2227  2226 10/28/20 12:48:40 10/28/20 12:49:19 anonymous           102874005‐46   130201‐1    Lopez               Nicolas          810 Airy St W                      Norristown, PA 19401          USPS Issue
2228  2227 10/28/20 15:06:47 10/28/20 15:08:08 anonymous           006113279‐46   370005‐1    Ford                Christine        70 William Penn Dr                 Schwenksville, PA 19473       Incomplete Declaration
2229  2228 10/28/20 15:08:09 10/28/20 15:09:23 anonymous           006135032‐46   540301‐1    Knapp               Stephanie        221 Westwind way                   Dresher, PA 19025             Incomplete Declaration
2230  2229 10/28/20 15:09:27 10/28/20 15:10:12 anonymous           006145910‐46   540301‐1    Weasen              Steven           221 westwind Way                   Dresher, PA 19025             Incomplete Declaration
2231  2230 10/28/20 15:10:16 10/28/20 15:11:28 anonymous           110056118‐46   401403‐1    Culbreath           Gabrielle        1505 City Ave                      Wynnewood, PA 19096           No secrecy envelope
2232  2231 10/28/20 12:49:30 10/29/20 10:43:42 anonymous           102874005‐46   130201‐1    Lopez               Nicolas          810 Airy St W                      Norristown, PA 19401          USPS Issue
2233  2232 10/29/20 10:43:46 10/29/20 10:44:52 anonymous           020980097‐46   130302‐1    Morales‐Bello       Jacqueline       262 Minor St                       Norristown, PA 19401          USPS Issue
2234  2233 10/29/20 10:44:54 10/29/20 10:46:01 anonymous           109067655‐46   500004‐1    Manieri             Shane            n/a                                n/a                           USPS Issue
2235  2234 10/29/20 10:46:03 10/29/20 10:47:00 anonymous           103956604‐46   530101‐1    Tornetta            Colin            1158 Welsh Rd APT D2‐8             Lansdale, PA 19446            USPS Issue
2236  2235 10/29/20 10:47:01 10/29/20 10:47:48 anonymous           006339760‐46   660012‐1    Bova                Joseph           6115 Twin Silo Dr                  Blue Bell, PA 19422           USPS Issue
2237  2236 10/29/20 10:47:50 10/29/20 10:49:05 anonymous           013640980‐46   310501‐1    Weston              Aisha            902 Valley Rd Apt 8d               Elkins Park, PA 19027         USPS Issue
2238  2237 10/29/20 10:49:06 10/29/20 10:50:15 anonymous           102744582‐46   210200‐1    Desalme             Jack             36 S County Line Rd Apt 415        Souderton, PA 18964           USPS Issue
2239  2238 10/29/20 10:50:16 10/29/20 10:51:21 anonymous           021122091‐46   410402‐1    Merz                Frieda           608 Raikes rd                      Huntingdon Valley, PA 19006   USPS Issue
2240  2239 10/29/20 10:51:22 10/29/20 10:52:35 anonymous           103853411‐46   350302‐1    Gidugu              Bharathi         1020 Grayson Dr                    Souderton, PA 18964           USPS Issue
2241  2240 10/29/20 10:52:37 10/29/20 10:53:44 anonymous           020378490‐46   360304‐1    Rose                David            319 Green Meadow Lane              Horsham, PA 19044             USPS Issue
2242  2241 10/29/20 10:53:46 10/29/20 10:55:44 anonymous           005829902‐46   58BEL04‐1   Stuart              Janet            751 Vandenburg Rd Apt 2407 King of Prussia, Pa 19406             USPS Issue
2243  2242 10/29/20 10:55:45 10/29/20 10:57:16 anonymous           021829771‐46   58BEL04‐1   Wallin              Megan            751 Vandenburg Rd Apt 4318 King of Prussia, PA 19406             USPS Issue
2244  2243 10/29/20 10:57:20 10/29/20 10:58:15 anonymous           105922340‐46   560006‐1    Pham‐Paci           Wind             118 Stony Creek Ave                Lansdale, PA 19446            USPS Issue
2245  2244 10/29/20 10:58:23 10/29/20 10:59:14 anonymous           110835806‐46   420003‐1    Feldman             Aidan            118 Prospect St                    Ithaca, NY 14850              USPS Issue
2246  2245 10/29/20 10:59:15 10/29/20 11:00:25 anonymous           021016437‐46   560004‐1    Bingham             Sylvia           n/a                                Lansdale, PA 19446            USPS Issue
2247  2246 10/29/20 11:00:26 10/29/20 11:01:41 anonymous           021080214‐46   430204‐1    Smith               Shannon          5075B Defford Pl                   Eagleview, PA 19403           USPS Issue
2248  2247 10/29/20 11:01:43 10/29/20 11:04:02 anonymous           103841888‐46   400701‐1    Brokes              Alfred           1001 City Ave Apt WB410            Wynnewood, PA 19096           USPS Issue
2249  2248 10/29/20 11:04:06 10/29/20 11:05:00 anonymous           110218379‐46   460003‐1    Kim                 Shinhye          n/a                                n/a                           USPS Issue
2250  2249 10/29/20 11:05:01 10/29/20 11:06:11 anonymous           106809254‐46   120001‐1    Kinsella            Martin           308 B Windsor Ave                  Narberth, Pa 19072            USPS Issue
2251  2250 10/29/20 11:06:12 10/29/20 11:07:22 anonymous           005760216‐46   520201‐1    Rohlfing            Mark             8755 Trumbauer Ct                  Wyndmoor, PA 19038            USPS Issue

                                                                                                        Page 50 of 124
                                                                      Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 51 of 124


      A             B                C             D       E    F        G             H                I                       J                  K                                 L                         M
 1 ID      Start time        Completion time Email       Name NumbeNumber2         Precinct:   Last Name           First name       Address Line 1                    Address Line 2              Issue
2252  2251 10/29/20 11:07:22 10/29/20 11:08:19 anonymous           103123378‐46    450001‐1    Ollikainen          Jennifer         1127 Magazine Rd                  Green Lane, PA 18054        USPS Issue
2253  2252 10/29/20 11:08:21 10/29/20 11:09:39 anonymous           006398090‐46    450001‐1    Miller              John             5471 Hoppenville Rd               Green Lane, PA 18054        USPS Issue
2254  2253 10/29/20 11:09:40 10/29/20 11:10:45 anonymous           006623924‐46    570002‐1    Knepp               Cynthia          1113 Landis Rd                    East Greenville, PA 18041   USPS Issue
2255  2254 10/29/20 11:10:46 10/29/20 11:12:10 anonymous           006626139‐46    570002‐1    Knepp               Gary             1113 Landis Rd                    East Greenville, PA 18041   USPS Issue
2256  2255 10/29/20 11:12:17 10/29/20 11:13:50 anonymous           104158465‐46    060001‐1    Paul                Cassandra        520 Blaker Dr                     East Greenville, PA 18041   USPS Issue
2257  2256 10/29/20 11:13:51 10/29/20 11:14:46 anonymous           110053623‐46    110202‐1    Monga               Jeanno           27 Seventh St W                   Lansdale, Pa 19446          USPS Issue
2258  2257 10/29/20 11:14:47 10/29/20 11:15:55 anonymous           107251364‐46    110201‐1    Ingersoll           Nicole           35 Second St E                    Lansdale, PA 19446          USPS Issue
2259  2258 10/29/20 11:15:56 10/29/20 11:17:09 anonymous           108070119‐46    110302‐1    Dulis               Chelsea          1015 Poplar St                    Lansdale, PA 19446          USPS Issue
2260  2259 10/29/20 11:17:10 10/29/20 11:18:10 anonymous           006082188‐46    67E02‐1     Mccracken           Jean             2596 Hillcrest Drive              Lansdale, PA 19446          USPS Issue
2261  2260 10/29/20 11:18:11 10/29/20 11:19:18 anonymous           110713904‐46    160400‐1    Strong              Jessica          n/a                               n/a                         USPS Issue
2262  2261 10/29/20 11:19:19 10/29/20 11:20:27 anonymous           103235525‐46    160400‐1    Yoder               Catherine        544 Spruce St                     Pottstown, PA 19464         USPS Issue
2263  2262 10/29/20 11:20:28 10/29/20 11:21:22 anonymous           006124674‐46    160201‐1    Morlando            Micheal          40 High St Apt 47                 Pottstown, PA 19464         USPS Issue
2264  2263 10/29/20 11:21:24 10/29/20 11:22:21 anonymous           106935876‐46    600001‐1    Hudgins             Anthony          1137 State St                     Pottstown, PA 19464         USPS Issue
2265  2264 10/29/20 11:22:22 10/29/20 11:23:29 anonymous           109695599‐46    530102‐1    Mcintrye            Elizabeth        1141 Snyder Rd Apt C26            Lansdale, PA 19446          USPS Issue
2266  2265 10/29/20 11:23:30 10/29/20 11:24:42 anonymous           109299187‐476   110201‐1    Hartnett            Cura             18 Fifth St W Apt 2               Lansdale, Pa 19446          USPS Issue
2267  2266 10/29/20 11:24:43 10/29/20 11:25:31 anonymous           102953837‐46    630301‐1    Moses               Julia            200 S Line St                     Lansdale, Pa 19446          USPS Issue
2268  2267 10/29/20 11:25:33 10/29/20 11:26:31 anonymous           104390340‐46    110102‐1    Perlstein           Nicholas         200 S Line St                     Lansdale, Pa 19446          USPS Issue
2269  2268 10/29/20 11:26:32 10/29/20 11:27:57 anonymous           102512143‐46    400603‐1    Davidson            Daniel           1312 Spring Mill Rd PO box 8303   Villanova, PA 19085         USPS Issue
2270  2269 10/29/20 11:27:58 10/29/20 11:28:59 anonymous           107805065‐46    401103‐1    Arronson            Olivia           645 Ithan Ave N                   Bryn Mawr, PA 19010         USPS Issue
2271  2270 10/29/20 11:29:00 10/29/20 11:30:05 anonymous           107814989‐46    65M04‐1     Abraham             Rayna            640 N. Broad St                   Philadelphia, PA 19130      USPS Issue
2272  2271 10/29/20 11:30:06 10/29/20 11:31:14 anonymous           107560145‐46    58KIN02‐1   Olson               Samantha         600 Lewis rd Apt 317              King of Prussia, PA 19406   USPS Issue
2273  2272 10/29/20 11:31:15 10/29/20 11:32:23 anonymous           014837360‐46    560002‐1    Smith               Amy              221 Upper Valley Rd               North Wales, PA 19454       USPS Issue
2274  2273 10/29/20 11:32:25 10/29/20 11:33:17 anonymous           006211942‐46    530101‐1    Patts               Jennifer         1201 Columbia Ave                 Lansdale, PA 19446          USPS Issue
2275  2274 10/29/20 11:33:18 10/29/20 11:34:54 anonymous           109238247‐46    530102‐1    Peters              Kathleen         1141 Snyder Rd                    Lansdale, Pa 19446          USPS Issue
2276  2275 10/29/20 11:34:55 10/29/20 11:35:55 anonymous           103812450‐46    060001‐1    Lent                Gabrielle        484 State St #A                   East Greenville, Pa 18041   USPS Issue
2277  2276 10/29/20 11:35:58 10/29/20 11:37:00 anonymous           006413025‐46    060001‐1    Paul                Alexander        520 Blaker Drive                  East Greenville, PA 18041   USPS Issue
2278  2277 10/29/20 11:37:19 10/29/20 11:38:28 anonymous           107586055‐46    390101‐1    Powell              Daija            28 Meadowbrook Rd                 North Wales, PA 19454       USPS Issue
2279  2278 10/29/20 11:38:32 10/29/20 11:39:24 anonymous           010521545‐46    61MC00‐1    Mcwhiney            James            3 Cannon Hill                     Phoenixville, PA 19460      USPS Issue
2280  2279 10/29/20 11:39:25 10/29/20 11:40:16 anonymous           108273417‐46    590101‐1    Brandstater         Eleanor          23 Fern Ave                       Willow Grove, PA 19090      USPS Issue
2281  2280 10/29/20 11:40:18 10/29/20 11:41:02 anonymous           005874874‐46    660012‐1    Evans               Joan             2302 Twin Silo Drive              Blue Bell, Pa 19422         USPS Issue
2282  2281 10/29/20 11:41:03 10/29/20 11:41:59 anonymous           006051301‐46    490303‐1    Maron               Eileen           134 Plymouth rd Uni 5413          Plymouth Mtg, PA 19462      USPS Issue
2283  2282 10/29/20 11:42:00 10/29/20 11:43:10 anonymous           110780878‐46    490302‐1    Helkin              Alex             777 W Germantwon Pike 926         Plymouth Mtg, PA 19462      USPS Issue
2284  2283 10/29/20 11:43:13 10/29/20 11:46:35 anonymous           107805142‐46    560006‐1    Lipert              Mary             117 Old Allentown Rd              Lansdale, PA 19446          USPS Issue
2285  2284 10/29/20 11:46:51 10/29/20 11:47:46 anonymous           020641810‐46    530302‐1    Galgon              Edward           910 B Stockton Ct                 Lansdale, PA 19446          USPS Issue
2286  2285 10/29/20 11:47:49 10/29/20 11:48:41 anonymous           021426311‐46    530302‐1    Galgon              Jodi             910B Stockton Ct                  Lansdale, Pa 19446          USPS Issue
2287  2286 10/29/20 11:48:44 10/29/20 11:49:46 anonymous           005715587‐46    380001‐1    Watt                Robert           103 Berger Rd                     Schwenksville, PA 19473     USPS Issue
2288  2287 10/29/20 11:49:52 10/29/20 11:50:30 anonymous           108194331‐46    360401‐1    Ruffin              Christian        1109 Harrogate Way                Ambler, PA 19002            USPS Issue
2289  2288 10/29/20 11:50:32 10/29/20 11:51:11 anonymous           020785668‐46    300601‐1    Allen               Katie            501 Hamel Ave                     Glenside PA 19038           USPS Issue
2290  2289 10/29/20 11:51:13 10/29/20 11:53:04 anonymous           012377749‐46    190001‐1    Nasdeo              Janell           420 Sixth Ave N, Apt J6           Royersford, Pa 19468        USPS Issue
2291  2290 10/29/20 11:53:05 10/29/20 11:54:25 anonymous           109346289‐46    360403‐1    Kulkarni            Akshay           384 Highgate Drive                Ambler, PA 19002            USPS Issue
2292  2291 10/29/20 11:54:26 10/29/20 11:55:26 anonymous           107476418‐46    540601‐1    Yang                Sennett          1784 Jarrettown Rd                Dresher, PA 19025           USPS Issue
2293  2292 10/29/20 11:55:28 10/29/20 11:56:22 anonymous           006039738‐46    570001‐1    Clemmer             Jacob            1025 Burgundy Cir                 Pennsburg PA 18073          USPS Issue
2294  2293 10/29/20 11:56:24 10/29/20 11:57:15 anonymous           006414432‐46    150001‐1    Mcclure             David            790 Hunter dr                     Pennsburg, Pa 18073         USPS Issue
2295  2294 10/29/20 11:57:17 10/29/20 11:58:24 anonymous           006389348‐46    08N02‐1     Dowgiert            Eileen           114 Earl Lane                     Hatboro, PA 19040           USPS Issue
2296  2295 10/29/20 11:58:26 10/29/20 11:59:13 anonymous           104310867‐46    090001‐1    Mustafa             Syed             318 Wheatfield Cir                Hatfield, Pa 19440          USPS Issue

                                                                                                         Page 51 of 124
                                                                      Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 52 of 124


      A             B                C             D       E    F        G            H                I                       J                   K                                  L                          M
 1 ID      Start time        Completion time Email       Name NumbeNumber2        Precinct:   Last Name           First name       Address Line 1                        Address Line 2             Issue
2297  2296 10/29/20 11:59:16 10/29/20 12:00:07 anonymous           006011540‐46   360402‐1    Deverant            Maria            1036 Limekiln Pike                    Ambler, Pa 19002           USPS Issue
2298  2297 10/29/20 12:00:09 10/29/20 12:01:07 anonymous           009474583‐46   050100‐1    Blazynski           Andrew           335 W Elm St                          Conshohocken, PA 19428     USPS Issue
2299  2298 10/29/20 12:01:10 10/29/20 12:02:21 anonymous           005925902‐46   401302‐1    Spoont              Lois             546 General Lafayette Rd              Merion Station, PA 19066   USPS Issue
2300  2299 10/29/20 12:04:24 10/29/20 12:05:23 anonymous           006267595‐46   370006‐1    Hoenstine           Ronald           13 St Andrews Blvd                    Limerick, PA 19468         USPS Issue
2301  2300 10/29/20 12:05:26 10/29/20 12:06:42 anonymous           005687448‐46   400302‐1    Stavis              Benedict         114 Harvest Cir                       Bala Cynwyd, PA 19004      USPS Issue
2302  2301 10/29/20 12:06:45 10/29/20 12:07:42 anonymous           005791209‐46   430202‐1    Fitzgerald          Stacy            2927 First St                         Eagleville, Pa 19403       USPS Issue
2303  2302 10/29/20 12:07:44 10/29/20 12:09:19 anonymous           108110679‐46   160300‐1    Graczyk             Mary             105 Harmony Dr W                      Pottstown, PA 19464        USPS Issue
2304  2303 10/29/20 12:09:45 10/29/20 12:11:17 anonymous           021049353‐46   630102‐1    Jelesiewicz         Susan            1897 Cardinal Cir                     Norristown, PA 19403       USPS Issue
2305  2304 10/29/20 12:11:19 10/29/20 12:12:22 anonymous           006035343‐46   67E02‐1     Hugo                Susan            232 Caspian Lane                      Norristown, Pa 19403       USPS Issue
2306  2305 10/29/20 12:12:24 10/29/20 12:13:27 anonymous           006387706‐46   540601‐1    Pennington          Andrew           5105 N. Park Drive                    Merchantville, NJ 08109    USPS Issue
2307  2306 10/29/20 12:13:30 10/29/20 12:14:30 anonymous           005681979‐46   630301‐1    Marchese            Mary             1002 Kennedy Ct                       Norristown, PA 19403       USPS Issue
2308  2307 10/29/20 12:14:33 10/29/20 12:15:22 anonymous           006395526‐46   630102‐1    Mulligan            Theresa          1814 Sterigere St                     Norristown, PA 19403       USPS Issue
2309  2308 10/29/20 12:15:24 10/29/20 12:16:25 anonymous           006177041‐46   630301‐1    Fedor               Susanne          69 Indian Ln W                        Norristown, PA 19403       USPS Issue
2310  2309 10/29/20 12:16:27 10/29/20 12:17:23 anonymous           102677712‐46   630201‐1    Hayman              Julie            2008 Clearview Ave                    Norristown, PA 19403       USPS Issue
2311  2310 10/29/20 12:17:25 10/29/20 12:18:49 anonymous           015283577‐46   590402‐1    Lyons               Owen             2501 Maryland Rd Apt I10              Willow Grove, PA 19090     USPS Issue
2312  2311 10/29/20 12:20:57 10/29/20 12:22:09 anonymous           102671019‐46   590101‐1    Schutte             Jacobus          122 Krewson Ter                       Willow Grove, PA 19090     USPS Issue
2313  2312 10/29/20 12:22:12 10/29/20 12:23:02 anonymous           102451991‐46   590101‐1    Schutte             Faith            122 Krewson Ter                       Willow Grove, PA 19090     USPS Issue
2314  2313 10/29/20 12:23:04 10/29/20 12:24:12 anonymous           103133983‐46   530102‐1    Blusiewicz          Amber            1141 Snyder rd                        Lansdale, PA 19446         USPS Issue
2315  2314 10/29/20 12:24:14 10/29/20 12:26:43 anonymous           005805954‐46   110302‐1    Roman               Renee            380 Cannon Ave N, Carriage House Apts Lansdale, PA 19446         USPS Issue
2316  2315 10/29/20 12:26:46 10/29/20 12:28:11 anonymous           009804691‐46   110102‐1    Waples              Sheila           38 Jenkins Ave                        Lansdale, Pa 19446         USPS Issue
2317  2316 10/29/20 12:24:50 10/29/20 12:28:41 anonymous           109021880‐46   120002‐1    Betts               Nizama           105 Windsor                           Narberth, PA 19072         USPS Issue
2318  2317 10/29/20 12:28:13 10/29/20 12:29:38 anonymous           006394205‐46   110301‐1    Leedom              Tara             201 Fifth St W, Apt 4                 Lansdale, PA 19446         USPS Issue
2319  2318 10/29/20 12:28:47 10/29/20 12:30:02 anonymous           108305684‐46   61MC00‐1    Bolton              Sydney           83 Goldfinch Cir                      Phoenixville, PA 19460     USPS Issue
2320  2319 10/29/20 12:29:41 10/29/20 12:30:44 anonymous           006419274‐46   110301‐1    Hoque               Anowrul          207 W 7th St                          Lansdale, PA 19446         USPS Issue
2321  2320 10/29/20 12:30:07 10/29/20 12:31:09 anonymous           021651239‐46   560007‐1    Pondolph            Francine         618 Gage LN                           North Wales, PA 19454      USPS Issue
2322  2321 10/29/20 12:30:45 10/29/20 12:31:53 anonymous           103873912‐46   490302‐1    Krier               Stephanie        515 Plymouth Rd, Apt E1               Plymouth Mtg, PA 19462     USPS Issue
2323  2322 10/29/20 12:31:55 10/29/20 12:33:21 anonymous           108408246‐46   010300‐1    Nyamu               Peter            213 Park Ave E                        Ambler PA 19002            USPS Issue
2324  2323 10/29/20 12:33:24 10/29/20 12:34:26 anonymous           102792491‐46   110301‐1    Hoque               Momotaz          207 W 7th St                          Lansdale, PA 19446         USPS Issue
2325  2324 10/29/20 12:32:31 10/29/20 12:34:40 anonymous           010036625‐46   120002‐1    Kirschner           Andrea           115 Dudley Ave Apt 2                  Narnerth, PA 19072         USPS Issue
2326  2325 10/29/20 12:34:28 10/29/20 12:35:30 anonymous           006626082‐46   370001‐1    Slavin              Colleen          100 Holly Drive                       Limerick, PA 19468         USPS Issue
2327  2326 10/29/20 12:34:45 10/29/20 12:35:48 anonymous           005941672‐46   400102‐1    Buten               Max              610 Fairview Rd                       Narberth, PA 19072         USPS Issue
2328  2327 10/29/20 12:35:34 10/29/20 12:36:19 anonymous           005718929‐46   490401‐1    Kirschen            Ilse             134 Shasta Rd                         Plymouth Mtg, PA 19462     USPS Issue
2329  2328 10/29/20 12:35:53 10/29/20 12:37:00 anonymous           005992746‐46   401202‐1    Wolverton           Elizabeth        502 Haverford Ave                     Narberth, PA 19072         USPS Issue
2330  2329 10/29/20 12:36:21 10/29/20 12:37:15 anonymous           005686725‐46   430204‐1    Serock              John             6007 Defford Pl B                     Eagleview, PA 19403        USPS Issue
2331  2330 10/29/20 12:37:04 10/29/20 12:38:09 anonymous           021770807‐46   590202‐1    Shriver             Shraddha         2744 Keebler Ct                       Willow Grove, PA 19090     USPS Issue
2332  2331 10/29/20 12:37:17 10/29/20 12:39:00 anonymous           109252481‐46   640001‐1    Conway              Kelli            125 South Hellertown Ave              Quakertown, Pa 18951       USPS Issue
2333  2332 10/29/20 12:38:14 10/29/20 12:39:15 anonymous           102896712‐46   590102‐1    Nissen              Stephanie        511 Iman Ter                          Willow Grove, PA 19090     USPS Issue
2334  2333 10/29/20 12:39:02 10/29/20 12:40:16 anonymous           006065441‐46   400903‐1    Orenbuch            Billie           20 Conshohocken State Rd Apt 703 Bala Cynwyd, PA 19004           USPS Issue
2335  2334 10/29/20 12:39:20 10/29/20 12:40:58 anonymous           021638894‐46   110102‐1    Germon              Gregory          200 Line St S, UNI 139                Lansdale, PA 19446         USPS Issue
2336  2335 10/29/20 12:40:19 10/29/20 12:41:15 anonymous           020686297‐46   400902‐1    Gartenberg          Mark             313 Lindy Lane                        Bala‐Cynwyd, PA 19004      USPS Issue
2337  2336 10/29/20 12:41:17 10/29/20 12:42:12 anonymous           006052054‐46   400903‐1    Deglin              Jo Anne          191 Presidential Blvd Uni 623 Bala Cynwyd, PA 19004              USPS Issue
2338  2337 10/29/20 12:41:06 10/29/20 12:42:54 anonymous           006287771‐46   460002‐1    Delp                John             157 Country Club Dr                   Lansdale, PA 19446         USPS Issue
2339  2338 10/29/20 12:42:14 10/29/20 12:43:09 anonymous           109066921‐46   400303‐1    Epstein             Jamie            37 Madison Ave                        Bala‐Cynwyd, PA 19004      USPS Issue
2340  2339 10/29/20 12:43:10 10/29/20 12:44:06 anonymous           110796433‐46   360403‐1    Huang               Andrew           355 East 10th St                      New York, NY 10009         USPS Issue
2341  2340 10/29/20 12:43:00 10/29/20 12:44:59 anonymous           006000239‐46   460002‐1    Delp                Jane             157 Country Club Dr                   Lansdale, PA 19446         USPS Issue

                                                                                                        Page 52 of 124
                                                                      Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 53 of 124


      A             B                C             D       E    F        G             H              I                   J                 K                               L                            M
 1 ID      Start time        Completion time Email       Name NumbeNumber2        Precinct:   Last Name         First name    Address Line 1                  Address Line 2                 Issue
2342  2341 10/29/20 12:44:08 10/29/20 12:45:14 anonymous           005902227‐46   550001‐1    Beieberfeld       Harris        3028 Goezel Rd                  Pekiomenville, PA 18074        USPS Issue
2343  2342 10/29/20 12:45:17 10/29/20 12:46:22 anonymous           110115271‐46   420003‐1    Neiffer           Corianna      920 Crimson Lane                Pottstown, PA 19464            USPS Issue
2344  2343 10/29/20 12:45:06 10/29/20 12:46:54 anonymous           005843663‐46   600001‐1    Markoski          Michael       1280 Whitespire Cir             Pottstown, PA 19464            USPS Issue
2345  2344 10/29/20 12:46:24 10/29/20 12:47:41 anonymous           006238152‐46   430304‐1    Firth             Sidney        23235 Shannondell Dr            Audubon, PA 19403              USPS Issue
2346  2345 10/29/20 12:46:58 10/29/20 12:48:09 anonymous           006153423‐46   600001‐1    Loeper            Louis         1957 Yarnall Rd                 Pottstown, PA 19464            USPS Issue
2347  2346 10/29/20 12:48:12 10/29/20 12:50:57 anonymous           110080957‐46   560001‐1    Stewart           Ryan          129 W. 12th Ave Baker Hall West Columbus, OH 43210             USPS Issue
2348  2347 10/29/20 12:51:02 10/29/20 12:53:17 anonymous           104210283‐46   401402‐1    Forster           Michael       638 Lake Front Dr, APT, 74      Sacramento, California 95831   USPS Issue
2349  2348 10/29/20 12:47:43 10/29/20 13:02:25 anonymous           006331517‐46   65W03‐1     Reid              Sheila        548 Ridge Pike                  Lafayette Hill, PA 19444       Incomplete Declaration
2350  2349 10/29/20 13:02:29 10/29/20 13:03:17 anonymous           005718648‐46   110202‐1    Berger            Donna         204 Elm Dr                      Lansdale, PA 19446             Incomplete Declaration
2351  2350 10/29/20 13:03:25 10/29/20 13:04:49 anonymous           104318924‐46   160600‐1    Heller            Barbara       174 South Roland St             Pottstown, PA 19464            Incomplete Declaration
2352  2351 10/29/20 13:05:59 10/29/20 13:06:53 anonymous           0060306‐46     590502‐1    Vishab            Richard       n/a                             n/a                            Incomplete Declaration
2353  2352 10/29/20 13:07:00 10/29/20 13:07:40 anonymous           006416270‐46   500002‐1    Linderman         Grace         n/a                             n/a                            Incomplete Declaration
2354  2353 10/29/20 13:07:49 10/29/20 13:09:34 anonymous           006325464‐46   390104‐1    Lowe              James         205 Penllyn Pk                  Penllyn, PA 19422              Incomplete Declaration
2355  2354 10/29/20 13:10:12 10/29/20 13:11:29 anonymous           006157012‐46   500002‐1    Linderman         Gerald        424 Indian Crest Dr             Harleysville, PA 19438         Incomplete Declaration
2356  2355 10/29/20 13:11:37 10/29/20 13:12:41 anonymous           005425333‐46   560004‐1    Rogan             Jane          1405 Brittany Pointe            Lansdale, PA 19446             Incomplete Declaration
2357  2356 10/29/20 13:12:59 10/29/20 13:13:59 anonymous           015877996‐46   400903‐1    Gittis            Sondra        190 Presidential BLVD PH 1      Bala‐cynwyd, PA 19004          Incomplete Declaration
2358  2357 10/29/20 13:14:06 10/29/20 13:14:59 anonymous           016019225‐46   540203‐1    Baron             Eli           n/a                             n/a                            Incomplete Declaration
2359  2358 10/29/20 13:15:07 10/29/20 13:16:39 anonymous           109069697‐46   300902‐1    Habipaj           Fadile        2958 Meyer                      Glenside, PA 19038             Incomplete Declaration
2360  2359 10/29/20 12:53:28 10/29/20 13:17:21 anonymous           021202625‐46   65M05‐1     Taterka           Samuel        827 Hain Dr                     Lafayette Hill, PA 19444       USPS Issue
2361  2360 10/29/20 13:16:46 10/29/20 13:18:04 anonymous           006310316‐46   65M04‐1     Rapoport          Daniel        458 Apple Tree LN N.            Lafayette Hill, PA 19444       Incomplete Declaration
2362  2361 10/29/20 13:17:23 10/29/20 13:18:42 anonymous           006351204‐46   400302‐1    Anolik            Sarah         N/a                             n/a                            USPS Issue
2363  2362 10/29/20 13:18:45 10/29/20 13:19:57 anonymous           103560774‐46   620001‐1    Poatsy            Theodore      2136 Wolford Rd PO Box 27       Salfordville, PA 18958         USPS Issue
2364  2363 10/29/20 13:19:59 10/29/20 13:21:09 anonymous           108288990‐46   040002‐1    Kroha             Victoria      5 Birch Rise Drive              Newton, CT 06470               USPS Issue
2365  2364 10/29/20 13:21:11 10/29/20 13:22:09 anonymous           104106866‐46   360203‐1    Sumner            Curtis        254 Running Water Ct            Ambler, PA 19002               USPS Issue
2366  2365 10/29/20 13:22:10 10/29/20 13:23:07 anonymous           103711913‐46   630101‐1    Bovich            Mark          2429 Oakland Dr                 Norristown, PA 19403           USPS Issue
2367  2366 10/29/20 13:23:10 10/29/20 13:24:15 anonymous           014423054‐46   630301‐1    Dolfi             Douglas       233 Stone Ridge Dr              Norristown, Pa 19403           USPS Issue
2368  2367 10/29/20 13:18:11 10/29/20 13:24:29 anonymous           021033203‐46   61T00‐1     Dougherty         Stephanie     125 Famfield Ave                Royersford, PA 19468           Incomplete Declaration
2369  2368 10/29/20 13:24:17 10/29/20 13:25:29 anonymous           016060014‐46   400103‐1    Koppenhaver       Janelle       226 Conshohocken state rd       Gladwyne, PA 19035             USPS Issue
2370  2369 10/29/20 13:25:32 10/29/20 13:26:31 anonymous           102489921‐46   400201‐1    Herz              Nysa          1336 Rose Glen Rd               Gladwyne, PA 19035             USPS Issue
2371  2370 10/29/20 13:26:34 10/29/20 13:27:44 anonymous           005803975‐46   67E03‐1     Payne             Robert        92 Fairway Drive                Tuckerton, NJ 08087            USPS Issue
2372  2371 10/29/20 13:27:46 10/29/20 13:28:55 anonymous           006299163‐46   310302‐1    Cantor            Ari           532 Red Oak Dr                  Elkins Park, PA 19027          USPS Issue
2373  2372 10/29/20 13:28:57 10/29/20 13:29:56 anonymous           109695497‐46   301303‐1    skelly            Matthew       2468 Ardsley Ave                Glenside, PA 19038             USPS Issue
2374  2373 10/29/20 13:29:35 10/29/20 13:30:37 anonymous           005966314‐46   65M02‐1     Deats             David         29 E. Ridge Pike Apt 100        Conshohocken, PA 19428         Incomplete Declaration
2375  2374 10/29/20 13:29:58 10/29/20 13:30:48 anonymous           110918605‐46   301502‐1    Walters           Mariah        1120 Wilson Ave                 Abington, PA 19001             USPS Issue
2376  2375 10/29/20 13:30:50 10/29/20 13:31:36 anonymous           009900834‐46   010100‐1    Stasny            Eileen        134 Hendricks St                Ambler PA 19002                USPS Issue
2377  2376 10/29/20 13:30:49 10/29/20 13:32:08 anonymous           006047901‐46   120003‐1    Croke             Christopher   1 Chestnut Ave                  Narberth, PA 19072             Incomplete Declaration
2378  2377 10/29/20 13:31:40 10/29/20 13:32:34 anonymous           014474867‐46   300703‐1    Reilly            Zoe           1175 Jericho Road               Abingrton PA 19001             USPS Issue
2379  2378 10/29/20 13:32:16 10/29/20 13:32:55 anonymous           110549289‐46   390103‐1    Schwartz          Carly         n/a                             n/a                            Incomplete Declaration
2380  2379 10/29/20 13:32:37 10/29/20 13:33:38 anonymous           006051507‐46   400403‐1    Morgan            Robert        50 Woodside Rd Apt 13           Ardmore PA 19006               USPS Issue
2381  2380 10/29/20 13:33:01 10/29/20 13:33:59 anonymous           006244480‐46   61T00‐1     Lynch             Brian         15 Hickory Place                Collegeville, PA 19422         Incomplete Declaration
2382  2381 10/29/20 13:33:43 10/29/20 13:34:49 anonymous           109474162‐46   400703‐1    Johnson           Nicole        1032 Cedar grove Rd Uni 1       Wynnewood, PA 19096            USPS Issue
2383  2382 10/29/20 13:34:08 10/29/20 13:34:54 anonymous           006124666‐46   390202‐1    Moore             Desaire       419 Francis Ave                 Ambler, PA 19002               Incomplete Declaration
2384  2383 10/29/20 13:34:58 10/29/20 13:35:49 anonymous           005901236‐46   300501‐1    Bannister         Aaron         2343 Rubicam Ave                Willow Grove, PA 19090         Incomplete Declaration
2385  2384 10/29/20 13:34:51 10/29/20 13:36:09 anonymous           021712089‐46   300202‐1    Mozitis           Jillian       505 Meadowbrook Dr APT 505 Huntingdon Valley, Pa 19006         USPS Issue
2386  2385 10/29/20 13:35:56 10/29/20 13:36:40 anonymous           015064859‐46   540702‐1    Bruno             Jessica       504 Herold CT                   Maple Glen, PA 19002           Incomplete Declaration

                                                                                                      Page 53 of 124
                                                                      Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 54 of 124


      A             B                C             D       E    F        G            H              I                   J                     K                               L                           M
 1 ID      Start time        Completion time Email       Name NumbeNumber2        Precinct:   Last Name        First name        Address Line 1                    Address Line 2              Issue
2387  2386 10/29/20 13:36:10 10/29/20 13:37:23 anonymous           102451826‐46   300202‐1    Gage             Beth              447 Meadowbrook Drive             Huntingdon Vly PA 19006     USPS Issue
2388  2387 10/29/20 13:36:47 10/29/20 13:37:38 anonymous           010888175‐46   370003‐1    Smith            Jacqueline        105 Aspen Dr                      Royersford, PA 19468        Incomplete Declaration
2389  2388 10/29/20 13:37:27 10/29/20 13:38:10 anonymous           006238823‐46   510001‐1    Beard            Evan              1152 Bridge rd                    Schwenksville, PA 19473     USPS Issue
2390  2389 10/29/20 13:37:45 10/29/20 13:38:33 anonymous           006017671‐46   490201‐1    Mcdevitt         Geraldine         3023 Sheffield Dr                 Plymouth MTG, PA 19462      Incomplete Declaration
2391  2390 10/29/20 13:38:12 10/29/20 13:39:12 anonymous           006167900‐46   390101‐1    Fridling         David             1633 Hancock Road                 North Wales, PA 19454       USPS Issue
2392  2391 10/29/20 13:38:39 10/29/20 13:39:34 anonymous           005817290‐46   300601‐1    Fulforth         Gail              361 Monroe Ave                    Glenside, PA 19038          Incomplete Declaration
2393  2392 10/29/20 13:39:19 10/29/20 13:40:35 anonymous           006170105‐46   390101‐1    Fridling         Ilene             1633 Hancock Rd                   North Wales PA 19454        USPS Issue
2394  2393 10/29/20 13:40:48 10/29/20 13:41:49 anonymous           015151404‐46   190001‐1    Pruyn            Phyllis           760 Chestnut St                   Royersford, PA 19468        USPS Issue
2395  2394 10/29/20 13:41:55 10/29/20 13:42:59 anonymous           104331572‐46   660005‐1    Agee             Christopher       134 Plymouth Rd Apt 1103          Plymouth Mtg, PA 19462      USPS Issue
2396  2395 10/29/20 13:43:02 10/29/20 13:44:12 anonymous           006217011‐46   590502‐1    Zebin            Donna             3855 Davisville Rd                Hatboro, PA 19040           USPS Issue
2397  2396 10/29/20 13:44:14 10/29/20 13:45:04 anonymous           005873920‐46   590602‐1    Akers            Ruth              2335 Terwood Rd Apt 112 A         Huntingdon Vly, PA 19006    USPS Issue
2398  2397 10/29/20 13:45:06 10/29/20 13:46:04 anonymous           102631293‐46   480002‐1    Forgette         Steven            62 Seitz Rd                       Schwenksville, PA 19473     USPS Issue
2399  2398 10/29/20 13:46:06 10/29/20 13:46:58 anonymous           102782688‐46   480002‐1    Forgette         Deanna            62 Seitz Rd                       Schwenksville, PA 19473     USPS Issue
2400  2399 10/29/20 13:46:59 10/29/20 13:48:24 anonymous           006016876‐46   58BEL03‐1   Fraschetta       Amy               146 Ross Rd                       King of Prussia, PA 19406   USPS Issue
2401  2400 10/29/20 13:48:26 10/29/20 13:49:19 anonymous           006018434‐46   660005‐1    Medved           Jon               105 Orchard Ct                    Blue Bell, Pa 19422         USPS Issue
2402  2401 10/29/20 13:49:21 10/29/20 13:50:14 anonymous           016176586‐46   310203‐1    Cobb             Carla             1444 Wistar Dr                    Wyncote PA 19095            USPS Issue
2403  2402 10/29/20 13:50:17 10/29/20 13:51:23 anonymous           005856171‐46   58BEL01‐1   Vogt             Timothy           560 Dartmouth Drive               KOP PA 19406                USPS Issue
2404  2403 10/29/20 13:51:24 10/29/20 13:56:02 anonymous           107833885‐46   540101‐1    Scherpbier       Bart              405 Bellaire Ave                  Ft. Washington, PA 19034    USPS Issue
2405  2404 10/29/20 13:56:11 10/29/20 13:57:31 anonymous           006081629‐46   660009‐1    Scott            Lawrence          1398 Jolly Rd                     Blue Bell, PA 19422         USPS Issue
2406  2405 10/29/20 13:57:33 10/29/20 13:58:14 anonymous           108086603‐46   560007‐1    Niedosik         Jordan            700 Park rd                       Lansdale, PA 19446          USPS Issue
2407  2406 10/29/20 13:58:16 10/29/20 13:59:08 anonymous           009533121‐46   190002‐1    REDDING          BRANDI            358 MAIN ST                       ROYERSFORD PA 19468         USPS Issue
2408  2407 10/29/20 13:59:11 10/29/20 13:59:58 anonymous           005714460‐46   160600‐1    LOWA             EVE               N/A                               POTTSTOWN, PA 19464         USPS Issue
2409  2408 10/29/20 14:00:00 10/29/20 14:00:54 anonymous           021224351‐46   301001‐1    CORWIN           CYPRIAN           1901 CORINTHIAN AVE               ABINGTON PA 19001           USPS Issue
2410  2409 10/29/20 14:00:55 10/29/20 14:03:00 anonymous           005922571‐46   530102‐1    FARQUHARSON      COVILLE           1141 SNYDER RD APT G3             LANSDALE PA 19446           USPS Issue
2411  2410 10/29/20 14:03:01 10/29/20 14:03:44 anonymous           003518399‐46   460002‐1    DYER             WILLIAM           138 PINECREST LN                  LANSDALE PA 19446           USPS Issue
2412  2411 10/29/20 14:03:46 10/29/20 14:04:34 anonymous           020237418‐46   460002‐1    DYER             DIANA             138 PINECREST LN                  LANSDALE PA 19446           USPS Issue
2413  2412 10/29/20 14:04:38 10/29/20 14:05:22 anonymous           108884939‐46   110301‐1    SHEA             EILEEN            628 MAPLE AVE APT 1               LANSDALE PA 19446           USPS Issue
2414  2413 10/29/20 14:06:31 10/29/20 14:07:37 anonymous           021511915‐46   530102‐1    MOORE            KIRSTEN           1141 SNYDER RD                    LANSDALE PA 19446           USPS Issue
2415  2414 10/29/20 14:07:39 10/29/20 14:08:30 anonymous           107122249‐46   58BEL05‐1   PARK             LAURA             10711 VALLEY FORGE CIR            KOP PA 19406                USPS Issue
2416  2415 10/29/20 14:08:31 10/29/20 14:10:29 anonymous           109034527‐46   430203‐1    LEGGIN           JUSTIN            2806 BRECKENRIDGE BLVD            EAGLEVIEW PA 19403          USPS Issue
2417  2416 10/29/20 14:10:30 10/29/20 14:11:15 anonymous           006399626‐46   401302‐1    GOLDNER          JUSTIN            6 DARTMOUTH RD W.                 BALA‐CYNWYD, PA 19004       USPS Issue
2418  2417 10/29/20 14:11:16 10/29/20 14:12:02 anonymous           006081630‐46   660009‐1    SCOTT            MAJORIE           1398 JOLLY RD                     BLUE BELL, PA 19422         USPS Issue
2419  2418 10/29/20 14:12:02 10/29/20 14:12:49 anonymous           005929911‐46   660012‐1    CLANCY           KENNETH           1208 TWIN SILO DR                 BLUE BELL PA 19422          USPS Issue
2420  2419 10/29/20 14:12:50 10/29/20 14:13:38 anonymous           005925233‐46   65M01‐1     WALKER           JOHN              128 WILDFLOWER DR                 PLYMOUTH MTG PA 19462       USPS Issue
2421  2420 10/29/20 13:41:06 10/29/20 14:13:55 anonymous           102498748      130102‐1    Johns            Denise            619 Hamilton St Apt B             Norristown, PA 19401        Incomplete Declaration
2422  2421 10/29/20 14:13:40 10/29/20 14:14:26 anonymous           005742594‐46   65M01‐1     WALKER           EVELYN            128 WILDFLOWER DR                 PLYMOUTH MTG PA 19462       USPS Issue
2423  2422 10/29/20 14:13:57 10/29/20 14:14:55 anonymous           109247839‐46   400203‐1    Wu               Siqing            "one address two persons to vote" ‐                           Incomplete Declaration
2424  2423 10/29/20 14:14:28 10/29/20 14:15:09 anonymous           014905506‐46   301203‐1    GROWMILLER       LOUIS             414 HIGHLAND AVE                  GLENSIDE PA 19038           USPS Issue
2425  2424 10/29/20 14:15:10 10/29/20 14:15:57 anonymous           015753766‐46   570001‐1    WRIGHT           CRYSTAL           106 MEADOWBROOK DR                HUNTINGDON VLY PA 19006     USPS Issue
2426  2425 10/29/20 14:15:00 10/29/20 14:16:08 anonymous           006272060‐46   050300‐46   Aronchick        Bryan Paul        309 Washing Street Apt #2228 Conshohocken, PA 19428           Incomplete Declaration
2427  2426 10/29/20 14:15:58 10/29/20 14:16:39 anonymous           107328167‐46   350201‐1    SARM             JILLIAN           22344 BRIAR PATCH LN              HATFIELD PA 19440           USPS Issue
2428  2427 10/29/20 14:16:10 10/29/20 14:16:44 anonymous           109730015‐46   310201‐1    Bitterman        Georgia Eleanor   1617 Hillcrest Rd                 Glenside, PA 19038          Incomplete Declaration
2429  2428 10/29/20 14:16:46 10/29/20 14:17:15 anonymous           006257390‐46   520101‐1    Block            Joyce D           ‐                                 ‐                           Incomplete Declaration
2430  2429 10/29/20 14:16:41 10/29/20 14:17:24 anonymous           005879313‐46   380002‐1    GROVE            VIRGINIA          19 LITTLE RD PO BOX 244           PERKIOMENVILLE PA 18074     USPS Issue
2431  2430 10/29/20 14:17:16 10/29/20 14:17:55 anonymous           103955383‐46   61MC00‐1    Shankavaram      Sowmini           162 Iron Hill Way                 Collegeville, PA 19426      Incomplete Declaration

                                                                                                     Page 54 of 124
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      A             B                C             D       E    F        G            H              I                     J                   K                             L                          M
 1 ID      Start time        Completion time Email       Name NumbeNumber2        Precinct:   Last Name         First name        Address Line 1                 Address Line 2             Issue
2432  2431 10/29/20 14:17:26 10/29/20 14:18:12 anonymous           006350532‐46   160400‐1    SARACENI          MICHEAL           771 LOGAN ST APT D102          POTTSTOWN, PA 19464        USPS Issue
2433  2432 10/29/20 14:17:57 10/29/20 14:18:40 anonymous           005959394‐46   300602‐1    Spiegle           Joan Rose         353 N. Hills Ave               Glenside, PA 19038‐1637    Incomplete Declaration
2434  2433 10/29/20 14:18:14 10/29/20 14:19:25 anonymous           005909710‐46   660012‐1    MCKENNA           DORIS             5304 TWIN SILO DRIVE           BLUE BELL, PA 19422        USPS Issue
2435  2434 10/29/20 14:18:43 10/29/20 14:21:15 anonymous           005739645‐46   300602‐1    Spiegle           Rose              363 N. Hills Ave               Glenside, PA 19038‐1637    Incomplete Declaration
2436  2435 10/29/20 14:19:53 10/29/20 14:21:46 anonymous           015626971‐46   180001‐1    ZERUMSKY          MELISSA           1024 FOX CHASE RD APT B        JENKINTOWN PA 19046        USPS Issue
2437  2436 10/29/20 14:21:17 10/29/20 14:21:59 anonymous           021505935‐46   160600‐1    Tanner            Travis Lamar      538 E. High St Apt 107         Pottstown, PA 19464        Incomplete Declaration
2438  2437 10/29/20 14:22:01 10/29/20 14:22:52 anonymous           005916986‐46   390103‐1    O'Donnell         Frank             243 Towyn Ct                   Ambler, PA 19002           Incomplete Declaration
2439  2438 10/29/20 14:21:50 10/29/20 14:23:10 anonymous           005982257‐46   301502‐1    CAMPOLI           EILEEN            N/A                            ROSLYN PA 19001            USPS Issue
2440  2439 10/29/20 14:22:53 10/29/20 14:23:27 anonymous           006258556‐46   350502‐1    Jones             James F           665 Wimbledon Ln               Hatfield, PA 19440         Incomplete Declaration
2441  2440 10/29/20 14:23:13 10/29/20 14:24:23 anonymous           015207384‐46   590602‐1    KANAL             DINA              1570 FAIRWAY RD APT 204E       HUNTINGDON VLY, PA 19006   USPS Issue
2442  2441 10/29/20 14:23:30 10/29/20 14:24:24 anonymous           005964653‐46   620001‐1    Kohr              Shirley L.        740 Clemmers Mill Rd.          Schwenksville, PA 19473    Incomplete Declaration
2443  2442 10/29/20 14:24:25 10/29/20 14:24:55 anonymous           103939266‐46   300303‐1    Profka            Nikolla           732 Suffolk Rd                 Jenkintown, PA 19046       Incomplete Declaration
2444  2443 10/29/20 14:24:26 10/29/20 14:25:30 anonymous           108292533‐46   160500‐1    JETER             KHALIF            511 EVANS ST N                 POTTSTOWN PA 19464         USPS Issue
2445  2444 10/29/20 14:24:57 10/29/20 14:25:38 anonymous           006162463‐46   190002‐1    White             Jason A           423 2nd Ave Apt 1              Royersford, PA 19468       Incomplete Declaration
2446  2445 10/29/20 14:25:39 10/29/20 14:26:24 anonymous           006325543‐46   65M01‐1     Petruschke        Lauren H          ‐                              ‐                          Incomplete Declaration
2447  2446 10/29/20 14:25:33 10/29/20 14:26:33 anonymous           107106815‐46   58BEL05‐1   LANG              JOSEPH            961 PENN CIR APT D314          KOP PA 19406               USPS Issue
2448  2447 10/29/20 14:26:25 10/29/20 14:27:07 anonymous           002027782‐46   110303‐1    Polak             Louise            600 Perkiomen                  Lansdale, PA 19446‐3433    Incomplete Declaration
2449  2448 10/29/20 14:26:35 10/29/20 14:27:38 anonymous           103579997‐46   190002‐1    SALKOWSKI         JOHN              735 WASHINGTON ST UNI 301      ROYERSFORD PA 19468        USPS Issue
2450  2449 10/29/20 14:27:10 10/29/20 14:27:41 anonymous           108582707‐46   400401‐1    Taylor            Corey Gron        ‐                              ‐                          Incomplete Declaration
2451  2450 10/29/20 14:27:42 10/29/20 14:28:26 anonymous           103094323‐46   350401‐1    Patel             Babubhai C        787 Hertford Dr                Hatfield, PA 19440         Incomplete Declaration
2452  2451 10/29/20 14:28:27 10/29/20 14:29:09 anonymous           109910011‐46   350401‐1    Patel             Kalpana B         787 Hertford Dr                Hatfield, PA 19440         Incomplete Declaration
2453  2452 10/29/20 14:27:41 10/29/20 14:29:35 anonymous           109131729‐46   58TNC00‐1   VANLERBERGHE      ANN               804 LAKEVIEW COURT             KING OF PRUSSIA PA 19406   USPS Issue
2454  2453 10/29/20 14:29:11 10/29/20 14:32:17 anonymous           006149671‐46   110202‐1    Rosa‐Martir       Francisco         660 N Broad St                 Lansdale, PA 19446         Incomplete Declaration
2455  2454 10/29/20 14:29:37 10/29/20 14:32:48 anonymous           006277129‐46   58BEL05‐1   GATELY            BERNADETTE        20733 VALLEY FORGE CIR         KOP PA 19406               USPS Issue
2456  2455 10/29/20 14:32:18 10/29/20 14:33:04 anonymous           108409902‐46   340007‐1    Patel             Jayshree Ishvar   ‐                              ‐                          Incomplete Declaration
2457  2456 10/29/20 14:33:06 10/29/20 14:33:34 anonymous           108788080‐46   340007‐1    Patel             Ishvar N          ‐                              ‐                          Incomplete Declaration
2458  2457 10/29/20 14:33:35 10/29/20 14:34:11 anonymous           006020288‐46   460007‐1    McCormick         Joan M            101 Raven Hollow Dr            North Wales, PA 19454      Incomplete Declaration
2459  2458 10/29/20 14:32:51 10/29/20 14:34:28 anonymous           021043191‐46   58GUL01‐1   TRUBIANO          WENDY             288 WESTFALL AVE               KOP PA 19406               USPS Issue
2460  2459 10/29/20 14:34:12 10/29/20 14:34:50 anonymous           006417678‐46   460004‐1    Kennedy           Louise J          238 Cherrywood Ct              North Wales, PA 19454      Incomplete Declaration
2461  2460 10/29/20 14:34:30 10/29/20 14:35:28 anonymous           103418716‐46   58TNC00‐1   BROWN             TAYLOR            511 LAKEVIEW CT                KING OF PRUSSIA PA 19406   USPS Issue
2462  2461 10/29/20 14:34:53 10/29/20 14:35:37 anonymous           006119917‐46   460003‐1    Bechle            Bonnie            102 Harbob Ln                  North Wales, PA 19454      Incomplete Declaration
2463  2462 10/29/20 14:35:30 10/29/20 14:36:17 anonymous           016123438‐46   660007‐1    KERSEY            REGINA            24 RAHNS RD                    COLLEGEVILLE PA 19426      USPS Issue
2464  2463 10/29/20 14:35:38 10/29/20 14:36:26 anonymous           110203099‐46   460006‐1    Mercier           Taylor            ‐                              ‐                          Incomplete Declaration
2465  2464 10/29/20 14:29:13 10/29/20 14:37:04 anonymous           109209088‐46   490302‐1    Christian         Lucas             777 Germantown Pike W, APT 316 Plymouth Mtg, PA 19462     USPS Issue
2466  2465 10/29/20 14:36:27 10/29/20 14:37:07 anonymous           006322150‐46   390104‐1    Muckley           Jonnie R          1281 Township Line Rd          Gwynedd Valley, PA 19437   Incomplete Declaration
2467  2466 10/29/20 14:36:18 10/29/20 14:37:11 anonymous           109150896‐46   58CAN01‐1   PELLOT            LILLIAN           251 W DEKALB PIKE APT W217 KOP PA 19406                   USPS Issue
2468  2467 10/29/20 14:37:08 10/29/20 14:37:40 anonymous           111077943‐46   160701‐1    White             Whitney R         550 Wilson Street              Pottstown, PA 19464        Incomplete Declaration
2469  2468 10/29/20 14:37:13 10/29/20 14:37:59 anonymous           109150897‐46   58CAN01‐1   PELLOT            MICHEAL           251 W DEKALB PIKE APT W217 KOP PA 19406                   USPS Issue
2470  2469 10/29/20 14:37:42 10/29/20 14:38:21 anonymous           020736870‐46   400502‐1    McConnell         Marcia Jane       17 Hanfair Road, Apt 10        Ardmore, PA 19003          Incomplete Declaration
2471  2470 10/29/20 14:38:00 10/29/20 14:38:46 anonymous           006226661‐46   67E02‐1     NAVE              CAROL             2858 HICKORY HILL DRIVE        EAGLEVIEW PA 19403         USPS Issue
2472  2471 10/29/20 14:38:22 10/29/20 14:38:58 anonymous           108257391‐46   400703‐1    Toth              Jolan Gabriella   1100 Remington Road            Wynnewood, PA 19096        Incomplete Declaration
2473  2472 10/29/20 14:38:48 10/29/20 14:39:34 anonymous           102476693‐46   58KIN02‐1   QURESHI           MUSHTAQ           2104 BRANDENBURG WAY           KOP PA 19406               USPS Issue
2474  2473 10/29/20 14:39:00 10/29/20 14:39:38 anonymous           109910163‐46   401002‐1    Hamilton          Elizabeth Ley     101 N Merion Ave C‐521         Bryn Mawr, 19010           Incomplete Declaration
2475  2474 10/29/20 14:39:35 10/29/20 14:40:18 anonymous           021337572‐46   58BEL05‐1   BENNETT           RICHARD           1011 PENN CIR APT D401         KOP PA 19406               USPS Issue
2476  2475 10/29/20 14:39:40 10/29/20 14:40:29 anonymous           110967125‐46   470003‐1    Schadler          Donald            ‐                              ‐                          Incomplete Declaration

                                                                                                      Page 55 of 124
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      A             B                C             D       E    F        G            H                I                    J                      K                                       L                          M
 1 ID      Start time        Completion time Email       Name NumbeNumber2        Precinct:   Last Name          First name       Address Line 1                          Address Line 2                  Issue
2477  2476 10/29/20 14:39:19 10/29/20 14:40:40 anonymous           102640755‐46   490302‐1    Adam               Heath            515 Plymouth Rd, APT E1                 Plymouth Meeting, PA 19462‐1611 USPS Issue
2478  2477 10/29/20 14:40:30 10/29/20 14:40:54 anonymous           006368289‐46   370003‐1    Taylor             Darlene L        ‐                                       ‐                               Incomplete Declaration
2479  2478 10/29/20 14:40:19 10/29/20 14:41:11 anonymous           108869228‐46   58BEL04‐1   THERO              JILLIAN          751 VANDENBERG RD APT 1207              KOP PA 19406                    USPS Issue
2480  2479 10/29/20 14:40:56 10/29/20 14:41:30 anonymous           010482444‐46   540301‐1    Andrusiak          Michaelann       ‐                                       ‐                               Incomplete Declaration
2481  2480 10/29/20 14:40:44 10/29/20 14:41:54 anonymous           106560883‐46   120001‐1    Kinsella           Elizabeth        308 B Windsor Ave                       Narberth, PA 19072              USPS Issue
2482  2481 10/29/20 14:41:31 10/29/20 14:42:01 anonymous           006118912‐46   460007‐1    Mehr               Joseph Francis   113 Mallard Dr W                        North Wales, PA 19454           Incomplete Declaration
2483  2482 10/29/20 14:41:14 10/29/20 14:42:04 anonymous           006366671‐46   58BEL04‐1   LAM                SIVONTHUON       751 VANDENBERG RD APT 1122              KOP PA 19406                    USPS Issue
2484  2483 10/29/20 14:42:02 10/29/20 14:42:40 anonymous           005874039‐46   230001‐1    Hunsicker          Louise A         770 College Ave                         Trappe, PA 19426                Incomplete Declaration
2485  2484 10/29/20 14:41:58 10/29/20 14:43:03 anonymous           005769883‐46   120002‐1    Dobkin             Jane Lynn        21 Sabine Ave                           Narberth, PA 19072              USPS Issue
2486  2485 10/29/20 14:42:42 10/29/20 14:43:22 anonymous           110068787‐46   301103‐1    Meyers             Janice Claire    1946 Guernsey Ave                       Abington, PA 19001              Incomplete Declaration
2487  2486 10/29/20 14:42:36 10/29/20 14:43:46 anonymous           109074018‐46   58TNC00‐1   FENDLE             MARY             511 LAKEVIEW CT                         KOP PA 19406                    USPS Issue
2488  2487 10/29/20 14:43:23 10/29/20 14:44:16 anonymous           015237268‐46   300202‐1    Chapman            Nancy C          1551 Huntingdon Pike Apt BI12           Huntingdon Vly, PA              Incomplete Declaration
2489  2488 10/29/20 14:43:07 10/29/20 14:44:17 anonymous           006141224‐46   12002‐1     Caplan             Eugenia          103 Dudley Ave APT 2                    Narberth, PA 19072              USPS Issue
2490  2489 10/29/20 14:43:48 10/29/20 14:44:50 anonymous           006207106‐46   300502‐1    POLES              CRAIG            N/A                                     ABINGTON, PA 19001              USPS Issue
2491  2490 10/29/20 14:44:18 10/29/20 14:45:10 anonymous           103976111‐46   640001‐1    Thomas             Albert A Sr      126 E Race St                           Stowe, PA 19464                 Incomplete Declaration
2492  2491 10/29/20 14:44:22 10/29/20 14:45:44 anonymous           107816877‐46   430202‐1    Muirhead           Scott            110 Coach LN Apt O‐4                    Eagleville, PA 19403            USPS Issue
2493  2492 10/29/20 14:44:52 10/29/20 14:45:46 anonymous           108939137‐46   58KIN02‐1   JOHNSON            MARLON           1402 BRANDENBURG WAY                    KOP PA 19406                    USPS Issue
2494  2493 10/29/20 14:45:11 10/29/20 14:45:58 anonymous           103207175‐46   67W00‐1     Kim                Eun Hye          1408 Reiner Rd                          Eagleville, PA 19403            Incomplete Declaration
2495  2494 10/29/20 14:45:47 10/29/20 14:46:50 anonymous           110363907‐46   58CAN02‐1   SIERZEGA           RICHARD          153 REBEL RD                            KOP PA 19406                    USPS Issue
2496  2495 10/29/20 14:45:47 10/29/20 14:46:50 anonymous           006378392‐46   490302‐1    Fatin              Parastoo         624 Gawain Rd                           Plymouth MTG, PA 19462          USPS Issue
2497  2496 10/29/20 14:46:00 10/29/20 14:47:03 anonymous           005827877‐46   220001‐1    Berlin             Lisa J           226 W. Broad St                         Telford, PA 18969               Incomplete Declaration
2498  2497 10/29/20 14:46:51 10/29/20 14:47:41 anonymous           005693894‐46   58CAN02‐1   SILETTA            ANTOINETTE       382 OLD FORT RD                         KOP PA 19406                    USPS Issue
2499  2498 10/29/20 14:47:05 10/29/20 14:47:47 anonymous           103545540‐46   560005‐1    Walton             Anna M           807 Tricorn Dr                          Lansdale, PA 19446              Incomplete Declaration
2500  2499 10/29/20 14:46:53 10/29/20 14:48:08 anonymous           005715513‐46   120001‐1    Harris             Steven           108 Grayling Ave                        Narberth, PA 19072              USPS Issue
2501  2500 10/29/20 14:47:51 10/29/20 14:48:23 anonymous           110015094‐46   300602‐1    Bond               Mark James       507 North Hills Ave                     Glenside, PA 19038              Incomplete Declaration
2502  2501 10/29/20 14:47:43 10/29/20 14:48:43 anonymous           109126854‐46   58CAN01‐1   NEHY               REGINE           251 DEKALB PIKE W APT S711              KING OF PRUSSIA, PA 19406       USPS Issue
2503  2502 10/29/20 14:48:25 10/29/20 14:49:55 anonymous           104910571‐46   58GUL01‐1   Smith              Brian J          980 Natton Ct                           King of Prussia, PA 19406       Incomplete Declaration
2504  2503 10/29/20 14:48:11 10/29/20 14:49:56 anonymous           009899772‐46   120002‐1    Buchanan‐McCrimmon Brittany         37 Sabine Ave                           Narberth, PA 19072              USPS Issue
2505  2504 10/29/20 14:48:47 10/29/20 14:50:28 anonymous           109310085‐46   58BEL05‐1   GERVASIO           JASON            1041 PENN CIR APT F108                  KING OF PRUSSIA, PA 19406       USPS Issue
2506  2505 10/29/20 14:49:57 10/29/20 14:50:42 anonymous           006079910‐46   460001‐1    Smith              Mercedes         640 Bethlehem Pike                      Montgomeryville, PA 18936       Incomplete Declaration
2507  2506 10/29/20 14:50:01 10/29/20 14:51:20 anonymous           109177763‐46   120002‐1    Pennotti           Christian        303 Conway Ave                          Narberth, PA 19072              USPS Issue
2508  2507 10/29/20 14:50:44 10/29/20 14:51:23 anonymous           110593046‐46   520501‐1    Duncan             Tanika           901 E Pleasant #1B                      Glenside, PA 19038              Incomplete Declaration
2509  2508 10/29/20 14:50:29 10/29/20 14:51:37 anonymous           103985304‐46   58CAN01‐1   KASEMEN            KATHRYN          251 W DEKALB PIKE 606                   KOP PA 19406                    USPS Issue
2510  2509 10/29/20 14:51:24 10/29/20 14:52:11 anonymous           015928274‐46   430304‐1    Fergione           Elizabeth Ann    11203 Shannondale Dr                    Audubon, PA 19403               Incomplete Declaration
2511  2510 10/29/20 14:51:39 10/29/20 14:52:17 anonymous           005715588‐46   380001‐1    WATT               JOHN             103 BERGER RD                           SCHWENKSVILLE, PA 19473         USPS Issue
2512  2511 10/29/20 14:52:12 10/29/20 14:52:59 anonymous           109939688‐46   370001‐1    Mokhtari           Mohamed          1201 Duchess Ct                         Royersford, PA 19468            Incomplete Declaration
2513  2512 10/29/20 14:52:19 10/29/20 14:53:02 anonymous           006330055‐46   380001‐1    BARTON             BEVERLY          103 BERGER RD                           SCHWENKSVILLE, PA 19473         USPS Issue
2514  2513 10/29/20 14:51:25 10/29/20 14:53:03 anonymous           005776285‐46   400203‐1    Daniels            Thomas           1600 Hagys Ford Rd Apt 1L               Narberth, PA 19072              USPS Issue
2515  2514 10/29/20 14:53:03 10/29/20 14:53:51 anonymous           005770707‐46   380002‐1    KEHS               MARIE            1011 GRAVEL PIKE N                      SCHWENKSVILLE PA 19473          USPS Issue
2516  2515 10/29/20 14:53:01 10/29/20 14:53:56 anonymous           006162035‐46   110301‐1    Mullins            Jamaul K         310 W Eight ST                          Lansdale, PA 19446              Incomplete Declaration
2517  2516 10/29/20 14:53:58 10/29/20 14:54:34 anonymous           006248752‐46   130302‐1    Jackson            Michael A        24 E. Elm St                            Norristown, PA 19401            Incomplete Declaration
2518  2517 10/29/20 14:53:53 10/29/20 14:54:55 anonymous           009605236‐46   380002‐1    FISHER             JUSTIN           11 STATION AVE                          SCHWENKSVILLE PA 19473          USPS Issue
2519  2518 10/29/20 14:54:35 10/29/20 14:55:11 anonymous           021077218‐46   520102‐1    Williams           Eric             56 Grove Ave                            Flourtown, PA 19031             Incomplete Declaration
2520  2519 10/29/20 14:53:14 10/29/20 14:55:36 anonymous           006074283‐46   400203‐1    Rosenblum          Sue Ellen        Oak Hill Condo1637 Oakwood Drive S217   Narberth, PA 19072              USPS Issue
2521  2520 10/29/20 14:54:56 10/29/20 14:56:09 anonymous           107220526‐46   380002‐1    MCCRACKEN          SARAH            22 CEMETERY LN                          SCHWENKSVILLE, PA 19473         USPS Issue

                                                                                                          Page 56 of 124
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      A             B                C             D       E    F          G            H                 I                     J                   K                             L                        M
 1 ID      Start time        Completion time Email       Name NumbeNumber2         Precinct:     Last Name           First name        Address Line 1               Address Line 2             Issue
2522  2521 10/29/20 14:55:12 10/29/20 14:56:49 anonymous           005801227‐46    160102‐1      Avery               Vanessa M         453 Chestnut St              Pottstown, PA 19464        No secrecy envelope
2523  2522 10/29/20 14:55:39 10/29/20 14:56:59 anonymous           005961534‐46    590601‐1      Noll                Barry             177 Cowbell Rd               Willow Grove, PA 19090     USPS Issue
2524  2523 10/29/20 14:56:10 10/29/20 14:57:15 anonymous           108449640‐46    160702‐4      POLITES             SIGMUND           813 SHERIDAN ST              POTTSTOWN PA 19464         USPS Issue
2525  2524 10/29/20 14:57:17 10/29/20 14:58:07 anonymous           0059865160‐46   160300‐1      DUNDON              THERESA           103 HARMONY DR W             POTTSTOWN PA 19464         USPS Issue
2526  2525 10/29/20 14:57:06 10/29/20 14:58:18 anonymous           109357969‐46    110201‐1      Homacki             Tatyana           317 Second St E              Lansdale, PA 19446         USPS Issue
2527  2526 10/29/20 14:56:51 10/29/20 14:58:40 anonymous           006405801‐46    350401‐1      Patel               Jagruti           2742 Fischer Rd              Hatfield, PA 19440         No secrecy envelope
2528  2527 10/29/20 14:58:09 10/29/20 14:58:59 anonymous           005961727‐46    560003‐1      SIGNORE             KATHERINE         131 CHURCH RD APT 15‐L       NORTH WALES, PA 19454      USPS Issue
2529  2528 10/29/20 14:58:42 10/29/20 14:59:27 anonymous           006350087‐46    230001‐1      Bailetti            Erika             217 Bentley Dr               Trappe, PA 19426           No secrecy envelope
2530  2529 10/29/20 14:58:22 10/29/20 14:59:38 anonymous           103212737‐46    58TNC00‐1     Brown               Hollie            210 Earl Street APT 401      East Williston NY 11596    USPS Issue
2531  2530 10/29/20 14:59:00 10/29/20 15:00:03 anonymous           006363477‐46    560003‐1      DUNNUM              BARBARA           70 WEXFORD RD                NORTH WALES, PA 19454      USPS Issue
2532  2531 10/29/20 14:59:29 10/29/20 15:00:21 anonymous           006420600‐46    08S02‐1       Gardiner            Ralph S           36 E Moreland Ave            Hatboro, PA 19040          No secrecy envelope
2533  2532 10/29/20 14:59:42 10/29/20 15:01:02 anonymous           006075175‐46    401201‐1      Schanbacher         Walter            218 Valley Road              Merion Station, PA 19066   USPS Issue
2534  2533 10/29/20 15:00:23 10/29/20 15:01:15 anonymous           021349312‐46    310204‐1      Nelson              Robert J Jr       1600 Church Rd Apt 112       Wyncote, PA 19095          No secrecy envelope
2535  2534 10/29/20 15:02:18 10/29/20 15:04:55 anonymous           006075175‐46    401201‐1      Schanbacher         Walter            218 Valley Road              Merion Station, PA 19066   USPS Issue
2536  2535 10/29/20 15:00:04 10/29/20 15:05:46 anonymous           005935384‐46    560003‐1      DUNNUM              DAVID             70 WEXFORD RD                NORTH WALES, PA 19454      USPS Issue
2537  2536 10/29/20 15:04:58 10/29/20 15:06:16 anonymous           005895254‐46    400901‐1      Meister             Elizabeth         P.O. Box 2804                Bala Cynwyd, PA 19004      USPS Issue
2538  2537 10/29/20 15:05:48 10/29/20 15:06:48 anonymous           104044952‐46    560003‐1      EASTBURN            JESSICA           259 ARBOUR CT                NORTH WALES PA 19454       USPS Issue
2539  2538 10/29/20 15:06:19 10/29/20 15:07:27 anonymous           005744921‐46    310403‐1      Carmody             Edward            8111 Heacock LN              Wyncote, PA 19095‐1818     USPS Issue
2540  2539 10/29/20 15:06:52 10/29/20 15:07:50 anonymous           003402638‐46    560003‐1      WIEGAND             GERALD            1238 DICKERSON RD            NORTH WALES, PA 19454      USPS Issue
2541  2540 10/29/20 15:07:51 10/29/20 15:08:51 anonymous           006308520‐46    67E03‐1       THOMPSON            MERLE             1675 HOUPT WAY               COLLEGEVILLE, PA 19426     USPS Issue
2542  2541 10/29/20 15:07:31 10/29/20 15:08:54 anonymous           109876376‐46    65M01‐1       Bender              Ruby              302 Flourtown Rd             Lafayette Hill, PA 19444   USPS Issue
2543  2542 10/29/20 15:08:58 10/29/20 15:10:02 anonymous           009960832‐46    370003‐1      LYONS               SUSAN             334 PEBBLE BEACH DR          ROYERSFORD PA 19468        USPS Issue
2544  2543 10/29/20 15:10:09 10/29/20 15:11:28 anonymous           005746175‐46    370006‐1      RHOADES             JOSEPHINE         827 LEWIS RD N APT 225       LIMERICK PA 19468          USPS Issue
2545  2544 10/29/20 15:11:29 10/29/20 15:12:44 anonymous           006377533‐46    370001‐1      FINE                LAUREN            2902 GATEWAY DR              ROYERSFORD PA 19468        USPS Issue
2546  2545 10/29/20 15:12:47 10/29/20 15:13:37 anonymous           006213813‐46    61M100‐1      BLACK               JOHN              289 GAY ST                   ROYERSFORD PA 19468        USPS Issue
2547  2546 10/29/20 15:13:40 10/29/20 15:14:42 anonymous           006204193‐46    61M100‐1      BLACK               ALEXANDRIA        289 GAY ST                   ROYERSFORD PA 19468        USPS Issue
2548  2547 10/29/20 15:14:45 10/29/20 15:15:55 anonymous           006009315‐46    61M200‐1      DECERIO             MICHELE           23 DALE RD                   ROYERSFORD PA 19468        USPS Issue
2549  2548 10/29/20 15:15:45 10/29/20 15:16:50 anonymous           005879780‐46    530103‐1      Garret              Brenda K          720 Fretz Rd                 Souderton, PA 18964        USPS Issue
2550  2549 10/29/20 15:15:58 10/29/20 15:16:54 anonymous           108926498‐46    370006‐1      HOGUE               ISAAC             683 LEWIS RD N               LIMERICK PA 19468          USPS Issue
2551  2550 10/29/20 15:16:53 10/29/20 15:17:40 anonymous           Not visible     Not visible   Garrett             David             720 Fretz Rd                 Souderton, PA 18964        USPS Issue
2552  2551 10/29/20 15:16:55 10/29/20 15:18:28 anonymous           002569458‐46    370006‐1      HOGUE               JOSHUA            683 LEWIS RD N               LIMERICK PA 19468          USPS Issue
2553  2552 10/29/20 15:17:41 10/29/20 15:18:56 anonymous           103565405‐46    400502‐1      Lynn‐Palevsky       Anna C            120 Adrienne Ln              Wynnewood, PA 19096        USPS Issue
2554  2553 10/29/20 15:18:32 10/29/20 15:19:37 anonymous           006369471‐46    380002‐1      HOUTZ               KIRSTIN           133 GERLOFF RD               SCHWENKSVILLE PA 19473     USPS Issue
2555  2554 10/29/20 15:18:57 10/29/20 15:19:52 anonymous           006329633‐46    320001‐1      Barr                Janet L           1995                         Barto, PA 19504            USPS Issue
2556  2555 10/29/20 15:19:37 10/29/20 15:20:31 anonymous           006373783‐46    370001‐1      FINE                JASON             2902 GATEWAY DR              ROYERSFORD PA 19468        USPS Issue
2557  2556 10/29/20 15:19:53 10/29/20 15:20:49 anonymous           109725243‐46    500001‐1      Peterson            Annelise          616 Westbourne Rd            Harleysville, PA 19438     USPS Issue
2558  2557 10/29/20 15:20:34 10/29/20 15:21:13 anonymous           102880631‐46    61M100‐1      WHITE               ALEXIS            330 GAY ST                   ROYERSFORD PA 19468        USPS Issue
2559  2558 10/29/20 15:20:52 10/29/20 15:21:45 anonymous           103358772‐46    460003‐1      Naydan              Mary Katherine    625 North Wales Rd           North Wales, PA 19454      USPS Issue
2560  2559 10/29/20 15:21:17 10/29/20 15:22:18 anonymous           006374119‐46    58BEL01‐1     DOBBINS             DAVID             201 CAMBRIDGE RD             KOP PA 19406               USPS Issue
2561  2560 10/29/20 15:21:48 10/29/20 15:22:40 anonymous           108702242‐46    61M200‐1      Archey              Emily Elizabeth   913 Sparkleberry Ln          Collegeville, PA 19426     USPS Issue
2562  2561 10/29/20 15:22:21 10/29/20 15:23:24 anonymous           107833557‐46    190001‐1      HALL                DANIELLA          25 N 5TH AVE APT C302        ROYERSFORD PA 19468        USPS Issue
2563  2562 10/29/20 15:22:41 10/29/20 15:23:37 anonymous           109013475‐46    310501‐1      Michel              Kendra C          435 Peffer Street            Harrisburg, PA 17102       USPS Issue
2564  2563 10/29/20 15:23:38 10/29/20 15:24:26 anonymous           107171959‐46    560005‐1      Atkinson            Wyatt D           815 McIntosh Way             Lansdale, PA 19446         USPS Issue
2565  2564 10/29/20 15:23:26 10/29/20 15:24:32 anonymous           021670153‐46    58CAN01‐1     SCOTT               TAMARA            251 DEKALB PIKE W APT E421   KOP PA 19406               USPS Issue
2566  2565 10/29/20 15:24:28 10/29/20 15:25:24 anonymous           107866585‐46    480002‐1      Shin                Jonathan S        375 Market St                Boston, MA 02135           USPS Issue

                                                                                                           Page 57 of 124
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      A             B                C             D       E    F        G            H                I                   J                           K                                 L                          M
 1 ID      Start time        Completion time Email       Name NumbeNumber2        Precinct:   Last Name          First name           Address Line 1                       Address Line 2              Issue
2567  2566 10/29/20 15:24:37 10/29/20 15:26:10 anonymous           012697937‐46   58BEL05‐1   HIPPLE             ERIN                 3000 VALLEY FORGE CIR APT 1250       KOP PA 19406                USPS Issue
2568  2567 10/29/20 15:25:25 10/29/20 15:26:19 anonymous           109695124‐1    560003‐1    Ramos Romero       Jean Jamier          131 Church Rd Apt 6L                 North Wales, PA 19454       USPS Issue
2569  2568 10/29/20 15:26:21 10/29/20 15:27:26 anonymous           110048659‐46   560003‐1    Roman de Jesus     Valerie Ann          131 Church Rd Apt 6L                 North Wales, PA 19454       USPS Issue
2570  2569 10/29/20 15:26:12 10/29/20 15:28:17 anonymous           020967515‐46   460005‐1    WATSON             MARYELLA             203 LIVINGSTON CT                    NORTH WALES PA 19454        USPS Issue
2571  2570 10/29/20 15:27:28 10/29/20 15:28:23 anonymous           103876652‐46   530103‐1    Holmes             Alessandra K         4610 Merchant Square Pl              Lansdale, PA 19446          USPS Issue
2572  2571 10/29/20 15:28:27 10/29/20 15:29:17 anonymous           108830010‐46   530103‐1    Cruz               Jessica Lauren       1301 North Bend Ct                   Lansdale, PA 19446          USPS Issue
2573  2572 10/29/20 15:28:19 10/29/20 15:29:18 anonymous           006414228‐46   340003‐1    CHAFFIER           DELORIS              284 COUNTRY CLUB DR                  TELFORD PA 18969            USPS Issue
2574  2573 10/29/20 15:29:19 10/29/20 15:30:16 anonymous           006264762‐46   67E01‐1     Przychodzien       Arthur               182 Meadowview Lane                  Lansdale, PA 19446          USPS Issue
2575  2574 10/29/20 15:29:19 10/29/20 15:30:31 anonymous           014730753‐46   310303‐1    ROTTA              STEFANIE             613 ELKINS AVE                       ELKINS PARK, PA 19027       USPS Issue
2576  2575 10/29/20 15:30:17 10/29/20 15:30:57 anonymous           006419262‐46   67E03‐1     Bongers            Ute W                23 Hickory Heights                   Lansdale, PA 19446          USPS Issue
2577  2576 10/29/20 15:30:33 10/29/20 15:31:36 anonymous           005963057‐46   301201‐1    HATTMAN            CHARLES              2241 WHARTON RD                      GLENSIDE PA 19038           USPS Issue
2578  2577 10/29/20 15:30:59 10/29/20 15:32:02 anonymous           006418817‐46   67E03‐1     Woolford           Lois J               739 Westhill Way                     Lansdale, PA 19446          USPS Issue
2579  2578 10/29/20 15:32:03 10/29/20 15:32:58 anonymous           006405224      560006‐1    Paci               Scott P              118 Stony Creek Ave                  Lansdale, PA 19446          USPS Issue
2580  2579 10/29/20 15:32:28 10/29/20 15:33:29 anonymous           021372639‐46   58KIN01‐1   KRAJEWSKI          ALEXIA               22 HIGHPOINT DR                      THORNTON PA 19373           USPS Issue
2581  2580 10/29/20 15:33:31 10/29/20 15:34:30 anonymous           108034119‐46   310602‐1    SEBASTIAN          ASHLEY               246 CHURCH ST                        PHILADELPHIA PA 19106       USPS Issue
2582  2581 10/29/20 15:09:02 10/29/20 15:34:47 anonymous           005805285‐46   67E02‐1     Nave               David                2858 Hickory Hill                    Norristown, PA 19403‐4711   USPS Issue
2583  2582 10/29/20 15:34:32 10/29/20 15:35:52 anonymous           006166167‐46   490401‐1    JACKSON            DAVID                2071 SIERRA RD                       PLYMOUTH MTG PA 19462       USPS Issue
2584  2583 10/29/20 15:34:53 10/29/20 15:36:15 anonymous           110585533‐46   630302‐1    Markman            Aaron                566 Canterberry Road                 Norristown, PA 19403        USPS Issue
2585  2584 10/29/20 15:35:56 10/29/20 15:37:07 anonymous           015601669‐46   310402‐1    ADAMS              KENDRA               7723 WASHINGTON LN #B APT ?          ELKINS PARK PA 19027        USPS Issue
2586  2585 10/29/20 15:36:20 10/29/20 15:37:31 anonymous           006180327‐46   630302‐1    Cassidy            Mary                 1906 Yorktown N                      Norristown, PA 19403        USPS Issue
2587  2586 10/29/20 15:37:08 10/29/20 15:38:23 anonymous           006046077‐46   530103‐1    HILT               PATRICIA             4408 MERCHANT SQUARE PL              LANSDALE PA 19446           USPS Issue
2588  2587 10/29/20 15:37:34 10/29/20 15:38:39 anonymous           005992735‐46   330103‐1    Miksic             Theresa              7 Embassy Cir                        Norristown, PA 19403        USPS Issue
2589  2588 10/29/20 15:33:01 10/29/20 15:39:08 anonymous           006261407‐46   67E03‐1     Lynch              Robert W             207 Meadowlark Pt                    Lansdale, PA 19446          USPS Issue
2590  2589 10/29/20 15:38:26 10/29/20 15:39:30 anonymous           105414304‐46   530103‐1    RIMMER             JAMES                4610 MERCHANT SQUARE PL              LANSDALE PA 19446           USPS Issue
2591  2590 10/29/20 15:39:11 10/29/20 15:40:11 anonymous           106693977‐46   550001‐1    Baldys             Elizabeth Justine    3330 Big Rd                          Frederick, PA 19435         USPS Issue
2592  2591 10/29/20 15:39:14 10/29/20 15:40:14 anonymous           005992737‐46   330103‐1    Miksic             Stephen              7 Embassy Cir                        Norristown, PA 19403        USPS Issue
2593  2592 10/29/20 15:39:33 10/29/20 15:40:25 anonymous           107728728‐46   560006‐1    HUTCHINGS          JON                  181 ERIC LANE                        LANSDALE PA 19446           USPS Issue
2594  2593 10/29/20 15:40:13 10/29/20 15:40:58 anonymous           021432572‐46   590701‐1    Mansor             Nathan John          607 Preston Ln                       Hatboro, PA 19040           USPS Issue
2595  2594 10/29/20 15:40:27 10/29/20 15:41:34 anonymous           106426003‐46   560007‐1    BISACQUINO         BRIAN                640 GARFIELD AVE                     LANSDALE PA 19446           USPS Issue
2596  2595 10/29/20 15:40:18 10/29/20 15:41:36 anonymous           003602189‐46   510003‐1    Firth              Victoria             2226 Chandler Lane                   Schwenksville, PA 19473     USPS Issue
2597  2596 10/29/20 15:40:59 10/29/20 15:41:47 anonymous           116338582‐46   530103‐1    Unver              Amira V              135 Canoe Brook Parkway              Summit, NJ 07901            USPS Issue
2598  2597 10/29/20 15:41:36 10/29/20 15:42:18 anonymous           020955283‐46   490302‐1    CONNOR             NANCY                606 LAUNFALL RD                      PLYMOUTH MTG PA 19462       USPS Issue
2599  2598 10/29/20 15:41:48 10/29/20 15:42:49 anonymous           110835692‐46   65E01‐1     Littleson          Jacqueline           155 W 15th St                        NY, NY 10011                USPS Issue
2600  2599 10/29/20 15:42:21 10/29/20 15:43:12 anonymous           005785999‐46   61MC00‐1    SCHEITLIN          OLGA                 88 MALLARD CT                        PHOENIXVILLE, PA 19460      USPS Issue
2601  2600 10/29/20 15:41:58 10/29/20 15:43:14 anonymous           108260710‐46   370005‐1    Angiolillo         Antonia Marie        171 Bradford Dr                      Schwenksville, PA 19473     USPS Issue
2602  2601 10/29/20 15:42:51 10/29/20 15:43:39 anonymous           006109260‐46   58BEL05‐1   Leflar             Regina Caroline      10318 Valley Forge Cir               King of Prussia, PA 19406   USPS Issue
2603  2602 10/29/20 15:43:33 10/29/20 15:44:29 anonymous           014673023‐46   490303‐1    HUNSBERGER         MELISSA              134 PLYMOUTH RD                      PLYMOUTH MTG PA 19462       USPS Issue
2604  2603 10/29/20 15:43:42 10/29/20 15:44:52 anonymous           005951119‐46   58BEL05‐1   Leflar             Jeffrey W            10318 Valley Forge Cir Apt 318       King of Prussia, PA 19406   USPS Issue
2605  2604 10/29/20 15:43:41 10/29/20 15:45:01 anonymous           009964283‐46   400302‐1    Kuhn               John                 19 Rock Hill Rd APT 5C               Bala‐Cynwyd, PA 19004       USPS Issue
2606  2605 10/29/20 15:44:33 10/29/20 15:45:26 anonymous           005512139‐46   490202‐1    KITTRICK           EILEEN               115 VALLEY CREEK RD                  PLYMOUTH MTG, PA 19462      USPS Issue
2607  2606 10/29/20 15:44:54 10/29/20 15:46:10 anonymous           108820230‐46   301203‐1    Blount             Michael Lynwood Jr   1875 Jenkintown Rd, Apt, Apt, G204   Jenkintown, PA 19046        USPS Issue
2608  2607 10/29/20 15:45:29 10/29/20 15:46:21 anonymous           006048265‐46   490201‐1    TRAVE              KATHLEEN             3012 AZALEA TER                      PLYMOUTH MTG PA 19462       USPS Issue
2609  2608 10/29/20 15:45:06 10/29/20 15:46:37 anonymous           009964282‐46   400302‐1    Kuhn               Janice               19 Rock Hill Rd APT 5C               Bala‐Cynwyd, PA 19004       USPS Issue
2610  2609 10/29/20 15:46:19 10/29/20 15:47:05 anonymous           006035344‐46   67E02‐1     Hugo               Jeffrey M            232 Caspian Ln                       Norristown, PA 19403        USPS Issue
2611  2610 10/29/20 15:46:24 10/29/20 15:47:26 anonymous           110319697‐46   490302‐1    POLISHOOK          JEAN                 777 GERMANTOWN PIKE W APT 316        PLYMOUTH MTG PA 19462       USPS Issue

                                                                                                       Page 58 of 124
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      A             B                C             D       E    F        G            H               I                    J                      K                            L                          M
 1 ID      Start time        Completion time Email       Name NumbeNumber2        Precinct:   Last Name          First name          Address Line 1                Address Line 2               Issue
2612  2611 10/29/20 15:47:06 10/29/20 15:48:14 anonymous           003577504‐46   590301‐1    Gausz              Nancy Decorrevont   810 Patterson Ave             Willow Grove, PA 19090       USPS Issue
2613  2612 10/29/20 15:47:34 10/29/20 15:48:36 anonymous           006091204‐46   401302‐1    Barinov            Lev                 69 Academy Rd                 Bala‐Cynwyd, PA 19004        USPS Issue
2614  2613 10/29/20 15:48:39 10/29/20 15:49:33 anonymous           110286936‐46   401201‐1    Hoffman            Jadon               92 Merbrook LN                Merion Station, PA 19066     USPS Issue
2615  2614 10/29/20 15:48:17 10/29/20 15:49:40 anonymous           020944231‐46   590202‐1    Bald               Matthew John        2621 Horsham Rd, A1           Hatboro, PA 19040‐4348       USPS Issue
2616  2615 10/29/20 15:49:43 10/29/20 15:50:51 anonymous           109894731‐46   370005‐1    Heine              Julia               42 Bradford Dr                Schwenksville, PA 19473      USPS Issue
2617  2616 10/29/20 15:49:36 10/29/20 15:50:55 anonymous           006050251‐46   401301‐1    Schwartz           Marilynne           406 Gary LN                   Bala‐Cynwyd, PA 19004        USPS Issue
2618  2617 10/29/20 15:50:52 10/29/20 15:51:47 anonymous           006184512‐46   330203‐1    Emery              Carol               2620 Dekalb Pike 408          Norristown, PA 19401         USPS Issue
2619  2618 10/29/20 15:50:58 10/29/20 15:52:00 anonymous           103217639‐46   430102‐1    Mehr               Christopher         239 E 7th Street              Lansdale, PA 19446           USPS Issue
2620  2619 10/30/20 8:10:39 10/30/20 8:17:37 anonymous             110624590‐46   460006‐1    Hepner             Talia               104 Brook Cir                 Lansdale, PA 19446           INCOMPLETE DECLARATION
2621  2620 10/30/20 8:17:45 10/30/20 8:20:45 anonymous             no id          no id       AKHTER             TAHZIBA             38 JENKINS AVE APT 608        LANSDALE, PA 19446           INCOMPLETE DECLARATION
2622  2621 10/30/20 8:21:05 10/30/20 8:26:06 anonymous             005698799‐46   360105‐1    BAKER              RICHARD             233 UPLAND AVE                HORSHAM, PA 19044            Incomplete Declaration
2623  2622 10/30/20 8:26:07 10/30/20 8:27:53 anonymous             109692816‐46   300801‐1    HARRIS             JORDAN              N/A                           N/A                          Incomplete Declaration
2624  2623 10/30/20 8:27:54 10/30/20 8:31:25 anonymous             005686722‐46   65M04‐1     LUKENS             KATHLEEN            4143 TWYNNWOOD RD             LAFAYETTE HILL, PA 19444     Incomplete Declaration
2625  2624 10/30/20 8:31:30 10/30/20 8:34:20 anonymous             102837175‐46   350301‐1    WISE               PHOEBE              2058 MAPLE AVE APT K2‐3       HATFIELD, PA 19440           Incomplete Declaration
2626  2625 10/30/20 8:34:22 10/30/20 8:35:28 anonymous             103013998‐46   310603‐1    JACKSON            SHANELLE            26 TOWNSHIP LINE RD APT C42   ELKINS PARK, PA 19027        Incomplete Declaration
2627  2626 10/30/20 8:35:30 10/30/20 8:37:10 anonymous             005785564‐46   110101‐1    PAGAN              KAREN               325 MADISON ST F301           LANSDALE, PA 19446           Incomplete Declaration
2628  2627 10/30/20 8:37:12 10/30/20 8:42:00 anonymous             005977424‐46   460008‐1    STAMBAUGH          CAROL               N/A                           N/A                          Incomplete Declaration
2629  2628 10/30/20 8:42:02 10/30/20 8:44:15 anonymous             006346377‐46   540103‐1    WANI‐MENU          PADMINI             952 VAN SANT LN               AMBLER PA 19002              Incomplete Declaration
2630  2629 10/30/20 8:44:26 10/30/20 8:46:37 anonymous             103260007‐46   460008‐1    ANN                RICHARD             137 GWYNMONT DR               NORTH WALES PA 19454         Incomplete Declaration
2631  2630 10/30/20 8:46:39 10/30/20 8:48:00 anonymous             006041158‐46   61T00‐1     CHIODO             CHRISTINE           1638 WEST MAIN ST             COLLEGEVILLE, PA 19426       Incomplete Declaration
2632  2631 10/30/20 8:48:08 10/30/20 8:49:19 anonymous             006104348‐46   400603‐1    ROAN               SUSAN               917 SPRING MILL RD            VILLANOVA, PA 19085          Incomplete Declaration
2633  2632 10/30/20 8:49:22 10/30/20 8:50:39 anonymous             006273096‐46   08S02‐1     RUFF               JENNIFER            123 B S YORK RD               HATBORO PA 19040             Incomplete Declaration
2634  2633 10/30/20 8:50:41 10/30/20 8:52:54 anonymous             006344283‐46   65M01‐1     LANAHAN            DIANE               N/A                           N/A                          Incomplete Declaration
2635  2634 10/30/20 8:52:56 10/30/20 8:53:53 anonymous             012743132‐46   460008‐1    BERESOVOY          WILLIAM             105 NEWPORT LN                NORTH WALES PA 19454         Incomplete Declaration
2636  2635 10/30/20 8:53:57 10/30/20 8:55:05 anonymous             006187791‐46   560001‐1    CASE               KENNETH             510 WASHINGTON AVE            NORTH WALES, PA 19454        Incomplete Declaration
2637  2636 10/30/20 8:55:06 10/30/20 9:04:24 anonymous             006418364‐46   410500‐1    RISPO              JAMES               3737 SIPLER LN                HUNTINGDON VALLEY PA 19006   USPS Issue
2638  2637 10/30/20 9:05:06 10/30/20 9:08:32 anonymous             109066743‐46   400901‐1    FINKELSTEIN        LIA                 223 EDGEHILL RD               MERION STATION PA 19066      USPS Issue
2639  2638 10/30/20 9:08:34 10/30/20 9:09:58 anonymous             006100967‐46   58GUL02‐1   LUNDEN             CHARLOTTE           511 MEADOW LN                 KOP PA 19406                 USPS Issue
2640  2639 10/30/20 9:10:01 10/30/20 9:11:47 anonymous             006260270‐46   520102‐1    MASTROIENI         ANITA               64 W WISSAHICKON AVE          FLOURTOWN PA 19031           USPS Issue
2641  2640 10/30/20 9:11:48 10/30/20 9:12:59 anonymous             005938337‐46   400901‐1    FINKELSTEIN        LEE                 223 EDGEHILL RD               MERION STATION PA 19066      USPS Issue
2642  2641 10/30/20 9:13:02 10/30/20 9:17:51 anonymous             103821317‐46   470002‐1    SANTANGELO         ANTHONY             1004 SOUTH 22ND ST            PHILADELPHIA, PA 19164       USPS Issue
2643  2642 10/30/20 9:17:52 10/30/20 9:18:51 anonymous             110358351‐46   58ROB00‐1   CARMODY            JON                 405 ALDERBROOK DR             WAYNE PA 19087               USPS Issue
2644  2643 10/30/20 9:18:54 10/30/20 9:19:49 anonymous             006097671‐46   400601‐1    SPILLER            FERN                35 ROSEMONT AVE               BRYN MAWR PA 19010           USPS Issue
2645  2644 10/30/20 9:19:51 10/30/20 9:20:48 anonymous             020136283‐46   58ROB00‐1   FRYCKE             SAMUEL              442 ROBIN HILL RD             WAYNE PA 19087               USPS Issue
2646  2645 10/30/20 9:20:49 10/30/20 9:21:57 anonymous             103267299‐46   58ROB00‐1   KIRA               TAISSA              405 ALDERBROOK DR             WAYNE PA 19087               USPS Issue
2647  2646 10/30/20 9:21:58 10/30/20 9:22:53 anonymous             109929611‐46   58ROB00‐1   CLAYWELL           CALEB               945 CROTON RD                 WAYNE PA 19087               USPS Issue
2648  2647 10/30/20 9:22:55 10/30/20 9:23:59 anonymous             010534629‐46   370006‐1    RIVERA‐STAFFA      NANCY               501 HUNSBERGER DR             LIMERICK PA 19468            USPS Issue
2649  2648 10/30/20 9:24:01 10/30/20 9:25:36 anonymous             014811739‐46   590301‐1    KELLY              MEGAN               626 LAKEVUE DR                WILLOW GROVE PA 19090        USPS Issue
2650  2649 10/30/20 9:25:38 10/30/20 9:27:17 anonymous             015646191‐46   590301‐1    SCHWARTZ           JOSEPH              626 LAKEVUE DR                WILLOW GROVE PA 19090        USPS Issue
2651  2650 10/30/20 9:27:18 10/30/20 9:28:19 anonymous             103278607‐46   130401‐1    SIMMONS            MAI‐LAN             593 MARSHALL ST E             NORRISTOWN, PA 19401         USPS Issue
2652  2651 10/30/20 9:28:21 10/30/20 9:29:17 anonymous             021661239‐46   590202‐1    SHRIVER            KEVIN               2744 KEEBLER CT               WILLOW GROVE PA 19090        USPS Issue
2653  2652 10/30/20 9:29:19 10/30/20 9:30:13 anonymous             006377043‐46   590302‐1    KALINOWSKY         ELIZABETH           510 GILPIN RD                 WILLOW GROVE PA 19090        USPS Issue
2654  2653 10/30/20 9:30:16 10/30/20 9:31:06 anonymous             006307653‐46   510002‐1    MCGOVERN           LAURA               1056 LEA RD                   COLLEGEVILLE PA 19426        USPS Issue
2655  2654 10/30/20 9:31:08 10/30/20 9:32:09 anonymous             020966655‐46   630401‐1    LENZ               MARY                127 BRANDON RD                NORRISTOWN PA 19403          USPS Issue
2656  2655 10/30/20 9:32:11 10/30/20 9:32:59 anonymous             005873354‐46   630101‐1    MCQUAID            SEAN                121 CLEMENS CIR               NORRISTOWN PA 19403          USPS Issue

                                                                                                       Page 59 of 124
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      A             B                C             D       E    F        G            H              I                 J                   K                               L                           M
 1 ID      Start time        Completion time Email       Name NumbeNumber2        Precinct:   Last Name        First name   Address Line 1                      Address Line 2            Issue
2657  2656 10/30/20 9:33:01 10/30/20 9:34:40 anonymous             005700741‐46   360203‐1    HALLOWELL        MICHEAL      324 SUN VALLEY DR                   AMBLER PA 19002           USPS Issue
2658  2657 10/30/20 9:34:41 10/30/20 9:35:37 anonymous             021791138‐46   67E01‐1     OVARI            NOEMI        1405 OAK CIR                        LANSDALE PA 19446         USPS Issue
2659  2658 10/30/20 9:36:34 10/30/20 9:38:08 anonymous             109206176‐46   460002‐1    MCANULTY         SARAH        173 PINECREST LN                    LANSDALE PA 19446         USPS Issue
2660  2659 10/30/20 9:38:11 10/30/20 9:39:12 anonymous             005771604‐46   390101‐1    REINHEIMER       ORASA        1215 TURNBERRY LN                   NORTH WALES PA 19454      USPS Issue
2661  2660 10/30/20 9:39:18 10/30/20 9:40:21 anonymous             006066168‐46   390201‐1    KLINE            BEATRICE     N/A                                 N/A                       USPS Issue
2662  2661 10/30/20 9:40:22 10/30/20 9:41:30 anonymous             005942581‐46   390201‐1    CLOWER           STEPHANNA    N/A                                 N/A                       USPS Issue
2663  2662 10/30/20 9:41:32 10/30/20 9:42:44 anonymous             108258714‐46   310301‐1    HEALY            KATHERINE    154 GREENWOOD AVE                   WYNCOTE PA 19095          USPS Issue
2664  2663 10/30/20 9:42:46 10/30/20 9:43:53 anonymous             005856984‐46   380002‐1    DOUGLASS         THOMAS       234 FULMER RD                       N/A                       USPS Issue
2665  2664 10/30/20 9:43:55 10/30/20 9:45:13 anonymous             108992547‐46   400201‐1    MARSHALL         LEIGH        1120 YOUNGSFORD RD                  GLADWYNE PA 19035         USPS Issue
2666  2665 10/30/20 9:45:14 10/30/20 9:46:48 anonymous             110746333‐46   110302‐1    GOETTER          ANNABELLE    211 HAINES ST                       NEWARK DE 19711           USPS Issue
2667  2666 10/30/20 9:46:49 10/30/20 9:48:27 anonymous             103829905‐46   050100‐1    HANKS            MARIE        200 W ELM ST                        CONSHOHOCKEN PA 19428     USPS Issue
2668  2667 10/30/20 9:48:30 10/30/20 9:50:33 anonymous             110342624‐46   330203‐1    VANDURME         ALEXANDER    2132 CAROL LN                       NORRISTOWN PA 19401       USPS Issue
2669  2668 10/30/20 9:50:34 10/30/20 9:53:41 anonymous             005892844‐46   65W03‐1     BENJAMIN         MARY         801 RIDGE PIKE C307 MASONIC VILLAGE LAFAYETTE HILL PA 19444   USPS Issue
2670  2669 10/30/20 9:53:42 10/30/20 9:55:23 anonymous             003291060‐46   570001‐1    PICKERING        LAWRENCE     2001 ROSE DRIVE                     PENNSBURG PA 18073        USPS Issue
2671  2670 10/30/20 9:55:24 10/30/20 9:56:40 anonymous             003285147‐46   570001‐1    PICKERING        JILL         2001 ROSE DRIVE                     PENNSBURG PA 18073        USPS Issue
2672  2671 10/30/20 9:56:41 10/30/20 9:57:51 anonymous             005797461‐46   67E03‐1     THOMPSON         MARY         1675 HOUPT WAY                      COLLEGEVILLE, PA 19426    USPS Issue
2673  2672 10/30/20 10:07:21 10/30/20 10:08:21 anonymous           006034616‐46   230001‐1    CLARK            DENISE       441 FRANKLIN CT                     TRAPPE PA 19426           USPS Issue
2674  2673 10/30/20 10:08:30 10/30/20 10:09:36 anonymous           006039739‐46   570001‐1    CLEMMER          DARLENE      1025 BURGUNDY CIR                   PENNSBURG PA 18073        USPS Issue
2675  2674 10/30/20 10:09:38 10/30/20 10:10:46 anonymous           110026073‐46   401001‐1    RIZZO            SARA         230 LAUREL LANE                     HAVERFORD PA 19041        USPS Issue
2676  2675 10/30/20 10:10:48 10/30/20 10:11:53 anonymous           110085959‐46   590302‐1    BOLER            SHAWNDREA    3980 COMMERCE AVE APT 41 WILLOW GROVE PA 19090                USPS Issue
2677  2676 10/30/20 10:11:54 10/30/20 10:13:15 anonymous           006057341‐46   310403‐1    CARMODY          DIANNE       8111 HEACOCK LN                     WYNCOTE PA 19095          USPS Issue
2678  2677 10/30/20 10:13:16 10/30/20 10:15:23 anonymous           005776038‐46   310601‐1    CARPEY           JILLA        N/A                                 JENKINTOWN PA 19046       USPS Issue
2679  2678 10/30/20 10:15:26 10/30/20 10:16:25 anonymous           002957865‐46   480001‐1    RODGERS          JESSE        122 LINCOLN RD                      COLLEGEVILLE PA 19426     USPS Issue
2680  2679 10/30/20 10:16:26 10/30/20 10:17:31 anonymous           006029462‐46   510003‐1    TOWNSEND         JAMES        451 DOLORES DR                      COLLEGEVILLE PA 19426     USPS Issue
2681  2680 10/30/20 10:17:32 10/30/20 10:18:31 anonymous           103136245‐46   040002‐1    HENSLEY          SHERRY       191 FIRST AVE APT 1                 COLLEGEVILLE PA 19426     USPS Issue
2682  2681 10/30/20 10:18:32 10/30/20 10:19:30 anonymous           005937150‐46   590101‐1    RONDINELLI       VICTORIA     315 INMAN TER                       WILLOW GROVE PA 19090     USPS Issue
2683  2682 10/30/20 10:19:31 10/30/20 10:22:13 anonymous           109367069‐46   630402‐1    KEEFRIDER        MADISON      19 IRIS DR APT 19                   NORRISTOWN PA 19403       USPS Issue
2684  2683 10/30/20 10:22:16 10/30/20 10:23:23 anonymous           021511919‐46   660002‐1    PATEL            RAVI         155 BROCHANT CIR                    BLUE BELL PA 19422        USPS Issue
2685  2684 10/30/20 10:23:24 10/30/20 10:24:31 anonymous           108071074‐46   61MC00‐1    BOLTON           SIANI        83 GOLDFINCH CIR                    PHOENIXVILLE PA 19460     USPS Issue
2686  2685 10/30/20 10:24:33 10/30/20 10:25:51 anonymous           108220763‐46   150001‐1    SCRIPTURE        SYDNEY       489 MACOBY ST                       PENNSBURG PA 18073        USPS Issue
2687  2686 10/30/20 10:25:52 10/30/20 10:26:53 anonymous           108700350‐46   540601‐1    GOODMAN          BLAKE        1800 CARMEL PL                      AMBLER PA 19002           USPS Issue
2688  2687 10/30/20 10:26:54 10/30/20 10:27:54 anonymous           103826104‐46   310602‐1    BURTON           REMY         7926 PARK AVE                       ELKINS PARK PA 19027      USPS Issue
2689  2688 10/30/20 10:27:55 10/30/20 10:28:54 anonymous           109175147‐46   370002‐1    HALLAHAN         KATHERINE    1106 FOUR MAPLES CT                 LIMERICK, PA 19468        USPS Issue
2690  2689 10/30/20 10:28:55 10/30/20 10:29:59 anonymous           106943496‐46   65W01‐1     DAGENAIS         DYLAN        146 W 76TH ST APT 1F                NEW YORK NY 10023         USPS Issue
2691  2690 10/30/20 10:30:02 10/30/20 10:31:06 anonymous           009621950‐46   380002‐1    VERLEYSEN        STEFAN       13 STATION AVE                      SCHWENKSVILLE, PA 19473   USPS Issue
2692  2691 10/30/20 10:31:08 10/30/20 10:32:03 anonymous           006101175‐46   560007‐1    SCHAFER          ROBERT       726 TRANQUILITY LN                  LANSDALE, PA 19446        USPS Issue
2693  2692 10/30/20 10:32:05 10/30/20 10:33:05 anonymous           016161659‐46   630402‐1    SCARBOROUGH      DWAYNE       59 ARBOUR CT                        NORRISTOWN PA 19403       USPS Issue
2694  2693 10/30/20 10:33:06 10/30/20 10:34:04 anonymous           109170945‐46   630301‐1    BRASSINGTON      JUNE         6303 SENTINEL RDG APT 6303 EAGLEVIEW PA 19403                 USPS Issue
2695  2694 10/30/20 10:34:07 10/30/20 10:34:54 anonymous           006101174‐46   560007‐1    SCHAFER          DEAN         726 TRANQUILITY LANE                LANSDALE PA 19446         USPS Issue
2696  2695 10/30/20 10:34:55 10/30/20 10:35:50 anonymous           020733903‐46   220001‐1    BISCHOF          NANCY        24 RYAN CT                          TELFORD PA 18969          USPS Issue
2697  2696 10/30/20 10:35:52 10/30/20 10:37:00 anonymous           006220594‐46   340003‐1    BUCKHARD         DALE         705 GODSHALL RD                     TELFORD PA 18969          USPS Issue
2698  2697 10/30/20 10:37:01 10/30/20 10:37:53 anonymous           021204567‐46   370001‐1    LOCKS            KYLE         100 CYPRESS CT                      ROYERSFORD PA 19468       USPS Issue
2699  2698 10/30/20 10:38:31 10/30/20 10:44:12 anonymous           006176120‐46   330203‐1    WILSON           KEITH        124 DISCOVERY CT                    EAST NORRITON, PA 19401   USPS Issue
2700  2699 10/30/20 10:44:15 10/30/20 10:44:57 anonymous           005932234‐46   400203‐1    NOBLE            LINDA        1655 OAKWOOD DR APT N108 NARBERTH PA 19072                    USPS Issue
2701  2700 10/30/20 10:44:58 10/30/20 10:45:50 anonymous           005754821‐46   590402‐1    BARSBY           GEORGE       2501 MARYLAND RD APT S10 WILLOW GROVE PA 19090                USPS Issue

                                                                                                     Page 60 of 124
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      A             B                C             D       E    F        G            H               I                  J                K                              L                         M
 1 ID      Start time        Completion time Email       Name NumbeNumber2        Precinct:   Last Name         First name   Address Line 1                 Address Line 2             Issue
2702  2701 10/30/20 10:45:51 10/30/20 10:46:32 anonymous           103631524‐46   370005‐1    MOYERS            JOHN         171 BRADFORD DR                SCHWENKSVILLE PA 19473     USPS Issue
2703  2702 10/30/20 10:46:33 10/30/20 10:47:14 anonymous           108099834‐46   560004‐1    SHAH              MITUL        1281 STONEGATE RD              LANSDALE PA 19446          USPS Issue
2704  2703 10/30/20 10:47:16 10/30/20 10:48:22 anonymous           107228385‐46   130401‐1    LAPSANSKY         KEVIN        900 LUXOR LN APT 202           NORRISTOWN PA 19401        USPS Issue
2705  2704 10/30/20 10:48:24 10/30/20 10:49:19 anonymous           009989269‐46   130101‐1    ROBINSON          PAUL         449 HAMILTON ST APT 611        NORRISTOWN PA 19401        USPS Issue
2706  2705 10/30/20 10:49:21 10/30/20 10:50:20 anonymous           006293265‐46   050500‐1    MELENDEZ          CARLOS       800 SPRING MILL AVE            CONSHOHOCKEN PA 19428      USPS Issue
2707  2706 10/30/20 10:50:22 10/30/20 10:51:48 anonymous           005923278‐46   65W03‐1     RICHARDS          LESLIE       2106 BASSWOOD DR               LAFAYETTE HILL PA 19444    USPS Issue
2708  2707 10/30/20 10:51:49 10/30/20 10:53:02 anonymous           109176388‐46   460006‐1    IANNI             JENNIFER     1854 LANVALE PL                PHILADELPHIA, PA 19446     USPS Issue
2709  2708 10/30/20 10:53:03 10/30/20 10:53:54 anonymous           020933901‐46   220001‐1    RILEY             MICHELE      5 RYAN CT                      TELFORD PA 18969           USPS Issue
2710  2709 10/30/20 10:53:56 10/30/20 10:56:13 anonymous           021138743‐46   220001‐1    MALAMUT           BROOKE       115 THIRD ST N APT 212         TELFORD PA 18969           USPS Issue
2711  2710 10/30/20 10:56:14 10/30/20 10:57:05 anonymous           003366899‐46   220001‐1    RILEY             MATTHEW      5 RYAN CT                      TELFORD PA 18969           USPS Issue
2712  2711 10/30/20 10:57:09 10/30/20 10:58:04 anonymous           006008122‐46   560004‐1    SCHERZBERG        MARY         2211 BRITTANY POINTE ESTATES   LANSDALE PA 19446          USPS Issue
2713  2712 10/30/20 10:58:07 10/30/20 10:58:59 anonymous           005865591‐46   560003‐1    LEFEVRE           MICHAEL      915 STATION SQUARE BLVD        LANSDALE PA 19446          USPS Issue
2714  2713 10/30/20 10:59:00 10/30/20 11:01:11 anonymous           103606861‐46   060001‐1    LEVENGOOD         BRANDON      108 MAIN ST                    EAST GREENVILLE PA 18041   USPS Issue
2715  2714 10/30/20 11:01:15 10/30/20 11:02:53 anonymous           103213019‐46   65W02‐1     LAVELLE           ISABELLA     150 RIDGE PIKE APT 120B        LAFAYETTE HILL, PA 19444   USPS Issue
2716  2715 10/30/20 11:03:44 10/30/20 11:04:41 anonymous           109384016‐46   440001‐1    MATCZAK‐SHISLER   LYNNE        15 SCHULTZ RD N                GREEN LANE PA 18054        USPS Issue
2717  2716 10/30/20 11:04:42 10/30/20 11:05:46 anonymous           005923279‐46   65W03‐1     RICHARDS          IRA          2106 BASSWOOD DR               LAFAYETTE HILL PA 19444    USPS Issue
2718  2717 10/30/20 11:05:47 10/30/20 11:06:48 anonymous           108944643‐46   65W01‐1     ZACHARIAH         LESLIE       1101 HECTOR ST E UNI 337       CONSHOHOCKEN PA 19428      USPS Issue
2719  2718 10/30/20 11:06:49 10/30/20 11:07:58 anonymous           105894116‐46   65W02‐1     LAVELLE           BRENDAN      150 RIDGE PIKE APT 120B        LAFAYETTE HILL PA 19444    USPS Issue
2720  2719 10/30/20 11:07:59 10/30/20 11:11:21 anonymous           006412010‐46   61O00‐1     ALT               ZENA         210 ANDERSON RD                PHOENIXVILLE PA 19460      USPS Issue
2721  2720 10/30/20 11:11:23 10/30/20 11:12:08 anonymous           005818706‐46   500001‐1    NEUMANN           RUTH         N/A                            HARLEYSVILLE PA 19438      USPS Issue
2722  2721 10/30/20 11:12:09 10/30/20 11:12:58 anonymous           103634252‐46   400503‐1    RODE              JOHN         101 CHESWOLD LN APT 3G         HAVERFORD PA 19041         USPS Issue
2723  2722 10/30/20 11:12:59 10/30/20 11:14:49 anonymous           006050854‐46   570002‐1    FAZIO             ALBERT       1563 LAYFIELD RD               PENNSBURG PA 18073         USPS Issue
2724  2723 10/30/20 11:14:50 10/30/20 11:15:58 anonymous           015078522‐46   58BEL05‐1   ARDIETA           LEONARD      935 PENN CIRCLE APT B 403      KOP PA 19406               USPS Issue
2725  2724 10/30/20 11:32:43 10/30/20 12:17:01 anonymous           107584804‐46   660001‐1    GAMBOL            CRAIG        N/A                            N/A                        Incomplete Declaration
2726  2725 10/30/20 12:17:04 10/30/20 12:17:59 anonymous           103547729‐46   660010‐1    HARTUNG           TARA         1674 MUHLENBURG DR             BLUE BELL PA 19422         Incomplete Declaration
2727  2726 10/30/20 12:18:02 10/30/20 12:19:14 anonymous           111066867‐46   400902‐1    NGUYEN            TRANG        131 RIGHTERS FERRY RD          BALA CYNWYD PA 19004       Incomplete Declaration
2728  2727 10/30/20 12:19:20 10/30/20 12:20:33 anonymous           005818849‐46   330203‐1    TUTURICE          CHARLES      2101 NEW HOPE ST               N/A                        Incomplete Declaration
2729  2728 10/30/20 12:20:34 10/30/20 12:23:06 anonymous           045799524‐46   160702‐1    HORN              JAMES        23 ROSEDALE DR                 POTTSTOWN PA 19464         Incomplete Declaration
2730  2729 10/30/20 12:23:07 10/30/20 12:24:21 anonymous           015598907‐46   160102‐1    PEYTON            JENNIFER     432 BEECH ST                   POTTSTOWN PA 19464         Incomplete Declaration
2731  2730 10/30/20 12:24:23 10/30/20 12:25:45 anonymous           021246154‐46   410200‐1    LOMBARDI          CHRISTINA    2324 BOYD RD                   HUNTINGDON VLY, PA 19006   Incomplete Declaration
2732  2731 10/30/20 12:25:47 10/30/20 12:26:29 anonymous           006366432‐46   300901‐1    HARWANKO          BARBARA      N/A                            N/A                        Incomplete Declaration
2733  2732 10/30/20 12:26:33 10/30/20 12:27:11 anonymous           110634684‐46   630301‐1    ZOLA              LAUREN       315 NORRIS HALL LN             NORRISTOWN, PA 19403       Incomplete Declaration
2734  2733 10/30/20 12:27:13 10/30/20 12:28:26 anonymous           005780246‐46   630301‐1    VORAUER           ROBERT       869 MYSTIC LN                  NORRISTOWN, PA 19403       Incomplete Declaration
2735  2734 10/30/20 12:28:28 10/30/20 12:29:10 anonymous           006137705‐46   500001‐1    KIDD              MARIAN       484 FREEMAN SCHOOL RD          HARLEYSVILLE PA 19438      Incomplete Declaration
2736  2735 10/30/20 12:29:12 10/30/20 12:30:02 anonymous           006326312‐46   660011‐1    HWANG             SUN HEE      1640 JENNIFER LN               BLUE BELL PA 19422         Incomplete Declaration
2737  2736 10/30/20 12:30:04 10/30/20 12:30:43 anonymous           006315229‐46   460005‐1    MCGINTY           SHANNON      N/A                            N/A                        Incomplete Declaration
2738  2737 10/30/20 12:30:45 10/30/20 12:31:36 anonymous           103787299‐46   390202‐1    LONG              CHARMETTE    124 ALBEMARLE DR               BLUE BELL PA 19422         Incomplete Declaration
2739  2738 10/30/20 12:31:40 10/30/20 12:32:29 anonymous           006342576‐46   120002‐1    GOLDER            ROBERT       N/A                            N/A                        Incomplete Declaration
2740  2739 10/30/20 12:32:31 10/30/20 12:33:03 anonymous           107136707‐46   350102‐1    BENITEZ           CARLOS       2001 PINE ST                   HATFIELD PA 19440          Incomplete Declaration
2741  2740 10/30/20 12:33:05 10/30/20 12:33:57 anonymous           005748585‐46   340006‐1    ALDERFER          SANFORD      112 CRESCENT LN                HARLEYSVILLE, PA 19438     Incomplete Declaration
2742  2741 10/30/20 12:33:58 10/30/20 12:34:48 anonymous           006121060‐46   300101‐1    MCCOURT           JOHN         1300 ROBIN HOOD RD             MEADOWBROOK PA 19046       Incomplete Declaration
2743  2742 10/30/20 12:35:54 10/30/20 12:36:53 anonymous           104273019‐46   540502‐1    ZOTAJ             FJODOR       N/A                            N/A                        Incomplete Declaration
2744  2743 10/30/20 12:36:55 10/30/20 12:37:28 anonymous           107742356‐46   540502‐1    GJINI             ELONA        N/A                            N/A                        Incomplete Declaration
2745  2744 10/30/20 12:37:32 10/30/20 12:38:21 anonymous           104313913‐46   430102‐1    NITTERAUER        THEODORE     N/A                            COLLEGEVILLE PA 19426      Incomplete Declaration
2746  2745 10/30/20 12:38:22 10/30/20 12:39:30 anonymous           009828927‐46   100100‐1    ROMANO            KELLI        811 GREENWOOD AVE              JENKINTOWN, PA 19046       Incomplete Declaration

                                                                                                      Page 61 of 124
                                                                      Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 62 of 124


      A             B                C             D       E    F        G             H              I                      J                K                     L                      M
 1 ID      Start time        Completion time Email       Name NumbeNumber2        Precinct:   Last Name         First name       Address Line 1        Address Line 2          Issue
2747  2746 10/30/20 12:39:34 10/30/20 12:40:20 anonymous           006196741‐46   180001‐1    CIRIGLIANO        ELIZABETH        N/A                   N/A                     Incomplete Declaration
2748  2747 10/30/20 12:40:24 10/30/20 12:41:40 anonymous           006048296‐46   300902‐1    CAPITOLO          VIRGINIA         2914 MEYER AVE        GLENSIDE PA 19038       Incomplete Declaration
2749  2748 10/30/20 12:41:41 10/30/20 12:42:31 anonymous           006320132‐46   350401‐1    MECLEARY          HOWARD           2508 OXFORD CT        HATFIELD PA 19440       Incomplete Declaration
2750  2749 10/30/20 12:43:03 10/30/20 12:43:48 anonymous           103201841‐46   310702‐1    TALIAFERRO        ELIZABETH        17 PIKES WAY          CHELTENHAM, PA 19012    Incomplete Declaration
2751  2750 10/30/20 12:43:49 10/30/20 12:45:53 anonymous           105881269‐46   510002‐1    KNEBL             KATHERINE        3824 MILL RD          COLLEGEVILLE PA 19426   No secrecy envelope
2752  2751 10/30/20 12:45:54 10/30/20 12:47:55 anonymous           107280582‐46   660011‐1    HICKMAN           JEBADIAH         2408 WHITPAIN HILLS   BLUE BELL PA 19422      Damaged
2753  2752 10/30/20 12:47:57 10/30/20 13:27:15 anonymous           021336853‐46   360304‐1    Shaheen           Sarah            102 Brownstone Lane   horsham pa 19044        Resolved




                                                                                                      Page 62 of 124
                                                                                 Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 63 of 124


            I                   J                        K                                     L                        M                     N                         O                   P                    Q                      R
1    Last Name        First name      Address Line 1                            Address Line 2              Issue                    Note                  Email2                      Phone          Contacted?                  resolved date
2    Young            Celia           611 Green St                              Norristown, PA 19401        No secrecy envelope      N/A                   celiabriana@outlook.com       4846743223   Email
3    Yi               Suk Kyung       2237 Dock Dr                              Lansdale, PA 19446          No secrecy envelope      N/A                   N/A                           2153936867   Called
4    Crist            Gayle           419 Haywood Road                          Ambler PA 19002             Incomplete Declaration   none                  g.crist@verizon.net           2672453023   Email
5    Kohn             ralph Jr        509 Oak Road                              Merion Station, 19066       No secrecy envelope      N/A                   harryk64@gmail.com          N/A            Email
6    Clark Jr.        Thomas          573 Hoyt Rd                               Huntingdon Vly, PA 19006    Incomplete Declaration   None                                                2677228421   Called
7    Weiss            Hedy S          1010 Boxwood Ct                           King of Prussia, PA 19406   No secrecy envelope      N/A                   N/A                         N/A            No contact info available
8    Evans            Mildred         753 Welsh Rd APT 403                      Huntingdon Vly, PA 19006    Incomplete Declaration   None                  milliefebans@gmail.com        2672774105   Email
9    Oh               Sun C           904 Barbaras Ct                           North Wales, PA 19454       No secrecy envelope      N/A                   N/A                           4845502658   Called
10   Sorens           Audrey          100 West Ave Apt W603                     Jenkintown, PA 19046        Incomplete Declaration   None                  audreysorens@gmail.com        2155726623   Email
11   Sin              Song S          115 Damson Ln                             North Wales, PA 19454       No secrecy envelope      n/a                   N/A                         N/A            No contact info available
12   Yencha           Virginia        301 Stockton Ct                           North Wales, PA 19454       Incomplete Declaration   None                                                2159972901   Called
13   Hong             James           101 Jonathan Dr                           North Wales, PA 19454       No secrecy envelope      n/a                   jahong36@gmail.com            4848092554   Email
14   Mooney Sr.       Donald          1120 York Rd APT 205                      Willow Grove, PA 19090      Incomplete Declaration   None                                                2158300433   Called
15   Ciongoli         Suzanne K       211 Broughton Ln                          Villanova, PA 19085         No secrecy envelope      n/a                   sek075@yahoo.com            N/A            Email
16   Stricker         Carrie T        203 Stepney Pl                            Narberth, PA 19072          No secrecy envelope      n/a                   cjstric@verizon.net         N/A            Email
17   Palme            Robert          1650 Susquehanna Rd 219                   Dresher, PA 19025           Incomplete Declaration   None                                                             No contact info available
18   Hoover           Carolyn         110 Forest Ave Apt A                      Ambler, PA 19002            No secrecy envelope      n/a                   choover518@comcast.net        2675757843   Email
19   Nauman           Haseeb          134 Plymouth Rd Uni 1108                  Plymouth MTG, PA 19462      Resolved                 completed in person   hassebutt8@gmail.com          2403837258   Called                                29‐Oct
20   Szczurek         Genevieve L     26 North Ave                              Wyncote, PA 19095           No secrecy envelope      n/a                   N/A                           2158877377   Called
21   Rhoadarmer       Gary            none                                      none                        Resolved                 completed in person   gnrhoaby@comcast.net          6105133509   Called                         10/30/2020
22   Becker           Joan            Moreland Towers, 36 Moreland Ave E, 802   Hatboro, PA 19040           Incomplete Declaration   None                                                             No contact info available
23   Prabhudesai      Anuya Sachin    102 Sterling Dr                           North Wales, PA 19454       Resolved                 completed in person   anuyasp@hotmail.com           2155006124 Email                            10/28/2020
24   Stewart          Mary            454 Avenue A B                            Horsham, PA 19044           Incomplete Declaration   None                                                             No contact info available
25   Powers           Constance       102 Pennsylvania Ave                      Bryn Mawr, PA 19010         Resolved                 completed in person                                 6105258522 Called                           10/28/2020
26   Wright           Walter          Gloria Dei Manor, 753 Welsh Rd 116        Huntingdon Vly, PA 19006    Incomplete Declaration   None                                                             No contact info available
27   Brill            Karen D         1551 Huntingdon Pike APT A320             Huntingdon Vly, PA 19006    Incomplete Declaration   n/a                                                 2159381479 Called
28   Wilson           Earnestine      n/a                                       n/a                         Incomplete Declaration   n/a                   ewilsonzen@gmail.com          2156663349 Called
29   Kaufman          Marie           1551 Huntingdon Pike APT A217             Huntingdon Vly, PA 19006    Incomplete Declaration   None                                                             No contact info available
30   McGinley         Marguerite E    229 Ray St                                Jenkintown, PA 19046        Incomplete Declaration   n/a                   mmcginley@eda.gov             2152666929
31   Buckenberger     Nicole          n/a                                       n/a                         Incomplete Declaration   n/a                                                              No contact info available
32   McShane          Brian Stephen   933 Crefeld Ave                           Elkins Park, PA 19027       Incomplete Declaration   n/a                                                              No contact info available
33   Altman‐McMahon   Michael         260 Montgomery Ave W, APT 303             *None                       resolved                 completed in person   counselormike@msn.com         3026701758 Email                            10/27/2020
34   Masters          Arlene N        15222 Shannondell Dr                      Audubon, PA 19403           Incomplete Declaration   n/a                   anm72128@msn.com
35   Stein            Sandra E        1250 Greenwood Ave APT 520                Jenkintown, PA 19046        Incomplete Declaration   n/a                   sandys520@comcast.net                    Email
36   Keim             John            628 Harrison Ave APT A                    Glenside, PA 19038          Incomplete Declaration   None                  cathyrhodo@gmail.com          2675350823 Email
37   Beese            Mary Ann        702 Twining Way                           Collegeville, PA 19426      Incomplete Declaration   n/a                                                              No contact info available
38   McAndrew         Mariann         1113 Easton Rd N.                         Willow Grove, PA 19090      Incomplete Declaration   None                                                2158305400 Called
39   Barnett          Ronald B        2062 Julia Dr                             Conshohocken, PA 19428      resolved                 completed in person   rbabarnett1@comcast.net       2157402900 Called                           10/30/2020
40   Mackowski        Matthew         309 Washington St APT 3107                Conshohocken, PA 19248      USPS Issue               Return to sender                                                 No contact info available
41   Gallo‐Barnett    Caryl Marie     2062 Julia Dr                             Conshohocken, PA 19428      resolved                 completed in person   carylmarie@comcast.net        2157678064 Email                            10/30/2020
42   Roney            Jason           301 Washington ST APT 1129                Conshohocken, PA 19248      USPS Issue               Return to sender                                                 No contact info available
43   Altman‐McMahon   Elizabeth       *None                                     *None                       resolved                 completed in person   lizofbiera@gmail.com          4849048436 Email                            10/27/2020
44   Tillman          Delores         217 Montgomery Ave Hillcrest Village      Boyertown, PA 19512         Incomplete Declaration   n/a                   deetillman06@gmail.com        4845380488
45   Delconte         Ralph Jr        1008 Third St W                           Lansdale, PA 19446          Incomplete Declaration   n/a                   workathomegirl1@gmail.com     2158963558 Email
46   Harrington       Erika Eden      2058 Maple Ave APT G3‐11                  Hatfield, PA 19440          USPS Issue               Return to sender                                                 No contact info available


                                                                                                                Page 63 of 124
                                                                        Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 64 of 124


              I                J                    K                                L                           M                                   N                                        O                     P                Q                      R
1    Last Name       First name       Address Line 1                   Address Line 2                Issue                    Note                                               Email2                     Phone       Contacted?                    resolved date
47   Dilodare        Pushpa           1001 City Ave UNI ED414          Wynnewood, PA 19096           Incomplete Declaration   None                                               philodare@gmail.com                    Email
48   Zentner         Henry John       1660 Aidenn Lair Rd              Dresher, PA 19025             Resolved                 completed in person                                hzentner@verizon.net        2674000766 Email                            10/28/2020
49   Klein           Phyllis          715 Pinney RD                    Huntingdon Vly, PA 19006      Incomplete Declaration   None                                                                                        No contact info available
50   Cottom          Alberta          3074 Limekiln Pike               Glenside, PA 19038            Incomplete Declaration   n/a                                                bertabrain0209@gmail.com
51   Crescimanno     Daria            805 Princeton PL                 Hatfield, PA 19440            USPS Issue               RTS                                                                                         No contact info available
52   Greene          Laura K          620 Store Rd                     Harleysville, PA 19438        Incomplete Declaration   n/a                                                stixnstone@aol.com          2152566257
53   Martin          Marian           2719 Lantern LN                  Audubon, PA 19403             Incomplete Declaration   None                                                                                        No contact info available
54   Yothers         Shane            2400 Orvilla Road                Hatfield, PA 19440            USPS Issue               RTS                                                                                         No contact info available
55   Cowley          Grace A          275 Park Ave                     Harleysville, PA 19438        Incomplete Declaration   n/a                                                gcowley17@gmail.com         4844776754 Email
56   Wilson          Willam           640 Central Ave                  Glenside, PA 19038            Incomplete Declaration   None                                               wilsob2@comcast.net
57   Reardon         Teresa L         1551 Huntingdon Pike APT B‐312   Huntingdon Vly, PA 19006      Incomplete Declaration   n/a                                                                            2159388568 Called
58   Hoffman         Sherry           2400 Orvilla Road                Hatfield, PA19440             USPS Issue               RTS                                                                                         No contact info available
59   Esquilin        Elquis T         2918 Denise Rd                   Norristown, PA 19403          resolved                 completed in person                                ellietsq@gmail.com          4846803051 Email                            10/27/2020
60   De Ordio        Alyssa Marie     119 Marielle LN                  Norristown, PA 19401          Incomplete Declaration   None                                               alyssamdeordio@gmail.com    6103082366 Email
61   Holmes          Trinity          2705 Unionville Pike             Hatfield, PA 19440            USPS Issue               RTS                                                                                         No contact info available
62   Detar           Ida K            2095 Big Rd RT 73                Gilbertsville, PA 19525       Incomplete Declaration   n/a                                                none available                           No contact info available
63   Taxin           Michael Joseph   18 Hickory DR                    Horsham, PA 19044             Incomplete Declaration   None                                                                                        No contact info available
64   Alexander       John             728 Norristown Rd APT E108       Ambler, PA 19002              Incomplete Declaration   n/a                                                                                         No contact info available
65   Ragland         Karen            8470 Limekiln Pike APT 925       Wyncote, PA 19095             USPS Issue               RTS                                                                                         No contact info available
66   Goldberg        Harvey L         16 Sterling Dr                   Horsham, PA 19044             Incomplete Declaration   n/a                                                                                         No contact info available
67   Mahoney Jr.     John             451 Francis Ave                  Ambler, PA 19002              Incomplete Declaration   None                                               pender.alicia@gmail.com     2156467539 Email
68   Salanon         Rhonda Lynn      2496 Cobblestone Cir             Norristown, PA 19403          Incomplete Declaration   n/a                                                                            6102396211
69   Jarkowski       Nikolaus J       3820 Meyer Lane                  Hatboro, PA 19040             USPS Issue               RTS                                                                                         No contact info available
70   Thomas          Frizzel          225 Cobblestone Dr. APT 210      Ardmore, PA 19003             Incomplete Declaration   None                                                                                        No contact info available
71   Long            George N         219 Sixth St S                   North Wales, PA 19454         Incomplete Declaration   n/a                                                                            2156999423
72   Long            Nancy            219 Sixth St S.                  North Wales, PA 19454         Incomplete Declaration   None                                                                                        No contact info available
73   Singh           Kyra             2509 Condor Drive                Audobon, PA 19403             USPS Issue               RTS                                                                                         No contact info available
74   Ryan,           Thomas N         121 Montgomery Ave W             North Wales, PA 19454         Incomplete Declaration   n/a                                                                                         No contact info available
75   Replogle        Donald           651 Camp Wawa Rd Box 22          Lederach, PA 19450            Incomplete Declaration   n/a                                                drepl19450@verizon.net
76   Lanham          Ruark            311 Rices Mill RD                Wyncote, PA 19095             USPS Issue               RTS                                                                                         No contact info available
77   Davis           Justine          1990 Ashbourne Rd APT 220        Elkins Park, PA 19027         Incomplete Declaration   None                                                                                        No contact info available
78   Palatucci       Dennis           325 Manor Ave                    Plymouth MTG, PA 19462        Incomplete Declaration   None                                                                                        No contact info available
79   Krane           Marvin A         115 Old Gulph Rd                 Bryn Mawr, PA 19010           Incomplete Declaration   n/a                                                ftkmak@yahoo.com                       Email
80   Reid            Robert S         2101 New Hope St                 Norristown , PA 19401         Incomplete Declaration   No contact info‐ upon calling, voter is deceased                               6102726200 Called
81   Saha            Dipok K          2603 Elroy Rd APT B4             Hatfield, PA 19440            Incomplete Declaration   n/a                                                sahadipok@yahoo.com                    Email
82   Nash            Linda            502 Aqueduct Dr                  North Wales PA 19454          Incomplete Declaration   None                                               lindanash5643@gmail.com                Email
83   Loftus          John P           22 Dallas Rd                     Willow Grove, PA 19090‐3004   Incomplete Declaration   n/a                                                                                         No contact info available
84   Frescatore      Steve            31 Meadowbrook Rd                North Wales, PA 19454         USPS Issue               RTS                                                                                         No contact info available
85   Fields          Desmond          424 Lawnton Rd                   Willow Grove, PA 19090        Incomplete Declaration   None                                                                                        No contact info available
86   Biel‐Cressman   Marguerite Ann   734 Fornance St E                Norristown, PA 19401          resolved                 completed in person                                peggster42@gmail.com                     Email                          10/27/2020
87   Day             Donna            407 Hopkins Ct                   North Wales, PA 19454         Incomplete Declaration   None                                               dd49@verizon.net                         Email
88   Goodman         Joseph S         3940 Shainline Ct                Collegeville, PA 19426        Incomplete Declaration   n/a                                                joeghambone@aol.com
89   Goodman         Marsha           3940 Shainline Ct                Collegeville, PA 19426        Incomplete Declaration   n/a                                                mrg3940@comcast.net
90   Hill            William          632 Sussex Rd                    Wynnewood, PA 19096           Incomplete Declaration   None                                                                                        No contact info available
91   Schoen          William          1001 S Valley Forge Rd           Lansdale, PA 19446            USPS Issue               N/A                                                                                         No contact info available


                                                                                                         Page 64 of 124
                                                                              Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 65 of 124


              I              J                       K                                            L                            M                         N                              O                   P                Q                      R
 1    Last Name   First name     Address Line 1                                        Address Line 2              Issue                    Note                           Email2                   Phone         Contacted?                  resolved date
 92   Blyskal     Thomas         3000 Valley Forge Cir 943 Valley Forge Twin Twrs Apts King of Prussia, PA 19406   Resolved                 completed in person            tpblyskal@gmail.com                    Email                          10/28/2020
 93   Picorella   Marianne       3593 Meadowlark Dr                                    Huntingdon Vly, PA 19006    Incomplete Declaration   None                           curlupndyz@aol.com
 94   Blyskal     Margaret L     3000 Valley Forge Cir 943 Valley Forge Twin Twrs Apts King of Prussia, PA 19406   Resolved                 completed in person            tpblyskal@gmail.com                    Email                         10/28/2020
 95   Snyder JR   Russell        24 Wayne Ave S.                                       Hatfield, PA 19440          Incomplete Declaration   None                                                                  No contact info available
 96   Titel       Ted            N/A                                                   N/A                         Incomplete Declaration   No address, other than APT #   ted.tetlan@gmail.com      6086989276 Email
 97   Adams       Mary Sandra    271 Freeland Dr                                       Collegeville, PA 19426      Incomplete Declaration   n/a                                                                   No contact info available
 98   Garrell     Marshall       1650 Oakwood Dr. APT E210                             Narberth, PA 19072          Incomplete Declaration   None                           debbiegarrel@aol.com                   Email
 99   Martin      Yale           191 Presidential BLVD UNI 623 Bala‐Cynwyd, PA 19004                               USPS Issue               RTS                                                                   No contact info available
100   Watts       Joan           35 Rosemont Ave                                       Bryn Mawr, PA 19010         Incomplete Declaration   None                                                     6105800400 Called
101   Kang        Linus E        300 Neborlea Way                                      Trappe, PA 19426            resolved                 completed in person            linusk@verizon.net                   Email                           10/30/2020
102   Kim         Callain Y      300 Neborlea Way                                      Trappe, PA 19426            resolved                 completed in person            callaink@verizon.net      6104547328 Email                           10/30/2020
103   Mclean      Troy           452 Valley Rd                                         Elkins Park, PA 19027       Incomplete Declaration   None                                                                  No contact info available
104   Kats        Kelsey         1751 Stocton Rd                                       Jenkintown, PA 19046        Incomplete Declaration   n/a                            kats.kelsey@gmail.com     2158379827 Email
105   Brown       Kahlif Jakar   1431 Arch Street, APT B‐2                             Norristown, PA 19401        USPS Issue               N/A                                                                   No contact info available
106   Mclean      Billy          452 Valley Rd                                         Elkins Park, PA 19027       Incomplete Declaration   None                                                                  No contact info available
107   Brown       Ruth A         100 Bready Rd                                         Hatboro, PA 19040‐3501      Incomplete Declaration   N/A                                                                   No contact info available
108   Dean        Rosemary       n/a                                                   n/a                         Incomplete Declaration   n/a                                                      2153683352 Called
109   Makransky   John           107 Timothy Circle                                    Wayne, Pa 19087             USPS Issue               RTS                                                                   No contact info available
110   Shrager     Todd           1600 Hagys Ford Rd EP                                 Narberth, PA 19072          Incomplete Declaration   None                           wo_nellie@hotmail.com     6103227556
111   Custus      Rubey          1405 Limekiln Pike N, APT 220 Dresher, PA 19025                                   Incomplete Declaration   n/a                                                                   No contact info available
112   Silfen      David          725 John Barry Drive                                  Bryn Mawr, PA 19010         USPS Issue               RTS                                                                   No contact info available
113   Ryan        Bruce D        1911 Fawn Dr                                          Glenside, PA 19038          Incomplete Declaration   n/a                            brucedryan@verizon.net                 Email
114   Phillips    Pauline        1628 Hillcrest Rd                                     Glenside, PA 19038          Incomplete Declaration   None                           phillipspm@comcast.net
115   Lane        Stephanie L    728 Dogwood Dr                                        North Wales, PA 19454       Incomplete Declaration   n/a                                                                   No contact info available
116   Robinson    Jessie         1028 Arboretum Rd                                     Wyncote, PA 19095           Incomplete Declaration   None                           marobins51@hotmail.com                 Email
117   Zhou        Wenyuan        28 Fieldcrest Drive                                   Collegeville, PA 19426      USPS Issue               RTS                                                                   No contact info available
118   Feldman,    Sandra R       309 Florence Ave N408 Beaver Hill North Jenkintown, PA 19046                      Incomplete Declaration   n/a                            sandy0912@aol.com                    Email
119   Hoffman     Gaye           1650 Susquehanna Rd # 218                             Dresher, PA 19025‐1019      Incomplete Declaration   n/a                            gsis1948@gmail.com        8604609230 Email
120   Bishop      Faye           559 Meetinghouse Rd                                   Harleysville, PA 19438      Incomplete Declaration   None                                                                  No contact info available
121   Shore       Adam           35 Overlook Circle                                    Dresher, PA 19025           USPS Issue               RTS                                                                   No contact info available
122   Gillie      Cheryl         504 Main St S                                         Hatfield, PA 19440          Incomplete Declaration   n/a                            gillecheryl@gmail.com                  Email
123   Natter      Charles W      333 Cricket Ave                                       Glenside, PA 19038          USPS Issue               RTS                                                                   No contact info available
124   Price       Natalie        402 Waring Rd                                         Elkins Park, PA 19027       Incomplete Declaration   None                           nzprice@hotmail.com
125   Tauch       Bora           106 Durham Ct                                         Harleysville, PA 19438      Incomplete Declaration   n/a                            borat106@yahoo.com        2153628959 Email
126   Lersch      Beverly K      3 Maple Ave N                                         Hatfield, PA 19440          Incomplete Declaration   n/a                                                                   No contact info available
127   Goens       Catherine M    453 Berkshire Drive                                   Souderton, PA 18964         USPS Issue               RTS                                                                   No contact info available
128   Young       Bruce          507 Norris City Ave                                   Norristown, PA 19401        Incomplete Declaration   None                                                                  No contact info available
129   Zurek       Cheri L        n/a                                                   n/a                         Incomplete Declaration   n/a                            clz1946@yahoo.com                      Email
130   Williams    Paula Davis    138 Revere Court                                      Collegeville, PA 19426      USPS Issue               RTS                                                                   No contact info available
131   Strader     Gretchen L     n/a                                                   n/a                         Incomplete Declaration   n/a                                                                   No contact info available
132   Bishop      Clifford       559 Meetinghouse Rd                                   Harleysville, PA 19438      Incomplete Declaration   None                                                                  No contact info available
133   Sanders     Rachel         1926 Fawn Drive                                       Glenside, PA 19038          USPS Issue               RTS                                                                   No contact info available
134   Kelly       John Barry     580 Green St                                          Bridgeport, PA 19405        Incomplete Declaration   n/a                                                                   No contact info available
135   Leib        Willliam       15 Chatham CT                                         Souderton, PA 18964         Incomplete Declaration   None                           helenh1214@hotmail.com                 Email
136   Laniak      Robert         1800 Harris Road                                      Glenside, PA 19038          USPS Issue               RTS                                                                   No contact info available


                                                                                                                       Page 65 of 124
                                                                        Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 66 of 124


               I               J                     K                               L                           M                      N                           O                         P                    Q                      R
 1    Last Name     First name         Address Line 1                  Address Line 2                Issue                    Note                     Email2                          Phone        Contacted?                      resolved date
137   Prabhudesai   Sachin G           102 Sterling Dr                 North Wales, PA 19454         Resolved                 Completed In Person      pgsachin@gmail.com                2677655675 Email                              10/29/2020
138   Leib          Helen              15 Chatham Ct                   Souderton, PA 18964           Incomplete Declaration   None                     helenh1214@hotmail.com                       Email
139   Fraschetta    Amy C              146 Ross Rd                     King of Prussia, PA 19406     USPS Issue               RTS, temporarily away                                                     No contact info available
140   Gutierrez     Sonia              214 Price Ave Apt F33           Narberth, PA 19072            Incomplete Declaration   n/a                      NA                              NA               No contact info available
141   Kurowski      Vivian             1415 Carol Rd                   Jenkintown PA 19046           USPS Issue               RTS                                                                       No contact info available
142   Brown         Joan Ruth          724 Charlotte St N              Pottstown, PA 19464           Incomplete Declaration   n/a                                                        6103231837 Called
143   Patel         Dipti B            110 McKean Ct                   North Wales, PA 19454         Incomplete Declaration   n/a                      NA                              NA           No contact info available
144   Holmes        Melissa D          1548 Birchwood Ave              Abington, PA 19001            USPS Issue               RTS                                                                       No contact info available
145   Byrne         Robert             1557 Shoemaker Rd               Abington, PA 19001            Incomplete Declaration   None                     bob215215@gmail.com                              Email
146   Lee           Joseph S           1019 Balmoral Way               Ambler, PA 19002              Incomplete Declaration   n/a                                                                       No contact info available
147   Douglass      Eileen O           1225 Gilbert Rd                 Jenkintown, PA 19046          USPS Issue               RTS                                                                       No contact info available
148   Buck          Dennis R           n/a                             n/a                           Resolved                 Completed In Person      buck643@comcast.net                              Email                         10/30/2020
149   Lane          Newman F           2004 Highland Ct                North Wales, PA 19454         Incomplete Declaration   n/a                                                                       No contact info available
150   Goens         Charles W          210 Sumner CT                   Harleysville, PA 19438        USPS Issue               RTS                                                                       No contact info available
151   Lane          Elizabeth M        2004 Highland Ct                North Wales, PA 19454         Incomplete Declaration   n/a                      elizabethlane@comcast.net                        Email
152   Johnson       Lavern             1724 Cummings Ave               Willow Grove, PA 19090        Incomplete Declaration   None                     NA                              NA               No contact info available
153   Elsroad       Heidi              n/a                             n/a                           Incomplete Declaration   n/a                      NA                              NA               No contact info available
154   Damiano       Henrietta M        808 Haldeman Rd                 Schwenksville, PA 19473       Incomplete Declaration   n/a                      NA                              NA               No contact info available
155   Goens         Linda T            210 Sumner CT                   Harleysville, PA 19438        USPS Issue               RTS                                                                       No contact info available
156   McGinty       Joan               1003 Loney St                   Jenkintown, PA 19046          Resolved                 Completed In Person      mcgintyjoan@aol.com                              Email                         10/27/2020
157   Cooper        Linda A            44 Aspen Way                    Schwenksville, PA 19473       Incomplete Declaration   n/a                      NA                              NA               No contact info available
158   Bhatt         Utpal P            45 Arbor Circle                  Colmar, PA 18915             USPS Issue               RTS                                                                       No contact info available
159   Haffar        Moness             207 Swede St APT 105            Norristown, PA 19401          Incomplete Declaration   n/a                      monesshaffar@yahoo.com                           Email
160   Crisci        Carol A            3106 Green Hill Lane            Norristown, PA 19401          USPS Issue               RTS                                                                       No contact info available
161   Schaffer      Ronald             268 Williams Ln                 Red Hill, PA 18076            Incomplete Declaration   none                     kgaugler1@comcast.net
162   Johnson       Frederick W        44 Aspen Way                    Schwenksville, PA 19473       Incomplete Declaration   n/a                      NA                              NA               No contact info available
163   Kwon          Priscilla Yoori    3202 Hemmingway Drive           North Wales, PA 19454         USPS Issue               RTS                                                                       No contact info available
164   Kubachka      Thomas Andrew      4104 Inspiration St             Schwenksville, PA 19473       Incomplete Declaration   n/a                      kubachka@verizon.net                             Email
165   Berman        Charles Ira        8 Crimson Drive                 Norristown, PA 19401          USPS Issue               RTS                                                                       No contact info available
166   Swope         Jacqueline Marie   131 Level Rd                    Collegeville, PA 19426        Incomplete Declaration   n/a                      NA                              NA               No contact info available
167   Gill          Patricia           1551 Huntingdon Pike APT B306   Huntingdon Valley, PA 19006   Damaged                  none                     NA                              NA               No contact info available
168   Butler        Daniel             220 Maple Ave                   Glenside PA 19038             USPS Issue               RTS                                                                       No contact info available
169   Graham        Sharon S           n/a                             n/a                           Incomplete Declaration   n/a                      wolf3max@hotmail.com              6105333493 Email
170   Glick         Eli Daniel         7 Whitefield Dr                 Lafayette Hill, PA 19444      Resolved                 Completed In Person      eglick4@comcast.net               2152334257 Email                             10/27/2020
171   Beardsley     Richard            PO box 234                      Salford, PA 18957             USPS Issue               PO BOX closed; RTS                                                        No contact info available
172   Duttera       Linda A            619 Wagner Road                 Lafayette Hill, PA 19444      Resolved                 Completed In Person      laduttera@gmail.com                          Email                             10/27/2020
173   Abrams        Patricia           3430 Huntingdon Pike            Huntingdon Vly, PA 19006      Incomplete Declaration   none                     irene.mazor@hcr‐manorcare.com     2159387171 Email
174   Durante       Nicole B           1504 Penny Lane                 Gilbertsville, PA 19525       USPS Issue               unable to forward; RTS                                                    No contact info available
175   Adams         Maureen M          1438 Evans Rd                   Lower Gwynedd, PA 19002       Resolved                 Completed In Person      madams.vjb@gmail.com                             Email                         10/27/2020
176   Dainoff       Harris A           1895 Meredith Lane              Blue Bell, PA 19422           Resolved                 Completed In Person      hdainoff@ledgewood.com                           Email                         10/29/2020
177   Warren        Shirley            770 Welsh Rd Apt 209            Huntingdon Vly, PA 19006      Incomplete Declaration   none                                                                      No contact info available
178   Kim           Youn Joo           n/a                             n/a                           Incomplete Declaration   n/a                      younjoo423@gmail.com              6103086961 Email
179   Pearson       Donnalee           132 Steeplechase Drive          North Wales PA 19454          Incomplete Declaration   n/a                      pearson1151@gmail.com             2672634412 Email
180   Burrows       Grace Therese      144 Flintlock Rd                King of Prussia, PA 19406     Incomplete Declaration   n/a                      graceburrows@gxbweb.com
181   Meshon        Sheldon            3430 Huntingdon Pike            Huntingdon Vly, PA 19006      Incomplete Declaration   none                     irene.mazor@hcr‐manorcare.com                    Email

                                                                                                         Page 66 of 124
                                                                             Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 67 of 124


              I                     J                      K                               L                        M                         N                                O                         P                 Q                      R
 1    Last Name          First name          Address Line 1                  Address Line 2             Issue                    Note                            Email2                          Phone          Contacted?                  resolved date
182   Lee                Juanita V           1201 Papermill Rod              Glenside, PA 19038         Incomplete Declaration   n/a                             juanitavl33@gmail.com                          Email
183   White              Elaine M            3 Stuart Dr                     Norristown, PA 19401       Incomplete Declaration   n/a                             emwhite21@icloud.com
184   Paso               Victor              3430 Huntingdon Pike            Huntingdon Vly, PA 19006   Incomplete Declaration   none                            irene.mazor@hcr‐manorcare.com                  Email
185   White              Elaine M            3 Stuart Dr                     Norristown, PA 19401       Incomplete Declaration   n/a                             emwhite21@icloud.com                           duplicate
186   Aquila             Mary                22 Lee Lynn Ln                  Huntingdon Vly, PA 19006   Incomplete Declaration   none                                                                           No contact info available
187   Estrada            Emily Melendez      352 Forest Ave                  Willow Grove, PA 19090     Incomplete Declaration   n/a                             cosmoqueen767@msn.com                          Email
188   Townes             Jean                1003 Summit Ln                  Oreland, PA 19075          Incomplete Declaration   n/a                             jtownes1@comcast.net                           Email
189   Bloch              Barbara             1680 Huntingdon Pike 320        Huntingdon Vly, PA 19006   Resolved                 Completed In Person             bhb51807@yahoo.com                             Email                          10/27/2020
190   Smith              Juanita M           1826 Pine St                    Norristown, PA 19401       Incomplete Declaration   n/a                                                                            No contact info available
191   Crits              Niki                300 Germantown Pike E, APT 1218 Norristown, PA 19401       USPS Issue               incorrect return address; FWD   kellyhome2000@comcast.net 484‐716‐2070
192   McGowan            Patricia Anne       5213 Twin Silo Drive            Blue Bell, PA 19422        Incomplete Declaration   n/a                             pmcg615@gmail.com
193   Kane               Frederic Joseph     n/a                             n/a                        Incomplete Declaration   n/a                             macktoosh@aol.com                      Email
194   Murtaza            Naved               N/A                             APT 118 USA                USPS Issue               Incomplete Address              naved@hotmail.com         N/a
195   Garcia             Maritza             2625 Anthony Dr                 Pottstown, PA 19464        Incomplete Declaration   none                            maritzag2625@gmail.com                 Email
196   Seffu              Lois T              415 Lodges Ln                   Elkins Park, PA 19027      Resolved                 Completed In Person             seffult@gmail.com         267‐945‐9687 Email                                  10/28/2020
197   Rogers             Sharon P            102 Ashley Cir                  Lansdale, PA 19446         Incomplete Declaration   n/a                             srogers167@comcast.net                 No contact info available
198   Nevels             Vera                724 Charlotte St N              Pottstown, PA 19464        Incomplete Declaration   none                                                      610‐323‐1837
199   Tirado             Magda A             629 N Evans St                  Pottstown, PA 19464        Incomplete Declaration   n/a                                                                            No contact info available
200   Boyd               David               4003 Westaway Drive APT C3 Lafayette Hill, PA 19444        USPS Issue               FWD ‐ CANC UNDEL.               boydsongs@msn.com               215‐284‐1328
201   Joslin‐Pharo       Kathy L             2075 Creek Way                  Lansdale, PA 19446         Incomplete Declaration   n/a                             kljpharo55@comcast.net                         Email
202   Garcia             Walfredo            2625 Anthony Dr                 Pottstown, PA 19464        Incomplete Declaration   none                                                                           No contact info available
203   Cox                Lynne M             211 Country Club Dr             Lansdale, PA 19446         Incomplete Declaration   n/a                             lc1019@verizon.net                           Email
204   Schatz             Rhoda               9311 Eagle View Drive           Lafayette Hill, PA 19444   Resolved                 Completed In Person             rhodaschatz3@gmail.com                       Email
205   Creasy             Charlotte Delores   501 Bethlehem Pike N, APT 13H Ambler, PA 19002             Incomplete Declaration   n/a                             mompeters77@yahoo.com           631‐275‐2781 Email                            10/27/2020
206   Drauschak          Jean                1110 Kepler Rd                  Pottstown, PA 19464        Incomplete Declaration   none                                                                           No contact info available
207   Olwell             Kevin M             55 Bright Rd                    Hatboro, PA 19040          Incomplete Declaration   n/a                             lanwell1998@yahoo.com                          Email
208   Newman             Hilda M             141 Central Ave                 Glenside, PA 19038         Incomplete Declaration   n/a                             hildanewman4@gmail.com                         Email
209   Woodard Hargrove   Gloria              2595 Willow Brook Ln            Pottstown, PA 19464        Incomplete Declaration   none                            gloriahargrove7@gmail.com                      Email
210   Simbaya            Yokoniya            428 King St APT 2               Pottstown, PA 19464        Incomplete Declaration   n/a                             mapyela@yahoo.com                              Email
211   Rauchut            Sean M              220 Seventh ST S                North Wales, PA 19454      Incomplete Declaration   n/a                             seanrauchut@outlook.com                        Email
212   Dersch             Elaine              n/a                             n/a                        Incomplete Declaration   n/a                             geekykatt@yahoo.com
213   Harris             Nancy               331 Hanover St N, Apt 28        Pottstown, PA 19464        Incomplete Declaration   none                            immana26@yahoo.com       610‐960‐5383 Email
214   Travis             Zachary             208 Green Bank Way              Harleysville, PA 19438     USPS Issue               RTS                             zachdtravis@hotmail.com  267‐222‐2181
215   Gray               John E              17 Fieldcrest Dr                Collegeville, PA 19426     Incomplete Declaration   n/a                             jegphptp@comcast.net                  Email
216   Wheeler            William             301 Pimlico Way                 North Wales, PA 19454      Incomplete Declaration   none                            billwheeler@fastmail.fm  267‐864‐8525 Email
217   Tirado‐Berrios     Carlos Enrique      627 N Evans (?) St              Pottstown, PA 19464        Incomplete Declaration   n/a                                                      708‐793‐0300
218   Nachman            Jeffrey             169 Timothy Cir                 Wayne PA 19087             USPS Issue               RTS                             jmakransky9618@gmail.com N/a
219   Kim                Sung Rae            n/a                             n/a                        Incomplete Declaration   n/a                             chamksr87@gmail.com      610‐308‐6423 Email
220   Kosco              Judith A            400 Edgewood Dr                 Hatfield, PA 19440         Incomplete Declaration   n/a                             jak0011@verizon.net                   Email
221   Patel              Bhagyesh            110 McKean Ct                   North Wales, PA 19454      Incomplete Declaration   none                                                     215‐264‐1488 Called
222   Combs              John                2014 John Russell Circle S, B   Elkins Park, PA 19027      USPS Issue               RTS                             jvcombs6310@gmail.com    215‐821‐5891
223   Varich             Louise T            209 Springhaven Cir             Royersford, PA 19468       Incomplete Declaration   n/a                                                                            No contact info available
224   Callahan           Claire              820 Southampton Ave E           Glenside, PA 19038         USPS Issue               RTS; Temp. Away                 cmrcallahan@gmail.com           N?A
225   Mclaughlin         Edward              347 Woodstream Way              North Wales, PA 19454      Incomplete Declaration   None                            elizabethmcl2@msn.com                          Email
226   O'Cain             Charlotte           301 Horseshoe Dr                Royersford, PA 19468       Incomplete Declaration   n/a                             ocain0720@yahoo.com                            Email

                                                                                                            Page 67 of 124
                                                                         Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 68 of 124


               I                  J                      K                            L                       M                     N                        O                         P                 Q                      R
 1    Last Name         First name          Address Line 1              Address Line 2            Issue                    Note                 Email2                         Phone          Contacted?                  resolved date
227   Mclaughlin        Elizabeth           347 Woodstream Way          North Wales, PA 19454     Incomplete Declaration   None                 elizabethmcl2@msn.com                         Email
228   Edwards           Jeremiah            44 Old Cedarbrook Rd        Wyncote, PA 19095         Incomplete Declaration   n/a                  elderjerry47@gmail.com                        Email
229   Han               Christine           N/A                         Conshohocken PA 19428     USPS Issue               Incomplete Address   christinepahng@gmail.com       267‐992‐0705
230   Sarker            Shila Rani          2603 Elroy Rd APT B4        Hatfield, PA 19440        Incomplete Declaration   None                 shilpi5745@gmail.com                          Email
231   Rice              Valerie A           351 Fifth St W              Lansdale, PA 19446        Incomplete Declaration   n/a                  valgoah49@gmail.com                           Email
232   Jung              Mea Sug             84 Wynmere Dr               Horsham, PA 19044         Incomplete Declaration   n/a                  suejung0318@gmail.com                         Email
233   Plonski           Frank               1305 Koffel Rd              Hatfield, PA 19440        Incomplete Declaration   None                 frankplonski@me.com
234   Williams          Deborah             333 Spring Ave W            Ardmore, PA 19003         Incomplete Declaration   n/a                                                                No contact info available
235   Tribble           Ulysses             607 Swede St Apt 202        Norristown PA 19401       USPS Issue               ANK.                 trib243@yahoo.com              484‐470‐8491
236   Plonski           Josephine           1305 Koffel Rd              Htfield, PA 19440         Incomplete Declaration   None                 frankplonski@me.com
237   Wright            Irene Mae           710 Hunt Ln                 Flourtown, PA 19031       Incomplete Declaration   n/a                  swanthony@comcast.net                       Email
238   Patel             Bhupendra           2603 Elroy Rd APT C6        Hatfield, PA 19440        Incomplete Declaration   None                                                  5083048429 Called
239   Russomano         Anthony Michael     1311 Emerson Ct             Ambler, PA 19002          Incomplete Declaration   n/a                                                   2152370622 Called
240   Headley Okereke   Summer Ngozi        118 Wayne Ave               Norristown, PA 19401      USPS Issue               Fwd.                 summerheadley@gmail.com        N/A
241   Cosier            Janet L             11 Ivy Cir                  Eagleville, PA 19403      Incomplete Declaration   n/a                  jancosi@aol.com                  6106394127 Email
242   Newman            Earlene             2058 Maple Ave APT AG2‐12   Hatfield, PA 19440        Incomplete Declaration   None                 earlelovesjesus@me.com           2159390704
243   Sames             Walter F JR         261 Woods Dr                Lansdale, PA 19446        Incomplete Declaration   n/a                                                   2153950387 Called
244   Wilson            Rachel Vanderpool   932 Muhlenberg Dr           Trappe, PA 19426          Incomplete Declaration   n/a                  vandeer48@yahoo.com                         Email
245   Patel             Mukundrai           1724 Lydia Dr               Hatfield, PA 19440        Incomplete Declaration   None                                                  2144120791 Called
246   Patel             Prathviraj          393 Gosling Drive           North Wales, PA 19454     USPS Issue               RTS; Change of address praj6022@gmail.com           215‐527‐8721
247   Alderfer          Leslie Jane         21 Highland Ave             Lansdale, PA 19446        Incomplete Declaration   n/a                                                                No contact info available
248   Green             Dexter              24 Breyer CT                Elkins Park, PA 19027     Resolved                 Completed In Person dexdenise@verizon.net                          Email                          10/27/2020
249   Stein             Debra Ann           1110 Lakeview Dr            Landsdale, PA 19446       Incomplete Declaration   N/A                    debbie@wolverine1.net                       Email
250   Patel             Saroj Prathviraj    396 Gosling Drive           North Wales, PA 19454     USPS Issue               RTS; Change of address praj6022@gmail.com           215‐527‐8721
251   Green             Denise              24 Breyer Ct                Elkins Park, PA 19027     Resolved                 Completed In Person dexdenise@verizon.net                          Email                          10/27/2020
252   Stein             Debra Ann           1110 Lakeview Dr            Lansdale, PA 19446        Incomplete Declaration   n/a                    debbie@wolverine1.net                       duplicate
253   McDonough         Stewart             8327 New Second St          Elkins Park, PA 19027     Incomplete Declaration   None                   14barbarabrown@gmail.com
254   Steele            Parker James        1211 St Clair Rd            Oreland, PA 19075         Incomplete Declaration   n/a                    parkrangersteele@gmail.com     2158404199 Email
255   Hill‐Guillaume    Melissa             12th North Ave              Wyncote, PA 19095         USPS Issue               RTS; Change of aDDRESS ladymeliss@gmail.com         818‐849‐0342
256   Bingaman          Janis               1202 Dekalb St APT 105      Norristown, PA 19401      Incomplete Declaration   n/a                                                                No contact info available
257   Sanders           Tabitha             7323 School LN APT A        Elkins Park, PA 19027     Incomplete Declaration   None                   tabbysanders08@g.com                      Email
258   McKeown           Mark Anthony        2982 Sheffield Dr           Plymouth Mtg, PA 19462    Incomplete Declaration   n/a                                                   4848002937 Called
259   Frankel           Jerrold             27 Berman CT                Phoenixville, PA 19460    USPS Issue               RTS;COA                jerryfrankel@yahoo.com       215‐264‐7621
260   Jeck              Sheila              353 River Birch Cir         Elkins Park, PA 19027     Incomplete Declaration   None                                                               No contact info available
261   Roc               Agnonie             115 Country Ln              Lansdale, PA 19446        Incomplete Declaration   n/a                                                                No contact info available
262   Marino            Vincent             89 Heffner Rd               Royersford PA 19468       USPS Issue               RTS; CoA               vwmarino@gmail.com           610‐506‐1881
263   Palmbach          Valerie Ann         1234 Gilbert Rd             Jenkintown, PA 19046      Resolved                 Completed in Person vaweave@gmail.com                 7174688996 Email                            10/28/2020
264   Jeck              Saul                353 River Birch Cir         Elkins Park, PA 19027     Incomplete Declaration   No Date                                                            No contact info available
265   Palmbach          Joshua Mark         1234 Gilbert Rd             Jenkintown, PA 19046      Resolved                 Completed in Person vaweave@gmail.com                              Email                          10/28/2020
266   Marino            Pamela              89 Heffner Rd               Royersford PA 19468       USPS Issue               RTS; CoA               pamjAE@gmail.com             610‐505‐8367
267   Gallaghert        Patricia Ann        527 Old Elm St              Conshohocken, PA 19428    Incomplete Declaration   None                   geeksareus_610@msn.com                      Email
268   Walsh             William S           1446 Grossier Rd            Gilbertsville, PA 19525   Incomplete Declaration   n/a                                                                No contact info available
269   Salamone          John Russell        1739 Dekalb St              Norristown, PA 19401      Incomplete Declaration   n/a                    jsalamone927@yahoo.com         4846864122 Email
270   Whelan            Robert              312 Sixth AVE W, APT B      Conshohocken, PA 19428    Incomplete Declaration   None                   robertwhelan001@gmail.com                 Email
271   Leary             Katelyn Marion      465 Jacksonville Rd APT B   Hatboro, PA 19040         USPS Issue               RTS; FWD               learykatie@gmail.com         267‐307‐6407

                                                                                                      Page 68 of 124
                                                                      Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 69 of 124


                I              J                    K                               L                      M                        N                             O                         P                 Q                      R
 1    Last Name      First name       Address Line 1                  Address Line 2           Issue                    Note                          Email2                        Phone          Contacted?                  resolved date
272   Brown          Phyllis S        11 Old Cedarbrook Rd            Wyncote, PA 19095        Incomplete Declaration   n/a                           phyl1026@aol.com                             Email
273   Qiu            Guanghua         1025 Brassington Dr             Collegeville, PA 19426   Incomplete Declaration   None                                                                       No contact info available
274   Obeid          Leila Ann        1028 Broadmoor Rd               Bryn Mawr PA 19010       USPS Issue               RTS; FWD                      lobeid@hotmail.com        N/a
275   Hermann        Christina        856 Burgdorf Dr                 Ambler, PA 19002         Incomplete Declaration   n/a                           chrissy.hermann@yahoo.com   2676646810 Email
276   Lauer‐Hart     Sharon           110 Lattice LN                  Collegeville PA 19426    Incomplete Declaration   None                                                                       No contact info available
277   Torres         Claudio A        32 Conshohocken State Rd APT D3 Bala‐Cynwyd, PA 19004    Incomplete Declaration   n/a                           catvcatv@gmail.com                           Email
278   Gamberg        Bailey           1801 Lukens Ave                 Willow Grove PA 19090    USPS Issue               RTS; Fwd                      bailey.gamberg@gmail.com      N/A
279   Akter          Thamina          828 Wedgewood Dr                Lansdale, PA 19446       Incomplete Declaration   n/a                                                           7322726681 Called
280   Akhtar         Syeda Sana       2040 Greenes Way Cir            Collegeville, PA 19426   Incomplete Declaration   None                                                                       No contact info available
281   Pavlow         Jake             1207 Waverly Rd                 Gladwyne, PA 19035       USPS Issue               RTS; FWD                      jpavlow17@gmail.com           484‐343‐3487
282   Solaiman       Mohammed         828 Wedgewood Dr                Lansdale, PA 19446       Incomplete Declaration   n/a                                                                        No contact info available
283   Akhtar         Sherjeel         2040 Greenes Way Cir            Collegeville, PA 19426   Incomplete Declaration   None                                                                       No contact info available
284   Sinkinson      Jennifer A       40 Salford Way                  Telford, PA 18969        Incomplete Declaration   n/a                           jsinkinson@yahoo.com                       Email
285   Villar         Sheryl           21 Teakwood Ter                 Audubon, PA 19403        Resolved                 Completed in Person           sov1015@aol.com                 6105647699 Email                            10/30/2020
286   Keech          Brian T          216 Avon Rd                     Narberth, PA 19072       Incomplete Declaration   n/a                                                           6106678505
287   Bleznak        Stuart           8204 Aspen Way                  Elkins Park, PA 19027    USPS Issue               RTS; FWD                      bleznak2000@gmail.com         n/a
288   Korenstein     Susan M          325 Danell Rd                   Wayne, PA 19087          Incomplete Declaration   n/a                           sudakoren@verizon.net                      Email
289   Chung          Ann              13 Mary Bell Rd                 Audubon, PA 19403        Incomplete Declaration   None                                                                       No contact info available
290   Landis         Evan Matthew     434 Old Gulph Rd E              Narberth, PA 19072       Incomplete Declaration   n/a                           evanmlandis@gmail.com
291   Oliver Jr      William          2529 Pierce Ave                 Willow Grove, PA 19090   Incomplete Declaration   None                                                                       No contact info available
292   McConomy       Deborah          665 Bonny Brook Ave             Trappe, PA 19426         USPS Issue               RTS; no such address          n/a                           n/a            No contact info available
293   Carrasquillo   Yolanda          869 Burgdorf Dr                 Ambler, PA 19002         Incomplete Declaration   n/a                           joliec326@gmail.com                          Email
294   Owens          Gail             506 Cedar Hill Rd               Ambler, PA 19002         Incomplete Declaration   n/a                           gailowens1@hotmail.com                       Email
295   Marziani       Frank            1717 Crestview Ave              Willow Grove, PA 19090   Incomplete Declaration   None                                                                       No contact info available
296   Schussler      Martha           456 Mininger Rd                 Souderton, PA 18964      Resolved                 Completed In Person           marthaschussler@comcast.net                  Email                          10/27/2020
297   Greene         Willie Mae       1001 City Ave APT WA806         Wynnewood, PA 19096      Incomplete Declaration   None                                                                       No contact info available
298   Williams       Walter           551 Shoemaker Rd                Elkins Park, PA 19027    USPS Issue               RTS; FWD                      chipwilliams12@gmail.com      n/a
299   Singer         Susan C          1044 George Rd                  Jenkintown, PA 19046     Incomplete Declaration   n/a                           sue@suesin.com
300   Burwell        Matthew          1559 Lukens Ave                 Abington, PA 19001       Incomplete Declaration   n/a                           mburwell@juno.com                            Email
301   Fleitz         Mary             944 Clover Hill Rd              Wynnewood PA, 19096      Incomplete Declaration   None                                                                       No contact info available
302   Spigner        Kathleen         25 Washington Ln APT 830        Wyncote, PA 19095        Incomplete Declaration   n/a                                                                        No contact info available
303   Fleitz         Fred             944 Clover Hill Rd              Wynnewood, PA 19096      Incomplete Declaration   None                                                                       No contact info available
304   Pagilarulo     Megan            146 Derr Drive                  Collegeville, PA 19426   USPS Issue                                   meganpagliarulo@gmail.com 610‐787‐9957
                                                                                                                        RTS; unable to fwd, vacant.
305   Bovo           Anita M          352 Trevor Ln                   Bala‐Cynwyd, PA 19004    Incomplete Declaration   n/a                 anitabovo@me.com             61066142881 Email
306   Volinsky       Ethel            46 Haverford Rd                 Wynnewood, PA 19096      Incomplete Declaration   None                dhvhagan@aol.com
307   Whalen         Theresa L        1070 Easton Rd APT 1            Abington, PA 19001       Incomplete Declaration   n/a                 powdersugarog@hotmail.com                Email
308   Gisondi        Sarah            843 Concord Pl                  Lansdale, PA 19446       Incomplete Declaration   n/a                 sam111200@verizon.net                    Email
309   Destefano      Richard          301 Union Ave                   Bridgeport, PA 19405     Resolved                 Completed in Person rfd117@hotmail.com                       Email                                        10/28/2020
310   Makransky      Jane             107 Timothy Circle              Wayne PA 19087           USPS Issue               RTS;                jmakransky9618@gmail.com 610‐212‐4614
311   Anderson       Diane E          871 Fernhill Rd                 Glenside, PA 19038       Incomplete Declaration   n/a                 dqadesign871@verizon.net
312   Ward           James J Jr       333 Church Rd                   Lansdale, PA 19446       Incomplete Declaration   n/a                                                          No contact info available
313   Brooke         Paul Lee         18 Crescent Cir                 Harleysville, PA 19438   Resolved                 Bl                  lsbrooke@comcast.net                     Email                                        10/27/2020
314   McGinty        Joseph Brendan   1003 Loney St                   Jenkintown, PA 19046     Resolved                 completed in person joemcginty419@aol.com                                                                 10/27/2020
315   Sibel          Christopher      1053 Garrison Lane              Souderton PA 18964       USPS Issue               RTS; Fwd            sibel.christopher@gmail.com 215‐527‐1097
316   Tennet         Diane            410 Blair Mill Rd               Hatboro, PA 19040        Incomplete Declaration   n/a                                               2156721314 Called

                                                                                                   Page 69 of 124
                                                                                  Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 70 of 124


               I               J                         K                                     L                          M                     N                          O                         P                 Q                      R
 1    Last Name      First name      Address Line 1                              Address Line 2               Issue                    Note                  Email2                          Phone          Contacted?                  resolved date
317   Grohe          Patricia        66 Woodhollow Dr                            Harleysville, PA 19438       Incomplete Declaration   None                  pategrohe@yahoo.com                            Email
318   Tennett        David H         410 Blair Mill Rd                           Hatboro, PA 19040            Incomplete Declaration   n/a                                                                  No contact info available
319   Goldwein       Eric            417 Meadow Lane                             Merion Station Pa 19066      USPS Issue               RTS; IA               egoldwein@gmail.com             610‐574‐8007
320   Burwell        Joan A          1559 Lukens Ave                             Abington, PA 19001           Incomplete Declaration   n/a                                                                  No contact info available
321   Merrone        Peter           Valley Vista, 36 County Line Rd S Apt 101   Souderton, PA 18964          Incomplete Declaration   None                  lhampton@indcreek.org
322   Foxworth       John H          1070 Easton Rd Apt 1                        Abington, PA 19001           Incomplete Declaration   n/a                                              8564048324 Called
323   Rivera         Wilma           2707 Laurel Lane                            Glenside, PA 19038           USPS Issue               RTS; Fwd              wriverz@ITS.JNJ.com      215‐858‐8767
324   Roundtree Jr   Herman          2300 Heston St                              Abington, PA 19001           Incomplete Declaration   None                  hermanroundtree@yahoo.com 2152473414 Email
325   Lewis          Amber           221 Wood St E                               Norristown PA 19401          USPS Issue               RTS;ia                arcl3669@gmail.com       n/a
326   Sieber         Betty           1515 The Fairway Apt H524                   Jenkintown PA, 19046         Incomplete Declaration   None                                                                 No contact info available
327   Sayre          Rebekah         8007 Woodgate Circle                        Collegeville PA 19426        USPS Issue               RTS; IA               rebekahsayre@gmail.com          484‐213‐9352
328   Tsoleas        Deborah         156 Country View Way                        Telford, PA 18969            Incomplete Declaration   None                  tsoleasd@gmail.com                             Email
329   Beitler        Brianna         1522 Kepler Road                            Pottstown, PA 19464          USPS Issue               RTS; IA               brianna.beitler@gmail.com       610‐850‐2792
330   Pillion        Ann             915 Stoke Rd                                Villanova, PA 19085          Incomplete Declaration   None                  anndickersonpillion@gmail.com                  Email
331   Douglass       Madelene        1619 High Ave                               Willow Grove, PA 19040       Incomplete Declaration   n/a                   trinigroup@gmail.com                           Email
332   Moon           Dana            14 Poe Ave                                  Wyncote, PA 19095            Incomplete Declaration   None                                                                 No contact info available
333   Wheeler        Patricia        301 Pimlico Way                             North Wales, PA 19454        Incomplete Declaration   n/a                   whee683@gmail.com                              Email
334   Baklycki       Jerry           1260 Holstein CT                            Blue Bell, PA 19422          USPS Issue               RTS; IA               baklycki@gmail.com              215‐480‐6823
335   Mathias        Wilda           418 Hoffmansville Rd                        Barto, PA 19504              Incomplete Declaration   None                                                                 No contact info available
336   Sacco          Natalie         1456 Mundock Rd                             Dresher, PA 19025            USPS Issue               RTS;IA                nsacco777@gmail.com             215‐720‐0628
337   Dellecker      Ronald B        7050 Twin Silo Dr                           Blue Bell, PA 19422          Incomplete Declaration   n/a                                                                  No contact info available
338   Mathiaas       Paul            418 Hoffmansville Rd                        Barto, PA 19504              Incomplete Declaration   None                                                                 No contact info available
339   Taylor         Jerome A        206 Ardmore Ave Apt 2                       Ardmore, PA 19003            Incomplete Declaration   n/a                                                   2156265085 Called
340   Sweeney        Margaret        503 Wyndmoor Ave                            Glenside, PA 19038           USPS Issue               RTS;IA                mtsweeney@syr.edu             215‐990‐8706
341   Pinsker        Ronald J        777 W. Germantown Pike 525                  Plymouth Meeting, PA 19462   Resolved                 Completed in Person   ronnie525@comcast.net                      Email                              10/27/2020
342   Avery          Christina       230 Spring Ave W.                           Ardmore, PA, 19003           USPS Issue               RTS;IA                clavery@syr.edu               n/a
343   Barnett        Eric            74 E 5th Ave APT B201                       Collegeville, PA 19426       Incomplete Declaration   n/a                   ebarnett652@gmail.com                      Email
344   Meadowcroft    Douglas         2744 Maplewood Mews                         Audobon PA 19403             USPS Issue               RTS; IA               quinn.meadowcroft@comcast.net 610‐551‐1974
345   Barbera        Albert          1492 Sycamore Ave                           Willow Grove, PA 19090       Incomplete Declaration   n/a                                                                  No contact info available
346   Wilson         Stanley Wayne   500 Manor House Dr Apt C7                   Willow Grove, PA 19090       Incomplete Declaration   n/a                   stanw373@gmail.com                             Email
347   Lenz           Joyce D         417 Exton Rd                                Hatboro, PA 19040            Incomplete Declaration   n/a                                                                  No contact info available
348   Smith          David W         112 Cedar Ave                               W. Conshohocken, PA 19428    Incomplete Declaration   n/a                   smithd0613@gmail.com              4843131412
349   Stephens       Kiersten        1604 Winchester Dr                          Blue Bell, PA 19422          Incomplete Declaration   None                  kleighstep@gmail.com              6094022221 Email
350   Nelson         Donna L         18 Arbour Ct                                Norristown, PA 19403         Incomplete Declaration   n/a                   donnalee3287@aol.com                         Email
351   Maurtua        Alicia          1309 Twin Silo Dr                           Blue Bell, PA 19422          Incomplete Declaration   n/a                                                                  No contact info available
352   Johnson        Sally           372 Foxhound Dr                             Layfayette Hill, PA 19444    Incomplete Declaration   None                                                                 No contact info available
353   Twarogowski    Theresa         1 W 5th St Rear                             Pottstown, PA 19464          Incomplete Declaration   n/a                   theresatwarogowski@gmail.com                   Email
354   Gold           Nancy           301 Norristown Rd APT E105                  Ambler, PA 19002             Incomplete Declaration   None                  nancybgold@aol.com                             Email
355   Saponaro       Cynthia         6118 Creekside Dr                           Flourtown, PA 19031          Incomplete Declaration   n/a                                                                  No contact info available
356   Glickstein     Joann M         3855 Blair Mill Rd Apt 202M                 Horsham, PA 19044            Incomplete Declaration   n/a                                                                  No contact info available
357   Moffatt        Joyce           1307 W. Beech St                            Norristown PA 19401          Incomplete Declaration   None                                                                 No contact info available
358   Hossain        Mohammad M      1007 Poplar St                              Lansdale, PA 19446           Incomplete Declaration   n/a                   hossainm46@yahoo.com                           Email
359   Exley          Charles         372 Pebble Beach Dr                         Linfield PA 19468            Incomplete Declaration   None                                                                 No contact info available
360   Reynolds       Arlene          284 Bradford Ln                             Lansdale, PA 19446‐6620      Incomplete Declaration   n/a                                                                  No contact info available
361   Jerry          Meredith        240 Deerfield Way                           Pottstown, PA 19464          Incomplete Declaration   n/a                   mjerry0908@yahoo.com                           Email

                                                                                                                  Page 70 of 124
                                                                   Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 71 of 124


              I                J                 K                              L                             M                                         N                                              O                       P                 Q                      R
 1    Last Name     First name     Address Line 1                Address Line 2                   Issue                    Note                                                           Email2                       Phone          Contacted?                  resolved date
362   Bass          Svetlana       1509 Yeager Rd                Royersford PA 19408              Incomplete Declaration   None                                                           lmatyushkina@hotmail.com                    Email
363   Hill          Joseph D       600 W Valley Forge Rd         King of Prussia, PA 19406‐1571   Incomplete Declaration   n/a                                                                                           6105740211
364   Ford          Katharine      NA                            NA                               Incomplete Declaration   None                                                                                                       No contact info available
365   Ecker         Helen H        5211 Twin Silo Dr.            Blue Bell, PA 19422              Incomplete Declaration   n/a                                                            peck66@comcast.net                          Email
366   McMonagle     Madeline       322 W 10th Ave                Conshohocken, PA 19428‐1414      Incomplete Declaration   n/a                                                                                           6108281079
367   McCormick     Patricia Ann   204 Wisteria Dr               Limerick PA 19468                Incomplete Declaration   None                                                                                                       No contact info available
368   Schaeffer     Walter H       2849 Big Road                 Zieglersville, PA 19492          Incomplete Declaration   n/a                                                                                           6106522332 Called
369   Neiffer       Helen          NA                            NA                               Incomplete Declaration   None                                                                                                       No contact info available
370   Benton        Nettie Sue     n/a                           n/a                              Incomplete Declaration   n/a                                                                                                        No contact info available
371   Gansner       David A        41 Hampton Ct                 Norristown, PA 19403             Incomplete Declaration   n/a                                                            davidgansner@gmail.com                    Email
372   Ambs          Cynthia        208 W Seventh Ave             Conshohocken PA 19428            Incomplete Declaration   None                                                           cindyambs@gmail.com                       Email
373   Yost          Jolyn M        n/a                           n/a                              Incomplete Declaration   n/a                                                            honda1026@verizon.net          2152348260 Email
374   Morris        Pamela         5012 Prescott Circle          Eagleville PA 19403              Incomplete Declaration   None                                                                                                       No contact info available
375   Cohen         Mark           616 Jennifer Drive            Dresher, PA 19025                Incomplete Declaration   n/a                                                            mcohen918@verizon.net                       Email
376   Swan          Constance H    3202 Twin Silo Dr             Blue Bell, PA 19422‐3284         Incomplete Declaration   n/a                                                            swany94@comcast.net                         Email
377   Manley        Helen          2124 Berrell Ave              Abington, PA 19001               No secrecy envelope      n/a                                                            N/A                          N/A            No contact info available
378   Santillo      Anthony        322 Hoffmansville Rd          Bechtelsville, PA 19505          Name disconnect          Name does not match                                            asgiii63@yahoo.com             2152662524
379   Young         Stewart M      55 West 2nd Street            Red Hill, PA 18076               wrong envelope           n/a                                                                                                        No contact info available
380   Short         Kevin          229 Simpson Rd                Ardmore PA 199003                Name disconnect          Name does not match                                            kevmackusmc@gmail.com        N/A
381   Zezenski      Mittie         312 E. Race St                Stowe PA 19464                   Name disconnect          Two Different Names                                            N/A                            6103235772
382   Russo         Carolyn        32 Pebble Beach Drive         Linfield, PA 19468               Name disconnect          Two Different Names                                            tenngolf541@gmail.com          6108424399
383   Fiske         Peter          331 Jefferson St              Bridgeport PA 19405              Name disconnect          Two different names                                            peterfiske@hotmail.com       N/A
384   Alexander     Joanne         8 Grandview Dr                Telford, PA 18969                Name disconnect          Husbands Name                                                  jojam45@gmail.com            N/A
385   Toepel        Shirley        69 Peachtree Circle           Pottstown, PA 19464              Name disconnect          Two different names                                            rstoepel@aol.com             N/A
386   Russo         Pierre         321 Myrtle LN                 Narberth, PA 19072               Name disconnect          Two different names                                            russo@email.chop.edu         N/A
387   Regan         Thomas         835 Spring House Farm Lane    Amber, PA 19002                  Name disconnect          Husband filled out wife's ballot                               thomas.regan@hotmail.com     N/A
388   Eagleson      Gwendolyn      2255 Dock Drive               Lansdale, PA 19446               Damaged                  Envelope ripped                                                                                            No contact info available
389   Gerhart       Mark           177 Joan Drive                Collegeville, PA 19426           Damaged                  Envelope ripped                                                                                            No contact info available
390   Currie        Elizabeth      770 Harrison Ave              Glenside, PA 19038               Damaged                  Envelope ripped                                                                                            No contact info available
391   Harp          Leroy          2710 Standbridge St           Norritstown, PA 19401            Damaged                  Envelope ripped                                                                                            No contact info available
392   Ward          Joanne         2158 Susquehanna Rd           Abington, PA 19001               Name disconnect          Voter filled out someone else's ballot at satellite location   N/A                          N/A            No contact info available
393   Stith         Christopher    1621 Old York Road            Abington, PA 19001               Incomplete Declaration   Date missing                                                                                               No contact info available
394   Maiello       Fern           32 Fox Chase Drive            North Wales, PA 19454            Incomplete Declaration   Date missing                                                                                               No contact info available
395   Morris        Sarah          233 Tulip Tree Court          Blue Bell, PA 19422              Incomplete Declaration   Date missing                                                                                               No contact info available
396   Hunter        Martha         439 Vincent Rd                Willow Grove, PA 19090           Incomplete Declaration   Date missing                                                                                               No contact info available
397   Mendoza       Ricardo        1000 Queen St Apt 6           Pottstown, PA 19464              Damaged                  Envelope ripped                                                                                            No contact info available
398   Aveyard       Richard        1801 Avenel Blvd              North Wales, PA 19454            Incomplete Declaration   Date missing                                                                                               No contact info available
399   Hurst         Denise         250 MACDONALD AVE.            WYNCOTE, PA 19095                No secrecy envelope                                                                     demh1958@gmail.com           N/A            Email
400   BALANI        PREM           109 CASTLE DRIVE              NORTH WALES, PA 19454            Incomplete Declaration   DATE MISSING                                                                                               No contact info available
401   GROSSMAN      RICHARD        190 PRESIDENTIAL BLVD APT 709 BALA‐CYNWYD, PA 19004            No secrecy envelope                                                                     konrich709@comcast.net       N/A            Email
402   BROUGH        JAMES          31 E 2ND ST                   LANSDALE, PA 19446               Incomplete Declaration   DATE MISSING                                                                                               No contact info available
403   WEILER        AMANDA         8470 LIMEKILN PIKE            WYNCOTE, PA 19095                Incomplete Declaration   DATE MISSING                                                                                               No contact info available
404   BRANDT        RACHEL         2445 AYRESDON AVE             HUNTINGDON VLY, PA 19006         No secrecy envelope                                                                     jbrandt@financialguide.com   N/A            Email
405   SCHLESINGER   SUZANNE        111 COLWYN TERRACE            LANSDALE, PA 19446               Incomplete Declaration   DATE MISSING                                                                                               No contact info available
406   BILINSKI      MICHAEL        603 PENNBROOK AVE             LANSDALE, PA 19446               No secrecy envelope                                                                     N/A                          N/A            No contact info available


                                                                                                      Page 71 of 124
                                                                             Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 72 of 124


             I                J                       K                                        L                                   M                               N                                    O                   P                 Q                      R
 1    Last Name     First name      Address Line 1                                       Address Line 2                Issue                    Note                                        Email2                    Phone        Contacted?                  resolved date
407   HOOVER        CAROLYN         110 FOREST AVE APT A                                 AMBLER, PA 19002              No secrecy envelope                                                  choover518@comcast.net      2155429174 duplicate
408   SZCZUREK      GENEVIEVE       26 NORTH AVE                                         WYNCOTE, PA 19095             No secrecy envelope                                                                                         No contact info available
409   STRICKER      CARRIE          203 STEPNEY PL                                       NARBERTH PA 19072             No secrecy envelope                                                                                         No contact info available
410   CIONGOLI      SUZANNE         211 BROUGHTON LN                                     VILLANOVA, PA 19085           No secrecy envelope                                                                                         No contact info available
411   AREVALO       KATHLEEN        1707 BUTLER PIKE E.                                  AMBLER PA 19002               Incomplete Declaration   NO DATE                                                                            No contact info available
412   HONG          JAMES           101 JONATHAN DR                                      NORTH WALES, PA 19454         No secrecy envelope                                                                                         No contact info available
413   WILKINS       MERCEDES        255 LINDEN AVE                                       GLENSIDE, PA 19038            Incomplete Declaration   DID NOT PRINT NAME                                                                 No contact info available
414   SIN           SONG S          115 DAMSON LN                                        NORTH WALES, PA 19454         No secrecy envelope                                                                                         duplicate
415   SHAW          CHARLOTTE E     304 HAMEL AVE                                        GLENSIDE PA 19038             Incomplete Declaration   NO DATE, NO ADDRESS                                                                No contact info available
416   JOZEFOWSKI    ROBERT          1516 SCHWAB RD                                       HATFIELD, PA 19440            Incomplete Declaration   NO DATE                                                                            No contact info available
417   OH            SON             904 BARBARAS CT                                      NORTH WALES, PA 19454         No secrecy envelope                                                                                         duplicate
418   HOLT          WILLIAM A JR.   2564 RUBICAM AVE                                     WILLOW GROVE PA 19090         Incomplete Declaration   NO DATE, NO ADDRESS                                                                No contact info available
419   WEISS         HEDY            1010 BOXWOOD COURT                                   KING OF PRUSSIA, PA 19406     No secrecy envelope                                                                                         duplicate
420   COLADONATO    HELLEN LINDA    2628 ROSSITER AVE                                    ABINGTON PA 19001             Incomplete Declaration   NO ADDRESS                                                                         No contact info available
421   VINCI         CHRISTINA       399 E. 3RD ST                                        LANSDALE, PA 19446            Incomplete Declaration   NO ADDRESS, OR PRINT NAME                                                          No contact info available
422   MENDEZ        LINDA M         437 ELEVENTH AVE E                                   CONSHOHOCKEN PA 19428         Incomplete Declaration   NO ADDRESS                                                                         No contact info available
423   GIBSON        PAUL            1705 LOCUST ST APT. 118                              NORRISTOWN, PA 19401          Incomplete Declaration   DECLARATION NOT COMPLETED                                                          No contact info available
424   KOHN          HARRY           509 OAK RD                                           MERION STATION, PA 19066      No secrecy envelope                                                                                         duplicate
425   LANE          MARGARET M      1146 WILSON AVE                                      ABINGTON PA 19001             Incomplete Declaration   NO ADDRESS                                                                         No contact info available
426   YI            SUK KYUNG       2237 DOCK DRIVE                                      LANSDALE, PA 19446            No secrecy envelope                                                                                         duplicate
427   BENSON        PATRICIA        2833 ROSSITER AVE                                    ABINGTON PA 19001             Incomplete Declaration   NO ADDRESS                                                                         No contact info available
428   DIGIACOMO     RUDOLPH         1170 E. DEKALB PIKE                                  KING OF PRUSSIA, PA 19406     Incomplete Declaration   NO DATE, PRINT NAME, ADDRESS                                                       No contact info available
429   YOUNG         CELIA           611 GREEN STREET                                     NORRISTOWN PA 19401           No secrecy envelope                                                  celiabriana@outlook.com   N/A          duplicate
430   OSISEK        EDMUND M        1045 MAYKUT AVE                                      COLLEGEVILLE PA 19426         Incomplete Declaration   NO ADDRESS                                                                         No contact info available
431   SCHAEFFER     RUTH            2849 BIG RD APT. 1103                                ZIEGLERSVILLE, PA 19492       Incomplete Declaration   NO SIGNATURE, DATE, PRINT NAME, ADDRESS                                            No contact info available
432   MOSZCZYNSKI   BERNARD K       751 WELSH RD APT 112                                 HUNTINGTON VALLEY PA 19006    Incomplete Declaration   NO ADDRESS                                                                         No contact info available
433   MURRAY        VINCENT         1261 RANDY DRIVE                                     POTTSTOWN, PA 19464           No secrecy envelope                                                  xcelnt999@yahoo.com       N/A          Email
434   LINQUIST      RICHARD         552 WOODWARD DRIVE                                   HUNTINGDON VALLEY, PA 19006   Incomplete Declaration   NO PRINT NAME, ADDRESS                                                             No contact info available
435   DALTON        ALLEN ROBERT    2508 TERRACE DR                                      NORRISTOWN PA 19401           Resolved                 Completed in Person                                                                No contact info available      10/29/2020
436   MURRAY        EILEEN          105 COLONIAL DRIVE                                   NORRISTOWN PA 19403           Resolved                 Completed in Person emurray1106@gmail.com                             N/A          Email                              28‐Oct
437   BUMBERA       ANNA M          428 WOODBINE AVE S                                   NARBERTH PA 19072             Incomplete Declaration   NO ADDRESS                                                                         No contact info available
438   STALKER       DOREEN          306 INDEPENDENCE RD                                  KING OF PRUSSIA, PA 19406     Incomplete Declaration   NO DATE, PRINT NAME OR ADDRESS                                                     No contact info available
439   MORALES       FABIAN          119 SELMA ST                                         NORRISTOWN, PA 19401          No secrecy envelope                                                  morales.3662@gmail.com    N/A          Email
440   BUMBERA       ROBERT V        428 WOODBINE AVE S                                   NARBERTH PA 19072             Incomplete Declaration   NO ADDRESS                                                                         No contact info available
441   DIGIACOMO     FRANCES         1170 E. DEKALB PIKE                                  KING OF PRUSSIA, PA 19406     Incomplete Declaration   NO DATE, PRINT NAME OR ADDRESS                                                     No contact info available
442   BUCHANAN      M RUSSEL        2803 STANBRIDGE ST APT B810                          NORRISTOWN PA 19401           Incomplete Declaration   NO DATE, NO ADDRESS                                                                No contact info available
443   SHIREY        JANE            110 S ROLAND ST                                      POTTSTOWN, PA 19464           Incomplete Declaration   NO PRINT NAME OR ADDRESS                                                           No contact info available
444   INTERRANTE    AUGUSTINE       1914 W. MAIN ST APT 2FL                              NORRISTOWN, PA 19403          No secrecy envelope                                                  N/A                         6105394281 Called
445   SHIREY        MERRILL         110 S ROLAND ST                                      POTTSTOWN, PA 19464           Incomplete Declaration   NO PRINT NAME OR ADDRESS                                                           No contact info available
446   KIM           YOUNG SIK       375 HIGHGATE DRIVE                                   AMBLER PA 19002               No secrecy envelope                                                  kpnkinc@yahoo.com           2672315607 Email
447   CARON         LORETTA         900 W WELSH RD                                       AMBLER, PA 19002              Incomplete Declaration   NO SIGNATURE, DATE, PRINT NAME OR ADDRESS                                          No contact info available
448   DARLING       RODERICK R      1705 LOCUST ST APT 210 RITTENHOUSE SCHOOL APARTMENTS NORRISTOWN PA 19401           Incomplete Declaration   NO ADDRESS                                                                         No contact info available
449   RUSH          CATHERINE       666 GERMANTOWN PIKE WEST APT 1603 PLYMOUTH MEETING, PA 19462                       No secrecy envelope                         N/A                                                N/A          No contact info available
450   CELL          PAULA           302 FOULKEWAYS                                       GWYNEDD, PA 19436             Incomplete Declaration   INCOMPLETE ADDRESS                                                                 No contact info available
451   BEAN          JOYCE ANN       2801 STANBRIDGE ST APT A616 NORRISTOWN PA 19401                                    Incomplete Declaration   NO ADDRESS         NA                                                 NA           No contact info available


                                                                                                                           Page 72 of 124
                                                                Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 73 of 124


            I               J                   K                           L                           M                               N                         O                              P                   Q                      R
 1    Last Name    First name       Address Line 1             Address Line 2               Issue                    Note                                      Email2                    Phone            Contacted?                  resolved date
452   KOSMIN       JODI ELLEN       103 GREEN TREE TAVERN RD   NORTH WALES, PA 19454        Incomplete Declaration   NO DATE, PRINT NAME OR ADDRESS NA                                   NA               No contact info available
453   JACKSON      ERICA            x                          x                            Incomplete Declaration   NO ADDRESS                                RICKYXJACKSON@GMAIL.COM   NA               Email
454   YOUNG        KIMBERLY         X                          S                            Incomplete Declaration   NO ADDRESS                                NA                        NA               No contact info available
455   JANG         WON SUK          X                          X                            Incomplete Declaration   NO PRINT NAME OR ADDRESS WSJ44@HOTMAIL.COM                          NA               Email
456   KRANE        FRANCES T        1115 OLD GULPH RD          BRYN MAWR PA 19010           Incomplete Declaration   NO ADDRESS                                NA                        NA               No contact info available
457   HOMONEY      MEGAN            X                          X                            Incomplete Declaration   NO ADDRESS                                NAGEM07@YAHOO.COM         NA               Email
458   LADD         HELEN J          3430 HUNTINGTON PK         HUNTINGTON VALLEY PA 19006   Incomplete Declaration   NO ADDRESS                                SKRIPA29@MSN.COM                           Email
459   SABANAS      KATHY            2913 DARMOUTH DR           HATFIELD, PA 19440           Incomplete Declaration   NO PRINT NAME OR ADDRESS NA                                         NA           No contact info available
460   FOXWORTH     JEWELL D         1070 EASTON RD APT 1       ABINGTON PA 19001            Incomplete Declaration   NO ADDRESS                                NA                        NA           No contact info available
461   GABRIEL      RICHARD JAMES    X                          X                            Incomplete Declaration   NO PRINT NAME OR ADDRESS NA                                         NA           No contact info available
462   GABRIEL      ANNE MARIE       X                          X                            Incomplete Declaration   NO PRINT NAME OR ADDRESS NA                                         NA           No contact info available
463   KIESLING     LYNN             337 COTTAGE AVE UNIT B     HORSHAM, PA 19044            Incomplete Declaration   NO PRINT NAME OR ADDRESS RAILROADRON3@YAHOO.COM                     215‐773‐8063 Email
464   KIESLING     RONALD           337 COTTAGE AVE            HORSHAM, PA 19044            Incomplete Declaration   NO PRINT NAME OR ADDRESS NA                                         NA           No contact info available
465   YOUNG        MELISSA F        141 GOSHEN RD              SCHWENKSVILLE PA 19473       Incomplete Declaration   NO ADDRESS                                NA                        NA           No contact info available
466   STANKUNAS    LINDA VIOLA      521 GAME FARM RD           SCHWENKSVILLE, PA 19473      Incomplete Declaration   NO PRINT NAME OR ADDRESS NA                                         NA           No contact info available
467   STANKUNAS    GREGORY          521 GAME FARM RD           SCHWENKSVILLE, PA 19473      Incomplete Declaration   NO PRINT NAME OR ADDRESS NA                                         NA           No contact info available
468   ABBOTT       JANE PETTUS      2042 IVYWOOD LN            VILLANOVA PA 19085           Incomplete Declaration   NO ADDRESS                                NA                        NA           No contact info available
469   CUNNINGHAM   BARBARA          115 GROVE AVE              CHELTENHAM, PA 19012         Incomplete Declaration   NO PRINT NAME, ADDRESS NA                                           NA           No contact info available
470   CUNNINGHAM   MARY             115 GROVE AVE              CHELTENHAM, PA 19012         Incomplete Declaration   NO PRINT NAME OR ADDRESS NA                                         NA           No contact info available
471   NEAL         KAREN            1771 OLD YORK RD           ABINGTON, PA 19001           Incomplete Declaration   NO PRINT NAME OR ADDRESS NA                                         267‐439‐9413 Called
472   WENRICH      MARYANN L        414 STORE RD               HARLEYSVILLE PA 19438        Incomplete Declaration   NO ADDRESS                                NA                        NA           No contact info available
473   FISHER       HELENE           1684 PEMBROOK RD           MAPLE GLEN, PA 19002         Incomplete Declaration   NO PRINT NAME OR ADDRESS NA                                         NA           No contact info available
474   FISHER       GARY             1684 PEMBROOK RD           MAPLE GLEN, PA 19002         Incomplete Declaration   NO PRINT NAME OR ADDRESS NA                                         NA           No contact info available
475   MAHONEY      ALICIA           451 FRANCIS AVE            AMBLER, PA 19002             Incomplete Declaration   NO PRINT NAME OR ADDRESS NA                                         NA           No contact info available
476   CHUNG        HE UN            920 SPRING AVE             ELKINS PARK, PA 19027        Incomplete Declaration   NO SIGNATURE, DATE, PRINT NAME OR ADDRESS NA                        NA           No contact info available
477   WALTON       SHERRY P         207 BROAD ST E             SOUDERTON PA 18964           Incomplete Declaration   NO ADDRESS                                NA                        NA           No contact info available
478   GIRGIS       MARIAM           933 GREEN ST               BRIDGEPORT, PA 19405         Incomplete Declaration   NO SIGNATURE, DATE, PRINT NAME OR ADDRESS LABEEPMALAK@YAHOO.COM     NA           Email
479   REIVER       FLORENCE         50 BELMONT AVE 405         BALA CYNWYD, PA 19004        Incomplete Declaration   NO SIGNATURE, DATE, PRINT NAME OR ADDRESS NA                        NA           No contact info available
480   WILLIAMS     CARNELL          1441 OSBOURNE AVE          ABINGTON PA 19001            Incomplete Declaration   NO ADDRESS                                NA                        NA           No contact info available
481   SOMMERS      PATRICIA E       4805 FOX LN                SCHWENKSVILLE PA 19473       Incomplete Declaration   NO ADDRESS                                                          NA           No contact info available
482   ZAREMBA      GLORIA           2255 DOCK DR               LANSDALE, PA 19446           Incomplete Declaration   NO SIGNATURE, DATE, PRINT NAME OR ADDRESS                                            No contact info available
483   BRAND        TRACY            2416 WAGNER RD             GILBERTSVILLE, PA 19525      Incomplete Declaration   NO SIGNATURE, DATE, PRINT NAME OR ADDRESS                                            No contact info available
484   GROARK       JOANN T          4805 FOX LN                SCHWENKSVILLE PA 19473       Incomplete Declaration   NO ADDRESS                                                                           No contact info available
485   THOMAS       KINA JOLIENNE    1030 SPRING VALLEY RD      JENKINTOWN, PA 19406         Incomplete Declaration   NO PRINT NAME                                                                        No contact info available
486   JOHNSON      CHINO            1702 DARTMOUTH DR          NORRISTOWN, PA 19401         Incomplete Declaration   NO PRINT NAME                                                                        No contact info available
487   SADACCA      JOSPHINE G       6229 SHANNONDELL DR        AUDUBON PA 19403             Incomplete Declaration   NO ADDRESS, NO DATE                                                                  No contact info available
488   SILVERMAN    MELVIN           1268 RYDAL RD              JENKINTOWN, PA 19046         Incomplete Declaration   NO SIGNATURE, DATE, PRINT NAME OR ADDRESS                                            No contact info available
489   BREWSTEIN    AMY              317 MARVIN RD              ELKINS PARK, PA 19027        Incomplete Declaration   NO SIGNATURE, DATE, PRINT NAME OR ADDRESS                                            No contact info available
490   MORAN        FRANK M          116 FAIRVIEW AVE           BALA CYNWYD PA 19004         Incomplete Declaration   NO ADDRESS, NO DATE                                                                  No contact info available
491   BORITS       JOSEPH GENE      123 DIAMOND ST             HATFIELD, PA 19440           Incomplete Declaration   NO SIGNATURE, DATE, PRINT NAME OR ADDRESS                                            No contact info available
492   LENHART      JOSEPHINE        560 OAK DR APT. 120        HARLEYSVILLE, PA 19438       Incomplete Declaration   NO SIGNATURE, DATE, PRINT NAME OR ADDRESS                                            No contact info available
493   ROANE        ANTHONY          422 MAIN ST APT 3          HARLEYSVILLE, PA 19438       Incomplete Declaration   NO SIGNATURE                                                                         No contact info available
494   MCQUAID      ELIZABETH JEAN   602 BROAD ST N APT 106     LANSDALE, PA 19446           Incomplete Declaration   NO SIGNATURE, DATE, PRINT NAME OR ADDRESS                                            No contact info available
495   MILLIGAN     WALLACE SCOTT    122 HOLLY DRIVE            HATBORO, PA 19040            Incomplete Declaration   NO SIGNATURE                                                                         No contact info available
496   SHEEDY       NANCY C          124 BARLEY SHEAF DR        NORRISTOWN PA 19403          Incomplete Declaration   NO ADDRESS                                                                           No contact info available


                                                                                                Page 73 of 124
                                                                                Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 74 of 124


                I                     J                       K                             L                            M                               N                                 O           P              Q                      R
 1    Last Name              First name           Address Line 1               Address Line 2                Issue                    Note                                        Email2       Phone       Contacted?                  resolved date
497   HILL                   DAVID                51 MAIN ST E 2               LANSDALE, PA 19446            Incomplete Declaration   NO SIGNATURE                                                         No contact info available
498   JOHANN                 ALISSA MARY          258 MORRIS RD                HARLEYSVILLE, PA 19438        Incomplete Declaration   NO SIGNATURE                                                         No contact info available
499   MORROTTO               VINCENT              119 NEWPORT LN               NORTH WALES, PA 19454         Incomplete Declaration   NO SIGNATURE, DATE, PRINT NAME OR ADDRESS                            No contact info available
500   NOVICK                 IRENE                52 CASSELBERRY DR            AUDUBON, PA 19403             Incomplete Declaration   NO SIGNATURE OR DATE                                                 No contact info available
501   INGRAM                 SYLVESTER            2617 DEKALB PIKE APT 309     NORRISTOWN, PA 19401          Incomplete Declaration   NO SIGNATURE, DATE, ADDRESS                                          No contact info available
502   AHN                    SAE HWAN             2254 DOCK DR                 LANSDALE, PA 19446            Incomplete Declaration   NO SIGNATURE, DATE, PRINT NAME OR ADDRESS                            No contact info available
503   DESTEFANO              KATHLEEN E           301 UNION AVE                BRIDGEPORT PA 19405           RESOLVED                 COMPLETED IN PERSON                                                  No contact info available      10/30/2020
504   AHN                    MYUNG OCK            2254 DOCK DR                 LANSDALE, PA 19446            Incomplete Declaration   NO SIGNATURE, DATE, PRINT NAME OR ADDRESS                            No contact info available
505   LANE                   BERLIN B             1146 WILSON AVE              ABINGTON PA 19001             Incomplete Declaration   NO ADDRESS                                                           No contact info available
506   DUNMORE                DEMEKA               325 MOORE ST                 NORRISTOWN, PA 19401          Incomplete Declaration   NO SIGNATURE, DATE, PRINT NAME OR ADDRESS                            No contact info available
507   HAND                   CAROL JANE           402 MAIN ST APT 2            SOUDERTON, PA 18964           Incomplete Declaration   NO SIGNATURE                                                         No contact info available
508   MOLNAR                 DANIEL               32 SCHOOL LN N               SOUDERTON, PA 18964           Incomplete Declaration   NO SIGNATURE                                                         No contact info available
509   OSISEK                 LORRAINE A           1045 MAYKUT AVE              COLLEGEVILLE PA 19426         Incomplete Declaration   NO ADDRESS                                                           No contact info available
510   DASCHER                CHRISTOPHER JOSEPH   305 GREEN HILL RD            WILLOW GROVE, PA 19090        Incomplete Declaration   NO SIGNATURE                                                         No contact info available
511   BRAVO                  YADIRA IVELISSE      768 FARMINGTON AVE           POTTSTOWN, PA 19464           Incomplete Declaration   NO SIGNATURE, DATE, PRINT NAME OR ADDRESS                            No contact info available
512   JADROSICH              PETER                512 SPRING AVE E             ARDMORE, PA 19003             Incomplete Declaration   NO SIGNATURE                                                         No contact info available
513   MOSZCZYNSKI            CLELIA A             753 WELSH RD APT 112         HUNTINGTON VALLEY PA 19006    Incomplete Declaration   NO ADDRESS                                                           No contact info available
514   NAVARRO                GENIENNE             134 ARNOLD RD                ARDMORE, PA 19003             Incomplete Declaration   NO SIGNATURE, DATE, PRINT NAME OR ADDRESS                            No contact info available
515   OBER                   NANCY                1250 GREENWOOD AVE APT 523   JENKINTOWN PA 19046           Incomplete Declaration   NO ADDRESS                                                           No contact info available
516   WALSH                  TERRY                706 CHESTNUT ST              COLLEGEVILLE, PA 19426        Incomplete Declaration   NO SIGNATURE                                                         No contact info available
517   MARTIN                 ANN                  501 HIGH ST APT 501          POTTSTOWN, PA 19464           Incomplete Declaration   NO SIGNATURE, DATE, PRINT NAME OR ADDRESS                            No contact info available
518   SOBOLUSKY              ANDREW C SR          2629 VINE ST E               HATFIELD PA 19440             Incomplete Declaration   NO ADDRESS                                                           No contact info available
519   SEIDEL                 JODI HELENE          476 AMHERST CT               HARLEYSVILLE, PA 19438        Incomplete Declaration   NO SIGNATURE, DATE, PRINT NAME OR ADDRESS                            No contact info available
520   STURMAN                CAROL J              1509 ASHBOURNE RD APT 211    ELKINS PARK PA 19027          Incomplete Declaration   NO DATE, NO ADDRESS                                                  No contact info available
521   MUSCATELLO             PATRICIA JANE        34 CALVARY DR                HORSHAM, PA 19044             Incomplete Declaration   NO SIGNATURE, DATE, PRINT NAME OR ADDRESS                            No contact info available
522   HARRIS                 JEFFERY ALLAN        7620 DOE LN                  GLENSIDE PA 19038             Incomplete Declaration   NO DATE, NO ADDRESS                                                  No contact info available
523   TERLECKY               DANIEL CALVIN        1300 FAYETTE ST APT 272      CONSHOHOCKEN, PA 19428        Incomplete Declaration   NO SIGNATURE, DATE, PRINT NAME OR ADDRESS                            No contact info available
524   CRAWFORD               ANNA MAE             1215 FITZWATERTOWN RD        ABINGTON, PA 19001            Incomplete Declaration   NO SIGNATURE, ADDRESS                                                No contact info available
525   WALLER                 ELEANOR              629 KOHN ST                  NORRISTOWN PA 19401           Incomplete Declaration   NO ADDRESS                                                           No contact info available
526   CASPER                 JASMINE STARR        178 KLINGERMAN RD            TELFORD, PA 18969             Incomplete Declaration   NO SIGNATURE, DATE, PRINT NAME OR ADDRESS                            No contact info available
527   SINGH                  AMARJEET             111 DESTINY WAY              NORTH WHALES PA 19454         Incomplete Declaration   NO ADDRESS                                                           No contact info available
528   SHERR                  RONALD               215 PLYMOUTH RD APT. 4103    PLYMOUTH MEETING, PA 19462    Incomplete Declaration   NO SIGNATURE, DATE, PRINT NAME OR ADDRESS                            No contact info available
529   BURTON SCOTT           SHIRLEY              252 RUSCOMBE AVE             GLENSIDE PA 19038             Incomplete Declaration   NO PRINT NAME OR ADDRESS                                             No contact info available
530   MILLER                 REBECCA              1239 NOLEN RD                ABINGTON, PA 19001            Incomplete Declaration   NO SIGNATURE, DATE, PRINT NAME OR ADDRESS                            No contact info available
531   OH                     PAUL BANGHWAN        920 SPRING AVE               ELKINS PARK PA 19027          Incomplete Declaration   NO SIGNATURE, DATE, PRINT NAME OR ADDRESS                            No contact info available
532   RICE                   ELAINE               1304 JAMES ST W              NORRISTOWN, PA 19401          Incomplete Declaration   NO SIGNATURE, DATE, PRINT NAME OR ADDRESS                            No contact info available
533   FIGUEROA               FERNANDO             3131 PROSPECT AVE C10        BRIDGEPORT, PA 19405          Incomplete Declaration   NO ADDRESS                                                           No contact info available
534   SANDERS                MARILYN              728 NORRISTOWN RD            LOWER GWYNEDD, PA 19002       Incomplete Declaration   NO DATE                                                              No contact info available
535   PALMER                 LESLIE MARIE         2820 EAGLEVILLE RD           AUDUBON, PA 19403             Incomplete Declaration   NO DATE                                                              No contact info available
536   SLADE                  TERRI G              604 HAMILTON RD              EAST GREENVILLE PA 18041      Incomplete Declaration   NO ADDRESS                                                           No contact info available
537   CHARLESTON ROSENBERG   CINDY                2814 EDGE HILL RD            HUNTINGDON VALLEY, PA 19006   Incomplete Declaration   NO DATE                                                              No contact info available
538   JACKSON                KIMBERLY             11 CHELTENHAM AVE            CHELTENHAM PA 19012           Incomplete Declaration   NO DATE, NO ADDRESS                                                  No contact info available
539   STASIW                 GAIL                 19 OLD DUTCH RD              HARLEYSVILLE, PA 19438        Incomplete Declaration   NO DATE                                                              No contact info available
540   MILLS                  ADELENE S            1619 HIGH AVE                WILLOW GROVE PA 19090         Incomplete Declaration   NO ADDRESS                                                           No contact info available
541   DEBOW                  LINDA                105 FAIRVIEW AVE             HATBORO, PA 19040             Incomplete Declaration   NO PRINT NAME                                                        No contact info available


                                                                                                                 Page 74 of 124
                                                                              Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 75 of 124


              I                   J                        K                              L                         M                                     N                                           O                                        P                 Q                      R
 1    Last Name         First name          Address Line 1                   Address Line 2             Issue                    Note                                                   Email2                                         Phone          Contacted?                  resolved date
542   DAVIGNON          ELODIE              3878 JANET COURT                 COLLEGEVILLE, PA 19426     Incomplete Declaration   NO DATE                                                                                                              No contact info available
543   SABIITI           MAATE JOSHUA        18 TRENT RD                      WYNNEWOOD PA 19096         Incomplete Declaration   NO ADDRESS                                                                                                           No contact info available
544   GUILD             ROBERT              1002 CROSS RD                    SCHWENSKVILLE, PA 19473    Incomplete Declaration   NO DATE                                                                                                              No contact info available
545   ONWULATA          CHARLES             103 HILLDALE RD                  CHELTENHAM, PA 19012       Incomplete Declaration   NO DATE, PRINT NAME OR ADDRESS                                                                                       No contact info available
546   SPOSATO           GIUSEPPE            211 ASHLAND AVE                  BALA CYNWYD PA 19004       Incomplete Declaration   NO ADDRESS, NO DATE                                                                                                  No contact info available
547   ALLEN             THOMAS              424 FLOURTOWN RD                 LAFAYETTE HILL, PA 19444   Incomplete Declaration   NO DATE                                                                                                              No contact info available
548   BOYER             DEBORAH A           33 SWINEHART RD APT C8           BOYERTOWN PA 19512         Incomplete Declaration   NO ADDRESS                                                                                                           No contact info available
549   BRAYER            HOLLIE              242 IRONWOOD CIR                 ELKINS PARK, PA 19027      Incomplete Declaration   NO DATE                                                                                                              No contact info available
550   LAYLAND           BARBARA             100 WEST AVE SB 19               JENKINTOWN, PA 19046       Incomplete Declaration   NO PRINT NAME OR ADDRESS                                                                                             No contact info available
551   PENA              VICTOR              1022 TENNIS AVE                  GLENSIDE, PA 19038         Incomplete Declaration   NO PRINT NAME OR ADDRESS                                                                                             No contact info available
552   PENA              CATHERINE           1022 TENNIS AVE                  GLENSIDE, PA 19038         Incomplete Declaration   NO ADDRESS                                                                                                           No contact info available
553   JOHNSON‐SNELL     ROBERTA             8740 LIMEKILN PIKE APT B110      WYNCOTE, PA 19095          Incomplete Declaration   NO PRINT NAME OR ADDRESS                                                                                             No contact info available
554   CAGE              ERNESTINE FELICA    2905 SUNSET AVE                  NORRISTOWN, PA 19403       Incomplete Declaration   NO SIGNATURE                                                                                                         No contact info available
555   ALLEN             LINDA               424 FLOURTOWN RD                 LAFAYETTE HILL PA 19444    Incomplete Declaration   NO DATE                                                                                                              No contact info available
556   WILSON            JUDITH              299 BALLIGOMINGO RD              CONSHOHOCKEN, PA 19428     Incomplete Declaration   NO DATE                                                                                                              No contact info available
557   HARGROVE          SYDNEY CHAYE        112 PINETOWN RD                  AUDUBON, PA 19403          Incomplete Declaration   NO ADDRESS                                                                                                           No contact info available
558   DAWSON            RICHARD EDWARD      204 BARCLAY CIR                  CHELTENHAM, PA 19012       Incomplete Declaration   NO PRINT NAME                                                                                                        No contact info available
559   Kameswari         Akkaraju            3324 Locust Dr                   Huntingdon Vly, PA 19006   USPS Issue               RTS                                                                                                                  No contact info available
560   Rashid            Hassan              1151 Pileggi Ct                  Ambler, PA 19002           USPS Issue               RTS, not deliverable as addressed, unable to forward   15has.rashid@gmail.com
561   Fabiosa           carl                1529, Dekalb street Uni 130      Norristown PA,19401        USPS Issue                                                                      cjfabiosa25@gmail.com                          215‐707‐5014
562   Braitman          Shayna Morgan       1728 Brittany Dr                 Maple Glen, PA 19002       USPS Issue               RTS, vacant, unable to forward                         shaynabraitman2@gmail.com                      267‐280‐7679
563   Johnson           Mya                 15 Chestnut St                   Plymouth MTG, PA 19462     USPS Issue               RTS; no FWD                                            myajxhnsxn@gmail.com                           n/a
564   Witt              Eric Christian      1212 Christina Ct                Collegeville, PA 19426     USPS Issue               RTS, Insufficient Address, Unable to Forward           ecwitt1212@gmail.com                           484‐363‐3884
565   Mcloughlin        Joseph              301, Washington st,              Conshohocken, PA19428      USPS Issue                                                                                                                                    No contact info available
566   Miller            Jessica             301, Washington st               Conshohocken, PA 19428     USPS Issue                                                            Jessicamiller86@gmail.com                                215‐872‐9496
567   Giambrone         Christopher         59 Long Meadow Rd                Royersford, PA 19468       USPS Issue               RTS, Insufficient Address, Unable to Forward cgiam311@comcast.net                                     610‐850‐2536
568   Slachta           Katie               2921 Penn square Road            Norristown PA 19401        USPS Issue                                                            Kestabile@gmail.com
569   Monroe            Bianca              8 Greenwood Ave                  Wyncote PA 19095           USPS Issue               RTS; UTF                                     bianca2k9@icloud.com                                     N/a
570   Liu               Connie              805 Welsh Rd                     Ambler, PA 19002           USPS Issue               RTS, Insufficient Address, Unable to Forward cltu55567@gmail.com                                      215‐512‐1402
571   Clements          Kira                104, West North lane             Conshohocken, PA 19428     USPS Issue                                                            triplethreat97@comcast.net                               6107557226
572   Upshur            Micheal             2017 John Russell Cir S, Apt     Elkins Park, PA 19027      USPS Issue               RTS; Unable to forward mupshur2005@gmail.com                                                          302‐569‐1898
573   Benvenuti Roman   Antonio V           135 Steinbright Dr               Collegeville, PA 19426     USPS Issue               RTS                                          antonio.benvenuti@pfizer.com OR benvenutiant@gmail.com

574   Kemp              Sonja               201 Andorra Glen ct              Lafayette hill PA 19444    USPS Issue                                                            lflowers07@gmail.com                                     4847446305
575   Tomon             Barry Joseph        707 Raynham Rd                   Collegeville, PA 19426     USPS Issue               RTS                                          barrytomon@comcast.net
576   Tomon             Jacqueline J        707 Raynham Rd                   Collegeville, PA 19426     USPS Issue               RTS                                          jjt1962@comcast.net
577   Kida              Timothy             318 Wilson rd                    Hatboro PA 19040           USPS Issue               RTS                                          tapout333@msn.com                                        4844316762
578   Cohen             Devin               148 Kent Circle                  Lower Gywnedd, PA 19002    USPS Issue               RTS; Insufficient address devin.cohen11@gmail.com                                                     267‐638‐8784
579   Smith             Monica              240 County line road E, Apt 2L   HAtboro PA 19040           USPS Issue               RTS                                          mpsmith510@gmail.com                                     2156800771
580   Macmaster         Arleigh Christine   257 Second St N                  North Wales, PA 19454      USPS Issue               RTS                                          amacmaster11@gmail.com                                   215‐901‐7445
581   Lee               Brian               501 Edge Hill Road APT B2        Glenside, PA 19038         USPS Issue               RTS; FWD                                     leebrian@gmail.com                                       215‐539‐7031
582   Bradley           Joseph J            112 Blue Ribbon Dr               North Wales, PA 19454      USPS Issue               RTS                                          jbradlez@msn.com                                         215‐361‐6123
583   Krampitz          Geoffrey            523 Old gulph road               Bryn mawr PA 19010         USPS Issue               RTS                                          stanmedsurg@gmail.com                                    6503917514
584   Lobb              Virginia H          119 Hedgerow Pl                  North Wales, PA 19454      USPS Issue               RTS                                          virginia.lobb@gmail.com
585   Oconnor           Katherine           2505 Creekside Drive             Lansdale, PA 19466         USPS Issue               RTS; UTF                                     katherineoconnor201@gmail.com                            267‐575‐3751
586   Simpson           Andrew L            220 Warwick Way                  North Wales, PA 19454      USPS Issue               RTS                                          asimpson@dynacalc.com                                    215‐817‐2900

                                                                                                            Page 75 of 124
                                                                              Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 76 of 124


              I                   J                           K                              L                              M                     N                                O                          P                      Q                      R
 1    Last Name        First name            Address Line 1                      Address Line 2                Issue                Note                              Email2                         Phone                Contacted?                  resolved date
587   Trythall         Rita                  262 King street Apt 614, Po box‐722 Pottstown PA 19464            USPS Issue           RTS                                                                                   No contact info available
588   Scheidler        Amber Marie           534 Main St Apt 7                   Pennsburg, PA 18073           USPS Issue           RTS                               wewamber@aol.com               267‐815‐6846
589   Schnieder        Amalia                119 Adrienne Ln                     Wynnewood, PA 19096           USPS Issue           Rts; UTF                          n/a                            217‐341‐1153
590   Moser            Patricia              334, Moyer road                     Pottstown PA 19464            USPS Issue           RTS                               Pmoser334@comcast.net
591   Twisdale         Robert T              754 Aspen Cir                       Red Hill, PA 18076            USPS Issue           RTS                                                              267‐373‐8813
592   August           Talia                 721 Meetinghouse Road               Elkins Park PA 19027          USPS Issue           RTS; Undeliverable as addressed   talia.august@gmail.com         215‐539‐1763
593   Umbehauer        W F Jr                1019 Avondale Dr                    Red Hill, PA 18076            USPS Issue           RTS                               wfumbehauer@gmail.com          215‐279‐1891
594   Rodriquez        Layla                 519 King st 1st floor               Pottstown PA 19464            USPS Issue           RTS                               laylachrista77@gmail.com
595   Banner Adelman   Bethany J             488 Sixth St                        Pennsburg, PA 18073           USPS Issue           RTS                               bethany64@verizon.net          215‐541‐4797
596   Hilton           James                 8305 Sentinel RDG                   Norristown, PA 19403          USPS Issue           RTS; IA                           jimhiltonphd@hotmail.com       813‐352‐4983
597   Cacciola         Johnq                 226 Conshohocken state road Gladwyne PA 19035                     USPS Issue           RTS                               salvico6@gmail.com             6106491225
598   Butler           Gerard M              1000 Abington Ave                   Glenside, PA 19038            USPS Issue           RTS                               gerryb7145@gmail.com           267‐847‐2077
599   Dunn             Christopher Charles   957 Maple Ave                       Glenside, PA 19038            USPS Issue           RTS                               chrisdunnjr@gmail.com          203‐988‐0896
600   Numani           Becca                 100 Reiffs mill rd Atp‐c12          Ambler pa 19002               USPS Issue           RTS                               hakimah5619@gmail.com          2152196425
601   Clark            Branddon              15 Chestnut St                      Plymouth Mtg, PA 19426        USPS Issue           RTS                               brandonclark@aol.com           215‐450‐7250
602   Heiser           Thomas Paul           932 Maple Ave                       Glenside, PA 19038            USPS Issue           RTS                               heiserthomas7@gmail.com
603   kinsley          john                  100 reiffs mills rd                 ambler, pa, 19002             USPS Issue           rts                               jack@semanticallyspeaking.com 6109311799
604   Thompson         Peturah               134 Plymouth RD UNI 4101            Plymouth MTG PA 19426         USPS Issue           RTS                               peturat@yahoo.com              267‐546‐8419
605   Litz             John Joseph III       900 Greenwood Ave APT 3             Jenkintown, PA 19046          USPS Issue           RTS                               john_litz@comcast.net          609‐405‐9256
606   gaertner         shana                 101 upland ave apt d17              horsham pa 19044              USPS Issue           RTS                               shannamegann@gmail.com         2159345739
607   Parbatani        Shameer               4 Graymont Cir                      Collegeville, PA 19426        USPS Issue           RTS                               sameerparbatni@gmail.com       646‐573‐6161
608   Mccallum         Charles               623 Mulford Rd                      Wyncote, PA 19095             USPS Issue           RTS                               chaz.mccallum@gmail.com        607‐759‐7178
609   Lourenco         Marilyn J             103 Lattice Ln                      Collegeville, PA 19426        USPS Issue           RTS                               laurenco4@aol.com
610   Maye             Margeret              113 Robbins Ave FL 1                Jenkintown, PA 19046          USPS Issue           RTS                               maggiemaye413@aol.com                n/a
611   HAGENBUCH        ERIN                  100 JEFFERSON ST                    EAST GREENVILLE PA 18041      USPS Issue           RTS                               EHAGENBUCH5@GMAIL.COM                2674211177
612   Kisenda          Christopher L         161 Harvard Dr                      Trappe, PA 19426              USPS Issue           RTS                                                                    484‐751‐8899
613   Reifsnyder       Kelly                 5 Huntingdon Pike APT 4             Jenkintown PA 19046           USPS Issue           RTS                     k.m.reifsnyder@gmail.com                       717‐344‐2380
614   HOCKMAN          JESSICA               465 BOX ELDER LN                    LAFAYETTE HILL PA 19444       USPS Issue           RTS                     JESSIEHOCKMAN@GMAIL.COM 6109604858
615   Swank            Nicole Lorraine       120 Cedar Ave                       Conshohocken, PA 19428        USPS Issue           Canceled, Undeliverable nicoleswank.do@gmail.com OR npursell@gmail.com 530‐949‐8828
616   BLACKMON         MARGARET              106 STONYWAY                        NORRISTOWN PA 19403           USPS Issue           RTS                     BLACKMON.M.MARGARET@GMAIL.COM 2675742826
617   Tollen           Michelle              8470 Limekiln Pike APT 901          Wyncote PA 19095              USPS Issue           RTS; unable to fwd      lilcrazyzeta91@gmail.com                       n/a
618   Long             Steffanie Nicole      145 Cedar Ave Apt A                 West Conshohocken, PA 19428   USPS Issue           Canceled, Undeliverable steffanie8long@gmail.com
619   MARTINO          KATIE                 1087 TYSON AV FLOOR 1               ABINGTON PA 19001             USPS Issue           RTS                     MARTINOKH@HOTMAIL.COM 2152640131
620   Cocking          Matthew Richard       130 Merion Ave                      West Conshohocken, PA 19428   USPS Issue           Canceled, Undeliverable mutter@gmail.com
621   MCLAUGHKLIN      VERONICA              1226 BOCKIOUS AVE                   ABINGTON PA 19001             USPS Issue           RTS                                                                    2673005155
622   Burshell         Loraine               1125 Trinity                        Wyncote PA 19095              USPS Issue           RTS; unable to fwd      lburshell@gmail.com                            n/a
623   Sherman          Steven Eric           119 Merion Ave                      Conshohocken, PA 19428        USPS Issue           Canceled, Undeliverable sesherman55@gmail.com                          215‐359‐7856
624   FLYNN            MICHAEL               917 TYSON AVE                       ABINGTON PA 19001             USPS Issue           RTS                     FLYNNIE917@YAHOO.COM                           2158867432
625   Mcneal           Nina                  8470 Limekiln Pike APT 925          Wyncote PA 19095              USPS Issue           RTS; not delivarable mcneal.agent@gmail.com                            215‐692‐0302
626   FLYNN            MARY                  917 TYSON AVE                       ABINGTON PA 19001             USPS Issue           RTS                     MRFLYNN917@GMAIL.COM
627   LEVIN            BENJAMIN              1229 JERICHO ROAD                   ABINGTON 19001                USPS Issue           RTS                     BHLEVIN415@GMAIL.COM                           2674414082
628   HAMMEL           JENNIFER              1216 LOIS RD                        AMBLER PA 19002               USPS Issue           RTS                     ERBIEZKID@GMAIL.COM                            2157408869
629   McKairnes        Andrew J              400 Bullock Ave                     West Conshohocken, PA 19428   USPS Issue           Canceled, Undeliverable andrew.mckairnes.com (?)                       215‐410‐1300
630   OPALISKI         TINA                  498 HERALD DR                       AMBLER PA 19002               USPS Issue           RTS                     TINAOPALISKY@GMAIL.COM 2155184539
631   Belskie          Kevin Eric            159 Josephine Ave                   Conshohocken, PA 19428        USPS Issue           Canceled, Undeliverable belskie.kevin@gmail.com                        610‐256‐5290

                                                                                                                   Page 76 of 124
                                                                    Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 77 of 124


             I               J                    K                               L                              M                    N                                   O                             P              Q           R
 1    Last Name    First name       Address Line 1                Address Line 2                    Issue                Note                                        Email2                        Phone        Contacted?   resolved date
632   Camarena     Ruby             8480 Limekiln Pike APT 301    Wyncote PA 19095                  USPS Issue           RTS;fwd                                     rjcamarena@msn.com            n/a
633   Sherman      Emily M          119 Merion Ave                Conshohocken, PA 19428            USPS Issue           Canceled, Undeliverable emd938@gmail.com                                  610‐955‐1209
634   Flanigan     Brittany         1321 Barrowdale Rd            Jenkintown, PA 19046              USPS Issue           RTS; No FWD                                 brittanymflanigan@gmail.com   212‐671‐0300
635   Moffett      Zytavia          450 Forrest Ave               Norristown, PA 19401              USPS Issue           Canceled, Undeliverable zytaviamoffett@gmail.com                          267‐992‐3684
636   Weinberg     Melissa          940 Clover Hill Road          Wynnewood PA 19096                USPS Issue           RTS                                         mellisapam@gmail.com          267‐467‐7500
637   BARKSDALE    ANNA             8109 FENTON RD                GLENSIDE PA 19038                 USPS Issue           RTS                                         ALOISBARKS@AOL.COM            2676797697
638   Axelrod      Cynthia R        9 Cottonwood Ct               Lafayette Hill, PA 19444          USPS Issue           Canceled, undeliverable, VAC 4408 10/19 cindyaxelrod@comcast.net          610‐290‐3037
639   Ellis        Susan            1319 Montgomery Ave           Wynnewood PA 19096                USPS Issue           RTS; no fwd                                 susanellis101@gmail.com       610‐304‐0410
640   SMITH        JULIE            756 MOUNT PLEASANT RD         BRYN MAWR PA 19010                USPS Issue           RTS                                         JSMITHDFW@YAHOO.COM           2145344082
641   Gadol        Gail B           475 Silver Bell Ln            Lafayette Hill, PA 19444          USPS Issue           Canceled, Undeliverable, FWD 44009 10/19/20 schlegb@yahoo.com             610‐608‐2218
642   Hull         Joann            833 Rising Sun Rd             Telford, PA 18969                 USPS Issue           RTS; FWD                                    sofballjh@yahoo.com           215‐869‐5006
643   NORTHCUT     LESLIE           8102 AVENEL BLVD              NORTH WALES PA 19454              USPS Issue           RTS                                         LESLIE.NORTHCUT@MICROSS.COM
644   KOVAL        BETH             122 BAYHILL DR                NORTH WALES PA 19454              USPS Issue                                                                    6077600132
645   Shore        Kylie            515 Fourth St North           Telford PA 18969                  USPS Issue           RTS; Unable                   kyliesera@gmail.com        267‐218‐0374
646   Campbell     Kyle Allen       301 Jocelyn Dr                Plymouth Meeting, PA 19462‐1427   USPS Issue           Canceled, Undeliverable kylecampbell19462@gmail.com 610‐400‐9521
647   KOVAL        TIMOTHY          122 BAYHILL DR                NORTH WALES PA 19454              USPS Issue           RTS                               TIM.KOVAL@GMAIL.COM    2674608729
648   Conway       Michael          314 Jocelyn Dr                Plymouth Mtg, PA 19462            USPS Issue           Canceled, Undeliverable cmcmig@aol.com                   610‐304‐3208
649   Temple       Geoffrey         2494 Washington Lane          Huntingdon Valley PA 19006        USPS Issue           RTS; Unable to fwd                rockdoc456@comcast.net n/a
650   DESTENFANO   MARGARET         107 STEVERS MILL RD           NORTH WALES PA 19454              USPS Issue           RTS                                                      2157833392
651   Berton       Sean             5 Melissa Way                 Plymouth Meeting, PA 19462‐1110   USPS Issue           Canceled, Undeliverable seanberton@gmail.com             612‐816‐1031
652   DESTENFANO   FRANK            107 STEVERS MILL RD           NORTH WALES 19454                 USPS Issue           RTS                               FANDM@COMCAST.NET      2157933392
653   Glenn        Catherine        1990 Ashbourne RD APT 312     Elkins PArk, PA 19027             USPS Issue           RTS; unable to fwd                tanbut13@aol.com       215‐350‐8168
654   Ledder       John W           3103 Jolly Rd                 Plymouth Meeting PA 19462‐2301    USPS Issue           Canceled, Undeliverable jwled14@verizon.net              610‐731‐7501
655   POLAK        AARON            525 SYDBURY LN                WYNNEWOOD PA 19096                USPS Issue           RTS                               AARONPOLAK@YAHOO.COM 9179689688
656   Kyzyma       George           715 Jennifer Dr               Dresher, PA 19025                 USPS Issue           Canceled, Undeliverable Gkyzyma@yahoo.com
657   Reese        James            2236 Berks Rd                 Lansdale PA 19446                 USPS Issue           RTS; Attempted to forward, unable jreese61598@gmail.com  215‐704‐8928
658   POLAK        KARYN            525 SYDBURY LN                WYNNEWOOD PA 19096                USPS Issue           RTS                               AK.POLAK@GMAIL.COM     9172071072
659   Sfida        Nathan Edward    1211 Walsh Avenue             Coral Gables, Florida 33146       USPS Issue           Canceled, Undeliverable nsfida3@gmail.com                215‐896‐0727
660   ROSEMAN      RONALD           1133 MORRIS RD                WYNNEWOOD PA 19096                USPS Issue           RTS                               LAMAMOOSE1@GMAIL.COM 6108963621
661   Gao          Henry            32 Trent Rd                   Wynnewood PA 19096                USPS Issue           RTS                               henrygao100@gmail.com  484‐478‐1442
662   BAYER        RICHARD          1224 REMINGTON RD             WYNNEWOOD PA 19096                USPS Issue           RTS                               RCBYR713@GMAIL.COM     4844163546
663   Marin        Taylor Paulina   3067 Plymouth Rock Rd         Plymouth Meeting, PA 19462‐7189   USPS Issue           Canceled, Undeliverable taylor.marin1025@gmail.com
664   BAYER        MARIAN           1224 REMINGTON RD              WYNNEWOOD PA 19096               USPS Issue           RTS                               RKWBYR@YAHOO.COM       4844163546
665   Milano       Taylor J         4847 Ogle St                   Philadelphia, PA 19127‐1904      USPS Issue           Canceled, Undeliverable                                  610‐608‐4677
666   MCNULTY      CHRISTY          325 PENN RD UNI 561            WYNNEWOOD PA 19096               USPS Issue           RTS                               CHRISTYMC11@YAHOO.COM 3174459458
667   Constable    Veronica         1779 Oakwynne Rd               Huntingdon Valley PA 19006       USPS Issue           RTS; Unable to fwd                vc258@cornell.edu      267‐908‐1454
668   Harrison     Margaret V       2615 Cowpath Rd                Hatfield, PA 19440               USPS Issue           Canceled, Undeliverable dheart5@yahoo.com                215‐723‐5351
669   MCKEON       FRANCIS          325 PENN RD APT 549            WYNNEWOOD PA 19090               USPS Issue           RTS                               FSEAN.MCKEON@GMAIL.COM
670   Rauh         James            5 Wynnewood Drive              Collegeville PA 19426            USPS Issue           RTS; IA                           jamesrauh@icloud.com   610‐241‐6002
671   GROVER       MARGARET         422 SABINE AVE                 WYNNEWOOD PA 19096               USPS Issue           RTS                               MGROVER422@COMCAST.NET 2154809860
672   Hall         Samantha         429 Montgomery Ave W, APT A501 Haverford PA 19041               USPS Issue           RTS; unable to FWD samantha.nv.hall@gmail.com n/a
673   PRINZ        LISA             101 BRYCE LN APT 418           KING OF PRUSSIA PA 19406         USPS Issue           RTS                               LPRINZ139@COMCAST.NET 2672310188
674   Greco        Angela           1801 Butler Pike               Conshohocken, PA 19428           USPS Issue           Insufficient Address agreco926@gmail.com                 267‐934‐4226
675   Plinke       Samantha         131 Hedgerow Drive             Souderton, PA 18964              USPS Issue           RTS‐ I.A                          samplinke02@gmail.com  267‐664‐9610
676   GARVISON     GABRIELLA        300 VILLAGE DR APT 222         KING OF PRUSSIA PA 19406         USPS Issue           RTS                               GGARVISON@GMAIL.COM    9712632063

                                                                                                        Page 77 of 124
                                                                       Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 78 of 124


              I                   J                   K                             L                           M                        N                                  O                    P                    Q                      R
 1    Last Name        First name        Address Line 1                Address Line 2              Issue                Note                                   Email2                      Phone        Contacted?                     resolved date
677   Colson           Lisa              4124 Regatta Cir              Norristown, PA 19401        USPS Issue           Return to Sender                       lisa.colson@icloud.com      624‐646‐3892
678   Schultz          Megan             3177 Kutztown Rd              East Greenville, PA 18041   USPS Issue           RTS; I.A                                mschultz8640@gmail.com     n/a
679   Kamat            Bhishak           814 Meadowbrook Dr            Huntingdon Vly, PA 19006    USPS Issue           Voter new address                                                                  No contact info available
680   Flanigan         Patrick           1321 Barrowdale Rd            Jenkintown PA 19046         USPS Issue           RTS; No fwd                            flanigan.pat@gmail.com       732‐259‐8611
681   COREY            AMANDA            1801 BUTLERPIKE APT 76        CONSHOHOCKEN PA 19428       USPS Issue           RTS                                    AMANDA.B.COREY@GMAIL. COM 9738683140
682   Bellew           Catherine         2 Colton Dr                   Plymouth Mting, PA 19462    USPS Issue           Cancelled undelivered                  Cbell512@me.com              484‐213‐8744
683   Jacobson         Milton            1610 The Fairway APT W101     Jenkintown PA 19046         USPS Issue           RTS; unable to fwd                     kipdj@kipjacobson.com        215‐680‐4193
684   LEIB             ANNIE             3135 REGATTA CIR              PLYTMOUTH MTG PA 19462      USPS Issue           RTS                                    ANNIELEIB@GMAIL.COM          2672157126
685   Hardwood         Hilary            1333 Ashbourne Rd             Elkins Park, PA 19027       USPS Issue           Cancelled Undelivered                  Hilarylane37@gmail.com       215‐429‐7075
686   Momtahen         Mehrdad           207 Susan Cir                 North Wales PA 19454        USPS Issue           RTS; unable to fwd                     momtahen@aol.com             484‐678‐3658
687   WOLF             EVAN              445 WARICK RD                 WYNNEWOOD PA 19096          USPS Issue           RTS                                                                 6105515355
688   Rodriguez        Ethan             211 Trooper Rd S              Eagleville, PA 19403        USPS Issue           RTS; unable to fwd                     ethanrod720@gmail.com        267‐615‐1214
689   Simpson          Glenna            220 Warwick Way               North Wales, PA 19454       USPS Issue           Cancelled Undelivered                  Gsimpson@dynacalc.com        215‐872‐1584
690   RAPHAEL          ZACHARY           7004 REDCOAT DR               FLOURTOWN PA 19031          USPS Issue           RTS                                                                 2678440381
691   Reale            Jason             600 Mann Rd                   Horsham PA 19044            USPS Issue           RTS; unable to fwd                     reale722@gmail.com           215‐421‐8998
692   Cohen            Max               1615 Lark LN                  Villanova, PA 19085         USPS Issue           Cancelled Undelivered                  Mcohen395@gmail.com
693   LIPSON           JEFFREY           1337 GRENOX RD                WYNNEWOOD PA 19096          USPS Issue           RTS                                    JAL496@CORNELL.EDU           6102070080
694   Munzer           Susan             1103 Ansley Avenue            Elkins Park PA 19027        USPS Issue           RTS; unable to fwd                     susanmunzer@gmail.com        215‐635‐3666
695   Bickings         Wayne             29 Fifth St                   Bridgeport, PA 19405        USPS Issue           Cancelled Undelivered                                               610‐246‐6705
696   Jones            Lindsey           900 Valley Rd APT B202        Elkins Park, PA 19027       USPS Issue           RTS; unable to fwd                     lindseyaleajones@hotmail.com 215‐514‐2347
697   TRINIDAD         MERCEDES          129 MAIN STREET APT 4         NORTH WALES 19454           USPS Issue           63 ASTER DR HARLEYSVILLE PA 19438                                   2159105406
698   Wood             Bonnie            137 Sanpiper CT               Gilbersville, PA 19525      USPS Issue           Cancelled Undelivered                  Bonnie.zobel@yahoo.com
699   Dornstreich      Gennifer          7902 Rambler Rd               Elkins Park, PA 19027       USPS Issue           RTS; unable to fwd                     n/a                          917‐254‐5247
700   PERREZ           SUSANNA           103 TENTH ST S                NORTH WALES PA 19454        USPS Issue           103 ALMOND DR LANDSDALE PA 19446       FIREFLY1970@GMAIL.COM        6102032326
701   Boone            David             5002 Hiffletrayer Rd          Green Lane, PA 18054        USPS Issue           Cancelled Undelivered                  davidboone747@gmail.com
702   Hoffman          James             1126 Cornwallis Way           Collegeville, PA 19426      USPS Issue           RTS; Unable to Fwd                     aristocrat76015@aol.com      n/a
703   AGUILAR          PAULA             505 MONTOGOMERY AVE E, APT B NORTHWALES PA 19454          USPS Issue           RTS                                    YALE950@YAHOO.COM            2157677160
704   Banner‐Adelman   Alexa             488 Sixth St                  Pennsburg, PA 18073         USPS Issue           Cancelled Undelivered                  Banneralexa@gmail.com
705   Donahue          Micheal           153 Hunt Club Drive           Collegeville, PA 19426      USPS Issue           RTS; unable to fwd                     miked1971@gmail.com          484‐500‐1500
706   Ellis            Daniel            840 Glasgow St                Pottstowny, PA 19464        USPS Issue           Cancelled Undelivered                                               610‐369‐3740
707   ESTRADA          MARYLOU           505 MONTOGOMERY AVE E         NORTH WALES PA 19454        USPS Issue           RTS                                    MARYLOU_YAH_EL@YAHOO.COM 2674219379
708   Gankiewicz       Rebecca Ann       804 Valley Road               Elkins Park, PA 19027       USPS Issue           RTS; unable to fwd                     rebecca.dobson@gmail.com 732‐207‐7722
709   Smith            Suzanne           416 Gwynedd Valley Dr         Gwynedd Valley, PA 19437    USPS Issue           Cancelled Undelivered                  suzgarden416@gmail.com       215‐740‐7264
710   Stebbins         Enid              28 Latham PKWY                Elkins Park PA 19027        USPS Issue           RTS; Unable to fwd                     banton5@verizon.net          215‐680‐8068
711   PURCELL          MEGAN             108 MANIN ST S APT 3          NORTH WALES PA 19454        USPS Issue           RTS                                    MEGANMAXIMUS@GMAIL.COM 2153902142
712   McDonald         Christine         1039 Carriage Ln              Huntingdon Vly, PA 19006    USPS Issue           Cancelled Undelivered                                               215‐519‐1120
713   Banton           William           28 Latham PKWY                Elkins Park, PA 19027       USPS Issue           RTS; unable to fwd                     wlbanton@mdwcg.com           215‐680‐4388
714   FLANAGAN         NANCY             3000 VALLEY FORGE CIR APT 754 KING OF PRUSSIA PA 19406    USPS Issue           28 PENNWOOD DR WHITING NJ‐08759‐2054   NANCY.MARGUERITE@GMAIL.COM 6107370348
715   Yuknis           Eugene            307 A Glenside Ave E          Glenside PA 19038           USPS Issue           RTS; unable to fwd                     eytuknis@outlook.com         610‐360‐3269
716   Mathew           Lijoy Kulathoor   1600 Overbrook Dr             Gwynedd Valley, PA 19437    USPS Issue           Cancelled Undelivered                  lijoyrm@gmail.com            610‐772‐7011
717   Wheat            Nicholas          3116 Shirlene Rd              Norristown, PA 19403        USPS Issue           RTS; unable to fwd                     nickbwheat@gmail.com         412‐888‐7186
718   WINTER           MICHELLE          113 FORREST RD                TELFORD PA 18969            USPS Issue           458 BERKSHIRE DE SOUDERTON PA 18964    SHELLSPLACE77@GMAIL.COM 2152909701
719   Moyer            Zane Douglas      233 Heatherfield Dr           Souderton, PA 18964         USPS Issue           Cancelled Undelivered                  financial.cents@yahoo.com
720   Goodwin          Lucy              242 Baxter Drive              Phoenixville PA 19460       USPS Issue           RTS; Unable to fwd                     lucy.e.gallagher@gmail.com 610‐246‐9949
721   TROPEA           DEBORAH           403 BERKSHIRE DR              SOUDERTON PA 18964          USPS Issue           RTS                                    TROPAY0109@YAHOO.COM 2153906255

                                                                                                       Page 78 of 124
                                                                           Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 79 of 124


               I                     J                   K                              L                          M                                 N                                      O                        P                 Q                      R
 1    Last Name           First name       Address Line 1                   Address Line 2             Issue                    Note                                           Email2                        Phone          Contacted?                  resolved date
722   Weinberg            Zoe Skye         213 Maple Ave APT A‐10           Horsham, PA 19044          USPS Issue               Cancelled Undelivered                          zo.weinberg@gmail.com
723   Moyers              Karen            171 Bradford Drive               Schwenksville, PA 19473    USPS Issue               RTS; Unable to fwd                             kmoyers1972@gmail.com         484‐366‐8083
724   HAUGHTON            CHRISTEN         212 IDARIS RD UNIT H2            MERION STATION PA 19066    USPS Issue               RTS                                            CHRISTENHAUGHTON@GMAIL.COM
725   Opalisky            Mark E           498 Herald Drive                 Ambler PA 19002            USPS Issue               RTS; unable to fwd                             mopalisky@cozen.com           215‐518‐6044
726   Taylor              Alice Casimiro   110 Red Haven Dr                 North Wales, PA 19454      USPS Issue               Cancelled Undelivered ‐ No such Street                                       215‐385‐0970
727   SIEGEL              JOSEPH           500 OXFORD RD                    BALA‐CYNWYD PA 19004       USPS Issue               RTS                                            JOESIEGEL@VERIZON.NET         6106648816
728   Oh                  Bo Ram           1223 Lois Rd                     Ambler PA 19002            USPS Issue               RTS; unable to fwd                             nahnoogoo@hotmail.com         267‐992‐1521
729   Zurcher             Carly            7802 Lafayette Ave               Elkins Park, PA 19027      USPS Issue               Cancelled Undelivered                          Czurcher65@gmail.com          973‐303‐7381
730   Hammel              Dean             1216 Lois Rd                     Ambler PA 19002            USPS Issue               RTS; unable to fwd                             dean.w.hammel@gmail.com       267‐625‐4959
731   SIEGEL              ELLEN            500 OXFORD RD                    BALA‐CYNWYD PA 19004       USPS Issue               RTS                                            JOESIEGEL@VERIZON.NET         6106648816
732   Torr                Adam             8006 Ivy LN                      Elkins Park, PA 19027      USPS Issue               Cancelled Undelivered ‐ Insufficient Address   adamtorr@hotmail.com
733   WEINSTEIN           FREDERICK        940 LINDY LN                     BALA‐CYNWYD PA 19004       USPS Issue               RTS                                            FIWLAW@AOL.COM
734   Jones               Barbara J        8 Wharton Lane                   Cheltenham, PA 19012       USPS Issue               RTS; unable to fwd                             mizbahbah@icloud.com          215‐264‐1463
735   PERELION            JERENEICE        24 FIRST AVE E                   COLLEGEVILLE PA 19426      USPS Issue               RTS                                            JJPERELION@GMAIL.COM          8326614464
736   Shensky             Joseph B         8302 Old York Rd APT B24         Elkins PArk, PA 19027      USPS Issue               RTS; unable to fwd                             joey.shensky@icloud.com       215‐740‐1922
737   Baron               Lisa             2759 Charlotte St N.             Gilbertsville, PA 19525    USPS Issue               Return To Sender                               LisaKBaron@gmail.com          610‐937‐4080
738   AUGUSTIN            CLIFFORD         221 CADWALADER AVE               ELKINS PARK PA 19027       USPS Issue               RTS                                                                                         No contact info available
739   Dunn                Ashley           957 Maple Ave                    Glenside, PA 19038         USPS Issue               RTS; unable to fwd                             ashleydunn957@gmail.com     267‐804‐9213
740   Kellogg             Julia            479 Plymouth Rd                  Glenside, PA 19038         USPS Issue               Returnm To Sender                              Juligulie@gmail.com         440‐781‐8335
741   SILBAUGH            LUCY             320 GRIBBEL RD                   WYNCOTE PA 19095           USPS Issue               RTS                                            SILBAUGHLUCY@GMAIL.COM      2157535260
742   ROBBINS             MOLLY            300 ESSEX AVE APT 201B           NARBERTH PA 19072          USPS Issue               RTS                                            MOLLYPANNING@GMAIL.COM      2152624172
743   Driver              Albert           560 Lederach Station Way         Harleysville, PA 19438     USPS Issue               RTS; no mail receptacle‐ unable to fwd         agdriver1@msn.com           215‐872‐5547
744   Tollen              Riley            435 Johnson St                   Jenkintown, PA 19046       USPS Issue               Insufficient Address                           rileytollen@gmail.com       215‐840‐7957
745   MCINTYRE            JAMES            300 ESSEX AVE N APT310B          NARBERTH PA 19072          USPS Issue               RTS                                            PENNSTATER659@GMAIL.COM     7244201007
746   Wilson              Kathleen         816 Chestnut St N.               Lansdale, PA 19446         USPS Issue               Return to Sender                               Katewalton23@yahoo.com      609‐335‐3665
747   AITKENHEAD          SHERYL           318 WOODBINE AVE                 NARBERTH PA 19072          USPS Issue               RTS                                            SHERRYAITKENHEAD@GAMAIL.COM 5083695843
748   Bazile              Marie            119 Andrea Rd                    Cheltenham, PA 19012       Incomplete Declaration                                                                                               No contact info available
749   AITKENHEAD          SARAH            318 WOODBINE AVE                 NARBERTH PA 19072          USPS Issue               RTS                                            TOADALLYREPTILES@VERIZON.NET 7742264971
750   Parrack             Joanne           214 Bunting Circle               Audubon                    Incomplete Declaration   I.D                                                                                         No contact info available
751   McGrorty Derstine   Karalyn Anne     218 Fifth St E.                  Lansdale, PA 19446         USPS Issue               Return To Sender                               Karalyn.McGrorty@gmail.com
752   Carroll             Mary F           1001 Abington Ave                Glenside PA 19038          Incomplete Declaration   I.D                                                                                         No contact info available
753   WHEELER             CHARLES          1655 OAKWOOD DR APT 322 N        NARBERTH PA 19072          USPS Issue               RTS                                            CHARLESWHEELER8@GMAIL.COM
754   Consolo             Eugene           218 Thrid Ave W, APT A           Conshohocken, PA 19428     Incomplete Declaration   I.D                                                                                         No contact info available
755   LEVENTHAL           ROBERT           501 DRESHERWOOD DR               DRESHER PA 19025           USPS Issue               RTS                                            RLEVENTHALESQ@HOTMAIL.COM
756   Kern                Barbara          1400 Waverly Rd APT B‐114        Gladwyne, PA 19035         Incomplete Declaration   I.D                                                                                         No contact info available
757   Goldberg            Robert           940 Lindy LN                     Bala‐Cynwyd, PA 19004      USPS Issue               Return To Sender                               big18741@aol.com              610‐505‐9698
758   Witten              Susan            150 Ridge Pike APT 207A          Lafayette Hill, PA 19444   Incomplete Declaration                                                                                               No contact info available
759   ACHILLE             STEPHEAN         1355 BIRCHWOOD AVE               ABINGTON PA 19001          USPS Issue               RTS                                            SACHILLE10@GMAIL.COM
760   Fleury              Marie            920 Delene Rd                    Jenkintown, PA 19046       Incomplete Declaration   I. D                                                                                        No contact info available
761   BRANDABUR           JENNIFER         322 HARRISON AVE                 JENNIFER                   USPS Issue               RTS                                            JENNIFERBRANDABUR@GMAIL.COM
762   Orenbuch            Donald           20 Conshohocken State Rd APT 703 Bala‐Cynwyd, PA 19004      USPS Issue               Return To Sender                               Dorenbuch@comcast.net         610‐453‐0282
763   Fleury              John             920 Delene Rd                    Jenkintown, PA 19046       Incomplete Declaration   I.D                                                                                         No contact info available
764   WILKEN              HALEY            332 HARRISON AVE                 ELKINS PARK PA 19027       USPS Issue               RTS                                            HALEY.WILKEN@GMAIL.COM
765   Vagnoni             James            403 Kent Rd                      Bala‐Cynwyd, PA 19004      USPS Issue               Return to Sender                               amervage@comcast.net
766   Klaus               John             24 Stafford Sq                   Boyertown, PA 19512        Incomplete Declaration                                                                                               No contact info available


                                                                                                           Page 79 of 124
                                                                                  Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 80 of 124


              I                     J                          K                              L                           M                                  N                                      O                      P                 Q                      R
 1    Last Name        First name                Address Line 1                  Address Line 2               Issue                    Note                                             Email2                     Phone          Contacted?                  resolved date
767   Klaus            Patricia                  24 Stafford Sq                  Boyertown, PA 19512          Incomplete Declaration                                                                                              No contact info available
768   WILKEN           MADISON                   332 HARRISON AVE                ELKINS PARK PA 19027         USPS Issue               RTS                                              MADISON.WILKEN@GMAIL.COM
769   Lewis            Debra                     PO Box 265                      Norristown, PA 19404         USPS Issue               Return to Sender ‐ P.O. Box closed               debralewis47@gmail.com     484‐681‐5779
770   Taylor           Victoria                  229 S 7th Strret                North Wales PA 19454         Incomplete Declaration   Sticker on front with address. incomplete dec.                                             No contact info available
771   MORGAN           WILLIAM                   7133 BEECH TREE DR              ELKINS PARK PA 19027         USPS Issue               RTS                                              WILLMORGAN7@ME.COM
772   Reynolds         Debra                     2617 Dekalb Pike #2‐314         Norristown, PA 19401         Incomplete Declaration   Incom. Dec                                                                                 No contact info available
773   ZWIEBEL          MARIAN                    710 VALLEY GLENN RD             ELKINS PARK PA 19027         USPS Issue               RTS                                              MOHAVE123@AOL.COM
774   Hatton           Carolyn                   511 Kenilworth Rd               Merion Station, PA 19066     USPS Issue               Return to Sender                                 lightly@verizon.net
775   Jones            Robin                     1208 Johnston Ave               Abington, PA 19001           Incomplete Declaration                                                                                              No contact info available
776   LEWIS            CHELSAY                   900 GREENWOOD AVE UNI 2         JENKINTOWN PA 19046          USPS Issue               RTS                                              CHELSAYMEGAN@YAHOO.COM
777   Kwon             Jung                      2203 Dock Drive                 Lansdale, PA 19446           Incomplete Declaration                                                                                              No contact info available
778   Lorenz           Marisa                    490 Quarry Rd                   Harleysville, PA 19438       USPS Issue               Return to Sender                                                            215‐272‐6083
779   Fiallo           Jose                      123 Knox St                     Norristown, PA 19401         Incomplete Declaration                                                                                              No contact info available
780   MANCINIO         CAPRI                     306 A NICE AVE                  JENKINTOWN PA 19046          USPS Issue               RTS                                              CAPRISUN0327@AOL.COM
781   McKernan         Geoffery                  801 Brushtown Rd                Ambler, PA 19002             Incomplete Declaration                                                                                              No contact info available
782   CIMPERMAN        GARY                      202 MONTOGOMERY AVE W           NORTH WALES PA 19454         USPS Issue               RTS                                              105PRO1985@GMAIL.COM
783   Stovall          Crystal                   1212 Powell St                  Norristown, PA 19401         Incomplete Declaration                                                                                              No contact info available
784   NINAARELLO       RITA                      223 EDGEHILL RD                 MERION STATION PA 19066      USPS Issue               RTS                                              RITANINARELLO@YAHOO.COM
785   Stone            Harvey                    115 Hollyhock Drive             Lafayette Hill, Pa 19444     Incomplete Declaration                                                                                              No contact info available
786   Diener           Helen                     26 Montgomery Dr                Harleysville, PA 19438       USPS Issue               Return to Sender                                 Helendiener1@gmail.com
787   Marks            Stephen                   335 Righters Ferry Rd APT 502   Bala‐Cynwyd, PA 19004        Incomplete Declaration                                                                                              No contact info available
788   ROSE             MICHELLE                  2806 HUNTINGTON PIKE            BRYN ATHYN PA 19009          USPS Issue               RTS                                                                         2154296253
789   Campbell         Evelyn                    111 Egerton Ave                 Glenside, PA 19038           USPS Issue               Return to Sender                                                            215‐884‐1532
790   Stephens         Thamar                    515 Baird Rd                    Merion Station, PA 19066     Incomplete Declaration                                                                                              No contact info available
791   BOYS             KEVIN                     2905 CHERRY LANE                BRYN ATHYN PA 19009          USPS Issue               RTS                                                                         2158682583
792   Fuller           Daniel                    330 Estate Rd                   Boyertown, PA 19512          Incomplete Declaration                                                                                              No contact info available
793   Hunsberger       Brian                     1274 Doris Drive                Pottstown, PA 19464          Incomplete Declaration                                                                                              No contact info available
794   Kamat            Shraddha                  814 Meadowbrook Dr              Huntingdon Vly, PA 19006     USPS Issue               Return to Sender                                 shrashak@gmail.com        856‐938‐8671
795   MROZ             COLLEEN                   1000 KINGLET DR                 NORRISTOWN PA 19403          USPS Issue               RTS                                              COLLEEEN.MROZ@VERIZON.NET 6103084205
796   Krupp            Robert                    2461 High St E Unit H202        Pottstown, PA 19464          Incomplete Declaration                                                                                              No contact info available
797   Heitz            Eileen                    29 Third St                     P.O. Box 345                 USPS Issue               return to sender                                 Eileenheitz@gmail.com
798   Hoffman          Kathryn                   2461 High St. E Unit H‐202      Pottstown, PA 19464          Incomplete Declaration                                                                                              No contact info available
799   MIEZITIS         JOHN                      101 SECOND ST APT F314          PENNBURG PA 18073            USPS Issue               RTS                                              JOHNIBGOODIAM@GMAIL.COM 2672451327
800   Hendry           Kristina                  250 Ridge Pike APT 157C         Lafayette Hill, PA 19444     Incomplete Declaration                                                                                              No contact info available
801   Castro           Mariana Araujo Dourado De 1007 Black Rock Rd              Gladwne, PA 19035            USPS Issue               Return to Sender                                 maridourado@gmail.com      929‐277‐8778
802   HOLMES           AARON                     24 FIRST AVE E                  COLLEGEVILLE PA 19246        USPS Issue               RTS                                              AARON16HOLMES@GMAIL.COM
803   Ostroff          Betsy                     50 Belmont Ave APT 211          Bala‐Cynwyd, PA 19004        Incomplete Declaration                                                                                              No contact info available
804   CHEIFETZ         MEREDITH                  1429 TREETOP LANE               AMBLER PA 19002              USPS Issue               RTS                                              MCHEIFETZ@GMAIL.COM        6105474902
805   Williams         Charles                   1065 Swede St                   Norristown, PA 19401         Incomplete Declaration                                                                                              No contact info available
806   Ramires Macedo   Dulcidio                  1007 Black Rock Rd              Gladwyne, PA 19035           USPS Issue               Return to Sender                                 Dulcido.macedo@gmail.com   929‐249‐0050
807   SZYBOWDSKI       THOMAS                    1300 GRAYSON DR                 SOUDERTON PA 18964           USPS Issue               RTS                                              TOMSZYBOWSKI85@GMAIL.COM 2675492465
808   Ostroff          Neil                      50 Belmont Ave APT 211          Bala‐Cynwyd, PA 19004        Incomplete Declaration                                                                                              No contact info available
809   DUNPHY           MICHAEL                   1909 HUNTINGTON PIKE            HUNTINGTON VALLEY PA 19006   USPS Issue               RTS                                              MICHAELDUNPHY@YAHOO.COM 2158408399
810   Northcut         Michael                   8102 Avenel BLVD                North Wales, PA 19454        USPS Issue               Return to Sender                                 Michael.Northcut@yahoo.com 267‐903‐4350
811   Rowan            Elizabeth                 511 Hancock Ct                  Trappe, PA 19426             Incomplete Declaration                                                                                              No contact info available


                                                                                                                  Page 80 of 124
                                                                     Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 81 of 124


              I               J                     K                             L                        M                                           N                                                O                        P                 Q                      R
 1    Last Name      First name       Address Line 1                Address Line 2             Issue                    Note                                                                Email2                       Phone          Contacted?                  resolved date
812   AROCHO         ALEXANDER        148 MT CARMEL AVE             GLENSIDE PA 19038          USPS Issue               RTS                                                                 AROCHO.ALEXANDER@GMAIL.COM
813   McDermott      Thomas           447 Allentown Road            Souderton, PA 18964        Incomplete Declaration                                                                                                                   No contact info available
814   KWAN           HOKWAI           65 MERRION AVE S              BRYN MAWR PA 19010         USPS Issue               RTS                                                                 HOK_WAI_KWAN@JUNO.COM 6106878062
815   Schlossberg    Jodi D           225 Carson Ter                Huntingdon Vly, PA 19006   USPS Issue               RTS                                                                 jodidee@gmail.com     215‐771‐1120
816   Smith          Ilisha           25 Wedge Ct                   Pottstown, PA 19464        Incomplete Declaration                                                                                                                   No contact info available
817   KWAN           LILIAN           65 MERION AVE S               BRYN MAWR PA 19010         USPS Issue               RTS                                                                 KWAN.LCH.2015@GMAIL.COM 4849192811
818   Conrad         Claudia Tess     1221 Limberlost Ln            Gladwyne, PA 19035         USPS Issue               RTS                                                                 claudia16conrad@gmail.com 610‐888‐5517
819   Blackwell      Jacqueline       1531 Washington Ave           Willow Grove, PA 19090     Incomplete Declaration                                                                                                                   No contact info available
820   OBA            MICHIKO          106 MARY AMBLER WAY           AMBLER PA 19002            USPS Issue               RTS                                                                 6BALL001@HOTMAIL.COM         2159233432
821   Fedak          Victoria J       2031 Hemlock Rd               Norristown, PA 19403       USPS Issue               RTS, Not deliverable as addressed, unable to forward                vfeda1@unh.newhave.edu       610‐952‐4903
822   Manneh         Mamadou          1671 Potter Drive             Pottstown, PA 19464        Incomplete Declaration                                                                                                                   No contact info available
823   OBA            LANCE            106 MARY AMBLER WAY           AMBLER PA 19002            USPS Issue               RTS                                                                 OBALL001@HOTMAIL.COM 8082247877
824   Astillero      Aaron Ramon      419 Lancaster Ave             Haverford, PA 19041        USPS Issue               RTS, Insufficient address, unable to forward                        ara2323@gmail.com       610‐896‐1756
825   LAL            SARINA           371 HIGHGATE DR               AMBLER PA 19002            USPS Issue               RTS                                                                 SANNASMILEY11@GMAIL.COM 6306564897
826   Diebold        Helen            N/a                           N/a                        Incomplete Declaration   absolutely nothing. Only name                                                                                   No contact info available
827   OPALISKY       LAUREN           498 HERALD DR                 AMBLER PA 19002            USPS Issue               RTS                                                                 LAOPALISKY@GMAIL.COM
828   Shackelford    Samuel Malcolm   3103 Sycamore Ln              Norristown, PA 19401       USPS Issue               No longer at this address, please forward (FWD/BM 01028 10/19/20)   sam_shackelford@yahoo.com 215‐749‐2112
829   Diebold        Eugene           N/a                           N/a                        Incomplete Declaration   absolutely nothing; but name                                                                                    No contact info available
830   SHIBE          SARA             237 JACKSONVILLE RD APT 27B   HATBORO PA 19040           USPS Issue               RTS                                                                 SARAESHIBE@GMAIL.COM         6102172995
831   Phoung         Kim Toan         104 Rose Ln                   Ambler, PA 19002           USPS Issue               RTS, No such street, unable to forward                                                           267‐210‐9314
832   Houser         Derrick          120 Hanover Ave               North Wales, PA 19454      Incomplete Declaration   Incomplete declaration                                                                                          No contact info available
833   GRUBB          DENNIS           126 VERONICA LANE             LANDSALE PA 19446          USPS Issue               RTS                                                                 DGGRUBBPHDPE@GMAIL.COM 2155272786
834   Thomas         Avery M          4221 Regatta Circle           Norristown, PA 19401       USPS Issue               AW/C, RTS                                                           ave.thomas88@gmail.com 609‐670‐2562
835   Reger          Kathryn          536 Dock Dr                   Lansdale, PA 19446         Incomplete Declaration                                                                                                                   No contact info available
836   WOLDE          ZEMELAK          194 COMMUNITY DR              LANDSALE PA 19446          USPS Issue               RTS                                                                 ADONAZM@YAHOO.COM            215‐589‐2032
837   Lundy          Rachel D         307 Main St 1st Floor         Norristown, PA 19401       USPS Issue               IA                                                                  rachellundy75@gmail.com      929‐306‐8838
838   Nolthenius     William          965 Cressman Rd               Schwenksville, PA 19473    Incomplete Declaration                                                                                                                   No contact info available
839   GRACE          CURTIS           1003 TOWAMENCIN AVE APT E 302 LANDSALE PA 19446          USPS Issue               RTS                                                                                              7406073782
840   Wiley          Christine        606 Main St E, APT 206        Lansdale, PA 19446         Incomplete Declaration                                                                                                                   No contact info available
841   Suleiman       Andrew J         1801 Butler Pike              Conshohocken, PA 19428     USPS Issue               IA                                                                  suleiman.andrew@gmail.com 484‐547‐1121
842   MATHEWS        DEBORAH          935 BEECHWOOD DR              LANDSALE PA 19446          USPS Issue               RTS                                                                 IGMUHOTA@VERIZON.NET      9737136719
843   Choi           Hwa Ja           2244 Dock Drive               Lansdale, PA 19446         Incomplete Declaration                                                                                                                   No contact info available
844   Jackson        Amanda Emily     1801 Butler Pike              Conshohocken, PA 19428     USPS Issue               IA                                                                  amandajackson82@gmail.com 267‐808‐5240
845   POSTE          MARY             654 ITHAN AVE N               BRYN MAWR PA 19010         USPS Issue               RTS                                                                 MUDGRIGARD@AOL.COM        6105256880
846   Yesmin         Farida           38 Jenkins Ave APT 611        Lansdale, PA 19446         Incomplete Declaration                                                                                                                   No contact info available
847   Schwarz IV     Richard Daniel   1801 Butler Pike              Conshohocken, PA 19428     USPS Issue               IA FM 15                                                            rich.schwarz84@gmail.com 484‐432‐1559
848   WALL           SAMANTHA         825 LANCASTER AVE FL 2        BRWN MAWR PA 19010         USPS Issue               RTS                                                                 SAMMYLWALL@GMAIL.COM
849   Sanchez        Joanne           131 Green St APT B            Lansdale, PA 19446         Incomplete Declaration                                                                                                                   No contact info available
850   Meads          Willard T        2002 Summit Ln                Oreland, PA 19075          USPS Issue               Deceased                                                                                                        No contact info available
851   SONG           DENNIS           806 MONTGOMERY AVE APT A4 BRWN MAWR PA 19010             USPS Issue               RTS                                                                 DENNIS.D.SONG@GMAIL.COM 9178031290
852   Scholl         Glenn            2570 Rosenberry Rd            Gilbertsville, PA 19525    Incomplete Declaration                                                                                                                   No contact info available
853   Finkel         Jodi A           121 Chinaberry Dr             Lafayette Hill, PA 19444   USPS Issue               Confirmed out of counting                                                                                       No contact info available
854   RULON‐MILLER   WILLIAM          318 WOODBINE AVE PO BOX 763 NARBERTH PA 19072            USPS Issue               RTS                                                                 ARMADON5@GMAIL.COM           9548168302
855   Marcial        Adam             131 Green Street APT B        Lansdale, PA 19446         Incomplete Declaration                                                                                                                   No contact info available
856   OBRIEN         OLIVIA           616 ROSELAND AVE              JENKINTOWN PA 19046        USPS Issue               RTS                                                                                              2157562254

                                                                                                   Page 81 of 124
                                                                     Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 82 of 124


              I                J                      K                          L                            M                                       N                                             O                           P                 Q                      R
 1    Last Name    First name            Address Line 1              Address Line 2               Issue                    Note                                                       Email2                            Phone          Contacted?                  resolved date
857   Williams     Dorothy               716 Third St W              Lansdale, PA 19446           Incomplete Declaration                                                                                                               No contact info available
858   Decordova    Elizabeth             474 Apple Tree Ln S         Lafayette HIll, PA 19444     USPS Issue               Already Canc replaced elizdecordova@gmail.com                                                267‐471‐1674
859   DESAI        LEELA                 1202 SCOBEE DR              LANDSDALE PA 19446           USPS Issue               RTS                   NEELADDESAI@GMAIL.COM                                                  4849945036
860   Freedman     Meredith              1733 Brittany Drive         Ambler, PA 19002             Incomplete Declaration                                                                                                               No contact info available
861   SANDELLA     MICHAEL               3880 RINGNECK ROAD          AUDUBON PA 19403             USPS Issue               RTS                                                        SANDELLAMIKE@GMAIL.COM 6104629945
862   McKinney     Frances               N/a                         n/a                          Incomplete Declaration   no info other than name.                                                                                    No contact info available
863   LONG         ALYSSA                588 SEMINARY ST             PENNSBURG PA 18073           USPS Issue               RTS                                                        ALY.LONG26@GMAIL.COM              267‐374‐7561
864   Nordland     Susan                 N/a                         Oreland, PA 19076            Incomplete Declaration   `no info                                                                                                    No contact info available
865   SZYBOWSKI    SARAH                 1300 GRAYSON DR             SOUDERTON PA 18964           USPS Issue               RTS                                                        SARAHSZYBOWSKI@GMAIL.COM 443‐504‐3511
866   Kuritz       Florence              1001 Easton Rd APT 914      Willow Grove, PA 19090       Incomplete Declaration                                                                                                               No contact info available
867   CHUNG        HYEE                  702 FORD ST APT 3           WEST CONSHOHOCKEN PA 19428   USPS Issue                                                                          HYEECHUNG@GMAIL.COM               310‐999‐4402
868   Bisbing      Teagan Ann            4005 Warner Rd S            Lafayetter Hill, PA 19444    Called no answer         Called no answer                                           tabisbing@gmail.com               610‐761‐6441 duplicate
869   Butler       Elizabeth             100 Wissahickon Ave #208    Flourtown, PA 19031          Incomplete Declaration                                                                                                               No contact info available
870   KIM          EUJIN                 264 WESTWIND WAY            DRESHER PA 19025             USPS Issue               RTS                                                        EUJINKIM12@GMAIL.COM              267 210 5326
871   Childress    Barbara               7795 Spring Ave             Elkins Park, PA 19027        Incomplete Declaration                                                                                                               No contact info available
872   HERBST       JENNIFER              217 LOCUST ST UNI FRONT     AMBLER PA 19002              USPS Issue               RTS                                                        JENRH217@GMAIL.COM                215 850 5461
873   Ricci        Micheal               169 Lismore Ave             Glenside, PA 19038           Incomplete Declaration                                                                                                               No contact info available
874   POSNER       GABRIELLE             524 PRESCOTT RD             MERION STATION PA 19066      USPS Issue               RTS                                                        GABBYPOSNER710@GMAIL.COM 610 787 0259
875   Yacoub       Essam                 2932 Washington Lane        Hatfield, PA 19440           Incomplete Declaration                                                                                                               No contact info available
876   BAILEY       DORIS                 143 COUNTRY VIEW WAY        TELFORD PA 18969             USPS Issue               RTS                                                        DLBAILEY_2009@YAHOO.COM 215 389 2715
877   Samtmann     Michelynn             1201 Greenhill Rd           Flourtown, PA 19031          Incomplete Declaration                                                                                                               No contact info available
878   MOZITIS      JILLIAN               505 MEADOWBROOK DR APT 505 HUNTINGTON VLY PA 19006       USPS Issue               RTS                                                        JILLIANMOZTIS@GMAIL.COM 267 202 9241
879   McKelvey     Erin                  1018 Bayberry Ln            Collegeville, PA 19426       USPS Issue               Called no answer, no message, right name                   emckelvey10121@gmail.com 484‐975‐3705
880   Brock        Phillip               12 Center Ave               Willow Grove, PA             Incomplete Declaration   No signature. incomplete address. incomplete declaration                                                    No contact info available
881   Hankin       Robert                851 Andorra Rd              Lafayette Hill, PA 19444     Incomplete Declaration                                                                                                               No contact info available
882   Bisbing      Teagan Ann            4005 Warner Rd S            Lafeyette Hill, PA 19444     USPS Issue               Called no answer, no message left, right name              tabisbing@gmail.com               610‐761‐6441
883   Cromack      Theresa               700 Spice bush Ln           Ambler, PA 19002             Incomplete Declaration                                                                                                               No contact info available
884   Chen         Callie Yun            100 Veronica Ln             Lansdale, PA 19446           USPS Issue                                                            215‐822‐8566
                                                                                                                           Called no answer, left voicemail, no name on voicemail


885   SAUNDERS,    ELAINE                417 BRYNMAWR AVE            BALA‐CYNWYD                  USPS Issue               TEMPORARILY AWAY ELAINESAUNDERS541@GMAIL.COM 6109527347
886   El‐Fayoumy   Mary                  319 Covered Bridge Rd       King of Prussia, PA 19406    Incomplete Declaration   No date, Incomplete declaration                                                                             No contact info available
887   Han          Gene                  8202 Forest Hills Dr.       Elkins Park, PA 19027        USPS Issue               Called no answer, no message, no name                      genehan9e@gmail.com               215‐687‐9557
888   Elsetinow    Alicia R              9 Sweet Gum Ln              Horsham, PA 19044            USPS Issue               Called no answer, no message, no name                                                        443‐799‐4894
889   WAMPLER      DOROTHY               60 LONGCROSS RD             LIMERICK PA 19468            USPS Issue               TEMPORARILY AWAY ANNIEDICKIE@VERIZON.NET                                                     4846864876
890   Earland      Carmen                1200 Old York Road APT E217 Jenkintown, PA 19046         Incomplete Declaration   Missing everything but signature.                                                                           No contact info available
891   Kanter       Justin Michael        630 Los Angeles Ave         Jenkintown, PA 19046         USPS Issue               Called no answer, no message, no name                      justinmichaelkanter@icloud.com 215‐934‐1214
892   Li           Fraulen Fangfei       321 Beidler Rd W            King of Prussia, PA 19406    USPS Issue                                fraulen.li@gmail.com
                                                                                                                           Called no answer, no message, no name                                                        484‐868‐0977
893   WAMPLER      RICHARD               60 LONGCROSS RD             LIMERICK PA 19468            USPS Issue               TEMPORARILY AWAY ANNIEDICKIE@VERIZON.NET                                                     4846869876
894   Bailey       Carol                 2362 Rebecca Drive          Hatfield, PA 19440           Voter is deceased        Incomplete declaration, as well.                                                                            No contact info available
895   Ahern        Jack Owen             2044 Hollis Rd              Lansdale, PA 19446           USPS Issue               Called no answer, no name, no message                      joahern4@gmail.com                215‐264‐0371
896   SAUNDERS     JAMES                 417 BRYN MAWR AVE           BALA‐CYNWYD PA 19004         USPS Issue               TEMPORARILY AWAY                                           SAUNDERJ@PENNMEDICINE.UPENN.EDU   6106672971
897   Coffey       Charles William III   179 Brochant Cir            Blue Bell, PA 19422          USPS Issue               Called no answer, no message, no name                      cw3coffey@gmail.com               773‐315‐2520
898   Horne        Mary                  27 Curry Lane               Horsham, PA 19044            Incomplete Declaration   No address or printed name.                                                                                 No contact info available
899   MERCER       MARIANNE              13ST ANDREWS BLVD           LIMERICK PA 19468            USPS Issue               TEMPORARILY AWAY MMECER47@VERIZON.NET
900   Gambone      Kristin Nicole        4369 Skippack Pike Apt 2    Schwenksville, PA 19473      USPS Issue                                kngambone@gmail.com
                                                                                                                           Called no answer, left voicemail, no name                                                    610‐585‐3414
901   KUHN         JOHN                  19 ROCK HILL RD APT 5C      BALA CYNWYD PA 19004         USPS Issue               TEMPORARILY AWAY JANICERKUHN@GMAIL.COM

                                                                                                      Page 82 of 124
                                                                            Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 83 of 124


              I                J                          K                              L                              M                                        N                                    O                            P                   Q                      R
 1    Last Name     First name               Address Line 1                Address Line 2             Issue                                   Note                                        Email2                             Phone        Contacted?                    resolved date
902   Wanglee       Storey                   1350 County Line Rd           Wayne, PA 19087            USPS Issue                              Called no answer, left voicemail, no name   storeywanglee@gmail.com            484‐919‐0618
903   Singer        Morse Blaine             1044 George Rd                Jenkintown, PA 19046       Incomplete Declaration                  No address or printed name                                                                    No contact info available
904   KUHN          JANICE                   19 ROCK HILL RD APT 5C        BALA‐CYNWYD PA 19004       USPS Issue                       TEMPORARILY AWAY JANICERKUHN@GMAIL.COM
905   Byrne Dugan   Kathleen                 3 Meredith Rd                 Wynnewood, PA 19096        return. Basically empty envelope Empty Ballot.                                                                                        No contact info available
906   Garber        Emily Elizabeth          222 Hemlock Dr                North Wales, PA 19454      USPS Issue                       Called no answer, no message, no name emilygarber99@gmail.com                         2673287534
907   Davidson      Pamela                   N/a                           N/a                        Incomplete Declaration           No information on ballot. Other than signature                                                       No contact info available
908   Brickman      Casey Ann                49 Lee Lynn Ln                Huntingdon Vly, PA 19006   USPS Issue                       Called no answer, no message, no name (UTF) caseyann.brickman@gmail.com               267‐230‐6843
909   KING          JOHN                     121 BONNET LN                 HATBORO PA 19040           USPS Issue                       RTS                                              JHKING1313@GMAIL.COM                 2159839337
910   Moore         Raymond                  431 Haywood Rd                Ambler, PA 19002           Incomplete Declaration           No address, or printed name.                                                                         No contact info available
911   Moore         Anita                    431 Haywood Rd                Ambler, Pa 19002           Incomplete Declaration           No address or printed name.                                                                          No contact info available
912   Welsh         Ilana S                  622 Oxford Rd                 Bala‐Cynwyd, PA 19004      USPS Issue                       Called no answer, no message, no name (IAA)                                           610‐704‐2336
913   MARISCOTTI    CATHLYN                  350 MADISON AVE               SOUDERTON PA 18964         USPS Issue                       RTS(COA)                                         CMARISCOTTI@VERIZON.NET              2157679654
914   Stucky        Maya A                   101 Merion Ave N Box C‐1336   Bryn Mawr, PA 19010        USPS Issue                       Called no answer, no message, no name mstucky@brynmawr.edu                            316‐708‐6747
915   Pritchard     Bethany                  623 Hillcrest Ave             Glenside, PA 19038         Incomplete Declaration           Missing address on line, date, and printed name.                                                     No contact info available
916   Schley        Talia E                  1124 Stony Ln                 Gladwyne, PA 19035         USPS Issue                       Called no answer, no message, no name talia@schley.com                                610‐952‐8517
917   Kovalich      Kathleen                 2005 Greenes Way Circle       Collegeville, PA 19426     Incomplete Declaration           No address on lines, and printed name.                                                               No contact info available
918   MARION        CHELSEA                  668 CRICKET AVE               GLENSIDE PA 19038          USPS Issue                       NO CONTACT INFO                                                                                      No contact info available
919   Stempler      Ashley Lynne             806 Kennedy Rd E              North Wales, PA 19454      USPS Issue                       Called no answer, left voicemail, had name alstempler@gmail.com                       215‐870‐9004
920   Betts         Tony                     250 Concord Rd                Schwenksville, PA 19473    Incomplete Declaration           No address written                                                                                   No contact info available
921   KING          ELIZABETH                212 NEWINGTON DR              HATBORO PA 19040           USPS Issue                       COA/RTS                                          ELIZABETHKING911@GMAIL.COM           215‐514‐9119
922   GOLDMAN       DEVYN                    2707 TAFT AVE                 GLENSIDE PA 19038          USPS Issue                       COA/RTS                                          DEVYGOLDMAN852@GMAIL.COM             267 838 5653
923   Hart          Donald                   110 Lattice Lane              Collegeville, PA 19426     Incomplete Declaration           No printed name, or address written.                                                                 No contact info available
924   Marshmond     Nyoka                    8417 Limekiln Pike Apt 102    Wyncote, PA 19095          USPS Issue                       no phone number                                  ngreene72@aol.com
925   BOSCOV        AMELIA                   765 WOODLEAVE RD              BRYN MAWR PA 19010         USPS Issue                       RTS/COA                                          AMELIAXOB@GMAIL.COM
926   Murray        Aurora Destephanis       118 Airdale Rd                Bryn Mawr, PA 19010        USPS Issue                       no phone number                                  aurora.destephanismurray@gmail.com
927   Scott         Paula Ann                2103 Mather Way APT B         Elkins Park, PA 19027      Incomplete Declaration           No date, printed name, or address                                                                    No contact info available
928   ZILEN         ALEXIS                   431 THRUSH DR                 GILBERTSVILLE PA 19525     USPS Issue                       COA/ RTS                                         AZILEN97@YAHOO.COM                   4843005874
929   Bert          Trevor J                 433 Norma Rd                  Ambler, PA 19002           USPS Issue                       RTS, no phone number t‐bert@onu.edu
930   Kelley        Jeffrey                  101 Seventh St                Bridgeport, PA 19405       Incomplete Declaration           No signature. Missing ID #                                                                           No contact info available
931   PRESSMAN      MARTIN                   25 WASHINGTON LN #638         WYNCOTE PA 19095           USPS Issue                       COA/RTS                                          MARTY548@GMAIL.COM                   2676262116
932   Martin        Alexander Christian      40 Keystone Ct                Collegeville, PA 19426     USPS Issue                       RTS, no phone number xclam@comcast.net
933   Rupnik        Alexandria               815 Creekview Drive           Blue Bell, PA 19422        Incomplete Declaration           No printed name, or address                                                                          No contact info available
934   RITTENBERG    EMILY                    449 WARICK RD                 WYNNEWOOD PA 19096         USPS Issue                       COA/RTS                                          EMILY.RITTENBERG@GMAIL.COM
935   Nixon         Anna Elizabeth Kristin   333 Carson Ter                Huntingdon Vly, 19006      USPS Issue                       RTS, no phone number nixon.anna3@hotmail.com
936   Kuhn‐Hanlon   Peter                    280‐4 Walnut Ridge Estates    Pottstown, PA 19464        Incomplete Declaration           No printed name, date, or address                                                                    No contact info available
937   MERDINGER     MICHELE                  8480 LIMEKILN PIKE            WYNCOTE PA 19095           USPS Issue                       COA/ RTS                                         MMERDINGER123@GMAIL.COM              215 870 9947
938   Mcafoos       Ilana Rachel             118 Kingston Rd               Cheltenham, PA 19012       USPS Issue                       RTS, no phone number irmis@pitt.edu
939   Salvati       Salvatrice               457 Penn Rd                   Plymouth MTG, PA 19462     Incomplete Declaration           No printed name, or address                                                                          No contact info available
940   Gurbarg       Stacy R                  3724 Levy Ln                  Huntingdon Vly, PA 19006   USPS Issue                       RTS, no phone number stacyrebecca730@yahoo.com
941   ROTH          MELISSA                  715 SIGNAL HILL RD            DRESHER PA 19025           USPS Issue                       COA/RTS                                          MROTH512@GMAIL.COM
942   Prue          Allison Marie            1059 Charter Oaks Dr          Lansdale, PA 19446         USPS Issue                       RTS, no phone number aprue@purdue.edu
943   Dipta         Sk Rahat                 835 Rose Lane                 Hatfield, PA 19440         Incomplete Declaration           No printed name, or address                                                                          No contact info available
944   PAPACOSTAS    MARIA                    110 WETHERILL RD              CHELTENHAM PA 19012        USPS Issue                       RTS / COA                                        MPAPA25@GMAIL.COM                    215 316 6956
945   Rothaus       Zachary Cole             14 Roy Ln                     Huntingdon Vly, PA 19006   USPS Issue                       RTS, no phone number zrothaus@gmail.com
946   Begom         Mst Nasrin               835 Rose Ln                   Hatfield, PA 19440         Incomplete Declaration           No voter printed name, or address                                                                    No contact info available


                                                                                                             Page 83 of 124
                                                                             Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 84 of 124


             I                    J                       K                               L                         M                                      N                                          O                    P                   Q                      R
 1    Last Name        First name           Address Line 1                  Address Line 2              Issue                    Note                                                     Email2                     Phone        Contacted?                    resolved date
947   TEITELL          JENNIFER             734 CARMET RD                   JENKINTOWN PA 19046         USPS Issue               RTS/ COA                                                 JENTEITELL@GMAIL.COM       215 908 3909
948   Strickland       Willie B             8470 Limekiln Pike APT 423‐2    Wyncote, PA 19095           Incomplete Declaration   No date, printed name, or voter address.                                                           No contact info available
949   DENNIS           YOLANDA              2259 HAMILTON AVE               WILLOW GROVE PA 19090       USPS Issue               COA/ RTS                                                 CADIEBUG209@AOL.COM        267 495 5363
950   Alfano           James Augustine Jr   10 Union Ave Apt 206            Bala‐Cynwyd, PA 19004       USPS Issue               RTS, contacted, will email the form                      james.alfano30@gmail.com   570‐362‐2554
951   KAGARISE         RACHEL               237 SUMMERWIND LN               HARLEYSVILLE PA 19438       USPS Issue               COA/ RTS                                                 RKAGARISE16@AOL.COM        215‐859‐1105
952   Cowley           James                275 Park Ave                    Harleysville, PA 19438      Incomplete Declaration   No printed voter name, or address on back                                                          No contact info available
953   Yarden           Yuval                1403 Dorset Ln                  Wynnewood, PA 19096         USPS Issue               RTS, Contacted voter yyardeno3@gmailcom                                             267‐670‐3703
954   CASEY            JOSEPH               150 RIDGE PIKE                  LAFAYETTE HILL PA 19444     USPS Issue                                    CASEYJ222@GMAIL.COM                                            267 884 9047
955   Cornelius        Carl                 1619 Lark Lane                  Villanova, PA 19085         Incomplete Declaration   No printed name, or address on lines.,                                                             No contact info available
956   Kron             Benjamin Norman      537 Lower State Rd              North Wales, PA 19454       USPS Issue               RTS, contacted voter ben.kron15@gmail.com                                           215‐779‐5184
957   Rash             Harriet              726 Mt. Pleasant Rd             Bryn Mawr, PA 19010         Incomplete Declaration   No printed name, or address                                                                        No contact info available
958   JAFFE            SHAINA               309 WASHINGTON ST               CONSHOHOKEN PA 19428        USPS Issue               COA                                                      SHAINAJAFFE@GMAIL.COM      610‐246‐3071
959   Barrack          Madison Elana        2110 Basswood Dr                Lafayette Hill, PA 19444    USPS Issue               RTS, contacted voter, will email the form                madisonbarrack@gmail.com   610‐551‐6779
960   Biddle           Alvin                600 Valley Forge Rd W           King of Prussia, PA 19406   Incomplete Declaration   No date written.                                                                                   No contact info available
961   Gigliotti        Christina Claire     1604 Johnson Rd                 Plymouth Mtg, PA 19462      USPS Issue                                 vgigliotti16@msjastudent.org 813‐446‐5815
                                                                                                                                 RTS, called, will email the form
962   Wendland         Daniel               908 THOMAS ST                   NORRISTOWN PA 19401         USPS Issue               ADDRESSEE UNKNOWN DWENDLAND@ARCADIA.EDU 251 654 3769
963   Rand             Jordan               1276 Bobarn Drive               Narberth, PA 19072          Incomplete Declaration   No date.                                                                                           No contact info available
964   Dewey            Samantha             110 Sibley Ave Apt 311          Ardmore, PA 19003           USPS Issue               RTS, reached      samanthadewey@gmail.com 484‐535‐0799
965   Netsky           Sandra               191 Presidential BLVD APT 515   BALA‐CYNWYD, PA 19004       Incomplete Declaration   No printed name, or voter address.                                                                 No contact info available
966   Connelly         Megan Lu             1859 Purdue Ln                  Ambler, PA 19002            USPS Issue               RTS, reached, said will do meganconnelly30@gmail.com 215‐776‐8892
967   Clancy           Anne                 215 Woodlyn Ave                 Glenside, PA 19038          Incomplete Declaration   no printed name, or address                                                                        No contact info available
968   Payton           Francine             1006 Highland Drive             Abington, PA 19001          Incomplete Declaration   No printed name, or address                                                                        No contact info available
969   Soll             Jonathan Allan       150 Cambronne Cir               Blue Bell, 19422‐1440       USPS Issue               RTS, reached                                                                        215‐840‐6129
970   Sutton           Rochelle             2807 Old Welsh Rd               Willow Grove, PA 19090      Incomplete Declaration   No printed name, or address                                                                        No contact info available
971   Meekins          Micah Celeste        3009 Bainbridge Dr              Lansdale, PA 19446          USPS Issue               RTS, reached                                             mcmeekins234@gmail.com 443‐539‐6088
972   CARNEY,          JERROD               2915 POTSHOP RD                 EAGLEVILLE PA 19403         USPS Issue               RTS‐INSUFFICIENT ADDRESS                                 JERRODCARNEY@GMAIL.COM 4846242757
973   Saccani          Vincent              699 Main St APT 1130            Harleysville, PA 19438      Incomplete Declaration   Voter Address and printed name.                                                                    No contact info available
974   Burke            Steven F             743 Roy Rd                      King of Prussia, PA 19406   USPS Issue               RTS, due to missing APT# will email w/ the APT# (form)                              610‐513‐7760
975   Saccani          Phyllis              699 Main St APT 1130            Harleysville, PA 19438      Incomplete Declaration   No voter address or printed name                                                                   No contact info available
976   PINCKNEY         ALEXANDRA            901 DALE RD                     JENKINTOWN PA 19046         USPS Issue               RTS‐COA                                                  APINCKNEY5@GMAIL.COM       2152879624
977   Riley            Rose                 215 Ardmore Ave                 Ardmore, PA 19003           Incomplete Declaration   No printed name or address.                                                                        No contact info available
978   BURNIS‐JOHNSON   KIERSTEN             1402 BRANDENVURG WAY            KING OF PRUSSIA PA 19406    USPS Issue               RTS‐COA                                                                             3144898174
979   Newman           Ada                  1219 Ridge Pike E APT 2         Plymouth MTG, PA 19462      Incomplete Declaration   No printed name, or address.                                                                       No contact info available
980   Capobianco       Alyssa               304 Abbott Rd                   Hatboro, PA 19040           USPS Issue               Return to Sender ‐ Temporarily away                      Capobiancoa17@gmail.com    215‐317‐7377
981   DECKER           MATTHEW              395 CROSSFIELD RD               KING OF PRUSSIA PA 19406    USPS Issue               RTS‐COA                                                  MATTHEWSDECKER@GMAIL.COM 9175924367
982   Krebs            Susan                1404 Valley Glen Rd             Elkins Park, PA 19027       Incomplete Declaration   No printed name, or address.                                                                       No contact info available
983   Ullah            Sk Kalam             835 Rose Lane                   Hatfield, PA 19440          Incomplete Declaration   No written address or printed name.                                                                No contact info available
984   CHEVALIER        SAM                  66 FOUTTH ST E APT 1B           BRIDGEPORT PA 19405         USPS Issue               RTS‐COA                             CHEVALIER@GMAIL.COM                             2153479320
985   Malecky          Nathan               107 Tweed Way                   Harleysville, PA 19438      USPS Issue               Return to Sender ‐ Temporarily Away Natemalec@gmail.com

986   PEAN             PATRICK              625 LANCASTER AVE E             WYNNEWOOD PA 19096          USPS Issue               RTS‐COA‐F                           PAPEAN@GMAIL.COM                                718‐454‐5091
987   Healy            Jackson              154 Greenwood Ave               Wyncote, PA 19095           USPS Issue               Not deliverable address Jhealy15@mail.depaul.edu                                    215‐740‐9615
988   CORVI            KATHERINE            515 OWEN RD                     WYNNEWOOD PA 19096          USPS Issue               RTS‐COA                             KLAWREN@GMAIL.COM
989   Thele            Sandra               894 Cressman Rd                 Harleysville, PA 19438      USPS Issue               Not deliverable address TheleSandra@gmail.com                                       610‐653‐2771
990   CORVI            DAVID                515 OWEN RD                     WYNNEWOOD PA 19096          USPS Issue               RTS‐COA                             DAVID.CORVI@GMAIL.COM                           9148261566
991   GHOLSTON         KIMBERLY             445 SABINE AVE                  WYNNEWOOD PA 19096          USPS Issue               RTS‐COA                             KDJERM@GMAIL.COM                                267‐290‐8585

                                                                                                            Page 84 of 124
                                                                   Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 85 of 124


              I              J                    K                              L                       M                             N                                  O                      P                   Q                      R
 1     Last Name    First name       Address Line 1               Address Line 2             Issue                    Note                                 Email2                        Phone            Contacted?                  resolved date
992    Shelton      John             908 Harston Ln               Glenside, PA 19038         Incomplete Declaration   No signature, or date.                                                              No contact info available
993    Thele        Jon              894 Cressman Rd              Harleysville, PA 19438     USPS Issue               Not deliverable address Screechowl@comcast.net                      610‐457‐1802
994    LANDES       CHELSEA          123 FORREST RD               TELFORD PA 18969           USPS Issue               RTS‐FWD                              CHELLY31@GMAIL.COM             2155893274
995    Lapsansky    Kevin            900 Luxor Lane APT 202       Norristown, PA 19401       USPS Issue               ANK                                  kevinlapsansky@gmail.com       484‐895‐8579
996    Chaffier     Deloris          284 Country Club Dr          Telford, PA 18969          USPS Issue               Cancelled Undelivered ‐ Resent 10/16 Deechaffier@verizon.net        215‐723‐1669
997    EDWARDS      PAMELA           518 HEMSING CIR              SOUDERTON PA 18964         USPS Issue               RTS‐FWD                              PEHONEY4@GMAIL.COM             267‐285‐6750
998    Chaffier     Richard          284 Country Club Dr          Telford, PA 18969          USPS Issue               Cancelled Undelivered ‐ Resent 10/16 IMDivot@gmail.com              215‐723‐1669
999    RABANO       GRACE            368 HIGH ST                  SOUDERTON PA 18964         USPS Issue               RTS                                  RABANOG@GMAIL.COM              2672418557
1000   Ullah        Sk Kalam         835 Rose Lane                Hatfield, PA 19440         Incomplete Declaration   No address or printed name.                                                         duplicate
1001   DOFFLEMYER   WILLIAM          157 FRANKLIN ST S            POTTSTOWN PA 19464         USPS Issue               RTS                                    CDOFFLEMYE@AOL.COM            4846243981
1002   FRANTZ       HEATHER          191 SPECHT RD                POTTSTOWN PA 19464         USPS Issue               RTS                                    HMFJMF@COMCAST.NET            4849413680
1003   FRANTZ       JONATHAN         191 SPECHT RD                POTTSTOWN PA 19464         USPS Issue               RTS                                    JONATHANFRANTZ_PE@HOTMAIL.COM 4849413670
1004   Bancroft     Christopher      1521 Schwab Rd               Hatfield, PA 19440         USPS Issue               Return to Sender                       Christopherbancroft@gmail.com 267‐210‐6684
1005   Wagner       Heather          n/a                          n/a                        Incomplete Declaration   Already Sorted by BlueCrest                                                         No contact info available
1006   GRUNSBY      TIMOTHY          242 MORELAND AVE E           HATBORO PA 19040           USPS Issue               RTS                                    TGRUNSBY@YAHOO.COM
1007   Armstead     Elizabeth A      n/a                          n/a                        Incomplete Declaration   Already sorted by Bluecrest                                                         No contact info available
1008   ACHILLE      JENNIFER         1355 BIRCHWOOD AVE           ABINGTON PA 19001          USPS Issue               RTS                                    JROSE7886@GMAIL.COM         6102172632
1009   Eustace      Josiah           104 North LN W. APT B1       Conshohocken, PA 19428     USPS Issue               ANK                                    JosiahREustace@gmail.com    610‐952‐8059
1010   Dandridge    Deitra D         20 Center Ave                Willow Grove, PA 19090     Incomplete Declaration                                          n/a                         n/a              No contact info available
1011   DIPASQUALE   JOSEPH           2626 BELMONT AVE             ABINGTON PA 19001          USPS Issue               RTS                                    JDIP6171@HOTMAIL.COM        9546957130
1012   Thomas       Laprenda Margo   1793 Rockwell Rd             Abington, PA 19001         Incomplete Declaration                                          n/a                         n/a              No contact info available
1013   Hussie       Terrence P       2034 Harmony Ln              Glenside, PA 19038         Incomplete Declaration   Will not scan                          n/a                         n/a              No contact info available
1014   Langendonk   Brian            301 Washington St APT 1415   Conshohocken, PA 19428     USPS Issue               FWD                                    BDL5048@gmail.com
1015   ZALESNE      RACHELLE         474 COPPER BEECH CIR         ELKINS PARK PA 19027       USPS Issue               RTS                                    RZALESNE@COMCAST.NET         2153416611
1016   RANDALL      CRYSTAL          340 NINTH AVE E              CONSHOHOCKEN               USPS Issue               RTS                                    CNICRAN66@GMAIL.COM          2159713085
1017   Klein        Harriet          1758 Cindy Ln                Hatfield, PA 19440         USPS Issue               FWD                                    HLKBGK1@aol.com
1018   Ludwig       Marie B          150 Cliveden Ter             Souderton, PA 18964        USPS Issue               RTS, no contact info                                                                No contact info available
1019   Ong          Heather          309 Washington Street        Conshohocken, PA 19428     USPS Issue               FWD                                    HeatherOng86@gmail.com      267‐457‐7899
1020   K0TCH        FRANK            2828 EGYPT ROAD APT K205     AUDUBON PA 19403           USPS Issue               RTS                                    F.KOTCH@GMAIL.COM           4849199401
1021   Mallick      Michael          309 Washington St APT 4410   Conshohocken, PA 19428     USPS Issue               FWD                                    Mallick_88@yahoo.com        717‐379‐1255
1022   Pomrink      Irene D          814 Avenue G                 Glenside, PA 19038         USPS Issue               RTS, no contact info                                                                No contact info available
1023   WILLIAMS     JOAN             30 BORTON RD                 AUDUBON PA 19403           No secrecy envelope                                             N/A                            6106500310 Called
1024   Gotlieb      Barbara          1637 Oakwood Dr APT S 307    Narberth, PA 19072         USPS Issue               Return to Sender                       Barjer214@comcast.net        610‐420‐5984
1025   JURME        TSERING          166 SPRINGFIELD AVE          BALA‐CYNWYD PA 19004       No secrecy envelope                                             tsejurme@gmail.com             2157156754 Email
1026   Dowds        Andrew Joseph    225 Woods Rd                 Glenside, PA 19038         USPS Issue               ANK, NMR                                                                            No contact info available
1027   CUTHBERT     LORETTA E        1405 CHURCH RD               WYNCOTE PA 19095           No secrecy envelope                                             N/A                         N/A              No contact info available
1028   Strong       Edward           113 Wayne Ave                Norristown, PA 19401       USPS Issue               UTF, MLN                                                           484‐636‐8184
1029   Zalesne      Saul             474 Copper Beech Cir         Elkins Park, PA 19027      USPS Issue                                   SaulZalesne10@gmail.com
                                                                                                                      Return to Sender ‐ Change of Address                               215‐219‐4422
1030   Kessel       Shirley S        4114 Hain Dr                 Lafayette Hill, PA 19444   USPS Issue               RTS                 happyislander@comcast.net                      215‐880‐1150
1031   Hoynash      Gail             414 Salford Station Rd       Perkiomenville, PA 18074   USPS Issue               return to sender    Pega.hoynash@gmail.com
1032   Leomporra    Palma A          5 Rose Ter                   Lafayette Hill PA 19444    USPS Issue               RTS                 mommapalma@gmail.com                           215‐233‐2888
1033   WILKINS      JOHN             510 HILLBROOK RD             BRYN MAWR PA 19010         No secrecy envelope                          emw510@comcast.net                             N/A          Email
1034   Hoynash      Peter            414 Salford Station Rd       Perkiomenville, PA 18074   USPS Issue               Return to Sender    Pega.hoynash@gmail.com
1035   HILLIARD     ROBERT           52 OLD CEDARBROOK RD         WYNCOTE PA 19095           RESOLVED                 Completed in person bigdaddy2401@gmail.com                         N/A              Email                          10/27/2020
1036   LAMARE       JOHN             3 SYCAMORE LANE              AMBLER PA 19002            RESOLVED                 Completed in person jblamare6@gmail.com                            N/A              Email                          10/27/2020

                                                                                                 Page 85 of 124
                                                                     Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 86 of 124


                I               J                   K                             L                         M                                  N                                           O                        P                   Q                   R
 1     Last Name       First name      Address Line 1               Address Line 2              Issue                 Note                                                   Email2                          Phone        Contacted?                resolved date
1037   BAE             MYUNG           207 JONATHAN DR              NORTHWALES PA 19454         No secrecy envelope                                                          mbae207sun@gmail.com              2154123866 Email
1038   McCoy           Edward C Jr     2102 Carol Ln                Norristown                  USPS Issue            RTS                                                    ECM0820@hotmail.com             610‐272‐1624
1039   Lupisella       Elizabeth       5932 Woodridge Dr            Green Lane, PA 18054        USPS Issue            Return to Sender                                       Elizabeth.Lupisella@gmail.com   908‐420‐4173
1040   Morley          Aidan Michael   1011 Devon Rd                Jenkintown, PA 19046        USPS Issue            RTS                                                    aidanm@hotmail.com              202‐246‐8763
1041   TRUMBAUER       SHIRLEY         908 LAKEVIEW DR              GREENLANE PA 18054          No secrecy envelope                                                          N/A                             N/A          No contact info available
1042   Yob             Tamarah         1052 Victor Dr               East Greenville, PA 18041   USPS Issue            Return to Sender                                       Tam.Yob@gmail.com               267‐313‐4908
1043   Harrison        Mark Lawton     1001 Penn Ave                Glenside, PA 19038          USPS Issue            RTS                                                    catrsrun232@gmail.com           313‐288‐3538
1044   Conrad          Carmen          1221 Limberlost Ln           Gladwyne, PA 19035          USPS Issue            RTS                                                    carmenconrad@verizon.net        610‐554‐4131
1045   FISCHER         NINA            1425 HORSHAM ROAD            NORTH WALES PA 19454        No secrecy envelope                                                          ninalynne0909@gmail.com           2673533555 Email
1046   Markle          Kevin           2904 Pheasant Run Rd         Audubon, PA 19403           USPS Issue            Return to Sender ‐ Change of Address                   K.Markle05@gmail.com            484‐213‐7741
1047   DIXON           MARY            100 WEST AVE APT E15 S       JENKINTOWN PA 19046         No secrecy envelope                                                          N/A                             N/A          No contact info available
1048   Conrad          Charles         1221 Limberlost Ln           Gladwyne, PA 19035          USPS Issue            RTS                                                    chuckconrad@mac.com             610‐812‐8200
1049   Hill            Michael John    503 Reading Cir              Lansdale, PA 19446          USPS Issue            RTS                                                    mike.hill34@gmail.com           570‐351‐3092
1050   FOSTER          ARTEMESIA       2035 A MOTHER WAY            ELKINS PARK PA 19027        No secrecy envelope                                                          N/A                             N/A          No contact info available
1051   Hodge           Angus           4315 Wendy Way               Schwenksville, PA 19473     USPS Issue            Return to Sender ‐ FWD time EXP                        angushodge@aol.com              267‐401‐2684
1052   Boelter         Constance       1590 Coolidge Ave            Abington, PA 19001          USPS Issue            RTS, no contact info, undeliverable                                                                    No contact info available
1053   STROM           ELAINE          332 HIDDEN RIVER RD          NARBERTH PA 19072           No secrecy envelope                                                          mainlinebooker@comcast.com N/A                  Email
1054   Diodata         Dominic D III   108 Kennedy Rd W             North Wales, PA 19454       USPS Issue            RTS, no contact info, undeliverable                                                                    No contact info available
1055   Hodge           Collette        4315 Wendy Way               Schwenksville, PA 19473     USPS Issue            Return to Sender ‐ Forward time EXP                    angushodge@aol.com              267‐640‐9673
1056   DONOHUE         SUSAN           106 STOCKTON CT              NORTH WALES PA 19454        No secrecy envelope                                                          irishgirl7189@aol.com             2679944902 Email
1057   Truong‐Merrit   Chau Le         205 Becker Rd                North Wales, PA 19454       USPS Issue            RTS, Insufficient Address, Unable to forward                                                           No contact info available
1058   SAXANOFF        ALISA           1091 JACKSON ST              POTTSTOWN PA 19464          No secrecy envelope                                                          alisasaxanoff@yahoo.com         N/A          Email
1059   Corrigan        Scott           25 Miner Cir                 Collegeville, PA 19426      USPS Issue            Return to Sender ‐ Change of Address                   SRCVH1@msn.com                  267‐205‐7078
1060   Gorman          Eugene M        2106 Mt Carmel Ave           Glenside, PA 19038          USPS Issue            RTS, insufficient address, unable to forward                                           215‐280‐2111
1061   PLASSMEYER      LINDA           20939 VALLEY FORGE CIR       KING OF PRUSSIA PA 19406    RESOLVED              Completed in person lplassmeyer@outlook.com                                              6109899344 Email                          10/27/2020
1062   Kaplan          Benjamin Adam   1425 Garrison Dr             Ambler, PA 19002            USPS Issue            RTS, No such number, unable to forward bkap2500@gmail.com                              215‐510‐1355
1063   VITEK           MELISSA         1521 OLD WELSH RD            HUNTINGDON VLY PA 19006     No secrecy envelope                                          mviteka@salus.edu                               N/A          Email
1064   Shaftel         Zachary         1348 Stoney River Dr         Ambler, PA 19002            USPS Issue            Return to Sender                       Zshaftel@gmail.com
1065   LUNDY           SUSAN           117 RED RAMBLER DR           LAFAYETTE HILL PA 19444     RESOLVED              Completed in person arizonadry@gmail.com                                               N/A             Email                       10/27/2020
1066   Dickson         Meghan A        5958 Woodridge Dr            Green Lane, PA 18054        USPS Issue            RTS, not deliverable as addressed, unable to forward   meghandickinson526@gmail.com 267‐772‐7388
1067   Jones           Brandon         712 Arlington Rd             Narberth, PA 19072          USPS Issue            Return to Sender                                       JOnes.brandonr@gmail.com    404‐936‐6770
1068   HAUSER          ROBERT          2251 WENTZ LANE              SCHENKSVILLE PA 19473       No secrecy envelope                                                          N/A                           6102872715 Called
1069   Williams        Jessica K       1234 Fleetwood Rd            Jenkintown, PA 19046        USPS Issue            RTS, insufficient address, unable to forward           jesskwilliams824@gmail.com  215‐816‐2906
1070   Nester          Liam Michael    4047 Warner Rd S             Lafayette Hill, PA 19444    USPS Issue            ANK                                                    cmgn14@gmail.com            610‐952‐7556
1071   TRONCELLITI     EDMOND          1427 WYNNEWOOD RD W          ARDMORE PA 19003            No secrecy envelope                                                          mtronce2@aol.com              4844311133 Email
1072   Gotlieb         Jerry           1637 Oakwood Dr APT S. 307   Narberth, PA 19072          USPS Issue            Return to sender ‐ Change of Address                   Barjer214@comcast.net       610‐420‐8383
1073   McFadden        Cynthia M       1447 Powell St               Norristown, PA 19401        USPS Issue            FWD                                                    cmcfadden324@gmail.com      484‐841‐3212
1074   QUADER          MOHAMMED        800 WALNUT ST                LANSDALE PA 19446           No secrecy envelope                                                          N/A                         N/A          No contact info available
1075   Antzelevitch    Charles         1655 Oakwood Dr APT N317     Narberth, PA 19072          USPS Issue            Return to Sender‐ Change of Address                    Cantzelevitch@gmail.com     315‐725‐1390
1076   Hoover          Marguerite F    520 Glenn Valley Dr          Norristown, PA 19401        USPS Issue            FWD                                                    chromedome2346@verizon.net 610‐279‐7033
1077   MATHIS          ERNEST          1016 WALNUT ST               NORRISTOWN PA 19401         No secrecy envelope   DADS PHONE                                             N/A                         610‐505‐2106 Called
1078   COMINSKY        JASON           509 MENNONITE RD             ROYERSFORD PA 19468         No secrecy envelope                                                          N/A                         N/A          No contact info available
1079   Kohler          Beth            1637 Oakwood Dr APT S410     Narberth, PA 19072          USPS Issue            Return to Sender ‐ Change of Address                   BethBK@MSN.com
1080   Wagner          Chelsea L       1300 Fayette St Apt 87       Conshohocken, PA 19428      USPS Issue            FWD                                                    chelsea.ellison28@gmail.com 610‐470‐3485
1081   HALTZMAN        SHELLY          841 REDGATE RD               DRESHER PA 19025            No secrecy envelope                                                          N/A                         N/A          No contact info available


                                                                                                    Page 86 of 124
                                                                        Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 87 of 124


                I                J                    K                              L                           M                                       N                                            O                      P                 Q                      R
 1     Last Name       First name       Address Line 1                 Address Line 2                Issue                    Note                                                       Email2                        Phone        Contacted?                  resolved date
1082   Sherkness       Evan Bradford    104 North Ln W                 Conshohocken, PA 19428        USPS Issue               IA                                                         evsherkness@gmail.com         484‐868‐1570
1083   MASSIMILLA      EDNA             1120 YORK RD APT 133           WILLOW GROVE PA 19090         No secrecy envelope                                                                 N/A                           215‐830‐0433 Called
1084   Antzelevitch    Brenda           1655 Oakwood Dr APT N317       Narberth, PA 19072            USPS Issue               Return to Sender ‐ Change of Address                       sunba81@aol.com               315‐725‐2000
1085   DARYANI         MANOHAR          20 PROVIDENCE FRF              ROYERSFORD PA 19468           No secrecy envelope                                                                 N/A                           484‐369‐9027 Called
1086   Berger          Barrie Rebecca   4134 Dana Ln                   Lafayette Hill, PA 19444      USPS Issue               RTS, insufficient address, unable to forward, online app   barrieberger7@gmail.com       484‐684‐8419
1087   Katzen          Stuart           16 Schiller Ave                Narberth, PA 19072            USPS Issue               return to sender ‐ Change of Address                       Skatzen@msn.com
1088   McCrae          Charles L        321 Cheltenham Ave             Elkins Park, PA 19027         Incomplete Declaration                                                              N/A                           N/A          No contact info available
1089   Sailes          Frederick        2608 Bridle Path Rd            Norristown, PA 19403          USPS Issue               Return to Sender ‐ Change of Address                       SailesFC@gmail.com
1090   Crouse          Stephanie        1803 Sweet Gum Dr              Norristown, PA 19403          USPS Issue               Return to Sender ‐ Change of Address                       Steph.Crouse4234@gmail.com    610‐564‐1454
1091   Headen          Phillip          15 Lawrence Rd                 Audubon, PA 19403             USPS Issue               Return to Sender ‐ Change of Address                       Pheaden1990@gmail.com         215‐850‐6736
1092   WELSH           CATHERINE        2849 BIG FOOT ROAD             NOT LEGIBLE                   No secrecy envelope                                                                 N/A                           610‐504‐1906 Called
1093   Fequiere        Sarah            2100 Line St N, APT P301       Lansdale, PA 19446            USPS Issue               Return to sender ‐ Change of Address                       Sefequiere@gmail.com          267‐421‐2583
1094   Fequiere        Bellyne          2100 Line ST N, APT P201       Lansdale, PA 19446            USPS Issue               Return to Sender ‐ Change of Address                       Bfequiere@live.com            267‐421‐2582
1095   Pak             Mison            3 Meadow Glen Rd               Lansdale, PA 19446            USPS Issue               Return to Sender ‐ Change of Address                       Pakmison@ymail.com            270‐319‐0398
1096   McGovern        Laura            1056 Lea Dr                    Collegeville, PA 19426        USPS Issue               Return to Sender ‐ Change of Address                       Lemcgovern@me.com             610‐220‐4227
1097   Somerman        Brian David      6105 Lilac Ct                  Lansdale, PA 19446            USPS Issue               Cancel, undelivered, resent 10/20                          bsomerman@gmail.com           215‐280‐1660
1098   Longenberger    Lee              N/a                            N/a                           Damaged                  Fully damaged; incomplete declaration                      leelongenberger@gmail.com                  Email
1099   Huber           John G           356 Founders Vlg               Lansdale, PA 19446            USPS Issue               Canceled, undelivered, temp away                                                         610‐584‐3659
1100   Miller          Debra            3821 Ramage Run                Huntingdon Valley, PA 19006   USPS Issue               No such number; RTS debrrcnll@aol.com                                                    215‐938‐7411
1101   Trave           Joseph V         3012 Azalea Ter                Plymouth Mtg, PA 19462        USPS Issue               Cancelled, undelivered, temp away josephtrave@comcast.net                                610‐389‐2058
1102   Weaver          Margaret Rose    3765 Jasper Ln                 Hatboro, PA 19040             USPS Issue               cancelled, undel, UTF, no contact info                                                                No contact info available
1103   Miller          Lindsey          3821 Ramage Run                Huntingdon Valley, PA 19006   USPS Issue               NO such number;RTS                                         lindseybethmiller@gmail.com
                                                                                                                                                                                              215‐630‐1889
1104   Fortune         Abigail C        ‐                              ‐                             USPS Issue               Canceled, undel, UTF                                       clfortune@brynmawr.edu
                                                                                                                                                                                              207‐844‐1343
1105   Shaftel         Allison          1348 Stoney River Drive        Ambler, PA 19002              USPS Issue               RTS; cannot fwd                                            allisonrshaftel@gmail.com
                                                                                                                                                                                              n/a
1106   Tanzer‐Kargel   Frances          1428 Westwood Lane             Wynnewood, PA 19096           USPS Issue               RTS; Cannot fwd                                            frances.tanzer@gmail.com
                                                                                                                                                                                              215‐680‐2391
1107   Dorfman         Isabella         101 Merion Ave N Box C‐448     Bryn Mawr, PA 19010           USPS Issue               RTS                                                        isabellajdorfman@gmail.com
                                                                                                                                                                                              617‐275‐6396
1108   Kestenbaum      Matthew Tobin    131 W Gilman St                Madion, WI 19010              USPS Issue               Cancelled, undel                                           mtkestenbaum@wisc.edu
                                                                                                                                                                                              267‐300‐5233
1109   Dyer            Margaret         2373 Turnberry Rd              Gilbertsville, PA 19525       USPS Issue               RTS; Unable to Fwd                                         massleayero413@gmail.com
                                                                                                                                                                                              610‐405‐7647
1110   Saldutti        Eriq Anthony     2323 Heston St                 Abington, PA 19001            USPS Issue               Canceled, undelivered                                      esaldutti49@gmail.com
                                                                                                                                                                                              267‐265‐0937
1111   Dyer            John             2373 Turnberry Rd              Gilbertsville, PA 19525       USPS Issue               RTS; No fwd                                                johnndyer@comcast.net
                                                                                                                                                                                              n/a
1112   Livingston      James J          983 Huntingdon Pike Apt B214   Huntingdon Vly, PA 19006      USPS Issue               RTS, No such number                                             267‐423‐1873
1113   Weinstein       Janice           940 Lindy Lane                 Bala‐Cynwyd, PA 19004         USPS Issue               RTS; No fwd                          janicep324@yahoo.com       610‐574‐7747
1114   Queenan         Leslie           N/a                            Ambler, PA 19002              USPS Issue               RTS; no such number; incomplete dec. n/a                        n/a          No contact info available
1115   Shapiro         Justin G         112 David Rd                   Bala‐Cynwyd, PA 19004         USPS Issue               RTS, no mail, canc, undel justinshapiro92@gmail.com 267‐979‐9567
1116   Wall            Marie            922 Montgomery Ave             Bryn Mawr, PA 19010           USPS Issue               IA;RTS                               mwall395@line.kutztown.edu 484‐744‐0250
1117   Holl            Sarah E          308 Dallas Rd                  Willow Grove, PA 19090        USPS Issue               Cancel, Undel                                                   215‐206‐9258 No contact info available
1118   Bassman         Rebecca          510 S 11th St                  Philadelphia, PA 19012        USPS Issue               Insufficient Address; RTS becca.bassman@gmail.com               215‐495‐9404
1119   Anderson        Claire Manning   308 Dallas Rd                  Willow Grove, PA 19090        USPS Issue               canc, undel, RTS                     claire1960@gmail.com
1120   Simms           Stephanie        757 E Main St APT W111         Lansdale, PA 19464            USPS Issue               No such street; RTS xostephxo22@gmail.com                       267‐977‐1872
1121   Miller          Andrew J         3821 Ramage Run                Huntingdon Vly, PA 19006      USPS Issue               RTS, No such number, canc, undel bballhvn@aol.com               215‐938‐7411
1122   Renzi           Howard           805 Pardee Lane                Wyncote, PA 19095             USPS Issue               RTS; NSS                             howierenzi33@gmail.com     n/a
1123   Delia           Laura            3816 Betz Rd                   Hatboro, PA 18940             USPS Issue               RTS; NSS                             n/a                        814‐460‐4334
1124   Mancini         Mark             487 Hidden Ln                  Gilbertsville PA 19525        Incomplete Declaration                                        N/A                        N/A          No contact info available
1125   McCuch          Mark             Unknown                        Unknown                       Incomplete Declaration                                        N/A                        610‐495‐0776 Called
1126   Wergelis        Amy              7319 Chestnut Ave              Elkins Park PA 19027          Incomplete Declaration                                        N/A                        N/A          No contact info available


                                                                                                         Page 87 of 124
                                                                                      Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 88 of 124


               I                     J                           K                                    L                                 M                        N                                 O                           P                    Q                      R
 1     Last Name           First name            Address Line 1                                Address Line 2               Issue                    Note                                     Email2                      Phone          Contacted?                  resolved date
1127   Siravo              Barbara Ann           no address                                    no addres                    Incomplete Declaration                                            n/a                         215‐249‐1839   Called
1128   Cucchiara           Lena                  147 Bishop Dr.                                Norristown PA 19403          Incomplete Declaration                                            N/A                         N/A            No contact info available
1129   QI                  Hongwei               3111 Walker Ln                                Eagleville PA 19403          Incomplete Declaration                                            N/A                         N/A            No contact info available
1130   McCuch              Victoria              no address                                    no address                   Incomplete Declaration                                            N/A                         N/A            No contact info available
1131   Li                  Zhong Qian            3111 Walker Ln                                Eagleville PA 19403          Incomplete Declaration                                            N/A                         N/A            No contact info available
1132   Denardo             James                 2302 Harvard Dr.                              North Wales PA 19454         Incomplete Declaration                                            N/A                         215‐855‐8884   Called
1133   Kelly               Gerald                no address provided                           no address provided          Incomplete Declaration                                            N/A                         N/A            No contact info available
1134   Pester Denardo      Elizabeth             2302 Harvard Dr.                              North Wales PA 19454         Incomplete Declaration                                            N/A                         N/A            No contact info available
1135   Abdullah            Aqueelah Salimah      7 Brookside Ct.                               Horsham PA 19044             Incomplete Declaration                                            N/A                         215‐901‐1447   Called
1136   Yothers             Ruth                  132 Valley View Drive                         Souderton PA 18964           Incomplete Declaration                                            N/A                         267‐203‐8610   Called
1137   Evenstad            Doris                 223 Monroe St.                                Stowe PA 19464               Incomplete Declaration   mailing address may not be correct. N/A                              610‐313‐4532   Called
1138   Czartoryjski        Regina                unknown (199 Nancys Ln)                       unknown (KOP PA 19406)       Incomplete Declaration                                            N/A                         N/A            No contact info available
1139   Pennock             Roland                1514 W. Marshall St. #314                     Norristown PA 19403          Incomplete Declaration                                            N/A                         N/A            No contact info available
1140   Odonnel             Mary                  1514 W. Marshall St. Apt. 316                 n/a                          Incomplete Declaration                                            N/A                         610‐630‐1667   Called
1141   Ackler              Joseph                3817 Victoria Ln                              Collegeville PA 19426        Incomplete Declaration                                            n/a                         n/a            No contact info available
1142   McKay               Emily                 546 Main St.                                  Harleysville PA 19438        Incomplete Declaration                                            emckay5959@gmail.com          2152377674   Email
1143   Steczak             Kierstan              1959 Canyon Creek Rd. Gilbertsville, PA 19525 na                           Incomplete Declaration   no date                                  n/a                         n/a            No contact info available
1144   Fantazzi            Rocco Basil Jr.       3505 W. Moreland Rd. Apt L124 Willow Grove PA 19090                        Incomplete Declaration                                            n/a                         n/a            No contact info available
1145   Palmisano Diamond   Dolores               1134 Brians Way                               Wayne PA 19087               Incomplete Declaration                                            n/a                         n/a            No contact info available
1146   Ciabattoni          Esther                1427 N. Trooper Rd.                           n/a                          Incomplete Declaration   no date                                  n/a                         n/a            No contact info available
1147   Cardillo            Charlotte             491 Wade Ave                                  Lansdale PA 19446            Incomplete Declaration                                            n/a                         n/a            No contact info available
1148   Hong                Bok Soon              Unknown (614 Greentree Ln) Unknown (Norristown PA 19403)                   Incomplete Declaration                                            boksoon311@yahoo.com          6105397958   Email
1149   Hong                Seo Kee               Unknown (614 Greentree Ln) Unknown (Norristown PA 19403)                   Incomplete Declaration                                            seokee311@yahoo.com           6105397958   Email
1150   Benedict            Anthony               106 Bryn Mawr Ave                             Bala‐Cynwyd PA 19004         Incomplete Declaration   no address, date provided in declaration n/a                         n/a            No contact info available
1151   Bello               Ernest                1637 Sheridan Ln                              Eagleville PA 19403          Incomplete Declaration                                            n/a                           6106308399   Called
1152   Collins             Lorraine              264 Candlebrook Rd                            King Of Prussia pa 19406     Incomplete Declaration                                            n/a                         n/a            No contact info available
1153   Powers              Kathleen              715 Danbury Dr.                               Blue Bell Pa 19422           Incomplete Declaration                                            n/a                         n/a            No contact info available
1154   Monaghan            David                 604 Continental Rd. Hatboro, PA 19040 n/a                                  Incomplete Declaration   no date                                  davidmonaghan@comcast.net   n/a            Email
1155   Pitkoff             Donna Miller          35 Aspen Way                                  Schwenksville PA 19473       Incomplete Declaration                                            n/a                         n/a            No contact info available
1156   Tan                 Suiyanti              1001 City Ave. Apt EC111                      Wynnewood PA 19096           Incomplete Declaration                                            alecia_chen@yahoo.com       n/a            Email
1157   Benedict            Farida                106 Bryn Mawr Ave. Bala‐Cynwyd, PA 19004 n/a                               Incomplete Declaration   no print name or address n/a                                         n/a            No contact info available
1158   Potts               Dennis                1808 Candlewyck Ln                            Green Lane PA 18054          Incomplete Declaration                                            n/a                         n/a            No contact info available
1159   Reif                Aviv Golan            1265 Burnett Rd                               Huntingdon Valley PA 19006   Incomplete Declaration                                            avivreif@live.com           n/a            Email
1160   Park                Young Ja              8614 Trumbauer Dr. Glenside, PA 19038 n/a                                  Incomplete Declaration   no date                                  n/a                         n/a            No contact info available
1161   Harris              Patricia              2828 Egypt Rd. Apt C103                       Audubon PA 19403             Incomplete Declaration                                            n/a                         n/a            No contact info available
1162   Powell              Marie                 8320 Macarthur Rd. Glenside, PA 19038 n/a                                  Incomplete Declaration   no date                                  n/a                         n/a            No contact info available
1163   KELSANG             NGAWANG               1001 City Ave. Apt EC111                      Wynnewood PA 19096           Incomplete Declaration                                            kel_nga1975@yahoo.com         3475106553   Email
1164   Chang               Lisa                  690 Jefferson St.                             Red Hill PA 18076            Incomplete Declaration                                            n/a                           2158208460   Called
1165   Buck                Nedine                3339 Salford Station                          Perkiomenville PA 18074      Incomplete Declaration                                            n/a                         n/a            No contact info available
1166   Staller             Grace                 24304 Shannondell Dr. Audubon, PA 19403 n/a                                Incomplete Declaration   no address, printed name n/a                                         n/a            No contact info available
1167   Brannick            Benjamin              607 Washington St.                            East Greenville PA 18041     Incomplete Declaration                                            bbrannick1@verizon.net      n/a            Email
1168   Staller             Harry                 24304 Shannondell Dr. Audubon, PA 19403 n/a                                Incomplete Declaration   no printed name/ address n/a                                         n/a            No contact info available
1169   Ritschard           Dale                  184 s. Mennonite Rd                           Collegeville PA 19426        Incomplete Declaration                                            n/a                         n/a            No contact info available
1170   Patel               Sarladevi Mukundrai   1724 Lydia Dr.                                Hatfield PA 19440            Incomplete Declaration                                            n/a                         n/a            No contact info available
1171   Towers              Donna                 11 Reynolds Ave.                              Potttstown PA 19464          Name disconnect          came in envelope for Dene Lott n/a                                   n/a            No contact info available


                                                                                                                                Page 88 of 124
                                                                                            Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 89 of 124


                  I                         J                            K                                  L                                      M                                       N                                      O                            P                    Q                      R
 1     Last Name                  First name            Address Line 1                              Address Line 2               Issue                                      Note                                             Email2                       Phone          Contacted?                  resolved date
1172   Young (Kim)                not provided (Seok)   n/a (1290 Allentown Rd APT E274) n/a (Lansdale PA 19446)                 Incomplete Declaration (name disconnect)   no full name, date, address or printed name n/a                               n/a            No contact info available
1173   Walters                    Ralph                 37 Cepp Rd.                                 perkiomenville PA 18074      Name disconnect                            came in envelope for Jillian Walters n/a                                      n/a            No contact info available
1174   goldberg                   Barry                 620 Harts Bridge Rd.                        Conshohocken PA 19428        Name disconnect                            came in envelope for Phyllis Goldberg n/a                                     n/a            No contact info available
1175   Kim                        Young                 n/a                                         n/a                          Incomplete Declaration                     no address, date, printed name/ address n/a                                   n/a            No contact info available
1176   Schloer                    Krista                8 Creek View Ter                            Lafayette Hill PA 19444      Name disconnect                            came in envelope for Ryan Schloer kschloer1@gmail.com                           2672283637
1177   Blaylock                   Gwendolyn Ann         unknown (29 Ridge Pike APT 17) unknown (Conshohocken PA 19428)           Incomplete Declaration                                                                      n/a                            6109403793   Called
1178   Miller                     Nathan                7305 Mountain Ave. Elkins Park, PA 19027 n/a                             Incomplete Declaration                     no date                                          n/a                            9084680105   Called
1179   uddin                      Asma Bint             1007 Poplar St                              Lansdale PA 19446            Incomplete Declaration                                                                      n/a                          n/a            No contact info available
1180   Burns                      Lynda                 405 Goodwin Rd.                             Hatboro PA 19040             Incomplete Declaration                                                                      n/a                          n/a            No contact info available
1181   DiMarco                    Mary                  100 West Ave Apt. S430 Jenkintown, PA 19046 n/a                          Incomplete Declaration                     no address, printed name n/a                                                    2157053087   Called
1182   Johnson                    Ruby                  7909 Newbold Ln                             Glenside PA 19038            Incomplete Declaration                                                                      n/a                          n/a            No contact info available
1183   De Sousa                   Katherine             unknown (639 Broad St S APT L19) unknown (Lansdale PA 19446)             Incomplete Declaration                                                                      n/a                          n/a            No contact info available
1184   unknown (Matos)            unknown (Juan)        unknown (7816 Flourtown Ave) unknown (Glenside PA 19038)                 Incomplete Declaration                     name not legible, no date, printed name, address n/a                          n/a            No contact info available
1185   Makaron                    Persa                 1290 Allentown Rd Apt S113                  Lansdale PA 19446            Incomplete Declaration                                                                      n/a                            2674215823   Called
1186   Tran                       Van T                 not provided (614 Broad St N APT 3) not provided (Lansdale PA 19446)     Incomplete Declaration                     no date, address, printed name n/a                                              2153627460   Called
1187   Hunsberger                 Thomas                3155 Middle Creek Rd.                       gilbertsville PA 19525       Incomplete Declaration                                                                      n/a                            2158046138
1188   Bruno                      Catherine             unknown                                     unknown                      Incomplete Declaration                                                                      n/a                          n/a            No contact info available
1189   Reichert                   Frederick             13302 Shannondell Dr. Audubon, PA 19403 n/a                              Incomplete Declaration                     no address, printed name n/a                                                  n/a            No contact info available
1190   Amole                      Barbara               unknown (331 Hanover St N APT 74) Unknown (Pottstown PA 19464)           Incomplete Declaration                                                                      n/a                          n/a            No contact info available
1191   Handwerk                   Jeffrey               2293 Locust Dr.                             Lansdale PA 19446            Incomplete Declaration                                                                      n/a                            2672184339   Called
1192   Cha                        Hye Suk               1001 City Ave Apt EC211 Wynnewood PA 19096 n/a                           Incomplete Declaration                     not signed, not address, printed name, date n/a                                 2157247333   Called
1193   Oliver                     Rose Ann              700 Farmington Ave. Unit K54 Pottstown PA 19464                          Incomplete Declaration                                                                      roseann.oliver@comcast.net     8042470202   Email
1194   Williams                   Whitney               2425 Trewington Rd.                         colmar PA 18915              Incomplete Declaration                                                                      n/a                            2676424372   Called
1195   Ellis                      Alfred                902 Middleton Place Norristown, PA 19403 N/A                             Incomplete Declaration                     no date                                          n/a                          n/a            No contact info available
1196   Potts                      Donna                 1808 Candlewyck Ln                          Green Lane PA 18054          Incomplete Declaration                                                                      n/a                          n/a            No contact info available
1197   Knorr                      Lynda                 none                                        none                         Incomplete Declaration                     no address                                       n/a                          n/a            No contact info available
1198   Fisher                     Jeffery               613 Gawain Rd.                              Plymouth Meeting PA 19462    Incomplete Declaration                                                                      n/a                          n/a            No contact info available
1199   Rahmlow                    Patricia              138 Sawgrass Dr.                            Blue Bell PA 19422           Incomplete Declaration                                                                      n/a                          n/a            No contact info available
1200   Kimmel                     Gloria                3205 Skippack Pike, Lansdale, PA 19446 n/a                               Incomplete Declaration                      no date                                         n/a                          n/a            No contact info available
1201   Rementer                   Todd                  616 Central Ave.                            Souderton PA                 Incomplete Declaration                                                                      trementer@comcast.net          2152600304   Email
1202   Cunningham                 Donna                 1551 huntington Pike Apt B301 Huntingdon Valley PA 19006                 Incomplete Declaration                                                                      n/a                          n/a            No contact info available
1203   ZHU                        Yongxin               1625 Holly Hill Lane, Ambler, PA 19002 n/a                               Incomplete Declaration                     not signed or dated, no address n/a                                           n/a            No contact info available
1204   Watson                     Florence              1551 Huntingdon Pike                        Huntingdon Valley PA 19006   Incomplete Declaration                                                                      n/a                          n/a            No contact info available
1205   Ianella                    Charlene              1327 Dell Rd. Eagleville PA 19403 n/a                                    Incomplete Declaration                     not dated                                        n/a                            6105844381   Called
1206   Grubb                      Devon                 1608 Rockwell Rd. Flr 2                     Abington PA 19001            Incomplete Declaration                                                                      n/a                            2154102916   Called
1207   name not legible (Stetler) not legible (Sara)    not legible (27 Ninth St W)                 n/a (Pottstown PA 19464)     Incomplete Declaration                     not dated                                        n/a                          n/a            No contact info available
1208   Keys                       Clara Drusilla        309 Walnut St 206 Salba Apartments Jenkintown, PA 19046                  Incomplete Declaration                                                                      n/a                          n/a            No contact info available
1209   Williams                   Gladys M              1065 Archer Ln                              Lansdale, PA 19446           Incomplete Declaration                                                                      n/a                          n/a            No contact info available
1210   Trumbull                   Ann K                 227 Pheasant Run                            Lansdale, PA 19446           Incomplete Declaration                                                                      n/a                          n/a            No contact info available
1211   Petrecz                    Ellen K               ‐                                           ‐                            Incomplete Declaration                                                                      n/a                          n/a            No contact info available
1212   Patel                      Shetal A              340 Colby Ln                                Ambler, PA 19002             Incomplete Declaration                                                                      n/a                          n/a            No contact info available
1213   Sherman                    William J Jr          1395 Pinatown Rd                            Fort Washington, PA 19034    Incomplete Declaration                                                                      n/a                          n/a            No contact info available
1214   Yonosh                     John E                337 Vista Dr                                Phoenixville, PA 19460       Incomplete Declaration                                                                      n/a                          n/a            No contact info available
1215   Goodson                    Loredana G            2514 Stony Creek Rd                         Lansdale, PA 19446           Incomplete Declaration                                                                      n/a                          n/a            No contact info available
1216   Mercer                     Cherie N              49 Fox Chase Drive                          North Wales, PA 19454        Incomplete Declaration                                                                      n/a                          n/a            No contact info available


                                                                                                                                         Page 89 of 124
                                                                                      Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 90 of 124


                I                   J                        K                                      L                        M                               N                                 O                    P                    Q                      R
 1     Last Name          First name     Address Line 1                              Address Line 2              Issue                    Note                                      Email2                    Phone           Contacted?                  resolved date
1217   Koonce             Marion L       1535 Butler Pike                            Conshohocken, PA 19428      Incomplete Declaration                                             n/a                       n/a             No contact info available
1218   Philkill           Cynthia Ruth   1951 Main Ave                               Conshohocken, PA 19428      Incomplete Declaration                                             n/a                       n/a             No contact info available
1219   MacLaren           Donald R       1070 Wood Tom Cir                           Wayne, PA 19087             Incomplete Declaration                                             n/a                       n/a             No contact info available
1220   Nalbantian         Michael        251 W Dekalb Pike Apt 5 507                 King of Prussia, PA 19406   Incomplete Declaration                                             n/a                          4844330110
1221   Gaffney            Kristen M      805 Lennox Ct                               Lansdale, PA 19446          Incomplete Declaration                                             n/a                       n/a             No contact info available
1222   Love               Dana           253 Grimely Rd                              Schwenksville, PA 19473     Incomplete Declaration   No address on last line.                  n/a                       n/a             No contact info available
1223   Collester          Alan A         5102 Lilac Ct                               Lansdale, PA 19446          Incomplete Declaration                                             n/a                       n/a             No contact info available
1224   Hammerschmidt      Mary           677 Elm St APT 106                          Royersford, PA 19468        Incomplete Declaration   No date.                                  n/a                          6100831002   Called
1225   Collester          Shirley        5102 Lilac Ct                               Lansdale, PA 19446          Incomplete Declaration                                             n/a                       n/a             No contact info available
1226   Plewinski          Jaqueline      167 Providence Forge                        Royersford, PA 19468        Incomplete Declaration   No date.                                  jplew53@verizon.net       `n/a            Email
1227   Omara              Kathryn        2015 Spring Valley Rd                       Lansdale, PA 19446          Incomplete Declaration                                             n/a                       n/a             No contact info available
1228   Shidleff           Melissa Anne   815 Creekview Dr                            Blue Bell, PA 19422         Resolved                 Completed in Person                       mshideleff@mac.com           4843407945   Email                          10/28/2020
1229   Kushner            Robin          700 Elkins Ave APT A1                       Elkins Park, PA 19027       Incomplete Declaration   No date.                                  n/a                       n/a             No contact info available
1230   Becker             Deborah        625 Arbor Rd                                Cheltenham, PA 19012        Incomplete Declaration                                             n/a                       n/a             No contact info available
1231   Dougherty          Mary           511 Baird Rd                                Merion Station, PA 19066    Incomplete Declaration   No date.                                  n/a                       n/a             No contact info available
1232   Tabor              Daniel L       8234 Manor Rd                               Elkins Park, PA 19027       Incomplete Declaration                                             n/a                       n/a             No contact info available
1233   Camasso            Eunice         283 Westminster Ln                          Souderton, PA 18964         Resolved                 Completed in Person                       c283@comcast.net             6104763320   Email                          10/28/2020
1234   Dorsey             Johnnie Jr     1201 Papermill Rd                           Glenside, PA 19038          Incomplete Declaration                                             n/a                          2152422925   Called
1235   Minkoff            David J        196 Linden Dr                               Elkins Park, PA 19027       Incomplete Declaration                                             n/a                       n/a             No contact info available
1236   Biberman           Marianne       402 Stone Ridge Dr S                        Lansdale, PA 19466          Incomplete Declaration   No date.                                  n/a                       n/a             No contact info available
1237   Freyman            Donna S        195 Linden Dr                               Elkins Park, PA 19027       Incomplete Declaration                                             n/a                       n/a             No contact info available
1238   Lin                Tao            306 Ascot Ct                                North Wales, PA 19454       Incomplete Declaration   No date.                                  n/a                          2155000077   Called
1239   Stup               Richard B      195 Linden Dr                               Elkins Park, PA 19027       Incomplete Declaration                                             n/a                       n/a             No contact info available
1240   Houston            Lynn           33 Hartranft Ave                            Norristown, PA 19401        Incomplete Declaration                                             n/a                       n/a             No contact info available
1241   Winters‐Kachnycz   Diane          2200 Dorie Drive                            Jeffersonville, PA 19403    RESOLVED                 COMPLETED IN PERSON                       n/a                          4847515388   Called                         10/30/2020
1242   White Jackson      Wendy          3137 Eisenhower Dr                          Norristown, PA 19403        Incomplete Declaration                                             n/a                       n/a             No contact info available         1985942
1243   Villasin           Jose           N/a                                         N/a                         Incomplete Declaration   No voter address.                         n/a                       n/a             No contact info available
1244   Hansen             Roslyn K       1161 Brians Way                             Wayne, PA 19087             Incomplete Declaration                                             n/a                       n/              No contact info available
1245   Green              Joseph E       1701 Willow Ave                             Hatboro, PA 19040           Incomplete Declaration   No date.                                  n/a                       n/a             No contact info available
1246   Andrade            Abraham        150 Wynnewood Rd E Apt 11B                  Wynnewood, PA 19096         Incomplete Declaration                                             aandrade956@hotmail.com      7028128381   Email
1247   Cain               Velvet D       2101 A John Russell Cir N                   Elkins Park 19027           Incomplete Declaration                                             n/a                       n/a             No contact info available
1248   Thompson           Jack           300 Garden Rd                               Oreland, PA 19075           Incomplete Declaration   No date.                                  n/a                          2672647279   Called
1249   Hollis             Janice D       1030 E Willow Grove Ave E Ste Lower Level   Glenside, PA 19038          Incomplete Declaration                                             hollis415@msn.com            2672501222   Email
1250   Herrmann           Albert         218 Easton Rd N, APT G12                    Glenside, PA 19038          Incomplete Declaration   Nothing on ballot, except sure sticker.   n/a                       n/a             No contact info available
1251   Merke              Joy            n/a                                         Ft Washington, PA 19034     Incomplete Declaration   RTS; IA                                   n/a                          2156430600   Called
1252   St John            Penelope       N/a                                         N/a                         Incomplete Declaration   No address.                               n/a                          2156430600   Called
1253   Fox                Honora         n/a                                         Flourtown, Pa 19031         Incomplete Declaration   Missing house number and street.          honorafox@msn.com            2152487890   Email
1254   Browne             Tanya          18 Crimson Drive                            Norristown, PA 19401        Incomplete Declaration   No date.                                  n/a                       n/a             No contact info available
1255   Caucci             Terri          318 Winding Brook Run                       North Wales, PA 19454       USPS Issue               RTS                                                                                 No contact info available
1256   Zeneli             Ana            811 Tennis Ave                              Glenside, PA 19038          USPS Issue               RTS                                                                                 No contact info available
1257   Mastrilli          Lynne          723 Saylors Mill Rd                         Spring City PA 19473‐9696   USPS Issue               RTS                                                                                 No contact info available
1258   Wanamaker          David B        ‐                                           ‐                           USPS Issue               RTS, unable to forward                                                              No contact info available
1259   Pimentel           Genesis        701 Chestnut St                             Philadelphia, PA 19106      USPS Issue               Return to sender          genesispimentel_8@hotmail.com 267‐370‐4610
1260   Wanamaker          Sybilla O      ‐                                           ‐                           USPS Issue               RTS                                                                                 No contact info available
1261   Myers              Elizabeth      4001 Country LN                             Narberth, PA 19072          USPS Issue               Return to Sender ‐ Vacant                               484‐270‐8636

                                                                                                                     Page 90 of 124
                                                                                   Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 91 of 124


                I                J                         K                                     L                            M                               N                                    O                    P                     Q                      R
 1     Last Name      First name        Address Line 1                            Address Line 2                  Issue                    Note                                        Email2                   Phone              Contacted?                  resolved date
1262   Blazynski      Lindsay Ann       335 W Elm St                              Conshohocken, PA 19428          USPS Issue               RTS                                                                                     No contact info available
1263   Flocco         Mary Elaine       250 Ridge Pike Uni C255 Lafayette Green   Lafayette Hill, PA 19444        USPS Issue               4406 IA                                                                                 No contact info available
1264   Jopling        Brian             3828 Center Ave                           Collegeville, PA 19426          USPS Issue               Return to Sender                            Brj33@drexel.edu         267‐644‐5009
1265   Pich           Samantha          1801 Butler Pike Apt 238                  Conshohocken, PA 19428          USPS Issue               2813 FWD? (RTS?)                                                                        No contact info available
1266   Gonzalez       Damian            213 Maple Ave                             Horsham, PA 19044               USPS Issue               Return to Sender ‐ insufficient address                              323‐632‐8732
1267   Naples         Julianne          109 Fourth Ave E, Apt 2                   Conshohocken, PA 19428          USPS Issue               RTS, person does not live at this address                                               No contact info available
1268   Richburg       Akil Nnamdi       311 W Marshall St                         Norristown, PA 19401            USPS Issue               IA, JS, 0121                                                                            No contact info available
1269   Adams          Tiffany           213 Maple Ave                             Horsham, PA 19044               USPS Issue               Return to Sender ‐ Insufficient Address     tiffanym.adams@yahoo.com 215‐939‐3012
1270   Mineo          Catherine         200 Elm St W, STE 1303                    Conshohocken, PA 19428          USPS Issue               RTS                                                                                     No contact info available
1271   Bleznak        Marilyn           8204 Aspen Way                            Elkins Park, PA 19027           USPS Issue               Return to Sender ‐ No such street           Bleznak2000@gmail.com
1272   Chase          Jean I            41 W 4th St Apt A                         Lansdale, PA 19446              No secrecy envelope                                                  n/a                            2152893619   Called
1273   Smith          William Jr        8200 Fairview Rd                          Elkins Park, PA 19027           No secrecy envelope                                                  n/a                          n/a            No contact info available
1274   Dewan          Sanjiv            269 Coachlight Ter                        Huntingdon Vly, PA 19006        USPS Issue               Return to Sender ‐ No Such Address                                       215‐938‐7921
1275   Peterman       Laura Elizabeth   3339 Big Road                             Zieglerville, PA 19492          No secrecy envelope                                                laurapeterman32@gmail.com        2158596534   Email
1276   Patel          Amrutlal H        202 Holstein Dr                           Collegeville, PA 19426          Incomplete Declaration                                             n/a                            n/a            No contact info available
1277   Kupper         Samuel            1224 Gulph Creek                          Wayne, PA 19087                 USPS Issue               Cancelled undelivered ‐ unable to forward samuel.kupper@att.net          484‐367‐7897
1278   Patel          Suresh A          202 Holstein Dr                           Collegeville, PA 19426          Incomplete Declaration                                             n/a                            n/a            No contact info available
1279   Logan          Laura Fery        ‐                                         ‐                               Incomplete Declaration                                             n/a                            n/a            No contact info available
1280   Carter         Brenae Joi        2912 Village Green Ln                     Eagleville, PA 19403            Incomplete Declaration                                             n/a                            n/a            No contact info available
1281   Takach         John              832 Plymouth Rd                           Lower Gwynedd, PA 19002         USPS Issue               Return to Sender ‐ No mail receptacle Jtakach@yahoo.com                  215‐407‐1370
1282   Patel          Mita Suresh       202 Holstein Dr                           Collegeville, PA 19426          Incomplete Declaration                                             n/a                            n/a            No contact info available
1283   Leff           Nancy B           3202 Lilac Ct                             Upper Gwynedd, PA 19446         Incomplete Declaration                                             bohorad@verizon.net            n/a            Email
1284   Simms          Christian         34 Brookside CT                           Horsham, PA 19044               USPS Issue               Return to Sender ‐ Insufficient Address Christian.Simms@alumni.upenn.edu 215‐539‐9011

1285   Doman          Kimberly Ann      1018 Fox Chase Rd                         Jenkintown, PA 19046            Incomplete Declaration                                             domk66@aol.com                 n/a            Email
1286   Ogden‐Gable    Anne K            1950 Church Road                          Harleysville, PA 19438          Incomplete Declaration                                             n/a                            n/a            No contact info available
1287   Hayes          Genevieve         313 County Line Rd W.                     Hatboro, PA 19040               USPS Issue               Return to Sender ‐ Insufficient Address                                  215‐675‐5005
1288   Leary          Cheryl E          ‐                                         ‐                               Incomplete Declaration                                             n/a                            n/a            No contact info available
1289   Mirabelli      Ruthanne          251 W Dekalb Pk Apt W730                  King of Prussia, PA 19406       Incomplete Declaration                                             r.mirabelli@yahoo.com          n/a            Email
1290   Hoult          James D           1728 Locust St                            Norristown, PA 19401            Incomplete Declaration                                             n/a                            n/a            No contact info available
1291   McGovern       Katherine         1056 Lea Dr                               Collegeville, PA 19426          USPS Issue               Return to Sender                          kmcgovernrox@yahoo.com 610‐389‐5087
1292   Mosley         Noel C            7208 Chesnut Ave                          Elkins Park, PA 19027           Incomplete Declaration                                             mosley_83@yahoo.com              2673078765   Email
1293   Kolibolotsky   Mark              34 Simons Way                             Huntingdon Vly, PA 19006        Incomplete Declaration                                             n/a                            n/a            No contact info available
1294   Long           Kendra            315 Sixth Ave                             Conshohocken, PA 19428          USPS Issue               Cancelled ‐ undelivered kendralong881@gmail.com                          919‐802‐6673
1295   Johnson        Phyllis Frehn     1443 Lotus Drive                          Pottstown, PA 19464             Incomplete Declaration                                             n/a                            n/a            No contact info available
1296   Starr          Rosemary          340 Woodstream Way                        North Wales, PA 19454           Incomplete Declaration                                             n/a                            n/a            No contact info available
1297   Frye           Mercedes          N/A                                       N/A                             USPS Issue               Return to Sender ‐ Insufficient Address mercedesfrye@comcast.net         215‐350‐7818
1298   Crispo         Ronald C          1635 Powell St                            Norristown, PA 19401            Incomplete Declaration                                             n/a                              2154608875   Called
1299   Eilenberger    Deanna Marie      1703 Meadowview Ln                        Montclare, PA 19453             RESOLVED                 COMPLETED IN PERSON deilenberger@m.marywood.edu                            5702699456   Email                          10/30/2020
1300   Natter         Linda             333 Cricket Ave                           Glenside, PA 19038              USPS Issue               Return to Sender                                                         215‐872‐1730
1301   McGrath        Renee             131 Church Rd 11‐F                        North Wales, PA 19454           Incomplete Declaration                                             n/a                            n/a            No contact info available
1302   Coates         David Alan        ‐                                         ‐                               Incomplete Declaration                                             n/a                              2679336589   Called
1303   Clark          Beverly D         330 W Broad St                            Telford, PA 18969               Incomplete Declaration                                             n/a                            n/a            No contact info available
1304   Sikorski       Margot            19 Rock St                                Jersey City, New Jersey 07306   USPS Issue               Return to Sender ‐ Unable to Forward margotsikorski@gmail.com            610‐618‐0468
1305   Cruz           Aura M            440 W Buttonwood St                       Pottstown, PA 19464             Incomplete Declaration                                             n/a                            n/a            No contact info available
1306   Little         Maddison          207 Georgetowne Ct                        Royersford, PA 19468            Incomplete Declaration                                             n/a                            n/a            No contact info available


                                                                                                                      Page 91 of 124
                                                                         Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 92 of 124


                I                    J                  K                              L                            M                         N                                 O                                P                        Q                         R
 1     Last Name           First name     Address Line 1                Address Line 2                  Issue                    Note                                    Email2                        Phone                             Contacted?                resolved date
1307   Mendoza             Ricardo        1000 Queen St APT #6          Pottstown, PA 19464             Damaged                  N/A                                     N/A                           N/A                               duplicate
1308   Anderson            Donald B       655 Crestwood Rd              Wayne, PA 19087                 Incomplete Declaration                                           n/a                           n/a                               No contact info available
1309   Votto               William A Jr   46 North Highland Ave         Norristown, PA 19403            Incomplete Declaration                                           n/a                           n/a                               No contact info available
1310   Callisto            Pamela P       2528 Cedar Grove Ln           Norristown, PA 19403            Incomplete Declaration                                           n/a                           n/a                               No contact info available
1311   Deininger           Laura          3716 Worthington Rd           Collegeville, PA 19426          USPS Issue               Return to Sender                        Deininlj@dukes.jmu.edu        610‐952‐9474
1312   Angell              Michael C      182 Steinmetz Rd              Schwenksville, PA 19473         Incomplete Declaration                                           n/a                           n/a                               No contact info available
1313   Leatherman          Kelly Ann      182 Steinmetz Rd              Schwenksville, PA 19473         Incomplete Declaration                                           mamak458hotmail.com                 4849412296 Email
1314   Ozdamar             Naila          601 W Valley Forge Rd         King of Prussia, PA 19406       RESOLVED                 COMPLETED IN PERSON n/a                                               484‐653‐9712 (Included w Address) Called                       10/30/2020
1315   Castelbaum          Emily          107 East 63rd Street APT 3B   New York, NY 10065              USPS Issue               Return to Sender ‐ Temporarily Away emilycastelbaum@gmail.com         610‐731‐3974
1316   Bedard              Megan          103 Foxmeadow Dr              Royersford, PA 19468            Incomplete Declaration                                           n/a                           n/a                               No contact info available
1317   Patel               Hemansu C      1715 Lisa Ct                  Hatfield, PA 19440              Incomplete Declaration                                           boghi155@comcast.net                5085587970 Called
1318   Trippett            Michael        143 Country View Way          Telford, PA 18969               USPS Issue               Return to Sender                        michaeltrippett96@gmail.com   215‐429‐4151
1319   Ozdamar             Mahmut         601 W Valley Forge Rd         King of Prussia, PA 19406       Incomplete Declaration   Phone included w address n/a                                          856‐313‐6028 Called
1320   Sorg                Eric Roger     213 Kelso Cir                 Trappe, PA 19426                Incomplete Declaration                                           n/a                           n/a                               No contact info available
1321   Peters              Howard V Sr    310 Logan Dr                  Hatfield, PA 19440              Incomplete Declaration                                           n/a                           n/a                               No contact info available
1322   Epprecht            Peter          1777 Clemens Rd               Harleysville, PA 19438          USPS Issue               Return to Sender                        epprecht@usa.net
1323   Patel               Sushilaben H   1715 Lisa Ct                  Hatfield, PA 19440              Incomplete Declaration                                           n/a                             5089167537           Called
1324   Darby               Nicholas O     421 Oak Tree Ct               Pottstown, PA 19464             Incomplete Declaration                                           n/a                           n/a                    No contact info available
1325   Valentino           Peter          1404 Butler Pike E            Ambler, PA 19002                USPS Issue               Return to Sender ‐ insufficient address pvalentino@fordham.edu        301‐789‐6113
1326   Gwaltney            Gwendolyn      407 Rices Mill Rd             Wyncote, PA 19095               Incomplete Declaration                                           n/a                           n/a                    No contact info available
1327   Vishab              Jack H         304 Pimlico Way               North Wales, PA 19454           Incomplete Declaration                                           n/a                           n/a                    No contact info available
1328   Glinski             Kathleen A     3994 Yerkes Rd                Collegeville, PA 19426          Incomplete Declaration                                           n/a                           n/a                    No contact info available
1329   Helmuth             Barron         3855 Blair Mill Rd Apt 227Q   Horsham, PA 19044               Incomplete Declaration                                           n/a                             2152807952           Called
1330   Derecola            Dominic        N/A                           Pottstown, PA 19464             USPS Issue               Return to Sender ‐ Insufficient Address nick4946@comcast.net          484‐919‐0059
1331   Levine              Genevieve M    257 Tulpenhocken Ave          Elkins Park PA 19027‐1926       Incomplete Declaration                                           jeanybeany@rhcy.net             6103083775           Email
1332   Miller              Ann Kay        429 Berkley Rd                Haverford, PA 19041             Incomplete Declaration                                           n/a                           n/a                    No contact info available
1333   Liskey              Floyd          N/A                           Pottstown, PA 19464             USPS Issue               Return to Sender ‐ Insufficient Address jliskey7@gmail.com            484‐524‐2671
1334   Haas                Theresa B      108 Rockland Ave              Merion Station, PA 19066        Incomplete Declaration                                           n/a                           n/a                    No contact info available
1335   Pritz               Peter J        ‐                             ‐                               Incomplete Declaration                                           n/a                           n/a                    No contact info available
1336   Lekishvili          Natalie        1100 Valley Rd                Rydal, PA 19046                 Incomplete Declaration                                           n/a                           n/a                    No contact info available
1337   Raleigh             William        105 Cedar St                  Jenkintown, PA 19046            Damaged                  Water damaged. Unsure if able to read. n/a                              6517926542           Called
1338   Murtazashvili       Irina          510 N Wynnewood Ave           Wynnewood, PA 19096             Incomplete Declaration                                           irinamur1@yahoo.com             2156870299           Email
1339   Pritz               Marguerite F   ‐                             ‐                               Incomplete Declaration                                           n/a                           n/a                    No contact info available
1340   Taylor              Euphrasia J    337 Green St Apt 1            Royersford, PA 19468            Incomplete Declaration                                           n/a                           n/a                    No contact info available
1341   Slachtouski         John Robert    564 State Apt 7               Pottstown, PA 19464‐5182        Incomplete Declaration                                           n/a                           n/a                    No contact info available
1342   Kingsberry          Jennifer       1509 Edge Hill Road           Abington, PA 19001              USPS Issue               Unable to fwd; RTS                      rjenniferl@gmail.com          215‐713‐7597
1343   Henry               Cynthia L      603 Easton Rd N, Apt 4        Willow Grove, PA 19090          Incomplete Declaration                                           n/a                           n/a                    No contact info available
1344   Maniquis‐Saringan   Florie         3047 Cardin Pl                Eagleville, PA 19403            Incomplete Declaration                                           n/a                             4842851130           Called
1345   Altmire             Gabriella      601 Main St E, PO box 8000    Collegeville, PA 19426          USPS Issue               IA; RTS                                 gabbyalt1419@gmail.com        484‐241‐7135
1346   Dunleavy            Ellen          1699 Butler Pike              Plymouth Meeting, PA 19462‐2001 Incomplete Declaration                                           n/a                           n/a                    No contact info available
1347   Raskay              Thomas         3147 Maple Rd                 Huntingdon Valley, PA 19006     USPS Issue               UTF; RTS                                tom.raskay@gmail.com          215‐512‐7788
1348   Bronte              Parker         N/a                           N/a                             Incomplete Declaration   RTS; UTF                                tuj23866@temple.edu           610‐368‐2531           Email
1349   Depillis            Matthew        N/a                           n/a                             Incomplete Declaration   RTS; NSS                                mattdepillis@gmail.com        610‐312‐9597           Email
1350   Booth               Christopher    N/a                           N/a                             Incomplete Declaration   RTS; UTF                                N/a                           207‐219‐1325           Called
1351   Durant              Micheal        n/a                           n/a                             USPS Issue               RTS; UTF                                madurant@gmail.com            571‐699‐8872

                                                                                                            Page 92 of 124
                                                                             Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 93 of 124


               I                   J                      K                                L                           M                                 N                             O                               P                         Q                      R
 1     Last Name        First name         Address Line 1                     Address Line 2               Issue                    Note                                     Email2                                    Phone          Contacted?                  resolved date
1352   Eleazer          Zena               N/a                                n/a                          USPS Issue               RTS; Not enough address info to FWD zeleazer@hotmail.com                           n/a
1353   Delpriore        Lucas              n/a                                n/a                          USPS Issue               RTs; not delivarable ldelpriore@thehill.org                                        802‐275‐8659
1354   Casady           Christine          132 Discovery Ct                   East Norriton, PA 19401      USPS Issue               RTS; UTF                                 cccasady@gmail.com                        610‐506‐2043
1355   Diamantopoulos   Micheal            315 6th Ave W                      Conshohocken, PA 19428       USPS Issue               UTF; RTS; NSA                            miked1018@hotmail.com                     302‐353‐6329
1356   Muehlfeld        Megan              906 Dekalb St APT 2                Norristown, PA 19401         USPS Issue               cancelled undelivered leemfeld@gmail.com
1357   Hoffman          Debra              92 Merbrook Lane                   Merion Station, PA 19066     USPS Issue               RTS; Temporarily Away debraehoffman@gmail.com 610‐505‐3416
1358   Smith            Mercedes           25 Washington Lane APT 731         Wyncote, PA 19095            USPS Issue               RTS; UTF                                 merc805@gmail.com                         210‐709‐5349
1359   Wallace          Hersha             617 Dekalb St APT 1                Norristown, PA 19401         USPS Issue               Cancelled Undelivered                                                              484‐868‐0071
1360   Smith            Shawn              25 Washington Lane APT 731         Wyncote, PA 19095            USPS Issue               RTS; UTF                                 shawncsmith@gmail.com                     210‐709‐5354
1361   Belasco          Janice             1158 Welsh Rd                      Lansdale, PA 19446           USPS Issue               Return to Sender ‐ Insufficient Address YNB1972@AOL.com                            914‐589‐8250
1362   Jesse            Hannah             155 Washington Lane                Jenkintown, pa 19046         USPS Issue               RTS; IA                                  noveltysodacan@gmail.com 267‐230‐8612 & 215‐487‐8780
1363   Eldridge         Lariese            9801 Germantown Pike, P.O. Box 408 Lafayette Hill, PA 19444     USPS Issue               Cancelled Undelivered LME3290@gmail.com                                            267‐972‐3020
1364   Glover           Kathleen           2156 Mainland Rd                   Harleysville, PA 19438       USPS Issue               RTS; UTF                                 jhgeiger18@verizon.net                    267‐718‐9738
1365   Grimmage         Amber              7669 Washington Ln APT A           Elkins Park, PA 19027        USPS Issue               RTS; UTF                                 ambergrimmage@gmail.com 267‐683‐8124
1366   Horvitz          Lewis              231 Birch Dr                       Lafayette Hill, PA 19444     USPS Issue               Cancelled Undelivered ‐ Moved Lew.horvitz@comcast.net                              484‐362‐3278
1367   Grimmage         Alexis             7669 Washington Lane APT A Elkins Park, PA 19027                USPS Issue               RTS; UTF                                 grimmagealexis@gmail.com 267‐221‐6304
1368   Dume             Susette            46 E Chestnut St                   Norristown, PA 19401         Damaged                  Cancelled Undelivered Dsusette92@gmail.com                                         484‐304‐0081   Email
1369   Liesner          Samuel             1930 Gibson Drive                  Hatboro, Pa 19040            USPS Issue               RTS; No such number yo.samm.ay@gmail.com                                           267‐303‐4723
1370   Rush             Sari               N/a                                n/a                          USPS Issue               RTS; Unable to FWD sarir@comcast.net                                               610‐238‐9955
1371   Bradshaw         Angela             25 Washington LN APT 526           Wyncote, PA 19095            USPS Issue               Return to Sender                         angelapbrad@gmail.com                     215‐635‐0909
1372   Wright           Francis            700 Lower State Rd APT B‐3         North Wales, PA 19454        USPS Issue               RTS; IA                                  wright_z3bmw@yahoo.com 215‐589‐0416
1373   Benc             Lucja              200 Ross Rd D114                   King of Prussia, PA 19406    USPS Issue               Return to Sender                         pacholek@gmail.com ‐ lucjabenc8@gmail.com 646‐410‐6162

1374   Bealin           Alexander          1187 Plowshare Rd                  Blue Bell, PA 19422          USPS Issue               Return to Sender                         Nilaeb19@gmail.com                        267‐516‐0062
1375   HESSLER          ROSEMARY M         111 STANBRIDGE ST                  NORRISTOWN PA 19401          Name disconnect          RENEE HUBER VOTED FOR ROSEMARY M HESSLER                                           484‐908‐5573
1376   MCCABE           JAMES JOSEPH       800 NORTH HILL WAY UNIT 824 LANSDALE PA 19446                   Name disconnect                                                   n/a
                                                                                                                                    JOSEPHINE MCCABE VOTED FOR JAMES JOSEPH MCCABE                                     n/a            No contact info available
1377   LEIS             NORMA              801 RIDGE PIKE APT 5               LAFAYETTE HILL PA 19444      Name disconnect          CHARLES LEIS VOTED FOR NORMA LEIS n/a                                              n/a            No contact info available
1378   Straw            Elizabeth Neaves   676 Crestwood Road                 Wayne PA 19087               Incomplete Declaration   no signature                             n/a                                       n/a            No contact info available
1379   Breslin          Bridget K          none                               none                         Incomplete Declaration   no address, no printed name n/a                                                    n/a            No contact info available
1380   Lydon            Mary A             1110 Archer Ln                     Lansdale PA 19446            Incomplete Declaration   no printed name                          n/a                                       n/a            No contact info available
1381   Lewis            Anita Michelle     1505 Green Lane Rd                 Lansdale PA 19446            Incomplete Declaration   no date                                  n/a                                       n/a            No contact info available
1382   Gleave           Joseph W           616 Topsfield Rd                   Hatboro PA 19040             Incomplete Declaration   no printed name                          n/a                                       n/a            No contact info available
1383   Rothwell         Susan F            928 Capitol Cir                    Norristown PA 19403          Incomplete Declaration   no date                                  n/a                                       n/a            No contact info available
1384   Golden           Edward S           8004 Heather Rd                    Elkins Park PA 19027         Incomplete Declaration   no date                                  n/a                                       n/a            No contact info available
1385   Schweikart       Ingrid C           2324 Fairhille Ave                 Glenside PA 19038            Incomplete Declaration   no date                                                                                           No contact info available
1386   Wayne            Zachary            1255 Tressler Drive                Fort Washington 19034        Incomplete Declaration                                            n/a                                       n/a            No contact info available
1387   Hernandez        Jersey             2714 Fairoaks Ave                  Hatboro PA 19040             Incomplete Declaration   no incomplete address n/a                                                          n/a            No contact info available
1388   Franklin         Courtney Y         301 Heritage Dr                    Harleysville PA 19438        Resolved                 Completed in person cyf5186@psu.edu                                                  2673560138   Email                          10/27/2020
1389   Davidson         Robert             none                               none                         Incomplete Declaration                                            pam@4suns.com                               2154500446   Email
1390   Hormell          Anne B             123 Forrest St                     Conshohocken PA 19428        Incomplete Declaration   no date                                  n/a                                       n/a            No contact info available
1391   Franklin         Susan J            1255 Tressler Dr                   Fort Washington PA 19304     Incomplete Declaration   no date                                  n/a                                       n/a            No contact info available
1392   Cione            Timothy J.         40 E, 2nd Street                   Pottstown PA 19464           Incomplete Declaration                                            n/a                                       n/a            No contact info available
1393   Costanza         Lori S.            80 Pechin Mill Road                Collegeville, PA 19426       Incomplete Declaration                                            n/a                                       n/a            No contact info available
1394   Deluca           Alisa Michelle     1801 Butler Pike                   Conshohocken PA 19428        Incomplete Declaration                                            alisamdeluca@gmail.com                      2678853745   Email
1395   Ricci            Kathleen E.        2420 Oaks Circle                   Huntingdon Valley PA 19006   Incomplete Declaration                                            n/a                                       n/a            No contact info available
1396   Donaldson        James A. Jr.       373 Bridges Street                 Collegeville PA 19426        Incomplete Declaration                                            n/a                                       n/a            No contact info available


                                                                                                               Page 93 of 124
                                                                            Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 94 of 124


                 I             J                           K                              L                          M                               N                                O                      P                 Q                      R
 1     Last Name     First name              Address Line 1                Address Line 2                Issue                     Note                                      Email2                  Phone          Contacted?                  resolved date
1397   Klugherz      Peter D.                760 Killdeer LN               Huntingdon Valley PA 19006    Incomplete Declaration                                              n/a                     n/a            No contact info available
1398   Shah          Premlata Vinodchandra   1098 Bayless Pl               Eagleville, PA 19403          Incomplete Declaration                                                                                     No contact info available
1399   McConnell     Megan                   325 Warminster Rd S, Apt 1C   Hatboro, PA 19040             Incomplete Declaration                                                                                     No contact info available
1400   Bollard       Annette K               7943 Church Rd                Jenkintown, PA 19046          Incomplete Declaration                                                                                     No contact info available
1401   Not legible   Not legible             ‐                             ‐                             Incomplete Declaration                                                                                     No contact info available
1402   Soroka        Shannan E               ‐                             ‐                             Incomplete Declaration                                                                                     No contact info available
1403   Crean         Margaret E              1650 Susquehanna Rd           Dresher, PA 19025             Incomplete Declaration                                                                                     No contact info available
1404   Robinson      Judith                  501 Edge Hill Rd Apt A7       Glenside, PA 19038            Incomplete Declaration                                                                                     No contact info available
1405   Edwards       Karl B                  868 Hilldale Rd Apt 12        Glenside, PA 19038            Incomplete Declaration                                                                                     No contact info available
1406   Baldwin       Linda C                 ‐                             ‐                             Incomplete Declaration                                                                                     No contact info available
1407   Cho           Young Sun               1509 Ashbourne Rd Apt 217     Elkins Park, PA 19027         Incomplete Declaration                                                                                     No contact info available
1408   Akobundu      Azubuike                213 Maple Ave Apt G104        Horsham, PA 19044             Incomplete Declaration                                                                                     No contact info available
1409   Baugher       Wade                    237 B. Roesch                 Oreland, PA 19075             No secrecy envelope       n/a                                       n/a                     n/a            No contact info available
1410   Slawek        Barbara Ann             P.O. Box 96                   Lafayette Hill, PA 19444      USPS Issue                Cancelled ‐ Undelivered N/A                                       N/A            No contact info available
1411   McCullagh     Helen                   1510 Bridle Path Dr           Lansdale, PA 19446            Incomplete Declaration                                                                                     No contact info available
1412   McCullagh     Sarah M                 1510 Bridle Path Dr           Lansdale, PA 19446            Incomplete Declaration                                                                                     No contact info available
1413   Hickey        Maureen                 92 Forest Trail Dr            Lansdale, PA 19148            Incomplete Declaration    no info                                   N/a                     n/a            No contact info available
1414   Crescenzo     Sally                   100 West Ave                  Jenkintown, PA 19046          USPS Issue                Return to Sender ‐ Insufficient Address   N/A                     N/A            No contact info available
1415   Bollard       Richard P               7943 Church Rd                Jenkintown, PA 19046          Incomplete Declaration                                                                                     No contact info available
1416   Gala          Margaret B              850 Paper Mill Rd Apt 137B    Glenside, PA 19038            Incomplete Declaration                                                                                     No contact info available
1417   Kasiarz       Ryan                    79 Village Dr                 Schwenksville, PA 19473       USPS Issue                Return to Sender ‐ Vacant N/A                                     N/A            No contact info available
1418   Phillips      Aliyah                  902 Valley Rd APT 25C         Elkins Park, PA 19027         Incomplete Declaration    no address                                n/a                     n/a            No contact info available
1419   Paige         Gail A                  2109 Marshall Ct              Lansdale, PA 19446‐4323       Incomplete Declaration                                                                                     No contact info available
1420   Sanchez       Elizabeth               203 Nassau Pl                 Norristown, PA 19401          Incomplete Declaration    no date, address                          n/a                     n/a            No contact info available
1421   Manzo         Achille                 50 Stewart St                 Bridgeport, PA 19405‐1762     Incomplete Declaration                                                                                     No contact info available
1422   Hill          Frances                 64 Washingtown St N.          Pottstown, PA 19464           USPS Issue                Return to Sender ‐ Unable to Forward   N/A                        N/A            No contact info available
1423   Moelin        Saroeuth                P.O. Box 311                  Norristown, PA 19404          USPS Issue                Return to Sender                       smoeun22@aol.com           N/A
1424   Mumbauer      Wayne                   288 Wyndham Ct                Harleysville, PA 19438        Incomplete Declaration    Sticker over address on declaration. n/a                          n/a            No contact info available
1425   Donny         Marilou                 631 Birchleaf Dr              Collegeville, PA 19426‐3827   USPS Issue                Return to Sender                       mariloudonny@verizon.net   N/A
1426   Dipasquale    Joseph                  2626 Belmont Ave              Abington, PA 19001            Void Voter Status         Voter record is cancelled, or on hold. n/a                        n/a
1427   Brand         Carolyn                 1029 Lake Lane                Pennsburg, PA 19073           Already C/R               Already C/R'd 10/23 n/a                                           n/a
1428   Mak           Carrie                  P.O. Box 311                  Norristown, PA 19404          USPS Issue                Sent to our P.O. Box carriemak.cm@gmail.com                       N/A
1429   Mcghee        James                   420 York Rd S UNI 130A        Hatboro, PA 19040             Deceased Ballot;Invalid   Cannot submit deceased ballot. n/a                                n/a
1430   Benjamin      Marcus                  N/A                           N/A                           USPS Issue                Sent to our P.O. Box N/A                                          484‐428‐0607
1431   Gagen         William                 1956 Audubon Dr               Dresher, PA 19024             Incorrect Zipcode         Resent 10/23                           n/a                        n/a
1432   Gordon        Lee                     269 Middle Park Dr            Souderton, PA 18964           Incomplete Declaration    N/A                                    N/A                        N/A            No contact info available
1433   Wheeles       Phillip                 666 Beechwood Ave             Pottstown, PA 19464           Incomplete Declaration    No date.                               n/a                        n/a            No contact info available
1434   Hill          Zachary                 97 Allentown Rd APT 7         Souderton, PA 18964           Incomplete Declaration    N/A                                    N/A                        N/A            No contact info available
1435   Selders       Amy                     2645 Briana Dr                Pottstown, PA 19464           Incomplete Declaration    no date, or address                    n/a                        n/a            No contact info available
1436   Johnson       Keith                   345 Pennbrook Ave             Lansdale, PA 19446            Incomplete Declaration    N/A                                    N/A                        N/A            No contact info available
1437   Kushner       Margeret                2158 Foxtail Drive            Pottstown, PA 19464           Incomplete Declaration    no date.                               n/a                        n/a            No contact info available
1438   Mokriski      Frank                   23 Derry Dr                   North Wales, PA 194454        Incomplete Declaration    No date                                N/A                        N/A            No contact info available
1439   Bailey        Walter                  130 Chestnut Street APT 9     Pottstown, PA 19464           Incomplete Declaration    no address, printed name. n/a                                     n/a            No contact info available
1440   Silvestri     Joanne                  100 Brookwood Rd              Lansdale, PA 19446            Incomplete Declaration    No date                                N/A                        N/A            No contact info available
1441   Seip          Denise                  2414 Lomara Dr                Pottstown, PA 19464           Incomplete Declaration    No address                             n/a                        n/a            No contact info available


                                                                                                              Page 94 of 124
                                                                        Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 95 of 124


                I               J                       K                           L                         M                         N                                 O                             P                    Q                      R
 1     Last Name     First name           Address Line 1               Address Line 2             Issue                    Note                         Email2                                           Phone        Contacted?                resolved date
1442   Melman        Jacob                36 Lodges Ln                 Bala‐Cynwyd, PA 19004      Incomplete Declaration   No Date                      N/A                                              N/A          No contact info available
1443   Sopinsky      Barri                n/a                          n/a                        Incomplete Declaration   No address.                  n/a                                              n/a          No contact info available
1444   Scibelli      Aine                 500 Auburn Ave               Glenside, PA 19038         Incomplete Declaration   No date.                     n/a                                              n/a          No contact info available
1445   Forman        Rhoda                363 Meadow Ln                Merion Station, PA 19066   Incomplete Declaration   N/A                          N/A                                              N/A          No contact info available
1446   Ramanjulu     Swarna               119 Fox Run Dr               Collegeville, PA 19426     Incomplete Declaration   No date                      n/a                                              n/a          No contact info available
1447   Leno          Dongxiao             626 Hazelhurst Ave           Merion Station, PA 19066   Incomplete Declaration   No Date                      N/A                                              N/A          No contact info available
1448   Daley         Stephen              1733 W. Cheltenham Ave       Elkins Park, PA 19027      Incomplete Declaration   No date.                     n/a                                              n/a          No contact info available
1449   Morgan        Rachel               503 Brookhurst Ave           Narberth, PA 19072         Incomplete Declaration   No Date                      N/A                                              N/A          No contact info available
1450   Clarkson      Douglas              n/a                          n/a                        Incomplete Declaration   No address.                  n/a                                              n/aqa        No contact info available
1451   Johnson       Elaine               1655 Oakwood Dr #N‐410       Penn Valley, PA 19072      Incomplete Declaration   No Date                      N/A                                              N/A          No contact info available
1452   Harmon        Leslie               7803 Louise Lane             Glenside PA 19036          Incomplete Declaration   No voter address.            n/a                                              n/a          No contact info available
1453   Chew          Janet                2874 Crest Terrace           Eagleville, PA 19403       Incomplete Declaration   No Date                      N/A                                              N/A          No contact info available
1454   Chew          Janet                2874 Crest Terrace           Eagleville, PA 19403       Incomplete Declaration   No Date                      N/A                                              N/A          No contact info available
1455   Hamwright     Pamela               9947 Duveen Drive            Glenside, PA 19038         Incomplete Declaration   No date.                     n/a                                              n/a          No contact info available
1456   Joyce         Edward               34 Northview Drive           Glenside PA 19038          Incomplete Declaration   No date.                     n/a                                              n/a          No contact info available
1457   Annino        Agatha               140 Sugartown Rd             Devon, PA 19333            USPS Issue               Return to Sender             Taffyannino@hotmail.com                          610‐908‐3816
1458   Flinchbaugh   James                215 Broad St S APT 9         Lansdale, PA 19446         USPS Issue               RTS; unable to FWD                            flinchbaughjames12@gmail.com 215‐767‐7716
1459   Scholnick     Bernard              508 Montgomery Ave           Jenkintown, PA 19046       USPS Issue               Return to Sender ‐ unable to forward Bsathome@gmail.com                       N/A
1460   Leibowitz     Erica                226 Compass Drive            Lansdale, PA 19446         USPS Issue               RTS; Unable to FWD eleibowitz10@gmail.com                                     516‐640‐9073
1461   Dornstreich   Elijah               7902 Rambler Rd              Elkins Park, PA 19027      USPS Issue               RTS;; FWD                                     elijah.dornstreich@berstein.com 215‐313‐8722
1462   George        Steven               1001 City Ave Unit ED 1014   Wynnewood, PA 19096‐3902   USPS Issue               Return to Sender                              sjg227@yahoo.com                610‐368‐3400
1463   Bishop‐       Walter               1276 Stump Hall Rd           Collegeville, PA 19426     USPS Issue               return to sender ‐ temporarily away wjbishop317@comcast.net                   N/A
1464   Foley         Barbara              1110 Wooded Pl               Eagleville, PA 19403       USPS Issue               RTS; Temp. Away                               n/a                             n/a          No contact info available
1465   Venezuela     Felix                3227 Mill Rd                 Collegeville, PA 19426     USPS Issue               Return to Sender                              felixvenezuela58@gmail.com 757‐572‐4246
1466   Liacouras     Scott                804 Horseshoe Dr             Royersford, PA 19468       USPS Issue               RTS; FWD                                      scott.liacouras@gmail.com       610‐764‐7942
1467   Kulp          Edward J             3105 Lena Ln                 Norristown, PA 19403       USPS Issue               no contact                                    no contact                      no contact   No contact info available
1468   Shah          Sahil                866 Roscommon Rd             Bryn Mawr, PA 19010        USPS Issue               RTS; FWD (No contact) n/a                                                     n/a          No contact info available
1469   Breder        Allison              105 Canterbury Ln            Lansdale, PA 19446         USPS Issue               Return to Sender                              N/A                             215‐692‐2562
1470   Ahlberg       Alix Lauren          2 Owl Rd                     Audobon, PA 19403          USPS Issue               RTS                                           alixahlberg@gmail.com           610 416 0300
1471   Bakhos        Charles              1028 Broadmoor Rd            Bryn Mawr PA 19010         USPS Issue               RTS; FWD                                      charlesbakhos@yahoo.com 518‐763‐6047
1472   Zerbe         Tiffany Marie        3005 Concord Cir             Eagleville, PA 19403       USPS Issue               RTS                                           tiffzerbe@gmail.com             570 573 7538
1473   Mcclain       Jalea                702 Stonybrook Dr            East Norriton PA 19403     USPS Issue               RTS; FWD                                      n/a                             n/a          No contact info available
1474   Roberts       Nicole R             606 Fox Croft Cir            Royersford, PA 19468       USPS Issue               RTS                                           nicole.robertsot@gmail.com 610 291 2363
1475   Margolis      Robert               7009 Windswept Lane          Eagleview, PA 19403        USPS Issue               RTS; FWD                                      rjmcruise@comcast.net           610‐539‐8684
1476   Cohen         Israel Benjamin      510 Deer Run Ct              Limerick, PA 19468         USPS Issue               RTS                                           icohen410@gmail.com             484 363 7699
1477   Margolis      Marcia               7009 Windswept Lane          Eagleview, PA 19043        USPS Issue               RTW;FWD                                       mgm716@comcast.net              610‐539‐8684
1478   Katz          Stacy                5402 Centennial State        Warminster, PA 18974       USPS Issue               Return to Sender                              skatz816@gmail.com              215‐380‐2275
1479   Earnest       Tara M               117 Susan Dr                 Elkins Park, PA 19027      USPS Issue               RTS                                           no contact info                              No contact info available
1480   Ko            Janet Jinyoung       624 Spring Ave               Elkins Park, Pa 19027      USPS Issue               RTS                                           no contact info                              No contact info available
1481   Katz          Robert               5402 Centennial Station Dr   Warminster, PA 18974       USPS Issue               Return to Sender                              bobcat1228@aol.com              215‐816‐1228
1482   McAllister    Kameren              1719 Ashbourne Rd            Elkins Park, 19027         USPS Issue               RTS                                           kamerenmcallister@yahoo.com ‐
1483   Katz          Justin               5402 Centennial Station Dr   Warminster, PA 18974       USPS Issue               Return to Sender                              JAK5080@gmail.com               215‐380‐2295
1484   Silberman     Marielle Elizabeth   259 Bent Rd N                Wyncote, PA 19095          USPS Issue               RTS, Attempted ‐ Not Known, Unable to Forward mes322@pitt.edu                 267 994 5120
1485   Mendis        Nevin Hansaka        1715 Hollow Rd               Collegeville, PA 19426     USPS Issue               RTS, IA, Unable to forward nevinmendis@gmail.com                              510 324 6346
1486   Katz          Jared                5402 Centennial Station Dr   Warminster, PA 18974       USPS Issue               Return to Sender                              JAK92492@gmail.com              215‐290‐2751

                                                                                                      Page 95 of 124
                                                                              Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 96 of 124


                I              J                           K                                L                         M                            N                                  O                               P                       Q                R
 1     Last Name     First name             Address Line 1                    Address Line 2              Issue                    Note                                  Email2                             Phone        Contacted?                resolved date
1487   Smith         Janet E                22218 Shannondell Dr              Audobon, PA 19403           USPS Issue               RTS                                   ‐                                  610 382 9698
1488   Rosen         Alana                  69 South Merion Ave               Bryn Mawr, PA 19010         USPS Issue               Return to Sender ‐ Temporarily away   ahrosen@me.com                     484‐682‐3045
1489   Clifford      James William          1110 Wooded Pl                    Eagleville, PA 19403        USPS Issue               RTS, temp away                        jwclifford@comcast.net             703 505 4357
1490   Holder        Bobbie                 1990 Ashbourne Rd APT 111         Elkins Park, PA 19027       USPS Issue               Return to Sender                      N/A                                267‐602‐7816
1491   Roberts       Edward H               125 Misty Meadow Ln               Lansdale, PA 19446          USPS Issue               RTS                                   ehumr@yahoo.com                    610 652 2404
1492   Damato        Robert J               49 Metka Rd                       Limerick, PA 19468          USPS Issue               RTS                                   ‐                                  610 462 5569
1493   Guy           Emani K                25 Evergreen Rd                   Norristown, PA 19403        USPS Issue               RTS                                   emaniguy98@gmail.com               610 969 5780
1494   Tokar         Judith Anne Bolkema    12406 Shannondell Dr              Audubon, PA 19403           USPS Issue               Return to Sender                      Jabtokar@aol.com                   N/A
1495   Plentus       Kristin Dithmer        907 Caralea Dr                    East Norriton, PA 19403     USPS Issue               RTS                                   lkristin.dithmere@gmail.com        201 214 1522
1496   Stern         Joan                   21503 Shannondell Dr              Audubon, PA 19403           USPS Issue               Return to Sender                      N/A                                610‐382‐9231
1497   Szelagowski   LT                     3419 Theresa St                   Eagleville, PA 19403        USPS Issue               RTS, Temp Away                        szelagu@yahoo.com                  ‐
1498   Carroll       Robert                 14107 Shannondell Dr              Audubon, PA 19403           USPS Issue               Return to Sender                      N/A                                610‐279‐0373
1499   Hunn          Margaret               21507 Shannondell Dr              Audubon, PA 19403           USPS Issue               Return to Sender                      peghunn@aol.com                    610‐382‐9680
1500   Aaronson      Risa                   138 State St                      Lansdale, PA 19446          USPS Issue               Return to Sender ‐ Temporarily Away   N/A                                N/A          No contact info available
1501   Aaronson      Steven                 138 State St                      Lansdale, PA 19446          USPS Issue               Return to Sender ‐ Temporarily Away   N/A                                N/A          No contact info available
1502   McMonigle     Susan                  202 Brandon Rd                    Norristown, PA 19403        Incomplete Declaration                                                                                                   No contact info available
1503   Gaines        Jeffrey                1807 Cherrie Cir                  Blue Bell, PA 19422         Incomplete Declaration                                                                                                   No contact info available
1504   Pierson       Michael Anthony John   1523 Willowbrook Lane             Villanova, PA 19085         Incomplete Declaration                                                                                                   No contact info available
1505   McGowen       John R                 647 Coates Ln                     King of Prussia, PA 19406   Incomplete Declaration                                                                                                   No contact info available
1506   Dronson       Mariel B               161 Badman Rd                     Green Lane, PA 18054        USPS Issue               RTS, IA, unable to forward dronsonmb@gmail.com                                   267 644 4910
1507   Henry         Govan                  700 Lower State Road              North Wales, PA 19454       USPS Issue               RTS; IA                                                 kinghenry33@gmail.com    267‐884‐6826
1508   Sallada       Tina                   706 Valley Rd                     East Greenville, PA 18041   USPS Issue               Return to Sender ‐ Not deliverable N/A                                           N/A            No contact info available
1509   McMillan      Marla K                1510 Foxbury Rd                   Ambler, PA 19002            USPS Issue               RTS                                                     ‐                        215 643 2155
1510   Cook          Maxine                 n/a                               105 Llanfair Rd             USPS Issue               RTS, no contact info ‐                                                           ‐              No contact info available
1511   Griffin       Jamir                  n/a                               n/a                         USPS Issue               RTS; Moved, Not delivarable jamir606@outlook.com                                 215‐821‐0609
1512   Grubawsky     Ellen                  3441 Westview Drive               Perkiomenville PA 18074     USPS Issue               RTS; UTF                                                ebg3441@gmail.com        215‐272‐7698
1513   Parker        Blair                  807 Chapel Rd                     Royersford, PA 19468        USPS Issue               Return to Sender                                        blairberger702@gmail.com 484‐340‐7264
1514   Eldridge      Lariese                9801 Germantown Pike P.O. Box 408 Lafayette Hill, PA 19444    USPS Issue               Cancelled Undelivered LME3290@gmail.com                                          267‐972‐3020
1515   Pluck         Ryan                   658 Norwood Circle                North Wales, Pa 19454       USPS Issue               RTS; UTF                                                rxp3357@rit.edu          610‐715‐8329
1516   Levitt        Haley                  25 Amherst Rd W.                  Bala‐Cynwyd, PA 19004       USPS Issue               Return to Sender ‐ insufficient address Haleylevitt25@gmail.com                  N/A
1517   Stafy         Joan                   165 Smith Rd                      Gilbertsville, PA 19525     USPS Issue               RTS;                                                    n/a                      610‐367‐7052
1518   Wada          Griffin                24 Cricket Ave APT 809            Ardmore, PA 19003           USPS Issue               Return to Sender ‐ unable to foward griffinwada@uchicago.edu                     610‐844‐2526
1519   Weiner        Steven L               132 Roy Ln                        Huntingdon Vly, PA 19006    Name disconnect          Shelley D. Weiner completed ballot. ‐                                            ‐              No contact info available
1520   Stafy         Louis                  165 Smith Rd                      Gilbertsville, PA 19525     USPS Issue               RTS; UTF                                                jcstafy@gmail.com        n/a
1521   Nally         David Lawrence         141 Cricket Ave Apt 2             Ardmore, PA 19003           USPS Issue               RTS, not deliverable as addressed, UTF, no contact info ‐                        ‐              No contact info available
1522   Kwoun         Stella                 125 Sterling Dr                   North Wales, PA 19454       USPS Issue               Return to Sender ‐ unable to forward stellakwoun@gmail.com                       267‐218‐5928
1523   Bordeleau     Sean                   60 North Boro Line Rd             Trappe, PA 19426            USPS Issue               RTS, No mail receptacle, UTF seanburdeleau@aol.com                               610 489 0101
1524   Abrams        Irv                    116 Elm Ave                       Jenkintown, PA 19046        No secrecy envelope      no secrecy env.                                         n/a                      n/a            No contact info available
1525   Stafford      Luke P                 400 Bridge St Apt 1               Phoenixville, PA 19460      USPS Issue               RTS                                                     lukepstafford@gmail.com  ‐
1526   Fine          Rachel                 139Wynnewood Rd E.                Merion Station, PA 19066    USPS Issue               Return to Sender ‐ insufficient address finerachelfine@gmail.com                 610‐937‐7727
1527   Throm         Robert B Sr            456 Peters Way                    Phoenixville, PA 19460      USPS Issue               RTS, Temp Away                                          sheathrome@gmail.com     610 917 8228
1528   Meyer         Laura                  1098 Rosemont Ter                 Pennsburg, PA 18073         USPS Issue               Return to Sender ‐ insufficient address Laurameyer2019@gmail.com 610‐533‐0339

1529   Barnes        Kelly J                11 Brandon Cir                    Phoenixville, PA 19460      USPS Issue               RTS, Temp Away                                          shma3oe@aol.com          ‐
1530   Barnes        Stephen M              11 Brandon Cir                    Phoenixville, PA 19460      USPS Issue               RTS, Temp away                                          skma30@aol.com           ‐
1531   Jui           Farhana                3132 Brookview Pl                 Elkins Park, PA 19027       USPS Issue               Return to Sender ‐ insufficient address fara55555@gmail.com                      917‐651‐3534

                                                                                                              Page 96 of 124
                                                                             Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 97 of 124


                I                     J                   K                               L                         M                                N                                     O                     P                   Q                R
 1     Last Name           First name       Address Line 1                  Address Line 2              Issue                    Note                                          Email2                     Phone        Contacted?                resolved date
1532   Rosen               Naomi            1808 Valley Glen Rd             Elkins Park, PA 19027       USPS Issue               RTS, No such number, UTF, Refused no PMB 15   nomi1014@gmail.com         267 664 9918
1533   Yobbagy             Amanda           None                            None                        Damaged                  Ripped envelope                               yobbagy.amanda@gmail.com   n/a          Emailed
1534   Hunsberger          Dorothy          179 Providence Forge            Royersford, PA 19468        Damaged                  Ripped Envelope                               ndjali@verizon.net                      Emailed
1535   Forte               Sabrina          413 West Ave REA B              Jenkintown, PA 19046        Damaged                  Envelope Ruined                               fortesabrina13@yahoo.com   n/a          Emailed
1536   Long                Linda            330 Walnut St                   Norristown, PA 19401        USPS Issue               Insufficient address                          N/A                        610‐275‐2445
1537   Tokar               John             12406 Shannondell Dr            Audubon, PA 19403           USPS Issue               Return to Sender                              Jstokar@aol.com            610‐328‐7260
1538   Ackies              Harriet          75 Admore Ave K3 0              Ardmore, PA 19003           USPS Issue               Return to Sender ‐ Temporarily Away           N/A                        N/A          No contact info available
1539   Bell                Loretta          PO Box 86                       Norristown, PA 19404        USPS Issue               Vacant                                        N/A                        484‐666‐8347
1540   Della Paolera       Elisabeth        4357 Annandale Dr               Schwenksville, PA 19473     Incomplete Declaration                                                                                            No contact info available
1541   Beville             Leo              1090 Highland Ave               Abington, PA 19001          No secrecy envelope      need conctact info.                                                                      No contact info available
1542   Wik                 Timothy          PO Box 311                      Norristown, PA 19404        USPS Issue               Return to Sender                              N/A                        215‐782‐8408
1543   Flaherty            Suzanne H        4144 Dashua Rd                  Lafayette Hill, PA 19444    Incomplete Declaration                                                                                            No contact info available
1544   Shope               Robert H         1010 Winsome Ct                 Wayne, PA 19087             Incomplete Declaration                                                                                            No contact info available
1545   Schmidenberg        Henry            112 Diet Mill Rd S              Telford, PA 18969           Incomplete Declaration                                                                                            No contact info available
1546   Minor               Riley            939 Washington St N.            Pottstown, PA 19464         USPS Issue               Return to Sender ‐ Insufficient Address       N/A                        610‐850‐4647
1547   Henry               Tiana Nicole     2318 Rosemore Ave Apt I‐21      Glenside, PA 19038          Incomplete Declaration                                                                                            No contact info available
1548   Stevens             Stephanie        245 Barclay Circle              ‐                           Incomplete Declaration   Missing address line 2                                                                   No contact info available
1549   Alam                Sophia           706 Scenic Dr                   Harleysville, PA 19438      USPS Issue               Return to Sender ‐ insufficient address       Sophiaalam7@gmail.com      267‐701‐4975
1550   Davis               Jeffrey          ‐                               ‐                           Incomplete Declaration                                                                                            No contact info available
1551   Cipolloni           Rita M           1551 Huntingdon Pike Apt BL15   Huntingdon Vly, PA 19006    Incomplete Declaration                                                                                            No contact info available
1552   Crisanta Alvarado   Carla Vanessa    213 Maple Ave APT I130          Horsham, PA 19044           USPS Issue               Return to Sender                              Carla014_8@hotmail.com     267‐474‐5022
1553   Sell                James Stevens    1733 Cloverly Ave               Jenkintown, PA 19046        Incomplete Declaration                                                                                            No contact info available
1554   Sharma              Vinata           1152 Stoneham City              Hatfield, PA 19440          Incomplete Declaration                                                                                            No contact info available
1555   Boehret             Justin           51 Cepp Rd                      Perkiomenville, PA 18074    USPS Issue               Return to Sender ‐ Not deliverable address    jjboehret@yahoo.com        610‐850‐1333
1556   Simes               Elizabeth I      551 Evergreen Ave E, 205B       Glenside, PA 19038          Incomplete Declaration                                                                                            No contact info available
1557   Mosler              Mary A           328 Chesnut Lane                Ambler, PA 19002            Incomplete Declaration                                                                                            No contact info available
1558   Sharma              Kamal Kishore    1152 Stoneham City              Hatfield, PA 19440          Incomplete Declaration                                                                                            No contact info available
1559   Segal               Hunter           65 E Elizabeth Ave APT 1001     Bethlehem, PA 18018‐6518    USPS Issue               Return to Sender ‐ Unable to forward          N/A                        610‐668‐9654
1560   Erwin               Tiffany D        367 Church Rd                   Elkins Park, PA 19027       Incomplete Declaration                                                                                            No contact info available
1561   Dreps               Robin C          646 Store Rd                    Harleysville, PA 19438      Incomplete Declaration                                                                                            No contact info available
1562   Rheingans           Mary Lynn        126 E Athens Ave                Ardmore, PA 19003‐2821      USPS Issue               Return to Sender ‐ Temporarily Away           maryrheingans@gmail.com    610‐772‐3621
1563   Robinson            Tori             2643 Veteran Ave                Los Angeles, CA 90064       USPS Issue               Return to Sender                              tori@boyslieofficial.com   610‐585‐8080
1564   Leavy               Matthew          211 Noble Street                Souderton, PA 18964         Incomplete Declaration   No sig.                                                                                  No contact info available
1565   Hamilton            Barry C          50 Belmont Ave Apt 511          Bala‐Cynwyd, PA 19004       Incomplete Declaration                                                                                            No contact info available
1566   Adams               Jonathan         409 Canton Rd APT. H4           Willow Grove, PA 19020      Incomplete Declaration   Nothing written.                                                                         No contact info available
1567   Weidman             Lisa Ann         918 Woodcrest Rd                Abington, PA 19001          Incomplete Declaration                                                                                            No contact info available
1568   Kingsepp            William M        2708 Forest Rd                  Gilbertsville, PA 19525     Incomplete Declaration                                                                                            No contact info available
1569   Godshall            Micheal          409 Easton Rd APT H4            Willow Grove, PA 19090      Incomplete Declaration   No declaration.                                                                          No contact info available
1570   Cocks               Adrianna         4025 E Campbell Rd              Pennsburg PA 18073‐2505     USPS Issue               return to sender                              adriannac@protonmail.com   N/A
1571   Garza Tello         Caludia Isabel   266 Wendy Way Apt 316           King of Prussia, PA 19406   Incomplete Declaration                                                                                            No contact info available
1572   Rosen               Renee            3855 Blairhill Rd               Horsham, PA 19044           Incomplete Declaration   No date.                                                                                 No contact info available
1573   Cocks               Aaron            4025 E Campbell Rd              Pennsburg, PA 18073‐2505    USPS Issue               Return to Sender                              aaronpcocks@gmail.com      N/A
1574   Michelis            Joyce            742 Mount Moro Rd               Villanova, PA 19085         Incomplete Declaration                                                                                            No contact info available
1575   Boyer               Gladys           n/a                             n/a                         Incomplete Declaration   No date, or address                                                                      No contact info available
1576   Samuel              Ajeena Rachel    390 W Moreland Ave              Hatboro, PA 19040           Incomplete Declaration                                                                                            No contact info available


                                                                                                            Page 97 of 124
                                                                       Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 98 of 124


               I              J                       K                              L                           M                                      N                                           O                 P                   Q                      R
 1     Last Name    First name          Address Line 1                 Address Line 2                Issue                    Note                                                      Email2                  Phone        Contacted?                    resolved date
1577   Poku‐Adjei   Jeffrey             1036 Runaway Dr                Pennsburg, PA 18073‐1649      USPS Issue               Return to Sender                                          JPokuadjei@yahoo.com    908‐265‐7047
1578   Truong       Thoai               n/a                            n/a                           Incomplete Declaration   no address.                                                                                      No contact info available
1579   Noble        James               ‐                              ‐                             Incomplete Declaration                                                                                                    No contact info available
1580   Campbell     Dolores             897 Collier Court, APT 601     Marco Island Florida 34145    USPS Issue               Return to Sender                                          lmjv723@gmail.com       215‐771‐7106
1581   Howell       Lonnie              850 Mystic Ln                  Norristown, PA 19403          Incomplete Declaration                                                                                                    No contact info available
1582   Scott        Pearly M            8717 Marshall Rd               Glenside, PA 19038            Incomplete Declaration                                                                                                    No contact info available
1583   Feldman      Janice              1042 Thrush Lane               Huntingdon Valley, PA 19006   Incomplete Declaration   NO printed name.                                                                                 No contact info available
1584   Siani        Trevor              12 Zalema Court                Sacramento, CA 95834          USPS Issue               Return to Sender ‐ Forward Time Expired                   tsiani34@gmail.com      760‐668‐5377
1585   Gilje        Krista L            109 Culpepper Dr               Blue Bell, PA 19422           Incomplete Declaration                                                                                                    No contact info available
1586   Bitler       Connie L            555 Barbara Dr                 Noristown, PA 19403           Incomplete Declaration                                                                                                    No contact info available
1587   Feinberg     Jeffrey             2595 Pioneer Rd                Hatboro PA 19040              Incomplete Declaration   No address.                                                                                      No contact info available
1588   Flynn        Daniel              219 Oak Hill Dr                Hatboro, PA 19040             USPS Issue               Return to Sender                                          N/A                     N/A            No contact info available
1589   Wendig       Robert E            737 Spring Ln                  Lansdale, PA 19446‐6231       Incomplete Declaration                                                                                                    No contact info available
1590   Ide          Robert              114 Clayton Rd                 Hatboro, PA 19040             Incomplete Declaration   NO voter address.                                                                                No contact info available
1591   Goggins      Marvin Ray          ‐                              ‐                             Incomplete Declaration                                                                                                    No contact info available
1592   Piede        Tyler               524 Buckman Dr                 Hatboro, PA 19040             USPS Issue               Return to Sender                                          tyler.piede@gmail.com   610‐703‐4754
1593   Dudek        Joseph B            1104 N Charlotte St            Pottstown, PA 19464           Incomplete Declaration                                                                                                    No contact info available
1594   Feinberg     Eva                 006318936‐46                   590702‐1                      Incomplete Declaration   No voter address.                                                                                No contact info available
1595   Walsh        Susan Rittenhouse   225 Kookout Pl                 Wayne, PA 19087               Incomplete Declaration                                                                                                    No contact info available
1596   Sharm        Kuldeep             1152 Stoneham Cir              Hatfield, PA 19440            Incomplete Declaration                                                                                                    No contact info available
1597   Ide          Renald              114 Clayton Rd                 Hatboro, PA 19040             Incomplete Declaration   No voter address.                                                                                No contact info available
1598   Sharma       Chanda D            1152 Stoneham Cir              Hatfield, PA 19440            Incomplete Declaration                                                                                                    No contact info available
1599   Whelan       Sarah               309 Hampton Rd                 Hatboro, PA 19040‐4447        USPS Issue               Return to Sender                                          whelansa@gmail.com      N/A
1600   Supplee      Doris               695 Main St Apt 242            Harleysville, PA 19438        Incomplete Declaration                                                                                                    No contact info available
1601   Manzanares   Marilyn             1650 Oakwood Dr APT E303       Narberth, PA 19072            Incomplete Declaration   No address.                                                                                      No contact info available
1602   Becker       Joanne              321 N Hanover St Apt 51        Pottstown, PA 19464           Incomplete Declaration                                                                                                    No contact info available
1603   Wollman      Timothy             n/a                            n/a                           Incomplete Declaration   No address.                                               n/a                     n/a            No contact info available
1604   Spivak       Marcia              824 Mount Pleasant Rd          Bryn Mawr, PA 19010           Incomplete Declaration                                                                                                    No contact info available
1605   Linderman    Pamela              503 Monroe Dr                  Harleysville, PA 19438        Incomplete Declaration   No date.                                                                                         No contact info available
1606   Diaz         Sandra              2501 Maryland Rd Apt 19        Willow Grove, PA 19090        Incomplete Declaration                                                                                                    No contact info available
1607   McInerney    Nial P              7622 Brookfield Rd             Cheltenham, PA 19012          Incomplete Declaration                                                                                                    No contact info available
1608   White        Gary                666 Germantown Pike W APT 2208 Plymouth Meeting, PA 19462    USPS Issue               Return to Sender ‐ Insufficient Address                   parchester@aol.com      610‐405‐6309
1609   Pizzo        Joseph              211 Green Bank Way             Harleysville, PA 19438        Incomplete Declaration   No Date.                                                                                         No contact info available
1610   Tenaglio     Andrew              4064 Oak Lane                  Lafayette Hill, PA 19444      Incomplete Declaration                                                                                                    No contact info available
1611   Horsch       Karl                n/a                            n/a                           Incomplete Declaration   No address, signature, or date.                                                                  No contact info available
1612   Grandis      Benjamin            28 Lancaster Ave E, APT B1     Ardmore, PA 19003             USPS Issue               Return to Sender ‐ Insufficient Address                   Ben.grandis@gmail.com   412‐310‐2876
1613   Langerman    Stephen Charles     1860 Butler Pike               Conshohocken, PA 19428        No secrecy envelope      Also incomplete declaration                                                                      No contact info available
1614   Delatorre    Miguel              2033 Rosebay Ct                North Wales, PA 19454         Incomplete Declaration   Nothing but signature.                                                                           No contact info available
1615   Novak        Shirleyann          60 W Linfield Trappe Rd        Royersford, PA 19468          Incomplete Declaration                                                                                                    No contact info available
1616   Clary        Andrew              28 Lancaster Ave E APT B1      Ardmore, PA 19003             USPS Issue               Return to Sender ‐ Insufficient Address                   N/A                     215‐450‐5367
1617   Harlee       Chauncey            701 Edgewood Rd                King of Prussia, PA 19406     Incomplete Declaration                                                                                                    No contact info available
1618   Delatorre    Miguel              2033 Rosebay Ct                North Wales, PA 19454         No secrecy envelope      No secrecy envelope, along with Incomplete declaration.                                          No contact info available
1619   Chan         Joseph              701 Penn St                    Pennsburg, PA 18073           Incomplete Declaration                                                                                                    No contact info available
1620   Hoisington   Elva                634 Portside LN                Edgewater, FL 32141           USPS Issue               Return to Sender                                          N/A                     N/A            No contact info available
1621   Ripa         Sonia               820 Cherry St                  Lansdale, PA 19446            Incomplete Declaration   No date, or address.                                                                             No contact info available


                                                                                                         Page 98 of 124
                                                                        Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 99 of 124


               I               J                      K                               L                        M                            N                                  O                      P                   Q                      R
 1     Last Name     First name         Address Line 1                 Address Line 2              Issue                    Note                                  Email2                      Phone            Contacted?                  resolved date
1622   Forman        Nina M             100 West Ln                    Jenkintown, PA 19046        Incomplete Declaration                                                                                      No contact info available
1623   Nolthenius    Agatha             965 Cressman Rd                Schwenksville, PA 19473     Incomplete Declaration                                                                                      No contact info available
1624   Tatem         Thomas             2407 Brittany Point            Lansdale, PA 19446          Incomplete Declaration   No date.                                                                           Email
1625   Hartshorne    Charles            136 Dietz Mill Rd S            Telford, PA 18969           USPS Issue               Return to Sender ‐ Temporarily Away   Dharts@prodigy.net          N/A
1626   Sotillo       Gabriella          103 Newington Drive            Hatboro, PA 19040           Incomplete Declaration   No signature                                                                       No contact info available
1627   Wellheuser    Patricia           521 Colonial Drive             East Greenville, PA 18041   Incomplete Declaration   Incomplete Date.                                                                   No contact info available
1628   Burnham       Patrick            579 Weikel Rd                  Lansdale, PA 19446          Incomplete Declaration   No date.                                                                           No contact info available
1629   Foley         Patrick            1473 A Gravel Pike N           Perkiomenville, PA 18074    Incomplete Declaration   No date.                                                                           No contact info available
1630   Rose          Mary               16 Barndt Rd                   Telford, PA 18969           Damaged                  Return to Sender                      Durosepa@gmail.com          484‐239‐4958 Called
1631   Dixon         Anthoney Bernard   2920 Hannah Ave Apt            Norristown, 19401           No secrecy envelope      incomplete declaration                                                             No contact info available
1632   Diaz          Rosendo            198 Moyer Rd                   Telford, PA 18969           Damaged                  Return to Sender                      rabjjacademy@gmail.com      N/A              Email
1633   Harper        Aisha              1931 Guernsey Ave              Abington, PA 19001          Incomplete Declaration   No date.                                                                           No contact info available
1634   Bissoo        Ezekiel            2512 Dorothy St                Hatboro, PA 19040           Incomplete Declaration                                                                                      No contact info available
1635   Hafler        Jacqueline         4814 Gravel Pike               Perkiomenville, PA 18074    USPS Issue               Return to Sender                      kolpie@verizon.net          215‐234‐8551
1636   Flynn         Geraldine          432 Madison Ave                Hatboro, PA 19040           Incomplete Declaration   No address.                                                                        No contact info available
1637   Hafler        Gar                4814 Gravel Pike               Perkiomenville, PA 18074    Damaged                  Return to Sender                  N/A                             267‐247‐2902 Called
1638   Sell          Audrey             5957 Upper Ridge Rd            Pennsburg, PA 18073         Damaged                  Return to Sender                  N/A                             215‐234‐8324 Called
1639   Chapkis       Natalie Cecily     432 Rose Ln N                  Haverford, PA 19041         USPS Issue               RTS, NSN, UTF                     nchapkis@gmail.com              973‐590‐4004
1640   Michelone     Rachel             3723 Geryville Pike            Green Lane, PA 18054        USPS Issue               Return to Sender                  N/A                             215‐679‐9401
1641   Braun         Katharine Grace    108 Poe Ct                     North Wales, PA 19454       USPS Issue               RTS, IA, UTF                      kbraun133@gmail.com             none
1642   Valvo         Daniel Louis       2717 Swamp Pike                Pottstown, PA 19464         Incomplete Declaration   RTS                               vvindustries.daniel@gmail.com   610 960 2444 Email
1643   Brown         Daniel             1011 New Hope St APT 23B       Norristown, PA 19401        USPS Issue               Return to Sender                  Dab006@lvc.edu                  717‐860‐7286
1644   Ellis         Patricia           840 Glasgow St                 Pottstown, PA 19464         USPS Issue               RTS; UTF                          n/a                             610‐369‐3740
1645   Bernheim      Margery W          24132 Shannondell Dr           Audobon, PA 19403           USPS Issue               RTS                               mwbernheim@comcast.net          610 908 3879
1646   Gruzdis       Victoria           1011 New Hope St APT 51B       Norristown, PA 19401        USPS Issue               Return to Sender                  victoria.gruzdis@gmail.com      725‐221‐5520
1647   Williams      Ann K              12204 Shannondell Dr           Audobon, PA 19403           USPS Issue               RTS, Temp Away                    no contact info                                  No contact info available
1648   Carfagno      Anthony            1470 Valley Rd                 Pottstown, PA 19464         USPS Issue               RTS; UTF                          acarfagno1994@gmail.com         610‐883‐2363
1649   Lowry         Cameron            123 S Main St Apt 8            North Wales, PA 19454       USPS Issue               RTS                               lowrycaml@gmail.com             410‐916‐0500
1650   Fowler        Glenn              1011 New Hope St APT 49C       Norristown, PA 19401        USPS Issue               Return to Sender                  gfowler416@gmail.com            267‐981‐6593
1651   Balock        Judith             712 Hancock St E               Lansdale, PA 19446          USPS Issue               RTS; UTF                          jbalack@gmail.com               215‐412‐0105
1652   Lehr          Molly Rose         700 Lower State Rd Apt 14A05   North Wales, PA 19454       USPS Issue               RTS                               mlehr16@gmail.com               267 664 0258
1653   Simmons       Jesse              415 Basin St E                 Norristown, PA 19401        Damaged                  Return to Sender                  casdeign@outlook.com            484‐340‐2365 Email
1654   Habla         Elizabeth          820 Derstine Ave               Lansdale, PA 19446          USPS Issue               RTS;UTF. No contact info. n/a                                     n/a          No contact info available
1655   Van Rheenen   Tiffany M          237 Jacksonville Rd Apt 13A    Hatboro, PA 19040           USPS Issue               RTS                               no contact info                                  No contact info available
1656   Mouawad       Ellis              443 Wade Ave                   Lansdale, PA 19446          USPS Issue               RTS; URF. No contact info. n/a                                    n/a              No contact info available
1657   Vanhorn       Devin              1011 New Hope St APT 17A       Norristown, PA 19401        USPS Issue               Return to Sender                  n/a                             443‐643‐8575
1658   Krienitz      Maureen B          304 Hemlock Dr                 Hatboro, PA 19040‐1630      USPS Issue               RTS                               maureenk53@comcast.net          215 287 9727
1659   Reynolds      Betty May          637 Mervine St                 Pottstown, PA 19464         USPS Issue               Return to Sender                  BMReynolds963@yahoo.com         570‐721‐3186
1660   Williams      Kishon             1141 Snyder Rd APT A28         Lansdale, PA 19446          USPS Issue               RTS; Temp. Away.                  kwilli88@outlook.com            215‐906‐6795
1661   Hartzell      Linda              1027 Brooke Rd                 Pottstown, PA 19464         USPS Issue               Return to Sender                  lahartz1027@yahoo.com           610‐327‐1862
1662   Peyton        Madison            126 Steeple Chase Drive        North Wales, PA 19454       USPS Issue               RTS; IA                           mpp5325@psu.edu                 n/a
1663   Freedman      Audrey             23710 Shannondell Drive        Audubon, PA 19403           USPS Issue               RTS; Utf                          ef306@aol.com                   610‐382‐9726
1664   Williams      Nicoletta          1020 Chapman Circle            Hatfield, PA 19440          USPS Issue               RTS; UTF 10/17                    nawilliams1127@gmail.com        704‐615‐2195
1665   McFarland     William            107 Royer Dr                   Trappe, PA 19426            USPS Issue               Return to Sender‐ Not deliverable N/A                             610‐409‐0262
1666   Rodgers       John               109 Lakeview Dr #109           Royersford, PA 19468        USPS Issue               RTS; UTF                          jr16501@gmail.com               610‐304‐7492

                                                                                                       Page 99 of 124
                                                                         Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 100 of 124


                I                  J                    K                              L                           M                              N                                   O                                P                   Q                R
 1     Last Name         First name       Address Line 1                 Address Line 2                Issue                    Note                                             Email2                         Phone        Contacted?                resolved date
1667   Leap              Morgan           4030 Landis Rd                 Collegeville, PA 19426        USPS Issue               Return to Sender                                 mleap32@gmail.com              610‐937‐8330
1668   Robinson          Kennard          346 Logan Ave                  Glenside PA 19038             USPS Issue               RTS; UTF                                         kennard896@gmail.com           484‐340‐2466
1669   Nugent            Alexis           52 Diesinger Dr                Schwenksville, PA 19473       USPS Issue               Return to Sender ‐ Not Deliverable Address lexienugent1@gmail.com               484‐426‐6026
1670   Monaghan          John             2122 Kenmore Ave               Glenside, PA 19038            USPS Issue               RTS; UTF                                         monaghan@comcast.net           267‐253‐7314
1671   Carpenter         Jeffrey          421 Maple Glen Cir             Pottstown, PA 19464           USPS Issue               return to sender ‐ no longer at this address jeff@cinking.com                   484‐769‐8030
1672   Mosley            Jesse            1022 Gum Pl B                  Huntingdon Valley, PA 19006   USPS Issue               RTS; UTF                                         jjm2094@gmail.com              610‐625‐8128
1673   Martin            Maria            320 Wheatfield Cir             Hatfield, PA 19440            USPS Issue               RTS; UTF                                         marialmartin2605@yahoo.com     215‐631‐1827
1674   Selegean          Lynda            600 Lewis Rd APT 317           King of Prussia, PA 19406     USPS Issue               Return to Sender                                 lynda.selegean@gmail.com       484‐772‐6039
1675   George‐Guiser     Preeya           144 Seventh Ave                Collegeville, PA 19426        USPS Issue               RTS; UTF                                         preeyaguiser@gmail.com         610‐937‐6772
1676   Chumley           Eleni            200 Biscayne Blvd Way          Miami, FL 33131               USPS Issue               Return to Sender                                 N/A                            N/A          No contact info available
1677   Floyd             Brendon          901 Forest Dr                  Gwynedd Valley, PA 19437      USPS Issue               RTS; NSS, IA                                     brendonfloyd2@gmail.com        802‐730‐7331
1678   Hopkins           Oceana           505 Lindley Rd                 Glenside, PA 19038            USPS Issue               Return to Sender ‐ Insufficient Address oceanahopkins@gmail.com                 267‐671‐8371
1679   Tosti             Sergio           516 Molly Pitcher Dr           Collegeville, PA 19426        USPS Issue               RTS; UTF                                         sergiotosti8@gmail.com         610‐745‐7758
1680   Schwenger         Abigail          903 Artis Rd                   Plymouth, PA 19462            USPS Issue               Return to Sender ‐ Insufficient Address ashwengy@yahoo.com                      610‐883‐0490
1681   Cho               Yongjoo          134 Doral Drive                Blue Bell, PA 19422           USPS Issue               RTS; IA                                          jcho.94@gmail.com              713‐248‐5924
1682   Kilcoyne          Brendan          n/a                            Worcester, PA 19426           USPS Issue               RTS; IA                                          bjk@outlook.com                n/a
1683   Patterson         Brittney         454 Amity Ln                   North Wales                   USPS Issue               Return to Sender                                 brittanybpatterson@gmail.com   215‐661‐0351
1684   Batt              Alexa            321 Hamiliton Rd               Merion Station, PA 19066      USPS Issue               RTS; UTF                                         n/a                            610‐207‐3642
1685   Becton            Ethan            49 Longacre Dr                 Collegeville, PA 19426        USPS Issue               Return to Sender                                 ebectano2@gmail.com            215‐859‐3748
1686   Rowley            Eileen           994 Liberty Ct                 North Wales, PA 19454         USPS Issue               RTS; UTF, no contact info N/a                                                   N/a          No contact info available
1687   Hall              Alexandria       429 Montgomery Ave W, APT A501 Haverford, PA 19041           USPS Issue               RTS; IA, no contact info. n/a                                                   n/a          No contact info available
1688   Verges De Jesus   Rachelle Marie   1011 New Hope St APT 98B       Norristown, PA 19401          USPS Issue               Return to Sender                                 rachelle_VJ@hotmail.com        484‐681‐0703
1689   Brusha            Alexandria       415 W College Ave              State College, PA 16801       USPS Issue               RTS; UTF; incorrect address and no contact info. n/a                            n/a          No contact info available
1690   Shisler           Konrad           15 Schultz Rd N.               Green Lane, PA 18054          USPS Issue               Return to Sender ‐ Temporarily Away konshisler@gmail.com                        215‐272‐8168
1691   Reynolds          Eric             637 Mervine St                 Pottstown, PA 19464           USPS Issue               Return to Sender                                 ereynoldsa@gmail.com           570‐721‐3185
1692   Mayes Lofton      Thomas           409 Easton Rd N a1             Willow Grove, PA 19090        Incomplete Declaration   NO voter address, no voter printed name.                                                        No contact info available
1693   Stonkovich        Stevan           1300 Fayette St APT 146        Conshohocken, PA 19428        USPS Issue               RTS; UTF                          stevanstankovich@yahoo.com                    317‐372‐0134
1694   Reilly            Timothy          2524 Condor Dr                 Audubon, PA 19403             USPS Issue               Return to Sender                  TDreilly@gmail.com                            804‐562‐5185
1695   Hines             Seth             260 Fairfield Cir              Royersford, PA 19468          USPS Issue               RTS; UTF                          seth.hines@gmail.com                          919‐395‐4920
1696   Davis             Richard          39 Walker Rd                   Limerick, PA 19468            USPS Issue               RTS; UTF                          davis237@me.com                               n/a
1697   Heffernan         Danielle         87 Station Rd                  Limerick, PA 19468            USPS Issue               RTS; UTF                          sacredrose30@hotmail.com                      215‐272‐6122
1698   Hershberger       Deborah          193 Heffner Rd                 Royersford, PA 19468          USPS Issue               RTS; utf                          dlhersh@verizon.net                           484‐744‐1382
1699   Erickson          Roy              23439 Shannondell Dr           Audubon, PA 19403             USPS Issue               Return to Sender                  N/A                                           N/A             No contact info available
1700   Diegal            Christine        94 King Way                    Royersford PA 19468           USPS Issue               RTS; UTF                          cdiegal@comcast.net                           484‐686‐2214
1701   Fowler            Devin            1011 New Hope St APT 49C       Norristown, PA 19401          USPS Issue               Return to Sender                  D.Fowler1169@gmail.com                        267‐980‐3741
1702   Farley            George           39 Oak Lane                    Limerick, PA 19468            USPS Issue               RTS; UTF, no contact info. n/a                                                  n/a             No contact info available
1703   Beck              Kari             136 School LN N                Souderton, PA 18964           USPS Issue               Return to Sender                  Kariingrid83@gmail.com                        215‐723‐5356
1704   Oh                Seungeun         172 Pinecrest LN               Lansdale, PA 19446            USPS Issue               Return to Sender                  N/A                                           N/A             No contact info available
1705   Moser             Donna            2801 Standbridge St            Norristown, PA 19401          USPS Issue               IA; Insufficient Address; 8/24/20 n/a                                           610‐277‐9433
1706   Brown             Darnell          168 Pincrest LN                Lansdale, PA 19446            USPS Issue               Return to Sender                  Lbj4806@gmail.com                             815‐403‐9576
1707   Bernstein         Meredith         2000 Grand Ave APT #502        PA 19444                      USPS Issue               No such address.                  N/a                                           n/a             No contact info available
1708   Brown             Carrie Ann       168 Pinecrest LN               Lansdale, PA 19446            USPS Issue               Return to Sender                  carriebrown310@gmail.com                      812‐841‐1912
1709   Mcclain           Jocelynn         702 Stonybrook Dr              East Norriton PA 19403        USPS Issue               RTS; UTF                          n/a                                           n/a             No contact info available
1710   Wood              Joshua           137 Sandpiper CT               Gilbertsville, PA 19525       USPS Issue               Return to Sender                  Joshuawood.rn@gmail.com                       484‐366‐4823
1711   Moore             Sandra           5089 B Defford Pl              Eagleview, PA 19403           USPS Issue               RTS; UTF                          bauerdj102477@gmail.com                       610‐539‐6781

                                                                                                           Page 100 of 124
                                                                         Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 101 of 124


               I                J                        K                             L                          M                         N                                  O                        P                   Q                R
 1     Last Name    First name              Address Line 1               Address Line 2              Issue                 Note                                   Email2                         Phone        Contacted?                resolved date
1712   Rinehart     Hilari                  2119Big Rd RT 73             Gilbertsville, PA 19525     USPS Issue            Return to Sender                       hilrinehart@aol.com            N/A
1713   Bauer        David                   5089 Defford PL APT B        Eagleview, PA 19403         USPS Issue            RTS; UTF                               bauerdj102477@gmail.com        484‐566‐9425
1714   Cheung       Alexander               289 Stone Ridge Dr           Norristown, PA 19403        USPS Issue            Return to Sender ‐ Unable to forward   acheung22@outlook.com          717‐307‐6219
1715   Lytle        Gloria Jean             8755 Trumbauer Ct            Glenside, PA 19038          USPS Issue            RTS, Temp away                         lytlegloria@gmail.com          717 422 7074
1716   Anewalt      Valerie                 1903 Summit Dr               Limerick PA 19468           USPS Issue            Voter Status X                         N/A                            N/A          No contact info available
1717   McSorley     Karen A                 19 Whitemarsh Ave            Glenside, PA 19038          USPS Issue            RTS                                    kmcsorley88@gmail.com          717 379 8469
1718   Harris       Teresa                  1133 Jarvis LN               Lansdale, PA 19446          USPS Issue            Return to Sender                       Tpharris1@comcast.com          215‐479‐5644
1719   Powell       David Joseph            202 Yeakel Ave               Glenside, PA 19038          USPS Issue            RTS, Temp Away                         david.jpowell@comcast.net      ‐
1720   Myers        Gregory                 6206 Parade Field Way        Lansdale, PA 19446          USPS Issue            Return to Sender ‐ Temporarily Away    myersgw44@gmail.com            215‐512‐1480
1721   Yetter       Crystal Olivia Yetter   2468 Ardsley Ave             Glenside, PA 19038          USPS Issue            RTS                                    coyetter@gmail.com             215 802 7795
1722   Diegel       Stephanie Ann           94 King Way                  Royersford, PA 19468        USPS Issue            RTS                                    sad8293@gmail.com              none
1723   Harris       Nicholas                1133 Jarvis LN               Lansdale, PA 19446          USPS Issue            return to Sender                       Tpharris1@comcast.net          215‐479‐0242
1724   Diegel       Robert W                94 King Way                  Royersford, PA 19468        USPS Issue            RTS                                    diegle@comcast.net             484 686 2215
1725   Diehl        Brian J                 559 Chesnut St               Royersford, PA 19468        USPS Issue            RTS                                    diehl006@aol.com               484 432 0277
1726   Baek         Seung                   115 Dawn Dr                  Lansdale, PA 19446          USPS Issue            Return to Sender                       N/A                            N/A          No contact info available
1727   Kelly Jr     Carl Purnell            560 Spruce St Apt E10        Royersford, PA 19468        USPS Issue            RTS                                    carlkjr91@gmail.com            610 568 4414
1728   Gormley      Daniel                  118 Devonshire Dr            Lansdale, PA 19446          USPS Issue            Return to Sender                       Dan_Gormley@yahoo.com          N/A
1729   Diehl        Jeniene Cheraye         559 Chesnut St               Royersford, PA 19468        USPS Issue            RTS                                    jeniened@gmail.com             267 825 3459
1730   Omalley      Edward                  1301 N Bend CT               Lansdale, PA 19446          USPS Issue            Return to Sender                       omalleye3@gmail.com            610‐405‐6701
1731   Woodruff     Linda H                 2852 Egypt Rd                Audubon, PA 19407           USPS Issue            RTS, Temp away                         elan111315@aol.com             none
1732   Woodruff     Robert E Jr             2852 Egypt Rd                Audubon, PA 19403           USPS Issue            RTS, Temp away                         bobw888888@yahoo.com           no number
1733   Cardillo     Nicholas                100 Flintlock Cir            Lansdale, PA 19446          USPS Issue            Return to Sender                       nicholas.acardillo@gmail.com   267‐421‐1879
1734   Hunt         Nancy S                 2858 Crest Terrace           Norristown, PA 19403        USPS Issue            RTS                                    nancyhunt@live.com             610 584 6874
1735   Abbott       Joyce                   112 Rosewood Dr              Lansdale PA, 19446          USPS Issue            Return to Sender                       busymom@outlook.com            215‐855‐5872
1736   Quinn        Trisha J                1567 Potshop Rd              Norristown, PA 19403‐4614   USPS Issue            RTS                                    trisha.jq@gmail.com            610 306 1025
1737   Axel         Amy                     1262 Oxford Cir              Lansdale, PA 19446          USPS Issue            Return to Sender                       N/A                            267‐226‐7715
1738   Hunt         Roger C                 2858 Crest Terrace           Norristown, PA 19403        USPS Issue            RTS                                    rogerhunt@verizon.net          610 584 6874
1739   Blaetz       Tyler                   2566 Wyandotte Rd            Willow Grove, PA 19090      USPS Issue            Return to Sender                       Tylers.mailbox@gmail.com       215‐384‐5110
1740   Dlauro       Robert M                160 Canterbury Ln            Blue Bell, PA 19422         USPS Issue            RTS                                    rmdobx@gmail.com               215 651 0745
1741   Dlauro       Kathleen                160 Canterbury Ln            Blue Bell, PA 19422         USPS Issue            RTS                                    obx4950@gmail.com              215 901 2046
1742   McGeehan     Sarah                   115 Lawnton Rd               Willow Grove, PA 19090      USPS Issue            Return to Sender                       smcgeehan5@gmail.com           215‐740‐7723
1743   Kash         Christine               19 Madison Rd                Willow Grove, PA 19090      USPS Issue            return to sender                       phinsmom1@hotmail.com          267‐622‐1837
1744   Warren       Jasmine                 3505 Moreland Rd Apt B423    Willow Grove, PA 19090      USPS Issue            Return to Sender                       JDwarren91@gmail.com           215‐375‐0993
1745   Lee          Michelle                2058 Maple Ave               Hatfield, PA 19440          USPS Issue            Return to Sender                       zhaboo07@yahoo.com             215‐983‐0028
1746   Golden       Gregory A               1530 Adams St N              Pottstown, PA 19464         USPS Issue            RTS                                    greg_20045@yahoo.com           724 431 8899
1747   Harkins      Karen                   2349 E Vine St               Hatfield, PA 19440          USPS Issue            Return to Sender ‐ Temporarily Away    kwhark@yahoo.com               215‐460‐7520
1748   Jones        Rose Marie              80 Foulkeways at Gwynedd     Gwynedd, PA 19436           USPS Issue            RTS                                    no contact info                                No contact info available
1749   Landis       Grace M                 41 Foulkeways at Gwynedd     Gwynedd, PA 19436           USPS Issue            RTS                                    ‐                              215 283 7301
1750   Grant        Zachary                 109 Kimberly Way             Hatfield, PA 19440          USPS Issue            return to sender                       zacharygrant16@gmail.com       610‐308‐0856
1751   Mohan        Reba H                  14 Foulkeways at Gwynedd     Gwynedd, PA 19436           USPS Issue            RTS                                    ‐                              215 283 7346
1752   Burems       Debra                   1476 Bronte CT               Lansdale, PA 19446          USPS Issue            return to sender                       N/A                            N/A             No contact info available
1753   Labriola     Joan                    1406 Bronte Ct               Lansdale, PA 19446          USPS Issue            Return to Sender                       Joan@michaellabriola.com       215‐470‐7569
1754   Mohrbacher   Richard J               91 Foulkeways at Gwynedd     Gwynedd, PA 19436           USPS Issue            RTS                                    mohrba@aol.com                 215 283 7232
1755   Nichols      Shetorra                505 Carol Ct                 Lansdale, PA 19446‐1579     USPS Issue            Return To Sender                       shetorra@icloud.com            267‐467‐8882
1756   Michael      Bonnie Jo               2301 Foulkeways at Gwynedd   Gwynedd, PA 19436           USPS Issue            RTS                                    ‐                              267 464 5331

                                                                                                         Page 101 of 124
                                                                  Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 102 of 124


                I              J                     K                           L                          M                                   N                                         O                     P                   Q                      R
 1     Last Name    First name         Address Line 1             Address Line 2                Issue                    Note                                                 Email2                      Phone        Contacted?                    resolved date
1757   Kastner      Mark               1404 Taylor Rd             Lansdale, PA 19446            Damaged                  Return to Sender                                     markkastner@outlook.com     480‐270‐9444 Emailed
1758   Nethery      Thomas J           508 Pimlico Way            North Wales PA 19454‐4504     USPS Issue               RTS                                                  stnethry@verizon.net        ‐
1759   Litke        James              352 Park Ave               Harleysville, PA 19438‐1814   USPS Issue               Return to Sender                                     jlitke@comcast.net          610‐762‐8523
1760   Garnick      Robert J           1338 Tanglewood Dr         North Wales, PA 19454         USPS Issue               RTS, Temp away                                       no contact info                            No contact info available
1761   Litke        Michele            352 Park Ave               Harleysville, PA 19438        USPS Issue               Return to sender                                     N/A                         215‐771‐4313
1762   Garnick      Daniel R           1338 Tanglewood Dr         North Wales, PA 19454         USPS Issue               RTS, Temp away                                       ddddddddgarnick@gmail.com   no number
1763   Chhantyal    Nabin              601 Bismark Way            King of Prussia, PA 19406     No secrecy envelope                                                                                                      No contact info available
1764   Keefe        Lauren             6 Faraway Farm Ct          Collegeville, PA 19426        USPS Issue               Return to Sender                                     20202050@pjphs.org          610‐427‐3554
1765   Costanza     Jon                80 Pechin Mill Rd          Collegeville, PA 19426        No secrecy envelope                                                                                                      No contact info available
1766   Fazekas      Sherrie            179 Reynolds Ave           Pottstown, PA 19464           USPS Issue               Return to Sender                                     Sbkfaz@comcast.net          N/A
1767   Pandya       Suraj Paresh       1007 Kingscote Dr          Harleysville, PA 19438        No secrecy envelope                                                                                                      No contact info available
1768   Bishop       Huberta F          68 Spruce Run              Lansdale, PA 19436            No secrecy envelope                                                                                                      No contact info available
1769   Fazekas      John               179 Reynolds Ave           Pottstown, PA 19464           USPS Issue               Return to Sender                                     sbkfaz@comcast.net          484‐948‐8452
1770   Katrinak     Joseph B           536 Philadelphia Ave       King of Prussia, PA 19406     No secrecy envelope                                                                                                      No contact info available
1771   Aghili       Connor             73 Gleneagles Rd           Royersford, PA 19468          No secrecy envelope                                                                                                      No contact info available
1772   Turner       William            61 Putter LN               Pottstown, PA 19464           USPS Issue               Return to sender ‐ no longer at address              turnerwilliam711@gmail.com N/A
1773   Hollinger    David L            119 Myrtle Ave             Cheltenham, PA                No secrecy envelope                                                                                                      No contact info available
1774   Shim         Byung Shik         765 Edge Hill Rd           Glenside, PA 19038            No secrecy envelope                                                                                                      No contact info available
1775   Gaskin       Richard Harrison   300 Horsham Rd Apt E‐6     Hatboro, PA 19040             No secrecy envelope                                                                                                      No contact info available
1776   Yoon         Hyo                290 Allentown Rd E258      Lansdale, PA 19446            No secrecy envelope      Incomplete Declaration. As well as no secrecy env.                                              No contact info available
1777   Parekh       Titixa             721 Whitetail Cir          King of Prussia, PA 19406     No secrecy envelope                                                                                                      No contact info available
1778   Mueller      Kyle               460 Jacksonville Rd        Hatboro, PA 19040             No secrecy envelope                                                                                                      No contact info available
1779   Petrella     Joseph             117 Crosshill Rd           Wynnewood, PA 19096           Incomplete Declaration   No signature.                                                                                   No contact info available
1780   Park         Byung              1449 Crosby Drive          Ft Washington PA 19034        Incomplete Declaration   No signature.                                                                                   No contact info available
1781   Spencer      John               129 Fox Hound Dr           Lafayette Hill, PA 19444      No secrecy envelope                                                                                                      No contact info available
1782   Cahill       Mary C             715 Gilbert Place          Trappe, PA 19426              USPS Issue               RTS                                                  mcahill722@gmail.com        215 272 9680
1783   Yi           Aiden              109 Tudor Dr               North Wales                   No secrecy envelope                                                                                                      No contact info available
1784   Brauer       Sharon             n/a                        Royersford PA 19464           Incomplete Declaration   No address.                                                                                     No contact info available
1785   Mak          Kristy             124 Iron Bark Ct           Collegeville, PA 19426        USPS Issue               RTS                                                  kristymak88@gmail.com       215 206 6611
1786   Holinka      Shelby Jean        633 Camp Wawa Rd           Schwenksville, PA 19473       No secrecy envelope                                                                                                      No contact info available
1787   Capece       Matthew            10 Kenney Lane             Collegeville, PA 19426        Incomplete Declaration   No signature.                                                                                   No contact info available
1788   Lytle        Christopher B      124 Iron Bark Ct           Collegeville, PA 19426        USPS Issue               RTS                                                  cblytleco@gmail.com         610 996 3589
1789   Rogers       Nadirah            645 Lincoln Ave            Pottstown, PA 19464           Incomplete Declaration   No written declaration.                                                                         No contact info available
1790   Sohn         Yong               1290 Allentown RD #171E    Lansdale, PA 19446            No secrecy envelope                                                                                                      No contact info available
1791   OChester     Barbara J          923 Southampton Ave E      Glenside, PA 19038            USPS Issue               RTS                                                  ochesterbarbara10@gmail.com 215 341 0467
1792   Lipton       Asa                1539 Flat Rock Rd          Narberth, PA 19072            Incomplete Declaration   no signature.                                                                                   No contact info available
1793   Petravic     Gioetta            302 Atwood Rd              Glenside, PA 19038            No secrecy envelope                                                                                                      No contact info available
1794   Vanderlyke   Nicholas Ryan      7806 Beech Ln              Wyndmoor, PA 19038            USPS Issue               RTS                                                  nvanderlyke@gmail.com       215 205 0454
1795   Obrien       Myrtle             2301 Brittany PL           Lansdale, PA 19446            No secrecy envelope                                                                                                      No contact info available
1796   Ranzhoe      Nora               4010 Briar Lane            Lafayette Hill, PA 19414      Incomplete Declaration   No signature, date, or address                                                                  No contact info available
1797   Prusacki     Rachel             1010 Greenes Way Cir       Collegeville, PA 19426        USPS Issue               RTS, temp away                                       none                        215 859 6572
1798   Briddock     Shana              521 Wilder St              Philadelphia, PA 19147        Incomplete Declaration   No signature. Also, address may be an error.                                                    No contact info available
1799   Murray       Pamela Ann         2095 Knight Rd             Pennsburg, PA 18073           USPS Issue               RTS                                                  pmurrayx2@aol.com           267 383 8418
1800   OLeary       Richard E          1409 Newman Rd             Pennsburg, PA 18073           USPS Issue               RTS                                                  richardoleary@yahoo.com     no number
1801   Warsaw       Robin F            841 Highland Ave Apt 251   Jenkintown, PA 19046          USPS Issue               RTS                                                  rwarsaw@gmail.com           443 547 2478

                                                                                                    Page 102 of 124
                                                                             Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 103 of 124


               I                   J                      K                                 L                             M                                                           N                                                                O                         P                    Q                      R
 1     Last Name        First name          Address Line 1                   Address Line 2                    Issue                     Note                                                                                           Email2                           Phone        Contacted?                       resolved date
1802   King             Cynthia             421 Maple Glen Cir               Pottstown, PA 19464               USPS Issue               RTS; No longer living at this address                                                           cindy@cinking.com                484‐802‐7144
1803   Levitan          Rachael I           602 Appaloosa Rd                 Schwenksville, PA 19473           USPS Issue               RTS                                                                                             r.levitan@hotmail.com            610 506 2840
1804   Rinehart         David               2119 Big Rd RT 73                Gilbertsville, PA 19525           USPS Issue               RTS; UTF                                                                                        hilrinehart@aol.com              n/a
1805   Whitehead        Latanya M           522 Boyer Rd                     Cheltenham, PA 19012              USPS Issue               RTS                                                                                             bronxtanya@yahoo.com             215 758 6483
1806   Kirchman         Janice              1170 Hunter Hill Drive           Lansdale, PA 19446                USPS Issue               RTS; UTF                                                                                        janicekirchman48@gmail.com       267‐549‐8000
1807   Evans            Brooke              1075 S Valley Forge Rd           Lansdale, PA 19446                USPS Issue               RTS; UTF                                                                                        n/a                              215‐368‐8006
1808   Lawler           Thomas              1885 Flintlock Cir               Lansdale PA 19446                 USPS Issue               RTS; UTF                                                                                        tplthe3rd@gmail.com              215‐872‐4291
1809   Lawler           Karen               1885 Flintlock Cir               Lansdale, PA 19446                USPS Issue               RTS; UTF                                                                                        klawler91@comcast.net            215‐527‐1358
1810   Staas            Richard             1133 Jarvis Lane                 Lansdale, PA 19446                USPS Issue               RTS; UTF                                                                                        rich.staas@comcast.net           267‐977‐5239
1811   Braslow          Brian               14765 Bronte Ct                  Lansdale, PA 19446                USPS Issue               RTS; UTF                                                                                        bbraslow@icloud.com              n/a
1812   Burgert          Jessica             1141 Snyder rd APT H5            Lansdale, PA 19446                USPS Issue               RTS; UTf                                                                                        burgertjessica@gmail.com         267‐281‐2097
1813   Burems           Madison             1476 Bronte Ct                   Lansdale, PA 19446                USPS Issue               RTS; UTF                                                                                        n/a                              267‐339‐5755
1814   Aaronson         Steven              138 State St.                    Lansdale PA 19446                 USPS Issue               temporarily away                                                                                                                                   No contact info available
1815   Aaronson         Risa                138 State St.                    Lansdale PA 19446                 USPS Issue               Temporarily away                                                                                                                                   No contact info available
1816   Ahlberg          Alix Lauren         2 Owl Rd.                        Audubon PA 19403                  USPS Issue               new address: 148 Red Rambler Dr. Lafayette Hill PA 19444                                        alixahlberg@gmail.com            610‐416‐0300
1817   Annino           Agatha              140 Sugartown Rd. C/O Ibarguen   Devon PA 19333                    USPS Issue               New address: 25504 Shannondell Dr Audobon PA 19403                                              taffyannino@hotmail.com          610‐908‐3816
1818   Altmire          Gabriella           2250 Patterson St                Eugene OR 97405                   USPS Issue               insufficient address. Registration address: 601 Main St. E. PO Box 8000 Collegeville PA 19426   gabbyalt1419@gmail.com           484‐241‐7135
1819   adams            Tiffany             213 Maple Ave.                   Horsham PA 19044                  USPS Issue                insufficient address.                                                                          tiffanym.adams@yahoo.com         215‐939‐3012
1820   Breder           Allison             105 Canterbury Ln                Lansdale PA 19446                 USPS Issue               New address: 100 Redford Rd. Oreland PA 19075                                                                                    215‐692‐2562
1821   Bakhos           Charles             1028 Broadmoor Rd.               Bryn Mawr PA 19010                USPS Issue               New Address: 1111 Robin Rd. Gladwyne PA 19035                                                   charlesbakhos@yahoo.com          518‐763‐6047
1822   Crescenzo        Sally               100 West Ave                     Jenkintown PA 19046               USPS Issue                Insufficient address.                                                                                                                             No contact info available
1823   Clifford         James               1110 Wooded Pl                   Eagleville PA 19403               USPS Issue                temporarily away.                                                                              JWclifford@comcast.net           703‐505‐4357
1824   Cook             Maxine              105 Llanfair Rd                  Ardmore PA 19003                  USPS Issue               New address: 3500 West Chester Pike #CH‐113 Newtown Square PA 19073



1825   Cohen            Israel              510 Deer Run Ct.                 Limerick PA 19468                 USPS Issue               New address: 63 Green View Dr. Pottstown PA 19464                                               icohen410@gmail.com              484‐363‐7699
1826   Bishop           Walter Joseph Jr.   1276 Stump Hall Rd.              Collegeville PA 19426             USPS Issue                Temporarily Away                                                                               wjbishop317@comcast.net
1827   Benjamin         Marcus              unreadable                       pottstown PA                      USPS Issue               Addressed to election's PO box                                                                                                   484‐428‐0607
1828   Brand            Carolyn             1029 lake ln                     Pennsburg PA 18073                USPS Issue               addressed to voter's services' PO box                                                                                                              No contact info available
1829   Booth            Christopher         105 Thorndale Dr.                Red Hill PA 18076                 USPS Issue               Forward time expired: 647 US Route 1 Suite 14 York ME 03909                                                                      207‐219‐1325
1830   Bronte           Parker              1734 W. Diamond St.              Philadelphia PA 19072             USPS Issue               not deliverable as addressed.                                                                   tuj23866@temple.edu              610‐368‐2531
1831   Belasco          Janice              1158 Welsh Rd.                   Lansdale PA 19446                 USPS Issue               insufficient address                                                                            ynb1972@aol.com                  914‐589‐8250
1832   Blazynski        Lindsay             335 W. Elm St.                   Conshohocken PA 19428             USPS Issue               New address: 79 Red Horse Rd. Pottsville PA 17901


1833   Bealin           Alexander           300 Massachusetts Ave.           Washington DC 20001 United States USPS Issue               registration address: 1187 Plowshare Rd. Blue Bell PA 19422 Not deliverable as addressed        nilaeb19@gmail.com               2675160062
1834   Benc             Lucja               555 Goddard Blvd. Unit 548       King of prussia PA 19406          USPS Issue               Other Address: 200 Ross Rd D114 King of Prussia PA 19406 Not deliverable as addressed.          lucjabenc8@gmail.com             6464106162
1835   Bradshaw         Angela              25 Washington Ln Apt 526         Wyncote PA 19095                  USPS Issue               Not deliverable as addressed                                                                    angelapbra@gmail.com             215‐635‐0909
1836   Casady           Christine           132 Discovery Ct.                East Norriton PA 19401            USPS Issue                                                                                                               ccasady@gmail.com                610‐506‐2043
1837   Castelbaum       Emily               107 East 63rd St. Apt 3b         New York NY 10065                 USPS Issue                temporarily away                                                                               emilycastelbaum@gmail.com        610‐731‐3974
1838   Carrol           Robert              14107 Shannondell Dr.            Audubon PA 19403                  USPS Issue               New address: 1304 Barkway Ln West Chester PA 19380                                                                               610‐279‐0373
1839   Caucci           Terri               318 winding Brook Run            North Wales PA 19454              USPS Issue               New address: 1101 E. Hector St. Unit 251 Conshohocken PA 19428



1840   Diamantopoulos   Michael             315 Sixth Ave W                  Conshohocken PA 19428             USPS Issue                                                                                                                                                                  No contact info available
1841   Delprior         Lucas               860 Beech St.                    Pottstown PA 19464                USPS Issue               not deliverable as addressed.                                                                   ldelpriore@thehill.org           802‐275‐8659
1842   Saraga           Diana M.            8305 Hull Dr                     Wyndmoor, PA 19038                Incomplete Declaration    no name                                                                                        mommymeat@aol.com                215‐233‐0430 Email
1843   Dornstreich      Elijah              7902 Rambler Rd.                 Elkins Park PA 19027              USPS Issue               New address: 518 Annadale Dr. Berwyn PA 19312                                                   elijah.dornstreich@bernstein.com 2153138722
1844   Damato           Robert              49 Metka Rd.                     Limerick PA 19468                 USPS Issue               New address: 117 Birch Ln. bloomsbury NJ 08804                                                                                   610‐462‐5569
1845   Hallquist        Tina                813 Glenalough Rd                Erdenhelm, PA 19038               Incomplete Declaration    No date                                                                                        NA                               NA           No contact info available
1846   Flanagan         Jessica             408 Artman Rd                    Ambler, PA 19002                  Incomplete Declaration   No name, no address, no date, no signature                                                      NA                               NA           No contact info available


                                                                                                                  Page 103 of 124
                                                                          Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 104 of 124


                I             J                       K                                    L                            M                                                              N                                                                  O                     P                    Q                      R
 1     Last Name     First name       Address Line 1                           Address Line 2               Issue                     Note                                           Email2                                                                              Phone            Contacted?                  resolved date
1847   dronson       mariel           360 E. South Water S.                    Chicago Illinois 60601       USPS Issue                                                               dronsonmb@gmail.com
                                                                                                                                     Registration address: 161 Badman Rd. Green Lane PA 18054 reason: insufficient address                                               267644‐4910
1848   Donny         Marilou          631 Birchleaf Dr.                        Collegeville PA 19426        USPS Issue                                                               mariloudonny@verizon.net
1849   Durant        michael          1011 lincoln Dr. W.                      ambler pa 19002              USPS Issue               New address: 511 Lincoln Dr. W. Ambler PA 19002 madurant1976@gmail.com                                                              571‐699‐8872
1850   Brewer        Janee N.         310 Jefferson St                         Norristown, PA 19401         Resolved                 Completed in person NA                                                                                                              484‐213‐5631 Called                             10/29/2020
1851   depillis      Matthew          1749 11th Street NW                      Wayne PA 19087               USPS Issue               no such street                                  mattdepillis@gmail.com                                                              610‐312‐9597
1852   Luchie        Louella          971 Steven Lane                          Wayne, PA 19087              Incomplete Declaration   Incomplete Address NA                                                                                                               NA           No contact info available
1853   derecola      dominic A sr.    unknown                                  pottstown PA 19464           USPS Issue               insufficient address (no street address) nicky946@comcast.net                                                                       484‐919‐0059
1854   Dume          Susette          46 E. Chestnut St.                       Norristown PA 19401          USPS Issue                                                               dsusette92@gmail.com                                                                484‐304‐0081
1855   Roberts       Linda S.         1809 Red Oak Way                         Hatfield, PA 19440           Incomplete Declaration   No date                                         NA                                                                                  NA           No contact info available
1856   dewan         sanjiv           269 Coachlight ter                       huntingdon Valley PA 19006   USPS Issue               no such number.                                                                                                                     215‐938‐7921
1857   Faga          Amy Ryan         417 Shipwrighter Way                     Lansdale, PA 19446           Incomplete Declaration   No date                                         NA                                                                                  NA           No contact info available
1858   Stickel       Terrie Lou       865 Babb Circle                          Wayne, PA 19087              Incomplete Declaration   No date                                         NA                                                                                  NA           No contact info available
1859   deninger      laura            869 port republic rd. apt 88L3           Harrisonburg VA 22801        USPS Issue                                                               deninlj@dukes.jmu.edu
                                                                                                                                     registration address: 3716 Worthington Rd. Collegeville PA 19426 reason: not deliverable as addressed                               610‐952‐9474
1860   Payne         Bryce F., Jr     2940 Barndt Rd                           Telford, PA 18969            Incomplete Declaration   No date                                         Bryce.Payne@wilkes.edu                                                              215‐234‐2580 Email
1861   eleazer       zena             1415 lincoln dr. w. Apt                  ambler pa 19002              USPS Issue               800 trenton Rd. Apt 278 Langhorne PA 19047 zeleazer@hotmail.com

1862   Harden        Robert Edward    301 Norristown Rd apt B106               Ambler, PA 19002             Incomplete Declaration   no date, no name, no address NA                                                                                                     270‐705‐3612 Called
1863   earnest       Tara             117 Susan Dr.                            Elkins Park PA 19027         USPS Issue               127 Walton Rd. Hatboro PA 19040                                                                                                                      No contact info available
1864   Fristrom      Edward Carl      724 Oxford Rd                            Bala Cynwyd, PA 19004        Incomplete Declaration    No date                                                                                                Tfristrom@gmail.com         610‐609‐1169 Email
1865   Eldridge      lariese          9801 Germantown Pk PO Box 408 Layfayette Hill PA 19444                USPS Issue                                                                                                                       lme3290@gmail.com           267‐972‐3020
1866   Endrikat      Fred             4034 Crescent Ave                        Lafayette Hill, PA 19444     Incomplete Declaration    Incomplete address                                                                                     NA                          717‐554‐4094 Called
1867   epprecht      Peter            po box 324                               Mainline PA 19451            USPS Issue               registration address: 1777 Clemens Rd. Harleysville PA 19438 reason: not deliverable as addressed       epprecht@usa.net
1868   Fetterman     Amy Lynn         21 Brandon Circle                        Phoenixville, PA 19460       Incomplete Declaration    No Date                                                                                                NA                           NA              No contact info available
1869   flinchbaugh   James            215 Broad St. S. Apt 9                   Lansdale PA 19446            USPS Issue               1360 Stonybrook Ln Lansdale PA 19446                                                                    flinchbaughjames12@gmail.com 215‐767‐7716
1870   Parker        Alexis A.        1946 Canyon Creek Rd                     Gilbertsville, PA 19525      Incomplete Declaration    No date                                                                                                NA                           NA              No contact info available
1871   foley         Barbara          1110 Wooded Pl                           Eagleville PA 19403          USPS Issue                temporarily away                                                                                       bafoley95@gmail.com          610‐405‐6956
1872   Evans         Angela Monique   7430 Elizabeth Rd                        Elkins Park, PA 19027        Incomplete Declaration    No date                                                                                                NA                           NA              No contact info available
1873   Frye          Mercedes         unknown                                  oreland PA 19075             USPS Issue                insufficient address                                                                                   mercedesfrye@comcast.net 2153507818
1874   Kim           Brian R.         131 Church Rd Apt 8‐K                    North Wales, PA 19454        Incomplete Declaration    No date                                                                                                NA                           NA              No contact info available
1875   flocco        mary elaine      250 ridge pike uni C255 Layfayette Green Lafayette Hill PA 19444      USPS Issue                                                                                                                                                                    No contact info available
1876   gonzalez      damian           213 maple Ave Apt I‐136                  horsham PA 19044             USPS Issue                insufficient address                                                                                                                                No contact info available
1877   Roberts       Stephen M.       1809 Red Oak Way                         Hatfield, PA 19440           Incomplete Declaration    No date                                     NA                                                                                     NA           No contact info available
1878   Grimmage      Alexis           7669 Washington ln Apt A                 elkins park pa 19027         USPS Issue               not deliverable as address grimmagealexis@gmail.com                                                                                 267‐221‐6304
1879   Lukens        Deborah A.       415 Revere Rd                            Lafayette Hill, PA 19444     Resolved                 Completed in person debster1019@aol.com                                                                                             610‐513‐4652 Email                              10/29/2020
1880   Guy           Emani            25 Evergreen Rd.                         Norristown PA 19403          USPS Issue               8508 16th St. Apt 618 Silver Spring MD 20910 emaniguy98@gmail.com                                                                   610‐969‐5780
1881   Foulke        Maryellen        2412 Brittany Point                      Lansdale, PA 19446           Incomplete Declaration   No date                                      NA                                                                                     NA           No contact info available
1882   george        Steven           1001 City Ave. Unit ED 1014              Wynnewoods PA 19096          USPS Issue               734 Hedgerow Dr. Broomall PA 19008 sjg227@yahoo.com                                                                                 610‐368‐3400
1883   Gagen         William          1956 Audubon Dr.                         Dresher PA                   USPS Issue               Wrong zip, fixed                                                                                                                                     No contact info available
1884   Boughter      Linda Maria      100 Hillside Dr Apt A‐4                  NA                           Incomplete Declaration   Incomplete Address NA                                                                                                               NA           No contact info available
1885   Griffin       Jamir            314 Jefferson Ave. Apt A                 Cheltenham PA 19012          USPS Issue               not deliverable as addressed. jamir606@outlook.com                                                                                  215‐821‐0609
1886   Slichter      Kirsten          18 E. Vine St                            Stowe, PA 19464              Resolved                 Completed in person Kirsten.slichter@gmail.com                                                                                      NA           Email                              10/29/2020
1887   Grubawsky     Ellen            3441 Westview Dr.                        Perkiomenville PA 19074      USPS Issue               4 tallwood Ct. Columbus NJ 08022 ebg3441@gmail.com                                                                                  21527727698
1888   Wenerowicz    Sheri Jean       2403 Fairview Lane                       Gilbertsville, PA 19525      Incomplete Declaration   No address, No name NA                                                                                                              NA           No contact info available
1889   grimmage      Amber            7669 washington ln apt A                 Elkins Park PA 19027         USPS Issue               not deliverable as addressed. ambergrimmage@gmail.com                                                                               267‐683‐8124
1890   Glover        Kathleen         2156 Mainland Rd.                        harleysville PA 19438        USPS Issue               not deliverable as addressed. jhgeigeri@verizon.net                                                                                 2677189738
1891   Johnson       Toni             2107 Cheltenham Ave Apt B                Elkens Park, PA 19027        Incomplete Declaration   No name, No address NA                                                                                                              NA           No contact info available


                                                                                                                Page 104 of 124
                                                                            Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 105 of 124


                I                  J                      K                               L                         M                                              N                                               O                    P                   Q                R
 1     Last Name        First name          Address Line 1                  Address Line 2              Issue                    Note                                                                   Email2                   Phone        Contacted?                resolved date
1892   Driban           Michael             114 Woodland Rd                 Wyncote, PA 19095           Incomplete Declaration   No date                                                                NA                       NA           No contact info available
1893   holder           bobbie              1990 ashborne rd Apt 111        Elkins Park PA 19027        USPS Issue               forward time expired PO Box 7143 Elkins Park PA 19027                                           267‐602‐7816
1894   Kardos           Colleen Jacquelyn   625 Hollow Rd                   Phoenixville, PA 19460      Incomplete Declaration   No name, no address NA                                                                          NA           No contact info available
1895   hunn             margaret            21507 Shannondell Dr.           Audubon PA 19403            USPS Issue               2576 Crestline Dr. Lansdale PA 19446 peghunn@aol.com                                            610‐382‐9680
1896   henry            govan               700 Lower state Rd.             North Wales PA 19454        USPS Issue               insufficient address kinghenry33@gmail.com                                                      267884‐6826
1897   Jamila           Walter              904 A Stockton Court            Lansdale, PA 19446          Incomplete Declaration   No name, no address NA                                                                          610‐238‐0188 Called
1898   hill             Frances             64 washington St. N.            pottstown PA 19464          USPS Issue               attempted‐ unable to deliver                                                                                    No contact info available
1899   hoffman          Debra               92 Merbrook Ln                  Merion station PA 19066     USPS Issue               temporarily away                                                       debrahoffman@gmail.com
                                                                                                                                                                                                           610‐505‐3416
1900   hayes            Genevieve           121 Galway Circle               Chalfont OA 18914           USPS Issue               313 county line Rd. W. Hatboro PA 19040 reason: insufficient address      215‐675‐5005
1901   Shahabuddin      MD                  27                              ‐                           USPS Issue               Insuf. Address                                  ‐                         267 992 4754
1902   Campbell         Venus Wakefield     813 Swede St Apt 3              Norristown, PA 19401        USPS Issue               ANK                                             campbellvenus52@yahoo.com 267 207 6357
1903   Rumley           Sarah               742 Cedar Ct                    Red Hill, PA 18076          USPS Issue               Mail in ballot cancelled. n/a                                             n/a                                   No contact info available
1904   Howards          Emily               600 Righters Ferry Rd Apt 448   Bala Cynwyd, PA 19004       USPS Issue               RTS ‐ Cancelled / Replaced N/A                                            N/A                                   No contact info available
1905   McKinney         Thomas              1949 Yorktown North             Norristown, PA 19401        USPS Issue               NSS                                             tdmckinneysr@aol.com      610 630 1257
1906   Bae              Evelyn              928 Masters Way                 Harleysville, PA 19438      USPS Issue               RTS; Canc. Repl                                 n/a                       n/a                                   No contact info available
1907   Greer            Chang S             566 Canterbury Rd               Norristown, PA 19401        USPS Issue               NSS                                             dancconway@gmail.com      610 256 0805
1908   Calhoun          Sidney              304 Logan Ave                   Glenside, PA 19038          USPS Issue               RTS; canc.                                      n/a                       n/a                                   No contact info available
1909   Santiago‐Colon   Fernando            1406 N. Washtenaw Ave           Chicago, IL 60622           USPS Issue               RTS ‐ Cancelled / Replaced N/A                                            N/A                                   No contact info available
1910   Langer           Maya E              370 Lansdale Ave                Haverfaral, PA 19401        USPS Issue               Wrong zip                                       maya.langer310@gmail.com 215 544 4286
1911   Carter           Theodora C          10 King St                      ‐                           USPS Issue               ANK                                             theodora.carter@gmail.com no number
1912   Lewis            Bobbi               511 Fairview Rd                 Narberth, PA 19072          USPS Issue               RTS ‐ Cancelled / Replaced N/A                                            N/A                                   No contact info available
1913   Giannetti        Eliza               711 East Beaver Ave             State College PA 16801      USPS Issue               RTS; IA, Canc.                                  n/a                       n/a                                   No contact info available
1914   Fox              Claire Marie        5700 Pine St                    Norristown, PA 19401        USPS Issue               NSN                                             no email                  484 244 0201
1915   Seibert          Keith               1850 S Valley Forge Rd          Lansdale, PA 19446          USPS Issue               RTS; Canc.                                      n/a                       n/a                                   No contact info available
1916   Ostroff          Julie               556 Cardinal Dr                 Dresher, PA 19025           USPS Issue               RTS ‐ Cancelled / Replaced N/A                                            N/A                                   No contact info available
1917   Rosenthal        Arnold S            1001 Easton Rd Apt 615M         Willow Grove, PA 19090      USPS Issue               RTS, mail in ballot perm cancelled rosenthal@comcast.net                  215 659 1218
1918   Bujak            Joseph              2100 Line St N Apt E303         Lansdale, PA 19446          USPS Issue               RTS; Voter Status X                             n/a                       n/a                                   No contact info available
1919   Neights          Elizabeth           2525 Condor Dr                  Audubon, PA 19403           USPS Issue               Already voted, cancelled replaced, RTS, IA, UTF ‐                         ‐                                     No contact info available
1920   Maier            Oana                111 Morgan Dr                   Royersford, PA 19468        USPS Issue               canc/replaced                                   ‐                         ‐                                     No contact info available
1921   Graham           Alyssa              2004 Quill LN                   Oreland, PA 19075           USPS Issue               RTS ‐ Cancelled / Replaced N/A                                            N/A                                   No contact info available
1922   Keaney           Hannah Louise       1337 Centennial Rd              Narberth, PA 19072          USPS Issue               Cancelled, replaced ‐                                                     ‐                                     No contact info available
1923   Valoris          Barry               647 Arbor Rd                    Cheltenham, PA 19012        Cancelled                                                                n/a
                                                                                                                                 Voided; Father voted his sons ballot. Son wants to vote in person.        n/a                                   No contact info available
1924   Bademan          Kathleen            316 Hidden Creek Dr             Hatboro, PA 19040           USPS Issue               RTS ‐ Cancelled / Replaced N/A                                            N/A                                   No contact info available
1925   Hegedus          Christine L         109 Sunny Brook Rd              Royersford, PA 19468        USPS Issue               canc/replaced                                   ‐                         ‐                                     No contact info available
1926   Direnzo          Dominick            15103 Shannondell Dr            Audobon, PA 19403           USPS Issue               RTS; Voter Status x                             n/a                       n/a                                   No contact info available
1927   Kurien           Manish              343 Holmecrest RD               Jenkintown, PA 19046        USPS Issue               RTS ‐ Cancelled / Replaced N/A                                            N/A                                   No contact info available
1928   Wlazelek         Kevin               35 Bristol Ct                   Norristown, PA 19403‐1074   USPS Issue               cancelled, replaced                             ‐                         ‐                                     No contact info available
1929   Emrich           Tara                30 Maurice Lane                 Hatboro, PA 19040           USPS Issue               RTS; Voter Status X                             n/a                       n/a                                   No contact info available
1930   Hughes           Mary                330 Kinsey Rd                   Harleysville, PA 19438      USPS Issue               RTS ‐ Cancelled / Replace maryhughes@gmail.com                            N/A
1931   Hinkle           Jodi Rlou           500 Church St Spt1              Royersford, PA 19468        USPS Issue               Canc/replaced, RTS                              ‐                         ‐                                     No contact info available
1932   Urmson           Star                1145 Grosser Rd                 Gilbertsville, PA 19525     USPS Issue               RTS; Voter Status X                             n/a                       n/a                                   No contact info available
1933   Golden III       Ray                 165 Ridge Pike W, Lot 255       Royersford, PA 19468        USPS Issue               canc/replaced, rts                              ‐                         ‐                                     No contact info available
1934   Montague         James K             109 Sunny Brook Rd              Royersford, PA 19468        USPS Issue               canc/replaced, RTS                              ‐                         ‐                                     No contact info available
1935   Quill            Jean                12218 Shannondell Dr Apt 218    Audubon, PA 19403           USPS Issue               RTS; Voter Status X                             N/a                       n/a                                   No contact info available
1936   Chen             Xiaoying            410 Shipwrighter Way            Lansdale, PA 19446          USPS Issue               canc/replaced, RTS                              ‐                         ‐                                     No contact info available


                                                                                                            Page 105 of 124
                                                                  Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 106 of 124


               I              J                   K                             L                         M                             N                                       O                        P                Q                  R
 1     Last Name    First name       Address Line 1               Address Line 2              Issue                 Note                                          Email2                        Phone        Contacted?                resolved date
1937   Friel        Thomas           14 Buckwalter Rd             Audubon PA 19403            USPS Issue            RTS; Voter Status X                           n/a                           n/a          No contact info available
1938   Zeng         Zhizhen          410 Shipwrighter Way         Lansdale, PA 19446          USPS Issue            canc/replaced, RTS                            ‐                             ‐            No contact info available
1939   Cook         David            105 Llanfair Rd              Ardmore, PA 19003           USPS Issue            RTS: Voter Status X                           n/a                           n/a          No contact info available
1940   Hollin       Noah Jeffrey     1328 Beaumont Dr             Gladwyne, PA 19035‐1302     USPS Issue            canc/replaced, RTS                            ‐                             ‐            No contact info available
1941   Barksdale    Jerome           8109 Fenton Rd               Laverock, PA 19038          USPS Issue            Corr ID 188373751, cancelled, replaced, RTS   ‐                             ‐            No contact info available
1942   Kelly        Sondra           2688 High St E Apt 11        Pottstown, PA 19464         USPS Issue            RTS; Voter Status X                           n/a                           n/a          No contact info available
1943   Peters       Jennifer M       PO Box 313                   East Texas, PA 18046        USPS Issue            UTF, cancelled/replaced                       ‐                             ‐            No contact info available
1944   Malecky      Margaret         107 Tweed Way                Harleysville, PA 19438      USPS Issue            RTS ‐ Cancelled Replaced                      N/A                           215‐498‐3841
1945   Ludy         Kiersten         Apt 3                        Royersford, PA 19468        USPS Issue            cancelled/replaced                            ‐                             ‐            No contact info available
1946   Stoughton    John             1080 Camp Hill Rd            Fort Washington, PA 19034   USPS Issue            RTS; Cancelled, Replaced.                     jstaughton@gmail.com          215‐646‐6752
1947   Barth        Solomon          236 Seventh Ave E            Trappe, PA 19426            USPS Issue            RTS ‐ Cancelled / Replaced                    N/A                           N/A          No contact info available
1948   Scott        Leslie           107 Chesnut St PO Box 845    Ambler, PA 19002            USPS Issue            Cancelled/replaced, UTF                       ‐                             ‐            No contact info available
1949   Scallon      Daniel           219 Miller Road Apt F        Akron, PA 17501             USPS Issue            RTS; Already Canc.                            n/a                           n/a          No contact info available
1950   Lastowka     Thomas M         313 Conestoga Way Apt B‐18   Eagleville, PA 19403        USPS Issue            cancelled/replaced                            ‐                             ‐            No contact info available
1951   Seegul       Barbara          100 Grays LN APT 403         Haverford, PA 19041         USPS Issue            RTS ‐ Wrong Zip Code                          Bmsee@aol.com                 610‐746‐4500
1952   Butz         Daniel Stephen   2040 Pleasant Valley Dr      Lansdale, PA 19446          USPS Issue            Cancelled/replaced, IA, RTS                   ‐                             ‐            No contact info available
1953   Holsey       Monique          312 Masters Drive            Pottstown, PA 19464         USPS Issue            RTS; Canc.                                    n/a                           n/a          No contact info available
1954   Blumberg     Sandra           620 Morris Ave               Bryn Mawr, PA 19010         USPS Issue            Insufficient address                          sandrarealart@comcast.net     215 264 6766
1955   Donlon       Marguerite       2815 Byberry Rd Apt 126      Hatboro, PA 19040           USPS Issue            RTS; Temporarily Away                         mrdonlon@comcast.net          215‐300‐1762
1956   Beaty        Barbara J        Room 2138                    ‐                           USPS Issue            Insufficient Address                          msharpere@masonkuilbge.org    no number
1957   Sickel       William          2815 Byberry Rd              Hatboro, PA 19040           USPS Issue            RTS; UTF                                      n/a                           215‐674‐8133
1958   Alfriend     Starlisha C      360 Winding Way              ‐                           USPS Issue            Insufficient Address                          salfriend@comcast.net         610 306 1111
1959   Shalcosky    Sue              3445 Davisville Rd           Hatboro, PA 19040           USPS Issue            RTS; UTF 10/27                                n/a                           n/a          No contact info available
1960   Watson       Joseph P         306 Newington Dr             Hatboro, PA 19040           USPS Issue            RTS                                           JPwaoh61@verizon.net          215 840 8341
1961   Smith        Elinor           2723 Maple Village           Hatboro, PA 19040           USPS Issue            RTS; UTF, 10/27                               n/a                           n/a          No contact info available
1962   Eichorn      Lynne Ann        2575 Pioneer Rd              Hatboro, PA 19040           USPS Issue            RTS                                           lynnea2112@yahoo.com          215 219 3024
1963   Zebin        Randy            3855 Davisville Rd           Hatboro, PA 19040           USPS Issue            RTS; Temp Away                                n/a                           215‐397‐8181
1964   Johnson      Cheryl V         306 Newington Dr             Hatboro, PA 19040           USPS Issue            RTS                                           cvaljo913@aol.com             215 815 1527
1965   Burns        Irma Luz         124 Ellen Way                Harleysville, PA 19438      USPS Issue            RTS                                           msgigi1012@gmail.com          no number
1966   Debroy       Whitney          81 Woodview Lane             North Wales, PA 19454       USPS Issue            RTS; UTF                                      whitneydebroy@gmail.com       586‐612‐8984
1967   Caucci       Robert J         318 Winding Brook Run        North Wales, PA 19454       USPS Issue            RTS                                           tmccooch@hotmail.com          610 772 1829
1968   Hagmeier     Brian Matthew    106 Hawthorne Dr             North Wales, PA 19454       USPS Issue            RTS                                           hagmeiers@aol.com             215 353 6877
1969   Johnson      Doreen Georita   1600 Holly Hill Ln           Ambler, PA 19002            USPS Issue            RTS                                           doreengjohnson@gmail.com      703 346 1172
1970   Schmall      Kelsie           211 Tulip Lane               Gilberstsville, PA 19525    USPS Issue            RTS; IA, not deliverable                      klschmall@outlook.com         484‐347‐4293
1971   Nascimento   Arlene E         1528 Aidenn Lair Rd          Ambler, PA 19002            USPS Issue            RTS                                           no contact info               ‐            No contact info available
1972   Nascimento   Livia M          1528 Aidenn Lair Rd          Ambler, PA 19002            USPS Issue            RTS, FWD                                      ‐                             302‐518‐3561
1973   Howell       Vanessa          230 South Main Street        Providence RI 02903         USPS Issue            RTS; IA                                       howellva@sas.ipenn.edu        949‐793‐3526
1974   Rosenau      Richard S        1041 Denston Dr              Ambler, PA 19002            USPS Issue            RTS, FWD                                      deliman4u@aol.com             216 628 9997
1975   Murcar       Micaela          1150 Meadowbrook Rd          Jenkintown, PA19046         USPS Issue            RTS; UTF                                      mgm82@pitt.edu                267‐403‐1352
1976   Swartley     John A Jr        650 Greycliffe Ln            Ambler, PA 19002            USPS Issue            RTS                                           jschuyler65@comcast.net       no number
1977   Beauchamp    Magdelene        311 Summit Ave               Jenkintown, PA 19046        USPS Issue            RTS; NSS                                      delenebeauchamp2020@gmail.com 215‐740‐0959
1978   Schuyler     Janice L         650 Greycliffe Ln            Ambler, PA 19002            USPS Issue            RTS                                           jscuyler650@comcast.net       no number
1979   Jacquette    Jo Anne M        413 Cedar Ln                 Ambler, PA 19002            USPS Issue            RTS, Temp away                                jjacquette@verizon.net        215 287 6076
1980   Armstrong    Mary             1326 Dekalb St               Norristown, PA 19401        USPS Issue            RTS; IA RIO 10/23                             n/a                           610‐945‐5821
1981   Pantone      Thomas           365 Park Edge Dr             Clinton, PA 19428           No secrecy envelope   No secrecy Env.                               tpantonjr@gmail.com           412‐780‐6899 Email

                                                                                                  Page 106 of 124
                                                                                 Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 107 of 124


               I                   J                        K                                     L                          M                          N                                          O                                   P                 Q                  R
 1     Last Name        First name         Address Line 1                            Address Line 2              Issue                 Note                                                 Email2                              Phone        Contacted?                resolved date
1982   Brodish          Micayla E          585 Morwood Rd                            Telford, PA 18969           USPS Issue            Insufficient Address                                 bordishm@nyack.edu                  no number
1983   Hewitt           Max M              42 Rosemont Ave                           Bryn Mawr, PA 19010         USPS Issue            RTS, ANK                                             mmhewitt09@gmail.com                215 353 6528
1984   Koebert          Thomas             n/a                                       n/a                         No secrecy envelope   Also IA, no address                                  tkoebert@yahoo.com                  215‐528‐0209 Email
1985   Prendergast      Olivia Catherine   112 Righters Mill Rd                      Narberth, PA 19072          USPS Issue            RTS, IA                                              none                                610 658 7282
1986   Tarone           Jeanette           186 Stine Drive                           n/a                         USPS Issue            IA; no RTS sticker                                   n/a                                 n/a          No contact info available
1987   Shader           Ava                n/a                                       n/a                         USPS Issue            No RTS; IA                                           ashader@brynmawr.edu                802‐579‐6727
1988   Block            Sophia             811 Oak Ridge Rd                          Bryn Mawr, PA 19010         USPS Issue            RTS; IA UTF                                          n/a                                 610‐908‐4822
1989   Lipshutz         Morton H           2803 Stanbridge St Timberlake Apts Norristown, PA 19401               USPS Issue            IA, RTS                                              ‐                                   610 272 0127
1990   Kendrat          Kelly A            407 Sixth Ave W                           Conshohocken, PA 19428      USPS Issue            RTS                                                  kkendrat@gmail.com                  610 906 9649
1991   Emery            Sean               500 College Rd                            Swarthmore, PA 19081        USPS Issue            RTS; no known address, attmpted. emerysr@verizon.net                                     215‐964‐9158
1992   Walker           Rosalie            no address                                no address                  USPS Issue            Unknown at this address no contact info                                                  ‐            No contact info available
1993   Carber           Meredith Hunt      149 Gleneagles Ct                         Blue Bell, PA 19422         USPS Issue            RTS, attempted no know, unable to forward meredith.carber@gmail.com                      215 260 7435
1994   Walker           Lydia              217 Oak St E                              Norristown, PA 19401        USPS Issue            RTS; UTF                                             lwalker459@gmail.com                267‐343‐2437
1995   Douglass         Melissa M          1029 Madison St                           Syracuse, NY 13210          USPS Issue            RTS, not deliverable as addressed, unable to forward melissadouglass11@gmail.com         215 292 0350
1996   Golden           Colleen            304 A Windsor Ave                         Narberth, PA 19072          USPS Issue            RTS; UTF                                             gbanes4583@comcast.net              215‐771‐4558
1997   Dessain          Carly Elizabeth    1370 Indian Creek Dr W                    Wynnewood, PA 19096         USPS Issue            RTS, no such number, unable to forward carlyd402@gmail.com                               610 716 3310
1998   Kelley           Denise A           104 Rosemont Ave                          Norristown, PA 19401        USPS Issue            RTS, not deliverable as addressed, unable to forward lindrizzomal@gmail.com              none
1999   Eidelson         Richard            190 Presidential, Uni 605                 Bala‐Cynwyd, PA 19007       USPS Issue            RTS; NSS                                             dr@openyourmouth.com                215‐917‐2602
2000   Bogdan           Haley Elyce        322 Collegiate Court                      Shippensburg, PA 19473      USPS Issue            RTS, no such street, unable to forward bogdanhaley@gmail.com                             610 427 1943
2001   Griffith         Mark               108 Glenwood Ave                          Norristown, PA 19426        USPS Issue            RTS; NSS                                             mark.griffith@aol.com               614‐560‐0456
2002   Jones            Rogers             746 Kohn St                               Norristown, PA 19401        USPS Issue            RTS, attempted not known, unable to forward no contact info                              ‐            No contact info available
2003   Manzo            Marie              168 Bechtel Rd                            Collegeville, PA 19426      USPS Issue            RTS                                                  ‐                                   267 923 5380
2004   Wilder           Don                n/a                                       Philadelphia, PA 19117      USPS Issue            RTS; UTF                                             wilderon4@gmail.com                 215‐572‐6951
2005   Pursel           Kelsey R           3625 Welsh Rd Apt G‐6                     Willow Grove, PA 19090      USPS Issue            RTS, not deliverable as addressed, unable to forward krp5268@gmail.com                   610 804 0253
2006   Hartman          Kevin              905 Hamilton Rd                           Collegeville PA 19426       USPS Issue            RTS; UTF                                             kevhartman@gmail.com                267‐400‐0356
2007   Murray           Frank              1801 North Hills Ave                      Willow Grove, PA 19090      USPS Issue            RTS                                                  frankmurrayconstruction@gmail.com   no number
2008   Bosco            Jennifer           3819 Mill Rd 1st Floor Rear               Collegeville, PA 19426      USPS Issue            RTS; UTF                                             jbosco725@gmail.com                 267‐230‐0562
2009   Saltz            Jeffrey            1204 Weymouth RD                          Wynnewood, PA 19096         USPS Issue            Return to Sender ‐ Vacant N/A                                                            N/A          No contact info available
2010   Astillero        Angelina           419 Lancaster AVE                         Haverford, PA 19041         USPS Issue            RTS ‐ already voted                                  angelina.astillero@gmail.com        484‐343‐5675
2011   Higgins          Gerald             109 Winchester Drive                      Blue Bell, PA 19422         USPS Issue            Return to Sender ‐ No such Number Ghiggins@usroofing.com                                 610‐2797745
2012   Schnoll          Max                439 Righters Mill Rd                      Narberth, PA 19072          USPS Issue            Return to Sender                                     maxschnoll@gmail.com                601‐908‐9691
2013   Wade             Sean Patrick       211A Gage Dr                              Oceanside, CA 92058         USPS Issue            RTS, Attempted not known, unable to forward swade17@gmail.com                            619 519 0931
2014   Yan              Sharon             851 Reynards Run                          Blue Bell, PA 19422         USPS Issue            Return to Sender                                     N/A                                 N/A          No contact info available
2015   Wagner           Sarah Elizabeth    1417 Tanglewood Dr                        North Wales, PA 19454       USPS Issue            RTS, no mail receptacle, unable to forward 19swagner@gmail.com                           267 481 6056 No contact info available
2016   Galbokkahewage   Ajith              519 Bill Smith Blvd                       King of Prussia, PA 19406   USPS Issue            Return to Sender                                     ajilth_creative@yahoo.com           206‐313‐1263
2017   Turner           Jennifer J         710 Harriton Rd                           Bryn Mawr, PA 19010         USPS Issue            RTS, not deliverable as addressed, unable to forward jenjturner416@comcast.net           610 715 6760
2018   Metzgar          John David IV      2950 Bixby Ln                             Boulder, CO 80303           USPS Issue            RTS, IA, unable to forward metzgarjohn6@gmail.com                                        267 615 1993
2019   Phillips         Janet              2914 Senak Rd                             Abington, PA 19001          USPS Issue            RTS                                                  none                                215 262 8326
2020   Nicholson        Stanley Sr         35 Rosemont Ave                           Bryn Mawr, PA 19010         USPS Issue            Forward to: 75 New Rd, Aston, PA 19014 ‐‐ RTS        none                                615 580 0400
2021   Dinkins          Melvez J           102 Woodlawn Ave, Blair Mill Village Apts Horsham, PA 19044           USPS Issue            RTS, address must include building and apt #'s none                                      215 815 5762
2022   Roy              Jean Noel          370 Renninger Rd                          Frederick, PA 19435         USPS Issue            IA, RTS                                              none                                610 754 6679
2023   Cleary           Liam Vincent       765 Cross Rd                              Lederach, PA 19450          USPS Issue            RTS, attempted not known, UTF liamtrain24@yahoo.com                                      610 757 7998
2024   Wysock           Congetta T         663 Camp Wawa Rd                          Lederach, PA 19450          USPS Issue            RTS, Attempted ‐ not known, UTF ctwysock@comcast.net                                     610 287 6763
2025   Russell          Michael Brooks     510 Auburn Ave                            Glenside, PA 19038          USPS Issue            RTS, attempted ‐ not known, unable to forward Csailredpath1@gmail.com                    215 460 4642
2026   McQueen          Kate               3475 Surrey Rd                            Huntingdon Vly, PA 19006    USPS Issue            Return to Sender                                     Kate.L.Mcqueen@gmail.com            N/A

                                                                                                                     Page 107 of 124
                                                                      Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 108 of 124


                I              J                      K                             L                            M                     N                                  O                             P                      Q                      R
 1     Last Name     First name         Address Line 1                 Address Line 2               Issue                 Note                         Email2                                              Phone        Contacted?                resolved date
2027   Rafuse        Alexander Wilson   1178 Main St                   Royersford, PA 19468         USPS Issue                                         none
                                                                                                                          RTS, not deliverable as addressed, UTF                                           484 390 1012
2028   Digregoria    Deidre             3203 Avenel Blvd               North Wales, PA 19454        USPS Issue            RTS                          dmdigregorio10@gmail.com                            610 613 8015
2029   Hayward       Rhiannon           900 Cross LN                   Blue Bell, PA 19422          USPS Issue                                         Rhiannahayward@gmail.com
                                                                                                                          Return to Sender ‐ Insufficient address                                          215‐939‐7517
2030   Morello       Rochelle D         1502 Sullivan Dr               Blue Bell, PA 19422          USPS Issue            RTS, temp away               rochellemorello@yahoo.com                           267 401 3434
2031   Pupek         George E           1417 A Royal Oak Dr            Blue Bell, PA 19422          USPS Issue            RTS                                     georgeepupek@gmail.com OR jpupek@aol.com no number

2032   Yeager        Gary E             551 Plymouth Rd                Plymouth Meeting, PA 19462   USPS Issue            RTS                                     geyeager@gmail.com                       215 219 5277
2033   Helkin        Alecia M           777 W Germantown Pike, Apt 926 Plymouth Meeting, PA 19462   USPS Issue            RTS, temp away                          aleciagasparo@gmail.com                  607 437 2056
2034   Adams         Barbara T          229 Stewart Ct                 Plymouth Mtg, PA 19462       USPS Issue            RTS                                     fosterjn@gmail.com                       215 887 2920
2035   Delvecchio    Marie K            120 Medinah Dr                 Blue Bell, PA 19422          USPS Issue            RTS                                     mariedelvecchio@aol.com                  484 686 6115
2036   Branco        Richard            16 Mill Lane                   Royersford, Pa 19468         USPS Issue            RTS: UTF                                rbrnaco03@gmail.com                      n/a
2037   Tappen        Alexander          1233 Forest Hill Dr LOW        Ambler, PA 19002             USPS Issue            Return to Sender                        Barkbanks@comcast.net                    410‐960‐1235
2038   Perry         Alexandria         233 Summit Ave                 Fort Washington, PA 19034    USPS Issue            RTS; Temp. Away                         n/a                                      n/a          No contact info available
2039   Roberts       Chase              7801 Deer Run Rd               Glenside, PA 19038           USPS Issue            Return to Sender ‐ Insufficient address N/A                                      215‐517‐5790
2040   Edler         Jacob              1800 Bethlehem Pike APT 2D Flourtown, PA 19031              USPS Issue            RTS; UTF                                jake.edler7@gmail.com                    806‐282‐1359
2041   Feeney        Marita             117 West Broad St              Souderton, PA 18964          USPS Issue            RTS; UTF                                mareeeta@hotmail.com                     n/a
2042   Burghardt     Thomas             200 Tulip LN                   Gilbertsville, PA 19525      USPS Issue            Return to Sender                        Thomas@Thomasgeorge.com N/A
2043   Feeney        Samuel             117 West Broad St APT B        Souderton, PA 18964          USPS Issue            RTS; UTF                                samfeeney@gmail.com                      n/a
2044   Evans         Dana               123 Broad St W                 Souderton, PA 18964          USPS Issue            RTS; UTF                                devans2413@gmail.com                     267‐481‐5651
2045   Steinruck     Thomas             2303 Sterling Dr               Gilbertsville, PA 19525      USPS Issue            Return to Sender                        tsteinruckl@gmail.com                    N/A
2046   Hanshew       Amanda             502 main st Apt, 2F            Pennsburg, PA 18073          USPS Issue            Return to Sender                        amandahanshew5@gmail.com 610‐564‐0582
2047   Cohen         Ethan              4702 Cedar Ave Fl 2            Philadelphia PA 19113        USPS Issue            Return to Sender                        egc006@jefferson.com                     267‐240‐1616
2048   Ellis         Dejason            1300 Cory Dr                   Fort Washington, PA 19034    USPS Issue            Return to Sender                        djj1998@gmail.com                        215‐740‐0151
2049   Craig         Isaac Milan        113 Walnut Ave Apt 3           Ardmore, PA 19003            USPS Issue            RTS                                     craig.isaa@gmail.com                     608 769 3105
2050   Kim           Joy                231 Hampton Green Dr           North Wales, PA 19454        USPS Issue            Return to Sender                        Joyfulgrub21@gmail.com                   910‐224‐3341
2051   Bolden        Danette Michelle   513 Carson Ter                 Huntingdon Vly, PA 19006     USPS Issue            RTS                                     none                                     215 205 7147
2052   Flack         Patricia           307 Stonebach Ct               Royersford, PA 19468         USPS Issue            RTS; UTF                                theflacks@yahoo.com                      610‐495‐9553
2053   Kohn          Deborah            1332 Fairy Hill Rd             Jenkintown, PA 19046         USPS Issue            RTS                                     no contact info                          ‐            No contact info available
2054   Patel         Jyotsnaben         1238                           N/A                          USPS Issue            RTS ‐ Insufficient address N/A                                                   484‐370‐8911
2055   Szczepanski   Evelyn             20 Charlotte St S Apt 2        Pottstown, PA 19464          USPS Issue            RTS; UTF 10/27                          n/a                                      n/a          No contact info available
2056   Hetrick       Coleen Theresa     135 New St                     Glenside, PA 19038           USPS Issue            RTS                                     colleenhetrick@gmail.com                 267 990 2137
2057   Reynolds      Pamela T           477 Second St                  Souderton, PA 18964          USPS Issue            Not at listed address, RTS pam.mcc.reynolds@gmail.com 267 424 4535
2058   Jarrett       Stephen            P.O. Box 158                   N/A                          USPS Issue            Return to Sender ‐ insufficient address sjjattett@verizon.net                    n/a
2059   Byrne         Julie              8050 Fair View Lane            Eagleview, PA 19403          USPS Issue            RTS; IA                                 jbyrne@ucdaws.edu                        610‐324‐5549
2060   Prusacki      Jennifer A         1010 Greenes Way Cir           Collegeville, PA 19426       USPS Issue            RTS, Temp away                          jenprusacki@verizon.net                  no number
2061   Knowles       Sandra G           464 Adrian Rd                  Collegeville, PA 19426       USPS Issue            RTS                                     no contact info                          ‐            No contact info available
2062   Oxenham       Mitzie             602 Gunpowder Ct               Collegeville, PA 19426       USPS Issue            RTS; UTF                                n/a                                      n/a          No contact info available
2063   Collins       Jamie              2033 John Russell Cir N APT B Elkins Park, PA 19027         USPS Issue            Return to Sender ‐ Moved to NJ blezzid@yahoo.com                                 973‐960‐9889
2064   Chantry       Adam D             412 Glendale Rd                Collegeville, PA 19426       USPS Issue            RTS                                     no contact info                          ‐            No contact info available
2065   Greene        Claire             1801 Susquehanna Rd Apt 319H Abington, PA 19001             USPS Issue            RTS; IA                                 n/a                                      215‐576‐3186
2066   Gecker        Hilda              1509 Ashbourne Rd Apt 214      Elkins Park, PA 19027        USPS Issue            RTS                                     judithgratz@gmail.com                    no number
2067   Albarazanji   Kamal              700 Lower State Rd             North Wales, PA 19454        USPS Issue            Return to Sender                        N/A                                      919‐345‐9639
2068   Chung         Daniel Stephen     334 Spring Ave E               Ardmore, PA 19003            USPS Issue            RTS                                     dsc2102@gmail.com                        267 644 4987
2069   Pickens       Rebecca            1539 Hampton Rd                Jenkintown, PA 19046         USPS Issue            RTS; temp away                          rebecca.pickens@gmail.com n/a
2070   Rychik        Sima               257 Linden LN                  Merion Station, PA 19066     USPS Issue            Return to Sender                        talirychik@yahoo.com                     610‐213‐6168
2071   Vangore       Donald             113 Cricket Ave Apt 104        Ardmore, PA 19003            USPS Issue            RTS                                     dvangore55@gmail.com                     484 350 8107

                                                                                                        Page 108 of 124
                                                                                     Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 109 of 124


                I                  J                           K                                        L                              M                                     N                                          O                     P                    Q                      R
 1     Last Name        First name           Address Line 1                                  Address Line 2                Issue                    Note                                                   Email2                     Phone        Contacted?                       resolved date
2072   Banton           Shirley              28 Latham Pkwy                                  Elkins Park, PA 19027         USPS Issue               RTS; UTF                                               shirley.banton37@gmail.com 215‐528‐7311
2073   Burk             Patricia             7621 Washington Lane Apt #A                     Elkins PArk, PA 19027         USPS Issue               RTS; UTF/IA                                            n/a                        267‐600‐6475
2074   Begum            Noor J               1536 Allentown Rd                               Lansdale, PA 19446            Incomplete Declaration                                                                                                       No contact info available
2075   Kane             Sarah                407 Anthwyn Rd                                  Narberth, PA 19072            USPS Issue               Return to Sender                                       skane@brandeis.edu            610‐304‐5220
2076   Muse‐Elijah      Andraya              7804 Haines Rd                                  Cheltenham, PA 19012          USPS Issue               RTS; IA                                                drayal2000@yahoo.com          215‐935‐6271
2077   Hamilton         Heather              N/A                                             N/A                           USPS Issue               Return to Sender                                       hlocker8@gmail.com            267‐382‐7121
2078   Capers           Jacob                303 Anthony Ct                                  North Wales, PA 19454         USPS Issue               RTS; UTF                                               jacobcapers@yahoo.com         267‐642‐0090
2079   Nagele           Deborah              3064 Butler Pike                                Plymouth mtg, PA 19462        USPS Issue               Return to Sender                                       djdg4@hotmail.com             N/A
2080   Hartline         Joshua               2525 Rhoads Rd                                  Gilbertsville, PA 19525       USPS Issue               RTS; UTF                                               jhartline5@comcast.net        484‐363‐0567
2081   Nagele           George               3064 Butler Pike                                Plymouth Mtg, PA 19462        USPS Issue               Return to Sender                                       djdg4@hotmail.com             610‐828‐5446
2082   Browne           Akhnaton             914 Pershing Rd                                 Penillyn Pa 19422             USPS Issue               Return to Sender                                       N/A                           N/A            No contact info available
2083   Cohen            Max                  625 Cantrill dr                                 Davis, CA 95618               USPS Issue               RTS; IA, UTF                                           wackymacky54@gmail.com        n/a
2084   Owens            Joseph               330 3rd St W A 102 Bridgeport Suites Bridgeport, PA 19405                     USPS Issue               RTS; Not deliverable, "wrong name"                     n/a                           n/a            No contact info available
2085   Feely            Geraldine            237 Merion Rd                                   Merion Sta, PA 19066          USPS Issue               RTS, not deliverable as addressed, unable to forward   none                          484 557 0076
2086   Laenger          Helmut               3894 Brookdale Ave                              Huntingdon Valley, PA 19006   USPS Issue               RTS; address moved                                     n/a                           n/a            No contact info available
2087   Hahn             Garry L              408 Fairhill St                                 Willow Grove, PA 19090        USPS Issue               RTS, not deliverable as addressed, unable to forward   none                          215 260 4761
2088   Laenger          Ingrid               3894 Brookdale Ave                              Huntingdon Valley, PA 19006   USPS Issue               RTS; UTF                                               n/a                           n/a            No contact info available
2089   Weinberg         Zachary A            136 Fisher Rd                                   Jenkintown, PA 19046          USPS Issue               RTS, not deliverable as addressed, unable to forward   zweinbergb@gmail.com          none
2090   Lock             Jane                 807 Walden Ct                                   Limerick, PA 19468            USPS Issue               RTS; FWD?                                              lockchiropractic@aol.com      484‐269‐1099
2091   Labay            Leighkaren Ruby      2501 Maryland Rd Apt E8                         Willow Grove, PA 19090        USPS Issue               RTS, no such number, unable to forward                 loveleighgirl@gmail.com       609 313 8424
2092   Hartford         Kenneth              401 E Linfield Trappe Rd                        Royersford, PA 19468          USPS Issue               RTS; Temp. Away                                        klax89@gmail.com              610‐570‐4952
2093   Brady Campbell   Patricia M           100 Wissahickon Ave W, Rm 312 Bethlehem Village Flourtown, PA 19031           USPS Issue               RTS                                                    no contact info               none           No contact info available
2094   Field            Matthew              1448 Joel Drive                                 Ambler, PA 19002              USPS Issue               RTS; FWD                                               n/a                           n/a            No contact info available
2095   Gorberg          Ellen                1637 Oakwood Drive S409 Oak Hill Condo Narberth, PA 19072                     USPS Issue               RTS; UTF                                               ellengorberg@gmail.com        n/a
2096   Hustad           Stephanie Jane       1860 Valley Forge Rd                            Lansdale, PA 19446            USPS Issue               RTS, IA                                                sjhustad@yahoo.com            267 644 6384
2097   McCullagh        Deirdre Shannon      705 Freedom Cir                                 Harleysville, PA 19438        USPS Issue               RTS, IA                                                dmccullagh@gmail.com          310 413 7854
2098   Merritt          Taylor               820 Tennis Ave                                  Ambler, PA 19002              USPS Issue               RTS; FWD                                               teearremm@gmail.com           215‐518‐6522
2099   Stowe            Kimberlee Gwen       71 Township Line Rd                             Limerick, PA 19468            USPS Issue               RTS                                                    none                          484 300 5994
2100   Leigh            Malcolm Conway       24 Cricket Ave Apt 713                          Ardmore, PA 19003             USPS Issue               RTS, Temp away                                         malcolm.c.leigh@gmail.com     703 434 0366
2101   Strohm           Thomas               910 Wharton Circle                              Lower Gwynedd, PA 19002       USPS Issue               RTS; FWD                                               tstrohm@comcast.net           n/a
2102   Sheroff          Mary                 701 Brushtown Rd                                Ambler, PA 19002              USPS Issue               RTS; Temp Away                                         sheroffl@comcast.net          215‐527‐2041
2103   Carpey           Stephen L            415 Church Rd Apt A7                            Elkins Park, PA 19027         USPS Issue               RTS, temp away                                         no contact info               ‐              No contact info available
2104   Pyzik            Zakary R             429 Montgomery Ave W, C201 Haverford, PA 19401                                USPS Issue               RTS                                                    zakarypyzik@gmail.com         570 579 3644
2105   Sheroff          Robert               701 Brushtown Rd                                Lower Gwynedd PA 19002        USPS Issue               RTS; Temp Away                                         mjsheroff@gmail.com           215‐450‐1333
2106   Balefsky         Kathleen C           100 St Georges Rd Uni B‐4                       Ardmore, PA 19003             USPS Issue               RTS, temp away                                         kbalefsky@gmail.com           610 662 1986
2107   Andren           Heather Pfitzinger   17 Railroad Ave                                 Haverford, PA 19041           USPS Issue               RTS                                                    none                          860 576 0816
2108   Sheroff          Christen             701 Brushtown Rd                                Ambler, PA 19002              USPS Issue               RTS; Temp. Away                                        cser18@gmail.com              267‐644‐3613
2109   Depaul           Olivia               2106 Pennsylvania Ave                           N/A                           USPS Issue               Return to Sender                                       livdepaul@gmail.com           215‐760‐2333
2110   Hardy            Joshua               45 Wall Street                                  New York, NY 10005            USPS Issue               RTS, IA                                                joshua.hardy9@gmail.com       610 608 7703
2111   Goldstein        Barbara              930 Montgomery Ave 501 Benson House Bryn Mawr, PA 19010                       USPS Issue               RTS; FWD                                               n/a                           n/a            No contact info available
2112   Fishman          Harrison             1505 Flat Rock Rd                               Narberth, PA 19072            USPS Issue               Return to Sender                                       N/A                           302‐893‐8550
2113   Mingey           Jane                 1143 Brians Way                                 Wayne, PA 19087               USPS Issue               RTS; UTF                                               janemingey@yhaoo.com          n/a
2114   Miller           Danielle             435 E. 70th Street APT 29C                      New York, NY 10021            USPS Issue               Return to Sender                                       daniellemiller003@comcast.net N/A
2115   Martin           Kelsey               540 Shady Pl                                    Ambler, PA 19002              USPS Issue               RTS; Temp Away                                         kels.a.mart@gmail.com         n/a
2116   Martin           Kathleen             540 Shady Pl                                    Ambler, PA 19002              USPS Issue               RTS; Temp. Away                                        migkate032@gmail.com          215‐542‐8317

                                                                                                                               Page 109 of 124
                                                                     Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 110 of 124


               I               J                    K                              L                           M                                     N                                         O                      P                  Q                  R
 1     Last Name      First name       Address Line 1                Address Line 2                Issue                    Note                                                   Email2                      Phone         Contacted?                resolved date
2117   Ritner         Jesse            207 Overlook Ridge            Basalt, CO 81621              USPS Issue               Return to Sender                                       jesse.ritner@gmail.com      610‐247‐8715
2118   Dorff          Kathleen         203 Willowmere Lane           Ambler, PA 19002              USPS Issue               RTS; UTF, FWD                                          k.dorff4@gmail.com          n/a
2119   Dillon         Chase            11 Plum Ct                    Lafayette Hill, PA 19444      USPS Issue               Return to Sender                                       N/A                         N/A           No contact info available
2120   Kupetz         Anna             3009 Inkberry Cir N           North Wales, PA 19454         USPS Issue               RTS; UTF                                               n/a                         267‐419‐8544
2121   Lenhardt       Stephen          2801 Stanbridge St            Norristown, PA 19401          USPS Issue               Return to Sender ‐ insufficient address                L7448@aol.com               6110‐761‐5055
2122   Ranieri        Maria            112 Filly Drive               North Wales, PA 19454         USPS Issue               RTS; UTF                                               n/a                         n/a           No contact info available
2123   Tayale         Rita             449 Hamilton St APT 309       Norristown, PA 19401          USPS Issue               Return to sender                                       ritatayale@gmail.com        267‐625‐7721
2124   Perrine        Joan             432 Church St                 North Wales, PA 19454         USPS Issue               RTS; Temp away                                         n/a                         n/a           No contact info available
2125   Ryan           Jeffrey          1112 Dogwood Ct               Lansdale, PA 19446            USPS Issue               RTS; UTF                                               jt.ryan@comcast.net         215‐859‐0213
2126   Aguiar         Graciela         1101 Hector St E, UNI 211     Conshohocken, PA 19428        USPS Issue               Return to sender                                       ga801429@wcupa.edu          609‐364‐8809
2127   Nagurney       Josephine        146 Wellington Ter            Lansdale, PA 19446            USPS Issue               RTS; UTF                                               josie.nagurney@gmail.com    610‐888‐0188
2128   Lawson         Robin            146 Oberlin ter               Lansdale, PA 19446            USPS Issue               RTS; UTF                                               robin_aryssa@yahoo.com      215‐767‐3915
2129   Wagner         Edward           146 Berwick Pl                Lansdale, PA 19446            USPS Issue               RTS; UTF                                               ewagss79@gmail.com          215‐758‐4145
2130   Glick          Zachariah        915 Hale St                   Pottstown, PA 19464           USPS Issue               RTS; UTF                                               n/a                         n/a           No contact info available
2131   Fritz          Gloria           1005 Evans St N               Pottstown, PA 19464           USPS Issue               RTS; Temp Away                                         gjfritz@verizon.net         610‐291‐5952
2132   Coffey         Jakera           958 Terrace Lane              Pottstown, PA 19464           USPS Issue               RTS; UTF                                               coffeyjakeral@gmail.com     484‐624‐5404
2133   Lawlor         Megan            700 Lower State Rd APT 17A7   North Wales, PA 19454         USPS Issue               Return to Sender                                       meganlawlor13@gmail.com     724‐332‐3393
2134   Boynton        Lin              3850 Paseo Del Prado          Boulder, CO 80301             USPS Issue               RTS; IA                                                linboyntonl@gmail.com       713‐894‐2429
2135   Green          Alyssa           7 Cottonwood CT               Lafayette Hill, PA 19444      USPS Issue               Return to sender                                       alyssagreen345@gmail.com    610‐392‐2735
2136   Schoneveld     Mark             458 Duck Pond Ln              Haverford, PA 19041           USPS Issue               RTS                                                    mark.schoneveld@gmail.com   no number
2137   Depaolis       Leigh            150 Ridge Pike APT 233C       Lafayette Hill, PA 19444      USPS Issue               Return to Sender                                       N/A                         N/A           No contact info available
2138   Bowden         Kendall Leigh    5 University Pl, Apt 605      New York, NY 10003            USPS Issue               RTS, not deliverable as addressed, unable to forward   kendallbowden@gmail.com     610 906 4867
2139   Graham         Matthew          1510 Foxbury Rd               Maple Glen, PA 19002          USPS Issue               Return to sender                                       mmg1993@gmail.com           215‐514‐3457
2140   McGuire        Merrell M        2003 Honey Run Rd             Ambler, PA 19002              USPS Issue               RTS                                                    merrell@twistcomm.com       215 530 9472
2141   Gleit          Marjorie D       811 Brushtown Rd              Ambler, PA 19002              USPS Issue               RTS                                                    mgleit@comcast.net          215 542 8152
2142   Bhandari       Esha             42 Afton Pond Court           Charlottesville, VA 22902     USPS Issue               Return to Sender                                       ebparagon13@gmail.com       267‐272‐3710
2143   Wilburn        Ariel Wava       1141 Snyder Rd Apt A18        Lansdale, PA 19446            USPS Issue               RTS                                                    none                        401 559 0314
2144   Gaus           Catherine        121 Winter Dr                 North Wales, PA 19454         USPS Issue               Return to Sender                                       catiegaus@gmail.com         215‐285‐4283
2145   Schmidt        Matthew Thomas   866 Ruth Rd                   Telford, PA 18696             USPS Issue               RTS                                                    mtsoccer99@icloud.com       215 390 3427
2146   Vangore        Marjery C        113 Cricket Ave Apt 104       Ardmore, PA 19003             USPS Issue               RTS                                                    none                        267 245 5885
2147   Chapman        Sara Jane        15 Rich Ave                   Glenside, PA 19038            Incomplete Declaration
2148   Lile           Paul W           922 Montgomery Ave, Apt A1    Bryn Mawr, PA 19010           Incomplete Declaration
2149   Gillespie      Pamela J         401 Franklin Ct               North Wales, PA 19454         Incomplete Declaration
2150   Wilson         Ruth I           1113 Coventry Ave             Cheltenham, PA 19012          USPS Issue
2151   Savage‐Cohen   Juanita          8105 Fairview Rd              Elkins Park, PA 19027         Incomplete Declaration
2152   Joyce          Alyce C          336 Carson Ter                Huntingdon Vly, PA 19006      Incomplete Declaration
2153   Russell        Inae Jaylin      2586 Jean Dr                  Hatfield, PA 19440            Incomplete Declaration
2154   Kim‐Hall       Janey            51 Merbrook LN                Merion Station, PA 19066      Incomplete Declaration
2155   Perkins        Ruth A           9801 Germantown Pike          Lafayette Hill, PA 19444      Incomplete Declaration
2156   Muschett       Edward           322 Northwood Ave             Elkins Park, PA 19027         Incomplete Declaration
2157   Toff           Karen            546 Haverford Rd              Havertown, PA 19083           Incomplete Declaration
2158   Dickerspon     Michael Sr       none                          none                          Incomplete Declaration
2159   Wellington     Shirley          193 Badman Road               Greenlane, PA 18054           Incomplete Declaration
2160   Panis          Roberto Panis    2352 Philmont Ave             Huntingdon Valley, PA 19006   Incomplete Declaration
2161   Nath           Milon K          123 East 4th St               Lansdale, PA 19446            Incomplete Declaration

                                                                                                       Page 110 of 124
                                                                                      Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 111 of 124


                I                J                         K                                        L                           M                                  N                                      O                     P                 Q                      R
 1     Last Name    First name       Address Line 1                                   Address Line 2                Issue                    Note                                             Email2                    Phone          Contacted?                  resolved date
2162   Naher        Nurun            1536 Allentown RD                                Lansdale, PA 19446            Incomplete Declaration
2163   Akter        Sheuli           325 W 7th St                                     Lansdale, PA 19446            Incomplete Declaration
2164   Soll         Jean             none                                             none                          Incomplete Declaration
2165   Craig        Barbara          101 E Main St                                    North Wales, PA 19454         Incomplete Declaration
2166   Balais       Marce A          121 Andrea Rd                                    Cheltenham, PA 19012          Incomplete Declaration
2167   Stevenson    Donna            393 Running Brook Rd                             North Wales, PA 19454         Incomplete Declaration
2168   Neyer        Annemarie        1228 Joseph Rd                                   Ambler, PA 19002              Incomplete Declaration
2169   Ciccarella   Felix            N/A                                              N/A                           Incomplete Declaration
2170   Berry        Edith            1717 Ferndale Ave                                Abington, PA 19001            Incomplete Declaration
2171   Johnson      Latina           308 Elm Ave                                      North Wales, PA 19454         Incomplete Declaration
2172   Ellis        James            25 Goldfinch Cir                                 Phoenixville, PA 19460        Incomplete Declaration
2173   Kennedy      David            4014 Chieftan Cir                                Collegeville, PA 19426        USPS Issue               Return to Sender                                 N/A                       610‐290‐6344
2174   Rosendfeld   Jordan           1307 Wrenfield Way                               Villanova, PA 19085           USPS Issue               Return to Sender                                 Jordanrose712@gmail.com   610‐710‐5777
2175   Leary        Colin            75 Ray Street                                    Newark, DE 19711              USPS Issue               return to sender                                 Colinleary42@yahoo.com    610‐908‐6997
2176   Nord         Antoinette       PO Box 311                                       Norristown, PA 19404          USPS Issue               Return to Sender                                 N/A                       774‐240‐4288
2177   Klein        Abby             953 Manor Ave                                    Meadowbrook, PA 19046         USPS Issue               Return to Sender                                 abbyklein73@yahoo.com     N/A
2178   Stein        Daniel           1327 Hillside Rd                                 Wynnewood, PA 19096           USPS Issue               Return to Sender                                 N/A                       610‐731‐3655
2179   Buck         Micheal          2314 S. Gilinger Rd                              Lafayette Hill, PA 19444      Incomplete Declaration   No Date.                                                                                  No contact info available
2180   Choi         Julee            n/a                                              n/a                           Incomplete Declaration   No address.                                                                               No contact info available
2181   Bradley      Darryl           1248 Mildred Ave                                 Roslyn, PA 19001              Incomplete Declaration   No printed name.                                                                          No contact info available
2182   Scollin      Darcy            512 Hedgers Lane                                 Oreland, PA 19075             Incomplete Declaration   No written voter address.                                                                 No contact info available
2183   Dempster     Graceann         627 Loch Alsh Ave                                Ambler, PA 19002              Incomplete Declaration   No date.                                                                                  No contact info available
2184   Gorman       Evelyn           373 Camp Hill Rd                                 Ft. Washington, PA 19034      Incomplete Declaration   No date.                                                                                  No contact info available
2185   Burrell      Katherine        310 Garden Ave B                                 Horsham, PA 19044             Incomplete Declaration   No voter address, or printed name                                                         No contact info available
2186   Calvbayan    Reable           2240 Edgehill Rd                                 Huntingdon Valley, PA 19006   Incomplete Declaration   NO Date.                                                                                  No contact info available
2187   Murray       Les              207 Penn St N                                    Hatboro, PA 19040             Incomplete Declaration   No voter signature.                                                                       No contact info available
2188   Doney        Stephen          37 Horsham Rd                                    Hatboro, PA 19040             Incomplete Declaration   No date.                                                                                  No contact info available
2189   Cosklo       Melanie          n/a                                              n/a                           Incomplete Declaration   No address, or printed name.                                                              No contact info available
2190   Pfleger      Joseph           n/a                                              Harleysville, PA 19438        Incomplete Declaration   Missing date, and first part of address.                                                  No contact info available
2191   Govindan     Sadhasivan       5003 Woodgate Lane                               Collegeville, PA 19426        Incomplete Declaration   No address or printed name                                                                No contact info available
2192   Joseph       Jocelyn          n/a                                              n/a                           Incomplete Declaration   No address, or printed name.                                                              No contact info available
2193   Gilchrist    Keith            112 Haldeman                                     Schwenksville, PA 19473       Incomplete Declaration   No signature.                                                                             No contact info available
2194   Viveros      Juan             111 Fulmer Rd                                    Perkiomenville, PA 18074      Incomplete Declaration   Declaration not filled out in proper location.                                            No contact info available
2195   Wall         Misty            2019 Ft. Bevon Rd                                Harleysville, PA 19438        Incomplete Declaration   No date.                                                                                  No contact info available
2196   Becker       Douglas          828 Karlyn Ln                                    Collegeville, PA 19426        Incomplete Declaration   No voter address, or printed name.                                                        No contact info available
2197   Eisenhofer   David            1003 Easton Rd C708 Regency Towers the Chateau   Willow Grove, PA 19090        Incomplete Declaration   No voter address.                                                                         No contact info available
2198   Morton       Kristin          627 Village Lane                                 Pottstown, PA 19464           Incomplete Declaration   No date.                                                                                  No contact info available
2199   King         Jeanie           130 Spyglass Dr                                  Blue Bell, PA 19422           Incomplete Declaration   No date.                                                                                  No contact info available
2200   Gustus       Tricia           1920 Cori Ln                                     Blue Bell, Pa 19422           Incomplete Declaration   No date.                                                                                  No contact info available
2201   Henry        Lana             1408 Kyneton Rd                                  Villanova, PA 19085           Incomplete Declaration   No date.                                                                                  No contact info available
2202   Mchugh       Beatrice         840 Montgomery Ave 204                           Bryn Mawr, PA 19010           Incomplete Declaration   No date.                                                                                  No contact info available
2203   Begum        Noor             1536 Allentown Rd                                Lansdale, PA 19446            Incomplete Declaration   Nothing written in declaration.                                                           No contact info available
2204   Thompson     Shemeil          104 Horseshoe Curve Dr                           Lansdale, PA 19446            Incomplete Declaration   No printed name, or address.                                                              No contact info available
2205   Parisi       Ryan             n/a                                              n/a                           Incomplete Declaration   No address                                                                                No contact info available
2206   Avery        Rebecca          n/a                                              n/a                           Incomplete Declaration   No address.                                                                               No contact info available


                                                                                                                        Page 111 of 124
                                                                         Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 112 of 124


                I                   J                  K                                L                            M                             N                                 O                         P                 Q                      R
 1     Last Name       First name       Address Line 1                     Address Line 2                Issue                    Note                                   Email2                        Phone          Contacted?                  resolved date
2207   Hall            Christine        425 10th Ave W                     Conshohocken, PA 19428        Incomplete Declaration   No date.                                                                            No contact info available
2208   Mauceri         Laurie           15 Lovelk Dr                       Plymouth Meeting, PA 19462    Incomplete Declaration   No date                                                                             No contact info available
2209   Ho              Lan              209 W Broad St                     Hatfield, PA 19440            Incomplete Declaration   No date.                                                                            No contact info available
2210   Yang            Mary             750 Moore Rd #518                  King of Prussia, PA 19406     Incomplete Declaration   No date.                                                                            No contact info available
2211   Botto           Rosemary         37 Chestnut St Fl 1                Pottstown, PA 19464           Incomplete Declaration   No date.                                                                            No contact info available
2212   Bernick         Charles          207 Egypt Rd                       Norristown, PA 19403          Incomplete Declaration   No printed name.                                                                    No contact info available
2213   Davidheiser     Harold           n/a                                PA 19464                      Incomplete Declaration   Incomplete Address in declaration.                                                  No contact info available
2214   Isabell         Noah             2108 Foxtail Dr                    Pottstown, PA 19464           Incomplete Declaration   No date.                                                                            No contact info available
2215   Cho             Ki               157 Arbour Ct                      North Wales, PA 19454         Incomplete Declaration   No date, or address, or printed name                                                No contact info available
2216   Cho             Chong            157 Arbour Ct                      North Wales, PA 19454         Incomplete Declaration   No date, address, printed name.                                                     No contact info available
2217   Young           Leslie           2871 Heather Dr                    Harleysville, PA 19438        Incomplete Declaration   No printed name.                                                                    No contact info available
2218   Liss            Ira              321 Carson Terr                    Huntingdon Valley, 19006      Incomplete Declaration   No date                                                                             No contact info available
2219   Caspar          Shawna           4915 Bethlehem Pike                Ft. Washington, PA 19034      Incomplete Declaration   no address written                                                                  No contact info available
2220   Johnson         Stephen          701 Weikel Rd Apt 104              Lansdale, PA 19446            Incomplete Declaration   No signature.                                                                       No contact info available
2221   Gamble          Paul             192 Cardinal Crest                 Lansdale, PA 19446            Incomplete Declaration   No date.                                                                            No contact info available
2222   Kornegay        James            491 S. Bethlehem Pike Apt F1       Fort Washington, PA 19034     Incomplete Declaration   no signature, date, or address.                                                     No contact info available
2223   Gring           Daniel           701 Lansdale Ave, Saint Mary Manor Lansdale, PA 19496            Incomplete Declaration   No printed name, or address.                                                        No contact info available
2224   Brooks          Bernadette       n/a                                n/a                           Incomplete Declaration   No address.                                                                         No contact info available
2225   Romana          Umme             47 E Main St Apt 3                 Lansdale, PA 19446            No secrecy envelope      Did not enclose in secrecy env.                                                     No contact info available
2226   Morales‐Bello   Jacqueline       262 Minor St                       Norristown, PA 19401          USPS Issue               UTF; For review                                                                     No contact info available
2227   Lopez           Nicolas          810 Airy St W                      Norristown, PA 19401          USPS Issue               UTF; For review                                                                     No contact info available
2228   Ford            Christine        70 William Penn Dr                 Schwenksville, PA 19473       Incomplete Declaration   Record as lbel canc                    smileighmom@gmail.com         610‐287‐7031
2229   Knapp           Stephanie        221 Westwind way                   Dresher, PA 19025             Incomplete Declaration   Canc. label.                           n/a                           n/a            No contact info available
2230   Weasen          Steven           221 westwind Way                   Dresher, PA 19025             Incomplete Declaration   No contact info                        n/a                           n/a            No contact info available
2231   Culbreath       Gabrielle        1505 City Ave                      Wynnewood, PA 19096           No secrecy envelope      Already record 10/28                   gabby.culbreath@gmail.com     n/a
2232   Lopez           Nicolas          810 Airy St W                      Norristown, PA 19401          USPS Issue               RTS; UTF                               nico7890lopez@gmail.com       6109608363
2233   Morales‐Bello   Jacqueline       262 Minor St                       Norristown, PA 19401          USPS Issue               RTS; UTF                               jjlamas2541@gmail.com         n/a
2234   Manieri         Shane            n/a                                n/a                           USPS Issue               RTS; UTF                               smanieri09@gmail.com          n/a
2235   Tornetta        Colin            1158 Welsh Rd APT D2‐8             Lansdale, PA 19446            USPS Issue               RTS; UTF                               colintornetta@yahoo.com       n/a
2236   Bova            Joseph           6115 Twin Silo Dr                  Blue Bell, PA 19422           USPS Issue               RTS: Temp Away                         n/a                           n/a
2237   Weston          Aisha            902 Valley Rd Apt 8d               Elkins Park, PA 19027         USPS Issue               RTS; UTF                               aishawes@yahoo.com            7247346115
2238   Desalme         Jack             36 S County Line Rd Apt 415        Souderton, PA 18964           USPS Issue               RTS; UTF                               jackdesalme55@comcast.net     2155837006
2239   Merz            Frieda           608 Raikes rd                      Huntingdon Valley, PA 19006   USPS Issue               RTS; Temp Away                         n/a                           n/a
2240   Gidugu          Bharathi         1020 Grayson Dr                    Souderton, PA 18964           USPS Issue               RTS; UTF                               n/a                           201‐527‐0424
2241   Rose            David            319 Green Meadow Lane              Horsham, PA 19044             USPS Issue               RTS; UTF 10/29                         dgrose07@gmail.com            n/a
2242   Stuart          Janet            751 Vandenburg Rd Apt 2407 King of Prussia, Pa 19406             USPS Issue               RTS; uTF                               janet@orsattiassociates.com   4849947673
2243   Wallin          Megan            751 Vandenburg Rd Apt 4318 King of Prussia, PA 19406             USPS Issue               RTS; UTF                               mjwallin13@gmail.com          610‐357‐4126
2244   Pham‐Paci       Wind             118 Stony Creek Ave                Lansdale, PA 19446            USPS Issue               RTS; UTF                               windpham@gmail.com            n/a
2245   Feldman         Aidan            118 Prospect St                    Ithaca, NY 14850              USPS Issue               RTS; IA                                n/a                           484‐512‐0951
2246   Bingham         Sylvia           n/a                                Lansdale, PA 19446            USPS Issue               RTS: UTF                               sbandhb@comcast.net           2153688778
2247   Smith           Shannon          5075B Defford Pl                   Eagleview, PA 19403           USPS Issue               RTS; UTF                               smith_shannon89@yahoo.com     610‐551‐6370
2248   Brokes          Alfred           1001 City Ave Apt WB410            Wynnewood, PA 19096           USPS Issue               RTS; UTF                               alfredbrokes@gmail.com        6106457612
2249   Kim             Shinhye          n/a                                n/a                           USPS Issue               RTS; IA                                shinkim1206@gmail.com         2674678630
2250   Kinsella        Martin           308 B Windsor Ave                  Narberth, Pa 19072            USPS Issue               RTS: FWD                               martinsella@hotmail.com       857‐207‐8583
2251   Rohlfing        Mark             8755 Trumbauer Ct                  Wyndmoor, PA 19038            USPS Issue               RTS; Temp Away                         rohlfing1958@gmail.com        2155937252

                                                                                                             Page 112 of 124
                                                                        Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 113 of 124


                I                 J                  K                                 L                         M                     N                             O                      P              Q           R
 1     Last Name     First name       Address Line 1                    Address Line 2              Issue                 Note                           Email2                        Phone        Contacted?   resolved date
2252   Ollikainen    Jennifer         1127 Magazine Rd                  Green Lane, PA 18054        USPS Issue            RTS; UTF                       n/a                           2158593779
2253   Miller        John             5471 Hoppenville Rd               Green Lane, PA 18054        USPS Issue            RTS; Fwd                       jmills143wolf@gmail.com       4846308451
2254   Knepp         Cynthia          1113 Landis Rd                    East Greenville, PA 18041   USPS Issue            RTS: UTF                       angus1241951@yahoo.com        5709728593
2255   Knepp         Gary             1113 Landis Rd                    East Greenville, PA 18041   USPS Issue            RTS; FWD                       angus1241951@yahoo.com        5705349282
2256   Paul          Cassandra        520 Blaker Dr                     East Greenville, PA 18041   USPS Issue            RTS; FWD                       cassigreen25@gmail.com        2675217532
2257   Monga         Jeanno           27 Seventh St W                   Lansdale, Pa 19446          USPS Issue            RTS; NSN, UTF                  n/a                           2678807729
2258   Ingersoll     Nicole           35 Second St E                    Lansdale, PA 19446          USPS Issue            RTS; NSN, UTF                  mingergo@aol.com              2674756294
2259   Dulis         Chelsea          1015 Poplar St                    Lansdale, PA 19446          USPS Issue            RTS; NSN, UTF                  n/a                           n/a
2260   Mccracken     Jean             2596 Hillcrest Drive              Lansdale, PA 19446          USPS Issue            RTS; UTF                       13jkmcc@gmail.com             n/a
2261   Strong        Jessica          n/a                               n/a                         USPS Issue            RTS: IA, UTF                   jessicastrong659@gmail.com    2158593430
2262   Yoder         Catherine        544 Spruce St                     Pottstown, PA 19464         USPS Issue            RTS; IA, UTF                   brushhandl@verizon.net        4849426487
2263   Morlando      Micheal          40 High St Apt 47                 Pottstown, PA 19464         USPS Issue            RTS; NSN, UTF                  n/a                           n/a
2264   Hudgins       Anthony          1137 State St                     Pottstown, PA 19464         USPS Issue            RTS; UTF                       js.pwns@gmail.com             6106359009
2265   Mcintrye      Elizabeth        1141 Snyder Rd Apt C26            Lansdale, PA 19446          USPS Issue            RTS; UTF                       n/a                           6105053167
2266   Hartnett      Cura             18 Fifth St W Apt 2               Lansdale, Pa 19446          USPS Issue            RTS; UTF, ANK                  curahartnett@gmail.com        2673288506
2267   Moses         Julia            200 S Line St                     Lansdale, Pa 19446          USPS Issue            RTS; IA, UTF                   n/a                           n/a
2268   Perlstein     Nicholas         200 S Line St                     Lansdale, Pa 19446          USPS Issue            RTS; IA, UTF                   nicholasperlstein@gmail.com   2154785976
2269   Davidson      Daniel           1312 Spring Mill Rd PO box 8303   Villanova, PA 19085         USPS Issue            RTS: IA, UTF                   daniel.davidson.a@me.com      2566799589
2270   Arronson      Olivia           645 Ithan Ave N                   Bryn Mawr, PA 19010         USPS Issue            RTS: IA, UTF, 10/29            n/a                           n/a
2271   Abraham       Rayna            640 N. Broad St                   Philadelphia, PA 19130      USPS Issue            RTS: IA, UTf                   rayna.abraham96@gmail.com     n/a
2272   Olson         Samantha         600 Lewis rd Apt 317              King of Prussia, PA 19406   USPS Issue            RTS; UTF, no mail receptacle   olsonsma03@gmail.com          n/a
2273   Smith         Amy              221 Upper Valley Rd               North Wales, PA 19454       USPS Issue            RTS; UTF                       amyesmith81@gmail.com         2673433298
2274   Patts         Jennifer         1201 Columbia Ave                 Lansdale, PA 19446          USPS Issue            RTS; IA, UTF                   wjamawv@gmail.com             n/a
2275   Peters        Kathleen         1141 Snyder Rd                    Lansdale, Pa 19446          USPS Issue            RTS; IA, UTF                   n/a                           6312752781
2276   Lent          Gabrielle        484 State St #A                   East Greenville, Pa 18041   USPS Issue            RTS; UTf                       gabriellebent@yahoo.com       2678093257
2277   Paul          Alexander        520 Blaker Drive                  East Greenville, PA 18041   USPS Issue            RTS; UTF                       cassigreen25@gmail.com        2154294239
2278   Powell        Daija            28 Meadowbrook Rd                 North Wales, PA 19454       USPS Issue            RTS; UTF                       londanmonae@gmail.com         2157405710
2279   Mcwhiney      James            3 Cannon Hill                     Phoenixville, PA 19460      USPS Issue            RTS; Temp Away                 n/a                           n/a
2280   Brandstater   Eleanor          23 Fern Ave                       Willow Grove, PA 19090      USPS Issue            RTS; Temp Away                 n/a                           n/a
2281   Evans         Joan             2302 Twin Silo Drive              Blue Bell, Pa 19422         USPS Issue            RTS: UTF                       n/a                           n/a
2282   Maron         Eileen           134 Plymouth rd Uni 5413          Plymouth Mtg, PA 19462      USPS Issue            RTS; UTF                       `n/a                          n/a
2283   Helkin        Alex             777 W Germantwon Pike 926         Plymouth Mtg, PA 19462      USPS Issue            RTS; Temp Away                 ahelkin@gmail.com             6134556942
2284   Lipert        Mary             117 Old Allentown Rd              Lansdale, PA 19446          USPS Issue            RTS: UTF                       lipertma@gmail.com            n/a
2285   Galgon        Edward           910 B Stockton Ct                 Lansdale, PA 19446          USPS Issue            RTS; UTF                       edgalgon@hotmail.com          n/a
2286   Galgon        Jodi             910B Stockton Ct                  Lansdale, Pa 19446          USPS Issue            RTS; UTF                       bluepaisley69@yahoo.com       n/a
2287   Watt          Robert           103 Berger Rd                     Schwenksville, PA 19473     USPS Issue            RTS; UTF                       n/a                           n/a
2288   Ruffin        Christian        1109 Harrogate Way                Ambler, PA 19002            USPS Issue            RTS; UTF, IA                   n/a                           n/a
2289   Allen         Katie            501 Hamel Ave                     Glenside PA 19038           USPS Issue            RTS; UTF                       n/a                           n/a
2290   Nasdeo        Janell           420 Sixth Ave N, Apt J6           Royersford, Pa 19468        USPS Issue            RTS; UTF                       jnasdeo13@gmail.com           n/a
2291   Kulkarni      Akshay           384 Highgate Drive                Ambler, PA 19002            USPS Issue            RTS; IA, UTF                   akshay.kulkarni@icloud.com    6786197119
2292   Yang          Sennett          1784 Jarrettown Rd                Dresher, PA 19025           USPS Issue            RTS; NSS, UTF                  sennett.yang1784@gmail.com    6105003627
2293   Clemmer       Jacob            1025 Burgundy Cir                 Pennsburg PA 18073          USPS Issue            RTS; Temp Away                 jd.clemmer@comcast.net        n/a
2294   Mcclure       David            790 Hunter dr                     Pennsburg, Pa 18073         USPS Issue            RTS; UTF                       dmcclure359@comcast.net       n/a
2295   Dowgiert      Eileen           114 Earl Lane                     Hatboro, PA 19040           USPS Issue            RTS; UTF                       eileenstears@yahoo.com        `n/a
2296   Mustafa       Syed             318 Wheatfield Cir                Hatfield, Pa 19440          USPS Issue            RTS; UTf                       mustafa.anas@gmail.com        n/a

                                                                                                        Page 113 of 124
                                                                         Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 114 of 124


                I                 J                   K                                  L                          M                  N                        O                      P                Q           R
 1     Last Name     First name       Address Line 1                        Address Line 2             Issue                 Note                 Email2                            Phone        Contacted?   resolved date
2297   Deverant      Maria            1036 Limekiln Pike                    Ambler, Pa 19002           USPS Issue            RTS; Temp Away       mddeverant@gmail.com              n/a
2298   Blazynski     Andrew           335 W Elm St                          Conshohocken, PA 19428     USPS Issue            RTS; UTF             andrew.blazynski@gmail.com        202‐417‐4994
2299   Spoont        Lois             546 General Lafayette Rd              Merion Station, PA 19066   USPS Issue            RTS; Temp Away       david@hawcap.com                  n/a
2300   Hoenstine     Ronald           13 St Andrews Blvd                    Limerick, PA 19468         USPS Issue            RTS; Temp Away       rh0643@verizon.net                n/a
2301   Stavis        Benedict         114 Harvest Cir                       Bala Cynwyd, PA 19004      USPS Issue            RTS; Temp Away       benstavis@verizon.net             n/a
2302   Fitzgerald    Stacy            2927 First St                         Eagleville, Pa 19403       USPS Issue            RTS; UTF             fitzgerald.stacy@comcast.net      n/a
2303   Graczyk       Mary             105 Harmony Dr W                      Pottstown, PA 19464        USPS Issue            RTS; UTF             marygraczyk@yahoo.com             4849499385
2304   Jelesiewicz   Susan            1897 Cardinal Cir                     Norristown, PA 19403       USPS Issue            RTS;UTF              jazzynanny@gmail.com              4846803899
2305   Hugo          Susan            232 Caspian Lane                      Norristown, Pa 19403       USPS Issue            RTS; FWD             susanfoyhugo@gmail.com            2155192829
2306   Pennington    Andrew           5105 N. Park Drive                    Merchantville, NJ 08109    USPS Issue            RTS; IA, UTF         pennington314@gmail.com           2674314642
2307   Marchese      Mary             1002 Kennedy Ct                       Norristown, PA 19403       USPS Issue            RTS; Temp Away       n/a                               6109092075
2308   Mulligan      Theresa          1814 Sterigere St                     Norristown, PA 19403       USPS Issue            RTS; FWD             n/a                               n/a
2309   Fedor         Susanne          69 Indian Ln W                        Norristown, PA 19403       USPS Issue            RTS; UTF             susannefedor@gmail.com            610‐650‐9724
2310   Hayman        Julie            2008 Clearview Ave                    Norristown, PA 19403       USPS Issue            RTS; UTF             jhaym384@gmail.com                2679665329
2311   Lyons         Owen             2501 Maryland Rd Apt I10              Willow Grove, PA 19090     USPS Issue            RTS; FWD             n/a                               2155715701
2312   Schutte       Jacobus          122 Krewson Ter                       Willow Grove, PA 19090     USPS Issue            RTS; UTF, FWD        christoschutte@hotmail.com        n/a
2313   Schutte       Faith            122 Krewson Ter                       Willow Grove, PA 19090     USPS Issue            rTS; UTF 10/29       faith.schutte@gmail.com           n/a
2314   Blusiewicz    Amber            1141 Snyder rd                        Lansdale, PA 19446         USPS Issue            RTS; IA, UTF         ablusiewicz7488@gmail.com         2679347506
2315   Roman         Renee            380 Cannon Ave N, Carriage House Apts Lansdale, PA 19446         USPS Issue            RTS; IA, UTF apt #        reneeenterprises44@gmail.com n/a
2316   Waples        Sheila           38 Jenkins Ave                        Lansdale, Pa 19446         USPS Issue            RTS; IA, UTF              sheilawaples18@gmail.com 2677367336
2317   Betts         Nizama           105 Windsor                           Narberth, PA 19072         USPS Issue            Return to Sender          Causwiha@yahoo.com           n/a
2318   Leedom        Tara             201 Fifth St W, Apt 4                 Lansdale, PA 19446         USPS Issue            RTS; IA, UTF              tarajanell18@gmail.com       2676806009
2319   Bolton        Sydney           83 Goldfinch Cir                      Phoenixville, PA 19460     USPS Issue            Return to Sender          sydneybolton@aol.com         610‐741‐5506
2320   Hoque         Anowrul          207 W 7th St                          Lansdale, PA 19446         USPS Issue            rTS; IA, UTF              anuwrulhoque@yahoo.com 2163135664
2321   Pondolph      Francine         618 Gage LN                           North Wales, PA 19454      USPS Issue            Return to Sender          fpondolph@gmail.com          N/A
2322   Krier         Stephanie        515 Plymouth Rd, Apt E1               Plymouth Mtg, PA 19462     USPS Issue            RTS; UTF                  krier_s@yhaoo.com            6109526384
2323   Nyamu         Peter            213 Park Ave E                        Ambler PA 19002            USPS Issue            RTS; ANK                  gonsnyamu@yahoo.com          4849950945
2324   Hoque         Momotaz          207 W 7th St                          Lansdale, PA 19446         USPS Issue            RTS; ANK                  anuwrulhoque@yahoo.com 2153135664
2325   Kirschner     Andrea           115 Dudley Ave Apt 2                  Narnerth, PA 19072         USPS Issue            Return to Sender          andiek33@hotmail.com         n/a
2326   Slavin        Colleen          100 Holly Drive                       Limerick, PA 19468         USPS Issue            RTS; IA, UTF              cms6126@hotmail.com          6109069416
2327   Buten         Max              610 Fairview Rd                       Narberth, PA 19072         USPS Issue            Return to Sender          maxbuten@buten.net           n/a
2328   Kirschen      Ilse             134 Shasta Rd                         Plymouth Mtg, PA 19462     USPS Issue            rTS; FWD                  n/a                          6108289102
2329   Wolverton     Elizabeth        502 Haverford Ave                     Narberth, PA 19072         USPS Issue            Return to Sender          bwolverton502@comcast.net n/a
2330   Serock        John             6007 Defford Pl B                     Eagleview, PA 19403        USPS Issue            RTS; FWD                  jeserock@outlook.com         n/a
2331   Shriver       Shraddha         2744 Keebler Ct                       Willow Grove, PA 19090     USPS Issue            Return to Sender          shraddha.atluri@gmail.com n/a
2332   Conway        Kelli            125 South Hellertown Ave              Quakertown, Pa 18951       USPS Issue            RTS; FWD                  n/a                          2677723824
2333   Nissen        Stephanie        511 Iman Ter                          Willow Grove, PA 19090     USPS Issue            Return to Sender          sbnissen@yahoo.com           n/a
2334   Orenbuch      Billie           20 Conshohocken State Rd Apt 703 Bala Cynwyd, PA 19004           USPS Issue            RTS: UTF                  billieleeo@gmail.com         n/a
2335   Germon        Gregory          200 Line St S, UNI 139                Lansdale, PA 19446         USPS Issue            Return to Sender          greggermon@gmail.com         610‐724‐8475
2336   Gartenberg    Mark             313 Lindy Lane                        Bala‐Cynwyd, PA 19004      USPS Issue            RTS; FWD                  mgartenberg@comcast.net      n/a
2337   Deglin        Jo Anne          191 Presidential Blvd Uni 623 Bala Cynwyd, PA 19004              USPS Issue            RTS; Temp Away            jodeglin@yahoo.com           n/a
2338   Delp          John             157 Country Club Dr                   Lansdale, PA 19446         USPS Issue            Return to Sender          jdelp1948@gmail.com          215‐630‐0919
2339   Epstein       Jamie            37 Madison Ave                        Bala‐Cynwyd, PA 19004      USPS Issue            RTS; IA, UTF              jamieepstein@gmail.com       n/a
2340   Huang         Andrew           355 East 10th St                      New York, NY 10009         USPS Issue            RTS; IA, UTF              ahuan177956@gmail.com        2157188830
2341   Delp          Jane             157 Country Club Dr                   Lansdale, PA 19446         USPS Issue            Return to Sender ‐ Vacant jane.duitch@gmail.com        215‐896‐5266

                                                                                                           Page 114 of 124
                                                                   Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 115 of 124


               I               J                 K                               L                            M                              N                                   O                        P                  Q               R
 1     Last Name     First name    Address Line 1                  Address Line 2                 Issue                    Note                                      Email2                        Phone             Contacted?        resolved date
2342   Beieberfeld   Harris        3028 Goezel Rd                  Pekiomenville, PA 18074        USPS Issue               RTS; Vacant, UTF                          harrismickey@comcast.net      n/a
2343   Neiffer       Corianna      920 Crimson Lane                Pottstown, PA 19464            USPS Issue               RTS; UTF                                  corineiffer@gmail.com         6107052238
2344   Markoski      Michael       1280 Whitespire Cir             Pottstown, PA 19464            USPS Issue               Return to Sender ‐ Temporarily Away       mmarkoski423@gmail.com        n/a
2345   Firth         Sidney        23235 Shannondell Dr            Audubon, PA 19403              USPS Issue               RTS; UTF                                  sidselfirth@gmail.com         6103822067
2346   Loeper        Louis         1957 Yarnall Rd                 Pottstown, PA 19464            USPS Issue               Return to Sender                          Louisloper1@gmail.com         n/a
2347   Stewart       Ryan          129 W. 12th Ave Baker Hall West Columbus, OH 43210             USPS Issue               Return to Sender                          rstew.soccer@gmail.com        267‐279‐3459
2348   Forster       Michael       638 Lake Front Dr, APT, 74      Sacramento, California 95831   USPS Issue               Return to Sender ‐ Insufficient Address   mgforster14@gmail.com         610‐357‐7496
2349   Reid          Sheila        548 Ridge Pike                  Lafayette Hill, PA 19444       Incomplete Declaration   no contact info                           no contact info               no contact info   no contact info
2350   Berger        Donna         204 Elm Dr                      Lansdale, PA 19446             Incomplete Declaration   no contact info                           no contact info               no contact info   no contact info
2351   Heller        Barbara       174 South Roland St             Pottstown, PA 19464            Incomplete Declaration   no contact info                           no contact info               no contact info   no contact info
2352   Vishab        Richard       n/a                             n/a                            Incomplete Declaration                                             none                          215‐441‐4833
2353   Linderman     Grace         n/a                             n/a                            Incomplete Declaration   no contact info                           no contact info               no contact info   no contact info
2354   Lowe          James         205 Penllyn Pk                  Penllyn, PA 19422              Incomplete Declaration   no contact info                           no contact info               no contact info   no contact info
2355   Linderman     Gerald        424 Indian Crest Dr             Harleysville, PA 19438         Incomplete Declaration   no contact info                           no contact info               no contact info   no contact info
2356   Rogan         Jane          1405 Brittany Pointe            Lansdale, PA 19446             Incomplete Declaration   no contact info                           no contact info               no contact info   no contact info
2357   Gittis        Sondra        190 Presidential BLVD PH 1      Bala‐cynwyd, PA 19004          Incomplete Declaration   no contact info                           no contact info               no contact info   no contact info
2358   Baron         Eli           n/a                             n/a                            Incomplete Declaration                                             LB2245@gmail.com              none
2359   Habipaj       Fadile        2958 Meyer                      Glenside, PA 19038             Incomplete Declaration   no contact info                           no contact info               no contact info   no contact info
2360   Taterka       Samuel        827 Hain Dr                     Lafayette Hill, PA 19444       USPS Issue               RTS; NDA, UTF                             stateka@gmail.com             2157047660
2361   Rapoport      Daniel        458 Apple Tree LN N.            Lafayette Hill, PA 19444       Incomplete Declaration                                             DANIEL.S.RAPOPORT@gmail.com   353‐339‐5527
2362   Anolik        Sarah         N/a                             n/a                            USPS Issue               RTS; Refused, UTF           sarah.anolik@gmail.com                      6108048931
2363   Poatsy        Theodore      2136 Wolford Rd PO Box 27       Salfordville, PA 18958         USPS Issue               RTS; ANK, UTF               tedpoasty@gmail.com                         484‐300‐6205
2364   Kroha         Victoria      5 Birch Rise Drive              Newton, CT 06470               USPS Issue               RTS; UTF                    vrkrotha@gmail.com                          203‐835‐6206
2365   Sumner        Curtis        254 Running Water Ct            Ambler, PA 19002               USPS Issue               RTS; IA, UTF                cm5472@cornell.edu                          2158014307
2366   Bovich        Mark          2429 Oakland Dr                 Norristown, PA 19403           USPS Issue               RTS; UTF                    markbovich1993@gmail.com                    9739001512
2367   Dolfi         Douglas       233 Stone Ridge Dr              Norristown, Pa 19403           USPS Issue               RTS; UTF                    dolfidv@gmail.com                           2152666134
2368   Dougherty     Stephanie     125 Famfield Ave                Royersford, PA 19468           Incomplete Declaration                               leyevewire@yahoo.com                        none
2369   Koppenhaver   Janelle       226 Conshohocken state rd       Gladwyne, PA 19035             USPS Issue               RTS; Temp Away              janellekop@comcast.net                      2679753414
2370   Herz          Nysa          1336 Rose Glen Rd               Gladwyne, PA 19035             USPS Issue               RTS; Temp away, CANC. REPL. nysac14@hotmail.com                         4844314714
2371   Payne         Robert        92 Fairway Drive                Tuckerton, NJ 08087            USPS Issue               RTS; Temp Away, CANC REPL bobsapayne@aol.com                            6106362462
2372   Cantor        Ari           532 Red Oak Dr                  Elkins Park, PA 19027          USPS Issue               RTS; UTF                    acantor@insingermachine.com                 2159472202
2373   skelly        Matthew       2468 Ardsley Ave                Glenside, PA 19038             USPS Issue               RTS: UTF                    mattskellynmt@gmail.com                     8569005643
2374   Deats         David         29 E. Ridge Pike Apt 100        Conshohocken, PA 19428         Incomplete Declaration                               daviddeatsphillies@gmail.com                610‐772‐6942
2375   Walters       Mariah        1120 Wilson Ave                 Abington, PA 19001             USPS Issue               RTS; UTF                    waltmariah@gmail.com                        2156011820
2376   Stasny        Eileen        134 Hendricks St                Ambler PA 19002                USPS Issue               RTS; Temp Away, UTF n/a                                                 6105746995
2377   Croke         Christopher   1 Chestnut Ave                  Narberth, PA 19072             Incomplete Declaration   no contact info             no contact info                             no contact info   no contact info
2378   Reilly        Zoe           1175 Jericho Road               Abingrton PA 19001             USPS Issue               RTS; UTF                    zoe.t.reilly@gmail.com                      2407318559
2379   Schwartz      Carly         n/a                             n/a                            Incomplete Declaration   no contact info             no contact info                             no contact info   no contact info
2380   Morgan        Robert        50 Woodside Rd Apt 13           Ardmore PA 19006               USPS Issue               RTS; Temp Away              piadrienne@aol.com                          561‐976‐1295
2381   Lynch         Brian         15 Hickory Place                Collegeville, PA 19422         Incomplete Declaration   no contact info             no contact info                             no contact info   no contact info
2382   Johnson       Nicole        1032 Cedar grove Rd Uni 1       Wynnewood, PA 19096            USPS Issue               RTS: Temp Away              niki.applebaum@gmail.com                    9732020149
2383   Moore         Desaire       419 Francis Ave                 Ambler, PA 19002               Incomplete Declaration   no contact info             no contact info                             no contact info   no contact info
2384   Bannister     Aaron         2343 Rubicam Ave                Willow Grove, PA 19090         Incomplete Declaration   no contact info             no contact info                             no contact info   no contact info
2385   Mozitis       Jillian       505 Meadowbrook Dr APT 505 Huntingdon Valley, Pa 19006         USPS Issue               RTS; UTF                    jillianmozitis@gmail.com                    2673039241
2386   Bruno         Jessica       504 Herold CT                   Maple Glen, PA 19002           Incomplete Declaration   no contact info             no contact info                             no contact info   no contact info

                                                                                                      Page 115 of 124
                                                                       Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 116 of 124


              I                J                     K                               L                           M                       N                           O                        P                  Q               R
 1     Last Name     First name        Address Line 1                    Address Line 2              Issue                    Note                       Email2                        Phone             Contacted?        resolved date
2387   Gage          Beth              447 Meadowbrook Drive             Huntingdon Vly PA 19006     USPS Issue               RTS; UTF                   bethgagel@gmail.com           6096688220
2388   Smith         Jacqueline        105 Aspen Dr                      Royersford, PA 19468        Incomplete Declaration                              jacqdavis8@aol.com            301‐908‐3629
2389   Beard         Evan              1152 Bridge rd                    Schwenksville, PA 19473     USPS Issue               RTS: temp Away             n/a                           n/a
2390   Mcdevitt      Geraldine         3023 Sheffield Dr                 Plymouth MTG, PA 19462      Incomplete Declaration   no contact info            no contact info               no contact info   no contact info
2391   Fridling      David             1633 Hancock Road                 North Wales, PA 19454       USPS Issue               RTS; UTF                   dfridling@gmail.com           2155889933
2392   Fulforth      Gail              361 Monroe Ave                    Glenside, PA 19038          Incomplete Declaration   no contact info            no contact info               no contact info   no contact info
2393   Fridling      Ilene             1633 Hancock Rd                   North Wales PA 19454        USPS Issue               RTS; UTF                   infrid@aol.com                2155889896
2394   Pruyn         Phyllis           760 Chestnut St                   Royersford, PA 19468        USPS Issue               RTS; Temp Away, 10/29      phyllismpruyn@gmail.com       n/a
2395   Agee          Christopher       134 Plymouth Rd Apt 1103          Plymouth Mtg, PA 19462      USPS Issue               RTS; UTf                   bruce.agee49@gmail.com        7323308524
2396   Zebin         Donna             3855 Davisville Rd                Hatboro, PA 19040           USPS Issue               RTS; Temp Away             randyoz@comcast.net           2153978181
2397   Akers         Ruth              2335 Terwood Rd Apt 112 A         Huntingdon Vly, PA 19006    USPS Issue               RTS; UTF                   n/a                           n/a
2398   Forgette      Steven            62 Seitz Rd                       Schwenksville, PA 19473     USPS Issue               RTS; UTF                   crimson2234@yahoo.com         6102873795
2399   Forgette      Deanna            62 Seitz Rd                       Schwenksville, PA 19473     USPS Issue               RTS; UTF                   forgette6@yahoo.com           6102873795
2400   Fraschetta    Amy               146 Ross Rd                       King of Prussia, PA 19406   USPS Issue               RTS; Temp Away             davefraschetta@hotmail.com    941‐822‐0749
2401   Medved        Jon               105 Orchard Ct                    Blue Bell, Pa 19422         USPS Issue               RTS; UTF                   jon.medved@icloud.com         2158170138
2402   Cobb          Carla             1444 Wistar Dr                    Wyncote PA 19095            USPS Issue               RTS; UTF                   cobb.carla@gmail.com          8569569958
2403   Vogt          Timothy           560 Dartmouth Drive               KOP PA 19406                USPS Issue               RTS; UTF                   timothypvogt@gmail.com        4847442309
2404   Scherpbier    Bart              405 Bellaire Ave                  Ft. Washington, PA 19034    USPS Issue               RTS; vacant, UTF           scherpbier.bart@gmail.com     6106397190
2405   Scott         Lawrence          1398 Jolly Rd                     Blue Bell, PA 19422         USPS Issue               RTS;CANC REPL              n/a                           n/a
2406   Niedosik      Jordan            700 Park rd                       Lansdale, PA 19446          USPS Issue               RTS; CANC REPL             n/a                           n/a
2407   REDDING       BRANDI            358 MAIN ST                       ROYERSFORD PA 19468         USPS Issue               RTS; CANC REPL             N/A                           N/A
2408   LOWA          EVE               N/A                               POTTSTOWN, PA 19464         USPS Issue               RTS; CANC REPL, UTF        N/A                           N/A
2409   CORWIN        CYPRIAN           1901 CORINTHIAN AVE               ABINGTON PA 19001           USPS Issue               CANC REPL                  N/A                           N/A
2410   FARQUHARSON   COVILLE           1141 SNYDER RD APT G3             LANSDALE PA 19446           USPS Issue               CANC REPL                  N/A                           N/A
2411   DYER          WILLIAM           138 PINECREST LN                  LANSDALE PA 19446           USPS Issue               CANC REPL                  `N/A                          N/A
2412   DYER          DIANA             138 PINECREST LN                  LANSDALE PA 19446           USPS Issue               CANC REPL                  N/A                           N/A
2413   SHEA          EILEEN            628 MAPLE AVE APT 1               LANSDALE PA 19446           USPS Issue               CANC REPL                  N/A                           N/A
2414   MOORE         KIRSTEN           1141 SNYDER RD                    LANSDALE PA 19446           USPS Issue               CANC REPL                  N/A                           N/A
2415   PARK          LAURA             10711 VALLEY FORGE CIR            KOP PA 19406                USPS Issue               CANC REPL, RTS, IA         N/A                           N/A
2416   LEGGIN        JUSTIN            2806 BRECKENRIDGE BLVD            EAGLEVIEW PA 19403          USPS Issue               CANC REPL, RTS             N/A                           N/A
2417   GOLDNER       JUSTIN            6 DARTMOUTH RD W.                 BALA‐CYNWYD, PA 19004       USPS Issue               IA, CANC REPL              N/A                           N/A
2418   SCOTT         MAJORIE           1398 JOLLY RD                     BLUE BELL, PA 19422         USPS Issue               CANC REPL                  N/A                           N/A
2419   CLANCY        KENNETH           1208 TWIN SILO DR                 BLUE BELL PA 19422          USPS Issue               CANC REPL;RTS              N/A                           N/A
2420   WALKER        JOHN              128 WILDFLOWER DR                 PLYMOUTH MTG PA 19462       USPS Issue               RTS; CANC REPL             N/A                           N/A
2421   Johns         Denise            619 Hamilton St Apt B             Norristown, PA 19401        Incomplete Declaration   no contact info            no contact info               no contact info   no contact info
2422   WALKER        EVELYN            128 WILDFLOWER DR                 PLYMOUTH MTG PA 19462       USPS Issue               CANC REPL; TEMP AWAY       N/A                           N/A
2423   Wu            Siqing            "one address two persons to vote" ‐                           Incomplete Declaration   Also no secrecy envelope   no contact info               no contact info   no contact info
2424   GROWMILLER    LOUIS             414 HIGHLAND AVE                  GLENSIDE PA 19038           USPS Issue               CAN REPL; RTS              N/A                           N/A
2425   WRIGHT        CRYSTAL           106 MEADOWBROOK DR                HUNTINGDON VLY PA 19006     USPS Issue               RTS; CANC REPL             N/A                           N/A
2426   Aronchick     Bryan Paul        309 Washing Street Apt #2228 Conshohocken, PA 19428           Incomplete Declaration                              aronchickdesigns@gmail.com    no phone
2427   SARM          JILLIAN           22344 BRIAR PATCH LN              HATFIELD PA 19440           USPS Issue               RTS; CANC REPL             N/A                           N/A
2428   Bitterman     Georgia Eleanor   1617 Hillcrest Rd                 Glenside, PA 19038          Incomplete Declaration                              georgia.bitterman@gmail.com   267‐326‐5477
2429   Block         Joyce D           ‐                                 ‐                           Incomplete Declaration   no contact info            no contact info               no contact info   no contact info
2430   GROVE         VIRGINIA          19 LITTLE RD PO BOX 244           PERKIOMENVILLE PA 18074     USPS Issue               RTS; CANC REPL             N/A                           N/A
2431   Shankavaram   Sowmini           162 Iron Hill Way                 Collegeville, PA 19426      Incomplete Declaration                              sowminis@gmail.com            484‐683‐5319

                                                                                                         Page 116 of 124
                                                                     Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 117 of 124


              I                  J                   K                             L                          M                       N                      O                     P                  Q               R
 1     Last Name      First name        Address Line 1                 Address Line 2             Issue                    Note                  Email2                     Phone             Contacted?        resolved date
2432   SARACENI       MICHEAL           771 LOGAN ST APT D102          POTTSTOWN, PA 19464        USPS Issue               RTS; UTF, CANC REPL   N/A                        N/A
2433   Spiegle        Joan Rose         353 N. Hills Ave               Glenside, PA 19038‐1637    Incomplete Declaration   no contact info       no contact info            no contact info   no contact info
2434   MCKENNA        DORIS             5304 TWIN SILO DRIVE           BLUE BELL, PA 19422        USPS Issue               CANCELLED. DEATH      N/A                        N/A
2435   Spiegle        Rose              363 N. Hills Ave               Glenside, PA 19038‐1637    Incomplete Declaration   no contact info       no contact info            no contact info   no contact info
2436   ZERUMSKY       MELISSA           1024 FOX CHASE RD APT B        JENKINTOWN PA 19046        USPS Issue               CANC REPL; RTS,UTF    N/A                        N/A
2437   Tanner         Travis Lamar      538 E. High St Apt 107         Pottstown, PA 19464        Incomplete Declaration                         travislamar87@gmail.com    484‐925‐8047
2438   O'Donnell      Frank             243 Towyn Ct                   Ambler, PA 19002           Incomplete Declaration   no contact info       no contact info            no contact info   no contact info
2439   CAMPOLI        EILEEN            N/A                            ROSLYN PA 19001            USPS Issue               RTS; CANC REPL        GAMMY622@GMAIL.COM         2157714076
2440   Jones          James F           665 Wimbledon Ln               Hatfield, PA 19440         Incomplete Declaration   no contact info       no contact info            no contact info   no contact info
2441   KANAL          DINA              1570 FAIRWAY RD APT 204E       HUNTINGDON VLY, PA 19006   USPS Issue               RTS; CANC REPL        IBK13@JUNO.COM             2153423417
2442   Kohr           Shirley L.        740 Clemmers Mill Rd.          Schwenksville, PA 19473    Incomplete Declaration   no contact info       no contact info            no contact info
2443   Profka         Nikolla           732 Suffolk Rd                 Jenkintown, PA 19046       Incomplete Declaration   no contact info       no contact info            no contact info
2444   JETER          KHALIF            511 EVANS ST N                 POTTSTOWN PA 19464         USPS Issue               CANC REPL UTF         N/A                        N/A
2445   White          Jason A           423 2nd Ave Apt 1              Royersford, PA 19468       Incomplete Declaration   no contact info       no contact info            no contact info
2446   Petruschke     Lauren H          ‐                              ‐                          Incomplete Declaration   no contact info       no contact info            no contact info
2447   LANG           JOSEPH            961 PENN CIR APT D314          KOP PA 19406               USPS Issue               RTS; UTF              JPLANG92@GMAIL.COM         2673619626
2448   Polak          Louise            600 Perkiomen                  Lansdale, PA 19446‐3433    Incomplete Declaration   no contact info       no contact info            no contact info
2449   SALKOWSKI      JOHN              735 WASHINGTON ST UNI 301      ROYERSFORD PA 19468        USPS Issue               RTS; TEMP AWAY        N/A                        N/A
2450   Taylor         Corey Gron        ‐                              ‐                          Incomplete Declaration                         none                       610‐605‐7917
2451   Patel          Babubhai C        787 Hertford Dr                Hatfield, PA 19440         Incomplete Declaration   no contact info       no contact info            no contact info
2452   Patel          Kalpana B         787 Hertford Dr                Hatfield, PA 19440         Incomplete Declaration                         none                       215‐361‐0787
2453   VANLERBERGHE   ANN               804 LAKEVIEW COURT             KING OF PRUSSIA PA 19406   USPS Issue               RTS; UTF              ANNBARTSTER@GMAIL.COM      2152903842
2454   Rosa‐Martir    Francisco         660 N Broad St                 Lansdale, PA 19446         Incomplete Declaration                         paulinerms@gmail.com       215‐205‐1923
2455   GATELY         BERNADETTE        20733 VALLEY FORGE CIR         KOP PA 19406               USPS Issue               RTS; TEMP AWAY        GATEL4457@GMAIL.COM        6103937519
2456   Patel          Jayshree Ishvar   ‐                              ‐                          Incomplete Declaration                         none                       757‐470‐2451
2457   Patel          Ishvar N          ‐                              ‐                          Incomplete Declaration                                                    757‐470‐2451
2458   McCormick      Joan M            101 Raven Hollow Dr            North Wales, PA 19454      Incomplete Declaration   no contact info       no contact info            no contact info
2459   TRUBIANO       WENDY             288 WESTFALL AVE               KOP PA 19406               USPS Issue               RTS; UTF              WENDY615@VERIZON.NET       6102770416
2460   Kennedy        Louise J          238 Cherrywood Ct              North Wales, PA 19454      Incomplete Declaration   no contact info       no contact info            no contact info
2461   BROWN          TAYLOR            511 LAKEVIEW CT                KING OF PRUSSIA PA 19406   USPS Issue               RTS; UTF              TBRON87@GMAIL.COM          4074354136
2462   Bechle         Bonnie            102 Harbob Ln                  North Wales, PA 19454      Incomplete Declaration   no contact info       no contact info            no contact info
2463   KERSEY         REGINA            24 RAHNS RD                    COLLEGEVILLE PA 19426      USPS Issue               CANC REPL; RTS        N/A                        N/A
2464   Mercier        Taylor            ‐                              ‐                          Incomplete Declaration   no contact info       no contact info            no contact info
2465   Christian      Lucas             777 Germantown Pike W, APT 316 Plymouth Mtg, PA 19462     USPS Issue               Return to Sender      lchristian2014@gmail.com   401‐864‐7391
2466   Muckley        Jonnie R          1281 Township Line Rd          Gwynedd Valley, PA 19437   Incomplete Declaration                         tibound@aol.com            215‐643‐662
2467   PELLOT         LILLIAN           251 W DEKALB PIKE APT W217 KOP PA 19406                   USPS Issue               RTS; CANC REPL        N/A                        N/A
2468   White          Whitney R         550 Wilson Street              Pottstown, PA 19464        Incomplete Declaration                         wwhite1467@gmail.com       484‐925‐4771
2469   PELLOT         MICHEAL           251 W DEKALB PIKE APT W217 KOP PA 19406                   USPS Issue               CANC REPL;RTS         N/A                        N/A
2470   McConnell      Marcia Jane       17 Hanfair Road, Apt 10        Ardmore, PA 19003          Incomplete Declaration                         none                       610‐377‐4425
2471   NAVE           CAROL             2858 HICKORY HILL DRIVE        EAGLEVIEW PA 19403         USPS Issue               RTS; CANC REPL        N/A                        N/A
2472   Toth           Jolan Gabriella   1100 Remington Road            Wynnewood, PA 19096        Incomplete Declaration   no contact info       no contact info            no contact info
2473   QURESHI        MUSHTAQ           2104 BRANDENBURG WAY           KOP PA 19406               USPS Issue               CANC REPL             N/A                        N/A
2474   Hamilton       Elizabeth Ley     101 N Merion Ave C‐521         Bryn Mawr, 19010           Incomplete Declaration                         none                       302‐685‐2007
2475   BENNETT        RICHARD           1011 PENN CIR APT D401         KOP PA 19406               USPS Issue               CANC REPL             N/A                        N/A
2476   Schadler       Donald            ‐                              ‐                          Incomplete Declaration                         Donaldschadler@gmail.com   484‐686‐7957

                                                                                                      Page 117 of 124
                                                                                   Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 118 of 124


                I                    J                      K                                       L                          M                     N                      O                       P                Q           R
 1     Last Name          First name       Address Line 1                          Address Line 2                  Issue                    Note               Email2                         Phone           Contacted?   resolved date
2477   Adam               Heath            515 Plymouth Rd, APT E1                 Plymouth Meeting, PA 19462‐1611 USPS Issue               Return to Sender   adamheath91@gmail.com          n/a
2478   Taylor             Darlene L        ‐                                       ‐                               Incomplete Declaration                      none                           610‐308‐0279
2479   THERO              JILLIAN          751 VANDENBERG RD APT 1207              KOP PA 19406                    USPS Issue               RTS; CANC REPL     N/A                            N/A
2480   Andrusiak          Michaelann       ‐                                       ‐                               Incomplete Declaration   no contact info    no contact info                no contact info
2481   Kinsella           Elizabeth        308 B Windsor Ave                       Narberth, PA 19072              USPS Issue               Return to Sender   bethmkinsella@gmail.com        610‐438‐9448
2482   Mehr               Joseph Francis   113 Mallard Dr W                        North Wales, PA 19454           Incomplete Declaration   no contact info    no contact info                no contact info
2483   LAM                SIVONTHUON       751 VANDENBERG RD APT 1122              KOP PA 19406                    USPS Issue               RTS; CANC REPL     N/A                            N/A
2484   Hunsicker          Louise A         770 College Ave                         Trappe, PA 19426                Incomplete Declaration   no contact info    no contact info                no contact info
2485   Dobkin             Jane Lynn        21 Sabine Ave                           Narberth, PA 19072              USPS Issue               Return to Sender   cjanebake@yahoo.com            n/a
2486   Meyers             Janice Claire    1946 Guernsey Ave                       Abington, PA 19001              Incomplete Declaration   no contact info    no contact info                no contact info
2487   FENDLE             MARY             511 LAKEVIEW CT                         KOP PA 19406                    USPS Issue               RTS; UTF           MFFENDLE@GMAIL.COM             3219483977
2488   Chapman            Nancy C          1551 Huntingdon Pike Apt BI12           Huntingdon Vly, PA              Incomplete Declaration                      none                           267‐722‐8743
2489   Caplan             Eugenia          103 Dudley Ave APT 2                    Narberth, PA 19072              USPS Issue               Return to Sender   ginadwf@gmail.com              n/a
2490   POLES              CRAIG            N/A                                     ABINGTON, PA 19001              USPS Issue               RTS; UTF           CEPOLES@COMCAST.NET            2154981254
2491   Thomas             Albert A Sr      126 E Race St                           Stowe, PA 19464                 Incomplete Declaration   no contact info    no contact info                no contact info
2492   Muirhead           Scott            110 Coach LN Apt O‐4                    Eagleville, PA 19403            USPS Issue               Return to Sender   n/a                            n/a
2493   JOHNSON            MARLON           1402 BRANDENBURG WAY                    KOP PA 19406                    USPS Issue               RTS; UTF           N/A                            3143058689
2494   Kim                Eun Hye          1408 Reiner Rd                          Eagleville, PA 19403            Incomplete Declaration   no contact info    no contact info                no contact info
2495   SIERZEGA           RICHARD          153 REBEL RD                            KOP PA 19406                    USPS Issue               RTS; UTF           RICK.SIERZEGA617@GMAIL.COM     9082512977
2496   Fatin              Parastoo         624 Gawain Rd                           Plymouth MTG, PA 19462          USPS Issue               Return to Sender   n/a                            n/a
2497   Berlin             Lisa J           226 W. Broad St                         Telford, PA 18969               Incomplete Declaration   no contact info    no contact info                no contact info
2498   SILETTA            ANTOINETTE       382 OLD FORT RD                         KOP PA 19406                    USPS Issue               RTS; UTF           N/A                            4842131688
2499   Walton             Anna M           807 Tricorn Dr                          Lansdale, PA 19446              Incomplete Declaration   no contact info    no contact info                no contact info
2500   Harris             Steven           108 Grayling Ave                        Narberth, PA 19072              USPS Issue               Return to Sender   steven.pjs3@gmail.com          n/a
2501   Bond               Mark James       507 North Hills Ave                     Glenside, PA 19038              Incomplete Declaration                      none                           215‐264‐6313
2502   NEHY               REGINE           251 DEKALB PIKE W APT S711              KING OF PRUSSIA, PA 19406       USPS Issue               RTS; TEMP AWAY     N/A                            3472261383
2503   Smith              Brian J          980 Natton Ct                           King of Prussia, PA 19406       Incomplete Declaration   no contact info    no contact info                no contact info
2504   Buchanan‐McCrimmon Brittany         37 Sabine Ave                           Narberth, PA 19072              USPS Issue               Return to Sender   bbmccrimmon@gmail.com          610‐348‐8641
2505   GERVASIO           JASON            1041 PENN CIR APT F108                  KING OF PRUSSIA, PA 19406       USPS Issue               RTS; UTF           JASONGERVASIO1991@GMAIL.COM    2154996120
2506   Smith              Mercedes         640 Bethlehem Pike                      Montgomeryville, PA 18936       Incomplete Declaration                      none                           267‐662‐0956
2507   Pennotti           Christian        303 Conway Ave                          Narberth, PA 19072              USPS Issue               Return to Sender   pennotti@gmail.com             215‐989‐9424
2508   Duncan             Tanika           901 E Pleasant #1B                      Glenside, PA 19038              Incomplete Declaration   no contact info    no contact info                no contact info
2509   KASEMEN            KATHRYN          251 W DEKALB PIKE 606                   KOP PA 19406                    USPS Issue               RTS; UTF           KTKASEMAN@GMAIL.COM            9413566705
2510   Fergione           Elizabeth Ann    11203 Shannondale Dr                    Audubon, PA 19403               Incomplete Declaration   no contact info    no contact info                no contact info
2511   WATT               JOHN             103 BERGER RD                           SCHWENKSVILLE, PA 19473         USPS Issue               RTS; UTF           N/A                            N/A
2512   Mokhtari           Mohamed          1201 Duchess Ct                         Royersford, PA 19468            Incomplete Declaration                      mohamed.mokhtari76@yahoo.com   215‐274‐0635
2513   BARTON             BEVERLY          103 BERGER RD                           SCHWENKSVILLE, PA 19473         USPS Issue               RTS; UTF           N/A                            N/A
2514   Daniels            Thomas           1600 Hagys Ford Rd Apt 1L               Narberth, PA 19072              USPS Issue               Return to Sender   tdaniels@meetingconcepts.net   610‐909‐3317
2515   KEHS               MARIE            1011 GRAVEL PIKE N                      SCHWENKSVILLE PA 19473          USPS Issue               RTS; TEMP AWAY     N/A                            6102879265
2516   Mullins            Jamaul K         310 W Eight ST                          Lansdale, PA 19446              Incomplete Declaration   no contact info    no contact info                no contact info
2517   Jackson            Michael A        24 E. Elm St                            Norristown, PA 19401            Incomplete Declaration                      none                           610‐680‐8317
2518   FISHER             JUSTIN           11 STATION AVE                          SCHWENKSVILLE PA 19473          USPS Issue               RTS; UTF           JUSTINJAMESFISHER@GMAIL.COM    4843436960
2519   Williams           Eric             56 Grove Ave                            Flourtown, PA 19031             Incomplete Declaration   no contact info    no contact info                no contact info
2520   Rosenblum          Sue Ellen        Oak Hill Condo1637 Oakwood Drive S217   Narberth, PA 19072              USPS Issue               Return to Sender   rosenblumse@aol.com            n/a
2521   MCCRACKEN          SARAH            22 CEMETERY LN                          SCHWENKSVILLE, PA 19473         USPS Issue               RTS; UTF           SARAHDENSON5212013@GMAIL.COM   2158206067

                                                                                                                       Page 118 of 124
                                                                      Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 119 of 124


                I                 J                   K                             L                        M                           N                                   O                        P                Q           R
 1     Last Name       First name        Address Line 1               Address Line 2             Issue                 Note                                     Email2                          Phone           Contacted?   resolved date
2522   Avery           Vanessa M         453 Chestnut St              Pottstown, PA 19464        No secrecy envelope   no contact info                          no contact info                 no contact info
2523   Noll            Barry             177 Cowbell Rd               Willow Grove, PA 19090     USPS Issue            Return to Sender                         barrysaddy@gmail.com            267‐495‐4131
2524   POLITES         SIGMUND           813 SHERIDAN ST              POTTSTOWN PA 19464         USPS Issue            RTS; UTF FWD                             POLITEPAVING@GMAIL.COM          4843743077
2525   DUNDON          THERESA           103 HARMONY DR W             POTTSTOWN PA 19464         USPS Issue            RTS; UTF                                 N/A                             4843004700
2526   Homacki         Tatyana           317 Second St E              Lansdale, PA 19446         USPS Issue            Return to Sender                         tatyanahomacki@gmail.com        551‐666‐9620
2527   Patel           Jagruti           2742 Fischer Rd              Hatfield, PA 19440         No secrecy envelope   no contact info                          no contact info                 no contact info
2528   SIGNORE         KATHERINE         131 CHURCH RD APT 15‐L       NORTH WALES, PA 19454      USPS Issue            RTS; UTF                                 N/A                             2676138819
2529   Bailetti        Erika             217 Bentley Dr               Trappe, PA 19426           No secrecy envelope   no contact info                          no contact info                 no contact info
2530   Brown           Hollie            210 Earl Street APT 401      East Williston NY 11596    USPS Issue            Return to Sender                         holliebrown93@gmail.com         n/a
2531   DUNNUM          BARBARA           70 WEXFORD RD                NORTH WALES, PA 19454      USPS Issue            RTS; UTF                                 BARBARADUNNUM@ICLOUD.COM        2153683883
2532   Gardiner        Ralph S           36 E Moreland Ave            Hatboro, PA 19040          No secrecy envelope                                            none                            267‐307‐5097
2533   Schanbacher     Walter            218 Valley Road              Merion Station, PA 19066   USPS Issue            Return to Sender                         uschanbacher@comcast.net        n/a
2534   Nelson          Robert J Jr       1600 Church Rd Apt 112       Wyncote, PA 19095          No secrecy envelope   no contact info                          no contact info                 no contact info
2535   Schanbacher     Walter            218 Valley Road              Merion Station, PA 19066   USPS Issue            Return to Sender                         wschanbacher@comcast.net        n/a
2536   DUNNUM          DAVID             70 WEXFORD RD                NORTH WALES, PA 19454      USPS Issue            RTS; UTF                                 DAVIDDUNNUM@COMCAST.NET         2153683883
2537   Meister         Elizabeth         P.O. Box 2804                Bala Cynwyd, PA 19004      USPS Issue            Return to Sender ‐ P.O. Box Closed       estuff@verizon.net              n/a
2538   EASTBURN        JESSICA           259 ARBOUR CT                NORTH WALES PA 19454       USPS Issue            RTS; UTF                                 JESSICAEASTBURN@GMAIL.COM       N/A
2539   Carmody         Edward            8111 Heacock LN              Wyncote, PA 19095‐1818     USPS Issue            Return to Sender                         edcarmody@comcast.net           n/a
2540   WIEGAND         GERALD            1238 DICKERSON RD            NORTH WALES, PA 19454      USPS Issue            RTS; UTF                                 WIEGANDGP@GMAIL.COM             2155346907
2541   THOMPSON        MERLE             1675 HOUPT WAY               COLLEGEVILLE, PA 19426     USPS Issue            RTS; TEMP AWAY                           OLDNEELY@VERIZON.NET            N/A
2542   Bender          Ruby              302 Flourtown Rd             Lafayette Hill, PA 19444   USPS Issue            Return to Sender                         Rubysbender@gmail.com           484‐678‐1159
2543   LYONS           SUSAN             334 PEBBLE BEACH DR          ROYERSFORD PA 19468        USPS Issue            RTS; FWD                                 NUTMEG1576@YAHOO.COM            6104952642
2544   RHOADES         JOSEPHINE         827 LEWIS RD N APT 225       LIMERICK PA 19468          USPS Issue            RTS; UTF                                 STOFFLETANGELA@GMAIL.COM        4849328809
2545   FINE            LAUREN            2902 GATEWAY DR              ROYERSFORD PA 19468        USPS Issue            RTS; FWD                                 AMBIGUOUSUBIQUITY@HOTMAIL.COM   6107921219
2546   BLACK           JOHN              289 GAY ST                   ROYERSFORD PA 19468        USPS Issue            RTS; FWD                                 JOHNMBLACK@GMAIL.COM            4843020143
2547   BLACK           ALEXANDRIA        289 GAY ST                   ROYERSFORD PA 19468        USPS Issue            RTS; FWD                                 ALEXANDRIAHBALCK@GMAIL.COM      4843630648
2548   DECERIO         MICHELE           23 DALE RD                   ROYERSFORD PA 19468        USPS Issue            RTS; UTF                                 MDECERIO@GMAIL.COM              6103080189
2549   Garret          Brenda K          720 Fretz Rd                 Souderton, PA 18964        USPS Issue            RTS                                      brendagarett24@gmail.com        215 237 8957
2550   HOGUE           ISAAC             683 LEWIS RD N               LIMERICK PA 19468          USPS Issue            RTS; UTF                                 IDRUMMER98@GMAIL.COM            4028019332
2551   Garrett         David             720 Fretz Rd                 Souderton, PA 18964        USPS Issue            RTS                                      davegarrett48@verizon.net       484 674 5062
2552   HOGUE           JOSHUA            683 LEWIS RD N               LIMERICK PA 19468          USPS Issue            RTS; UTF                                 JOSHUA.ABESTRONG@GMAIL.COM      6102917497
2553   Lynn‐Palevsky   Anna C            120 Adrienne Ln              Wynnewood, PA 19096        USPS Issue            RTS, IA, UTF                             annaclairelynn@gmail.com        610 246 8824
2554   HOUTZ           KIRSTIN           133 GERLOFF RD               SCHWENKSVILLE PA 19473     USPS Issue            RTS; CANC REPL                           N/A                             N/A
2555   Barr            Janet L           1995                         Barto, PA 19504            USPS Issue            RTS, IA, UTF                             jbarr3@comcast.net              484 256 3475
2556   FINE            JASON             2902 GATEWAY DR              ROYERSFORD PA 19468        USPS Issue            RTS; CANC REPL                           N/A                             N/A
2557   Peterson        Annelise          616 Westbourne Rd            Harleysville, PA 19438     USPS Issue            IA                                       messifcannie121733@aol.com      215 847 6477
2558   WHITE           ALEXIS            330 GAY ST                   ROYERSFORD PA 19468        USPS Issue            FWD;CANC REPL                            N/A                             N/A
2559   Naydan          Mary Katherine    625 North Wales Rd           North Wales, PA 19454      USPS Issue            RTS, IA, UTF                             mknaydan@gmail.com              215 767 2389
2560   DOBBINS         DAVID             201 CAMBRIDGE RD             KOP PA 19406               USPS Issue            RTS; FWD                                 DOBBINSDA@GMAIL.COM             7246229872
2561   Archey          Emily Elizabeth   913 Sparkleberry Ln          Collegeville, PA 19426     USPS Issue            RTS, IA, UTF                             emilyarchey@gmail.com           610 908 5305
2562   HALL            DANIELLA          25 N 5TH AVE APT C302        ROYERSFORD PA 19468        USPS Issue            BALLOT REGISTERED OUT OF COUNTY          N/A                             N/A
2563   Michel          Kendra C          435 Peffer Street            Harrisburg, PA 17102       USPS Issue            RTS, Not deliverable as addressed, UTF   kendracm123@gmail.com           267 343 2795
2564   Atkinson        Wyatt D           815 McIntosh Way             Lansdale, PA 19446         USPS Issue            RTS                                      1997middleman@gmail.com         610 584 1685
2565   SCOTT           TAMARA            251 DEKALB PIKE W APT E421   KOP PA 19406               USPS Issue            RTS; FWD                                 SCOTTESL@YAHOO.COM              N/A
2566   Shin            Jonathan S        375 Market St                Boston, MA 02135           USPS Issue            RTS, IA, UTF                             jsshin@bu.edu                   610 517 0590

                                                                                                     Page 119 of 124
                                                                                  Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 120 of 124


                I                 J                           K                                 L                          M                        N                                  O                    P               Q           R
 1     Last Name        First name           Address Line 1                       Address Line 2              Issue                 Note                                  Email2                        Phone        Contacted?   resolved date
2567   HIPPLE           ERIN                 3000 VALLEY FORGE CIR APT 1250       KOP PA 19406                USPS Issue            RTS; NOT REGISTERED TO MONTCO         EEHIPPLE@GMAIL.COM            8147263493
2568   Ramos Romero     Jean Jamier          131 Church Rd Apt 6L                 North Wales, PA 19454       USPS Issue            RTS                                   jean.ramosrom8@gmail.com 787 223 4319
2569   Roman de Jesus   Valerie Ann          131 Church Rd Apt 6L                 North Wales, PA 19454       USPS Issue            RTS                                   valerieromandejesus@gmail.com 787 383 6227
2570   WATSON           MARYELLA             203 LIVINGSTON CT                    NORTH WALES PA 19454        USPS Issue            RTS; UTF                              DEEAHAN@AOL.COM               N/A
2571   Holmes           Alessandra K         4610 Merchant Square Pl              Lansdale, PA 19446          USPS Issue            RTS                                   ppgfreek@gmail.com            215 272 1222
2572   Cruz             Jessica Lauren       1301 North Bend Ct                   Lansdale, PA 19446          USPS Issue            RTS                                   jcruzg8tr@gmail.com           904 874 8027
2573   CHAFFIER         DELORIS              284 COUNTRY CLUB DR                  TELFORD PA 18969            USPS Issue            RTS; TEMP AWAY                        DEECAHFFIER@VERIZON.NET 2157231669
2574   Przychodzien     Arthur               182 Meadowview Lane                  Lansdale, PA 19446          USPS Issue            RTS                                   kelnlucy@gmail.com            215 510 6326
2575   ROTTA            STEFANIE             613 ELKINS AVE                       ELKINS PARK, PA 19027       USPS Issue            RTS; AZ                               STEFROTTA@HOTMAIL.COM 2488885732
2576   Bongers          Ute W                23 Hickory Heights                   Lansdale, PA 19446          USPS Issue            RTS                                   ute626@verizon.net            no number
2577   HATTMAN          CHARLES              2241 WHARTON RD                      GLENSIDE PA 19038           USPS Issue            RTS;UTF                               MECHICCINE@ICLOUD.COM 2158841772
2578   Woolford         Lois J               739 Westhill Way                     Lansdale, PA 19446          USPS Issue            RTS                                   lois782@comcast.net           610 584 3823
2579   Paci             Scott P              118 Stony Creek Ave                  Lansdale, PA 19446          USPS Issue            RTS                                   paci3346@gmail.com            no number
2580   KRAJEWSKI        ALEXIA               22 HIGHPOINT DR                      THORNTON PA 19373           USPS Issue            RTS; TEMP AWAY                        LEXI89@COMCAST.NET            4843567212
2581   SEBASTIAN        ASHLEY               246 CHURCH ST                        PHILADELPHIA PA 19106       USPS Issue            RTS; IA, UTF                          ASHLEYRAESEBASTIAN@GMAIL.COM 6107429750
2582   Nave             David                2858 Hickory Hill                    Norristown, PA 19403‐4711   USPS Issue            Return to Sender                      davidrnave76@gmail.com        610‐584‐1978
2583   JACKSON          DAVID                2071 SIERRA RD                       PLYMOUTH MTG PA 19462       USPS Issue            RTS; UTF                              ACTIONMAGES@GMAIL.COM 4849197175
2584   Markman          Aaron                566 Canterberry Road                 Norristown, PA 19403        USPS Issue            Return to Sender                      danconway@gmail.com           610‐256‐0805
2585   ADAMS            KENDRA               7723 WASHINGTON LN #B APT ?          ELKINS PARK PA 19027        USPS Issue            RTS; UTF                              MISSPHARMD86@GMAIL.COM 2679796526
2586   Cassidy          Mary                 1906 Yorktown N                      Norristown, PA 19403        USPS Issue            Return to Sender                      mmc531@comcast.net            610‐764‐9431
2587   HILT             PATRICIA             4408 MERCHANT SQUARE PL              LANSDALE PA 19446           USPS Issue            RTS; TEMP AWAY                        PJKELSH@GMAIL.COM             N/A
2588   Miksic           Theresa              7 Embassy Cir                        Norristown, PA 19403        USPS Issue            Return to Sender                      stmiksic@comcast.net          610‐584‐9759
2589   Lynch            Robert W             207 Meadowlark Pt                    Lansdale, PA 19446          USPS Issue            RTS                                   no email                      610 584 3983
2590   RIMMER           JAMES                4610 MERCHANT SQUARE PL              LANSDALE PA 19446           USPS Issue            NO CORRESPONDENCE;RTSFWD              JRIMMER2@LIVE.COM             N/A
2591   Baldys           Elizabeth Justine    3330 Big Rd                          Frederick, PA 19435         USPS Issue            RTS, IA, UTF                          ebald2np@gmail.com            570 337 5891
2592   Miksic           Stephen              7 Embassy Cir                        Norristown, PA 19403        USPS Issue            Return to Sender                                                    610‐716‐6590
2593   HUTCHINGS        JON                  181 ERIC LANE                        LANSDALE PA 19446           USPS Issue            RTS;FWD                               JJHUTCH13@YAHOO.COM           2152642098
2594   Mansor           Nathan John          607 Preston Ln                       Hatboro, PA 19040           USPS Issue            RTS, IA, UTF                          nathan.mansor@gmail.com 215 206 2201
2595   BISACQUINO       BRIAN                640 GARFIELD AVE                     LANSDALE PA 19446           USPS Issue            RTS; UTF                              BRIANBISACQUINO@GMAIL.COM 2153785427
2596   Firth            Victoria             2226 Chandler Lane                   Schwenksville, PA 19473     USPS Issue            Return to Sender ‐ Temporarily Away   vfirth@verizon.net            610‐960‐0367
2597   Unver            Amira V              135 Canoe Brook Parkway              Summit, NJ 07901            USPS Issue            RTS                                   turtle.trainer@verizon.net    no number
2598   CONNOR           NANCY                606 LAUNFALL RD                      PLYMOUTH MTG PA 19462       USPS Issue            RTS; UTF                              N/A                           N/A
2599   Littleson        Jacqueline           155 W 15th St                        NY, NY 10011                USPS Issue            RTS, NSS, UTF                         jlittleson2016@comcast.net 732 535 6538
2600   SCHEITLIN        OLGA                 88 MALLARD CT                        PHOENIXVILLE, PA 19460      USPS Issue            RTS                                   N/A                           N/A
2601   Angiolillo       Antonia Marie        171 Bradford Dr                      Schwenksville, PA 19473     USPS Issue            Return to Sender                      herbigcitydreams@gmail.com 484‐689‐9015
2602   Leflar           Regina Caroline      10318 Valley Forge Cir               King of Prussia, PA 19406   USPS Issue            RTS                                   rcloo3@aol.com                484 912 6787
2603   HUNSBERGER       MELISSA              134 PLYMOUTH RD                      PLYMOUTH MTG PA 19462       USPS Issue            RTS; FWD                              HUNSBERGERM@GMAIL.COM N/A
2604   Leflar           Jeffrey W            10318 Valley Forge Cir Apt 318       King of Prussia, PA 19406   USPS Issue            RTS                                   jwl003@gmail.com              484 942 5094
2605   Kuhn             John                 19 Rock Hill Rd APT 5C               Bala‐Cynwyd, PA 19004       USPS Issue            Return to Sender                      janicerkohn@gmail.com         610‐664‐1605
2606   KITTRICK         EILEEN               115 VALLEY CREEK RD                  PLYMOUTH MTG, PA 19462      USPS Issue            RTS; TEMP AWAY                        EKITTRCIK@YAHOO.COM           N/A
2607   Blount           Michael Lynwood Jr   1875 Jenkintown Rd, Apt, Apt, G204   Jenkintown, PA 19046        USPS Issue            RTS                                   mlb091697@gmail.com           215 237 9881
2608   TRAVE            KATHLEEN             3012 AZALEA TER                      PLYMOUTH MTG PA 19462       USPS Issue            RTS; UTF                              KATHLEENTRAVE@COMCAST.NET N/A
2609   Kuhn             Janice               19 Rock Hill Rd APT 5C               Bala‐Cynwyd, PA 19004       USPS Issue            Return to Sender                      janicerkuhn@gmail.com         610‐664‐1605
2610   Hugo             Jeffrey M            232 Caspian Ln                       Norristown, PA 19403        USPS Issue            RTS, temp away                        jhugo377@gmail.com            215 896 0370
2611   POLISHOOK        JEAN                 777 GERMANTOWN PIKE W APT 316        PLYMOUTH MTG PA 19462       USPS Issue            RTS; UTF                              JEAN.LAN.P@GMAIL.COM          5859784199

                                                                                                                  Page 120 of 124
                                                                         Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 121 of 124


               I                 J                      K                            L                          M                                N                                     O                         P                  Q               R
 1     Last Name       First name          Address Line 1                Address Line 2               Issue                    Note                                      Email2                           Phone        Contacted?             resolved date
2612   Gausz           Nancy Decorrevont   810 Patterson Ave             Willow Grove, PA 19090       USPS Issue               RTS, cancelled registered 0 of c          ngausz.dolle@gmail.com           215 539 0149
2613   Barinov         Lev                 69 Academy Rd                 Bala‐Cynwyd, PA 19004        USPS Issue               Return to Sender                          Labrinav@aol.com                 n/a
2614   Hoffman         Jadon               92 Merbrook LN                Merion Station, PA 19066     USPS Issue               Return to Sender                          n/a                              n/a
2615   Bald            Matthew John        2621 Horsham Rd, A1           Hatboro, PA 19040‐4348       USPS Issue               ballot cancelled, confirmed 0 of c, RTS   bald.matthew@gmail.com           412 403 3589
2616   Heine           Julia               42 Bradford Dr                Schwenksville, PA 19473      USPS Issue               RTS, ANK, UTF                             jheine42@gmail.com               610 585 5583
2617   Schwartz        Marilynne           406 Gary LN                   Bala‐Cynwyd, PA 19004        USPS Issue               Return to Sender ‐ Temporarily Away       hmobster@gmail.com               610‐664‐4896
2618   Emery           Carol               2620 Dekalb Pike 408          Norristown, PA 19401         USPS Issue               RTS, ANK, UTF                             no contact info
2619   Mehr            Christopher         239 E 7th Street              Lansdale, PA 19446           USPS Issue               Return to Sender                          n/a                              n/a
2620   Hepner          Talia               104 Brook Cir                 Lansdale, PA 19446           INCOMPLETE DECLARATION   No date                                   chanthdragon@gmail.com           215‐498‐2892
2621   AKHTER          TAHZIBA             38 JENKINS AVE APT 608        LANSDALE, PA 19446           INCOMPLETE DECLARATION   NO DATE, NO ID NUMBERS OR PRECINCT        none                             267‐736‐2184
2622   BAKER           RICHARD             233 UPLAND AVE                HORSHAM, PA 19044            Incomplete Declaration   NO PRINTED NAME                           rbaker_3@msn.com                 267‐532‐8966
2623   HARRIS          JORDAN              N/A                           N/A                          Incomplete Declaration   NO PRINTED NAME; NO ADDRESS               none                             267‐716‐6809
2624   LUKENS          KATHLEEN            4143 TWYNNWOOD RD             LAFAYETTE HILL, PA 19444     Incomplete Declaration   NO PRINTED NAME                           no contact info                  no contact info   no contact info
2625   WISE            PHOEBE              2058 MAPLE AVE APT K2‐3       HATFIELD, PA 19440           Incomplete Declaration   NO DATE                                   phoebewise1@gmail.com            267‐467‐5028
2626   JACKSON         SHANELLE            26 TOWNSHIP LINE RD APT C42   ELKINS PARK, PA 19027        Incomplete Declaration   NO VOTER ADDRESS                          no contact info                  no contact info   no contact info
2627   PAGAN           KAREN               325 MADISON ST F301           LANSDALE, PA 19446           Incomplete Declaration   NO PRINTED NAME.                          kpagan@henkels.com               267‐255‐0025
2628   STAMBAUGH       CAROL               N/A                           N/A                          Incomplete Declaration   NO VOTER ADDRESS                          no contact info                  no contact info   no contact info
2629   WANI‐MENU       PADMINI             952 VAN SANT LN               AMBLER PA 19002              Incomplete Declaration   NO PRINTED NAME                           padminimenu@gmail.com            215‐499‐3078
2630   ANN             RICHARD             137 GWYNMONT DR               NORTH WALES PA 19454         Incomplete Declaration   NO VOTER ADDRESS                          no contact info                  no contact info   no contact info
2631   CHIODO          CHRISTINE           1638 WEST MAIN ST             COLLEGEVILLE, PA 19426       Incomplete Declaration   NO DATE                                   no contact info                  no contact info   no contact info
2632   ROAN            SUSAN               917 SPRING MILL RD            VILLANOVA, PA 19085          Incomplete Declaration   NO ADDRESS                                no contact info                  no contact info   no contact info
2633   RUFF            JENNIFER            123 B S YORK RD               HATBORO PA 19040             Incomplete Declaration   NO DATE                                   no contact info                  no contact info   no contact info
2634   LANAHAN         DIANE               N/A                           N/A                          Incomplete Declaration   NO ADDRESS                                no contact info                  no contact info   no contact info
2635   BERESOVOY       WILLIAM             105 NEWPORT LN                NORTH WALES PA 19454         Incomplete Declaration   NO PRINTED NAME                           none                             570‐840‐5527
2636   CASE            KENNETH             510 WASHINGTON AVE            NORTH WALES, PA 19454        Incomplete Declaration   NO DATE                                   no contact info                  no contact info   no contact info
2637   RISPO           JAMES               3737 SIPLER LN                HUNTINGDON VALLEY PA 19006   USPS Issue               RTS; TEMP AWAY                            JRISPO@AOL.COM                   2159387656
2638   FINKELSTEIN     LIA                 223 EDGEHILL RD               MERION STATION PA 19066      USPS Issue               RTS; UTF                                  LIA421@YAHOO.COM                 6106648142
2639   LUNDEN          CHARLOTTE           511 MEADOW LN                 KOP PA 19406                 USPS Issue               RTS; TEMP AWAY                            CLUNDENL@VERIZON.NET             6103315128
2640   MASTROIENI      ANITA               64 W WISSAHICKON AVE          FLOURTOWN PA 19031           USPS Issue               RTS; TEMP AWAY                            MASTROIE@GMAIL.COM               2153504179
2641   FINKELSTEIN     LEE                 223 EDGEHILL RD               MERION STATION PA 19066      USPS Issue               RTS; UTF                                  N/A                              2152800402
2642   SANTANGELO      ANTHONY             1004 SOUTH 22ND ST            PHILADELPHIA, PA 19164       USPS Issue               RTS; UTF                                  ANTHONY.M.SANTANGELO@GMAIL.COM   6107055727
2643   CARMODY         JON                 405 ALDERBROOK DR             WAYNE PA 19087               USPS Issue               RTS; UTF                                  CARMODYJON@GMAIL.COM             9082553353
2644   SPILLER         FERN                35 ROSEMONT AVE               BRYN MAWR PA 19010           USPS Issue               RTS; `NOT AT THIS ADDRESS 10/29           N/A                              N/A
2645   FRYCKE          SAMUEL              442 ROBIN HILL RD             WAYNE PA 19087               USPS Issue               RTS; FWD                                  SAMZCUNNINGHAM@GMAIL.COM         2155107209
2646   KIRA            TAISSA              405 ALDERBROOK DR             WAYNE PA 19087               USPS Issue               RTS; FWD                                  TAISSA17@GMAIL.COM               4848028979
2647   CLAYWELL        CALEB               945 CROTON RD                 WAYNE PA 19087               USPS Issue               RTS; FWD                                  CALEB616@ME.COM                  9126679726
2648   RIVERA‐STAFFA   NANCY               501 HUNSBERGER DR             LIMERICK PA 19468            USPS Issue               RTS; FWD                                  NRIVERASTAFFA92@COMCAST.NET      6108450629
2649   KELLY           MEGAN               626 LAKEVUE DR                WILLOW GROVE PA 19090        USPS Issue               RTS; FWD                                  MEGAN.E.KELLY@GMAIL.COM          N/A
2650   SCHWARTZ        JOSEPH              626 LAKEVUE DR                WILLOW GROVE PA 19090        USPS Issue               RTS; FWD                                  ANDYRIMM19@JUNO.COM              2152849025
2651   SIMMONS         MAI‐LAN             593 MARSHALL ST E             NORRISTOWN, PA 19401         USPS Issue               RTS; NSN 10/29                            N/A                              N/A
2652   SHRIVER         KEVIN               2744 KEEBLER CT               WILLOW GROVE PA 19090        USPS Issue               RTS; FWD                                  KEVSHRIVER@YAHOO.COM             2672181940
2653   KALINOWSKY      ELIZABETH           510 GILPIN RD                 WILLOW GROVE PA 19090        USPS Issue               RTS; FWD                                  LIZ.A.BITZ@HOTMAIL.COM           2677444549
2654   MCGOVERN        LAURA               1056 LEA RD                   COLLEGEVILLE PA 19426        USPS Issue               RTS; FWD                                  LEMCGOVERN@ME.COM                6102204227
2655   LENZ            MARY                127 BRANDON RD                NORRISTOWN PA 19403          USPS Issue               RTS; TEMP AWAY                            MTLENZ01@GMAIL.COM               6106308384
2656   MCQUAID         SEAN                121 CLEMENS CIR               NORRISTOWN PA 19403          USPS Issue               RTS; UTF                                  N/A                              N/A

                                                                                                         Page 121 of 124
                                                                  Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 122 of 124


              I              J                   K                               L                           M                            N                                      O                       P             Q           R
 1     Last Name     First name   Address Line 1                      Address Line 2            Issue                 Note                                          Email2                          Phone       Contacted?   resolved date
2657   HALLOWELL     MICHEAL      324 SUN VALLEY DR                   AMBLER PA 19002           USPS Issue            RTS; TEMP AWAY                                MIKE.HALLOWELL@HOTMAIL.COM      2153173312
2658   OVARI         NOEMI        1405 OAK CIR                        LANSDALE PA 19446         USPS Issue            RTS; FWD                                      NOEMIOVARI@HOTMAIL.COM          N/A
2659   MCANULTY      SARAH        173 PINECREST LN                    LANSDALE PA 19446         USPS Issue            RTS;FWD                                       SARAHANN.EBERLE@GMAIL.COM       9196081061
2660   REINHEIMER    ORASA        1215 TURNBERRY LN                   NORTH WALES PA 19454      USPS Issue            RTS; FWD                                      WREINHEIMER@VERIZON.NET         2156998144
2661   KLINE         BEATRICE     N/A                                 N/A                       USPS Issue            RTS; DECEASED; BALLOT CANCELLED               N/A                             N/A
2662   CLOWER        STEPHANNA    N/A                                 N/A                       USPS Issue            RTS; DECEASED; CANCELLED DEATH NOTIFICATION   N/A                             N/A
2663   HEALY         KATHERINE    154 GREENWOOD AVE                   WYNCOTE PA 19095          USPS Issue            RTS; UTF                                      KATIE.E.HEALY@GMAIL.COM         2157406162
2664   DOUGLASS      THOMAS       234 FULMER RD                       N/A                       USPS Issue            RTS; NMR                                      LILYDOUGLASS@VERIZON.NET        6103105011
2665   MARSHALL      LEIGH        1120 YOUNGSFORD RD                  GLADWYNE PA 19035         USPS Issue            RTS; IA                                       LEIGHMARSHLL@GMAIL.COM          6109098526
2666   GOETTER       ANNABELLE    211 HAINES ST                       NEWARK DE 19711           USPS Issue            RTS; IA UTF                                   ANNAEAPOMPEIA@GMAIL.COM         2674321223
2667   HANKS         MARIE        200 W ELM ST                        CONSHOHOCKEN PA 19428     USPS Issue            RTS; IA                                       MARIE.M.HANKS@GMAIL.COM         7173197939
2668   VANDURME      ALEXANDER    2132 CAROL LN                       NORRISTOWN PA 19401       USPS Issue            RTS; FWD                                      A.VANDURME92@GMAIL.COM          5854060921
2669   BENJAMIN      MARY         801 RIDGE PIKE C307 MASONIC VILLAGE LAFAYETTE HILL PA 19444   USPS Issue            RTS; UTF                                      MSHARPER@MASONICVILLAGES.ORG    6109400440
2670   PICKERING     LAWRENCE     2001 ROSE DRIVE                     PENNSBURG PA 18073        USPS Issue            RTS ; TEMP AWAY                               PICKERING82@YAHOO.COM           2676639054
2671   PICKERING     JILL         2001 ROSE DRIVE                     PENNSBURG PA 18073        USPS Issue            RTS; TEMP AWAY                                PICKERING82@YAHOO.COM           2158045942
2672   THOMPSON      MARY         1675 HOUPT WAY                      COLLEGEVILLE, PA 19426    USPS Issue            RTS; TEMP AWAY                                GRANMARY@VERIZON.NET            6105846658
2673   CLARK         DENISE       441 FRANKLIN CT                     TRAPPE PA 19426           USPS Issue            RTS; TEMP AWAY                                DENICLARK@COMCAST.NET           6102134853
2674   CLEMMER       DARLENE      1025 BURGUNDY CIR                   PENNSBURG PA 18073        USPS Issue            RTS; TEMP AWAY                                J.D.CLEMMER@COMCAST.NET         2159397238
2675   RIZZO         SARA         230 LAUREL LANE                     HAVERFORD PA 19041        USPS Issue            RTS; UTF                                      SARAHELIZABETHRIZZO@GMAIL.COM   6109994825
2676   BOLER         SHAWNDREA    3980 COMMERCE AVE APT 41 WILLOW GROVE PA 19090                USPS Issue            RTS; FWD                                      SOBOLER@GMAIL.COM               2408406019
2677   CARMODY       DIANNE       8111 HEACOCK LN                     WYNCOTE PA 19095          USPS Issue            RTS; TEMP AWAY                                DIANNECARMODY@COMCAST.NET       2152845596
2678   CARPEY        JILLA        N/A                                 JENKINTOWN PA 19046       USPS Issue            RTS; TEMP AWAY                                JILLA.CARPEY@GMAIL.COM          2154212095
2679   RODGERS       JESSE        122 LINCOLN RD                      COLLEGEVILLE PA 19426     USPS Issue            RTS; UTF 10/29                                RODGERSJESSE@GMAIL.COM          N/A
2680   TOWNSEND      JAMES        451 DOLORES DR                      COLLEGEVILLE PA 19426     USPS Issue            RTS; TEMP AWAY                                JTOWNSENDJR@VERIZON.NET         6104891574
2681   HENSLEY       SHERRY       191 FIRST AVE APT 1                 COLLEGEVILLE PA 19426     USPS Issue            RTS; FWD                                      LIFEWITHCHLOE2016@GMAIL.COM     2672807311
2682   RONDINELLI    VICTORIA     315 INMAN TER                       WILLOW GROVE PA 19090     USPS Issue            RTS; FWD                                      VRONDINELLI@UMTSD.ORG           N/A
2683   KEEFRIDER     MADISON      19 IRIS DR APT 19                   NORRISTOWN PA 19403       USPS Issue            RTS; FWD                                      MADDIERAEKEEFRIDER@GMAIL.COM    2156922240
2684   PATEL         RAVI         155 BROCHANT CIR                    BLUE BELL PA 19422        USPS Issue            RTS; FWD                                      PATEL.RAVIP@GMAIL.COM           2159390567
2685   BOLTON        SIANI        83 GOLDFINCH CIR                    PHOENIXVILLE PA 19460     USPS Issue            RTS; UTF                                      AMI816@GMAIL.COM                6109999227
2686   SCRIPTURE     SYDNEY       489 MACOBY ST                       PENNSBURG PA 18073        USPS Issue            RTS; IA, UTF                                  SMCKSCRIPTURE@GMAIL.COM         2157676367
2687   GOODMAN       BLAKE        1800 CARMEL PL                      AMBLER PA 19002           USPS Issue            RTS; NDA UTF                                  BEG1999@COMCAST.NET             2154706165
2688   BURTON        REMY         7926 PARK AVE                       ELKINS PARK PA 19027      USPS Issue            RTS; NDA, UTF                                 REMYMARTIN15@GMAIL.COM          2679710283
2689   HALLAHAN      KATHERINE    1106 FOUR MAPLES CT                 LIMERICK, PA 19468        USPS Issue            RTS; NDA, UTF                                 KEHALLAHAN@GMAIL.COM            2158375501
2690   DAGENAIS      DYLAN        146 W 76TH ST APT 1F                NEW YORK NY 10023         USPS Issue            RTS; TEMP AWAY                                DYLANDAGENAIS25@GMAIL.COM       6106629168
2691   VERLEYSEN     STEFAN       13 STATION AVE                      SCHWENKSVILLE, PA 19473   USPS Issue            RTS; NDA, UTF                                 STEFAN.VERLEYSEN@GMAIL.COM      267639F8522
2692   SCHAFER       ROBERT       726 TRANQUILITY LN                  LANSDALE, PA 19446        USPS Issue            RTS; TEMP AWAY                                BOBSCHAF@GMAIL.COM              N/A
2693   SCARBOROUGH   DWAYNE       59 ARBOUR CT                        NORRISTOWN PA 19403       USPS Issue            RTS; UTF                                      KENNITHSPAIN@AOL.COM            2676500047
2694   BRASSINGTON   JUNE         6303 SENTINEL RDG APT 6303 EAGLEVIEW PA 19403                 USPS Issue            RTS; TEMP AWAY                                JUNEANNE1975@GMAIL.COM          4849259119
2695   SCHAFER       DEAN         726 TRANQUILITY LANE                LANSDALE PA 19446         USPS Issue            RTS; TEMP AWAY                                DEANSCHAFER@GMAIL.COM           N/A
2696   BISCHOF       NANCY        24 RYAN CT                          TELFORD PA 18969          USPS Issue            RTS; UTF                                      NJBISCHOF@GMAIL.COM             8133350939
2697   BUCKHARD      DALE         705 GODSHALL RD                     TELFORD PA 18969          USPS Issue            RTS; UTF                                      N/A                             4844155684
2698   LOCKS         KYLE         100 CYPRESS CT                      ROYERSFORD PA 19468       USPS Issue            RTS; IA UTF, NO CONTACT INFO 10/29            N/A                             N/A
2699   WILSON        KEITH        124 DISCOVERY CT                    EAST NORRITON, PA 19401   USPS Issue            RTS; UTF                                      KWILSONEMAIL@GMAIL.COM          6108281775
2700   NOBLE         LINDA        1655 OAKWOOD DR APT N108 NARBERTH PA 19072                    USPS Issue            RTS; FWD                                      N/A                             N/A
2701   BARSBY        GEORGE       2501 MARYLAND RD APT S10 WILLOW GROVE PA 19090                USPS Issue            RTS; UTF                                      N/A                             N/A

                                                                                                    Page 122 of 124
                                                                     Case 2:20-cv-05477-PBT Document 12-2 Filed 11/03/20 Page 123 of 124


               I                  J                K                              L                         M                              N                                   O                        P                  Q               R
 1     Last Name         First name   Address Line 1                 Address Line 2             Issue                    Note                                    Email2                          Phone             Contacted?        resolved date
2702   MOYERS            JOHN         171 BRADFORD DR                SCHWENKSVILLE PA 19473     USPS Issue               RTS; FWD                                N/A                             N/A
2703   SHAH              MITUL        1281 STONEGATE RD              LANSDALE PA 19446          USPS Issue               RTS; FWD                                N/A                             N/A
2704   LAPSANSKY         KEVIN        900 LUXOR LN APT 202           NORRISTOWN PA 19401        USPS Issue               RTS; ANK                                KEVINLAPANSKY@GMAIL.COM         4848958579
2705   ROBINSON          PAUL         449 HAMILTON ST APT 611        NORRISTOWN PA 19401        USPS Issue               RTS;ANK R50 10/27                       MARVINGRANT102@GMAIL.COM        4846368644
2706   MELENDEZ          CARLOS       800 SPRING MILL AVE            CONSHOHOCKEN PA 19428      USPS Issue               RTS; IA, UTF                            COYOTECROSSING@MINDSPRING.COM   6107615320
2707   RICHARDS          LESLIE       2106 BASSWOOD DR               LAFAYETTE HILL PA 19444    USPS Issue               RTS; FWD                                LESLIESTERICHARDS@GMAIL.COM     6104571744
2708   IANNI             JENNIFER     1854 LANVALE PL                PHILADELPHIA, PA 19446     USPS Issue               RTS; NSS, UTF                           JENNIFER.SMOLOWITZ@GMAIL.COM    6095291937
2709   RILEY             MICHELE      5 RYAN CT                      TELFORD PA 18969           USPS Issue               RTS; FWD                                MZRILEY@GMAIL.COM               2674213875
2710   MALAMUT           BROOKE       115 THIRD ST N APT 212         TELFORD PA 18969           USPS Issue               RTS; FWD 10/28                          BMALAMUT0314@GMAIL.COM          4845976286
2711   RILEY             MATTHEW      5 RYAN CT                      TELFORD PA 18969           USPS Issue               RTS; UTF                                MRILEY1818@GMAIL.COM            2676144964
2712   SCHERZBERG        MARY         2211 BRITTANY POINTE ESTATES   LANSDALE PA 19446          USPS Issue               RTS; VAC                                N/A                             N/A
2713   LEFEVRE           MICHAEL      915 STATION SQUARE BLVD        LANSDALE PA 19446          USPS Issue               RTS; FWD                                N/A                             N/A
2714   LEVENGOOD         BRANDON      108 MAIN ST                    EAST GREENVILLE PA 18041   USPS Issue               RTS; FWD                                LEVENGOOD@GMAIL.COM             N/A
2715   LAVELLE           ISABELLA     150 RIDGE PIKE APT 120B        LAFAYETTE HILL, PA 19444   USPS Issue               RTS; HARD TO READ ANY TEXT ON BALLOT*   BELLADELARUSSO@GMAIL.COM        N/A
2716   MATCZAK‐SHISLER   LYNNE        15 SCHULTZ RD N                GREEN LANE PA 18054        USPS Issue               RTS; TEMP AWAY                          LYNNESHISLER@GMAIL.COM          N/A
2717   RICHARDS          IRA          2106 BASSWOOD DR               LAFAYETTE HILL PA 19444    USPS Issue               RTS; FWD 4408 10/27                     INRICHARDS@ME.COM               2153002336
2718   ZACHARIAH         LESLIE       1101 HECTOR ST E UNI 337       CONSHOHOCKEN PA 19428      USPS Issue               RTS; MOVED, ANK                         LEZ.ZACH@GMAIL.COM              8324075042
2719   LAVELLE           BRENDAN      150 RIDGE PIKE APT 120B        LAFAYETTE HILL PA 19444    USPS Issue               RTS; BOXFULL 4406                       BLAVELLE19@GMAIL.COM            5708560698
2720   ALT               ZENA         210 ANDERSON RD                PHOENIXVILLE PA 19460      USPS Issue               RTS; NMR, UTF                           GURJZALT@GMAIL.COM              4848315140
2721   NEUMANN           RUTH         N/A                            HARLEYSVILLE PA 19438      USPS Issue               RTS; IA, UTF                            N/A                             5706047633
2722   RODE              JOHN         101 CHESWOLD LN APT 3G         HAVERFORD PA 19041         USPS Issue               RTS; TEMP AWAY                          RODE.JOHN@GMAIL.COM             6103295861
2723   FAZIO             ALBERT       1563 LAYFIELD RD               PENNSBURG PA 18073         USPS Issue               RTS; TEMP AWAY                          AFAZIO@FAZIOTASERVICE.COM       2159152327
2724   ARDIETA           LEONARD      935 PENN CIRCLE APT B 403      KOP PA 19406               USPS Issue               RTS; TEMP AWAY                 CYBERACE81406@AOL.COM                    2153700067
2725   GAMBOL            CRAIG        N/A                            N/A                        Incomplete Declaration   NO VOTER ADDRESS               no contact info                          no contact info   no contact info
2726   HARTUNG           TARA         1674 MUHLENBURG DR             BLUE BELL PA 19422         Incomplete Declaration   NO DATE                        no contact info                          no contact info   no contact info
2727   NGUYEN            TRANG        131 RIGHTERS FERRY RD          BALA CYNWYD PA 19004       Incomplete Declaration   NO DATE                        SJG091985@gmail.com                      none
2728   TUTURICE          CHARLES      2101 NEW HOPE ST               N/A                        Incomplete Declaration   MISSING 2ND PART OF ADDRESS no contact info                             no contact info   no contact info
2729   HORN              JAMES        23 ROSEDALE DR                 POTTSTOWN PA 19464         Incomplete Declaration   NO DATE                        no contact info                          no contact info   no contact info
2730   PEYTON            JENNIFER     432 BEECH ST                   POTTSTOWN PA 19464         Incomplete Declaration   NO DATE, OR ZIPCODE none                                                267‐250‐7607
2731   LOMBARDI          CHRISTINA    2324 BOYD RD                   HUNTINGDON VLY, PA 19006   Incomplete Declaration   NO DATE                        no contact info                          no contact info   no contact info
2732   HARWANKO          BARBARA      N/A                            N/A                        Incomplete Declaration   NO ADDRESS OR PRINTED NAME no contact info                              no contact info   no contact info
2733   ZOLA              LAUREN       315 NORRIS HALL LN             NORRISTOWN, PA 19403       Incomplete Declaration   NO DATE                        none                                     516‐306‐9277
2734   VORAUER           ROBERT       869 MYSTIC LN                  NORRISTOWN, PA 19403       Incomplete Declaration   NO DATE                        no contact info                          no contact info   no contact info
2735   KIDD              MARIAN       484 FREEMAN SCHOOL RD          HARLEYSVILLE PA 19438      Incomplete Declaration   NO PRINTED NAME, OR ADDRESS no contact info                             no contact info   no contact info
2736   HWANG             SUN HEE      1640 JENNIFER LN               BLUE BELL PA 19422         Incomplete Declaration   NO VOTER ADDRESS no contact info                                        no contact info   no contact info
2737   MCGINTY           SHANNON      N/A                            N/A                        Incomplete Declaration   NO ADDRESS, DATE, OR SIGNATURE no contact info                          no contact info   no contact info
2738   LONG              CHARMETTE    124 ALBEMARLE DR               BLUE BELL PA 19422         Incomplete Declaration   NO VOTER ADDRESS no contact info                                        no contact info   no contact info
2739   GOLDER            ROBERT       N/A                            N/A                        Incomplete Declaration   NO SIGNATURE, DATE, OR ADDRESS no contact info                          no contact info   no contact info
2740   BENITEZ           CARLOS       2001 PINE ST                   HATFIELD PA 19440          Incomplete Declaration   NO DATE                        none                                     215‐368‐7490
2741   ALDERFER          SANFORD      112 CRESCENT LN                HARLEYSVILLE, PA 19438     Incomplete Declaration   NO DATE, NO VOTER ADDRESS no contact info                               no contact info   no contact info
2742   MCCOURT           JOHN         1300 ROBIN HOOD RD             MEADOWBROOK PA 19046       Incomplete Declaration   NO DATE                        johntmccourt@gmail.com                   215‐327‐0251
2743   ZOTAJ             FJODOR       N/A                            N/A                        Incomplete Declaration   NO VOTER ADDRESS fjodorzotaj@gmail.com                                  267‐905‐0560
2744   GJINI             ELONA        N/A                            N/A                        Incomplete Declaration   NO VOTER ADDRESS egjini@yahoo.com                                       267‐237‐2499
2745   NITTERAUER        THEODORE     N/A                            COLLEGEVILLE PA 19426      Incomplete Declaration   NO VOTER ADDRESS none                                                   610‐322‐9288
2746   ROMANO            KELLI        811 GREENWOOD AVE              JENKINTOWN, PA 19046       Incomplete Declaration   NO DATE                        no contact info                          no contact info   no contact info

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               I                 J                K                     L                      M                      N                           O                  P                  Q               R
 1     Last Name    First name       Address Line 1        Address Line 2          Issue                    Note                            Email2            Phone             Contacted?        resolved date
2747   CIRIGLIANO   ELIZABETH        N/A                   N/A                     Incomplete Declaration   NO DATE, ADDRESS                no contact info   no contact info   no contact info
2748   CAPITOLO     VIRGINIA         2914 MEYER AVE        GLENSIDE PA 19038       Incomplete Declaration   NO PRINTED NAME.                no contact info   no contact info   no contact info
2749   MECLEARY     HOWARD           2508 OXFORD CT        HATFIELD PA 19440       Incomplete Declaration   NO DATE PRINTED NAME OR ADDRESS no contact info   no contact info   no contact info
2750   TALIAFERRO   ELIZABETH        17 PIKES WAY          CHELTENHAM, PA 19012    Incomplete Declaration   NO DATE; SURE STICKER no contact info             no contact info   no contact info
2751   KNEBL        KATHERINE        3824 MILL RD          COLLEGEVILLE PA 19426   No secrecy envelope      NO SECRECY ENV                  none              215‐317‐8114
2752   HICKMAN      JEBADIAH         2408 WHITPAIN HILLS   BLUE BELL PA 19422      Damaged                  SEVERELY DAMAGED. jh860985@wcupa.edu              none
2753   Shaheen      Sarah            102 Brownstone Lane   horsham pa 19044        Resolved                 completed in person                                                                      10/30/2020




                                                                                       Page 124 of 124
